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      EXHIBIT 9
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


REJON TAYLOR, et al.,

                          Plaintiffs,

                  v.
                                             Case No.
DONALD J. TRUMP, et al., in their official
capacities,

                          Defendants.



              EXPERT DECLARATION OF CRAIG HANEY, J.D., Ph.D.
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       I, Craig Haney, hereby declare as follows:

       1.      I have been retained by Plaintiffs’ counsel to provide expert opinions about: (a) the

nature of the conditions of confinement to which people are subjected at the United States

Penitentiary-Administrative Maximum (“ADX”) in Florence, Colorado; (b) the scientific

consensus on the psychologically and physically harmful nature of long-term exposure to

conditions of “solitary confinement”; and (c) the scientific consensus on the future dangerousness

and corresponding security risks posed by persons who have been sentenced to death. If called to

testify, I could and would testify as follows.

I.     Qualifications

       2.      I am a Distinguished Professor of Psychology at the University of California, Santa

Cruz, where I also have served as the University Presidential Chair, 2015-2018, the Director of the

Legal Studies Program, and Chair of the Department of Psychology. My area of academic

specialization is in what is generally termed “psychology and law,” which is the application of

psychological data and principles to legal issues. I teach graduate and undergraduate courses in

social psychology, psychology and law, and research methods. I received a bachelor’s degree in

psychology from the University of Pennsylvania, an M.A. and Ph.D. in Psychology and a J.D.

degree from Stanford University, and I have been the recipient of a number of scholarship,

fellowship, and other academic awards.

       3.      I have published numerous scholarly articles and book chapters on topics in law

and psychology, including encyclopedia and handbook chapters on the backgrounds and social

histories of persons accused of violent crimes, the psychological effects of imprisonment, and the

nature and consequences of overcrowded prison conditions as well as solitary or “supermax”-type

confinement. In addition to these scholarly articles and book chapters, I have published three

sole-authored books: Death by Design: Capital Punishment as a Social Psychological System


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(Oxford University Press, 2005), Reforming Punishment: Psychological Limits to the Pains of

Imprisonment (American Psychological Association Books, 2006), and Criminality in Context:

The Psychological Foundations of Criminal Justice Reform (American Psychological Association

Books, 2020). In addition, along with the other members of a National Academy of Sciences

Committee on which I served, I co-authored the committee’s report, published in book form as

The Growth of Incarceration in the United States: Exploring the Causes and Consequences,

released in April 2014.

       4.      In the course of my academic work in psychology and law, I have lectured and

given invited addresses throughout the country on the role of social and institutional histories in

explaining criminal violence, the psychological effects of living and working in institutional

settings (typically maximum security prisons), and the psychological and systemic consequences

of extreme prison conditions, particularly overcrowding and solitary confinement. I have given

these lectures and addresses at various law schools, bar associations, university campuses, and

numerous professional psychology organizations such as the American Psychological Association.

       5.      I also have served as a consultant to numerous governmental, law enforcement, and

legal agencies and organizations, including the Palo Alto Police Department, various California

Legislative Select Committees, the National Science Foundation, the American Association for

the Advancement of Science, and the United States Department of Justice. For example, in the

summer of 2000, I was invited to attend and participated in a White House Forum on the uses of

science and technology to improve crime and prison policy, and in 2001 I participated in a

conference jointly sponsored by the United States Department of Health and Human Services

(DHHS) concerning government policies and programs that could better address the needs of

formerly incarcerated persons as they are reintegrated into their communities. I continued to work




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with DHHS on the issue of how best to ensure the successful reintegration of prisoners into the

communities from which they have come. I also consulted with the Department of Homeland

Security on immigrant detention-related issues, and I served as both a consultant to and an expert

witness before the United States Congress.

       6.      I was appointed in 2012 as a member of a National Academy of Sciences committee

analyzing the causes and consequences of high rates of incarceration in the United States. In

conjunction with the release of the National Academy committee’s report that I mentioned earlier

(The Growth of Incarceration in the United States: Exploring the Causes and Consequences), I

traveled to Washington, DC several times in 2014 and 2015, to, among other things, brief members

of Congress, their staffs, and the White House on our findings. I served as a member of the

Advisory Council member of the Vera Institute of Justice Safe Alternatives to Segregation

program, working with state correctional systems (e.g., Louisiana and Washington) to reduce the

number of persons housed in isolated confinement. I also recently co-directed an international

correctional cultural exchange program between the United States and Norway in which state

correctional administrators and staff (e.g., North Dakota, Oregon, Rhode Island) are trained in

alternative correctional perspectives and practices. Although other responsibilities led me to step

down as a co-director, I still serve as a consultant to the program, which is now known as AMEND

at UCSF and operates in numerous state prison systems throughout the United States. A copy of

my curriculum vitae is attached to this expert report as Appendix 1.

       7.      My academic interest in the psychological effects of various prison conditions is

long-standing and dates back to 1971, when I was still a graduate student. I was one of the principal

researchers in what has come to be known as the “Stanford Prison Experiment,” in which my

colleagues Philip Zimbardo, Curtis Banks, and I randomly assigned normal, psychologically




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healthy college students to the roles of either “prisoner” or “guard” within a simulated prison

environment that we had created in the basement of the Psychology Department at Stanford

University. The study has since come to be regarded as a “classic” study in the field of social

psychology, demonstrating the power of institutional settings to change and transform the thoughts

and actions of people who enter them. 1

       8.      Since then, I have studied the psychological effects of living and working in real

(as opposed to simulated) institutional environments, including juvenile facilities, mainline adult

prison and jail settings, specialized correctional housing units (such as solitary and

“supermax”-type confinement), and problematic prisons and prison systems (especially those with

overcrowded conditions of confinement). Because I focus primarily on the psychological and

“mental health” effects of correctional environments, my work has included studying the ways that

mentally ill prisoners are affected by their conditions of confinement and how prison systems

address the needs of this vulnerable population. In the course of my research, writing, and

consulting on prison-related issues in general, I have toured and inspected numerous maximum

security state prisons and related facilities (in Alabama, Arkansas, Arizona, California, Florida,

Georgia, Idaho, Louisiana, Maryland, Massachusetts, Montana, Nebraska, Nevada, New Jersey,

New Mexico, New York, Ohio, Oklahoma, Oregon, Pennsylvania, South Carolina, Tennessee,

Texas, Utah, Virginia, and Washington), many maximum security federal prisons (including the

Administrative Maximum or “ADX” facility in Florence, Colorado), as well as prisons in Canada,



1
  For example, see Craig Haney, Curtis Banks & Philip Zimbardo, Interpersonal Dynamics in a
Simulated Prison, International Journal of Criminology and Penology, 1, 69 (1973); Craig Haney
& Philip Zimbardo, The Socialization into Criminality: On Becoming a Prisoner and a Guard, in
Law, Justice, and the Individual in Society: Psychological and Legal Issues (J. Tapp and F.
Levine, eds., 1977); and Craig Haney & Philip Zimbardo, Persistent Dispositionalism in
Interactionist Clothing: Fundamental Attribution Error in Explaining Prison Abuse, Personality
and Social Psychology Bulletin, 35, 807-814 (2009).


                                                4
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Cuba, England, Ireland, Hungary, Mexico, and Russia. I also have conducted numerous interviews

with correctional officials, guards, and prisoners to assess the psychological impact of penal

confinement, and statistically analyzed aggregate data from numerous correctional documents and

official records to examine the effects of specific conditions of confinement on the mental health

and well-being of prisoners confined within them and on the quality of prison life in general. 2

       9.      I have been qualified and have testified as an expert in various federal courts,

including United States District Courts in Alabama, Arizona, Arkansas, California, Georgia,

Hawaii, Nevada, New Mexico, North Carolina, Pennsylvania, South Carolina, Texas, and

Washington, and in numerous state courts, including courts in Arizona, Colorado, Florida,

Montana, New Jersey, New Mexico, Ohio, Oklahoma, Oregon, Tennessee, Utah, and Wyoming

as well as, in California, the Superior Courts of Alameda, Calaveras, Kern, Los Angeles, Marin,

Mariposa, Monterey, Orange, Sacramento, San Diego, San Francisco, San Mateo, Santa Clara,

Santa Cruz, Shasta, Tulare, Ventura, and Yolo counties. My research, writing, and testimony have

been cited by state courts, including the California Supreme Court, and by Federal District Courts,




2
 For example, Craig Haney & Philip Zimbardo, The Socialization into Criminality: On
Becoming a Prisoner and a Guard, in Law, Justice, and the Individual in Society: Psychological
and Legal Issues (pp. 198-223) (J. Tapp and F. Levine, eds., 1977); Craig Haney, Craig Haney,
Psychology and Prison Pain: Confronting the Coming Crisis in Eighth Amendment Law,
Psychology, Public Policy, and Law, 3, 499-588 (1997); Craig Haney, The Consequences of
Prison Life: Notes on the New Psychology of Prison Effects, in D. Canter & R. Zukauskiene
(Eds.), Psychology and Law: Bridging the Gap (pp. 143-65). Burlington, VT: Ashgate
Publishing (2008); Craig Haney, On Mitigation as Counter-Narrative: A Case Study of the
Hidden Context of Prison Violence, University of Missouri-Kansas City Law Review, 77, 911-
946 (2009); Craig Haney, Counting Casualties in the War on Prisoners, University of San
Francisco Law Review, 43, 87-138 (2008); Craig Haney, The Perversions of Prison: On the
Origins of Hypermasculinity and Sexual Violence in Confinement, American Criminal Law
Review, 48, 121-141 (2011) [Reprinted in: S. Ferguson (Ed.), Readings in Race, Ethnicity,
Gender and Class. Sage Publications (2012)]; and Craig Haney, Prison Effects in the Age of
Mass Imprisonment, The Prison Journal, 92, 1-24 (2012).


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Circuit Courts of Appeal, and the United States Supreme Court. 3

II.    Basis and Summary of Opinions

       10.     I have been retained by Plaintiffs’ counsel to provide expert evidence in this matter.

As noted above, I was asked to address several specific, inter-related issues in this report. The

bases for the opinions that I have reached in this expert report include my experience conducting

research on and evaluating conditions of isolated prison confinement for the last nearly 50 years

in numerous prison and jail systems. That experience includes touring and inspecting the ADX

facility on multiple occasions over the last approximately 25 years, as well as interviewing

numerous prisoners housed there about the psychological effect of their isolated confinement. 4

       11.     In addition, I rely on my knowledge and review of the existing empirical literature

on solitary confinement. In fact, I have previously published several academic reviews of this

literature. Those reviews are attached to this expert report as Appendix 2. The methodology

employed in these studies is consistent with the methodology routinely employed in social science

research generally. Specifically, it is empirical in nature - based on data that I and a large number

of other scholars and researchers have collected, in solitary confinement units specifically as well

as more generally in other environments characterized by extreme social isolation.

       12.     By way of briefly summarizing the opinions offered and conclusions reached in the

following sections of this report, I have concluded that:

               a. The conditions of confinement to which people are subjected at ADX constitute

                   a severe, extreme form of solitary confinement. Because of the way that ADX

                   is physically constructed and operated, conditions there are more socially


3
  See, e.g., Brown v. Plata, 563 U.S. 493 (2011).
4
  I use the terms “prisoners,” “incarcerated people,” or “incarcerated persons” interchangeably to
refer to any person who is incarcerated or detained in a carceral facility. The scientific and
professional literature typically uses these terms interchangeably, in this same way.


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                    isolating than those at any correctional facility that I have personally toured and

                    inspected or of which I am aware anywhere in the United States.

               b.   There is a widespread scientific, mental health, human rights, legal and even

                    correctional consensus that solitary confinement places persons at significant

                    risk of serious harm. In fact, as a result of that consensus, numerous professional

                    organizations recommend that people be placed in solitary confinement only

                    when it is absolutely necessary to do so and, even then, for only the briefest

                    amount of time possible. They further agree that members of vulnerable groups

                    (such as the mentally ill) should never be placed there.

               c. The BOP’s stated justification for housing people under the extreme conditions

                    that prevail at ADX is a penological necessity—that is, that their alleged future

                    dangerousness and/or the other security risks they pose preclude them from

                    being housed safely anywhere else. These characterizations do not apply

                    categorically to persons whose death sentences have been commuted. Persons

                    who have been convicted of death-eligible crimes do not, as a group, represent

                    heightened future dangers or security risks in a prison setting. There is no

                    legitimate penological justification for housing them at ADX.

III.     ADX Subjects Persons to a Severe, Extreme Form of Solitary Confinement

         13.   ADX was architecturally designed and geographically located to maximize the

degree of isolation to which its residents are subjected. It is the most socially isolating prison

environment I have encountered anywhere in the United States or elsewhere in the world.

         14.   ADX opened in 1994, intended to be the “Alcatraz of the Rockies,” the BOP’s

successor to the nation’s first and perhaps most notorious “supermax” prison located on an island




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in the middle of San Francisco Bay. ADX is located in a remote and sparsely populated area of

Colorado, a several hour drive from the Denver International Airport. It was constructed and

continues to be operated in such a way that the people housed there are prohibited from having

any form of meaningful social interaction. Instead, they are isolated nearly around-the-clock, living

in small concrete cells, often for years at a time. A former ADX warden, Robert Hood, minced no

words in describing the stark, punishing conditions and day-to-day routines imposed there as the

equivalent of “a clean version of hell.” 5 Hood candidly observed that the prison was “not designed

for humanity…” and that life there was “worse than death.” 6

       15.     The people incarcerated at ADX are confined alone in their cells for between 22-

24 hours each day. 7 The cells themselves are more isolating than those in other prisons—even in

comparison to other solitary confinement units—because they constructed with two exterior metal

doors. Specifically, most cells have an inner door made of metal bars and an outer door made of

solid steel, with a small, closable slot. The space between the two doors creates a small “sally port”

inside each cell. The double-door configuration thus adds another layer of isolation, distancing

prisoners from even the incidental movement that takes place on the hallway outside their cells.




5
  See Binelli, M., Inside America’s Toughest Prison, New York Times Magazine, March 26,
2015, https://www.nytimes.com/2015/03/29/magazine/inside-americas-toughest-federal-
prison.html, and 60 Minutes, “A Clean Version of Hell,” aired October 14, 2007.
https://www.cbs.com/shows/video/7rMUi4wkFIfTF2iyKBUl7uCHF8_gA18K/
6
  In CNN interview https://www.corrections1.com/escapes/articles/5-things-to-know-about-the-
escape-proof-supermax-prison-Nw3H6vQbd0EN0mSd/
7
  The photographs that are inserted at various points in this Declaration are intended to illustrate
the conditions that prevail at ADX. Although I did not take the photographs myself, they
accurately depict what I have personally observed in my tours of the facility.


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       16.     The combination of the cell configuration and solid concrete cell construction

prohibits prisoners from seeing into each other’s cells or communicating with each other. The

extremely limited day-to-day communication or contact prisoners have with prison staff occurs

through these two doors. The separate housing units also are constructed in a way that prohibits

contact with the outside natural world, giving even visitors the distinct feeling that much of the

prison is actually underground.

       17.     In addition to their isolating design, the cells themselves are small. They measure

approximately 12 feet by 7 feet—smaller than an average parking space and only slightly larger

than a king-sized bed. The cells contain a narrow exterior window, approximately 42 inches tall

and four inches, that wide allows some natural light to enter the cell. However, they are designed

to prevent prisoners from seeing any of the outside world, other than cement and sky.

       18.     Each ADX cell is outfitted with a concrete bed, desk, and stool, and a steel

combination sink and toilet. The cells also include a shower within them, with the timing and flow

of water controlled by correctional staff outside the cell. As a result, people incarcerated in ADX


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do not even have the opportunity to leave their cells to take showers, which is the usual practice in

many states’ supermax prisons. A thin mattress covers the concrete bunk. The cell walls are empty

and drab; prisoners are prohibited from hanging anything on the walls, such as drawings or

photographs, that might personalize or humanize the space. In addition, except for a limited

amount of “designated legal material,” personal property is limited to what can fit “neatly” into a

designated storage bag. Persons confined to ADX live virtually their entire lives inside these small,

largely barren spaces. This means that they are forced to eat, sleep, and defecate in the same

immediate area.




       19.     The extreme form of solitary confinement to which people housed at ADX are

subjected means that they are deprived of virtually all meaningful social contact. Their brief

interactions with staff are sporadic, infrequent, and routinized, amounting no more than a few

minutes a week of pro forma verbal exchange that takes place through the solid steel doors of their

cells, typically only when meals are provided or they are being escorted outside their cells



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(typically to recreation). ADX prisoners have told me that they can go for days with little or no

actual verbal exchange with staff. Even educational programming is conducted without human

contact. Rather than in-person interactions with teachers or other students, “classes” at ADX

consist of closed-circuit television programs, followed by short quizzes. As with education,

religious services are provided via television. Prisoners can be punished by having televisions

withheld.

        20.     The regular mental health evaluations that are supposed to occur (to identify

potential symptoms of mental illness and psychological deterioration) are typically superficial and

pro forma, often lasting for no more than a few minutes and occurring “cell-front”—that is, through

the steel door of the cell. This is especially problematic given BOP’s own guidelines and criteria

state that ADX is not equipped to incarcerate people with serious psychiatric conditions.

        21.     Other than being confined in their cells virtually around-the-clock, ADX prisoners

may get medical treatment, use the “law library” (a specially outfitted computer terminal located

in small area), or to go to visitation or “recreation.” Frequent staff shortages result in exercise times

being cancelled. A few “general population” ADX prisoners are permitted to work as orderlies,

cleaning up the housing unit. Otherwise, there are no other jobs.

        22.     Contact with the outside world is severely restricted at ADX. General population

prisoners may have four 15-minute monitored and recorded phone calls per month. Although in

theory prisoners in general population also may receive as many as five “social” visits per month,

the remote location of the facility means that they occur infrequently, if at all. The visits are all

conducted on a “non-contact” basis, through a thick glass window, so that there is never any

physical contact between incarcerated person and his visitors. The same is true of “legal” visits,

which are non-contact and conducted through a thick glass partition. Because there are only four




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legal visiting booths at ADX, legal visits are difficult to schedule, as are legal phone calls (which

are often limited to just 30 minutes).

       23.     In addition, whenever a person in ADX “general population” leaves his unit to

attend a legal or social visit, he is subjected to a strip search both before and after the visit then

placed in hand and leg shackles that are connected to chains circling his waist. Some prisoners

remain shackled for the duration of the visit. There are at least two correctional officers who escort

ADX prisoners within the facility, armed with pepper spray and batons.

       24.     These basic conditions vary only slightly in the different “units” inside ADX. For

example, the so-called “general population” units are configured and operated as a standard

supermax or solitary confinement units, where people are confined alone in their cells at least 22

hours per day. Their regular “contact” with other prisoners is limited to the one or two days a week

when they are allowed outdoor “recreation” along with a limited number of others confined

individually, in separate outdoor cages. Commonly referred to as “dog runs,” the cages lack

exercise equipment, except for, in some units pull up bars and exercise balls. People who ask to

leave the cage for any reason (such as to use the bathroom) may not return.




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In addition, on one or two days a week, “general population” ADX prisoners are permitted a few

hours of access to individual indoor “recreation rooms,” but only by themselves.




       25.     As extremely harsh and isolating “general population” conditions are at ADX, there

are several units where the regime is even more severe. In the ADX “control unit,” people have

contact only with staff, through the solid steel doors of their cells. Even when they are allowed

outdoor exercise, they are placed alone in an enclosed concrete area with high walls and a metal

grate overhead. It limits their view of the outside world to a glimpse of the sky above.




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       26.     “Range 13” is an even more punishing environment. In a separate area that is

isolated from the other housing units, it is designed to hold just two prisoners at a time, but consists

of four cells, configured so that the prisoners can be “rotated” to ensure they are always housed at

a distance from one another, separated by a wall. Each of the cells is self-contained, with its own

shower and exercise area, and movement is controlled electronically (i.e., minimizing any contact

with prison staff). To my knowledge, it is the most completely isolating environment in existence

in any correctional system in the world.

       27.     ADX also operates a three-step “step-down” program that provides certain general

population prisoners very limited contact with other prisoners, presumably to begin to re-accustom

themselves to the human contact and social interactions that they have been prohibited from having

at ADX. Even here, prisoners spend the overwhelming amount of time each day confined alone in

their cells. Each of the steps has a specified minimum stay, during which time prisoners are

evaluated to determine whether they can progress to the next step. The minimum amount of time

it would take to complete the three steps is two years and three months, which virtually no one

manages to do. Movement through the steps and eventual release from the step-down program is

at the discretion of the prison administration. There is no maximum time a person can be retained

in the step-down program, or at ADX more generally, and many prisoners have been there for

years (some even for decades).

IV. The Broad Scientific, Mental Health, Human Rights, Legal, and Correctional
Consensus on the Harmful Effects of Solitary Confinement

       28.     The BOP denies that it uses solitary confinement, instead preferring the euphemism

“restrictive housing.” However, the conditions at ADX, as I have described them in the above

paragraphs, are solitary confinement by any other name. They constitute a truly severe form of




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solitary confinement at that. I should note at the outset that “solitary confinement” is a term of art

in correctional practice and scholarship. For perhaps obvious reasons, total and absolute solitary

confinement - literally complete isolation from any form of human contact - does not exist in prison

and never has. Instead, the term is generally used to refer to conditions of extreme (but not total)

isolation from others. I have defined it elsewhere, in a way that is entirely consistent with its use

in the broader correctional literature, as:

        [S]egregation from the mainstream prisoner population in attached housing units or
        free-standing facilities where prisoners are involuntarily confined in their cells for
        upwards of 23 hours a day or more, given only extremely limited or no
        opportunities for direct and normal social contact with other persons (i.e., contact
        that is not mediated by bars, restraints, security glass or screens, and the like), and
        afforded extremely limited if any access to meaningful programming of any kind. 8

        29.     This definition is similar to the one employed by the National Institute of

Corrections (NIC), as cited by former Washington State Secretary of Corrections Chase Riveland,

in a standard reference work on solitary-type confinement that was sponsored and disseminated

by the United States Department of Justice. Riveland noted that the NIC itself had defined solitary

or “supermax” housing as occurring in a “freestanding facility, or a distinct unit within a

freestanding facility, that provides for the management and secure control of inmates” under

conditions characterized by “separation, restricted movement, and limited access to staff and other

inmates.” 9 The United States Department of Justice has employed a similar definition, noting that

“the terms ‘isolation’ or ‘solitary confinement’ mean the state of being confined to one’s cell for

approximately 22 hours per day or more, alone or with other prisoners, that limits contact with




8
  Haney, C., The Social Psychology of Isolation: Why Solitary Confinement Is Psychologically
Harmful, Prison Service Journal, 181, 12–20 (2009), at footnote 1.
9
  Chase Riveland, Supermax Prisons: Overview and General Considerations. National Institute
of Corrections. Washington DC: United States Department of Justice (1999), at p. 3, available at
http://static.nicic.gov/Library/014937.pdf.


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others… An isolation unit means a unit where all or most of those housed in the unit are subjected

to isolation.” 10

        30.         As I discuss below, there is a well-documented and overwhelming scientific

consensus confirming the fact that solitary confinement is psychologically and physically

harmful. 11 Its adverse effects are not only painful but often inflict actual damage, which is often

severe, sometimes long-lasting, can be irreversible and even fatal. The effects include a range of

adverse psychological reactions ranging from depression to acute anxiety to cognitive impairment.

In addition, the high levels of mental pain and suffering can lead to the increased incidence of

self-harm and suicide. For some prisoners, the attempt to cope with isolated confinement sets in

motion a set of cognitive, emotional, and behavioral changes that are difficult reverse once time in

solitary confinement has ended. Because the effects can persist beyond the time that prisoners are

housed in isolation, they can lead to long-term disability and dysfunction.

        31.         We clearly do know what happens to people in prison, jail, and—as I discuss

below—elsewhere in society when they are deprived of normal social contact for extended periods

of time. In fact, over the last several decades, new insights about the fundamental human need for

meaningful social contact and for caring human touch have added important theoretical




10
   United States Department of Justice, Letter to the Honorable Tom Corbett, Re: Investigation of
the State Correctional Institution at Cresson and Notice of Expanded Investigation, May 31,
2013, at p. 5 (emphasis in original), available at
http://www.justice.gov/crt/about/spl/documents/cresson_findings_5-31-13.pdf, citing also to
Wilkinson v. Austin, 545 U.S. 209, 214, 224 (2005), where the United States Supreme Court
described solitary confinement as limiting human contact for 23 hours per day; and Tillery v.
Owens, 907 F.2d 418, 422 (3d Cir. 1990), where the Third Circuit described it as limiting contact
for 21 to 22 hours per day.
11
   There are remarkably few studies that reach opposite conclusions. They are not only statistical
outliers, in comparison to the numerous studies that document the harmful effects of solitary
confinement in particular and social isolation in general, but they are marked by their serious
methodological flaws.


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dimensions to the already existing substantial body of empirical data on these issues. These data

and theoretical insights add considerable weight to the long-standing consensus view: the

experience of solitary confinement is not only painful but also places prisoners at significant risk

of serious psychological and physical harm.

       32.     Indeed, in light of the fact that social isolation and social exclusion in general are

well-known to be harmful stressors that undermine health and well-being, 12 it should not be

surprising that there is a large literature that establishes the fact that solitary confinement places

prisoners at significant risk of serious psychological and physical harm. The prolonged absence of

meaningful human contact and social interaction, the enforced idleness and inactivity, the

oppressive security and surveillance procedures, and the accompanying hardware and other

paraphernalia that are brought or built into these units combine to create harsh, dehumanizing, and

deprived conditions of confinement. These conditions predictably impair the psychological and

behavioral functioning of many of the prisoners who are subjected to them. 13

       A.      The Scientific Evidence That Solitary Confinement is Harmful

       33.     The adverse psychological consequences of solitary confinement have been

documented over more than five decades of robust scientific research. Conducted by researchers

with different professional expertise (ranging from psychiatry to sociology and architecture) and

produced in locations across multiple countries, the studies consistently reveal distinctive patterns




12
   A more in-depth discussion of the literature that establishes this appears in a later section of
this report.
13
   For example, see: Kristin Cloyes, David Lovell, David Allen & Lorna Rhodes, Assessment of
Psychosocial Impairment in a Supermaximum Security Unit Sample, Criminal Justice and
Behavior, 33, 760-781 (2006); Craig Haney, Mental Health Issues in Long-Term Solitary and
“Supermax” Confinement, Crime & Delinquency, 49, 124-156 (2003); and Peter Scharff Smith,
The Effects of Solitary Confinement on Prison Inmates: A Brief History and Review of the
Literature, Crime & Justice, 34, 441-528 (2006).


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of psychological harm. 14 The harm is often severe, sometimes irreversible and, in the case of

suicide, even fatal.

        34.     Indeed, as researchers and mental health experts have learned over many decades,

for some prisoners, the attempt to cope with isolated confinement sets in motion a set of cognitive,

emotional, and behavioral changes that could persist beyond the time that the incarcerated persons

were housed in isolation and could lead to long-term disability and dysfunction. For example, a

group of Stanford researchers found that behavioral patterns and psychological reactions

developed in the course of adapting to solitary confinement were persistent and problematic when

formerly long-term isolated incarcerated persons attempted to transition back to mainline prison

housing. 15 Psychiatrist Terry Kupers, who has written extensively about the mental health risks of

solitary confinement, has termed the lingering negative effects of the experience “SHU post-

release syndrome.” 16 In fact, more recent research suggests that the harmful effects of solitary

confinement persist even after a person has been released from prison. For example, solitary

confinement survivors suffer post-prison adjustment problems at higher rates than the already high

rates experienced by formerly incarcerated persons in general, including being more likely to




14
   See, e.g., Arrigo, B., & Bullock, J., The Psychological Effects of Solitary Confinement on
Prisoners in Supermax Units: Reviewing What We Know and What Should Change, Int’l J. of
Offender Therapy & Comparative Criminology, 52, 622-640 (2008); Craig Haney & Mona Lynch,
Regulating Prisons of the Future: The Psychological Consequences of Solitary and Supermax
Confinement, New York University Review of Law & Social Change 23, 477-570 (1997); Peter
Scharff Smith, supra note 9.
15
   See Human Rights in Trauma Mental Health Lab, Stanford Univ., Mental Health Consequences
Following Release from Long-Term Solitary Confinement in California (2017) at
https://perma.cc/5WGK-UBBN.
16
   See Terry Kupers, Solitary: The Inside Story of Supermax Isolation and What We Can Do to
Abolish It. Oakland, CA: Univ. of Cal. Press (2017), especially pp. 151-167. The acronym “SHU”
stands for “Security Housing Unit,” which solitary confinement units are sometime labelled.


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manifest symptoms of PTSD. 17

       35.     In addition to the lingering negative consequences of solitary confinement, research

suggests that the adverse effects can be experienced almost immediately. For example, nearly five

decades ago, psychologist Hans Toch’s large-scale study of incarcerated men “in crisis” in New

York State correctional facilities made important observations about the effects of isolation. 18

After conducting numerous in-depth interviews of the men, Toch concluded that “isolation panic”

was a serious problem. The symptoms he reported included rage, panic, loss of control and

breakdowns, psychological regression, and a build-up of physiological and psychic tension that

led to incidents of self-harm. 19 Toch noted that while isolation panic could occur under other

conditions of confinement it was “most sharply prevalent in segregation.” Moreover, it marked an

important dichotomy for incarcerated people: the “distinction between imprisonment, which is

tolerable, and isolation, which is not.” 20 Studies done in the 1980s and 1990s identified other

adverse psychological symptoms produced by these conditions, including: appetite and sleep

disturbances, anxiety, panic, rage, loss of control, paranoia, hallucinations, and self-mutilations.

Direct studies of prison isolation have documented an extremely broad range of harmful

psychological reactions. These include increases in the following potentially damaging symptoms

and problematic behaviors: anxiety, withdrawal, hypersensitivity, ruminations, cognitive

dysfunction, hallucinations, loss of control, irritability, aggression, and rage, paranoia,




17
   See e.g., Brian Hagan et al., History of Solitary Confinement Is Associated with Post-Traumatic
Stress Disorder Symptoms among Individuals Recently Released from Prison, J. of Urban Health,
95, 141-148 (2018); and Arthur Ryan & Jordan DeVylder, Previously Incarcerated Individuals
with Psychotic Symptoms Are More Likely to Report a History of Solitary Confinement, Psychiatry
Research, 290, 113064 (2020). https://doi.org/10.1016/j.psychres.2020.113064.
18
   Hans Toch, Men in Crisis: Human Breakdowns in Prisons. Chicago: Aldine Pub. Co. (1975).
19
   Id. at 54.
20
   Id.


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hopelessness, a sense of impending emotional breakdown, self-mutilation, and suicidal ideation

and behavior. 21

        36.     In addition, a 2020 study led by Justin Strong and other scientists analyzed the

physical health effects of incarceration in solitary confinement, by sampling population groups

incarcerated in solitary confinement in the State of Washington, and concluded that solitary

confinement led to negative physical health outcomes. 22 This included conditions such as severe

Vitamin D deficiency due to a lack of natural direct light exposure, skin rashes, weight fluctuations,

and chronic musculoskeletal pain and deterioration (which can lead to arthritis, osteoporosis, and

muscle weakness) due to the inability to engage in large-muscle exercise or walk more than a few

steps in a cell or exercise cage. Moreover, people in solitary confinement experienced long delays

in receiving care (either at the prison or off-site) for chronic medical conditions, due to the security

restrictions on movement within the prison, or to travel off-site to hospitals and specialists.

        37.     Additional research established a relationship between housing type and various

kinds of incident reports in prison. It showed that self-harm and suicide are much more prevalent

in isolated, punitive housing units like solitary confinement. Researchers have attributed higher

suicide rates in solitary confinement-type units to the heightened levels of “environmental stress”

generated by “isolation, punitive sanctions, [and] severely restricted living conditions” that exist

there. 23 They reported that “the conditions of deprivation in locked units and higher-security




21
   Many of these findings are summarized and discussed in Haney & Lynch, supra note 10, and
Haney, supra note 9.
22
   Justin D. Strong, et al., The body in isolation: The physical health impacts of incarceration in
solitary confinement, PLoS ONE 15 (10:e0238510).
https://pmc.ncbi.nlm.nih.gov/articles/PMC7546459/pdf/pone.0238510.pdf
23
    Raymond Patterson & Kerry Hughes, Review of Completed Suicides in the California
Department of Corrections and Rehabilitation, 1999-2004, Psychiatric Services, 59, 676-682
(2008), at p. 678.


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housing were a common stressor shared by many of the prisoners who committed suicide.” 24 In

addition, signs of deteriorating mental and physical health (beyond self-injury), other-directed

violence, such as stabbings, attacks on staff, and property destruction, and collective violence were

all found to be more prevalent in these units. 25

       38.     To take just one example of the scientific evidence establishing the harmfulness of

solitary confinement, consider the extensive research on the relationship between placement in

solitary confinement and instances of the extreme outcomes of self-harm and suicidality. To my

knowledge, virtually every study of the topic has found that suicide and rates of self-harm are

significantly higher in solitary confinement than in other prison settings.26 For example, in 2018

Robert Canning and Joel Dvoskin acknowledged that suicide was related to placement in solitary

confinement and that even prisoners who were placed there for their own protection may

experience “anxiety and agitation” that “can rise to psychotic proportions and quickly precipitate




24
   Id.
25
   See, e.g., Howard Bidna, Effects of Increased Security on Prison Violence, Journal of Criminal
Justice 3, 33-46 (1975); K. Anthony Edwards, Some Characteristics of Prisoners Transferred from
Prison to a State Mental Hospital, Behavioral Sciences & the Law, 6, 131-137 (1988); Peter
Kratcoski, The Implications of Research Explaining Prison Violence and Disruption, Federal
Probation, 52, 27-32 (1988); Frank Porporino, Managing Violent Individuals in Correctional
Settings, Journal of Interpersonal Violence, 1, 213-237 (1986); and Pamela Steinke, Using
Situational Factors to Predict Types of Prison Violence, Journal of Offender Rehabilitation, 17,
119-132 (1991).
26
   For examples of pre-2018 research and writing that acknowledged the relationship between
solitary confinement and suicidality, see: Meredith Dye, Deprivation, Importation, and Prison
Suicide: Combined Effects of Institutional Conditions and Inmate Composition, Journal of
Criminal Justice, 38, 796-806 (2010); Seena Fazel, Julia Cartwright, Arabella Norman-Nott, &
Keith Hawton, Suicide in Prisoners: A Systematic Review of Prisoners, Journal of Clinical
Psychiatry, 69, 1721-1731 (2008); Stefan Fruehwald, Teresa Matschnig, Franz Koenig, Peter
Bauer, & Patrick Frottier, Suicide in Custody: Case-Control Study, British Journal of Psychiatry,
185, 494-498 (2004); and Fatos Kaba, Andrea Lewis, Sarah Glowa-Kollisch, James Hadler, et
al., Solitary Confinement and Risk of Self-Harm Among Jail Inmates, American Journal of
Public Health, 104, 442-447 (2014).


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a suicidal crisis.” 27

        39.      Several years later, in 2022, Canning joined with another colleague, Alan Berman,

to publish an article that began by noting that “[s]uicide is a leading cause of death in U.S.

correctional populations.” 28 They repeated the conclusions of earlier analyses by Canning and

Dvoskin to the effect that “being medically ill, having a history of childhood maltreatment, and

placement in segregated housing” were additional, important risk factors. 29 Berman and Canning

also identified several “imminent and symptomatic risk factors” for suicide that are especially

notable because they are among the known psychological reactions to being placed in solitary

confinement,       including   “current     anxiety/agitation,”     “sleep    disturbance,”     social

isolation/withdrawal,” “feelings of ‘frantic hopelessness,’” affective disturbance,” “irritability,”

“insomnia,” and “nightmares.” 30

        40.      Relatedly, in 2019, Rafaella Calati and her colleagues published an extensive

narrative review of the literature on “the link between social isolation… and suicidal thoughts and

behaviors,” considering the results of a wide range of studies on the topic. 31 Calati et al. concluded

that “[b]oth the objective condition of being alone (e.g., living alone) and the subjective feeling of

being alone (i.e., loneliness) were strongly associated with suicidal outcomes.” 32 The authors

noted that “[t]he specific condition of physical and social isolation of life in prison intensifies




27
   Robert Canning & Joel Dvoskin, Preventing Suicide in Detention and Correctional Facilities,
in J. Wooldredge & P. Smith (Eds.), Oxford Handbook of Prisons and Imprisonment (pp. 551-
578). New York: Oxford University Press (2018), at p. 555.
28
   Alan Berman, and Robert Canning, Proximal Risk for Suicide in Correctional Settings: A Call
for Priority Research, Psychiatric Services, 19(3), 407-412 (2022).
29
   Id. at 408.
30
   Id. at 410.
31
   Rafaella Calati, et al., Suicidal Thoughts and Behaviors and Social Isolation: A Narrative
Review of the Literature, Journal of Affective Disorders, 245, 653-667 (2019), at p. 660.
32
   Id. at 663.


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suicidal risk,” that “suicidal behaviors are frequent in this context,” and that “being in isolation or

segregation cells is a risk factor for suicide, while contacts with family and inmates might represent

a protective factor.” 33

        41.     Perhaps the most extensive analyses of the causes of prison suicide have been

conducted by Louis Favril and his colleagues, including in a series of publications that appeared

between 2019 and 2022. In the first, Favril, Wittouck, Audenaert, and Vander Laenen noted that

suicide is the “leading cause of mortality in custodial settings worldwide". 34 Examining 17 years

of suicide data from the Belgian prison system between 2000 and 2016, they reported that 60% of

all suicides occurred in single-occupant cells, 35 and characterized the fact that one in ten suicides

occurred among prisoners housed in solitary confinement as “worrying at the least,” largely

because “the use of solitary confinement can be detrimental to prisoners’ mental health and well-

being.” 36 In the second publication on the topic, in 2020 Favril and colleagues Yu, Hawton, and

Fazel systematically analyzed the relationship between solitary confinement and self-harm and

suicide by conducting a meta-analysis of numerous previously published studies that had been

done across a range of some 20 countries. They concluded that the “environmental risk factor” of

solitary confinement was “clearly associated with self-harm.” 37 Favril’s sole-authored, follow-up

literature review, published the next year, in 2021, examined the epidemiology of and risk factors

for prison suicide, and included a series of recommendations for prevention. 38 He noted that, in



33
   Id. at 661.
34
   Louis Favril, Ciska Wittouck, Kurt Audenaert, & Freya Vander Laenen, 17-year National
Study of Prison Suicides in Belgium, Crisis, 40, 42–53 (2019), at 42.
35
   Id. at 46.
36
   Id. at 48.
37
   Louis Favril, Rongqin Yu, Keith Hawton, & Seena Fazel, Risk Factors for Self-Harm in
Prison: A Systematic Review and Meta-Analysis, Lancet: Psychiatry, 7, 682–691 (2020), at 688.
38
   Louis Favril, Epidemiology, Risk Factors, and Prevention of Suicidal Thoughts and Behaviour
in Prison: A Literature Review, Psychologica Belgica, 61(1), 341-355 (2021).


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addition to a number of pre-existing risk factors (such as economic disenfranchisement and

exposure to childhood adversity), “disconnection from family and friends on the outside” of prison

is “a strong and consistent risk factor for suicidal thoughts and behaviour in prisoners,” and also

that “there is evidence that solitary confinement itself is an independent risk factor for suicidal

behavior, even after release from prison.” 39 He noted further: “Whilst interventions aimed at the

physical prevention of suicide may have the ability to save lives, they do not address the reasons

why prisoners are suicidal in the first place, nor do they reduce the longer-term risk of suicide.

Appropriate psychosocial care and support should be provided.” 40 Finally, in 2022, Favril and

colleagues Shaw and Fazel conducted an updated, comprehensive meta-analytic review whose

findings were consistent with their earlier results, including the fact that, among a number of the

“custodial factors” that they examined, solitary confinement was the one that was most

significantly associated with in-prison suicide attempts. 41

       42.     Although suicide is the most extreme outcome, it is certainly not the only harmful

consequence of exposure to solitary confinement. In 2018, I published the results of a study that

used a structured interview and systematic assessment format to determine the prevalence of

symptoms of psychological stress, trauma, and isolation-related psychopathology in a randomly

selected sample of persons who had been in extremely long-term isolation, having been housed

for ten years or more in continuous solitary confinement (a Security Housing Unit or “SHU”).

When I compared the results of these assessments with those of a randomly selected sample of

general population (GP) incarcerated persons who had spent ten years or more of continuous




39
   Id. at 345.
40
   Id. at 348.
41
   Louis Favril, Jenny Shaw, & Seena Fazel, Prevalence and Risk Factors for Suicide Attempts in
Prison, Clinical Psychology Review, 97, 102190 (2022).


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imprisonment, 42 I found dramatic differences between them. That is, the persons in long-term

isolation reported nearly twice the mean number of symptoms of both stress-related trauma (e.g.,

troubled sleep, heart palpitations, feelings of an impending breakdown) and isolation-related

pathology (e.g., ruminations, irrational anger, depression, social withdrawal) overall compared to

those housed in general population and who had been in prison for similar amounts of time. The

intensity with which the reported symptoms was reported also differed very significantly—on

average they were experienced well over twice as intensely by the isolated group. In addition,

incarcerated persons in long-term solitary confinement not only reported being significantly more

“lonely” than the persons in long-term general population but also reported extremely high levels

of loneliness rarely found anywhere else in the literature. 43

       43.     Other researchers also documented high levels of psychological distress in persons

housed in solitary confinement. For example, in a 2020 publication, Keramet Reiter and her

colleagues found clinically significant symptoms in sizable numbers of persons housed under

isolated conditions, prevalence rates for serious mental illness and self-harming behavior in

solitary confinement that were approximately twice as high as among general population

incarcerated persons, “[s]ymptoms such as anxiety and depression [that] were especially prevalent

in [the isolated] population, along with symptoms ostensibly specific to solitary confinement, such

as sensory hypersensitivity and a perceived loss of identity…” as well as respondents who “pointed




42
   Craig Haney, Restricting the Use of Solitary Confinement, Annual Review of Criminology, 1,
285-310 (2018).
43
   Id.; see also Craig Haney, Solitary Confinement, Loneliness, and Psychological Harm, in
J. Lobel & P. Scharff Smith (Eds.), Solitary Confinement: Effects, Practices, and Pathways to
Reform (pp. 129-152). New York: Oxford University Press 2020).


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to psychiatric distress—in profoundly existential terms…” 44

       44.     Relatedly, there is evidence that the stressfulness and long-term damage that is

inflicted by solitary confinement can adversely affect someone’s life expectancy. A 2019 study

published in the Journal of the American Medical Association, analyzing the experiences of more

than 200,0000 persons who were released from a state prison system between 2000 and 2015,

confirmed this. The researchers found that those who spent any time in solitary-type confinement

(such as administrative or disciplinary segregation) “were 24% more likely to die in the first year

after release.” 45 Incarcerated people who spent time in solitary-type confinement also were more

likely to commit suicide (78% more likely than other prisoners) and to be victims of homicide

(54% more likely) after being released from prison, and they were “127% more likely to die of an

opioid overdose in the first 2 weeks after release.” 46

       45.     Although much of the research summarized above focused on the consequences of

longer-term solitary confinement—lasting days, weeks, months, or even years, there also is

evidence that even an initial, brief period in which someone is placed in solitary confinement

carries heightened risk of harm. This was first identified in the previously mentioned research

conducted by psychologist Hans Toch in New York State correctional facilities. After numerous

in-depth interviews, Toch identified a phenomenon that he termed “isolation panic,” an extreme

psychological reaction that some prisoners have, including in the early stages when first placed




44
   Keramet Reiter, et al., Psychological Distress in Solitary Confinement: Symptoms, Severity, and
Prevalence in the United States, 2017-2018, American Journal of Public Health, 110, 556-562
(2020), p. 560.
45
   Lauren Brinkley-Rubinstein, et al., Association of Restrictive Housing During Incarceration
with Mortality After Release, Journal of American Medical Association, Oct. 4, 2019, at
https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2752350.
46
   Id.


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alone in a solitary confinement cell. 47

          46.    Taken as a whole, the studies summarized in the preceding paragraphs confirm

what I have observed in my own work: time spent in isolation is not only painful but harmful. It

can and routinely does have extremely damaging psychological and physical effects—and, in the

worst case scenarios, can lead to death—for persons exposed to it.

          B.     The Negative Effects of Solitary Confinement Should Be Interpreted Within
                 a Larger Scientific Framework on Social Isolation

          47.    It is important to understand that, as I alluded to in passing earlier, the research on

solitary confinement that I summarized above does not exist in an empirical or theoretical vacuum.

In fact, what we know about the negative psychological effects of prison isolation is actually

situated in an even larger scientific literature about the harmful effects of social isolation and

exclusion in society more generally. That is, there is now a wealth of scientific knowledge about

the harmful effects of social isolation and exclusion in contexts and settings outside of prison.

          48.    Prison research is notoriously difficult to conduct, primarily because prisons are

“closed” institutions and because researchers lack control over where and how prisoners are

housed (which are decisions governed by correctional rather than scientific contingencies). Absent

these constraints in the world outside prison, researchers have been able to conduct a vast number

of scientific studies on the effects of social isolation and exclusion. That much larger scientific

literature forms the empirical and theoretical framework in which the results of research on solitary

confinement in prison can and should be understood and interpreted.

          49.    There has been a great deal of methodologically sophisticated research - much of it

done in the last several decades – that has produced an impressive scientific database that very




47
     Toch, supra note 14, at 54.


                                                   27
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carefully documents what many of us who have been studying prison solitary confinement already

knew—namely, that meaningful social contact is a fundamental human need, and whose

deprivation has a range of potentially very serious psychological and even physical effects. The

database is so extensive that it would be impossible for me to comprehensively review it in the

time available to complete this report. Instead, I will summarize a representative sample of the

research and its most important conclusions. Even this brief summary establishes that there is a

larger empirical and theoretical scientific framework through which the nature and significance of

the adverse effects of solitary confinement can and should be understood.’

       50.     The need to belong, to be socially connected, and to have social contact with

others—has been recognized for several decades in psychology and other behavioral sciences. 48

Psychologists have long known that social contact is fundamental to establishing and maintaining

emotional health and well-being. Years ago, social psychologist Herbert Kelman argued that

denying persons contact with others was a form of dehumanization. 49 As one researcher put it

more recently: “Since its inception, the field of psychology emphasized the importance of social

connections.” 50 “Affiliation” - the opportunity to have meaningful contact with others - helps us

reduce anxiety in the face of uncertainty or fear-arousing stimuli.51



48
   See, e.g., Baumeister, R., & Leary, M. (1995). The need to belong: Desire for interpersonal
attachments as a fundamental human motivation. Psychological Bulletin, 117, 497-529.
49
   Kelman, H., Violence Without Restraint: Reflections on the Dehumanization of Victims and
Victimizers. In G. Kren & L. Rappaport (Eds.), Varieties of Psychohistory (pp. 282-314). New
York: Springer (1976).
50
   DeWall, C., Looking Back and Forward: Lessons Learned and Moving Forward, in C. DeWall
(Ed.), The Oxford Handbook of Social Exclusion (pp. 301-03). New York: Oxford University
Press (2013), at p. 301.
51
   See, e.g., Stanley Schachter, The Psychology of Affiliation: Experimental Studies of the
Sources of Gregariousness. Stanford, CA: Stanford University Press (1959); Irving Sarnoff &
Philip Zimbardo, Anxiety, Fear, and Social Affiliation, Journal of Abnormal Social Psychology,
62, 356-363 (1961); Philip Zimbardo & Robert Formica, Emotional Comparison and Self-
Esteem as Determinants of Affiliation, Journal of Personality, 31, 141-162 (1963).


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       51.     Indeed, one of the ways that people determine the appropriateness of their

feelings - how we establish the very nature and tenor of our emotions - is through contact with

others. 52 Thus, prolonged social deprivation is painful and destabilizing in part because it deprives

persons of the opportunity to ground their thoughts and emotions in a meaningful social context - to

know what they feel and whether those feelings are appropriate.

       52.     Not surprisingly, then, numerous scientific studies have established the

psychological significance of social contact, connectedness and belongingness. They have

concluded, among other things, that the human brain is literally “wired to connect” to others. 53

Thwarting this “need to connect” not only undermines psychological well-being but also increases

physical morbidity and mortality. Indeed, in part out of recognition of the importance of the human

need for social contact, connection, and belongingness, social psychologists and others have

written extensively about the harmful effects of its deprivation - what happens when people are

subjected to social exclusion and isolation.

       53.     Some of the most dramatic demonstrations of the harmful effects of social

deprivation have been found in animal research, where certain kinds of more intrusive scientific

procedures and controls are possible to employ. Numerous animal studies have documented the

neurological consequences of social isolation, measured in ways that they could not be done with




52
   See, e.g., A. Fischer, A. Manstead, & R. Zaalberg, Social Influences on the Emotion Process,
in M. Hewstone & W. Stroebe (Eds.), European Review of Social Psychology (pp. 171-202).
Volume 14. Wiley Press (2004); C. Saarni, The Development of Emotional Competence. New
York: Guilford Press (1999); Stanley Schachter & Jerome Singer, Cognitive, Social, and
Physiological Determinants of Emotional State, Psychological Review, 69, 379-399 (1962); L.
Tiedens & C. Leach (Eds.), The Social Life of Emotions. New York: Cambridge University Press
(2004); and S. Truax, Determinants of Emotion Attributions: A Unifying View, Motivation and
Emotion, 8, 33-54 (1984).
53
   Lieberman, M., Social: Why Our Brains Are Wired to Connect. New York: Random House
(2013).


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human study subjects. The studies have found that social isolation actually has the capacity to alter

the brain’s neurochemistry, structure, and function. Thus, social isolation leads to anxiety-like

behavior in animals, impairs their working memory, and disrupts their brain activity, 54 as well as

altering their neuroendocrinal responses in ways that that exacerbate the effects of stress. 55 Social

isolation represents a chronic stressor that also changes animal brain chemistry in ways that

negatively affect the cellular mechanisms of aging, 56 precipitates depression-like behavior in

mammals, 57 and suppresses the animal immune response to illness. 58

       54.     In fact, the damaging effects of social isolation on laboratory animals are so well-

documented that they have led governmental and scientific funding organizations—for example,

the National Institute of Health—to prohibit researchers from placing animals in completely

isolated conditions for prolonged periods. It is considered unethical to do so and a basis for denying

or revoking funding to scientists who violate this prohibition. As a result, university research

facilities that conduct animal research have “institutional animal care and use committees” that

promulgate guidelines for conducting animal research, virtually all of which include limitations




54
   See, e.g., Zorzo, C., Mendez-Lopez, M., Mendez, M., & Arias, J. (2018). Adult social isolation
leads to anxiety and spatial memory impairment: Brain activity pattern of COx and c-Fos.
Behavioural Brain Research, 365, 170-177.
55
   See, e.g., Frietas, B., Antoniazzi, V., dos Santos, C., et al. (2019). Social isolation and social
support at adulthood affect epigenetic mechanisms, brain-derived neurotrophic factor levels and
behavior of chronically stressed rats. Behavioural Brain Research, 366, 36-44.
56
   See, e.g., Stevenson, J., McMahon, E., Boner, W., & Haussmann, M. (2019). Oxytocin
administration prevents cellular aging caused by social isolation. Psychoneuroendrocrinology,
103, 52-60.
57
   See, e.g., Gong, Y., Tong, L., Yang, R., et al. (2018). Dynamic changes in hippocampal
microglia contribute to depressive behavior induced by early social isolation.
Neuropharmacology, 135, 223-233.
58
   See, e.g., Wu, W., Yamaura, T., Murakami, K., et al. (2000). Social isolation stress enhances
liver metastasis of murine colon 26-L5 carcinoma cells by suppressing immune response in mice.
Life Sciences, 66, 1827-1838.


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on the degree to which laboratory animals can be subjected to any form of social isolation. 59

       55.     Of course, the results of animal studies are not directly transferable to human

populations. However, literally hundreds of studies done with human participants have reached

many of the same conclusions. For example, scientists have established that social isolation is a

significant risk factor for depression and anxiety among adolescents and adults, 60 and is related as

well to psychosis, 61 paranoia, 62 and suicidal behavior. 63 It also leads to reduced cognitive

functioning. 64 Among people who already have been diagnosed or identified as mentally ill in free



59
   For example, Emory University’s guidelines mandate “environmental enrichment” for
nonhuman primates used in research. The enrichment is aimed at “identifying and providing the
environmental stimuli necessary for psychological and physiological wellbeing.” The Emory
guidelines mandate that “all nonhuman primates must be housed with one or more members of
the same species.” Any exception to this policy requires advanced approval and is “reviewed by
the Attending Veterinarian every 30 days.”
http://www.iacuc.emory.edu/documents/policies/360_Environmental_Enrichment_for_Nonhuma
n_Primates.pdf.
60
   See, e.g., Ge, L., Chun, W., Ong, R., & Heng, B. (2017). Social isolation, loneliness and their
relationship with depressive symptoms: A population-based study. PLoS ONE, 12(8), e0182145.
https://doi.org/10.1371/journal.pone.0182145; Hafner, S., et al., Association Between Social
Isolation and Inflammatory Markers in Depressed and Non-depressed Individuals: Results from
the MONICA/KORA Study, Brain, Behavior, and Immunity, 25, 1701-1707 (2011); Richardson,
C., Oar, E., Fardouly, J. et al. (2019). The moderating role of sleep in the relationship between
social isolation and internalising problems in early adolescence. Child Psychiatry & Human
Development, 1-10 https://doi.org/10.1007/s10578-019-00901-9; van Beljouw, I. M., van Exel,
E., de Jong Gierveld, J., Comijs, H. C., Heerings, M., Stek, M.L., et al. (2014). "Being all alone
makes me sad": Loneliness in older adults with depressive symptoms. International
Psychogeriatrics, 9. https://doi.org/10.1017/S1041610214000581 1-11.1; Wang, J., Lloyd-
Evans, B., Giacco, D. et al. (2017). Social isolation and mental health: A conceptual and
methodological review. Social Psychiatry and Psychiatric Epidemiology, 52, 1451-1461.
61
   See, e.g., DeNiro, D. (1995). Perceived alienation in individuals with residual-type
schizophrenia. Issues in Mental Health Nursing, 16(3), 185-200.
62
   See, e.g., Butter, S., Murphy, J., Shelvin, M., & Houston, J. (2017). Social isolation and
psychosis-like experiences: A UK general population analysis. Psychosis: Psychological, Social
and Integrative Approaches, 9(4), 291-300.
63
   See, e.g., Goldsmith, S., Pellmar, T., Kleinman, A., & Bunney, W. (2002). Reducing suicide: A
national imperative. Washington, DC: National Academy Press.
64
   See, e.g., Fratiglioni, L., Wang, H., Ericsson, K., Maytan, M., & Winblad, B. (2000). Influence
of social network on occurrence of dementia: A community-based longitudinal study. Lancet,
355, 1315-1319; Shankar, A., Hamer, M., McMunn, A., & Steptoe, A. (2013). Social isolation


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society, isolation has been implicated in the maintenance of delusional or psychotic beliefs, 65 a

lack of insight into one’s psychiatric symptoms, 66 and a higher rate of hospital usage. 67

       56.     In addition, social isolation also adversely impacts the functioning of the human

immune system 68 and undermines physical health outcomes in general. 69 Not surprisingly it has

been linked to higher rates of mortality; that is, social isolation literally lowers the age at which

people die from all causes, not just deaths from suicide discussed above. 70 In fact, researchers have



and loneliness: Relationships with cognitive function during 4 years of follow-up in the English
Longitudinal Study of Ageing. Psychosomatic Medicine, 75, 161-170.
65
   See, e.g., Garety, P., Kuipers, E., Fowler, D., Freeman, D., & Bebbington, P. (2001). A
cognitive model of the positive symptoms of psychosis. Psychological Medicine, 31(2), 189-195,
who wrote about the way that social marginalization contributes to beliefs about the self as
“vulnerable to threat, or about others as dangerous” (p. 190) and the way that “social isolation
contributes to the acceptance of… psychotic appraisal by reducing access to alternative move
normalizing explanations” (p. 191).
66
   See, e.g., White, R., Bebbington, P., Person, J., Johnson, S., & Ellis, D. (2000). The social
context of insight in schizophrenia. Social Psychiatry and Psychiatric Epidemiology, 35(11),
500-507.
67
   See, e.g., Mgutshini, T. (2010). Risk factors for psychiatric re-hospitalization: An exploration.
International Journal of Mental Health Nursing, 19(4), 257-267; and Thornicroft, G. (1991).
Social Deprivation and Rates of Treated Mental Disorder: Developing Statistical Models to
Predict Psychiatric Service Utilisation, British Journal of Psychiatry, 158, 475-484.
68
   See, e.g., Pressman, S., Cohen, S., Miller, G., et al., (2005). Loneliness, social network size,
and immune response to influenza vaccination in college freshmen. Health Psychology, 24, 297-
306.
69
   See, e.g., Beller, J., & Wagner, A. (2018). Loneliness, social isolation, their synergistic
interaction, and mortality. Health Psychology, 37(9), 808-813; Fiorillo, D., & Fabio Sabatini, F.
(2011). Quality and Quantity: The Role of Social Interactions in Self-Reported Individual
Health. Social Science & Medicine, 73, 1644-1652.
70
   See, e.g., Coyle, & Dugan, (2012); and Elovainio, M., Hakulinen, C., Pulkki-Raback, L., et al.
(2017). Contribution of risk factors to excess mortality in isolated and lonely individuals: An
analysis of data from the U.K. Biobank cohort study. The Lancet Public Health, 2, e260-e266;
Hawkley, L., & Cacioppo, J. (2010). Loneliness matters: A theoretical and empirical review of
consequences and mechanisms. Annals of Behavioral Medicine, 40, 218-227; Heinrich, L., &
Gullone, E. (2006). The clinical significance of loneliness: A literature review. Clinical
Psychology Review, 26, 695-718; Marcus, A., Illescas, A., Hohl, B., & Llanos, A. (2017).
Relationships between social isolation, neighborhood poverty, and cancer mortality in a
population-based study of US adults. PLoS ONE, 12(3), e0173370. doi:
10.1371/journal.pone.0173370; Pantell, M., Rehkopf, D., Jutte, D., et al. (2013). Social isolation:
A predictor of mortality comparable to traditional clinical risk factors. American Journal of


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concluded that the health risk of social isolation on mortality rates is comparable to that caused by

smoking. 71 In part because of its dramatic life-shortening effects, the social isolation of older adults

was the focus of two of the Canadian National Seniors Council most recent reports. 72 Its negative

effects on psychological and physical well-being have led to social isolation being recognized

internationally as a major public health problem. 73

        57.     There is a closely related and well-developed body of literature on “social

exclusion” - what happens when people are involuntarily separated from others (as they are in

most prison solitary confinement units). These studies, too, show that being separated from others

produces a host of serious negative consequences. Researchers have documented the fact that

excluding persons from contact with others is not only “painful in itself,” but also “undermines

people’s sense of belonging, control, self-esteem, and meaningfulness, reduces pro-social




Public Health, 30, 241-256; and Tanskanen, J., & Anttila, T. (2016). A prospective study of
social isolation, loneliness, and mortality in Finland. American Journal of Public Health,
106(11), 2042-2048.
71
   See, e.g., Holt-Lunstad, J., Smith, T. B., & Layton, B. (2010). Social relationships and
mortality risk: A meta-analytic review. PLoS Medicine, 7, 1–20. Holt-Lunstad, J., Smith, T. B.,
Baker, M., Harris, T., & Stephenson, D. (2015). Loneliness and social isolation as risk factors for
mortality: A meta-analytic review. Perspectives on Psychological Science, 10, 227–237.
72
   See National Seniors Council. (2014). Report on the social isolation of seniors 2013-2014, at
http://www.seniorscouncil.gc.ca/eng/research_publications/social_isolation/page00.html;
National Seniors Council. (2017). Who’s at risk and what can be done about it? A review of the
literature on the social isolation of different groups of seniors, at
https://www.canada.ca/en/national-seniors-council/programs/publications-reports/2017/review-
social-isolation-seniors.html.
73
   See, e.g., Leigh-Hunt, N., Bagguley, D., Bash, K., et al. (2017). An overview of systematic
reviews on the public health consequences of social isolation and loneliness. Public Health, 152,
157-171. In fact, an international commission formed by former French President, Nicholas
Sarkozy, and led by Nobel Prize winners Joseph Stiglitz and Amartya Sen and economist Jean-
Paul Fitoussi to identify key indicators of social progress, quality of life, and well-being
identified social connectedness as one of the key dimensions that nations should take into
account. Stiglitz, J., Sen, A., Fitoussi, J., et al. (2008). Report by the Commission on the
Measurement of Economic Performance and Social Progress. Paris, France: The Commission
http://ec.europa.eu/eurostat/documents/118025/118123/Fitoussi+Commission+report


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behavior, and impairs self-regulation.” 74 Indeed, the subjective experience of social exclusion

results in what has been called “cognitive deconstructive states” in which there is emotional

numbing, reduced empathy, cognitive inflexibility, lethargy, and an absence of meaningful

thought. 75

        58.    Social exclusion has been shown to heighten people’s feelings of physical

vulnerability and the expectation that they will experience physical harm in the future, 76 and may

precipitate aggressive behavior - “action-oriented coping” - in response. 77 As two authors noted in

summarizing these overall effects:

        Social exclusion is detrimental and can lead to depression, alienation, and
        sometimes even to violent behaviour. Laboratory studies show that even a brief
        episode of exclusion lowers mood, causes social pain, which is analogous to
        physical pain, and elicits various behavioural responses, such as aggressive
        behaviour or affiliation‐seeking behavior. 78

        59.    In fact, the editor of an authoritative Oxford Handbook of Social Exclusion

concluded the volume by summarizing the “serious threat” that social exclusion represents to

psychological health and well-being, including “increased salivary cortisol levels… and blood




74
   Bastian, B., & Haslam, N. (2010). Excluded from Humanity: The Dehumanizing Effects of
Social Ostracism. Journal of Experimental Social Psychology, 46, 107-113, p. 107, internal
references omitted.
75
   Twenge, J., Catanese, K., & Baumeister, R. (2003). Social Exclusion and the Deconstructed
State: Time Perception, Meaninglessness, Lethargy, Lack of Emotion, and Self Awareness.
Journal of Personality and Social Psychology, 85, 409-423 (2003).
76
   See, e.g., Dean, K., Wentworth, G., & LeCompte, N. (2016). Social exclusion and perceived
vulnerability to physical harm. Self and Identity, 18(1), 87-102.
77
   Reiter-Scheidl, K., Poapousek, I., Lackner, H., et al. (2018). Aggressive behavior after social
exclusion is linked with the spontaneous initiation of more action-oriented coping immediately
following the exclusion episode. Physiology & Behavior, 195, 142-150.
78
   Syrjamaki, A., & Hietanen, J., (2018). The effects of social exclusion on processing of social
information—A cognitive psychology perspective. British Journal of Social Psychology,
DOI:10.1111/bjso.12299 (internal citations omitted). See, also: DeWall, et al. (2011).
Belongingness as a Core Personality Trait: How Social Exclusion Influences Social Functioning
and Personality Expression, Journal of Personality, 79, 979-1012.


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flow to brain regions associated with physical pain,” “sweeping changes” in attention, memory,

thinking, and self-regulation, as well as changes in aggression and prosocial behavior. As he put

it: “This dizzying array of responses to social exclusion supports the premise that it strikes at the

core of well-being.” 79

       60.     In addition to subjecting prisoners to social isolation and social exclusion, solitary

confinement often greatly limits or completely deprives them of the opportunity to give and receive

caring human touch. Isolated prisoners may go for days, weeks, months, or even years without

ever touching another person with affection. Yet, psychologists have long known that: “Touch is

central to human social life. It is the most developed sensory modality at birth, and it contributes

to cognitive, brain, and socioemotional development throughout infancy and childhood.” 80 The

need for caring human touch is so fundamental that early deprivation is a risk factor for

neurodevelopmental disorders, depression, suicidality, and other self-destructive behavior. 81 Later

deprivation is associated with violent behavior in adolescents. 82 Conversely, a number of experts



79
   DeWall, supra note 34, at p. 302. See, also: Johan Karremans, et al. (2011). Secure
Attachment Partners Attenuate Neural Responses to Social Exclusion: An fMRI Investigation.
International Journal of Psychophysiology, 81, 44-50 (2011).
80
   Hertenstein, M., Keltner, D., App, B., Bulleit, B, & Jaskolka, A., Touch Communicates
Distinct Emotions. Emotion, 6, 528-533 (2006), at p. 528. See, also: Hertenstein, M., & Weiss,
S. (Eds.), The Handbook of Touch: Neuroscience, Behavioral, and Health Perspectives. New
York: Springer (2011).
81
   See, e.g., Cascio, C., Somatosensory Processes in Neurodevelopmental Disorders, Journal of
Neurodevelopmental Disorders, 2, 62-69 (2010); Field, S., Touch Deprivation and Aggression
Against Self Among Adolescents, in Stoff, D. & Susman, E. (Ed.), Developmental
psychobiology of aggression (117-140). New York: Cambridge (2005).
82
   Field, T., Violence and Touch Deprivation in Adolescents, Adolescence, 37, 735-749 (2002).
Recent theory and research now indicate that “touch is a primary platform for the development
of secure attachments and cooperative relationships,” is “intimately involved in patterns of
caregiving,” is a “powerful means by which individuals reduce the suffering of others,” and also
“promotes cooperation and reciprocal altruism.” Goetz, J., Keltner, D., & Simon-Thomas, E.,
Compassion: An Evolutionary Analysis and Empirical Review, Psychological Bulletin, 136,
351-374 (2010), at p. 360. The uniquely prosocial emotion of compassion “is universally
signaled through touch,” so that persons who live in a world without touch are denied the


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have argued that caring human touch is so integral to our well-being that it is actually therapeutic.

Thus, it has been recommended to treat a host of maladies including depression, suicidality, and

learning disabilities. 83

        61.     If anything, the kind of social isolation, social exclusion, and the deprivation of

caring touch that occurs in solitary confinement in prisons and jails is far more stressful, harmful,

and dangerous than in the larger society where these deleterious effects have been elaborately

documented. Prison and jail isolation is enforced isolation (indeed, prisoners are often forcibly

removed from their cells and taken to solitary confinement), it is pejoratively imposed (i.e., there

is stigma and often gratuitous humiliation associated with it), and it is accompanied by a host of

additional deprivations beyond the sheer deprivation of meaningful social contact. Those

deprivations commonly include the lack of positive environmental stimulation, severe restrictions

on property, and a dearth or complete absence of meaningful activity and programming. Thus,

there is every reason to believe that the adverse psychological and physical effects of social

isolation and exclusion and the deprivation of caring touch that occur in the course of solitary

confinement exceed those that typically occur as a result of experiencing social isolation in free

society.



experience of receiving or expressing compassion in this way. Stellar, J., & Keltner, D.,
Compassion, in Tugade, M., Shiota, M., & Kirby, L. (Eds.), Handbook of Positive Emotions
(pp. 329-41). New York: Guilford (2014). Researchers have found that caring human touch
mediates a sense of security and place, a sense of shared companionship, of being and nurturing,
feelings of worth and competence, access to reliable alliance and assistance, and guidance and
support in stressful situations. Weiss, R., The Attachment Bond in Childhood and Adulthood, in
C. Parkes, J. Stevenson-Hinde, & P. Marris (Eds.), Attachment Across the Life Cycle (66-76).
London: Routledge (1995).
83
   See, e.g., Dobson, S., Upadhyaya, S., Conyers, I., & Raghavan, R., Touch in the Care of
People with Profound and Complex Needs, Journal of Learning Disabilities, 6, 351-362 (2002);
Field, T., Deprivation and Aggression Against Self Among Adolescents. In D. Stoff & E.
Susman (Eds.), Developmental Psychobiology of Aggression (pp. 117-40). New York:
Cambridge (2005).


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       C.      Current Professional Standards Severely Limit the Use of Solitary
               Confinement

       62.     These basic facts comprise the scientific reasons that numerous professional

scientific, mental health, legal, and correctional organizations as well as faith communities and

international human rights monitoring bodies have promulgated standards to be followed with

respect to prisoners housed in segregated confinement, including using this form of harsh

confinement only as an absolute last resort and only for the shortest possible time (not to exceed

15 days). Thus, they not only have explicitly acknowledged the harmful effects of solitary

confinement but also have articulated standards by which its use should be strictly limited and, in

some cases, prohibited.

       63.     Distinguished expert panels that have investigated and analyzed these issues have

reached nearly identical conclusions about the harmful effects of solitary confinement. For

example, a landmark report was published in 2006 that was based in large part on a series of

fact-finding hearings conducted across the United States by the bipartisan Commission on Safety

and Abuse in America’s Prisons. In the course of the hearings, diverse groups of nationally

recognized experts, stakeholders, and policymakers testified about a wide range of prison-related

issues. Among other things, the Commission concluded that solitary confinement was “expensive

and soul destroying” 84 and recommended that prison systems “end conditions of isolation.” 85

       64.     The next year, in 2007, an international group of prominent mental health and

correctional experts meeting on psychological trauma in Istanbul, Turkey issued a joint statement

on “the use and effects of solitary confinement.” In what has come to be known as the “Istanbul



84
   Gibbons, J., and Katzenbach, N., Confronting Confinement: A Report of the Commission on
Safety and Abuse in America’s Prisons. New York: Vera Institute of Justice (2006), at p. 59, at
http://www.vera.org/sites/default/files/resources/downloads/Confronting_Confinement.pdf.
85
   Id. at p. 57.


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Statement,” they acknowledged that the “central harmful feature” of solitary confinement is its

reduction of meaningful social contact to a level “insufficient to sustain health and well being.”86

Citing various statements, comments, and principles that had been previously issued by the United

Nations - all recommending that the use of solitary confinement be carefully restricted or abolished

altogether - the Istanbul group concluded that “[a]s a general principle solitary confinement should

only be used in very exceptional cases, for as short a time as possible and only as a last resort.”

Notably, the specific recommendations they made about how such a regime should be structured

and operated would, if adopted, end most forms of long-term isolated confinement.

       65.     In 2010, the American Bar Association Standards for Criminal Justice hold that

“[s]egregated housing should be for the briefest term and under the least restrictive conditions

practicable” 87 and that at intervals “not to exceed [90 days], a full classification review” should be

conducted that addresses the prisoner’s “individualized plan” in segregation with “a presumption

in favor of removing the prisoner from segregated housing.” 88

       66.     In 2011, the United Nations Special Rapporteur on Torture and Other Cruel,

Inhuman or Degrading Treatment or Punishment concluded that solitary confinement for longer

than 15 days constitutes torture, and that juveniles and people with mental illness should never be

held in solitary confinement. 89



86
   International Psychological Trauma Symposium, Istanbul Statement on the Use and Effects of
Solitary Confinement. Istanbul, Turkey (December 9, 2007), available at
http://www.univie.ac.at/bimtor/dateien/topic8_istanbul_statement_effects_solconfinment.pdf.
87
   American Bar Association, ABA Criminal Justice Standards on the Treatment of Prisoners,
Standard 23-2.6(a) (2010), available at http://www.americanbar.org
/publications/criminal_justice_section_archive/crimjust_standards_treatmentprisoners.html
[hereinafter “ABA Standards”].
88
   ABA Standards, 23-2.9.
89
   Special Rapporteur on Torture and Other Cruel, Inhuman or Degrading Treatment or
Punishment, Interim Report of the Special Rapporteur on Torture and Other Cruel, Inhuman or
Degrading Treatment or Punishment, U.N. Doc A/66/268, paras. 76-78 (Aug. 5, 2011).


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       67.     Similarly, the Society of Correctional Physicians issued a Position Statement

“acknowledg[ing] that prolonged segregation of inmates with serious mental illness, with rare

exceptions, violates basic tenets of mental health treatment.” The National Alliance on Mental

Illness has reached much the same set of conclusions and recommendations. 90

       68.     In 2013, the American Public Health Association issued a report that focused

attention on solitary confinement as a “public health issue.” The Association detailed the public

health harms of solitary confinement, urged correctional authorities to “eliminate solitary

confinement for security purposes unless no other less restrictive option is available to manage a

current, serious, and ongoing threat to the safety of others,” and recommended that, because of the

risks involved, “[p]unitive segregation should be eliminated.” 91

       69.     The National Academy of Science assembled a committee of the nation’s most

distinguished prison scholars to analyze the causes and consequences of the high rate of

incarceration in the United States. In 2014, after several years of study, the committee issued its

final report. Among other things, the report quoted two esteemed prison researchers – Hans Toch

to the effect that many forms of solitary confinement are “draconian, redolent with custodial

overkill, and stultifying” and Norval Morris to the effect that such confinement “raise[d] the level

of punishment close to that of psychological torture.” 92 The committee itself concluded that there



90
   Society of Correctional Physicians, Position Statement, Restricted Housing of Mentally Ill
Inmates (2013), available at http://societyofcorrectionalphysicians.org/resources/position-
statements/restricted-housing-of-mentally-ill-inmates; National Alliance on Mental Illness,
Public Policy Platform Section 9.8, available at
http://www.nami.org/Template.cfm?Section=NAMI_Policy_Platform&Template=/ContentMana
gement/ContentDisplay.cfm&ContentID=38253 (“oppos[ing] the use of solitary confinement
and equivalent forms of extended administrative segregation for persons with mental illnesses”).
91
   American Public Health Association, Solitary Confinement as a Public Health Issue, Policy
No. 201310 (2013), at http://www.apha.org/advocacy/policy/policysearch/default.htm?id=1462.
92
   National Research Council, The Growth of Incarceration in the United States: Exploring
Causes and Consequences. Washington, DC: National Academies Press, p. 185.


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are “sound theoretical bases” that explain the adverse psychological effects of prison isolation, and

that “[a]n extensive empirical literature indicates that long-term isolation or solitary confinement

in prison settings can inflict emotional damage.” 93 The report recommended placing significant

limitations on the use of solitary confinement, including “limiting or prohibiting the long-term

isolation of prisoners with special vulnerabilities (such as serious mental illness).” 94

       70.     In April 2016, the National Commission on Correctional Health Care

(“NCCHC”)—an organization of health care professionals who work in correctional settings—

issued a Position Statement on solitary confinement. 95 Relying on many of the sources and

consensus positions that I have quoted in the preceding paragraphs of this section of my report,

the NCCHC declared, among other things, that solitary confinement of longer than 15 days

constitutes “cruel, inhumane, or degrading treatment of inmates” of the sort that correctional health

professionals should not participate in.

       71.     Various faith-based organizations have also issued similar policy statements and

recommendations urging significant reductions in the use of solitary confinement and its outright

elimination for some populations. For example, New York State Council of Churches passed a

resolution in 2012 opposing the use of prison isolation and urging all members of the faith to

participate in work to “significantly limit the use of solitary confinement.” 96

       72.     Moreover, in 2015 a Commission of the United Nations approved the Standard



93
   Id. at p. 186.
94
   Id. at p. 188.
95
   Available at: http://www.ncchc.org/solitary-confinement.
96
   New York State Council of Churches, Resolution Opposing the Use of Prolonged Solitary
Confinement in the Correctional Facilities of New York State and New York City (2012),
available at https://sites.google.com/site/nyscouncilofchurches /priorities/on-solitary-
confinement; Presbyterian Church (USA), Commissioners’ Resolution 11-2, On Prolonged
Solitary Confinement in U.S. Prisons (2012), available at https://pc-
biz.org/MeetingPapers/(S(em2ohnl5h5sdehz2rjteqxtn))/Explorer.aspx?id=4389


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Minimum Rules for the Treatment of Prisoners (known as the “Mandela Rules”) that contained

several provisions designed to significantly regulate and limit the use of solitary confinement.

Specifically, Rule 43.1 prohibits the use of “indefinite” and “prolonged” solitary confinement. 97

More generally, Rule 45.1 provides that solitary confinement “shall be used only in exceptional

cases as a last resort, for as short a time as possible…”

       73.     In fact, these standards are not only well-known in the scientific, mental health,

human rights, legal, and correctional communities but, as I will discuss later in this report, they

have been acknowledged by the Manitoba prison authorities themselves, who have pledged to

adhere to them.

       74.     In addition to the increasingly broad and deep consensus about the harmfulness of

solitary confinement among scientific, legal, religious, and medical and mental health

organizations, there are a number of state correctional systems in the United States that have

explicitly recognized the psychological risks as well as the added expense and overall

ineffectiveness of punitive isolation and taken steps to significantly reduce its use. For example,

in 2015, a New York Times Magazine article reported on the views of Colorado officials, including

the head of the state Department of Corrections: “Gov. John W. Hickenlooper of Colorado signed

[a bill banning solitary confinement for anyone under 21] at the urging of the state corrections

chief, Rick Raemisch, who spent a night in solitary confinement and wrote about it in a New York

Times Op-Ed. concluding that its overuse is ‘counterproductive and inhumane.’” 98 The Colorado




97
   Commission on Crime Prevention and Criminal Justice, United Nations Standard Minimum
Rules for the Treatment of Prisoners (the Mandela Rules), United Nations Economic and Social
Council, May 21, 2015. The Commission defined “solitary confinement” as “confinement of
prisoners for 22 hours or more a day without meaningful human contact.” See Rule 44.
98
   Binelli, M., This Place is Not Designed for Humanity, New York Times Magazine, March 29,
2015, p. 40. For the Colorado Executive Director of Corrections Op Ed, see Raemisch, R., My


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Department of Corrections was one of the leaders in the decade-old movement to very significantly

reduce the overall number of prisoners housed in solitary confinement units in the United States

and to reduce and eventually prohibit mentally ill prisoners from being housed in them. 99

Eventually, Rick Raemisch, the director of the Colorado Department of Corrections, announced

that Colorado had not only prohibited mentally ill prisoners from being placed in isolation but also

ended the use of long-term solitary confinement altogether, so that even prisoners “who commit

serious violations like assault will now spend at most 15 days in solitary.…” 100

       75.     In fact, over the last decade, prison systems in the United States as diverse as Maine,

Mississippi, and North Dakota have drastically reduced the number of prisoners housed in solitary

or isolated confinement. 101 In addition, several states have closed their primary solitary

confinement units altogether. For example, in January, 2013, the Illinois Department of

Corrections closed its supermax prison located at the Tamms Correctional Center. 102 In Colorado,



Night in Solitary, New York Times, February 20, 2014 [available at:
http://www.nytimes.com/2014/02/21/opinion/my-night-in-solitary.html?_r=0
99
   Memo to Wardens from Lou Archuleta, Interim Director of Prisons, Colorado DOC,
December 10, 2013. See, also: Jennifer Brown, Colorado Stops Putting Mentally Ill Prisoners in
Solitary Confinement, Denver Post, Dec. 12, 2013, available at
http://www.denverpost.com/news/ci_24712664/colorado-wont-put-mentally-ill-prisoners-
solitary-confinement.
100
    Raemisch, R. (2017). Putting an End to Long-Term Solitary. New York Times. October 13.
A25. https://www.nytimes.com/2017/10/12/opinion/solitary-confinement-colorado-prison.html
101
    For a discussion of the nature and impact of the reforms to punitive isolation in Mississippi,
see Kupers, T., et al., Beyond Supermax Administrative Segregation: Mississippi’s Experience
Rethinking Prison Classification and Alternative Mental Health Programs, Criminal Justice &
Behavior, 36, 1037-1050 (2009); and Buntin, J., Exodus: How America’s Reddest State-And Its
Most Notorious Prison-Became a Model of Corrections Reform, Governing, 23, 20- (2010). For
a discussion of the reforms to punitive isolation in Maine, see: Heiden, Z., Change Is Possible: A
Case Study of Solitary Confinement Reform in Maine, ACLU of Maine, March, 2013, at
http://www.aclumaine.org/sites/default/files/uploads/users/admin/ACLU_Solitary_Report_webv
ersion.pdf; and Tapley, L., Reform Comes to the Supermax, Portland Phoenix, May 25, 2011, at
http://portland.thephoenix.com/news/121171-reform-comes-to-the-supermax/.
102
    See Tamms Correctional Center Closing-Fact Sheet, Illinois Department of Corrections, at
http://www.ilga.gov/commission.cgfa2006/upload/TammsMeetingTestimonyDocuments.pdf.


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in addition to reducing their administrative segregation population by nearly 37%, the Department

of Corrections completely shut down the entire 316-bed facility. 103 A lawsuit over the effects of

extremely long-term solitary—Ashker v. Brown—was settled when the state of California agreed

to close one of the nation’s most notorious prison isolation units, the Pelican Bay SHU, in part

because the state’s Secretary of Corrections acknowledged the capacity of such units to “drive

prisoners mad.” 104 More recently, in litigation surrounding the use of solitary in Arizona state

prisons, Jensen v. Thornell, the federal court found that the conditions in the state’s isolation units

violated the Eighth Amendment. The judge ordered that nobody under the age of 18 or with a

serious mental illness could be incarcerated in solitary confinement, and set a presumptive limit of

no more than 60 days in isolation for all other prisoners. 105

        76.    As a further reflection of these correctional trends, the Vera Institute of Justice

received funding from the U.S. Department of Justice to launch a Safe Alternatives to Segregation

Initiative (“SAFE Initiative”) with the explicit goal of assisting states and counties to reduce their

use of segregation and solitary confinement and to develop effective alternatives to its use. The

11-member Vera SAFE Initiative Advisory Board (on which I served) includes several state

corrections secretaries and deputy secretaries, including those in Colorado, New Mexico,

Pennsylvania, and Washington, who are publicly committed to developing ways of achieving

significant reductions in the use of prison isolation.

        77.    Finally, a joint study group convened by Yale Law School and the Association of



103
    News Release, Colorado Department of Corrections, The Department of Corrections
Announces the Closure of Colorado State Penitentiary II (March 19, 2012), at
http://www.doc.state.co.us/sites/default/files/Press%20release%20CSP%20II%20close%20%20F
eb%201%202013.pdf.
104
    60 Minutes, see n. 5.
105
    Jensen v. Thornell, No. CV-12-00601-PHX-ROS, 2023 WL 2838040, *27 (D. Ariz. April 7,
2023).


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State Correctional Administrators (the professional organization of the top correctional officials in

the United States) filed a report on solitary confinement in 2015 in which they observed:

        [D]ozens of initiatives are underway to reduce the degree and duration of isolation
        or to ban it outright, and to develop alternatives to protect the safety and well-being
        of the people living and working in prisons. The harms of such confinement for
        prisoners, staff, and the communities to which prisoners return upon release are
        more than well-documented. In some jurisdictions, isolated confinement has been
        limited or abolished for especially vulnerable groups (the mentally ill, juveniles,
        and pregnant women), and across the country, correctional directors are working
        on system-wide reforms for all prisoners. 106

        78.    In fact, this extraordinarily wide range of scientific experts and professional

organizations have all taken positions that: solitary confinement is harmful; it should be used only

when absolutely necessary; although the risk of harm begins immediately, because the length of

time a person is held in solitary confinement increases this risk, the length of exposure should be

limited to the briefest amount of time possible; and certain vulnerable groups (such as the seriously

mentally ill) should be prohibited entirely from ever being placed there.

        79.    The consistency of these recommendations is based largely on the fact that the

science of solitary is clear: enforced social isolation and the associated additional deprivations that

persons suffer when they are placed in solitary confinement are painful and harmful, sometimes

inflicting permanent damage that, in a disproportionate number of cases, is life-threatening. In the

next section of this report I discuss the well-known fact that, however damaging solitary

confinement is likely to be to any person who is subjected to it, it is far more dangerous to persons

who are mentally ill, and to children and adolescents, whose developing brains render them far

more vulnerable to its stressfulness and harm.




106
   Liman Program Yale Law School & Association of State Correctional Administrators, Time
In Cell: ASCA-Liman 2014 National Survey of Administrative Segregation in Prison (August,
2015), p. 7.


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V.     The Heightened Risk of Harm and Prohibitions Against Housing the Mentally Ill in
Solitary Confinement

       80.     In addition to the general standards limiting the use of solitary confinement,

because of its recognized significant risk of serious harm, there is also a widespread consensus

among scientific, mental health, legal, and correctional experts that otherwise vulnerable

persons—including persons who are mentally ill and juveniles— are at an even greater risk of

harm in solitary confinement and, therefore, should never be placed there. As I will note in a

several later paragraphs, this is precisely why court cases and human rights mandates have

precluded mentally ill persons from being placed in solitary confinement. There are very sound

scientific reasons why persons who suffer from mental illness experience greater difficulties

tolerating the painful experience of isolated confinement and are more likely to be harmed by it.

       81.     Conditions of solitary confinement are significantly more stressful and painful than

other forms of imprisonment for mentally ill people, because they are generally more sensitive and

reactive to psychological stressors and emotional pain. In many ways, the harshness and severe

levels of deprivation that are imposed on them in isolation are the antithesis of the kind of benign

and socially supportive atmosphere that mental health clinicians seek to create within genuinely

therapeutic environments. Not surprisingly, mentally ill people are more likely to deteriorate and

decompensate when they are subjected to the harshness and stress of prison isolation.

       82.     Some of the deterioration and decompensation that mentally ill people suffer in

isolated confinement results from the critically important role that social contact and social

interaction play in maintaining psychological equilibrium. The psychiatrist Harry Stack Sullivan

once summarized the clinical significance of meaningful social contact by observing that “[w]e

can’t be alone in things and be very clear on what happened to us, and we… can’t be alone and be

very clear even on what is happening in us very long-excepting that it gets simpler and simpler,



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and more primitive and more primitive, and less and less socially acceptable.” 107 Social contact

and social interaction are essential components in the creation and maintenance of normal social

identity and social reality. Thus, the experience of isolation is psychologically destabilizing as it

undermines a person’s sense of self or social identity and erodes his connection to a shared social

reality. Isolated prisoners have few if any opportunities to receive feedback about their feelings

and beliefs, which become increasingly untethered from any normal social context. As Cooke and

Goldstein put it:

        A socially isolated individual who has few, and/or superficial contacts with family,
        peers, and community cannot benefit from social comparison. Thus, these
        individuals have no mechanism to evaluate their own beliefs and actions in terms
        of reasonableness or acceptability within the broader community. They are apt to
        confuse reality with their idiosyncratic beliefs and fantasies and likely to act upon
        such fantasies, including violent ones. 108

In extreme cases, a related pattern emerges: isolated confinement becomes so painful, so bizarre,

and so impossible to make sense of that some prisoners create their own reality-they live in a

world of fantasy instead of the intolerable one that surrounds them.

        83.    It is important to note that many of the direct negative psychological effects of

isolation mimic or parallel specific symptoms of mental illness. Even though the direct effects of

isolation, experienced in reaction to adverse conditions of confinement, are generally less chronic

than those that are produced by a diagnosable mental illness, they can add to and compound a

mentally ill prisoner’s outward manifestation of symptoms as well as the internal experience of

their disorder. For example, as I noted earlier, many studies have documented the degree to which

isolated confinement contributes to feelings of lethargy, hopelessness, and depression. For already




107
   Sullivan, H., The Illusion of Personal Individuality, Psychiatry, 12, 317-332 (1971), at p. 326.
108
   Cooke, M. & Goldstein, J., Social Isolation and Violent Behavior, Forensic Reports, 2, 287-
294 (1989), at p. 288.


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clinically depressed prisoners, these acute situational effects are likely to exacerbate their

pre-existing chronic condition and lead to worsening of their depressed state. Similarly, the mood

swings that some prisoners report experiencing in isolation would be expected to amplify the

pre-existing emotional instability that prisoners diagnosed with bi-polar disorder suffer. Prisoners

who suffer from disorders of impulse control would likely find their pre-existing condition made

worse by the frustration, irritability, and anger that many isolated prisoners report experiencing.

And prisoners prone to psychotic breaks may suffer more in isolated confinement due to conditions

that deny them the stabilizing influence of social feedback that grounds their sense of reality in a

stable and meaningful social world.

        84.    The widespread recognition of the heightened vulnerability of mentally ill prisoners

to the adverse psychological effects of isolated confinement has led numerous corrections officials,

professional mental health groups, and human rights organizations to prohibit their placement in

such units or, if it is absolutely necessary (and only as a last resort) to confine them there, to very

strictly limit the duration of such confinement, and to provide prisoners with significant amounts

of out-of-cell time and augmented access to care.

        85.    For example, in 2012 the American Psychiatric Association (“APA”) issued a

Position Statement on Segregation of Prisoners with Mental Illness recommending that “prolonged

segregation” (which it defined as segregation lasting longer than four weeks) of prisoners with

serious mental illness “with rare exceptions, should be avoided due to the potential for harm to

such inmates.” 109 Indeed, the fact that the APA raised such time-based concerns, recommending

outright prohibitions of “prolonged” exposure for vulnerable populations such as juveniles and the



109
   American Psychiatric Association, Position Statement on Segregation of Prisoners with
Mental Illness (2012), at http://www.psych.org/File%20Library/Learn/Archives/ps2012
_PrisonerSegregation.pdf.


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mentally ill, acknowledges the widely accepted fact that mentally ill prisoners are especially

vulnerable to isolation - and stress-related regression, deterioration, and decompensation that

worsen their psychiatric conditions and intensify their mental health-related symptoms and

maladies (including depression, psychosis, and self-harm). It also underscores the universally

accepted principle that time matters, and that the longer someone is exposed to the stressful,

traumatic, and toxic environment of prison isolation the worse its effects and the greater the risks

of more serious harm. 110

        86.    It is important to note that the American Psychiatric Association’s position

statement was written without the benefit of the more recently articulated mandates from the

United Nations (i.e., the Mandela Rules), or the position statement from the National Commission

on Correctional Healthcare (NCCHC) among others. These more recently articulated positions

reflect a more informed consensus that was shared by prominent experts even before the 2014

American Psychiatric Association’s official statement.

        87.    For example, an article by psychiatric expert Jeffrey Metzner and human rights

attorney Jamie Fellner explicitly concluded that “[i]solation can be harmful to any prisoner,” and

that the potentially adverse effects of isolation include “anxiety, depression, anger, cognitive




110
    American Psychiatric Association, Statements: Segregation of Prisoners with Mental Illness
(2012), at http://www.psychiatry.org/advocacy--newsroom/position-statements; see also
American Academy of Child and Adolescent Psychiatry, Solitary Confinement of Juvenile
Offenders (2012), at
http://www.aacap.org/AACAP/Policy_Statements/2012/Solitary_Confinement_of
_Juvenile_Offenders.aspx (opposing “the use of solitary confinement in correctional facilities for
juveniles,” stating that “any youth that is confined for more than 24 hours must be evaluated by a
mental health professional” (emphasis added); Mental Health America, Seclusion and Restraints,
Policy Position Statement 24 (2011), available at http://www.nmha.org/positions/seclusion-
restraints (“urg[ing] abolition of the use of seclusion . . . to control symptoms of mental
illnesses”).


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disturbances, perceptual distortions, obsessive thoughts, paranoia, and psychosis.” 111 In fact,

Metzner and Fellner’s deep concerns over the harmfulness of isolated conditions of confinement

led them to recommend that professional organizations “should actively support practitioners who

work for changed segregation policies and they should use their institutional authority to press for

a nationwide rethinking of the use of isolation” in the name of their “commitment to ethics and

human rights.” 112

VI.   There Is No Legitimate Penological Justification for the Per Se Housing of Formerly
Federally Death-Sentenced Persons at ADX

        88.    With the above scientific consensus about the harmful and severe effects of solitary

confinement and the host of professional standards drastically limiting its use in mind, I have been

asked to summarize the scientific literature on whether currently or formerly death-sentenced

prisoners—as a group—represent such a high risk of future dangerous that their placement in an

ultra-secure facility such as ADX is penologically justified.

        89.    There are two inter-related components to this issue. The first is whether the

decision to place persons in an ultra-secure solitary confinement facility such as ADX should be

ever be made categorically—that is, absent an individualized determination that such placement is

necessary and justified. Because placement in solitary confinement exposes persons to such a

significant risk of serious harm, it can only be penologically justified after a careful, case-by-case

assessment. In the case of ADX, the Bureau of Prisons itself acknowledges that the threshold for

placement in this ultra-secure facility must be set very high and that a number of issues must be



111
    Jeffrey Metzner & Jamie Fellner, Solitary Confinement and Mental Illness in U.S. Prisons: A
Challenge for Medical Ethics, Journal of the Academy of Psychiatry and Law, 38, 104-108
(2010), at p. 104, at
http://www.hrw.org/sites/default/files/related_material/Solitary%20Confinement%20and%20Me
ntal%20Illness%20in%20US%20Prisons.pdf.
112
    Metzner & Fellner, at p. 107.


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factored into the decision.

        90.       Thus, the BOP’s mission statement for ADX clearly states that it is reserved for

“the most violent, predatory, and escape-prone” persons in the entire federal prison system—those

who clearly “need the security and controls” available there, and nowhere else. 113 Indeed, the

threshold for ADX placement is set so high that persons housed there represent “less that ¼ of 1

percent of the Bureau’s inmate Population.” 114 Not only is placement at ADX reserved for the

extraordinarily small number of persons who are deemed to require the extraordinary level of

security and control imposed, but the determination of whether placement is necessary must be

judged as “appropriate for that inmate.” 115 In order to ensure that it is, placement in ADX occurs

only after the BOP has engaged in a “multi-step process, which includes a formal hearing, full

clinical psychological evaluation (which is reviewed by the Bureau’s Central Office), and medical

review for determining whether an inmate is appropriate for placement at the ADX.” 116 In addition,

“[e]ach inmate referred for placement receives a hearing, during which the inmate may make a

statement.” 117 Moreover, after the initial decision is made to place someone in ADX, the BOP

requires that the person’s “continued placement is then closely scrutinized on a regular basis to

ensure only those inmates who require the security and controls of the institution are housed at

ADX.” 118 Needless to say, as the BOP itself recognizes, the entire process—from the initial

placement decision through the continuous process of evaluation is necessarily highly

individualized.




113
    Federal Bureau of Prisons, Overview of ADX and Its Units, July 16, 2020, p. 1.
114
    Id.
115
    Id.
116
    Id.
117
    Id.
118
    Id. at p. 2.


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       91.     The second component to be considered is whether there are special characteristics

that might apply to members of the group in question—persons who were once sentenced to

death—that can legitimately serve as blanket justifications their placement in ADX—that is,

whether there is a valid reason to believe that they, as a group, should be categorically deemed

among “the most violent, predatory, and escape-prone” persons in the entire federal prison system.

In fact, there is much evidence to the contrary.

       92.     In part because predictions of future dangerousness have played both a direct and

indirect role in capital cases in the United States—factoring implicitly into the judgments made by

capital jurors and made explicit in the sentencing statutes in some U.S. jurisdictions (notably,

Texas)—the issue of whether persons convicted of “death-eligible” crimes represent an especially

high risk of engaging in subsequent violent and predatory behavior has been extensively studied.

       94.     Violent behavior such as murder is scientifically understood as typically resulting

from an interaction between personal characteristics and situational factors. One of the reasons

that violent criminal behavior in free society is not consistently repeated inside prison is in part

because institutional conditions are radically different from those in the world outside prison. Even

in-prison violence is not commonly repeated by the persons who have engaged in it in the past, in

part because the situational factors that influenced and/or precipitated it are unlikely to recur.

Another reason is that death-sentenced prisoners tend to be older than prisoners in general, and

age is one of the most reliable known predictors of positive institutional adjustment. Finally,

formerly death-sentenced prisoners who are serving life-without-parole sentences are, by

definition, “long-termers” in prison, persons who, as one researcher put it, “appear to more fully




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realize the need to c0-exist with correctional authorities within the confines of the institution.” 119

        95.    Thus radically changed circumstances, the tendency for death-sentenced persons to

be incarcerated longer and to age and mature in prison, and the investment long-term prisoners

generally have in institutional stability are among the reasons why research has shown that persons

formerly sentenced to death do not, as a rule, represent a threat of greater future dangerousness

than other prisoners.

        96.    Generally, “studies of the prison behavior of capital offenders in the general prison

population have consistently found that the majority of these offenders are never sanctioned for

assaultive misconduct.” 120 In fact, former death row prisoners as well as persons who could have

been sentenced to death for potentially capital crimes but received life sentences instead are

actually less likely to engage in serious violence in prison compared to those who have committed

non-capital crimes. For example, as one early study showed, persons in Texas who originally had

been sentenced to death but were subsequently released from death row were not “more violently

assaultive or predatory, or a disproportionate threat to other inmates and staff” compared to those

who had originally been sentenced to life, prisoners housed in a high security mainline prison, or

Texas prisoners in general. 121 In addition, life-without-parole sentenced prisoners tend to “act as a

stabilizing rather than disruptive force in the prison environment.” 122



119
    Flanagan, T., Time Served and Institutional Misconduct: Patterns of Involvement in
Disciplinary Infractions among Long-Term and Short-Term Inmates, Journal of Criminal
Justice, 8, 357-367 (1980), p. 364.
120
    Cunningham, M., Reidy, T., & Sorensen, J., Assertions of “Future Dangerousness” at Federal
Capital Sentencing: Rates and Correlates of Subsequent Prison Misconduct and Violence, Law
and Human Behavior, 32, 46-63 (2008), p. 48
121
    Marquart, J., Ekland-Olson, S., & Sorensen, J., Gazing into the Crystal Ball: Can Jurors
Accurately Predict Dangerousness in Capital Cases? Law & Society Review, 23(3), 449-468
(1989), p. 461
122
    Cunningham, M., & Sorenson, J., Life-Without-Parole and Other Long-Term High-Security
Inmates, Criminal Justice and Behavior, 33(6), 683-705 (2006), p. 683.


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       97.     In sum, the en masse transfer of all formerly federally death-sentenced prisoners to

ADX violates the BOP’s own strict policy of engaging in an in-depth individual assessment of

whether such a placement is necessary. In fact, there are many people who have been convicted of

similar if not identical crimes who are housed safely elsewhere in the Bureau of Prison facilities.

Thus, any assertion that that this group of persons categorically represents “the most violent,

predatory, and escape-prone” persons in the entire federal prison system” and therefore can only

be housed safely at ADX, is scientifically unsupported. Such en masse, categorical transfer lacks

penological justification.

VIII. Conclusion

       98.     The conditions of confinement that prevail at the federal supermax ADX facility

constitute a severe, extreme form of solitary confinement. In fact, the conditions that have been

created and the procedures that are followed at ADX are more socially isolating than those at any

correctional facility that I have personally toured and inspected or of which I am aware anywhere

in the United States.

       99.     Numerous scientific studies, conducted by researchers from diverse disciplinary

backgrounds, working independently and across several continents, and over many decades, have

reached almost identical conclusions about the negative effects of social isolation in general and

solitary confinement in particular. The findings are robust and theoretically coherent, and are both

consistent with and illuminated by an already vast and rapidly growing literature on the importance

of meaningful social contact for the maintenance of mental and physical health. That body of

scientific knowledge – gained from research done both inside prison and in society at large –

establishes the psychological and medical harm that results from social isolation, social exclusion,

and the deprivation of human touch.




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       100.    The consistency and theoretical coherence of the findings has led numerous

scientific and professional organizations to reach a consensus about the damaging effects of

solitary confinement, including a distinguished National Academies of Science committee, the

American Psychiatric Association, the American Psychological Association (the world’s largest

professional association of psychologists), the National Commission on Correctional Health Care

(NCCHC), the Association of State Correctional Administrators (ASCA, the largest professional

association of American prison administrators), and the United Nations. The extensive empirical

findings are rooted in a sound theoretical framework. This consensus has led to a series of

recommendations made by distinguished professional legal, medical, mental health, human rights,

and correctional organizations to prohibit this potentially dangerous practice for vulnerable

prisoners (such as the mentally ill) and to significantly reduce its use for all others. Specifically,

as a result of that consensus, numerous professional organizations have recommended that persons

be placed in solitary confinement only when it is absolutely necessary to do so and, even then, for

only the briefest amount of time possible. They have agreed further that members of vulnerable

groups (such as the mentally ill) should never be placed there.

       101.    Finally, transferring formerly federally death-sentenced prisoners en mass to ADX

violates the BOP’s own policy that such transfers must be based on an individualized assessment

of and judgment about the clear necessity of doing so because they cannot be housed safely

anywhere else. Moreover, persons who have been convicted of death-eligible crimes do not, as a

group, represent heightened future dangers or security risks in a prison setting. Hence there is no

legitimate penological justification for transferring them, as a group, to ADX.

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  APPENDIX 1
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                              CURRICULUM VITAE


                               Craig William Haney
                       Distinguished Professor of Psychology
                         UC Presidential Chair, 2015-2018
                      University of California, Santa Cruz 95064


EMPLOYMENT HISTORY

    2015-2018            University of California Presidential Chair

    2014-present         Distinguished Professor of Psychology, University of
                         California, Santa Cruz

    1985-2014            University of California, Santa Cruz, Professor of Psychology

    1981-85              University of California, Santa Cruz, Associate Professor of
                         Psychology

    1978-81              University of California, Santa Cruz, Assistant Professor of
                         Psychology

    1977-78              University of California, Santa Cruz, Lecturer in Psychology

    1976-77              Stanford University, Acting Assistant Professor of
                         Psychology


EDUCATION

    1978                 Stanford Law School, J.D.

    1978                 Stanford University, Ph.D. (Psychology)

    1972                 Stanford University, M.A. (Psychology)

    1970                 University of Pennsylvania, B.A.


HONORS AWARDS GRANTS

    2024           Lynn Stuart Weiss Award from American Psychological Foundation
                   in recognition of “psychological that attempts to promote peace
                   through world law.”



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              Appointed to the Editorial Board of the University of California
              Press.

  2022        Appointed to the American Psychological Association Amicus
              Curiae Expert Panel (“ACEP”).

              Nominated for the Social Science Research Council’s Albert O.
              Hirschman Prize for Excellence in Social and Behavioral Science.

              Psychology Department “Most Inspiring Instructor”

              Appointed to American Psychological Association Presidential Task
              Force on Raising the Age at Which Persons Are Eligible for Capital
              Punishment

  2021        Finalist, Association of American Publishers, Professional and
              Scholarly Excellence (PROSE) Award for Excellence in Social
              Science (for Criminality in Context: Psychological Foundations of
              Criminal Justice Reform).

  2020        Finalist, Stockholm Prize in Criminology (for “outstanding
              achievements in criminological research or for the application of
              research results by practitioners for the reduction of crime and the
              advancement of human rights”).

  2018        Emerald Literati Award for “Outstanding Paper” (for “Reducing the
              Use and Impact of Solitary Confinement in Corrections”).

 2016         Vera Institute of Justice “Reimagining Prisons” Initiative Advisory
              Council.

              Psychology Department “Most Inspiring Instructor”

 2015         University of California Presidential Chair (2015-2018 Term)

              Martin F. Chemers Award for Outstanding Research in Social
              Science

              Excellence in Teaching Award (Academic Senate Committee on
              Teaching).

              President’s Research Catalyst Award for “UC Consortium on
              Criminal Justice Healthcare” (with Brie Williams and Scott Allen).

              Vera Institute of Justice “Safe Alternatives to Segregation” (SAS)
              Initiative Advisory Council.



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              Who’s Who in Psychology (Top 20 Psychology Professors in
              California) [http://careersinpsychology.org/psychology-degrees-
              schools-employment-ca/#ca-psych-prof]

   2014       Distinguished Faculty Research Lecturer, University of California,
              Santa Cruz.

    2013      Distinguished Plenary Speaker, American Psychological Association
              Annual Convention.

   2012       Appointed to National Academy of Sciences Committee to Study the
              Causes and Consequences of High Rates of Incarceration in the
              United States.

              Invited Expert Witness, United States Senate, Judiciary Committee.

   2011       Edward G. Donnelly Memorial Speaker, University of West Virginia
              Law School.

   2009       Nominated as American Psychological Foundation William Bevan
              Distinguished Lecturer.

              Psi Chi “Best Lecturer” Award (by vote of UCSC undergraduate
              psychology majors).

   2006       Herbert Jacobs Prize for Most Outstanding Book published on law
              and society in 2005 (from the Law & Society Association, for Death
              by Design).

              Nominated for National Book Award (by American Psychological
              Association Books, for Reforming Punishment: Psychological
              Limits to the Pains of Imprisonment).

              “Dream course” instructor in psychology and law, University of
              Oklahoma.

   2005       Annual Distinguished Faculty Alumni Lecturer, University of
              California, Santa Cruz.

              Invited Expert Witness, United States House of Representatives,
              Subcommittee on Immigration, Border Security, and Claims,
              Committee on the Judiciary

              Arthur C. Helton Human Rights Award from the American
              Immigration Lawyers Association (co-recipient).




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              Scholar-in-Residence, Center for Social Justice, Boalt Hall School of
              Law (University of California, Berkeley).

   2004       “Golden Apple Award” for Distinguished Teaching, awarded by the
              Social Sciences Division, University of California, Santa Cruz.

              National Science Foundation Grant to Study Capital Jury Decision-
              making

   2002       Santa Cruz Alumni Association Distinguished Teaching Award,
              University of California, Santa Cruz.

              United States Department of Health & Human Services/Urban
              Institute, “Effects of Incarceration on Children, Families, and Low-
              Income Communities” Project.

              American Association for the Advancement of Science/American
              Academy of Forensic Science Project: “Scientific Evidence Summit”
              Planning Committee.

              Teacher of the Year (UC Santa Cruz Re-Entry Students’ Award).

   2000      Invited Participant White House Forum on the Uses of Science and
             Technology to Improve National Crime and Prison Policy.

              Excellence in Teaching Award (Academic Senate Committee on
              Teaching).

              Joint American Association for the Advancement of Science-
              American Bar Association Science and Technology Section National
              Conference of Lawyers and Scientists.

   1999       American Psychology-Law Society Presidential Initiative
              Invitee (“Reviewing the Discipline: A Bridge to the Future”)

              National Science Foundation Grant to Study Capital Jury Decision-
              making (renewal and extension).

   1997      National Science Foundation Grant to Study Capital Jury Decision-
             making.

   1996       Teacher of the Year (UC Santa Cruz Re-Entry Students’ Award).

   1995       Gordon Allport Intergroup Relations Prize (Honorable Mention)

              Excellence in Teaching Convocation, Social Sciences Division



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      1994        Outstanding Contributions to Preservation of Constitutional Rights,
                  California Attorneys for Criminal Justice.

      1992        Psychology Undergraduate Student Association Teaching Award

                  SR 43 Grant for Policy-Oriented Research With Linguistically
                  Diverse Minorities

      1991        Alumni Association Teaching Award (“Favorite Professor”)

      1990        Prison Law Office Award for Contributions to Prison Litigation

      1989        UC Mexus Award for Comparative Research on Mexican Prisons

      1976        Hilmer Oehlmann Jr. Award for Excellence in Legal Writing at
                  Stanford Law School

      1975-76     Law and Psychology Fellow, Stanford Law School

      1974-76     Russell Sage Foundation Residency in Law and Social Science

      1974        Gordon Allport Intergroup Relations Prize, Honorable Mention

      1969-71     University Fellow, Stanford University

      1969-74     Society of Sigma Xi

      1969        B.A. Degree Magna cum laude with Honors in Psychology

                  Phi Beta Kappa

      1967-1969 University Scholar, University of Pennsylvania



UNIVERSITY SERVICE AND ADMINISTRATION


      2010-2016         Director, Legal Studies Program

      2010-2014         Director, Graduate Program in Social Psychology

      2009              Chair, Legal Studies Review Committee

      2004-2006         Chair, Committee on Academic Personnel

      1998-2002         Chair, Department of Psychology


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       1994-1998           Chair, Department of Sociology

       1992-1995           Chair, Legal Studies Program

       1995 (Fall)         Committee on Academic Personnel

       1995-1996           University Committee on Academic Personnel (UCAP)

       1990-1992           Committee on Academic Personnel

      1991-1992            Chair, Social Science Division Academic Personnel
                           Committee

      1984-1986            Chair, Committee on Privilege and Tenure



WRITINGS AND OTHER CREATIVE ACTIVITIES IN PROGRESS


     Books:

       Counting Casualties in the War on Prisoners: Toward a Just and Lasting Peace
       (working title, in preparation).

     Articles:

       “The Psychological Foundations of Capital Mitigation: Why Social Historical
       Factors Are Central to Assessing Culpability,” in preparation.


PUBLISHED WRITINGS AND CREATIVE ACTIVITIES

     Books


      2020           Criminality in Context: The Psychological Foundations of Criminal
                     Justice Reform. Washington, DC: American Psychological
                     Association Books.

      2014           The Growth of Incarceration in the United States: Exploring the
                     Causes and Consequences (with Jeremy Travis, Bruce Western, et
                     al.). [Report of the National Academy of Sciences Committee on the
                     Causes and Consequences of High Rates of Incarceration in the
                     United States.] Washington, DC: National Academy Press.



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       2006        Reforming Punishment: Psychological Limits to the Pains of
                   Imprisonment, Washington, DC: American Psychological
                   Association Books.

       2005        Death by Design: Capital Punishment as a Social Psychological
                   System. New York: Oxford University Press.


Monographs and Technical Reports


       1989        Employment Testing and Employment Discrimination (with
                   Hurtado). Technical Report for the National Commission on
                   Testing and Public Policy. New York: Ford Foundation.

       2005       Conditions of Confinement for Detained Asylum Seekers Subject to
                  Expedited Removal (Appendix C in Study of Asylum Seekers in
                  Expedited Removal as Authorized by Section 605 of International
                  Religious Freedom Act of 1998).


      Articles in Professional Journals and Book Chapters


       2024        “Understanding Attitudes Toward Police Surveillance: The Role of
                   Authoritarianism, Fear of Crime, and Private Sector Surveillance
                   Attitudes” (with Camille Conrey), Surveillance & Society, in press.

                   “Prison Overcrowding,” in P. Zapf (Eds.), APA Handbook of
                   Forensic Psychology. Second Edition. Washington, DC: APA Books,
                   in press.

                   “The Death Penalty” (with Joanna Weill & Mona Lynch), in P. Zapf
                   (Eds.), APA Handbook of Forensic Psychology. Second Edition.
                   Washington, DC: APA Books, in press.


       2023        “Choosing Between Life and Death: Capital Jury Penalty-Phase
                   Decision-Making,” in M. Miller, L. Yelderman, M. Huss, & J.
                   Cantone (Eds.), Cambridge Handbook of the Psychology of Legal
                   Decision-Making (pp. 443-459). Cambridge University Press.

                   “The Resource Team: A Case Study of Solitary Confinement Reform
                   in Oregon” (with David Cloud, Dallas Augustine, Cyrus Ahalt, &
                   Brie Williams), PLoS ONE, 18(7): e0288187.
                   https://doi.org/10.1371/ journal.pone.0288187



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              “The Impact of Isolation on Brain Health” (with Vibol Heng and
              Richard Smeyne), in M. Zigmond, L. Rowland, & J. Coyle (Eds.),
              The Neurobiology of Brain Disorders: Biological Basis of
              Neurological and Psychiatric Disorders (pp. 963-975). Second
              Edition. Elsevier Academic Press. https://doi.org/10.1016/B978-0-
              323-85654-6.00024-1



   2022       “Roper and Race: The Nature and Effects of Death Penalty
              Exclusions for Juveniles and the ‘Late Adolescent Class’” (with
              Frank R. Baumgartner & Karen A. Steele), Journal of Pediatric
              Neuropsychology, 8, 168-177.

              “Sykes’s Prison in Context: Change and Continuity in the Life Span
              of a Penitentiary,” in B. Crewe, A. Goldsmith, & M. Halsey (Eds.),
              Power and Pain in the Modern Prison: The Society of Captives
              Revisited (pp. 11-35). New York: Oxford University Press.

              “The Continuing Unfairness of Death Qualification: Changing
              Death Penalty Attitudes and Capital Jury Selection” (with Eileen
              Zurbriggen & Joanna Weill), Psychology, Public Policy, and Law,
              28(1), 1-31.

              “Foreword,” for John Hagedorn, Gangs on Trial: Challenging
              Stereotypes and Demonization in the Courts. Philadelphia, PA:
              Temple University Press.


   2021       “‘We Just Need to Open the Door’: A Case Study of North Dakota
              Department of Corrections’ Quest to End Solitary Confinement”
              (with David Cloud, Dallas Augustine, Cyrus Ahalt, Lisa Peterson,
              Colby Braun, & Brie Williams), Heath & Justice, 9(28).
              https://doi.org/10.1186/s40352-021-00155-5

              “The Death Qualification Process Continues to Render Capital
              Juries Less Representative and More Unfair. Amicus Journal, 42,
              20-25.

              “Framing Criminal Justice and Crime in the News, 2015-2017”
              (with Camille Conrey), Journal of Crime and Justice, 44(3), 297-
              315.


   2020       “Solitary Confinement, Loneliness, and Psychological Harm,” in
              Jules Lobel and Peter Scharff Smith (Eds.), Solitary Confinement:



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              Effects, Practices, and Pathways to Reform (129-152). New York:
              Oxford University Press.

              “Continuing to Acknowledge the Power of Dehumanizing
              Environments: Responding to Haslam, et al. (2019) and Le Texier
              (2019)” (with Philip Zimbardo), American Psychologist, 75(3), 400-
              402.

              “The Science of Solitary: Expanding the Harmfulness Narrative,”
              Northwestern Law Review, 115(1), 211-256.

              “Consensus Statement from the Santa Cruz Summit on Solitary
              Confinement and Health” (with Brie Williams and Cyrus Ahalt),
              Northwestern University Law Review, 115(1), 335-360.

              “Solitary Confinement is Not Solitude: The Worst Case Scenario of
              Being ‘Along’ in Prison,” in Robert Coplan, Julie Bowker, & Larry
              Nelson (Eds.), Handbook of Solitude: Psychological Perspectives on
              Isolation, Social Withdrawal, and Being Alone (pp. 390-403).
              Second Edition. New York: Wiley-Blackwell.


  2019        “Afterword,” in Robert Johnson, Condemned to Die: Life Under
              Sentence of Death (pp. 137-141). Second Edition. New York:
              Routledge.

              “Changing Correctional Culture: Exploring the Role of U.S.-Norway
              Exchange in Placing Health and Well-Being at the Center of U.S.
              Prison Reform” (with Cyrus Ahalt, Brie Williams, and Kim
              Ekhaugen), American Journal of Public Health, 110(S1), S27-S29.


   2018       “Restricting the Use of Solitary Confinement,” Annual Review of
              Criminology, 1, 285-310.

              “Death Qualification in Black and White: Racialized Decision-
              Making and Death-Qualified Juries” (with Mona Lynch), Law &
              Policy, 40(2), 148-171.

              “Balancing the Rights to Protection and Participation: A Call for
              Expanded Access to Ethically Conducted Correctional Research.
              Journal of General Internal Medicine, 33(22).
              DOI: 10.1007/s11606-018-4318-9.

              “The Plight of Long-Term Mentally-Ill Prisoners” (with Camille
              Conrey and Roxy Davis), in Kelly Frailing and Risdon Slate (Eds.),


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              The Criminalization of Mental Illness (pp. 163-180). Durham, NC:
              Carolina Academic Press.

              “The Psychological Effects of Solitary Confinement: A Systematic
              Critique,” Crime and Justice, 47, 365-416.

              “The Media’s Impact on the Right to a Fair Trial: A Content
              Analysis of Pretrial Publicity in Capital Cases (with Shirin
              Bakhshay), Psychology, Public Policy, and Law, 24, 326-346.


   2017       “Mechanisms of Moral Disengagement and Prisoner Abuse” (with
              Joanna Weill). Analyses of Social Issues and Public Policy, 17, 286-
              318.

              “‘Madness’ and Penal Confinement: Observations on Mental Illness
              and Prison Pain,” Punishment and Society, 19, 310-326.

              “Contexts of Ill-Treatment: The Relationship of Captivity and
              Prison Confinement to Cruel, Inhuman, or Degrading Treatment
              and Torture” (with Shirin Bakhshay), in Metin Başoğlu (Ed.),
              Torture and Its Definition in International Law: An
              Interdisciplinary Approach (pp. 139-178). New York: Oxford.

              Special Issue: “Translating Research into Policy to Advance
              Correctional Health” (guest editor with B. Williams, C. Ahalt, S.
              Allen, & J. Rich), Part II, International Journal of Prisoner Health,
              13, 137-227.

              “Reducing the Use and Impact of Solitary Confinement in
              Corrections” (with Cyrus Ahalt, Sarah Rios, Matthew Fox, David
              Farabee, and Brie Williams), International Journal of Prisoner
              Health, 13, 41-48.


   2016       “Examining Jail Isolation: What We Don’t Know Can Be Profoundly
              Harmful” (with Joanna Weill, Shirin Bakhshay, and Tiffany
              Winslow), The Prison Journal, 96, 126-152.

              “On Structural Evil: Disengaging From Our Moral Selves,” Review
              of the book Moral Disengagement: How People Do Harm and Live
              With Themselves, by A. Bandura], PsycCRITIQUES, 61(8).


   2015       “When Did Prisons Become Acceptable Mental Healthcare
              Facilities?,” Report of the Stanford Law School Three Strikes
              Project (with Michael Romano et al.) [available at:


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              http://law.stanford.edu/wp-
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              page/632655/doc/slspublic/Report_v12.pdf ].

              “Emotion, Authority, and Death: (Raced) Negotiations in Capital
              Jury Negotiations” (with Mona Lynch), Law & Social Inquiry, 40,
              377-405.

              “Prison Overcrowding,” in B. Cutler & P. Zapf (Eds.), APA
              Handbook of Forensic Psychology (pp. 415-436). Washington, DC:
              APA Books.

              “The Death Penalty” (with Joanna Weill & Mona Lynch), in B.
              Cutler & P. Zapf (Eds.), APA Handbook of Forensic Psychology (pp.
              451-510). Washington, DC: APA Books.

              “‘Prisonization’ and Latinas in Alternative High Schools” (with Aida
              Hurtado & Ruby Hernandez), in J. Hall (Ed.), Routledge Studies in
              Education and Neoliberalism: Female Students and Cultures of
              Violence in the City (pp. 113-134). Florence, KY: Routledge.


   2014       “How Healthcare Reform Can Transform the Health of Criminal
              Justice-Involved Individuals” (with Josiah Rich, et al.), Health
              Affairs, 33:3 (March), 1-6.


   2013       “Foreword,” for H. Toch, Organizational Change Through
              Individual Empowerment: Applying Social Psychology in Prisons
              and Policing. Washington, DC: APA Books.

              “Foreword,” for J. Ashford & M. Kupferberg, Death Penalty
              Mitigation: A Handbook for Mitigation Specialists, Investigators,
              Social Scientists, and Lawyers. New York: Oxford University Press.


   2012       “Politicizing Crime and Punishment: Redefining ‘Justice’ to Fight
              the ‘War on Prisoners,’” West Virginia Law Review, 114, 373-414.

              “Prison Effects in the Age of Mass Incarceration,” Prison Journal,
              92, 1-24.

              “The Psychological Effects of Imprisonment,” in J. Petersilia & K.
              Reitz (Eds.), Oxford Handbook of Sentencing and Corrections (pp.
              584-605). New York: Oxford University Press.




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   2011       “The Perversions of Prison: On the Origins of Hypermasculinity and
              Sexual Violence in Confinement,” American Criminal Law Review,
              48, 121-141. [Reprinted in: S. Ferguson (Ed.), Readings in Race,
              Gender, Sexuality, and Social Class. Sage Publications (2012).]

              “Mapping the Racial Bias of the White Male Capital Juror: Jury
              Composition and the ‘Empathic Divide’” (with Mona Lynch), Law
              and Society Review, 45, 69-102.

              “Getting to the Point: Attempting to Improve Juror Comprehension
              of Capital Penalty Phase Instructions" (with Amy Smith), Law and
              Human Behavior, 35, 339-350.

              “Where the Boys Are: Macro and Micro Considerations for the
              Study of Young Latino Men’s Educational Achievement” (with A.
              Hurtado & J. Hurtado), in P. Noguera & A. Hurtado (Eds.),
              Understanding the Disenfranchisement of Latino Males:
              Contemporary Perspectives on Cultural and Structural Factors (pp.
              101-121). New York: Routledge Press.

              “Looking Across the Empathic Divide: Racialized Decision-Making
              on the Capital Jury” (with Mona Lynch), Michigan State Law
              Review, 2011, 573-608.


   2010       “Demonizing the ‘Enemy’: The Role of Science in Declaring the
              ‘War on Prisoners,’” Connecticut Public Interest Law Review, 9,
              139-196.

              “Hiding From the Death Penalty,” Huffington Post, July 26, 2010
              [www.huffingtonpost.com/craig-haney/hiding-from-the-death-
              pen-pen_b_659940.html]; reprinted in Sentencing and Justice
              Reform Advocate, 2, 3 (February, 2011).


   2009       “Capital Jury Deliberation: Effects on Death Sentencing,
              Comprehension, and Discrimination” (with Mona Lynch), Law and
              Human Behavior, 33, 481-496.

              “The Social Psychology of Isolation: Why Solitary Confinement is
              Psychologically Harmful,” Prison Service Journal UK (Solitary
              Confinement Special Issue), Issue 181, 12-20. [Reprinted: California
              Prison Focus, #36, 1, 14-15 (2011).]

              “The Stanford Prison Experiment,” in John Levine & Michael Hogg
              (Eds.), Encyclopedia of Group Processes and Intergroup Relations.
              Thousand Oaks, CA: Sage Publications.


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              “Media Criminology and the Death Penalty,” DePaul Law Review,
              58, 689-740. (Reprinted: Capital Litigation Update, 2010.)

              “On Mitigation as Counter-Narrative: A Case Study of the Hidden
              Context of Prison Violence,” University of Missouri-Kansas City
              Law Review, 77, 911-946.

              “Persistent Dispositionalism in Interactionist Clothing:
              Fundamental Attribution Error in Explaining Prison Abuse,” (with
              P. Zimbardo), Personality and Social Psychology Bulletin, 35, 807-
              814.


   2008       “Counting Casualties in the War on Prisoners,” University of San
              Francisco Law Review, 43, 87-138.

              “Evolving Standards of Decency: Advancing the Nature and Logic of
              Capital Mitigation,” Hofstra Law Review, 36, 835-882.

              “A Culture of Harm: Taming the Dynamics of Cruelty in Supermax
              Prisons,” Criminal Justice and Behavior, 35, 956-984.

              “The Consequences of Prison Life: Notes on the New Psychology of
              Prison Effects,” in D. Canter & R. Zukauskiene (Eds.), Psychology
              and Law: Bridging the Gap (pp. 143-165). Burlington, VT: Ashgate
              Publishing.

              “The Stanford Prison Experiment,” in J. Bennett & Y. Jewkes
              (Eds.), Dictionary of Prisons (pp. 278-280). Devon, UK: Willan
              Publishers.

              “Capital Mitigation,” in Brian Cutler (Ed.), The Encyclopedia of
              Psychology and the Law (pp. 60-63). Volume I. Thousand Oaks, CA:
              Sage Publications.

              Death Qualification of Juries,” in Brian Cutler (Ed.), The
              Encyclopedia of Psychology and the Law (pp. 190-192). Volume I.
              Thousand Oaks, CA: Sage Publications.

              “Stanford Prison Experiment,” in Brian Cutler (Ed.), The
              Encyclopedia of Psychology and the Law (pp. 756-757) (with P.
              Zimbardo). Volume II. Thousand Oaks, CA: Sage Publications.

              “Supermax Prisons,” in Brian Cutler (Ed.), The Encyclopedia of
              Psychology and the Law (pp. 787-790). Volume II. Thousand Oaks,
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  2006       “The Wages of Prison Overcrowding: Harmful Psychological
             Consequences and Dysfunctional Correctional Reactions,”
             Washington University Journal of Law & Policy, 22, 265-293.
             [Reprinted in: N. Berlatsky, Opposing Viewpoints: America’s
             Prisons. Florence, KY: Cengage Learning, 2010.]

              “Exonerations and Wrongful Condemnations: Expanding the Zone
              of Perceived Injustice in Capital Cases,” Golden Gate Law Review,
              37, 131-173.

              “Preface,” D. Jones (Ed.), Humane Prisons. San Francisco, CA:
              Radcliffe Medical Press.


   2005       “The Contextual Revolution in Psychology and the Question of
              Prison Effects,” in Alison Liebling and Shadd Maruna (Eds.), The
              Effects of Imprisonment (pp. 66-93). Devon, UK: Willan
              Publishing.

              “Achieving Educational Equity: Beyond Individual Measures of
              Merit,” (with A. Hurtado), Harvard Journal of Hispanic Policy, 17,
              87-92.

              “Conditions of Confinement for Detained Asylum Seekers Subject to
              Expedited Removal,” in M. Hetfield (Ed.), Report on Asylum
              Seekers in Expedited Removal. Volume II: Expert Reports.
              Washington, DC: United States Commission on International
              Religious Freedom.


   2004      “Special Issue on the Death Penalty in the United States” (co-edited
              with R. Weiner), Psychology, Public Policy, and Law, 10, 374-621.

              “Death Is Different: An Editorial Introduction” (with R. Wiener),
              Psychology, Public Policy, and Law, 10, 374-378.

              “The Death Penalty in the United States: A Crisis of Conscience”
              (with R. Wiener), Psychology, Public Policy, and Law, 10, 618-621.

              “Condemning the Other in Death Penalty Trials: Biographical
              Racism, Structural Mitigation, and the Empathic Divide,” DePaul
              Law Review, 53, 1557-1590.




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              “Capital Constructions: Newspaper Reporting in Death Penalty
              Cases” (with S. Greene), Analyses of Social Issues and Public Policy
              (ASAP), 4, 1-22.

              “Abu Ghraib and the American Prison System,” The
              Commonwealth, 98 (#16), 40-42.

              “Disciplinary Segregation,” in Mary Bosworth (Ed.), Encyclopedia
              of U.S. Prisons and Correctional Facilities (240-244). Volume 1.
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              Encyclopedia of U.S. Prisons and Correctional Facilities (pp. 938-
              944). Volume 2. Thousand Oaks, CA: Sage Publications.


    2003     “Mental Health Issues in Long-Term Solitary and ‘Supermax’
             Confinement,” Crime & Delinquency (special issue on mental health
             and the criminal justice system), 49, 124-156. [Reprinted in:
             Roesch, R., & Gagnon, N. (Eds.), Psychology and Law: Criminal and
             Civil Perspectives. Hampshire, UK: Ashgate (2007).]

              “The Psychological Impact of Incarceration: Implications for Post-
              Prison Adjustment,” in Travis, J., & Waul, M. (Eds.), Prisoners
              Once Removed: The Impact of Incarceration and Reentry on
              Children, Families, and Communities (pp. 33-66). Washington, DC:
              Urban Institute Press.

              “Comments on “Dying Twice”: Death Row Confinement in the Age
              of the Supermax,” Capital University Law Review.


   2002       “Making Law Modern: Toward a Contextual Model of Justice,
              Psychology, Public Policy, and Law, 7, 3-63.

              “Psychological Jurisprudence: Taking Psychology and Law into the
              Twenty-First Century,” (with John Darley, Sol Fulero, and Tom
              Tyler), in J. Ogloff (Ed.), Taking Psychology and Law into the
              Twenty-First Century (pp. 35-59). New York: Kluwer Academic/
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              “Science, Law, and Psychological Injury: The Daubert Standards
              and Beyond,” (with Amy Smith), in Schultz, I., Brady, D., and
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             Legal Times” (with D. Specter). In J. Ashford, B. Sales, & W. Reid
             (Eds.), Treating Adult and Juvenile Offenders with Special Needs
             (pp. 51-79). Washington, D.C.: American Psychological Association.

              “Afterword,” in J. Evans (Ed.), Undoing Time (pp. 245-256).
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   2000       “Discrimination and Instructional Comprehension: Guided
              Discretion, Racial Bias, and the Death Penalty” (with M. Lynch),
              Law and Human Behavior, 24, 337-358.

              “Cycles of Pain: Risk Factors in the Lives of Incarcerated Women
              and Their Children,” (with S. Greene and A. Hurtado), Prison
              Journal, 80, 3-23.


   1999       “Reflections on the Stanford Prison Experiment: Genesis,
              Transformations, Consequences (‘The SPE and the Analysis of
              Institutions’),” In Thomas Blass (Ed.), Obedience to Authority:
              Current Perspectives on the Milgram Paradigm (pp. 221-237).
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              “Ideology and Crime Control,” American Psychologist, 54, 786-788.


   1998       “The Past and Future of U.S. Prison Policy: Twenty-Five Years
              After the Stanford Prison Experiment,” (with P. Zimbardo),
              American Psychologist, 53, 709-727. [Reprinted in special issue of
              Norweigian journal as: USAs fengselspolitikk i fortid og fremtid,
              Vardoger, 25, 171-183 (2000); in H. Tischler (Ed.), Debating Points:
              Crime and Punishment. Englewood Cliffs, NJ: Prentice-Hall
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              Dushkin/McGraw-Hill, in press; Herman, Peter (Ed.), The
              American Prison System (pp. 17-43) (Reference Shelf Series). New
              York: H.W. Wilson (2001); and in Edward Latessa & Alexander
              Holsinger (Eds.), Correctional Contexts: Contemporary and
              Classical Readings. Fourth Edition. Oxford University Press
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              “Riding the Punishment Wave: On the Origins of Our Devolving
              Standards of Decency,” Hastings Women’s Law Journal, 9, 27-78.

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              Higher Education in California” (with A. Hurtado and E. Garcia), La
              Raza Law Journal, 10, 645-690.


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              Supermax and Solitary Confinement,” (with M. Lynch), New York
              University Review of Law and Social Change, 23, 477-570.

              “Psychology and the Limits to Prison Pain: Confronting the Coming
              Crisis in Eighth Amendment Law,” Psychology, Public Policy, and
              Law, 3, 499-588.

              “Commonsense Justice and the Death Penalty: Problematizing the
              ‘Will of the People,’” Psychology, Public Policy, and Law, 3, 303-
              337.

              “Violence and the Capital Jury: Mechanisms of Moral
              Disengagement and the Impulse to Condemn to Death,” Stanford
              Law Review, 49, 1447-1486.

              “Mitigation and the Study of Lives: The Roots of Violent Criminality
              and the Nature of Capital Justice.” In James Acker, Robert Bohm,
              and Charles Lanier, America’s Experiment with Capital
              Punishment: Reflections on the Past, Present, and Future of the
              Ultimate Penal Sanction. Durham, NC: Carolina Academic Press,
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              Comprehension and Penalty Phase Arguments” (with M. Lynch),
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              Mere Extinguishment of Life,’” Studies in Law, Politics, and Society,
              16, 3-69.


   1995       “The Social Context of Capital Murder: Social Histories and the
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              and ‘Race-Neutral’ Racism in the Workplace,” (with A. Hurtado),
              Law and Human Behavior, 18, 223-248.

              “Comprehending Life and Death Matters: A Preliminary Study of
              California’s Capital Penalty Instructions” (with M. Lynch), Law and
              Human Behavior, 18, 411-434.

              “Felony Voir Dire: An Exploratory Study of Its Content and Effect,”
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              “Broken Promise: The Supreme Court’s Response to Social Science
              Research on Capital Punishment” (with D. Logan), Journal of Social
              Issues (special issue on the death penalty in the United States), 50,
              75-101.

              “Deciding to Take a Life: Capital Juries, Sentencing Instructions,
              and the Jurisprudence of Death” (with L. Sontag and S. Costanzo),
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              United States), 50, 149-176. [Reprinted in Koosed, M. (Ed.), Capital
              Punishment. New York: Garland Publishing (1995).]

              “Modern’ Death Qualification: New Data on Its Biasing Effects,”
              (with A. Hurtado and L. Vega), Law and Human Behavior, 18, 619-
              633.

              “Processing the Mad, Badly,” Contemporary Psychology, 39, 898-
              899.

              “Language is Power,” Contemporary Psychology, 39, 1039-1040.


   1993       “Infamous Punishment: The Psychological Effects of Isolation,”
              National Prison Project Journal, 8, 3-21. [Reprinted in Marquart,
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              “The Influence of Race on Sentencing: A Meta-Analytic Review of
              Experimental Studies.” (with L. Sweeney). Special issue on
              Discrimination and the Law. Behavioral Science and Law, 10, 179-
              195.


   1991      “The Fourteenth Amendment and Symbolic Legality: Let Them Eat
             Due Process,” Law and Human Behavior, 15, 183-204.


   1988      “In Defense of the Jury,” Contemporary Psychology, 33, 653-655.


   1986       “Civil Rights and Institutional Law: The Role of Social Psychology
              in Judicial Implementation,” (with T. Pettigrew), Journal of
              Community Psychology, 14, 267-277.


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              and Human Behavior, 8, 1-6.

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              Qualification,” Law and Human Behavior, 8, 121-132.

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              Effect,” Law and Human Behavior, 8, 133-151.

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              Behavior, 8, 153-158.

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              “Social Factfinding and Legal Decisions: Judicial Reform and the
              Use of Social Science.” In Muller, D., Blackman, D., and Chapman,
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              Wiley, pp. 43-54.


   1983       “The Future of Crime and Personality Research: A Social
              Psychologist’s View,” in Laufer, W. and Day, J. (Eds.), Personality
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              Lexington, Mass.: Lexington Books, pp. 471-473.




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              Injustice,” in Laufer, W. and Day, J. (Eds.), Personality Theory,
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  1982        “Psychological Theory and Criminal Justice Policy: Law and
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              American History: Cases and Materials. Minneapolis, MN: West
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              “Employment Tests and Employment Discrimination: A Dissenting
              Psychological Opinion,” Industrial Relations Law Journal, 5, pp. 1-
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              “To Polygraph or Not: The Effects of Preemployment Polygraphing
              on Work-Related Attitudes,” (with L. White and M. Lopez),
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  1981        “Death Qualification as a Biasing Legal Process,” The Death Penalty
              Reporter, 1 (10), pp. 1-5. [Reprinted in Augustus: A Journal of
              Progressive Human Sciences, 9(3), 9-13 (1986).]


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              “Psychology and Legal Change: On the Limits of a Factual
              Jurisprudence,” Law and Human Behavior, 6, 191-235. [Reprinted
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              New York: Russell Sage, 1983.]

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              “Television Criminology: Network Illusions of Criminal Justice
              Realities” (with J. Manzolati), in E. Aronson (Ed.), Readings on the
              Social Animal. San Francisco, W.H. Freeman, pp. 125-136.


  1979        “A Psychologist Looks at the Criminal Justice System,” in A. Calvin
              (Ed.), Challenges and Alternatives to the Criminal Justice System.
              Ann Arbor: Monograph Press, pp. 77-85.

              “Social Psychology and the Criminal Law,” in P. Middlebrook (Ed.),
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              “Bargain Justice in an Unjust World: Good Deals in the Criminal
              Courts” (with M. Lowy), Law and Society Review, 13, pp. 633-650.
              [Reprinted in Kadish, Sanford and Paulsen, Robert (Eds.), Criminal
              Law and Its Processes. Boston: Little, Brown, 1983.]


  1977        “Prison Behavior” (with P. Zimbardo), in B. Wolman (Ed.), The
              Encyclopedia of Neurology, Psychiatry, Psychoanalysis, and
              Psychology, Vol. IX, pp. 70-74.

              “The Socialization into Criminality: On Becoming a Prisoner and a
              Guard” (with P. Zimbardo), in J. Tapp and F. Levine (Eds.), Law,
              Justice, and the Individual in Society: Psychological and Legal
              Issues (pp. 198-223). New York: Holt, Rinehart, and Winston.


  1976        “The Play’s the Thing: Methodological Notes on Social
              Simulations,” in P. Golden (Ed.), The Research Experience, pp. 177-
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 1975         “The Blackboard Penitentiary: It’s Tough to Tell a High School
              from a Prison” (with P. Zimbardo). Psychology Today, 26ff.

             “Implementing Research Results in Criminal Justice Settings,”
             Proceedings, Third Annual Conference on Corrections in the U.S.
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             June 6-7.

              “The Psychology of Imprisonment: Privation, Power, and
              Pathology” (with P. Zimbardo, C. Banks, and D. Jaffe), in D.
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              in: Rubin, Z. (Ed.), Doing Unto Others: Joining, Molding,


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              Relationships. New York: Random House, 1978; translated as: La
              Psicologia del encarcelamiento: privacion, poder y patologia,
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  1973        “Social Roles, Role-Playing, and Education” (with P. Zimbardo),
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              [Reprinted in: Zimbardo, P., and Maslach, C. (Eds.) Psychology For
              Our Times. Glenview, Ill.: Scott, Foresman, 1977. Hollander, E.
              and Hunt, R. (Eds.) Current Perspectives in Social Psychology.
              Third Edition. New York: Oxford University Press, 1978.]

              “The Mind is a Formidable Jailer: A Pirandellian Prison” (with P.
              Zimbardo, C. Banks, and D. Jaffe), The New York Times Magazine,
              April 8, Section 6, 38-60. [Reprinted in Krupat, E. (Ed.),
              Psychology Is Social: Readings and Conversations in Social
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              “Interpersonal Dynamics in a Simulated Prison” (with C. Banks and
              P. Zimbardo), International Journal of Criminology and Penology,
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              Robert (Eds.) Examining Deviance Experimentally. New York:
              Alfred Publishing, 1975; Golden, P. (Ed.) The Research Experience.
              Itasca, Ill.: Peacock, 1976; Leger, Robert (Ed.) The Sociology of
              Corrections. New York: John Wiley, 1977; A kiserleti tarsadalom-
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              York: John Wiley, 1978; Research Methods in Education and Social
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              Sociology. British Columbia: Open Learning Institute, 1980; Ross,
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              Abuse of Human Resources of Prison. Toronto: Butterworth’s 1981;
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              Jerzy (Ed.), The Context of Human Behavior. Jagiellonian
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              Landscape: Readings in Sociology. St. Enumclaw, WA: Mayfield
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                 “A Study of Prisoners and Guards” (with C. Banks and P.
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MEMBERSHIP/ACTIVITIES IN PROFESSIONAL ASSOCIATIONS

     American Psychological Association

     American Psychology and Law Society

     Law and Society Association

     National Council on Crime and Delinquency


INVITED ADDRESSES AND PAPERS AT PROFESSIONAL ACADEMIC MEETINGS
      AND RELATED SETTINGS (SELECTED)


      2024       “On the Nature of Institutional Trauma,” California Attorneys for
                 Criminal Justice Death Penalty Conference, February.

                 “The Psychological Effects of Solitary Confinement,” testimony
                 before the Pennsylvania House Judiciary Committee, Harrisburg,
                 PA, March.

                 “On the Nature of Prison Trauma,” Yale Law School Liman Center
                 Conference on Incarceration and Public Health, April.

                 “Solitary Confinement in the United States: Conditions and
                 Consequences,” World Health Organization, Amsterdam,
                 Netherlands, April.

      2023       “On the Nature of Prison Trauma and the Prospects for Reform and
                 Abolition,” John Lewis College, Practical Activism Conference,
                 UCSC, February.

                 “The Psychological Consequences of Imprisonment and
                 Alternatives to Incarceration,” invited webinar for California
                 prosecutors sponsored by The Prosecutors’ Alliance, May.




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              “The Psychological Principles at the Foundation of Humane and
              Effective Prisons,” Norwegian Prison Service Academy, September.


              “The Nature of Solitary Confinement and the Definition of ‘Cruel,
              Inhuman, and Degrading’ Treatment,” United Nations Human
              Rights Council Hearings, Geneva, Switzerland, October.


   2022       “Promulgating Myth, Ensuring Ignorance: How the Media Derails
              Criminal Justice Reform,” Media and Society Lecture Series,
              University of California, Santa Cruz, CA, March.

              “Context is Everything: From the Stanford Prison Experiment to
              Supermax Prisons and Back,” Joint UCSF Amend/Norwegian
              Prison Service Training Program, Oslo, Norway, May.

              “The Social Psychology of Solitary Confinement,” Stanford
              University, Stanford, CA, May.

              “Dismantling Dehumanization,” Advancing Real Change
              Conference, Baltimore, MD, June.

              “The Pains of Imprisonment,” United Justice Summit Coalition,
              New York, New York, July.

              “The Social and Developmental Causes of Crime,” Keynote Address
              in the Rethinking the Social Environment in Criminal Law Theory
              and Doctrine: Interdisciplinary Perspectives Academic Workshop,
              Max Planck Institute for the Study of Crime, Security, and Law,
              Freiburg, Germany, September.


   2021       “Imagining Freedom: Psychological Constriction and Constraint in
              Confinement,” in conversation with Professors Reginal Dwayne
              Betts and Gina Dent, Santa Cruz, CA, January.

              “Prisoners of Isolation: The Dangers of Social Deprivation, in
              Prisons and Pandemics,” University Forum, University of
              California, Santa Cruz, CA, February.

              “The Stanford Prison Experiment: Trauma Realized,” New Jersey
              Reentry Conference Annual Meeting, Trenton, NJ, April.

              “Criminality in Context,” National Seminar on the Development
              and Presentation of Mitigating Evidence in Capital Cases, May.



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   2020       “A History to Avoid Repeating: Changing the Narrative in Criminal
              Justice Reform,” Governor’s Committee on the Reform of the
              California Penal Code, Sacramento, CA, January.

              “The Science of Solitary: Expanding the Harmfulness Narrative,”
              International Symposium on Solitary Confinement, Thomas
              Jefferson University, Philadelphia, PA, November.

              “Social Histories and Capital Mitigation,” Virginia Death Penalty
              Attorneys’ Conference, November.

              “Putting Criminality in Context,” Advancing Real Change
              Symposium, Baltimore, MD, December.

              “The R0le of Expert Witnesses in Prison Litigation,” UCLA Law
              School Seminar, December.


   2019       “The Recent History of Corrections in Norway and the United
              States,” Plenary Address, Justice Reinvestment Summit, Salem, OR,
              February.

              “The Dimensions of Suffering in Solitary Confinement,” Plenary
              Address, Washington College of Law at American University,
              Washington, DC, March.

              “Implementing Norwegian Correctional Principles to Change Prison
              Culture in Oregon Prisons,” Invited Address, Oregon Department of
              Corrections Leadership Team, Salem, OR, June.

              “Humanizing American Jails and Prisons,” Center for Court
              Innovation, International Summit, New York, NY, June.

              “Changing the Narrative in Criminal Justice Reform,” Invited
              Address, Norwegian Correctional Academy, Oslo, Norway,
              September.

              Plenary Address, “Perspectives on Solitary Confinement,”
              Northwestern University Law Review Symposium, Chicago, IL,
              November.

   2018       “The Art and Science of Capital Mitigation,” Federal Death Penalty
              Training Conference, Atlanta, Georgia, June.




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              “From Eastern State Penitentiary to Supermax Prisons,” Safe
              Alternatives to Segregation Conference, Vera Institute of Justice,
              Philadelphia, PA, June.

              Plenary Address, “Advancing Prisoners’ Rights Through Law and
              Psychology,” Denver Law Prisoners’ Advocates Conference,
              University of Denver Sturm College of Law, Denver, CO, October.

              “In Praise of Positivism in the Age of ‘Fake News’ and ‘Alternative
              Facts,’” Research Frontiers Conference, Santa Cruz, CA, October.

   2017       “Neuroscience in Policy: Solitary Confinement in California,” Law &
              Neuroscience Conference, San Francisco, CA, February.

              “In My Solitude: The Detrimental Effects of Solitary Confinement
              on the Brain,” Exploratorium-Fisher Bay Observation Gallery, San
              Francisco, CA, February.

              “Brief History of Correctional Reform in the United States,”
              Community Corrections Partnership/Smart on Crime Community
              Forum, Santa Cruz Civic Auditorium, May.

              “Reducing and Eliminating the Use of Solitary Confinement in Irish
              Prisons,” Joint Conference with the Irish Prison Service,
              Department of Justice, and Irish Penal Reform Trust, Dublin,
              Ireland, June.

              “The Emerging Consensus on When, for How Long, and On Whom
              Solitary Confinement Should Ever Be Imposed,” Leadership,
              Culture and Managing Prisons: Knowledge Exchange between the
              USA and Europe (LEADERS), Trinity College, Dublin, Ireland,
              June.

              “Sykes and Solitary: The Transformation of the Penal Subject in the
              Devolution from a ‘Society of Captives’ to Supermax Prisons,”
              Power and Authority in Modern Prisons: Essays in Memory of
              Gresham Sykes Workshop, Centre for Prison Research, Cambridge
              University, Cambridge, England, September.

              “Context Is Everything: The Social Psychology of Imprisonment,”
              Joint USA/Scandinavian Correctional Exchange Program, Oslo,
              Norway, September.


   2016       “The Culture of Punishment,” American Justice Summit, New York,
              January.



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              “Mental Illness and Prison Confinement,” Conference on Race,
              Class, Gender and Ethnicity (CRCGE), University of North Carolina
              Law School, Chapel Hill, NC, February.

              “Reforming the Treatment of California’s Mentally Ill Prisoners:
              Coleman and Beyond,” Meeting of the UC Consortium on Criminal
              Justice & Health, San Francisco, April.

              “Bending Toward Justice? The Urgency (and Possibility) of
              Criminal Justice Reform,” UC Santa Cruz Alumni Association
              “Original Thinkers” Series, San Jose, CA (March), and Museum of
              Tolerance, Los Angeles (April).

              “Isolation and Mental Health,” International and Inter-Disciplinary
              Perspectives on Prolonged Solitary Confinement, University of
              Pittsburgh Law School, Pittsburgh, PA, April.

              “Mechanisms of Moral Disengagement in the Treatment of
              Prisoners” (with Joanna Weill), Conference of the Society for the
              Study of Social Issues, Minneapolis, June.


   2015       “Reforming the Criminal Justice System,” Bipartisan Summit on
              Criminal Justice Reform, American Civil Liberties Union/Koch
              Industries co-sponsored, Washington, DC, March.

              “PrisonWorld: How Mass Incarceration Transformed U.S. Prisons,
              Impacted Prisoners, and Changed American Society,” Distinguished
              Faculty Research Lecture, UC Santa Cruz, March.

              “Think Different, About Crime and Punishment,” Invited Lecture,
              UC Santa Cruz 50th Anniversary Alumni Reunion, April.

              “The Intellectual Legacy of the Civil Rights Movement: Two Fifty-
              Year Anniversaries,” College 10 Commencement Address, June.

              “Race and Capital Mitigation,” Perspectives on Racial and Ethnic
              Bias for Capital and Non-Capital Lawyers, New York, September.

              “The Dimensions of Suffering in Solitary Confinement,” Vera
              Institute of Justice, “Safe Alternatives to Solitary Confinement-A
              Human Dignity Approach” Conference, Washington, DC,
              September.

              “Mental Health and Administrative Segregation,” Topical Working
              Group on the Use of Administrative Segregation in the U.S.,



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              National Institute of Justice/Department of Justice, Washington,
              DC, October.

              “The Psychological Effects of Segregated Confinement,” Ninth
              Circuit Court of Appeals “Corrections Summit,” Sacramento, CA,
              November.

              “How Can the University of California Address Mass Incarceration
              in California and Beyond?,” Keynote Address, Inaugural Meeting of
              the UC Consortium on Criminal Justice & Health, San Francisco,
              November.


   2014       “Solitary Confinement: Legal, Clinical, and Neurobiological
              Perspectives,” American Association for the Advancement of
              Science (AAAS), Chicago, IL February.

              “Overcrowding, Isolation, and Mental Health Care, Prisoners’
              Access to Justice: Exploring Legal, Medical, and Educational
              Rights,” University of California, School of Law, Irvine, CA,
              February.

              “The Continuing Significance of Death Qualification” (with Joanna
              Weill), Annual Conference of the American Psychology-Law
              Society, New Orleans, March.

              “Using Psychology at Multiple Levels to Transform Adverse
              Conditions of Confinement,” Society for the Study of Social Issues
              Conference, Portland, OR, June.

              “Humane and Effective Alternatives to Isolated Confinement,”
              American Civil Liberties Union National Prison Project Convening
              on Solitary Confinement, Washington, DC, September.

              “Community of Assessment of Public Safety,” Community
              Assessment Project of Santa Cruz County, Year 20, Cabrillo College,
              November.

              “Overview of National Academy of Sciences Report on Causes and
              Consequences of High Rates of Incarceration,” Chief Justice Earl
              Warren Institute on Law & Social Policy, Boalt Hall Law School,
              Berkeley, CA, November.

              “Presidential Panel, Overview of National Academy of Sciences
              Report on Causes and Consequences of High Rates of
              Incarceration,” American Society for Criminology, San Francisco,
              November.


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              “Presidential Panel, National Academy of Sciences Report on
              Consequences of High Rates of Incarceration on Individuals,”
              American Society for Criminology, San Francisco, November.

              “Findings of National Academy of Sciences Committee on the
              Causes and Consequences of High Rates of Incarceration,”
              Association of Public Policy Analysis and Management Convention
              (APPAM), Albuquerque, NM, November.

              “Politics and the Penal State: Mass Incarceration and American
              Society,” New York University Abu Dhabi International Scholars
              Program, Abu Dhabi, United Arab Emirates, December.


   2013       “Isolation and Mental Health,” Michigan Journal of Race and Law
              Symposium, University of Michigan School of Law, Ann Arbor, MI,
              February.

              “Social Histories of Capital Defendants” (with Joanna Weill),
              Annual Conference of Psychology-Law Society, Portland, OR,
              March.

              “Risk Factors and Trauma in the Lives of Capital Defendants” (with
              Joanna Weill), American Psychological Association Annual
              Convention, Honolulu, HI, August.

              “Bending Toward Justice: Psychological Science and Criminal
              Justice Reform,” Invited Plenary Address, American Psychological
              Association Annual Convention, Honolulu, HI, August.

              “Severe Conditions of Confinement and International Torture
              Standards,” Istanbul Center for Behavior Research and Therapy,
              Istanbul, Turkey, December.


   2012       “The Psychological Consequences of Long-term Solitary
              Confinement,” Joint Yale/Columbia Law School Conference on
              Incarceration and Isolation, New York, April.

              “The Creation of the Penal State in America,” Managing Social
              Vulnerability: The Welfare and Penal System in Comparative
              Perspective, Central European University, Budapest, Hungary, July.


   2011       “Tensions Between Psychology and the Criminal Justice System: On
              the Persistence of Injustice,” opening presentation, “A Critical Eye


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              on Criminal Justice” lecture series, Golden Gate University Law
              School, San Francisco, CA, January.

              “The Decline in Death Penalty Verdicts and Executions: The Death
              of Capital Punishment?” Presentation at “A Legacy of Justice” week,
              at the University of California, Davis King Hall Law School, Davis,
              CA, January.

              “Invited Keynote Address: The Nature and Consequences of Prison
              Overcrowding—Urgency and Implications,” West Virginia School of
              Law, Morgantown, West Virginia, March.

              “Symposium: The Stanford Prison Experiment—Enduring Lessons
              40 Years Later,” American Psychological Association Annual
              Convention, Washington, DC, August.

              “The Dangerous Overuse of Solitary Confinement: Pervasive
              Human Rights Violations in Prisons, Jails, and Other Places of
              Detention” Panel, United Nations, New York, New York, October.

              “Criminal Justice Reform: Issues and Recommendation,” United
              States Congress, Washington, DC, November.


   2010       “The Hardening of Prison Conditions,” Opening Address, “The
              Imprisoned” Arthur Liman Colloquium Public Interest Series, Yale
              Law School, New Haven, CN, March.

              “Desensitization to Inhumane Treatment: The Pitfalls of Prison
              Work,” panel presentation at “The Imprisoned” Arthur Liman
              Colloquium Public Interest Series, Yale Law School, New Haven,
              CN, March.

              “Mental Ill Health in Immigration Detention,” Department of
              Homeland Security/DOJ Office for Civil Rights and Civil Liberties,
              Washington, DC, September.


   2009       “Counting Casualties in the War on Prisoners,” Keynote Address, at
              “The Road to Prison Reform: Treating the Causes and Conditions of
              Our Overburdened System,” University of Connecticut Law School,
              Hartford, CN, February.

              “Defining the Problem in California’s Prison Crisis: Overcrowding
              and Its Consequences,” California Correctional Crisis Conference,”
              Hastings Law School, San Francisco, CA, March.



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   2008       “Prisonization and Contemporary Conditions of Confinement,”
              Keynote Address, Women Defenders Association, Boalt Law School,
              University of California, November.

              “Media Criminology and the Empathic Divide: The Continuing
              Significance of Race in Capital Trials,” Invited Address, Media,
              Race, and the Death Penalty Conference, DePaul University School
              of Law, Chicago, IL, March.

              “The State of the Prisons in California,” Invited Opening Address,
              Confronting the Crisis: Current State Initiatives and Lasting
              Solutions for California’s Prison Conditions Conference, University
              of San Francisco School of Law, San Francisco, CA, March.

              “Mass Incarceration and Its Effects on American Society,” Invited
              Opening Address, Behind the Walls Prison Law Symposium,
              University of California Davis School of Law, Davis, CA, March.


    2007      “The Psychology of Imprisonment: How Prison Conditions Affect
               Prisoners and Correctional Officers,” United States Department of
               Justice, National Institute of Corrections Management Training for
               “Correctional Excellence” Course, Denver, CO, May.

              “Statement on Psychologists, Detention, and Torture,” Invited
              Address, American Psychological Association Annual Convention,
              San Francisco, CA, August.

              “Prisoners of Isolation,” Invited Address, University of Indiana Law
              School, Indianapolis, IN, October.

              “Mitigation in Three Strikes Cases,” Stanford Law School, Palo Alto,
              CA, September.

              “The Psychology of Imprisonment,” Occidental College, Los
              Angeles, CA, November.


   2006       “Mitigation and Social Histories in Death Penalty Cases,” Ninth
              Circuit Federal Capital Case Committee, Seattle, WA, May.

              “The Crisis in the Prisons: Using Psychology to Understand and
              Improve Prison Conditions,” Invited Keynote Address, Psi Chi
              (Undergraduate Psychology Honor Society) Research Conference,
              San Francisco, CA, May.



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              “Exoneration and ‘Wrongful Condemnation’: Why Juries Sentence
              to Death When Life is the Proper Verdict,” Faces of Innocence
              Conference, UCLA Law School, April.

              “The Continuing Effects of Imprisonment: Implications for Families
              and Communities,” Research and Practice Symposium on
              Incarceration and Marriage, United States Department of Health
              and Human Services, Washington, DC, April.

              “Ordinary People, Extraordinary Acts,” National Guantanamo
              Teach In, Seton Hall School of Law, Newark, NJ, October.

              “The Next Generation of Death Penalty Research,” Invited Address,
              State University of New York, School of Criminal Justice, Albany,
              NY, October.


   2005       “The ‘Design’ of the System of Death Sentencing: Systemic Forms of
              ‘Moral Disengagement in the Administration of Capital
              Punishment, Scholar-in-Residence, invited address, Center for
              Social Justice, Boalt Hall School of Law (Berkeley), March.

              “Humane Treatment for Asylum Seekers in U.S. Detention
              Centers,” United States House of Representatives, Washington, DC,
              March.

              “Prisonworld: What Overincarceration Has Done to Prisoners and
              the Rest of Us,” Scholar-in-Residence, invited address, Center for
              Social Justice, Boalt Hall School of Law (Berkeley), March.

              “Prison Conditions and Their Psychological Effects on Prisoners,”
              European Association for Psychology and Law, Vilnius, Lithuania,
              July.


   2004       “Recognizing the Adverse Psychological Effects of Incarceration,
              With Special Attention to Solitary-Type Confinement and Other
              Forms of ‘Ill-Treatment’ in Detention,” International Committee of
              the Red Cross, Training Program for Detention Monitors, Geneva,
              Switzerland, November.

              “Prison Conditions in Post-“War on Crime” Era: Coming to Terms
              with the Continuing Pains of Imprisonment,” Boalt Law School
              Conference, After the War on Crime: Race, Democracy, and a New
              Reconstruction, Berkeley, CA, October.




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              “Cruel and Unusual? The United States Prison System at the Start
              of the 21st Century,” Invited speaker, Siebel Scholars Convocation,
              University of Illinois, Urbana, IL, October.

              “The Social Historical Roots of Violence: Introducing Life
              Narratives into Capital Sentencing Procedures,” Invited
              Symposium, XXVIII International Congress of Psychology, Beijing,
              China, August.

              “Death by Design: Capital Punishment as a Social Psychological
              System,” Division 41 (Psychology and Law) Invited Address,
              American Psychological Association Annual Convention, Honolulu,
              HI, July.

              “The Psychology of Imprisonment and the Lessons of Abu Ghraib,”
              Commonwealth Club Public Interest Lecture Series, San Francisco,
              May.

              “Restructuring Prisons and Restructuring Prison Reform,” Yale Law
              School Conference on the Current Status of Prison Litigation in the
              United States, New Haven, CN, May.

              “The Effects of Prison Conditions on Prisoners and Guards: Using
              Psychological Theory and Data to Understand Prison Behavior,”
              United States Department of Justice, National Institute of
              Corrections Management Training Course, Denver, CO, May.

              “The Contextual Revolution in Psychology and the Question of
              Prison Effects: What We Know about How Prison Affects Prisoners
              and Guards,” Cambridge University, Cambridge, England, April.

              “Death Penalty Attitudes, Death Qualification, and Juror
              Instructional Comprehension,” American Psychology-Law Society,
              Annual Conference, Scottsdale, AZ, March.


  2003        “Crossing the Empathic Divide: Race Factors in Death Penalty
              Decisionmaking,” DePaul Law School Symposium on Race and the
              Death Penalty in the United States, Chicago, October.

              “Supermax Prisons and the Prison Reform Paradigm,” PACE Law
              School Conference on Prison Reform Revisited: The Unfinished
              Agenda, New York, October.

              “Mental Health Issues in Supermax Confinement,” European
              Psychology and Law Conference, University of Edinburgh,
              Scotland, July.


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              “Roundtable on Capital Punishment in the United States: The Key
              Psychological Issues,” European Psychology and Law Conference,
              University of Edinburgh, Scotland, July.

              “Psychology and Legal Change: Taking Stock,” European
              Psychology and Law Conference, University of Edinburgh,
              Scotland, July.

              “Economic Justice and Criminal Justice: Social Welfare and Social
              Control,” Society for the Study of Social Issues Conference, January.

              “Race, Gender, and Class Issues in the Criminal Justice System,”
              Center for Justice, Tolerance & Community and Barrios Unidos
              Conference, March.


  2002        “The Psychological Effects of Imprisonment: Prisonization and
              Beyond.” Joint Urban Institute and United States Department of
              Health and Human Services Conference on “From Prison to Home.”
              Washington, DC, January.

              “On the Nature of Mitigation: Current Research on Capital Jury
              Decisionmaking.” American Psychology and Law Society, Mid-
              Winter Meetings, Austin, Texas, March.

              “Prison Conditions and Death Row Confinement.” New York Bar
              Association, New York City, June.


  2001        “Supermax and Solitary Confinement: The State of the Research
              and the State of the Prisons.” Best Practices and Human Rights in
              Supermax Prisons: A Dialogue. Conference sponsored by University
              of Washington and the Washington Department of Corrections,
              Seattle, September.

              “Mental Health in Supermax: On Psychological Distress and
              Institutional Care.” Best Practices and Human Rights in Supermax
              Prisons: A Dialogue. Conference sponsored by University of
              Washington and the Washington Department of Corrections,
              Seattle, September.

              “On the Nature of Mitigation: Research Results and Trial Process
              and Outcomes.” Boalt Hall School of Law, University of California,
              Berkeley, August.




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              “Toward an Integrated Theory of Mitigation.” American
              Psychological Association Annual Convention, San Francisco, CA,
              August.

              Discussant: “Constructing Class Identities—The Impact of
              Educational Experiences.” American Psychological Association
              Annual Convention, San Francisco, CA, August.

              “The Rise of Carceral Consciousness.” American Psychological
              Association Annual Convention, San Francisco, CA, August.


  2000        “On the Nature of Mitigation: Countering Generic Myths in Death
              Penalty Decisionmaking,” City University of New York Second
              International Advances in Qualitative Psychology Conference,
              March.

              “Why Has U.S. Prison Policy Gone From Bad to Worse? Insights
              From the Stanford Prison Study and Beyond,” Claremont
              Conference on Women, Prisons, and Criminal Injustice, March.

              “The Use of Social Histories in Capital Litigation,” Yale Law School,
              April.

              “Debunking Myths About Capital Violence,” Georgetown Law
              School, April.

              “Research on Capital Jury Decisionmaking: New Data on Juror
              Comprehension and the Nature of Mitigation,” Society for Study of
              Social Issues Convention, Minneapolis, June.

              “Crime and Punishment: Where Do We Go From Here?” Division
              41 Invited Symposium, “Beyond the Boundaries: Where Should
              Psychology and Law Be Taking Us?” American Psychological
              Association Annual Convention, Washington, DC, August.


  1999        “Psychology and the State of U.S. Prisons at the Millennium,”
              American Psychological Association Annual Convention, Boston,
              MA, August.

              “Spreading Prison Pain: On the Worldwide Movement Towards
              Incarcerative Social Control,” Joint American Psychology-Law
              Society/European Association of Psychology and Law Conference,
              Dublin, Ireland, July.




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  1998        “Prison Conditions and Prisoner Mental Health,” Beyond the Prison
              Industrial Complex Conference, University of California, Berkeley,
              September.

              “The State of US Prisons: A Conversation,” International Congress
              of Applied Psychology, San Francisco, CA, August.

              “Deathwork: Capital Punishment as a Social Psychological System,”
              Invited SPPSI Address, American Psychological Association Annual
              Convention, San Francisco, CA, August.

              “The Use and Misuse of Psychology in Justice Studies: Psychology
              and Legal Change: What Happened to Justice?,” (panelist),
              American Psychological Association Annual Convention, San
              Francisco, CA, August.

              “Twenty Five Years of American Corrections: Past and Future,”
              American Psychology and Law Society, Redondo Beach, CA, March.


  1997        “Deconstructing the Death Penalty,” School of Justice Studies,
              Arizona State University, Tempe, AZ, October.

              “Mitigation and the Study of Lives,” Invited Address to Division 41
              (Psychology and Law), American Psychological Association Annual
              Convention, Chicago, August.


  1996        “The Stanford Prison Experiment and 25 Years of American Prison
              Policy,” American Psychological Association Annual Convention,
              Toronto, August.


  1995        “Looking Closely at the Death Penalty: Public Stereotypes and
              Capital Punishment,” Invited Address, Arizona State University
              College of Public Programs series on Free Speech, Affirmative
              Action and Multiculturalism, Tempe, AZ, April.

              “Race and the Flaws of the Meritocratic Vision,” Invited Address,
              Arizona State University College of Public Programs series on Free
              Speech, Affirmative Action and Multiculturalism, Tempe, AZ, April.

              “Taking Capital Jurors Seriously,” Invited Address, National
              Conference on Juries and the Death Penalty, Indiana Law School,
              Bloomington, February.




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  1994        “Mitigation and the Social Genetics of Violence: Childhood
              Treatment and Adult Criminality,” Invited Address, Conference on
              the Capital Punishment, Santa Clara Law School, October, Santa
              Clara.


  1992        “Social Science and the Death Penalty,” Chair and Discussant,
              American Psychological Association Annual Convention, San
              Francisco, CA, August.


  1991        “Capital Jury Decisionmaking,” Invited panelist, American
              Psychological Association Annual Convention, Atlanta, GA, August.


  1990        “Racial Discrimination in Death Penalty Cases,” Invited
              presentation, NAACP Legal Defense Fund Conference on Capital
              Litigation, August, Airlie, VA.


  1989        “Psychology and Legal Change: The Impact of a Decade,” Invited
              Address to Division 41 (Psychology and Law), American
              Psychological Association Annual Convention, New Orleans, LA.,
              August.

              “Judicial Remedies to Pretrial Prejudice,” Law & Society
              Association Annual Meeting, Madison, WI, June.

              “The Social Psychology of Police Interrogation Techniques” (with R.
              Liebowitz), Law & Society Association Annual Meeting, Madison,
              WI, June.


  1987        “The Fourteenth Amendment and Symbolic Legality: Let Them Eat
              Due Process,” APA Annual Convention, New York, N.Y. August.

              “The Nature and Function of Prison in the United States and
              Mexico: A Preliminary Comparison,” InterAmerican Congress of
              Psychology, Havana, Cuba, July.


  1986        Chair, Division 41 Invited Address and “Commentary on the
              Execution Ritual,” APA Annual Convention, Washington, D.C.,
              August.




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              “Capital Punishment,” Invited Address, National Association of
              Criminal Defense Lawyers Annual Convention, Monterey, CA,
              August.


  1985        “The Role of Law in Graduate Social Science Programs” and
              “Current Directions in Death Qualification Research,” American
              Society of Criminology, San Diego, CA, November.

              “The State of the Prisons: What’s Happened to ‘Justice’ in the ‘70s
              and ‘80s?” Invited Address to Division 41 (Psychology and Law);
              APA Annual Convention, Los Angeles, CA, August.


  1983        “The Role of Social Science in Death Penalty Litigation.” Invited
              Address in National College of Criminal Defense Death Penalty
              Conference, Indianapolis, IN, September.


  1982        “Psychology in the Court: Social Science Data and Legal Decision-
              Making.” Invited Plenary Address, International Conference on
              Psychology and Law, University College, Swansea, Wales, July.


  1982        “Paradigms in Conflict: Contrasting Methods and Styles of
              Psychology and Law.” Invited Address, Social Science Research
              Council, Conference on Psychology and Law, Wolfson College,
              Oxford University, March.


  1982        “Law and Psychology: Conflicts in Professional Roles.” Invited
              paper, Western Psychological Association Annual Meeting, April.


  1980        “Using Psychology in Test Case Litigation,” panelist, American
              Psychological Association Annual Convention, Montreal, Canada,
              September.

              “On the Selection of Capital Juries: The Biasing Effects of Death
              Qualification.” Paper presented at the Interdisciplinary Conference
              on Capital Punishment. Georgia State University, Atlanta, GA,
              April.

              “Diminished Capacity and Imprisonment: The Legal and
              Psychological Issues,” Proceedings of the American Trial Lawyers
              Association, Mid-Winter Meeting, January.



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     1975           “Social Change and the Ideology of Individualism in Psychology and
                    Law.” Paper presented at the Western Psychological Association
                    Annual Meeting, April.



SERVICE TO STAFF OR EDITORIAL BOARDS OF FOUNDATIONS, SCHOLARLY
JOURNALS OR PRESSES


     2018-present:     Editorial Consultant, PLoS ONE.

     2016-present      Editorial Consultant, Translational Issues in Psychological
                       Science.

     2016-present     Editorial Consultant, International Journal of Law and
                      Psychiatry.

     2016-present      Editorial Consultant, Justice Quarterly.

     2015-present      Editorial Consultant, Criminal Justice Review.

     2015-present     Editorial Consultant, American Journal of Criminal Justice.

     2015-present     Editorial Consultant, American Journal of Psychology.

     2015-present     Editorial Consultant, Criminal Justice Policy Review.

     2014-2018         Editorial Board Member, Law and Social Inquiry.

     2013-present      Editorial Consultant, Criminal Justice and Behavior.

     2012-present:     Editorial Consultant, American Sociological Review.

     2012-present:    Editorial Consultant, Criminology.

     2011-present      Editorial Consultant, Social Psychological and Personality
                       Science.

     2008-present     Editorial Consultant, New England Journal of Medicine.

     2007-present      Editorial Board Member, Correctional Mental Health Reporter.

     2007-present     Editorial Consultant, Journal of Offender Rehabilitation.

     2004-2016        Editorial Board Member, American Psychology and Law Society


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                 Book Series, Oxford University Press.

  2000-2003      Reviewer, Society for the Study of Social Issues Grants-in-Aid
                 Program.

  2000-present: Editorial Consultant, Punishment and Society.

  2000-2015      Editorial Board Member, ASAP (on-line journal of the Society for
                 the Study of Social Issues)

  1997-2004      Editorial Board Member, Psychology, Public Policy, and Law

  1997-present   Editorial Consultant, Psychology, Public Policy, and Law

  1991           Editorial Consultant, Brooks/Cole Publishing

  1989-present   Editorial Consultant, Journal of Personality and Social
                 Psychology

  1988-present   Editorial Consultant, American Psychologist

  1985           Editorial Consultant, American Bar Foundation Research Journal

  1985-2006      Law and Human Behavior, Editorial Board Member

  1985           Editorial Consultant, Columbia University Press

  1985-present   Editorial Consultant, Law and Social Inquiry

  1980-present Reviewer, National Science Foundation

  1997           Reviewer, National Institutes of Mental Health

  1980-present Editorial Consultant, Law and Society Review

  1979-present   Editorial Consultant, Law and Human Behavior

  1997-present   Editorial Consultant, Legal and Criminological Psychology


  GOVERNMENTAL, LEGAL AND CRIMINAL JUSTICE CONSULTING


  Training Consultant, Palo Alto Police Department, 1973-1974.

  Evaluation Consultant, San Mateo County Sheriff’s Department, 1974.



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  Design and Training Consultant to Napa County Board of Supervisors, County
        Sheriff’s Department (county jail), 1974.

  Training Consultation, California Department of Corrections, 1974.

  Consultant to California Legislature Select Committee in Criminal Justice, 1974,
        1980-1981 (effects of prison conditions, evaluation of proposed prison
        legislation).

  Reviewer, National Science Foundation (Law and Social Science, Research
        Applied to National Needs Programs), 1978-present.

  Consultant, Santa Clara County Board of Supervisors, 1980 (effects of jail
        overcrowding, evaluation of county criminal justice policy).

  Consultant to Packard Foundation, 1981 (evaluation of inmate counseling and
        guard training programs at San Quentin and Soledad prisons).

  Member, San Francisco Foundation Criminal Justice Task Force, 1980-1982
      (corrections expert).

  Consultant to NAACP Legal Defense Fund, 1982- present (expert witness, case
        evaluation, attorney training).

  Faculty, National Judicial College, 1980-1983.

  Consultant to Public Advocates, Inc., 1983-1986 (public interest litigation).

  Consultant to California Child, Youth, Family Coalition, 1981-82 (evaluation of
        proposed juvenile justice legislation).

  Consultant to California Senate Office of Research, 1982 (evaluation of causes
        and consequences of overcrowding in California Youth Authority
        facilities).

  Consultant, New Mexico State Public Defender, 1980-1983 (investigation of
               causes of February, 1980 prison riot).

  Consultant, California State Supreme Court, 1983 (evaluation of county jail
        conditions).

  Member, California State Bar Committee on Standards in Prisons and Jails, 1983.

  Consultant, California Legislature Joint Committee on Prison Construction and
        Operations, 1985.

  Consultant, United States Bureau of Prisons and United States Department of the


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        Interior (Prison History, Conditions of Confinement Exhibition, Alcatraz
        Island), 1989-1991.

  Consultant to United States Department of Justice, 1980-1990 (evaluation of
        institutional conditions).

  Consultant to California Judicial Council (judicial training programs), 2000.

  Consultant to American Bar Association/American Association for Advancement
        of Science Task Force on Forensic Standards for Scientific Evidence, 2000.

  Invited Participant, White House Forum on the Uses of Science and Technology
       to Improve Crime and Prison Policy, 2000.

  Member, Joint Legislative/California Department of Corrections Task Force on
      Violence, 2001.

  Consultant, United States Department of Health & Human Services/Urban Institute,
        “Effects of Incarceration on Children, Families, and Low-Income Communities”
        Project, 2002.

  Detention Consultant, United States Commission on International Religious Freedom
        (USCIRF). Evaluation of Immigration and Naturalization Service Detention
        Facilities, July, 2004-2005.

  Consultant, International Committee of the Red Cross, Geneva, Switzerland, Consultant
        on international conditions of confinement.

  Member, Institutional Research External Review Panel, California Department of
      Corrections, November, 2004-2008.

  Consultant, United States Department of Health & Human Services on programs
        designed to enhance post-prison success and community reintegration, 2006.

  Consultant/Witness, U.S. House of Representatives, Judiciary Committee, Evaluation of
        legislative and budgetary proposals concerning the detention of undocumented
        persons, February-March, 2005.

  Invited Expert Witness to National Commission on Safety and Abuse in America’s
         Prisons (Nicholas Katzenbach, Chair); Newark, New Jersey, July 19-20, 2005.

  Testimony to the United States Senate, Judiciary Subcommittee on the
        Constitution, Civil Rights, and Property Rights (Senators Brownback and
        Feingold, co-chairs), Hearing on “An Examination of the Death Penalty in
        the United States,” February 7, 2006.

  National Council of Crime and Delinquency “Sentencing and Correctional Policy


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        Task Force,” member providing written policy recommendations to the
        California legislature concerning overcrowding crisis in the California
        Department of Corrections and Rehabilitation.

  Trainer/Instructor, Federal Bureau of Prisons and United States Department of Justice,
        “Correctional Excellence” Program, providing instruction concerning conditions
        of confinement and psychological stresses of living and working in correctional
        environments to mid-level management corrections professionals, May, 2004-
        2008.

  Invited Expert Witness, California Commission on the Fair Administration of Justice,
         Public Hearing, Santa Clara University, March 28, 2008.

  Invited Participant, Department of Homeland Security, Mental Health Effects of
         Detention and Isolation, 2010.

  Invited Witness, Before the California Assembly Committee on Public Safety,
         August 23, 2011.

  Consultant, “Reforming the Criminal Justice System in the United States” Joint
        Working Group with Senator James Webb and Congressional Staffs, 2011
        Developing National Criminal Justice Commission Legislation.

  Invited Participant, United Nations, Forum with United Nations Special
         Rapporteur on Torture Concerning the Overuse of Solitary Confinement,
        New York, October, 2011.

  Invited Witness, Before United States Senate Judiciary Subcommittee on the
         Constitution, Civil Rights, and Human Rights Hearing on Solitary
         Confinement, June 19, 2012.

  Member, National Academy of Sciences Committee to Study the Causes and
      Consequences of the High Rate of Incarceration in the United States,
      2012-2014.

  Member, National Academy of Sciences Briefing Group, briefed media and public
      officials at Pew Research Center, Congressional staff, and White House staff
      concerning policy implications of The Growth of Incarceration in the United
      States: Exploring the Causes and Consequences (2014), April 30-May 1.

  Consultant to United States Department of Justice and White House Domestic Policy
        Council on formulation of federal policy concerning use of segregation
        confinement, 2015.




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  PRISON AND JAIL CONDITIONS EVALUATIONS


    Hoptowit v. Ray [United States District Court, Eastern District of Washington,
    1980; 682 F.2d 1237 (9th Cir. 1982)]. Evaluation of psychological effects of
    conditions of confinement at Washington State Penitentiary at Walla Walla for
    United States Department of Justice.

    Wilson v. Brown (Marin County Superior Court; September, 1982, Justice
    Burke). Evaluation of effects of overcrowding on San Quentin mainline
    inmates.

    Thompson v. Enomoto (United States District Court, Northern District of
    California, Judge Stanley Weigel, 1982 and continuing). Evaluation of
    conditions of confinement on Condemned Row, San Quentin Prison.

    Toussaint v. McCarthy [United States District Court, Northern District of
    California, Judge Stanley Weigel, 553 F. Supp. 1365 (1983); 722 F. 2d 1490 (9th
    Cir. 1984) 711 F. Supp. 536 (1989)]. Evaluation of psychological effects of
    conditions of confinement in lockup units at DVI, Folsom, San Quentin, and
    Soledad.

    In re Priest (Proceeding by special appointment of the California Supreme
    Court, Judge Spurgeon Avakian, 1983). Evaluation of conditions of
    confinement in Lake County Jail.

    Ruiz v. Estelle [United States District Court, Southern District of Texas, Judge
    William Justice, 503 F. Supp. 1265 (1980)]. Evaluation of effects of
    overcrowding in the Texas prison system, 1983-1985.

    In re Atascadero State Hospital (Civil Rights of Institutionalized Persons Act of
    1980 action). Evaluation of conditions of confinement and nature of patient
    care at ASH for United States Department of Justice, 1983-1984.

    In re Rock (Monterey County Superior Court 1984). Appointed to evaluate
    conditions of confinement in Soledad State Prison in Soledad, California.

    In re Mackey (Sacramento County Superior Court, 1985). Appointed to
    evaluate conditions of confinement at Folsom State Prison mainline housing
    units.

    Bruscino v. Carlson (United States District Court, Southern District of Illinois
    1984 1985). Evaluation of conditions of confinement at the United States
    Penitentiary at Marion, Illinois [654 F. Supp. 609 (1987); 854 F.2d 162 (7th Cir.
    1988)].




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    Dohner v. McCarthy [United States District Court, Central District of California,
    1984-1985; 636 F. Supp. 408 (1985)]. Evaluation of conditions of confinement
    at California Men’s Colony, San Luis Obispo.

    Invited Testimony before Joint Legislative Committee on Prison Construction
    and Operations hearings on the causes and consequences of violence at Folsom
    Prison, June, 1985.

    Stewart v. Gates [United States District Court, 1987]. Evaluation of conditions
    of confinement in psychiatric and medical units in Orange County Main Jail,
    Santa Ana, California.

    Duran v. Anaya (United States District Court, 1987-1988). Evaluation of
    conditions of confinement in the Penitentiary of New Mexico, Santa Fe, New
    Mexico [Duran v. Anaya, No. 77-721 (D. N.M. July 17, 1980); Duran v. King, No.
    77-721 (D. N.M. March 15, 1984)].

    Gates v. Deukmejian (United States District Court, Eastern District of
    California, 1989). Evaluation of conditions of confinement at California
    Medical Facility, Vacaville, California.

    Kozeak v. McCarthy (San Bernardino Superior Court, 1990). Evaluation of
    conditions of confinement at California Institution for Women, Frontera,
    California.

    Coleman v. Gomez (United States District Court, Eastern District of California,
    1992-3; Magistrate Moulds, Chief Judge Lawrence Karlton, 912 F. Supp. 1282
    (1995). Evaluation of study of quality of mental health care in California prison
    system, special mental health needs at Pelican Bay State Prison.

    Madrid v. Gomez (United States District Court, Northern District of California,
    1993, District Judge Thelton Henderson, 889 F. Supp. 1146 (N.D. Cal. 1995).
    Evaluation of conditions of confinement and psychological consequences of
    isolation in Security Housing Unit at Pelican Bay State Prison, Crescent City,
    California.

    Clark v. Wilson, (United States District Court, Northern District of California,
    1998, District Judge Fern Smith, No. C-96-1486 FMS), evaluation of screening
    procedures to identify and treatment of developmentally disabled prisoners in
    California Department of Corrections.

    Turay v. Seling [United States District Court, Western District of Washington
    (1998)]. Evaluation of Conditions of Confinement-Related Issues in Special
    Commitment Center at McNeil Island Correctional Center.




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    In re: The Commitment of Durden, Jackson, Leach, & Wilson. [Circuit Court,
    Palm Beach County, Florida (1999).] Evaluation of Conditions of Confinement
    in Martin Treatment Facility.

    Ruiz v. Johnson [United States District Court, Southern District of Texas,
    District Judge William Wayne Justice, 37 F. Supp. 2d 855 (SD Texas 1999)].
    Evaluation of current conditions of confinement, especially in security housing
    or “high security” units.

    Osterback v. Moore (United States District Court, Southern District of Florida
    (97-2806-CIV-MORENO) (2001) [see, Osterback v. Moore, 531 U.S. 1172
    (2001)]. Evaluation of Close Management Units and Conditions in the Florida
    Department of Corrections.

    Valdivia v. Davis (United States District Court, Eastern District of California,
    2002). Evaluation of due process protections afforded mentally ill and
    developmentally disabled parolees in parole revocation process.

    Ayers v. Perry (United States District Court, New Mexico, 2003). Evaluation of
    conditions of confinement and mental health services in New Mexico
    Department of Corrections “special controls facilities.”

    Disability Law Center v. Massachusetts Department of Corrections (Federal
    District Court, Massachusetts, 2007). Evaluation of conditions of confinement
    and treatment of mentally ill prisoners in disciplinary lockup and segregation
    units.

    Plata/Coleman v. Schwarzenegger (Ninth Circuit Court of Appeals, Three-Judge
    Panel, 2008). Evaluation of conditions of confinement, effects of overcrowding
    on provision of medical and mental health care in California Department of
    Corrections and Rehabilitation. [See Brown v. Plata, 563 U.S. 493 (2011).]

    Ashker v. Brown (United States District Court, Northern District of California,
    2013-2015). Evaluation of the effect of long-term isolated confinement in
    Pelican Bay State Prison Security Housing Unit.

    Parsons v. Ryan (United States District Court, District of Arizona, 2012-14).
    Evaluation of conditions of segregated confinement for mentally ill and non-
    mentally ill prisoners in statewide correctional facilities. [See Parsons v. Ryan,
    754 F.3d 657 (9th Cir. 2014)].

    Coleman v. Brown (United States District Court, District of California, 2013-
    2014). Evaluation of treatment of mentally ill prisoners housed in
    administrative segregation in California prisons. [See Coleman v. Brown, 28
    F.Supp.3d 1068 (2014).]




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    Pennsylvania, 2016). Evaluation of effects of prolonged solitary confinement.
    [See Johnson v. Wetzel et al., 209 F.Supp.3d 766 (M.D. Pennsylvania, 2016).]

    Braggs v. Dunn (United States District Court, Middle District of Alabama, 2015-
    2017). Evaluation of mental health care delivery system, overcrowded
    conditions of confinement, and use of segregation in statewide prison system.
    [See Braggs v. Dunn, 257 F. Supp. 3d 1171 (M.D. Ala. 2017).]

    Rasho v. Walker, 376 F.Supp.3d 888 (C.D. Ill. 2019). Evaluation of conditions
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    prisoners in the Illinois Department of Corrections.

    Harvard v. Inch, 2020 WL 701990 (N.D. Florida 2020). Evaluation of
    conditions of confinement in solitary confinement/restrictive housing units in
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    confinement in solitary confinement/restrictive housing units throughout the
    Illinois Department of Corrections.

    Tellis v. LeBlanc, WL 67572 (WD Louisiana 2022). Conditions of confinement
    and treatment of prisoners at David Wade Correctional Center, Louisiana.

    Jensen v. Shinn, 609 F. Supp.3d 789 (D. Arizona 2022). Evaluation of
    conditions of confinement in solitary confinement/restrictive housing units in
    Arizona Department of Corrections.

    Thorpe v. Virginia Department of Corrections, Case No. 2:20CV00007 (W.D.
    Virginia 2023). Evaluation of conditions of confinement and treatment of
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                  Regulating Prisons of the Future: A
                  Psychological Analysis of Supermax
                       and Solitary Confinement
                             Craig Haney
                             Mona Lynch




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             REGULATING PRISONS OF THE FUTURE: A
             PSYCHOLOGICAL ANALYSIS OF SUPERMAX
                  AND SOLITARY CONFINEMENT
                                       CRAIG HANEY* AND MONA LYNCH**

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             In this Orwellian age, punishment that endangers sanity, no less
             than physical injury by the strap, is prohibited by the Constitution.
             Indeed, we have learned to our sorrow in the last few decades that
             tme inhumanity seeks to destroy the psyche rather than merely the
             body. 1
             The mental, physical, and emotional status of individuals, whether
             in or out of custody, do deteriorate and there is no power on earth
             to prevent it. We decline to enter this uncharted bog. ... The Con-
             stitution does not require that prisoners, as individuals or as a
             group, be provided with any and every amenity which some person
             may think is needed to avoid mental, physical, and emotional
             deterioration. 2

                                                       INTRODUCTION

          When California Governor George Deukmejian several years ago
     dedicated what was then the state's newest prison-a massive, windowless
     "security housing unit" (SHU) designed to segregate and isolate over a
     thousand prisoners from the rest of the prison system and from one an-
     other-he boasted that the Pelican Bay facility was "a state-of-the-art
     prison that will serve as a model for the rest of the nation .... "3 A Califor-
     nia prison spokesman would later confirm that "we've had delegations here
     from other states and even other countries" studying the prison, one that
     keptprisoners confined totheircells almost twenty-three hours a day and
     minimized all forms of human contact through the use of technologically
     sophisticated locking and monitoring devices.4 News commentators closely
     followed the legal case that decided the constitutionality of the prison be-
     cause they believed the proceedings might well "determine the shape of
     American penology in the 21st century." 5 Even the federal district court
     judge whose written opinion criticized the operation of the facility noted
     that it was a "prison of the future" 6 and acknowledged that the prisoners'

         1. Sostre v. McGinnis, 442 F.2d 178, 208 (2d Cir. 1971 )(Feinberg, J., dissenting).
         2. Newman v. Alabama, 559 F.2d 283, 291 (5th Cir. 1977).
         3. California Dedicates Ne•v Higlz-Teclt Afax Security Prison, CoRREcrioNs DIGEST,
     June 27, 1990, at 9.
         4. John Roe111er, High-Tech Deprivation Pelican Bay JJrison lVas Fine-Tuned To Isolate
     Gang Leaders, But ls It Instead Turning Out Dangerous Ex-Cons? SAN JosE MERCURY
     NEws, June 7, 1992, at 16 (quoting Lt. Al Deines).
         5. Claire Cooper, Prison on Trial: bunates Allege fliglz-Teclz Torture, SACRAI\tENTO
     BEE, Sept. 18, 1993, at Al.
         6. Madrid v. Gomez, 889 F. Supp. 1146, 1155 (N.D. Cal. 1995). Despite serving as a
     putative n1odel for the rest of the nation, n1orc than 200 prisoner con1plaints concerning
     Pelican Bay \Vere filed \Vith the United States District Court in less than t\vo years of the
     prison's operation. Chief Judge 1l1elton Henderson took the unusual step of 1nccting \Vith
     the \Varden and the state attorney general's office in response to the dra1natic nun1ber of
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     claims of cruel and unusual punishment had "generated considerable atten-
     tion ... because the Pelican Bay SHU is considered a state-of-the-art,
     'modern day' SHU, and thus a potential forerunner for other similar units
     around the country. "7
           As one of the first and most visible of these "super-maximum security"
     facilities, the Pelican Bay SHU in Crescent City, California was one of the
     very few to attract media attention. 8 The legal challenge to conditions in
     California's "supermax" resulted in a strongly worded opinion in which the
     federal court condemned certain features of the prison but left the basic
     regimen of segregation and isolation largely intact. Although the court con-
     cluded that this kind of confinement "may press against the outer bounds
     of what most humans can psychologically tolerate," 9 the judge refrained
     from ordering any substantial modifications in the overall conditions that
     prevailed inside this supermax prison. To many observers, and to correc-
     tional officials hoping to emulate the California model, this seemed to pro-
     vide precisely the kind of constitutional imprimatur needed to move
     forward and make this "prison of the future" a reality in various jurisdic-
     tions across the country.
          The SHU at Pelican Bay thus appears to be at the cutting-edge of an
     extraordinarily important yet little-debated correctional trend: the increas-
     ingly widespread use of long-term and intensely segregated confinement
     supposedly reserved for the system's most troublesome offenders. Such
     confinement typically takes place inside newly-created, specialized housing
     units devoted exclusively to the task of establishing and maintaining previ-
     ously unheard-of conditions of restricted movement and social isolation.
     Despite the dramatic shift in correctional philosophy that this trend repre-
     sents and the extraordinary public expense that it has incurred, there has
     been surprisingly little public discussion or political debate about the wis-
     dom of this new approach to prison punishment. Notwithstanding the po-
     tential damage to prisoners incarcerated for long periods of time in these
     segregation units and the potential risks to those members of the public
     who will eventually interact with some of the most adversely affected pris-
     oners once they are released, few legal challenges have been lodged against
     these new policies and little or no systematic expert commentary has ap-
     peared analyzing the psychological and correctional consequences of this
     kind of penal confinement.

     complaints the District Court had received, eventually leading to a class action la\vsuit ccccc
     cerning conditions at the prison. Id. The first author (Haney) 'vas one of several expert
     \Vitnesses \Vho testified about the psychological effects of confineinent in this environ1nent
     at the federal trial conducted before Judge Henderson in late 1993.
          7. Id. at 1261.
          8. See, e.g., Leslie White, Inside the Alcatraz of the '90s, 12 CAL. LAW., Apr. 1992, at 42;
     Nat Hentoff, Buried 11/ive in A111erica11 Prisons; Charles Dickens's Report to Zoe Baird, THE
     \VAsH. PosT, Jan. 9, 1993, at A21; Ho\vard Mintz, ls Pelican Bay 1'oo Tough? THE RE-
     CORDER, Sept. 19, 1991.
         9. Madrid v. Gomez, 889 P. Supp. at 1267.
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           Indeed, although solitary confinement has a long and, at times, contro-
      versial history in the United States, 10 a new consensus has emerged quietly
      over the last few decades among prison policymakers. In part in response
      to increasing pressures in badly overcrowded prison systems and the ab-
      sence of resources with which to attempt alternative approaches, correc-
      tional administrators are turning to aggressive policies of punitive
      segregation in the hope of enhancing their control over prisoners.11 The
      invention of a new and supposedly improved penal form-"hi-tech maxi-
      maxi" prisons devoted exclusively to the task of long-term segregated con-
      finement-has given them a unique and (they argue) effective weapon in
      this war against unwieldy numbers of unruly prisoners.12 By 1991, some
      version of these "supennax" prisons featuring extreme segregation and iso-
      lation was functioning in 36 states, with many others in the planning
      stages!3 In addition, a newly opened, highly restrictive, modern "control
      unit" has apparently committed the federal penitentiary system to the use
      of this penal form for some time to come.1 4 Although these trends have
      occurred quickly and quietly, they have had an enormous impact on Amer-
      ican corrections. It is likely that at no point in the modern history of impris-
      onment have so many prisoners been so completely isolated for so long a
      period of time in facilities designed so completely for the purpose of near
      total isolation.
           In this Article, we provide a comprehensive review of the existing
      literature on the effects of solitary confinement and punitive segregation
      and a discussion of the recent U.S. case law limiting its use in state and
      federal prisons. We address the psychological question of whether solitary
      confinement represents a distinct and distinctly worse form of incarceration
      than maximum security imprisonment generally. After providing a brief
      history of solitary confinement as legal punishment, we look in detail at its

          10. See infra notes 28-71 and accon1panying text.
           11. For general discussions of the prevalence of solitary confinen1ent in n1odern cccccccc
     tions as \veil as descriptions of so1ne of the specific conditions subsumed by the tern1, see
     RosEl\IARY L. O'BRIEN, SPECIAL HANDLING UNITS, FoRur-.1 ON CORRECTIONS RESEARCH,
     Sept. 1992, at 11. For an especially sympathetic vie\v of these developn1ents, sec David
     Ward, Control Strategies for Proble111 Prisoners in An1erican Penal Systeu1s, in PROBLEl\1S OF
     LoNGTERl\I cccccccccccccccc74 (Anthony Botto111s & Roy Light, eds., 1987).
          12. Craig I-laney, I11fa111ous Pu11is/1111e11t: The Psychological Effects of Isolation, 8 THE
     NAT'L PRISON PROJECT J. 3 (1993) [hereinafter Haney, Iufa111ous Punislunent]; Russ Irn-
     1narigeon, The Marionization of 1l111erica11 Prisons, 7 THE NAT'L PRISON PROJECT J. 1
     (1992). Hun1an Rights \Vatch has concluded that "confinement in 'n1axi-maxis' is ad1ninis-
     tered by prison officials \Vithout independent supervision and leads to a situation in \Vhich
     inn1ates n1ay in fact be sentenced hvice: once by the court, to a certain period of in1prison-
     n1cnt; and the second time by the prison ad111inistration, to particularly harsh conditions."
     cccccccRIGHTS \VATCH, PRISON CoNDITIONs IN TI-IE UNITED STATES 3 (1991).
          13. Editorial, Inside the Super-Ma:rinuun Prisons, THE WASH. PosT, Nov. 24, 1991, at
     C6.
          14. Robert Perkinson, Shackled Justice: Florence Federal Penitentiary and the NeJv Poli-
     tics of P1111islune11t, Soc. JusT. 117 (1994); Francis X. Clines, A Futuristic Prison Aivaits the
     Hard·Core 400, N.Y. TIMES, Oct. 17, 1994, at A2.
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     psychological effects and focus especially on the threat it poses for the
     mental health of prisoners. We will suggest that the scholarly literature on
     this question is clear and that there is sufficient empirical justification to
     regard solitary confinement as a unique correctional environment that war-
     rants special legal status. We turn next to a discussion of the way in which
     the courts have treated this issue, both historically and through the lens of
     contemporary legal doctrine. We will argue that constitutional doctrines
     currently governing solitary confinement fail to recognize the nature and
     magnitude of the psychological trauma that can be inflicted by this form of
     punishment and, therefore, that they fail to adequately regulate its use by
     properly limiting the nature and duration of prisoners' exposure to such
     confinement. We conclude by proposing a series of remedies to these legal
     shortcomings in the form of model regulations for the use of solitary con-
     finement and punitive isolation.

                                                   I.
                          ON THE USE OF SOLITARY CONFINEMENT


          Historically, the use of solitary confinement in correctional settings has
     been a continuing point of contention between prison administrators,
     mental health professionals, and legal decision makers. When British hu-
     manitarians debated the proper form of prison life in the 18th century, they
     touted solitary confinement for its powerful effect. 15 111e English jurist Wil-
     liam Paley wrote that solitary confinement "would augment the terror of
     the punishment," 16 and many believed that this enhanced punislunent
     would serve as a greater deterrent and increase its reformative effect. 17 Pe-
     nologists were also enamored of the orderliness that solitary confinement
     permitted them to impose upon the prison regime, although one historian
     noted that the rigid system of "perfect order and perfect silence" in opera-
     tion at Petonville prison resulted in "twenty times more cases of mental
     disease than in any other prison in the country." 18 Indeed, reformers of
     England's harsh system of capital punishment thought they had found in


          15. Solitary confinen1ent \Vas advocated as \Vhat one historian has calJed urcclan1a-
     tion," a technique intended to effect "a deeper change in the offender's psyche" than that
     produced by the rehabilitative aspects of n1ere hard labor. Adatn J. Hirsch, Fro111 Pillory to
     Penitentiary: The Rise of Crhninal Incarceration in Early Massachusetts, 80 M1ctt. L. REv.
     1179, 1209 (1982).
         16. WWWWWWWWWPALEY, PRINCIPLES OF MORAL AND POLITICAL PHILOSOPHY 291 (1790).
         17. LOUIS P. MASUR, RITES OF EXECUTION: CAPITAL PUNISHl\fENT AND THE TRANS·
     FORMATION OF AMERICAN CULTURE, 1776-1865 (1989).
         18. CHRISTOPHER HIBBERT, THE RooTs oF Evn.: A SocIAL HISTORY OF WWWWWWWWAh'D
     WWWWWWWWWWWW160 (1963). As Martha Duncan observed, "the reformers' preoccupation \Vith
     order \Vas not entirely rational. .. . "Martha Duncan, In Slinie and Darkness: The Metaphor
     of Filth in Criminal Justice, 68 TuL. L. REv. 725, 788 (1994).
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     solitary confinement "the 'most terrible penalty' short of death that a soci-
     ety could inflict and 'the most humane."' 19
          It was not the success of solitary confinement that accounted for its
     popularity in the late 18th and early 19th centuries. As one commentator of
     the early use of solitary in the Netherlands observed, this type of imprison-
     ment "appeared not to be successful at all. Again and again reports of in-
     sanity, suicide, and the complete alienation of prisoners from social life
     seriously discredited the new form of punishment." 20 Instead, much of the
     enthusiasm for solitary confinement derived from the underlying view of
     criminality it reflected. 111e individualism of the age underscored the hope
     that criminals could be compelled to change internally, especially when
     kept isolated from each other and from the influence of the outside social
     world. 21 As another Dutch commentator put it, "[m]ind control became a
     major objective, and solitary confinement fit into this model." 22 By maxi-
     mizing control over its prisoners, solitary confinement was thought to maxi-
     mize the prison's ability to change or transform them:
          Uprooted from his universe, the inmate in solitary confinement
          gradually becomes aware of his weakness, of his fragility, of his
          absolute dependence upon the administration, that is, on the
          "other"; thus he becomes aware of himself as a subject-of-need.
          This is what can be described as the first stage of reformation:
          transformation of the real subject (criminal) into an "ideal sub-
          ject" (prisoner).2 3
          Yet, especially in the early years before the use of solitary confinement
     became so widespread, courts and jailers remained sensitive to the effects
     of the "horrible situation of complete and continuous solitude" 24 and took
     steps to mitigate them, even for prisoners who were considered the most
     dangerous: "Early modern judges had fewer scruples about meting out
     physical punishments, but they found solitary confinement an unbearable
     tonnent." 25 Eventually, of course, the fundamental compatibility of solitary

           19. M1c11AEL JACKSON, PRISONERS OF IsoLATioN: SOLITARY CoNFINEi\fENT IN CAN-
    ADA 13 (1983) (e1nphasis added) (citing JONAS HAN\VAY, SOLITUDE IN li\IPRISONi\1ENT 141
    (1776)).
         20. Hennan Franke, The Rise and Decline of Solitary Confi11e111e11t: Socio-Historical
    Explanations of Long-tenn Penal Changes, 32 BRIT. J. CRii\1INOLoov 125, 128 (1992).
        21. See Franke, supra note 20, at 140 ("[t]he \Vorld\vide enthusiasn1 for solitary confine-
    tnent at the beginning of the nineteenth century should ... be understood as a refutation of
    the assu1nption that causes of cri1ne \Vere to be sought in social circu1nstanccs . ... ").
          22. Pieter Spicrcnburg, Fro111 A111sterdan1 to Auburn: An Explanation for the Rise of the
    l'rison in Seventeenth-Century Holland and Nineteenth-Century A111erica, 20 J. Soc. H1sT.
    439, 455 (1987) [hereinafter Spierenburg, From Amsterdam to A11b11m].
        23. DARIO MELOSSJ & MASSll\10 PAVARINI, THE PRISON AND THE FACTORY: ORIGINS
    oF THE PENITENTIARY SSSSSSSS150 (Glynis Cousin trans., Barnes & Noble Books) (1981).
        24. PIETER SPIERENBURG, THE PRISON EXPERIENCE: DISCIPLINARY INSTITUTIONS AND
    THEIR SSSSSSSSSIN EARLY MooERN EuROPE 193 (1991)(internal quotation 1narks on1itted)
    [hereinafter SPIERENBlJRG, THE PRISON EXPERIENCE].
           25. Id. at 281.
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     confinement with other political and ideological transformations ensured
     its widespread use through much of nineteenth-century Europe. 26 This oc-
     curred despite the fact that these extreme forms of isolation appeared to
     lead to "illness, lunacy, and agony" 27 for many prisoners subjected to them.
          Similarly, Louis Masur noted that "in the United States, the idea of
     solitary confinement belonged more to the age than to any individual" and
     that "[b]y the 1770s and 1780s, nearly everyone was abuzz with the possibil-
     ity of solitary confinement" as a correctional practice.28 Indeed, the great
     penological debate of the early 19th century turned on this question:
     whether prisoners should be completely isolated from one another (as they
     were under the Pennsylvania model) or permitted to engage in silent, con-
     gregate labor (as practiced nnder the model initiated in Auburn, New
     York). The first block of solitary confinement cells in the Walnut Street jail
     was authorized by the Pennsylvania legislature in 1790, to house "the more
     hardened and atrocious offenders." 29 Despite recognition by some jnrists
     soon thereafter that solitary confinement was "a greater evil than certain
     death" and reports in some newspapers that prisoners in solitary "beg, with
     the greatest earnestness, that they may be hanged out of their misery," 30
     Pennsylvania officials were pleased enough with the results to use this form
     of punishment as the model upon which their large penitentiary .was built.
     Thus, when the Western State Penitentiary was opened in 1826, all of its
     prisoners were confined in solitary cells. 31
          But when a similar form of solitary confinement was tried in New
     York, Beaumont and Tocqneville were on hand to record the outcome:
          This experiment, of which the favourable results had been antici-
          pated, proved fataffor tb.e majority of prisoners. It devours the
          victim incessantly and unmercifully; it does not reform, it kills.
          The unfortunate creatures submitted to this experiment wasted
          a\vay . ... " 32




          26. See MICHEL FOUCAULT, DISCIPLINE AND PUNISH: THE BIRTH OF THE PRISON
     (trans. Alan Sheridan) (1977); Franke, supra note 20; Spierenburg, Front An1sterda111 to Au-
     burn, supra note 22.
          27. GEOH.G RUSCHE & OTTO KIRCHHEill.ffiR, PUNISHr.1ENT AND SOCIAL STRUCTURE
     137 (1968).
          28. MASUR, supra note 17, at 80·81.
          29. HARRY ELi\lER BARNES, THE EVOLUTION OF PENOLOGY IN PENNSYLVANIA 120
     (1927).
          30. MASUR, supra note 17, at 83.
          31. H1Rsc11, supra note 15, at 1260.
          32. See Ton.STEN ER1KssoN, TttE REF0R11.1ERS, AN H1sToR1cAL SuRvEY oF P10NEER
     ExPERI1'.fENTS IN THE TREATr-.tENT OF Cru:i.uNALS 49 (1976) (quoting Beau1nont and
     Tocqueville).
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      Another historian also termed the Auburn experiment a "hopeless failure
      that led to a marked prevalence of sickness and insanity on the part of the
      convicts in solitary confinement. "33
           Numerous states experimented with the Pennsylvania system of com-
      plete isolation during the nineteenth century, only to abandon the practice
      in light of its adverse effects. 34 By the end of the century, United States
      Supreme Court Justice Miller could summarize a hundred years of experi-
      ence with solitary since the first cells were constructed at Walnut Street this
      way: "[T]here were serious objections to it. .. and solitary confinement was
      found to be too severe." 35 Specifically, as Miller recounted:
           A considerable number of the prisoners fell, after even a short
           confinement, into a semi-fatuous condition, from which it was
           next to impossible to arouse them, and others became violently
           insane; others still, committed suicide; while those who stood the
           ordeal better were not generally reformed, and in most cases did
           not recover sufficient mental activity to be of any subsequent ser-
           vice to the community. 36
           Notwithstanding such general condemnation, solitary confinement
      continued to be part of at least some of the prison sentences that were
      meted out in a number of American jurisdictions. For example, it was com-
      mon practice in the nineteenth century to require a death-sentenced pris-
      oner to spend the final months preceding his or her execution date in
      solitary confinement. 37 hi some states where solitaiy confinement was still
      permitted by statute to be part of a prisoner's standard sentence, sentenc-
      ing authorities and prison administrators were afforded much discretion in
            33. Harry Elmer Barnes, The Historical Origin of the Prison Syste111 in A111erica, 12 J.
      CRIM. L. & CRJ}.flNOLOGY 35, 53 (1921). Barnes also distinguished the Pennsylvania and
      Auburn systen1s in terms of the specific conditions of confinement that each in1posed. Un-
      like the Pennsylvania n1odel in \vhich prisoners \Vere placed in two large, roon1y cells \Vith
      provisions for labor and an individual outside yard, Auburn's solitary confinen1ent cells
      1nore closely resen1bled those used in n1odern-day prisons-"a single sntall inside cell \Vith-
      out any labor or other adequate provisions for physical exercise." Id.
           34. Barnes recounted the follo\ving history of adoption and abandonment of the so-
      called "Pennsylvania syste1n" of co1nplete solitary confinen1ent in the United States:
                        State                       Introduced               Abandoned
                       Maine                           1824                      1827
                      Maryland                         1809                      1838
                   Massachusetts                       1811                      1829
                     Ne\v Jersey                       1820                      1828
                                               1833 (reintroduced)               1858
                    Rhode Island                       1838                      1844
                      Virginia                         1824                      1827
      Id. at n. 54.
           35. 111 re Medley, 134 U.S. 160, 168 (1890).
           36. Id.
           37. 1l1us, a Vennont statute provided:
           When execution is not to take place until after six n1onths front date of sentence,
           the court at the sa111e tin1e shall sentence the respondent to hard labor in the state
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     deciding whether or not to actually impose it. 38 For example, an 1860 Penn-
     sylvania statute providing that prisoners were to be sentenced to "undergo
     an imprisonment at separate and solitary confinement, at labor, or by sim-
     ple imprisonment" was still on the books in the early twentieth century. 39
     The Illinois Supreme Court held that a law encouraging wardens to employ
     physically capable prisoners in some form of labor did not conflict with a
     sentencing court's discretion to prescribe some portion of a prisoner's sen-
     tence to be served in solitary. 40
          Other jurisdictions placed statutory limits on the amount of time a
     prisoner could be sentenced to solitary confinement. Thus, an 1818 Massa-
     chusetts law provided additional punishment for repeat offenders, includ-
     ing "solitary imprisonment, not exceeding 30 days." 41 At least one state
     explicitly excluded solitary confinement from the terms of its prison
     sentences,42 and more commonly its imposition was carefully circum-
     scribed. Thus, when the Minnesota legislature in 1868 provided for life im-
     prisonment as an alternative to the death penalty in first degree murder
     cases, the law specified that the convicted person:
           shall be punished by imprisonment at hard labor in the state-
           prison during the remainder of the term of his natural life, with
           solitary confinement upon bread and water diet for twelve days in
           each year during the term, to be apportioned in periods of not


          prison or house of correction until three n1onths before the tirne fixed in the senM
          tence- of death-for- execution thereof, and shall also sentence- him to solitary- conM
          finen1ent in the state prison or house of correction fron1 the expiration of the
          sentence to hard labor until the time of execution.
     VT. STAT, ANN.§ 2007 (1880). See Rogers v. Peck, 199 U.S. 425, 432 (1905) (describing the
     statute).
          38. See Ex parte Geary, 10 F. Cas. 137, 138 (N.D. Ill. 1871) (noting that "the [Illinois]
     la'v provides that the court, in the case of the con1inen1ent of a criminal in the penitentiary,
     shall designate \Vhat part of the punislunent shall be solitary confinen1ent, and \Vhat part
     shall be hard labor ... and it is clear that all \vho are not by the order of the court in solitary
     confinement are subject to hard labor . . . . "); McCall v. State, 185 So. 608, 613 (Fla.
     1939)(applying a 1927 Florida statute allowing prisoner to be "sentenced lo solitary confine-
     ment at the discretion of the court").
          39. In re Spencer, 228 U.S. 652, 656-57 (1913). TI1e phrase mean! nothing more, how-
     ever, than 11 hnprisonn1ent in the penitentiary or in a suitable county prison." Stanton v.
     Francies, 95 A. 798 (Pa. 1915).
          40. People v. Hahn, 83 N.E. 937, 938 (Ill. 1908) (applying a 1903 Illinois statute stating
     that "the court, in pronouncing sentence, shall designate \Vhat portion of time the offender
     shall be confined to solitary in1prison1nent, and \Vhat portion to hard labor"). Hahn had
     been sentenced to 15 years in1prison1nent for n1urder and challenged the court's order that
     the first 24 hours of the sentence be spent in solitary. Id.
          41. Commonwealth v. Richardson, 55 N.E. 988, 989 (Mass. 1900) (citing MAss. GEN. L.
     ch. 176, §§5·6, year unknown).
          42. See, e.g., State v. Palmieri, 46 N.E. 2d 318, 321 (Ohio Ct. App. 1938)(sentencing
     prisoner to "hard labor for not less than one year nor tnore than t\venty years, no part of
     such time to be kept in solitary confinen1ent").
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             exceeding three days' duration each, with an interval of not less
             than fourteen days intervening each two successive periods. 43
      It also mandated that "solitary imprisonment in the state-prison is hereby
      abolished, except for prison discipline. "44
           111e special pains of solitary confinement were implicitly acknowl-
      edged in other ways as well, as in Ohio laws passed in the 1880s that pro-
      hibited corrections officials from "relaxing" a sentence at hard labor "even
      in the case of disability" but allowed the corrections board to "modify the
      sentence of the court to solitary confinement, when necessary to prevent
      serious injury to health" and provided for the transfer of "insane convicts"
      from solitary to an asylum. 45
           By the turn of the century, recognition of the painful psychological
      effects of solitary confinement was reflected in other legal decisions. For
      example, a series of state cases beginning around this time questioned the
      voluntariness of confessions in which solitary confmement had been used
      to persuade defendants to talk. 46 In 1910, the Washington Supreme Court
      wrote:
            The effect of solitary confinement on the mind of a person
            charged with a crime may be imagined. It is a well-known psycho-
            logical fact that men and women have frequently confessed to
            crimes which they did not commit. They have done it sometimes
            to escape present punishment which had become torture to them;
            sometimes through other motives; and the object of putting the
            inmates of this jail in this dark cell in solitary confinement is easily
            understood. 47
           111e effects of solitary confinement also provided the basis for claims
      of insanity. For example, in one case the defendant managed to escape
      from the "incorrigible ward" at San Quentin where he had been held in
      solitary confinement for 8 years. 111e prisoner made his way to the dining
      area of the prison where he attacked another convict. At trial he pied in-
      sanity on the basis of the effects of the circumstances under which he had
      been kept: "Defendant was allowed to show very fully the condition and
      mode of life of those so confined, and to introduce the evidence of experts

            43. Holden v. Minnesota, 137 U.S. 483, 488 (1890) (citing MINN. STAT.§3 (1868)). Simi-
      larly, a Massachusetts statute provided that "\vhere the punislunent of iinprisonn1ent in the
      state prison is a\varded, solitary confinen1ent not exceeding hventy days at a tin1e shall fonn
      part thereof." Murphy v. Massachusetts, 177 U.S. 155, 162 (1900) (citing MAss. GEN. L. ch.
      504 (1895)).
            44. MINN. STAT. Ch. 79, §1 (1876).
            45. State v. Peters, 4 N.E. 81, 87 (Ohio 1885) (citing Omo LAws ch. 81, §187 (1884)).
            46. People v. Gonzales, 69 P. 487 (Cal. 1902); People v. Loper, 112 P. 720 (Cal. 1911);
      Stitt v. People, 219 P. 205 (Colo. 1923); Osborn v. People, 262 P. 892 (Colo. 1927); People v.
      Albers, 195 N.E. 459 (Ill. 1935); Kokenes v. State, 13 N.E. 2d 524 (Ind. 1938); Wright v.
      State, 9 A.2d 253 (Md. 1939); Commonwealth v. Sheppard, 48 N.E.2d 630 (Mass. 1943).
            47. State v. Miller, 111 P. 1053 (Wash. 1910).
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     as to the probable effect on the mind as to such conditions and mode of
     life." 48 TI1e former warden of the prison was permitted to give descriptive
     testimony about the ward, "the object clearly being to show such conditions
     as might produce insanity. "49
           Long-term solitary confinement was no longer commonplace in prison
     sentences in the United States by the beginning of the twentieth century.
     Although some criminal statutes retained nineteenth century terminology
     that included solitary confinement as part of the terms of imprisonment, in
     actual practice its use had largely ended. For example, even though prison-
     ers convicted of certain crimes in Pennsylvania were sentenced to "impris-
     onment, by separate or solitary confinement at labor"-this in fact meant
     nothing more than the "equivalent of imprisonment in a penitentiary." 50 In
     some jurisdictions prisoners could be sentenced to a brief period of solitary
     confinement-say, on the anniversary of the crime for which they were
     incarcerated. 51 Otherwise, solitary confinement was reserved as punish-
     ment for prison infractions.
           Here, too, the trend was towards explicitly circumscribed terms. For
     example, although the Michigan Supreme Court failed to agree on whether
     to order the release from solitary confinement of a citizen held in jail on a
     civil suit, the Chief Justice cited the regulation limiting such confinement to
     10 days. 52 Noting that the record showed that the prisoner had been in

           48. People v. Oppenheimer, 106 P. 74, 80 (Cat. 1909).
          49. Id. at 78. See also People v. Egan, 23 P.2d 755, 755 (Cat. 1933) (stating that the
     defendant adntltted that 11 by reason of his incarceration in Folso111 prison for a nu1nber of
     ~~~~~~~~_a_ ~~~~~~~~~~~~~~~~ p_ortion of ~~~~tilnc _~~~~~~~~~ in solitary_ confinen1ent, he had 'ju_st _co1ne
     out en1bittered agai11st society ... and can1C out \Vith the intention that society Q,Ved [hhn] a
    duty and [he] was going to collect that duty ... .'").
           50. Commonwealth v. Baldi, 347 Pa. 601, 601, 33 A.2d 12, 13 (Pa. 1943).
           51. See e.g. People v. 111ompson, 44 N.E.2d 876 (Ill. 1942) (upholding sentence in which
    defendant \Vas punished \Vith a one hundred year sentence, and ordered to be placed in
    solitary confine1nent on each anniversary of the crhne). 111e practice of pennitting trial
    courts to specify sonie portion of a prison sentence to be served in solitary confine1nent
    persisted until recently in sonic states. For exaniple, until 1993, sonic Nebraska criniinal
    statutes provided that "the court ... shall determine and declare in its sentence \Vhether any
    such convict shall be kept in solitary confinenient ... and ... for \Vhat period of tinie." NED.
    REV. STAT. §29-2204 (1943). See Stale v. Bennett, 508 N.W.2ct 294, 298 (Neb. 1993) (hold-
    ing that requiren1ent that defendant be kept in solitary confinenient front the anniversary of
    the offense, July 28 to August 8 of each year \Vas not an abuse of discretion, but that statute
    repealing the authority of court to order solitary confine1nent \Vould be applied to defend-
    ant \Vhose appeal \vas pending at the tin1e the statute beca1ne effective). Although the
    a1nount of thne prisoners \Vere sentenced to solitary under this la\v \Vas typically brief, soli-
    tary \Vas clearly and pointedly designed to increase the punitiveness of the sentence, as
    \Vhen the Nebraska Supren1e Court approved a crhninal sentence for 1nanslaughter that
    included placing the prisoner in solitary confinenient both on his birthday and the anniver-
    sary of the crhne for \Vhich he \Vas conunitted to prison. State v. Stratton, 374 N.\V.2d 31, 33-
    34 (Neb. 1985).
          52. Leach v. Whitbeck, 115 N.W. 253, 254 (Mich. 1908). "If any person confined in any
    jail, upon a conviction or charge of any crin1inal offense, shall be refractory or disorderly, or
    shall \Villfully or \Vantonly destroy or injure any article of bedding, or other furniture, or a
    door or \vindo\v, or any other part of such prison, the sheriff of the county, after due inquiry,
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       solitary for at least three months, the Court wrote that "(t]he records of the
       courts of this state do not show that any prisoner, civil or criminal (except
       convicted of a capital offense), has ever for such a length of time been
       subjected to such punishment." 53
             Although, until recently, solitary confinement was used more sparingly
       in the twentieth century, and rarely as a method of long-term incarceration,
       its cruel and unusual aspects continued to be debated much as they were
       during its period of initial popularity in the early nineteenth century. For
       example, the Federal Bureau of Prisons' decision in 1934 to concentrate its
       most troublesome prisoners in a place of draconian isolation-Alcatraz Is-
       land-was questioned from the start. Under the direction of a warden who
       attempted to extend so-called "principles of scientific management" to the
       task of prison operations, Alcatraz was thought by some critics to have
       "pushed penology into the realm of mad science." 54 Public scrutiny fol-
       lowed. That is:
             It didn't take long for the routine-and especially [the warden's]
            edict of silence-to drive convicts stir-crazy .... Word of the self-
            mutilations began to leak. The Bureau of Prisons treated Alcatraz
            as if it were top secret, which only fueled media curiosity. Paroled
            inmates were speaking out. ... The Saturday Evening Post in 1938
            published a story in which an Alcatraz parolee claimed that he
            knew of 14 convicts who had gone violently insane there. 55
       Alcatraz closed amid controversy in 1963. 56 A committee of British ex-
       perts evaluated the Alcatraz experiment for possible replication in their
       country but decided against it. Among other things they concluded that
       "the dominant atmosphere" in a place like Alcatraz "could hardly fail to be
       excessively custodial" and that it also "might become repressive with the
       staff attitudes becoming affected by their anxieties about the attitudes and
       activities of a concentrated group of evil men who felt themselves finally
       rejected by society ... ,,57

       may cause such person to be kept in solitary confinement, not 1nore than ten days for any
       one offense; and during such solitary confinen1ent, he shall be fed \Vith bread and \Vatcr
       only, unless other food shall be necessary for the preservation of his health." Id. (citing
       MrcH. COMP. LAWS §2674 (1897)).
            53. Leach, 115 N.W. at 254.
            54. Jay Stuller, There Never Was a Harder Place Tirm1 "Tire Rock.'' (U.S. Penitellliary,
       Alcatraz), 26 SMITHSONIAN 84, 86 (1995).
            55. Id.
            56. In the n1canti1nc a large, critical literature about the institution-much of it pro-
       duced by ex-convict fonner inhabitants-educated the public about its harshness. For ex-
       ample, see: Roy Gardner, Hel/catraz: Tire Rock of Despair (1939): John Godwin, Alcatraz:
       1868-1963 (1963): Alvin Karpis, On tire Rock: 1\venty-Five Years in Alcatraz I Tire Prison
       Story of Alvi11 Karpis as Told to Robert Livesey (1980). See, also: James A. Johnston, Alca-
       traz Island Prison, and the Men lVho Live There. (1949); Jiin Quillan, Alcatraz Fron1 Inside:
       Tire Hard Years, 1942-1952 (1991).
            57. Ho1ne Office, Managing the Long-Tenn Prison Syste1111 The Report of the Control
       Conunittee 53 (1984), discussing the findings of the earlier "Radzino\vicz Report"-Home
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           Despite Alcatraz's controversial history, the Bureau of Prisons sought
     to replace it with a similarly-run facility. As part of the newly constructed
     federal penitentiary at Marion, Illinois, a special "control unit" was erected
     in which conditions were more severe in some respects than those at Alca-
     traz.58 The Marion control unit operated for a decade as perhaps the most
     secure and oppressive correctional facility in the world. 59 Yet, when vio-
     lence erupted there in 1983, authorities responded to the tragic events not
     by questioning the logic and effectiveness of their especially punitive re-
     gime but rather by extending it to the entire prison. 60 Conditions at Marion
     became the subject of a congressional report, 61 several critical outside eval-
     uations,62 media commentary dubbing Marion "the new Alcatraz,"°3 and
     extensive testimony in a federal lawsuit that addressed their psychologi-
     cally harmful consequences. 64 Yet, they persisted.
           During approximately the same time period, criticism and controversy
     was directed at the use of so-called "group isolation" in a special high se-
     curity unit of a women's federal prison that eventually led to the transfer of
     the women prisoners who had been confined there. 65 Nonetheless, the Fed-
     eral Bureau of Prisons committed itself to a continuation of the Control

     Office, The Reginze for Long-Tenn Prisoners in Conditions of Maxbnu111 Security: Report of
     the Advisory Council 011 the Penal Systen1, HMSO (1968).
          58. TI1e control unit itself evolved front prisoner disruptions and \York stoppages that
     plagued the Marion penitentiary. See Adams v. Carlson, 488 F.2d 619, 622 (7th Cir.
     1973)("Taking no chances \Vith sin1ply isolating the ringleaders, the Marion ad1ninistration
     undertook \Videspread segregation of in111atcs suspected of insubordination .... "). l"IO\Vcver,
     the court also noted that "[t]rouble at Marion \Vas not abated by the segregation of rebel-
     lious hunates." Id. at 623.                __ _
         59: --·see-1.
                     MiChae1 Olivero & Ja1nes B. Roberts, The United States Federal Penitentiary
     at Marion, Illinois: Alcatraz Revisited, 16 NE\V ENG. J. CRii\r, & C1v. CONFINEMENT 21
     ( 1990) (describing conditions at Marion and the events that led to the extension of the
     Control Unit regin1en to the rest of the institution).
          60. See Olivero & Roberts, supra note 59. See also, Bruscino v. Carlson, 654 F.Supp.
    609 (S.D.Ill. l987)(denying relief in class-action snit on behalf of Marion inmates), affd, 854
    F.2d 162 (7th Cir. 1988).
        61. David A. \Vard & Allen F. Breed, THE UNITED STATES PENITEl'\'TIARY MARION,
     ILLINOIS: CONSULTANTS' REPORT SUBi\llTTED TO Coi\11\HTTEE ON THE JUDICIARY, H.R.
    Doc. No. H522-3, 90th Cong., 2d Scss. 1984.
        62. Ai\-INESTY INTERNATIONAL, ALLEGATIONS OF ILL-1'REATi\1ENT JN MARION
    PR1soN, ILL1No1s, USA. (1987) [hereinafter AMNESTY INTERNATIONAL, MARIONt HUJ\tAN
    RIGHTS \VATCH, PRISON CONDITIONS IN THE UNITED STATES: A Hui\IAN RIGHTS \VATCH
    REPORT (1991).
         63. Jack Anderson & Joseph Spear, "Ne1v Alcatral" Abuses Charged, \VAsH. PosT,
    July 27, 1985, at E9. See also, Michael Isikoff, Hard Ti111e: The 1\fissio11 at Marion, \VAsH.
    PosT, May 28, 1991, at Al, A6. Sehvyn Raab, Uprising Challenges "Maxi-Ma:ri" Prison Idea,
    N. Y. T1i\1Es, June 2, 1991, at 20; Martin Tolchin, Quaker Group Cites "Brutal Repression" at
    a Federal Prison, N .. Y. TtMEs, June 19, 1985, at A20.
         64. Bruscino, 654 F. Supp. at 611.
         65. AMNESTY INTERNATIONAL, UNITED STATES OF AJ\1ERICA: THE 1-IJGH SECURITY
    UNIT, LEXINGTON FEDERAL PRISON, KENTUCKY (1988). For additional discussion of condi-
    tions at the I·Iigh Security Unit at Lexington Federal Prison and their consequences for
    prisoners, sec Richard Korn, The Effects of Confi11e111e11t in tile High Security Unit at IIIIIIII
    ton, 15 Soc. JusT. 8 (1988) [hereinafter Korn, Lexington]; Richard Korn, Fo/101v-up Report
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      Unit philosophy, recently completing constrnction of a modernized version
      of these earlier institntions at Florence, Colorado. 66
            Similarly, when California opened in its first "adjustment center" a
      little more than forty years ago, it became "the snbject of considerable crit-
      icism."67 Although the original concept of the "adjustment center" in-
      cluded the goal of returning prisoners to the mainline prison population
      and, ultimately, to society at large through an enriched program of psycho-
      logical and social services, that plan was never implemented. 111e adjust-
      ment centers were recognized as "dismal failures" that represented little
      more than renamed isolation or segregation units that had proven prob-
      lematic in the past. 68 Twenty years later the use of solitary confinement in
      California prisons was evaluated in a report by the state legislature and it
      was still controversial. 69 Based on interviews with prison administrators,
      inmates, and psychiatrists, the report criticized punitive segregation be-
      cause of the arbitrariness with which prisoners were segregated; the fact
      that, once there, they were denied adequate program participation, psycho-
      logical counseling, and recreation; and that decisions about whether to re-
      lease prisoners from these lockup units were "arbitrary, subjective, and not
      based on any set of criteria." 70 In addition, the authors of the report con-
      cluded that long-term isolation resulted in psychological impairment and
      reduced prisoners' subsequent chances of successful rehabilitation. 71
            During the same two decades, numerous lawsuits alleging violations of
      prisoners' Eighth Amendment rights posed similar questions about the ef-
      fects of solitary confinement in various prison systems across the country.7 2
      111is litigationalleged apanoply of ill effects-both physical and mental-
      stemming from conditions of isolation at the prisoils in questibn. 73

      011 the Effects ofC011fi11e111e11t i11 the High Security U11it al Lexi11gto11, 15 Soc. JusT. 20 (1988)
      [hereinafter Korn, Fol/ow-up]; Baraldini v. Meese, 691 F.Supp. 432 (1988}(holding that
      \Vhile criteria used by Bureau of Prisons in assigning prisoners to the unit violated their First
      An1end1nent rights, the conditions themselves \Vere not cruel and unusual under the Eighth
      A1nendn1ent).
            66. See, e.g., Fay Do\vker & Glenn Good, Fro111 Alcatraz to i\farion to Florence: Con-
      trol Unit Prisons in the United States, in CAGES OF STEEL; THE P0Lrr1cs OF 111111111111111
      IN nm UNITED STATES 131 (Ward Churchill & J.J. Vander Wall eds. 1992) (describing the
      develop1nent of control unit prisons in the United States); Perkinson, supra note 14; Peter
      G. Chronis, "Baddest of the Bad" Co111ing to Neiv Federal Prison, DENVER PosT, May 11,
      1990, at Bl.1 (describing the construction of a ne\v control unit prison in Colorado).
           67. CALIFORNIA AssEi\1BLY SELEcr 1111111111111oN PR1soN REFORr-.1 AND REHABILI-
      TATION, Aoi\IJNISTRATIVE SEGREGATION IN CALIFORNIA'S PRISONS vii (1973).
           68. Id. at 2-3.
           69. Id.
           70. Id. at 27.
           71. Id.
           72. See infra notes 326-387 and acco1npnnying text.
           73. See, e.g. TI1on1as B. Benjan1in and Kenneth Lux, Constitutional and Psychological
      bnp/icatious of the Use of Solitary Coufi11e111ent: Experience at the Maine State Prison, 9
      CLEARINGHOUSE REv. 83 (1975) [hereinafter Benja1nin & Lux, A1ail1e State Prison) (stating
      that prisoners in solitary confine1ncnt at the Maine State Prison develop anger, hostility,
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     Psychologists and psychiatrists alike wrote and testified about the nature,
     magnitude, and long-term consequences of these acute negative
     effects. 74
          Notwithstanding this long history of criticism and heightened aware-
     ness among mental health professionals about their harmful effects, long
     term solitary confinement and related practices are now being used on an
     increasingly widespread basis in prison systems across the United States.
     As mentioned earlier, rapid expansion of the nation's prison population-
     so rapid and unprecedented that massive building programs have been un-
     able to keep pace-has meant that most correctional systems are plagued
     by extreme overcrowding and the serious management and control
     problems that go with it. 75 Many prison officials appear convinced that the
     turmoil brought about by increased population pressures can be managed
     by segregating and isolating prisoners whom they view as especially troub-
     lesome. In addition, many correctional administrators claim that the vio-
     lence that purportedly plagues most prison systems now in a way it did not


     aggression, and 1nental illness); 11101nas B. Benja1nin and Kenneth Lux, Solitary Confine-
     1ne11t as Psyclzologica{ Punisl1111ent, 13 CAL. W. L. REv. 265 (1977) [hereinafter Benjan1in &
     Lux, Solitary Conftnenzent] (detailing cognitive and cn1otional hnpairn1ents resulting fro111
     solitary confine1nent); Jackson, supra note 19 at 64-80 (describing hallucinations, aggression,
     and sclf-n1utilation found in inn1ates in solitary confinen1ent); Maria A. Luise, Solitary Co11-
    ji11e111e11t: Legal and Psychological Considerations, 15 NE\V ENo. J, ON Cn.1r-.1. & C1v. CoN-
     FINE}.fENT 301 (1989) (arguing that solitary confinen1ent nlay be cruel and unusual
     pun.islunent); Nan Miller, International Protection of the Rights of Prisoners: ls Solitary Con-
    fiuenu!_J_lt iiiii the_ lj__nit_ed States _a_Violation of l11tfn1atio11al Standards? 26 CAL. W. INT'L L. J.
     139 (1995) (arguing that solitary confinen1ent is a fonn of punislunent that produces severe
     enough psychological effects to render it a violation of international hu1nan rights treaties).
           74. See, e.g. Stanley L. Brodsky and Forrest R. Scogin, /Junates in Protective Custody:
     First Data 011 E111otio11a/ Effects, 1 FORENSIC REP. 267 (1988) (reporting psychological ef-
     fects including anger, anxiety, and sleep disturbances); Stuart Grassian, Psychopathological
     Effects of Solitary Co11fi11e111e11t, 140 AM. J. PsYcHIATRY 1450 (1983) [hereinafter Grassian,
     Psychopathological Effects] (detailing findings of perceptual changes, affective disturbances,
     disorders of thought and difficulties \Vith thinking, and lack of in1pulse control); Stuart Gras-
     sian and Nancy Fried1nan, Effects of Sensory Deprivation in Psychiatric Seclusion and Soli-
     tary Co11fi11eme11t, 8 l"'T'L J. L. & PsYcttIATRY 49 (1986) (alleging that solitary confinement
     results in anxiety, hallucinations, regression, ilnd can have long-tenn psychological in1plica-
     tions); Haney, I11fa111ous Pu11is/1111e11t, supra note 12 (describing long-tern1 results including
     dependence on institutional control, loss of ability to control or initiate behavior, \Vith-
     dra\val, and psychiatric disorders); 111on1as 0. Hilliard, The Black Psychologist in Action: A
    Psychological Evaluation of the Adjustnzent Center Enviro11111e111 at San Quentin Prison, 2 J.
     BLACK Psvctt. 75 (1976) (reporting frustration, hopelessness, and bitterness as results of
     tin1e in solitary confinen1ent); Korn, Lexington, supra note 63 (discussing findings of claus-
     trophobia, chronic rage reaction, depression, hallucination, and apathy).
           75. For data on the extraordinary increases in prison populations in the United States
     and discussions of son1e of the forces creating such changes, see Craig Haney, Psychology
    and the Li111its to Prison Pain: Co11fro11ti11g the Con1i11g Crisis in Eighth A111end111ent Laiv, 3
    Psvc1101.., Pus. PoL., AND LA\V 499 (1997) {hereinafter 1-Ianey, J>syclzology and the Lin1its
     to Prison Pain]; and Craig Iianey, Riding the Pu11isl1111e11t lVave: 011 the Origins of Our
     Devolving Standards of Decency, 9 IiASTINos iiiiiiiiiL. J. 217 (1998) [hereinafter Haney,
     Riding the l'unisl1111e11t lVave ].
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      twenty years ago can only be controlled by implementing policies that iso-
      late suspected gang members in punitive segregation units. As one com-
      mentator summarized: "[T]he rise in power of prison gangs has made
      supermax facilities increasingly popular. "76
            Among other things, these policies of supermax confinement are
      designed to remove gang members from the mainline population and sub-
      ject them to increased punishment in the form of solitary confinement for
      periods of long and sometimes indefinite duration. For example, one recent
      study noted that the California Department of Corrections has imple-
      mented a number of special practices to deal with their perceived gang
      problem, including "using 'confidential informants,' segregating gang mem-
      bers in different buildings and prisons, intercepting gang communications,
      setting up task forces to monitor and track gang members, locking up gang
      leaders in high security prisons, and 'locking down' entire institutions. "77
            Of course, this emphasis on long-term punitive segregation as a solu-
      tion to the prison gang problem has influenced the makeup of the prisoner
      population in solitary confinement. A decade and a half ago, Barak-Glantz
      found that, not surprisingly, prisoners in punitive segregation were more
      likely to be committed to prison for violent offenses and more likely to be
      repeat offenders than were a sample of "control" prisoners. 78 In addition,
      the racial distribution of his sample of punitive segregation prisoners was
      not significantly different from the distribution of prisoners in the general
      population of the maximum security prison.7 9 However, this latter finding
      differs dramatically from the more recent data collected by the senior au-
      thor at one California prison in which 90% of the random sample of puni-
      tive isolation prisoners were minority (indeed, fully 70% we1'e Latino ). 80
      This suggests that although punitive segregation has not always resulted in
      the overrepresentation of minority prisoners, the tendency of prison sys-
      tems like California's to use alleged gang membership (as opposed to lead-
      ership) as one of the primary criteria for such segregation has the perhaps
      unintended consequence of disproportionately singling out minority pris-
      oners. That is, because the criterion of gang membership is notoriously dif-
      ficult to define and apply with precision or reliability, substituting it for
      overt, discrete behavior (i.e., actual disciplinary infractions) has left prison
      authorities with the subjective task of trying to determine whether prison-
      ers fit into what is, at best, an elusive category. 81 TI1is ill-defined task is

          76. Scott Tachiki, lndetenninate Sentences in Supennax Prisons Based Upon Alleged
      Gang Affiliations: A Reexa111i11ation of Procedural Protection an<l a Proposal for Greater
      Procedural Requirements, 83 CAL. L. REV. 1115, 1131 (1995).
          77. Geoffrey Hunt et al., Changes in Prison Culture: Prison Gangs and the Case of the
      "Pepsi Generation," 40 Soc. PROB. 398, 400 (1993).
          78. Israel L. Barak-Glantz, Who's in the "Hole"? 8 CRIM. JusT. REV. 29 (1983).
          79. Id. at 33.
          80. CRAIG HANEY, THE WoRsT oP THE WoRsT: PsYCH0Loo1cAL TRAUl\.IA AND PsY-
      CHIATRIC SSSSSSSSSSSSS IN PUNITIVE SEGREGATION (1996).
            81. See Tachiki 1 supra note 76.
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     susceptible to bias and stereotyping, as well as the very real possibility that
     increased solidarity among minority prisoners may increase the risk that
     they will be wrongly classified as gang members and placed in indefinite
     punitive segregation as a result.
           11ie recent willingness to resort to solitary and supermax confinement
     is supported as well by a general tendency among corrections officials to
     account for violence within the prison walls through an exclusive focus on
     the characteristics of the prisoners who engage in it rather than the situa-
     tion or context in which it occurs. 82 Instead of considering the possibility
     that worsening prison conditions themselves may constitute the source of
     behavioral problems, a "new breed" of convict is christened periodically to
     account for putative increases in prison violence. 11ms, the claim that a
     unique or special type of criminal has arrived on the prison scene who can-
     not be controlled through existing measures is accompanied by an escala-
     tion in the level of prison pnnishment that includes the creation of special
     conditions of confinement like solitary and punitive segregation units. In-
     deed, just the past thirty years have seen the emergence of several allegedly
     new criminal types, each one more fearsome than its predecessor and re-
     quiring a new level of prison security. 83
           For example, Cohen and Taylor noted that the creation of "special se-
     curity wings" in British prisons in the mid-1960s was justified when "[t]he
     media and the judiciary made great play with the idea of a 'new' type of
     criminal who was more ruthless, more violent and more organized than his
     predecessors." 84 A decade or so later, prison officials in New South Wales
     justified the construction of a controversial isolation unit in its main prison



          82. For extended discussions of situational versus dispositional n1odes of explaining
    prison behavior, see Craig Haney, Critninal Justice and the Nineteenth-Century Paradig111:
    The Triunzph of I'sychologica/ !11dividualis1n in the "For111alive Era," 6 LA\V & HHHHHHHBEHAV.
    191 (1982); Craig Haney el al., Interpersonal Dynanzics in a Silnu/ated Prison, 1 INT'L J.
    CmMINOLoGY & PENOLOGY 69 (1973); Craig Haney & Philip G. Zimbardo, Tile Socializa-
    tion into Crhninality: On Beco111ing a Prisoner and a Guard, in LA\V, JusTICE, AND THE
    INDIVIDUAL JN SocIETY 198 (June Louin Tapp & Felice J. Levine, eds. 1977) [hereinafter
    Haney & Zin1bardo, SocializaaanJ.
          83. For parallels \Vith the construction of general criininal categories that justified espe-
    cially long (sotnethnes life) sentences for "habitual" and then "career" crin1inals in the
    1920s and late 1960s, respectively, see Ronald C. Kran1er, Franz "Habitual Offenders" to
    "Career Crbnina/s": The Historical Construction and Developn1e11t of Crbninal Categories, 6
    LAW & HUM. BEHAV. 273 (1982).
          84. STANLEY COHEN & LAURIE TAYLOR, PSYCHOLOGICAL SURVIVAL: THE HHHHHHHH
    ENCE OF LoNo-TERr-.t ll\tPRISONMEl'\'T 13 (1972). Cohen and Taylor also described the spe-
    cial security precautions that \Vere taken to acconunodate this ne\v breed: 11 TI1e ne\v security
    111easures introduced during 1965 to help contain such n1en included electronic surveillance,
    dog runs, anned guards, gas tnasks, and (according to one report) the siting of a 1nachine-
    gun nest on the external \Vall [of the prison]." Id. Another conunentator referred to the
    British policy for these convicts as one of "incarcerating 111en in granite ton1bs for years on
    end.,, FRANK Non11AN, LocK 'El\t UP AND COUNT 'El\t 6 (1970).
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      by claiming that "[m]en are going to be put there only because they have
      shown themselves to be savage monsters." 85
           Around the same time, California prison officials claimed that in-
      creased use of punitive segregation in the state's prisons was needed to
      stem an "intolerable violence problem" brought about by an influx of ag-
      gressive prisoners. 86 About a decade later-in the early 1980s-Barak-
      Glantz observed that "researchers as well as correctional administrators
      are almost unanimous in their belief that prisons are receiving a more ag-
      gressive, more dangerous, more vocal, and less tractable offender." 87 And
      now-still a decade after that-many of today's prisoners are described as
      "rapacious monsters" in media depictions that are as ubiquitous as they are
      sensationalized, helping to fuel the public's demand for longer prison
      sentences and specialized, "tougher" institutions for those who are incar-
      cerated.88 11rns, the Pelican Bay Security Housing Unit was described by
      the correctional official who authorized its construction as "an important
      tool in managing a growing and more violent inmate population. " 89
           In response, a penal philosophy of sorts has emerged in which prison
      systems are now using long-term solitary confinement as a proactive policy
      of management and control. This policy represents a dramatic departure
      from pre-existing norms concerning the use of punitive segregation. 11ie
      Seventh Circuit some 25 years ago summarized the then-prevailing view:
            If a man commits a crime against state or federal law while in
            prison, he is tried in a court of law and sentenced to additional
            time in prison. Segregation is not usually imposed for criminal
            misconduct; it is reserved, instead, to correct serious infractions of
            prison rules. For a single such event, segregation does not and
            should not exceed a few months, if that long. 90

            85. See W.E. Lucas, Solitary Co11ft11en1e11t: Isolation as Coercion to Coufonn 9 AAAAAAAA
      LIAN &    NE\\' ZEALAND J. OF CRil\.IINOLOGY 153 1 163 (1976) (quoting Ne\v South Wales
      Con11nissioner of Corrective Services). A policy state1ncnt issued by the sa111e office cap-
      tured the extension of this logic that is so1netin1es n1ade by correctional ad1ninistrators:
      "The conventional n1oral and legal restrictions are not acceptable in extre1ne areas of crhni-
      nality; consequently, the ordinary and estabHshed codes of hu1nan conduct need not be
      expected to relate to the in1nate population located in the progranune involving 1naxin1u111
      security contain1nent." Id. at 164.
            86. Ho\vard Bidna, Effects of Increased Sec1trity on Prison \1iolence, 3 J. CH.rr-.1. JusT. 33
      (1975} [hereinafter Bidna, Effects of Increased Security].
           87. Barak-Glantz, supra note 76, at 29.
            88. See, e.g., David A. Kaplan et al., The Incorrigibles: They Rape and 1\folest. They
      Defy Treat111e11t. l-/oJv Ca11 Society Protect Itself? NE\VS\VEEK, Jan. 18, 1993, at 48. T11is article
      is typical of the genre. It ends \Vith the observation that u[o]ne \vay or another, society keeps
      searching for a \Vay to protect itself. After all, the Constitution isn't a suicide pact." Id. at
      50.
            89. Deel. of Daniel J. McCarthy, fonner Director of Corrections, Madrid v. Gon1ez,
      No. C-90-3094 (N.D. Cal. 1993}.
           90. Adams v. Carlson, 488 F.2d 619, 628 (7th Cir. 1973).
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           Criticized as the "Marionization" of American prisons, 91 after the no-
     torious federal penitentiary at Marion where the new policy seems to have
     originated,92 a number of prison systems (including the Federal Bureau of
     Prisons) have either begun or completed construction on specialized pris-
     ons devoted entirely to long-term punitive segregation and solitary confine-
     ment-like conditions and routines. 93 Thus, one analyst has referred to the
     "accelerating movement toward housing prisoners officially categorized as
     violent or disruptive in separate, free-standing facilities where they are
     locked in their cells approximately 23 hours per day.'' 94 111is movement has
     been indirectly facilitated by some academic commentary that has ap-
     peared in recent years minimizing previous concerns over the potential psy-
     chological harm caused by solitary confinement and implicitly authorizing
     its increased use. 95

           91. See Ar-.tNESTY lNrERNATlONAL, MARION, supra note 60; Hur-.1AN R1011Ts WATCH,
     supra note 60; hnn1arigeon, supra note 12.
           92. See supra notes 56-62, and accon1panying text.
           93. Conditions at Pelican Bay generated son1e an1ount of public attention (see supra
     note 8), and California \Vas by no n1eans the only state in \Vhich concerns \Vere raised about
     the construction of "superrnax" prisons. See, e.g. Bill Ne\vn1an, Marionizing Massachusetts,
     37 MAss. REV. 9, 81 (1996) (highlighting Eighth Amendment lawsuits in Illinois and Massa-
     chusetts that exan1ined the extren1e sensory deprivation and adverse psychological effects of
     lockdo\\'n in prisons). But see Robert Sheppard et al., Closed Maxinuau Security: The llli-
     110is SuperMax, 58 CoRRECTioNs ToDA Y 84, 84 (1996) (praising the ne\v Illinois prison as
     "society's latest, no-holds-barred effort to ensure that certain predatory people are isolated
     fron1 the rest of us, and fro1n each other.") The authors of the latter article also provided
     detailed descriptions of the security hard\vare and other precautions built into the ne\v facil-
     ity ( do\Vll to the nun1ber of video ca1neras that had been installed). Yet, despite conceding
     that--"the-lack-of-hutnan- contact, the- absence· of1neai1h1ghil \York; 3i1d cf"j}cl\•crt)' of SCns-ory
     and intellectual sti1nulation n1ay have potentially adverse consequenccs"-so 1nuch so that
     the prison required a "baseline assessment" of each inmate upon entry to the unit and "peri-
     odic reevaluations at specific intervals" to be conducted by mental health staff-they pro-
     vided no details of the nature or adequacy of those evaluations, nor did they bother to
     justify taking the risks of such "adverse consequences" \Vith prisoners in the first place. Id.
     at 87.
           94. Inunarigeon, supra note 12 at 1. See also Miles Cor\Vin, High Tech Facility Ushers in
     1'le1v Era of State Prisons, L. A. T1h-1Es, May 1, 1990, at Al (discussing the high-tech
     supennax prison at Pelican Bay).
           95. Ja1nes Banta & Paul Gendreau, Reexa111ini11g the Cruel and Unusual Punisl1111e11t of
     Prison Life, 14 LA\V & Hur-.1. BEHAV. 347 (1990) [hereinafter Bonta & Gendreau, Reexanz-
     ining]; Paul Gendreau & Jan1es Banta, Solitary Co11fine111e11t is Not Cruel and Unusual Pun-
     is/1111ent: People Sonzetbnes Arel 26 CANADIAN J. CR1r..nN0LoGY 467 (1984) [hereinafter
     Gendreau & Bonta, Solitary]; Paul Gendreau and Jan1es Banta, Boats Against the Current:
     A Rebuttal, 15 LAW & HuM. BEHAV. 563 (1991) [hereinafter Gendreau & Bonta, Boats];
     Peter Suedfeld, Beyond Sentbnentality, 22 INT'L J. OFFENDER THERAPY & Co:-.1r. CCCCCCCCC
     NOLOGY 49 (1978); Peter Suedfeld & Chunilal Roy, Using Social Isolation to Change the
     Behavior of Disruptive J11111ates, 19 INT'L J. OFFENDER THERAPY & Cor-..tr. Cn.1r-..11NOLOGY 90
     (1975) [hereinafter Suedfeld & Roy, Social Isolation]; Peter Suedfeld et al., Reactions and
     Attributes of Prisoners in Solitary Confinenzent, 9 CR1r..L JusT. BEHAV. 303 (1982) [hereinaf-
     ter Suedfeld et al., Reactions]. One conunentator has gone so far as to advocate an explicit
     return to the "Pennsylvania" 111odel in \Vhich "in111ates serve their entire sentences in total
     isolation frotn one another." Robert Rogers, Solitary Confinentent, 37 lNT'L J. OFFENDER
     THERAPY COMP. CRIMINOLOGY 339, 343 (1993).
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            As the correctional establishment in the United States appears poised
       to embark on a new era of repressive prisoner control that is based on
       unprecedented levels and kinds of solitary and related forms of penal con-
       finement, the time has come to recrn;isider this prison form and to take a
       comprehensive look at what we know about its psychological effects. De-
       spite the newness of supermax prisons, the regime of solitary confinement
       that is at their core not only has a long historical record but an equally rich
       store of research data on which to draw. Tiie magnitude of the public re-
       sources that are about to be committed, the large number of prisoners
       likely to be affected, and the potential implications for our long-term crime
       rates as well as the loss of alternative prison and social welfare programs
       that may be sacrificed in the wake of the supermax approach compel us to
       a sober and realistic assessment of the expected consequences.

                                                    II.
                 THE EMPIRICAL LITERATURE ON SOLITARY CONFINEMENT

           Several caveats are in order concerning the terminology that will be
      used in the discussion that follows. It is common for researchers and legal
      commentators to use the term "solitary confinement" generically, as if it
      refers to a single type of experience or describes the same set of conditions.
      Of course, it does not. Conditions of so-called solitary confinement vary
      dramatically, and these variations may very well account for the presence
      or absence of negative psychological effects found in empirical research.
      Tims, some authors have sought to draw conclusions about solitary confine-
      ment based on the results of studies in which the nature of the confinement
      in question bore little relationship to common correctional practices. For
      example, when Banta and Gendreau argued that "solitary confinement"
      did not itself constitute a psychologically destructive environment-the
      real "culprit" they said was "the manner in which inmates have been
      treated" in solitary confinement and the excessive amounts of time they
      spent there96 -they simply redefined the term in such a way as to exclude
      what is, in many jurisdictions, the very essence of the experience. TI1ere-
      fore, whenever possible in our review of the empirical literature we will
      attempt to specify the exact nature of the conditions of solitary confine-
      ment studied.
           Amnesty International has used the term "solitary confinement" to
      cover "all forms of incarceration that totally remove a prisoner from in-
      mate society. It often means that the prisoner is visually and acoustically
      isolated from all other prisoners, as well as having no personal contact with
      them. " 97 Yet, this general rubric subsumes many variations. For example,

             96. Bonta & Gendreau, Reexan1i11i11g, supra note 93, at 361.
             97. AMNESTY INTERNATIONAL, Al\INESTY lNTERNATIONAL's WORK ON PRISON CONDI-
      TIONS OF PERSONS SUSPECTED OR CONVICTED OF POLITICALLY MOTIVATED CRii\1ES JN THE
      FEDERAL REPUBLIC OF GERl\1ANY: IsoLATION AND SoLITAHY CO!'.'FINEt-.tENT       9 (1980)
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     some American correctional systems now are so crowded that even prison-
     ers in "solitary confinement" nnits are donble-celled and, therefore, not
     isolated from one another at all. In fact, by some definitions, these prison-
     ers are simultaneously and paradoxically isolated and overcrowded. Simi-
     larly, even when they are single-celled it is impossible to completely curtail
     communication between prisoners in solitary confinement units (under all
     but the most extreme architectural designs). In some of these units, sensory
     overload rather than sensory deprivation adversely affects prisoners whose
     restricted confinement in close quarters means they cannot escape the in-
     trusive noise or presence of others. Moreover, some of the special units
     that have been most soundly condemned by mental health experts and the
     courts impose a regimen known as "small group isolation" on prisoners in
     which a restricted number of them are housed together but away from eve-
     ryone else. 98
          For largely historical reasons and to maintain consistency with existing
     literature, we will continue to employ the term "solitary confinement" to
     refer to this broad set of conditions. However, we will often use the seem-
     ingly more accurate term, "punitive segregation" interchangeably with soli-
     tary confinement to convey the sense in which, at the very least, solitary
     confinement entails segregation from the general population of prisoners
     for a punitive purpose that virtually always imposes severe restrictions in
     movement and activity within the segregated unit itself. Thus, solitary con-
     finement or punitive segregation includes at least partial social isolation
     and partial reduction of certain forms of stimulation, as compared to gen-
     eral population prisoners. 99 Because of the ambiguity in the use of the
     term "solitary confinement;" it is also difficult to estimate with any degree
     of precision how many prisoners may be subjected to the kinds of condi-
     tions whose effects we analyze here. In 1984, for example, Corrections
     Compendium reported on the results of a national survey of state correc-
     tional systems concerning the use of "restrictive housing" (defined in the
     survey as "[a Jform of separation from the general population [of prisoners]
     for some necessary administrative purpose"). 111e percentages of prisoners

     [hereinafter AAAAAAAAAINTERNATIONAL, WoRK oN PRISON CoNDITIONs]. Judge McMillan
     employed this definition in Berch v. Stahl, 373 F. Supp. 412, 420 (W.D.N.C. 1974): "Solitary
     confinen1ent by definition n1eans confine1nent alone and rentovcd front sustained contact
     \Vith other hu1nan beings. Its severity as punishtnent is drastically increased 'vhen the isola-
     tion is acco1npanied by ... 'sensory deprivation' .... "
           98. 111e An111esty Report on prison conditions in1posed on persons suspected of polit-
     ical crin1es in the Federal Republic of Gennany refers to this as U111scflluss. 1l1e Report also
     described the establishtnent of so-called "silent \Vings" (Tote Trakte) in \vhich prisoners \Vere
     prohibited front speaking to one another. Ar-.1NESTY INTERNATIONAL, WORK ON PRISON
     CONDITIONS, supra note 95 at 10.
           99. Don Foster observed that solitary confine1nent "looks less and less like a single
     unified entity, but Inore as a situation varying along a continuun1 of severity." DoN FosTER,
     DETENTION & TORTURE IN SOUTH AFRICA: PSYCHOLOGICAL, LEGAL & J-hsTORICAL STUD-
     IES 67 (1987) [hereinafter FOSTER, DETEI'\'TION AND TORTURE].
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     in restrictive housing ranged from 2.3% to 27.2% and averaged 7.7%. 100
     We note that the increasingly widespread use of so-called "supennax" pris-
      ons that impose largely segregated and solitary-like confinement on a long-
      term basis means that these percentages likely have increased and will con-
      tinue to do so for the foreseeable future.
           We also acknowledge at the outset that there are significant limitations
     on the manner in which research on solitary confmement can be conducted.
     11rnt is, the study of this experience has been constrained by ethical, legal,
     and practical barriers precluding the use of a single technique or design
     that could resolve all scientific questions about the causal role of such con-
     finement in producing various measured effects. Yet, we will argue that this
     fact alone neither diminishes the significance of the relevant empirical re-
     search nor eliminates the possibility of gaining social scientific understand-
     ing of the topic. Indeed, our intention in providing a comprehensive review
     of the empirical literature is to transcend this limitation by interpreting the
     pattem of results that has emerged from this work and drawing conclusions
     about this specialized correctional environment. Like many complex em-
     pirical issues in psychology, in the absence of a single, definitive piece of
     research that effectively establishes a causal connection, we rely upon the
     method of "triangulation" wherein we systematically review available re-
     search from numerous diverse sources, each of which addresses some of the
     ways in which solitary confinement and punitive segregation may affect
     prisoners.
           Although some commentators have advocated shrinking the pool of
     available knowledge to include only what they term "scientific experi-
     ments"101 and drastically limiting the acknowledged effects of solitary con-
     finement to the statistically quantifiable, we firmly believe that much
     crucial information is lost or ignored by narrowing the scope of inquiry in
     this way. We do not believe that controlled laboratory studies represent the
     only source of valid scientific knowledge on this or any topic. In fact, much
     of the experimental research on isolation and sensory deprivation con-
     ducted with non-prisoner subjects is especially problematic because many
     of the crucial components of the experience of solitary confinement in
     prison are lacking. 102 Yet, we believe these studies provide some insight
     into the effects of significantly decreased stimulation and restricted move-
     ment on prisoners. Because these are major components of conditions of
     solitary confinement, we have included this research in our discussion. Sim-
     ilarly, although the subjectivity of personal accounts of the effects of soli-
     tary confinement may affect the weight or significance that should be

            100. Restrictive !lousing, CORRECTIONS CCCCCCCCCCCCCCCCMar. 1985, at 1, 4-7.
            101. Gendreau & Banta, Boats, supra note 93.
            102. TI1e contrast bet\veen conditions in prison solitary confine1nent and those that
     prevail in sensory deprivation studies can be significant. See infra text accon1panying notes
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      attached to them, we have not a priori excluded observational studies or
      autobiographical writing from consideration.
           In addition, we have been relatively inclusive in accepting the defini-
     tions of researchers and prison systems themselves concerning what consti-
     tutes "solitary confinement." For example, some of the published research
     on the effects of solitary confinement refers to the conditions in question as
     "segregation" 103 or to "isolation cells" 104 without offering specific details
     about what, if any, contact inmates might have had with others, or what
     kinds of stimulation and other activities (e.g., reading material, television)
     were available to prisoners. We have included these studies in our review if
     the researchers themselves termed the conditions solitary (or solitary-like)
     confinement. Similarly, we recognize that a variety of terms have been
     used to refer to solitary confinement in different correctional systems. 105
     As long as they lit within our general definition of solitary-like confine-
     ment, we have included whatever published data were available on them,
     irrespective of labels. We also included studies that looked at dependent
     variables such as disciplinary infraction rates as a function of the restric-
     tiveness of housing, whether or not the most restrictive conditions qualified
     as complete solitary confinement.
          There is a logic to this inclusivity. Because it led us to examine a broad
     range of solitary-like conditions-not just the harshest or most extreme
     versions-our inclusive approach actually provided a conservative test of
     their negative effects. Indeed, one of the great strengths of this literature,
     viewed in its totality, is the robustness it reveals in the psychological effects
     of solitary-like confinement. That is, a very clear and consistent message
     emerges from the examination of studies concluded over a vast array of
     different isolated and restricted conditions for subjects who differed greatly
     in background and the duration of their confinement.


          103. Frank Porporino, Managing Violent Individuals in Correctional Settings, 1 J. OF
     INTERPERSONAL VIOLENCE 139, 213-237 (1986).
           104. Anne Jones, Self-Afutilation in Prison: A Co111parison of Mutilators and No11n1uti-
     /ators, 13 C!m1. JUST. AND BEHAV. 286, 287 (1986).
           105. In the United States they have been called, an1ong other things: "adjustment cen-
     ters" in California, JACKSON, supra note 19, at 95; "special treatinent and rehabilitative
     training units" ("STRT") in the Federal Bureau of Prisons, id. at 154; "punitive dissocia-
     tion" in Tennessee, id. at 115; and "special progran1 units," in Illinois, id. at 154. In Canada,
     \\'here they are said to be reserved for "dangerous inn1ates," id. at 155, and "particularly
     dangerous in111ates," id. at 156, the units have been termed "special correctional units," id.
     at 44; "special handling units," id. at 150; "super-n1aximu111 security units," id. at 48; and
     "Prisons of Isolation," id. at 36. In England, so-called "intractable prisoners," id. at 155, are
     sent to places that have been labeled "control units," id. at 155. Although in so1nc cases
     these units have included special behavior 1nodification regilnens (as in the case of the Fed-
     eral Bureau of Prisons' "STRT" progra1n and the "special progra111 UJlits" in Illinois), they
     virtually ahvays include special housing and security, the isolation of prisoners fron1 the
     n1ainline population and usually (but not ahvays) fron1 each other, and greatly restricted
     tnove1nent and activity \vithin the prison itself. Id.
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          Thus, we have reviewed a wide range of studies-from controlled lab-
     oratory experiments to more qualitative case studies-and looked at data
     from a diverse group of persons exposed to solitary-like conditions-from
     college students to North American prisoners themselves. The empirical
     record compels an unmistakable conclusion: this experience is psychologi-
     cally painful, can be traumatic and harmful, and puts many of those who
     have been subjected to it at risk of long-term emotional and even physical
     damage.

              A.    Early Laboratory Experiments on Sensory Deprivation

           "Sensory deprivation" has been defined as "conditions aimed at reduc-
     ing, altering or by some means or other, interfering with a person's normal
     stimulation from, and commerce with, his environment." 106 If we were to
     adopt this definition, then virtually all forms of solitary confinement and
     punitive segregation would qualify as sensory deprivation. Although the
     role of sensory deprivation and social isolation in the "brainwashing" of
     prisoners of war by their Korean captors 107 is what sparked much of the
     initial interest among researchers, the resulting studies often employed ex-
     perimental conditions that did not closely approximate those created inside
     actual prisons. For example, most research on sensory deprivation has been
     done in highly artificial environments that are intended for only short term
     exposure. Taken as a whole, however, this research does underscore the
     importance of sensory and perceptual stimulation and the dramatic, nega-
     tive effects that can occur when people are deprived of it.
           Under conditions of extreme sensory deprivation, subjects characteris-
     tically experience perceptual distortions, hallucinatory experiences, and
     sometimes high levels of anxiety. As one overview of the early research on
     the topic suggested, "the absence of stimulation leads to the debilitation of
     behavior, making the individual less efficient and inducing strong affective
     states which are associated with marked changes in motivation. " 108 Here
     we review a representative sample of sensory deprivation studies to illus-
     trate the specific psychological reactions that have been produced under
     such severe conditions.
           Some of the first reports on the effects of experimentally-induced sen-
     sory deprivation came from John Lilly's pioneering water-tank isolation
     studies. Although the initial research provided little more than qualitative

         106. Leo Goldberger, Experiniental Isolation: An Overview, 122 AM. J. PsYcH. 774, 775
     (1966) (emphasis omitted).
           107. THE PPPPPPPPPPPPPPPPPPPPPPPPPPPPOF PHYSIOLOGICAL STUDIES ON SENSORY
     DEPRIVATION vi (Leo Mado\v & Laurence H. Sno\v eds. 1970).
          108. Philip E. Kubzansky & P. Herbert Lcidennan, Sensory Deprivation: An Overvie1v,
     in SENSORY DEPRIVATION: A PPPPPPPPPPPPPPHELD AT HARVARD MEDICAL SCHOOL 220, 237
     (Philip Solomon, et al., eds.) (1961).
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     reports of "reveries and' fantasies" 109 that the researcher and another sub-
     ject experienced while immersed, later and more controlled water-tank sus-
     pension studies documented acute psychological reactions. Subjects often
     terminated participation within 8 hours of being placed in water-tanks and
     a large majority reported recurring fantasies during their immersion. " 0 In
     another study, all twenty subjects were confined to a sound restricted room
     wearing goggles. TI1ey were asked to stay as long as possible and could
     leave the experiment at any time. 111 Although the isolation conditions
     were periodically interrupted, subjects ended participation after relatively
     brief periods (two days on average for women and just over one day for
     men) and all of them listed anxiety and panic among their reasons for quit-
     ting.112 In several other studies anxiety reactions were cited by a significant
     percentage of subjects who terminated participation.11 3
           Several psychological variables appeared to moderate the level of
     stress created by sensory deprivation and the subjects' ability to endure it,
     including knowledge of the study's duration, awareness of the passage of
     time, and prior level of comfort and familiarity with the experimenter and
     experimental conditions. Specifically, informing subjects of the upper time
     limit of the study enhanced their ability to tolerate the isolation. 114 In an-
     other series of studies, researchers concluded that the general atmosphere
     in the laboratory, the appearance and behavior of the personnel, and the
     subjects' degree of comfort and familiarity with both were crucial factors



          109. John Lilly, Mental Effects of Reduction of Ordinary Levels of Physical Sti111uli 011
     Intact, Healthy Persons, 5 PsYctt. REs. REP. 1, 7 (1956). For other early \York on this topic,
     sec \V.H. Bexton, W. Heron, & T.H. Scott, Effects of Decreased Variation in the Sensory
     E11viro11n1ent, 8 CAN. J. PsvcHoL. 70 (1954), and JACK A. VERNON, INSIDE T11E BLACK
     RooM (1963).
          110. Marvin Zuckerman, Variables Affecting Deprivation Results, in SENSORY DEPRI-
     VATION: FIFTEEN YEARS op RESEARCH 47, 49-50 (John P. Zubek, ed. 1969).
          111. S. Sntlth & W. Le\vty, Perceptual Isolation Using a Silent Rootn, 2 LANCET 342
     (1959).
          112. All subjects \Vere fed and tested by the experiJnenters 4 thnes a day. Length of
     stay ranged frorn 6-92 hours \Vith \Von1en lasting on average 49 hours, n1en only 29 hours. Id.
          113. See Zuckennan, supra note 108, at 49 (citing studies \Vhere anxiety \Vas reported
     as a reason for terminating the experiment). For exan1ple, one researcher studied \Vhether
     the sensory deprivation that polio patients experienced in respirator tanks caused psycho-
     logical irnpainnent. He conducted an experiment in \Vhich healthy subjects \vere placed in
     such tanks and then reactions \Vere n1easured. Less than a third of the subjects lasted for
     the agreed upon thirty-six hour experirnental period. Many left due to anxiety, panic, and
     other somatic con1plaints. Six of the seventeen subjects described "aberrant" n1ental iin-
     agery, and all reported thne distortions. Herbert P. Leidern1an, J\fan Alone: Sensory Depri-
     vation and Behavioral Change, 8 CORRECTIVE PSYCH. & J. OF Soc. THERAPY 64, 69 (1962).
          114. Zuckern1an, supra note 110, at 68. 1\vo-thirds to three-quarters of those \Vho \Vere
     infonned of the upper tin1e lirnit of the study stayed until the end, \vhcther the duration \Vas
     4 days, 1 \veek, or 2 \Veeks. Ho\vcver, those that \Vere not inforn1ed of the duration, and
     \Vere told of the passage of time, quit earlier than those that \Vere told nothing at all.
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      influencing whether and when the experience became stressful or
      intolerable. 115
           The dissimilarities between conditions created in these studies and
      those in solitary confinement or punitive segregation in correctional institu-
      tions are obvious. 116 For example, the complete restriction of sensory stimu-
      lation created in many of these studies exceeds even the most severe prison
      isolation regimen. In addition, the subjects were all volunteers who were
      often paid for their participation, which at least one researcher has specu-
      lated may both account for the dramatic effects and compromise the gener-
      alizability of the results to prison settings.' 17 On the other hand, the
      exposure tended to be of extremely brief duration (at least when compared
      to prison lockup), subjects typically knew the time limit in advance of par-
      ticipation, were given the option of terminating their confinement, and
      there was a positive scientific rather than negative punitive meaning at-
      tached to the experience itself. Indeed, the experimenters in these studies
      were not perceived as hostile adversaries, and the confinement-although
      painful-was not experienced as punishment. Nonetheless, these studies
      do emphasize the importance of sensory stimulation in human experience
      and the dramatic effects that can be produced when such stimulation is
      significantly curtailed.' 18 In addition:
              One of the most important results of sensory deprivation experi-
              ments has been the finding that the resultant psychologic distur-
              bances are virtually universal. Similar symptoms occurring in the

        - -- -1-15.--See-generally Martin __T. _ Orne _ & _ Karl __E, __S_ch_e_i_b_{?,, ___Tl!_e____(Qn_(rihHliQ!_l___ ggggggggggggggggggggggg
      vation f'actors in the Production of Sensory Deprivation Effects: The Psychology Of tlie
      "Panic Button," 68 J. ABNOID.IAL AND Soc. PsYCHOL, 3 (1964); l\1artin Zuckennan ct al.,
      Responses to Co11finen1e11t: An Investigation of Sensory Deprivation, Social Isolation, Re-
      striction of A1ove111e11t and Set Factors, 27 PERCEPTUAL AND MoToR SKILLS 319, 333 (1968).
              116. Oddly, Bonta & Gendreau, 'vhose "'ritings have n1inh11ized the psychological sig-
      nificance of solitary confinen1ent in prison, also counseled penologists to rely 111orc heavily
      upon the results of these studies: "[T]here exists an extensive experiinental literature on the
      effects of placing people (usually volunteer college students) in solitary, or conditions of
      sensory deprivation, 'vhich has been ignored in the penology literature.... In fact, this
      literature ... and 1nany of these studies are, inethodologically, the niost rigorous of all the
      prison studies. T11crefore, conclusions dra,vn front this source arc especially infonnativc."
      Bonta & Gendreau, Reexa111ining, supra note 93, at 360 (citations 0111itted).
              117. Melvin Morris Weinberg, Effects of Partial Sensory Deprivation on Involuntary
      Subjects (1967) (unpublished Ph.D. dissertation, Michigan State University) (on file with
      N.Y.U. Rev. L. & Soc. Change).
              118. As one revie,ver sununarized:
             T11c general response to isolation and sensory deprivation includes boredon1, rest-
              lessness, irritability, increasing anxiety that is often extrc1ne, and, eventually, de-
             personalization, disorientation, difficulty in concentration, i111painncnt of the
              ability to solve silnple problen1s, and sornetin1es delusions and abnonnal visual
             sensations .... After periods of isolation, 1nany subjects con1plain of fatigue, dro,v-
             sincss, confusion, a loss of orientation in tin1e, and difficulty in readjusting to a
             nonnal environ1ncnt.
      Frederick I-locking, Extre111e E11viro11111ental Stress and its Significance for Psychopathology,
      24 AM. J, PSYCHOTHERAPY 4, 7 (1970).
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            deaf, and in explorers and prisoners had, in the past, been thought
            to be due to personal predisposition.11 9
          Finally, although it is clear that virtually everyone exposed to these
      conditions was affected in some way, it is also clear that even in these ex-
      treme situations people did not respond in identical fashion and that vari-
      ous aspects of the environment mediated the experience itself.

            B.    Psychological Literature on the Importance of Social Contact
                                        and Support

           Classic theory and research in social psychology have underscored the
      importance of social contact for the creation and maintenance of "self."
      Indeed, two of the very first social psychologists-Charles Cooley and
      George Herbert Mead-premised their theories of selfhood entirely upon
      social interaction. Cooley's evocative term-"looking glass self" -sug-
      gested that we look to others and in them see identity-forming reflections
      of ourselves. 120 Mead also emphasized the importance of direct feedback
      from others in establishing a sense of self, writing that "[w]e appear as
      selves in our conduct insofar as we ourselves take the attitude that others
      take toward us .... " 121 More recently, Leon Festinger's pivotal theory of
      social comparison processes posited an essential human "drive" for social
      evaluation that pushes people to belong to groups and associate with

               119. Id. Leidennan's revie'v of n1uch the sa1ne literature led hin1 to siinilar
 -- -- --C(friC1USiOfiS-:---
          111ese disparate findings converge on one n1ajor point. Man is dependent on ade-
          quate and changing an1ounts of sensory and social sthnulation in order to n1aintain
          his psychic and physiological functioning. \Vhen he lacks adequate supplies of
          sthnuli, he 1nay develop n1ental aberrations involving hnagcry sintllar to that of
          hallucinations, a loss of sense of tintc, a loss of n1otor coordination, bccon1e unable
          to think or reason clearly, becon1e less able to initiate ne\v tasks, perfonu less '''ell
          on certain men1ory and visual tests, and perhaps becon1c inore susceptible to sug-
          gestion. Depending on the individual's biological, perceptual and social history, he
          1nay develop unusual cravings for or reactions against certain types of stin1ulations.
          If these becon1e sufficiently fixed and persistent, they n1ay interfere \Vith his n1ajor
          task of preserving hin1self.
      Leidennan, supra note 111 at 73.
          120. CHARLIE HORTON COOLEY, Hui\tAN NATURE AND THE SOCIAL ORDER 168-210
      (1902).
           121. George Herbert Mead, The Genesis of the Self and Social Control, 35 INT'L J. OF
      ETHICS 251, 268 (1925). In a related vein, Susan Houston \vrote:
           111ere is no reasonable \Vay to explain the extren1e n1ental dissolution in situations
           of isolation \Vithout considering the n1ind as partly n1ade up of n1aterial fro1n other
           n1inds. 111e basic elen1ent in sensory deprivation situations is lack of hu1nan con1-
           panionship, \Vhich \Vould provide the necessary elen1ent to n1aintain n1ental stabil-
           ity in son1e sort of literal sense.
      Susan Houston, Inquiry Into the Structure of i\1e11tatio11 Processes, 21 PsYCHOL. REPORTS
      649, 653 (1967).
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      others. 122 Researchers have documented the importance of social compari-
      son to concepts about the self, 123 perceptions of relative deprivation, 124 and
      feelings of equity or fairness. 125 In a related series of experimental studies,
      one social psychologist documented the increased need to affiliate with
      others in order to interpret emotional states, especially in the face of am-
      biguous and anxiety-arousing situations. 126 Subsequent research on this is-
      sue added catharsis, interpersonal support, and self-esteem as components
      of the strong need to be with others-all needs that go unfulfilled when
      persons are isolated or alone. 127
           A separate but related line of research has documented the positive
      role sometimes played by the presence of others-often referred to simply
      as "social support"-in mitigating and buffering the negative effects of
      stress. Such studies underscore the relationship between connectedness to

           122. Leon Festingcr, A Theory of Social Con1pariso11 Processes, 7 HHHHHHHRELATIONS
      327 (1954). For 1nore recent discussions of the concept of social comparison, see Syn1po-
      siu1n, 12 PERSONALITY AND Soc. PSYCllOL. BULL. 261 (1986).
           123. Hazel Markus, Self-Sche111ata and Processing Infonnation About the Self, 35 J.
      PERSONALITY AND Soc. PsvcttoL. 63 (1977).
           124. See generally, RELATIVE DEPRIVATION AND SocIAL Col\fPARISoN: TttE ONTARIO
      SYMPOSIUM, Vol. 4 (James M. Olson et al., eds. 1986).
           125. Willian1 Austin, Equity Theory and Social Con1pariso11 Processes, in SocrAL Coi-.1-
      PAR1soN PROCESSES: THEORETICAL AND HHHHHHHHHHHHPEHSPECl'IVES 279 (Jerry M. Suls &
      Richard L. Miller eds. 1977).
                                                                                                          I
          126. Stanley Schachter, THE PSYCHOLOGY OF AFFILIATION: HHHHHHHHHHHHHHSTUDIES
                                                                                                          I
      OF THE SOURCES OF GREGARIOUSNESS 126 (1959).
          127. See, e.g., Irving Sarnoff and Philip G. Zin1bardo, Anxiety, }"ear, and Social HHHHHHHHH
    · 1i011;·62··1:AtiRoil1IACSoc.Psvcttoc356.(196l);PhilipG.·zimbatdo &RoberrforJ\iica;
      E111otio11al Con1parison and HHHHHHHHHHHHHHas Deter111i11a11ts of Affiliatio11, 31 J. PERSONALITY
      141 (1963). John Bowlby, whose work focused primarily on early childhood experiences,
      \Vas also etnphatic about the irnportance of social contact throughout the life cycle:
           Inti1nate attaclunents to other hu1nan beings are the hub around \Vhich a person's
           life revolves, not only \Vhen he is an infant or a toddler or a schoolchild but
           throughout his adolescence and his years of n1aturity as \Vell, and on into old age.
           Frain these inti1nate attaclunents a person dra\vs his strength and enjoy1nent of life
           and, through \Vhat he contributes, he gives strength and enjoy1ncnt of others.
           'TI1ese are 1natters about \vhich current science and traditional \Visdon1 are at one.
      JOHN Bo\VLBY, HHHHHHHHHHHHAND Loss: Loss, SADNESS, AND DEPRESSION 442 (1980).
      Cultural theorists have also \Vritten about the historical in1portance of isolation and the
      construction of self. 1l1us, John Bender has argued that the ne\v prisons of the late 18th and
      early 19th century "'ere notable for their e1uphasis on isolation, \Vhich \Vas thought to render
      prisoners n1ore n1alleable as subjects for reconstruction:
           Isolation divests the critninal of narrative resources and designates a 'character' to
           be fonnulated. TI1e old prisons had allo\ved prisoners full access to narrative in-
           stru1uents: \Vriting and publication, visits by auditors, normal reading niatter, even
           hedged participation in society at large \Vithin the surrounding neighborhoods ....
           Isolation is conceptually requisite in the [ne\v] penitentiary, not so that prisoners
           can reflect on the past-that \vould be old-style ritual penance ai1ned at forgive-
           ness of sin rather than at alteration of being-but so that 01nniscience can HHHHHHHHH
           ture the inn1ate's identity through control of narrative resources.
      JOHN BENDER, lr.lAGINlNG THE PENITENTIARY: FICTION AND THE ARCI-IITECTURE OF MIND
      IN EIGHTEENTH-CENTURY ENGLAND 202-3 (1987).
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    others and physical and mental health. 128 Tirns, social isolation has been
    related to a number of dysfunctional psychological states and outcomes.
    For example, there appears to be an inverse relationship between social
    isolation and subjective measures of well-being among the elderly. 129 A
    number of studies also have established a connection between isolation and
    psychiatric illness. For example, one researcher found that patients who
    were unmarried, unemployed, living alone, or without religious affiliations
    were more frequent users of mental health services, 130 and another found
    certain measures of social deprivation to correlate significantly with psychi-
    atric admission rates. 131
         Finally, the importance of social contact in grounding human identity
    and contributing to mental health is indirectly underscored by the fre-
    quency with which isolation is used to create or intensify human malleabil-
    ity. Techniques of coercive interrogation or so-called "brainwashing"
    virtually always include extreme forms of social isolation. As two students
    of these techniques wrote:
         Man is a social animal; he does not live alone. From birth to death
         he lives in the company of his fellow men. When he is totally iso-
         lated, he is removed from all of the interpersonal relations which
         are so important to him, and taken out of the social role which
         sustains him. His internal as well as his external life is disrupted.




          128. Sidney Cobb, Social Support as a Moderator of Life Stress, 38 PsYcuosoi\t. MED.
    300 (1976); Alfred Dean and Nan Lin, 11ie Stress-B11fferi11g Role of Social Support, 165
    NERVOUS & MENTAL DISEASE 403 (1977).
          129. Tiius, one study found that living alone, being untnarried, having no con1panions,
    or having no confidants \Vere related to chronic health proble1ns and lo\v scores on ineas-
    urcs of subjective \Veil-being. Neena Chappell & Mark Badger, Social Isolation and ivell-
    Bei11g, 44 J. GERONTOL. 169 (1989). 'Il1is study and others explore the conceptual distinc-
    tion bet\vccn social isolation and psychological isolation and suggest that it is the quality of
    the social contact-for cxa1nple, having con1panionship and confidants-rather than sin1ply
    the presence of others that contributes to well-being. See also ELOISE RATHBONE-McCuAN
    AND JoAN HASHH.u, IsoLATED ELDERS: HEALTII AND SocIAL INTERVENTION (1982).
          130. Gary L. Tischler et. al., Utilisation of Mental Ilea/th Services, 32 ARctt. GEN.
    PSYCH. 411, 411-415 (1975).
          131. See, e.g., E. H. Hare, Mental Illness and Social Conditions in Bristol, 102 J.
    MENTAL Sci. 340 (1956); Graha1n T11ornicroft, Social Deprivation and Rates of Treated
    1\1e11tal Disorder: Developing Statistical .Alodels to Predict Psychiatric Service Utilisation, 158
    BRIT. J_ PsYcH. 475 (1991). Cf Margaret K Cooke & Jeffrey H. Goldstein, Social Isolation
    and Violent Behavior, 2 FoRENSIC REP. 287, 288 (1989):
          A socially isolated individual \Vho has fe\\', and/or superficial contacts \Vith fan1ily,
         peers, and con1n1unity cannot benefit fro111 social con1parison. T11us, these individ-
          uals have no n1echanisn1 to evaluate their O\VIl beliefs and action in tern1s of rea-
         sonableness or acceptability \vithin the broader con1n1unity. Titey are apt to
         confuse reality \Vith their idiosyncratic beliefs and fantasies and likely to act upon
         such fantasies, including violent ones.
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                 Exposed for the first time to total isolation ... he develops a pre-
                 dictable group of symptoms, which might almost be called a "dis-
                 ease syndrome." 132
                Among the symptoms identified as part of this syndrome were bewil-
           dennent, anxiety, frustration, dejection, boredom, rumination, and depres-
           sion. In addition, the authors observed that "[s]ome prisoners may become
           delirious and have visual hallucinations." 133

                        C.    Acutely Isolated and Restricted Living Conditions
                 Observations of persons who have lived under isolated and restricted
           conditions provide some insight into the psychological stress of limited per-
           sonal mobility, reductions in the nature and variety of activity and stimula-
            tion available in one's surrounding environment, and social (as opposed to
           purely sensory) deprivation. Tirns, one early study of this topic concluded
           that "[i]t seems perfectly clear from work thus far that acute disturbances
           of the normal personality may occur, and rather quickly, in an environment
           providing reduced sensory or perceptual experience." 134 A more recent re-
           view that summarized several decades of research on people who were con-
           fined, restricted in movement and activity, and isolated from a larger
           population noted that "[r]eports of an inability to concentrate or maintain
           focus are common" and that "isolation produces significant and often dra-
           matic increases in suggestibility and hypnotizability" and attentional shifts
           of the type associated with hallucinations. 135 Researchers reported in-
........   SSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSincluding sleep disturbances, im-
           paired cognition, anxiety, hostility,. 11iliior fol'n1s of psychopafliofogy,
           heightened frictions and social conflict among members of the confined
           group, and potential long-term animosities that could result in deteriora-
           tion of interpersonal and familial relationships. 136
                 In addition, studies have confirmed the value of psychological screen-
           ing and training to prepare military personnel for assignment in Antarctica
           and other isolated and confined environments. These precautions appear

                132. La\vrence E. Hinkle & Harold E. \Volff, Co111111unist Interrogation and Indoctrina-
           tion of "Enemies of the States'', 76 ARcH. NEuRoL. & PsYcH. 115, 127 (1956).
                133. Id. at 128.
                134. Rayn1ond H. Thoenig 1 Solitary Co11fi11e111ent-Pu11isl1111e111 \\litlzin the Letter of
           Law or Psychological Torture? 1972 Wis. L. REV. 223, 232 (1972) (citing E.K. Eric Gunder·
           son, E111otio11al Sy111pto111s in Extre111ely Isolated Groups 9 ARCH. GEN. PsYcll. 362, 363
           (1963)). 111is and other research identified psychological sy1npto1ns that 'vcre n1anifested
           over the six to eight nionth period in 'vhich personnel 'vcre confined to indoor quarters 'vith
           very li1nited resources for stin1ulation. Syn1pton1s included inso1nnia, anxiety, depression,
           and irritability, and these effects increased as the "'inter n1onths 'vorc on.
                135. Albert A. Harrison ct al., The Hu111a11 E.\JJerience in Antarctica: r\pplications to
           Life in Space, 34 BEHAV. Sc1. 253, 257 (1989). TI1e authors concluded that such environ-
           ments are clearly "stressful" and that a "recurrent concern is that the stresses of isolation
           and confine1nent lead to poor n1ental health and negative 1noods." Id. at 258.
                136. Id.
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      necessary to minimize the negative effects of the environment on those
      who will live there. Similarly, a special emphasis on "environmental de-
      sign" is needed to minimize the effects of such isolation stress on human
      behavior. For example, research focused on maximizing the habitability of
      this kind of confinement and isolation indicates that "[w]indows are a criti-
      cal design feature" because they allow the entry of natural light, make it
      possible to communicate with the outside world, and reduce feelings of be-
      ing cramped. 137 Further, some researchers observed that adjustment to the
      isolated and confined environment "depends importantly upon the man's
      specific job at the station," 138 suggesting that the psychological role that a
      person fills during isolation, including a basic sense of purpose, may be an
      important component in his or her adjustment. Of course, the intended
      negative or pejorative meaning of punitive segregation that is necessarily
      communicated to and emphasized with prisoners makes it unlikely that
      anyone's positive "role" or sense of purpose in lockup will moderate the
      negative psychological effects associated with such confinement.

                  D.    Use of Sec/11sio11 With Hospitalized Mental Patients
               111e debate over whether "seclusion" -the imposition of sensory and
          social deprivation with hospitalized mental patients-can ever be used to
          accomplish a therapeutic purpose provides another perspective on the psy-
          chological consequences of solitary confinementY9 Mental health profes-
          sionals are divided over whether such seclusion sometimes can be
          beneficial or should 11ever be permitted. 140 Mental patients who have been
-- -- --- subjected-to seclusion-seem-critieal-of-the-experienee and question-its-ther- -
          apeutic effect. 141 Indeed, there is now "considerable self-scrutiny in psychi-
          atry over the uses and abuses of such measures" and an awareness of the
          "potential dangers" 142 of seclusion practices that has translated into mental
          health standards governing the manner and conditions under which they
          should be used. 143

            137. Id. at 260-264.
            138. E.K. Eric Gunderson, Mental Health Proble111s in Antarctica, 17 Ancn. ENVIRON.
      HEALTH 558, 564 (1988),
            139. Of course, there arc important differences bet\veen the hvo conditions. See, e.g.,
      Grassian and Friedman, supra note 71 (coinparing the effects of seclusion and solitary
      confinen1ent).
            140. Tom Mason, Seclusion Theory Revie1ved-A Benevolent or J\falevolent l11terve11-
      tio11? 33 MED. Sci. LAW 95 (1993).
            141. See, e.g., Ellen Hey1nan, Seclusion, 25 J. Psvcuosoc. NuRSING AND NIENTAL
      HEALTH SERVICES 8, 8-12, 35, 37 (1987); Stanley M. Soliday, A Comparison of Patient and
      Staff Attitudes To1vard Seclusion, 173 J. oF NERvous AND MENTAL D1sEASE 282 (1985).
            142. Jeff Mitchell & Christopher Varley, Isolation and Restraint in Juvenile Correctional
      Facilities, 29 J. AM. AcAD. CHILD ADOLESCENT PsYCII. 251 (1990).
            143. Jo1NT Col\tl\HSsioN oN THE AccREDITATION OF HosPITALs, CoNsoLIDATED
      STANDARDS MANUAL, 1985; FoR CHILD, ADOLESCENT, AND ADULT PsvcHIATRIC, ALco-
      HOLJSl\I, AND DRUG ABUSE FACILITIES AND FACILITIES SERVING TllE MENTALLY RE-
      TARDED AND DEvELOPi\IENTALLY DISABLED 81-84 (Chicago, IL 1985).
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            One balanced review of the literature on this question recently con-
       cluded that "although it appears to be reasonably well-established that se-
       clusion and restraint 'work,' i.e., they provide an effective means for
       preventing injury and reducing agitation, it is at least equally well-estab-
       lished that these procedures can have serious deleterious physical and
       (more often) psychological effects on patients." 144
            Recognition of the risks of seclusion also has led to various task force
       reports and advisory opinions that recommend physician authorization,
       safety features in seclusion room design, and specialized training for hospi-
       tal staff145 as well as a range of proposed alternatives to seclusion for
       mental patients. 146 A number of psychiatrists have publicly criticized the
       use of isolation as "a prolonged intervention lasting days, weeks, and in
       some cases, months" 147 in juvenile correction facilities, citing the fact that
       "[t]he literature suggests that a variety of mental and behavioral distur-
       bances can be created by isolation for long periods of time" 148 and that
       "programs relying on excessive isolation experience high rates of aversive
       behaviors among residcnts." 149

                                   E.    Sllldies of Torture Victims
                   Research done with torture survivors also provides some insight into
              the psychological effects of solitary confinement. Indeed, legal and psycho-
              logical commentators critical of solitary confinement often analogized it to
              torture. 150 111e fact that solitary confinement is among the most frequently
              used psychological torture techniques seems to underscore its aversive na-
 ------- ____ ture and destructive potential.1 51 Methods oLpsychologicaL torture.have

           144. Willian1 A. Fisher, Restraint and Seclusion: A Revie1v of the Literature, 151 AAAAAJ.
       PSYCH. 1584, 1588 (1994).
           145. See, e.g., Al\.IERICAN PsvcttIATRIC AssocIATION, TAsK FoRcE REPORT 22: SE-
       CLUSION AND REsTRAI1''T: TnE PSYCHIATRIC USES (1985).
            146. D.G. Kingdon & E.W. Bake\vell, Aggressive Behaviour: Evaluation of a Non-Se-
       clusion Policy of a District Psychiatric Service, 153 BRIT. J. PsYcH. 631 (1988).
            147. Mitchell & Varley, supra note 140, at 252.
            148. Id.
            149. Id. at 253. See also P. Herbert Leidern1an ct al., Sensory Deprivation: Clinical
       Aspects, 101 ARCH. OF INTERNAL MED. 389-396 (1958) (finding that changes in social and
       sensory cnvironntent of long-tenn hospital patients eli1ninated anxiety, delusions, and hallu-
       cinations developed by son1e patients).
             150. See, e.g., Lucas, supra note 83, at 155 (asking 1'Is Solitary Confinen1ent Torture?");
       Ti111 Shallice, Solitary Confi11en1e11t: A Torture Revived? NE\V Sc1Et-.'TIST, Nov. 28, 1974, at
       666; 1l10enig, supra note 132, at 231-233.
             151. Foster, supra note 97. Solitary confinc1ncnt is one of the n1ost con1n1on "psycho-
       logical procedures" used to torture South African detainees. Id. at 69. Foster also reported
       on the frequency \Vith \Vhich solitary confinen1ent \Vas used for various age groups and in
       different geographical regions of the country and concluded that "(g]iven the full context of
       dependency, helplessness and social isolation con1n1on to conditions of South African secur-
       ity la\v detention, there can be little doubt that solitary confinen1ent under these circurn-
       stances should in itself be regarded as a fonn of torture." Id. at 136. See also Hinkle &
       Wolff, supra note 130, at 115-75 (describing effects of isolation cells used by the "Conunu-
       nist State Police" in the Soviet Union and China).
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      been divided by researchers into two types: "weakening" methods are
      designed to exhaust the victim and render her helpless, while "personality
      destroying" methods are designed to induce guilt, fear and loss of self-es-
      teem.152 Specific torture techniques often include stimulus deprivation as
      well as a near-complete loss of control. Some descriptions of these tech-
      niques bear close similarity to descriptions of modern supennax prisons:
           Victims are submitted to a detailed set of regulations and rules,
           resulting in close supervision where everything (including com-
           pletely insignificant details) is controlled. Violation of the rules
           (either real of supposed) is used as an excuse to punish the "of-
           fending" victim .... During torture and imprisonment the aggres-
           sion of the victim is by necessity turned inwards and there is no
           possibility of adequately expressing emotions. 153
                When used as a method of torture, solitary confinement impairs the
          victim's ability to think coherently and logically, and can produce anxiety,
          emotional instability, disorientation, anger, depression, and hallucina-
          tions.154 Torturers have long recognized that more severe sensory depriva-
          tion results in more severe psychological trauma. 155
                Torture victims are often diagnosed as suffering from Post Traumatic
          Stress Disorder ("PTSD"), 156 an extreme psychological reaction that can
          occur in the wake of a traumatic event. The disorder generally entails a
          subsequent, overwhelming emotional reaction that may be followed by
          some form of denial, including symptoms of amnesia, and avoidance of
          anything related to the trauma, as well as detachment and estrangement
 --- -- --fromothers,-limited--affeet-,--and-a--poor-outlook-on--the-future,-lntrusive--
          thoughts about the event, including pseudo-hallucinations and disturbing
          thoughts and emotions that "flood" the victim are also characteristic of

            152. F.E. So1nnier & 1.K. Genefke, Psychotherapy for Victhns of Torture, 149 BRIT. J.
      PsvcH. 323, 324 (1986).
            153. Id.
            154. Id. at 325-26; Shaun R. Whittaker, Counseling Torture Victilns, 16 THE CouNsEL-
      ING PsYCHOLOGIST 272, 273 {1988). As one conunentator sununarized: "Even the 1nost
      unintrusive [torture] techniques \Vere found to leave lasting psycho1'ogical scars. For in-
      stance, sensory deprivation frequently led to anxiety, hypochondria, and hysteria.)) Mat-
      the\v Lippn1an, The Develop111ent and Drafting of the United Nations Convention Against
      Torture and Other Cruel, Inluunan or Degrading 1'reat111ent or Pu11is/1111e11t, 27 B.C. lNT'L &
      COMP. L. REV. 275, 310 (1994).
            155. Willian1 Risto\V & Ti111 Shallice, Taking the Hood Off British 10rture, NE\V Sc1EN-
      TIST, Aug. 5, 1976, at 272 ("1l1e 111ajor 'advance' that the Co111bined Services Intelligence
      Centre instituted \Vas to replace isolation in featureless, soundless cells (the KGB 1nethod)
      by the 111uch n1ore extren1c cnviron111ent of severe sensory deprivation").
            156. Federico A. Allodi, Assess111e11t and Treat111e11t of Torture Victbns: A Critical Re-
      vie1v, 179 J. NERvous AND MENTAL D1sEASE 4 (1991); Kenneth S. Pope & Rosa E. Garcia-
      Pcltonietni, Responding to Victbns of Torture: Clinical Issues, Professional Responsibilities,
      and Useful l?esources, 22 PROFESSIONAL PSYCHOLOGY; RESEARCH AND PRACTICE 269, 272
      (1991); Robert I. Sin1on & Robert A. Bhnn, After the Terrorist Incident: Psychotherapeutic
      Treat111ent of Fonner Hostages, 41 Ar..t. J. PSYCHOTHERAPY 194, 195 (1987); Whittaker, supra
      note 152, at 274.
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      PTSD. 157 Such intrusive thoughts often include feelings of guilt, fear,
      shame and rage over one's vulnerability as a victim, rage at the source of
      the trauma, and fear of the loss of control of aggressive impulses. 158
           In the absence of therapy (or some other form of resolution or relief),
      PTSD victims often suffer from psychosomatic problems, an inability to
      work productively or to experience positive emotions. The onset of the dis-
      order may be delayed by six months or more, but the symptoms may con-
      tinue for years. Persons with higher levels of pre-trauma psychological
      health have better prognoses and, conversely, persons with less sturdy per-
      sonalities appear to be more vulnerable to the stressors that lead to the
      disorder. 159 Some discussions of the psychotherapeutic techniques for
      treating the long-term problems of torture victims have acknowledged that
      segregated prisoners should be numbered among the patient population.
      For example, one review pointed to the guilt and discomfort clinicians may
      experience upon learning that "the clinician's [own] government was in-
      volved, directly or indirectly, in the torture," 160 and used Amnesty Interna-
      tional's condemnation of the High Security Unit of the Lexington Federal
      Prison as an example. 161 Others have argued that the effects of reduced
      environmental stimulation can require long-term psychotherapy to
      abate. 162



           157. AMERICAN PSYCHIATRIC ASSOCIATION, DIAGNOSTIC AND STATISTICAL MANUAL
      OF MENTAL DISORDERS 236 (3d ed. 1980).     See also Mardi J. Horowitz, Post-traun1atic Stress
      Disorders: Psychosocial Aspects of the Diagnosis, 19 INT. J. MENT. HEALTH 21 (1990) [here-
      inafter Horowitz, Post-traumatic Stress].
           158. Ronald Siegel found that conditions of isolation, visual deprivation, restraint on
      physical movements, physical abuse, and threat of death that accompanied hostage situa-
      tions appeared to influence the production of hallucinations in about a quarter of the survi-
      vors he examined. Ronald IC. Siegel, Hostage Hallucinations: Visual In1agery Induced by
      Isolation and Life-Threatening Stress, 172 J. NERvous AND MENTAL D1sEASE 264, 266
      (1984). Hallucinations were also found by Grassian to be one of the defining characteristics
      of a psychiatric syndrome he identified in prisoners exposed to solitary confinement. Gras-
      sian, Psychopathologica/ Effects, supra note 72, at 1451; Grassian and Friedman, supra note
      72, at 54.
           159. Horowitz, Post-traun1atic Stress, supra note 155, at 21.
           160. Pope & Garcia-Peltoniemi, supra note 154, at 270. D.R. Foster also commented
      on the inadvisability of concentrating on the psychologically negative effects of solitary con-
      finement absent a broader discourse about the political context in which such confinement
      occurs, observing that: "For obvious ethical reasons, no systematic study of [solitary confine-
      ment] effects under political detention conditions has been possible, other than reported
      experiences of former detainees. In such cases, reports have been very negative." Donald
      Hugh Foster, Political Detention in South Africa: A Sociopsychologica/ Perspective, 18 INT. J.
      MENT. HEALTH 21, 25 (1989).
           161. Amnesty concluded that the "prolonged isolation, humiliating strip-searches and
      additional restrictions" imposed upon the women in this unit "had a detrimental effect on
      their physical and n1ental health.,, AMNESTY INTERNATIONAL, AMNESTY INTERNATIONAL
      REPORT: 1989 152 (1989).
           162. Sornnier & Genefke, supra note 150.
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                    F.    Data From Isolated and Segregated Prisoners
     1.   Autobiographical and Descriptive Accounts
          Personal accounts of life in long-term solitary confinement and puni-
     tive segregation provide elaborate descriptions of the pains of such impris-
     onment, as well as the psychological extremes to which prisoners have gone
     to adjust to it. For example, Christopher Burney's eloquent account of his
     eighteen mouths in a German wartime prison camp focused on his attempts
     to survive the assault on his identity that the monotony and utter lack of
     stimulation represented: "We are narrow men, twisted men, smooth and
     nicely rounded men, and poets; but whatever we are, we have our shape,
     and we preserve it best in the experience of many things." 163 Because soli-
     tary confinement denied him the "experience of many things," he struggled
     to create an inner world of existence that preserved his sense of who he
     was. Although Burney observed that humans are "adaptable creatures"
     who "flatter ourselves with the conceit that by adapting ourselves to events
     we master them," 164 his attempts to achieve psychological mastery of this
     environment were part of a constant battle to preserve his sanity. 165 In-
     deed, like many autobiographical accounts of solitary confinement, Bur-
     ney's dwelled on ways of avoiding madness. He conceded: "[n]o doubt I
     would have gone mad, because it takes a well-nourished brain to cope with
     such an absolute as Nothing."' 66
          Jack Abbott's account of his numerous experiences in solitary confine-
     ment were similarly graphic and stark. 167 Indeed, he argued that prison sol-
     itary was so powerful that it could "alter the ontological makeup of a

          163. CHRISTOPHER BuRNEY, SOLITARY CoNFINErvrENT 8 (1961).
          164. Id. at 11.
          165. Burney used sclf-itnposed routines both to create artificial "events" during the
     day that made the passage of time more bearable, and to provide some semblance of struc-
     ture to an otherwise unmarked experience. He paced in his cell-"the stock-in-trade of all
     those in solitary confinement," engaged in purposeful flights of imagination (like fantasized
     journeys), and forced himself through mental exercises (like self-administered quizzes). Id.
     at 20. See also Sen1yon Gluzman, Fear of Freedo111: Psychological Decon1pensation or Ex;s-
     tentialist Pltenon1enon? 139 AM. J. PSYCH. 57 (1982). A Soviet psychiatrist sentenced to
     some seven years in a labor camp, Gluzman spent long periods in solitary confinement and
     wrote eloquently about the psychological challenges of this extreme form of imprisonment:
          There is no doubt that the very environment of the political labor camp, the combi-
          nation of informational deprivation with constant extreme stin1uli, has an in1pact
          on the individual's state of tnind. Although situationally induced changes of
          mood-feelings of loneliness and distress-are not rare here, they are not manifes-
          tations of psychic disorder. They are a natural, healthy reaction to gloating brutal-
          ity and trampled justice, to abuses of power, to the insensitivity of God and the
          \Vorld. Psychological inadequacy or deficiency under such conditions would mani-
          fest itself by the absence of such negative emotions.
     Id. at 60.
          166. Burney, supra note 161, at 21. Foster also discussed the fear of going insane that
     plagued a nu1nber of South African detainees who had been placed in solitary confinement.
     FOSTER, DETENTION AND TORTURE, supra note 97 at 136-140.
          167. ]ACK ABR<YIT, IN THE BELLY OF THE BEAST: LETTERS FROivl PRISON (1981).
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     stone." 168 He, too, focused on the despair that descended with inactivity
     and lack of meaning: "You sit in solitary confinement stewing in nothing-
     ness.... 111e lethargy of months that add up to years in a cell, alone, en-
     twines itself about every 'physical' activity of the living body and strangles
     it slowly to death .... Time descends in your cell like the lid of a coffin." 169
     Of course, the death of which he wrote was psychological in nature. Like
     Burney, Abbott's goal was to find ways of fighting against the monotonous
     routine and emptiness "without losing my mind." 170
           Descriptive accounts by those a step removed from the actual experi-
     ence of prison solitary have focused on a related set of psychological issues.
     For example, Cohen and Taylor provided a lengthy account of a group of
     men sentenced to long-term confinement in a British special security unit.
     Among other things, they found that relationships with persons outside the
     prison became increasingly difficult to maintain, and that prisoners with no
     workable, sustaining ideology were prone to psychic retreat or withdrawal,
     or to fighting in self-destructive ways. Over time many prisoners learned to
     cope with the pains of imprisonment in an unreflective way, and what the
     authors referred to as the "ultimate existential problem"-fear of deterio-
     ration-became increasingly acute. 171 Although conditions in the units
     were severe-one of the men likened it to "living in a submarine" 172-the
     men were permitted group interaction, relative freedom of movement
     within the units, and contact with outsiders (like Cohen and Taylor) to con-
     duct classes. 111e authors found that the men in these units "hardly lost
     their identities," 173 at least in the sense that there were clear assertions of
     self and even clearer differences between prisoners in terms of how they
     appfoacfi.ea tlieirconfinemeiit. orcaiirse;Tri1Jieratives-aTlllstit1l!ialial life
     did mean that "over time certain adaptations [were] favored in that they
     represent the only workable ways of dealing with the accumulating
     problems of life inside." 174 Distinct strategies emerged by which the prison-
     ers adapted to their conditions of confinement that appeared to be a func-
     tion of their relationship to authority.
           Michael Jackson's analysis of conditions in a variety of segregation
     units in Canada also detailed prisoners' psychological reactions to their
     confinement. 175 Prisoners reported difficulties concentrating on even sim-
     ple tasks, experienced headaches, mental and physical deterioration, emo-
     tional flatness, !ability, breakdowns, hallucinations, paranoia, hostility and

          168. Id. at 45.
          169. Id. at 44.
          170. Id. at 46.
          171. Cohen and Taylor, supra note 82, at 198.
          172. Id. at 62. TI1e conditions in these units are described in son1e detail in chapter 3 of
     Cohen and 1'aylor's book, \vhere the environn1ent is tenned a "closed en1otional \vorld." Id.
     at 60.
          173. Id. at 148.
          174. Id. at 153.
          175. Jackson, supra note 19.
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      rage, and some were beset with thonghts of self-mutilation and suicide
      (which, in some instances, they acted upon). Jackson also described the
      "double binds" that prisoners in these units commonly confronted. For
      example:
            The undercurrent of violence in the SHU poses a terrible di-
            lemma for the prisoners. If they seek to avoid it by staying in their
            cells or forgoing exercise in the yard or time in the common room,
            they will be viewed negatively as demonstrating an unwillingness
            or an inability to associate with others. If they decide to come out
            of their cells when they are concerned abont being attacked, they
            feel they are forced to carry a knife or other weapon in order to
            defend themselves. If a weapon is discovered the authorities' view
            that they are indeed dangerons and reqnire further confinement
            in the SHU is reinforced.116
           1110se placed in "special handling units" in which they supposedly
      were given the opportunity to ascend to slightly increased levels of freedom
      and privileges were confused about the criteria used to evaluate their be-
      havior, harbored a sense of anger "bordering on outrage" about the illegiti-
      macy and unreliability of the process by which they were reviewed, 177 and
      were plagued by a deep sense of helplessness.
           The descriptive accounts of two psychiatrists who were employed in
      several of the California Department of Corrections's punitive segregation
      units provide additional data on the psychological adaptations needed to
      survive in such places. Frank Rundle's observations of Soledad's "adjust-
   . · ·n1enrcefiter"· 1ec1 him to ccinduae thaf''Iriaaiiess"amciiig the pdsciiiei's \vfio··················· · · · · ··
      were confined there was at least "partially functional and adaptive." 178
      Specifically, Rundle watched some prisoners who had been isolated for
      days "become so desperate for relief that they would set their mattresses
      afire so as to force the staff to open the door and remove them from the
      torture chamber." 179 Other prisoners "would burst out in a frenzied rage of
      aimless destruction, tearing their sinks and toilets from the walls, ripping
      their clothing and bedding, and destroying their few personal possessions in

           176. Id. at 177.
           177. Id. at 170-171. In addition:
           [T]here are still no real progra1ns in Millhaven. 111e \\'orld of the SHU is still
           circu1nscribed by a television set, a conunon roon1 and an exercise yard. TI1e pppppp
           oner, even though he is no\V equipped \Vith an individual progra1n plan, is still no
           n1ore able than he ever \Vas to den1onstrate "responsible behavior" beyond not
           breaking the rules.
      Id. at 173.
              178. Frank Rundle, The Roots of Violence at Soledad, in TttE POLITICS OF PuN1stt-
      /\IE!'-rT: A CRITICAL ANAL YSis OF PRISONS IN A/\tERicA 163, 167 (Erik Olin \Vright ed.,)
      (1973).
              179. Id.
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      order to alleviate the numbing sense of deadness or non-being and to es-
      cape the torture of their own thoughts and despair." 180
           Similarly, Robert Slater recounted the "atmosphere of terror" that
      prevailed in San Quentin prison during the 1980s, when most of the
      prison's housing consisted of "lockup" or punitive segregation of some
      kind. 181 Slater observed the psychiatric consequences for "large numbers"
      of prisoners in their attempts "to cope with the psychological effects of
      terror as well as the debilitating effects of long-term lockup, excessive
      noise, poor sanitary conditions, sensory overload or deprivation ... lack of
      privacy, brutality, isolation, and pests." 182 His description of the symptoms
      suffered by prisoners in these units included:
            tension, irritability, sleeplessness, nightmares, inability to think
            clearly or to concentrate, and fear of impending loss of impulse
            control. Sometimes the anxiety is severe enough to be crippling. It
            interferes with sleep, concentration, work, and study and predis-
            poses prisoners to brief psychotic reactions, suicidal behavior and
            psychophysiological reactions. It causes misperceptions and over-
            reactions. It fuels the cycle of violence, leading to more violence
            and terror. 183
        Slater attributed these reactions primarily to the acute effects of the envi-
        ronment in which the prisoners were confined since, in his opinion, "[t]hese
        are individuals who do not experience much anxiety in the free community
        of lower security prisons and their anxiety, therefore, would usually be re-
        garded by psychiatrists as 'exogenous' or 'anxiety associated with the stress
    ... of day today living.'" 184 lndeed, he concluded that the main functimiof 11
        psychiatrist in environments like these was to "prevent the atmosphere of
        terror from breaking men down to the point where they are incapable of
        making rational decisions." 185

           180. Id.
           181. Robert G. Slater, Psychiatric Intervention in an Aonosphere of Terror, 7 Ar-.1. J.
     FoRENSIC PsvcH. 5, 6 (1986).
           182. Id. at 10.
           183. Id.
           184. See id.
           185. See id. A fonner cn1ployee of the California Departn1ent of Corrections, Slater
     'vas no prisoner "sy1npathizer" nor so1neone easily convinced about the authenticity of
     prison-related syndron1cs. See Robert G. Slater, Abuses of Psychiatry in a Correctional Set-
     ting, 7 AM. J. FoRENs1c Psvrn. 41 (1986). Jay Stuller also provided an early example of
     extrcine isolation leading to a prisoner breakdo\vn and the inability to n1ake rational
     decisions:
          In 1941 Henry Young, age 29, \Vent on trial in San Francisco for the murder of
          another Alcatraz convict, Rufus McCain. He expected a first-degree 1nurder con-
          viction. But his attorney put Alcatraz in the dock, clahning that repeated beatings
          by guards and solitary confine1nent had put Young into a "psychological coma,"
          \vhich tnade hin1 "legally unconscious" during the killing. FellO\V convicts, brought
          to the courthouse shackled, testified to the prison's systen1atic brutality. Ne\vspa-
          pers natio1nvide carried stories citing "the trial of Alcatraz." Young's attorney said
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     2.   Direct Studies of Solitary Confinement and Segregation
               Some of the effects of solitary confinement have been studied in re-
          search conducted in actual prison settings. A few of the studies have em-
          ployed experimental or quasi-experimental designs. For example, one early
          study used long-term federal prisoner volunteers to examine the effects of
          short-term solitary confinement. 186 Half of the prisoners were placed in sol-
          itary for four days, although one dropped out before the end of the experi-
          ment; the other half served as controls. 111e researchers found no
          deterioration of mental or psycho-motor functioning after the brief period
          of isolation, and speculated that self-selection bias might have influenced
          the results (i.e., those better able to tolerate isolation might have been
          more likely to volunteer). Despite the possible role of self-selection in min-
          imizing the measured effects, some psychological changes were identified in
          the isolated subjects, who showed significantly increased levels of anxiety
          and tended to be less "verbally productive" than the group of prisoners
          who had not been placed in solitary.
               Another such study evaluated the psychiatric consequences of sensory
          deprivation in a maximum security prison. 187 Experimental subjects were
          placed in "relative deprivation" for seven days and were then compared to
          a control group. While few physiological differences were found between
          experimental subjects and control prisoners, EEG levels declined for the
          isolated group. 111ese physiological differences correlated with apathetic,
          lethargic behavior, and the greater the social deprivation, the greater the
          withdrawal of the subject. 111e researchers concluded that, from a rehabili-
   ··· .. tatives(and p()int,JongJer1npris()11ers did not receive adequate sti111l1latio11.
          111ey also suggested that sensory-deprived inmates "cannot adjust to a sud-
          den release into free society because [their] mental and emotional mecha-
          nisms are adjusted to the deprivation circumstances," and that the inmates
          they studied could not "tolerate the myriad sensory input in normal envi-
          ronments with its pace, noise, confusion and instant decision-making." 188
          111e researchers argued that the consequences of such confinement might
          well extend beyond the period of incarceration since "anxiety, restlessness,
          sleeplessness and irritability become so great in the released ex-inmate that
          he may seek means to return to prison with its retarded input and routine
          existence." 189 Finally, they concluded that adequate sensory stimulation
          in closing argu111ent "It \Vas Alcatraz that killed McCain. It \Vas the cold, sadistic
          logic that so1ne n1en call penology that killed hint." The jury agreed, finding Young
          guilty only of involuntary inanslaughtcr.
     Stuller, supra note 54, at 88-90.
          186. Richard H. Walters, John E. Callagan & Albert F. Newman, Effect of Solitary
     Co11ji11e111e11t 011 Prisoners, 119 AM. J. PsYCH. 771 (1963).
          187. George Scott & Paul Gendreau, Psychiatric b11plicatio11s of Sensory Deprivation
     in a A1axi11uun Security Prison, 14 CAN. PSYCH. Ass'N. J. [LA REVUE DE L'AssocIATION
     DES PsYCHIATRES ou CANADA} 337 (1969).
          188. Id. at 341.
          189. Id.
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        should be introduced into maximum security prisons in the form of educa-
        tion, shop training, instruction in trades, and physical exercise programs,
        and that the lack of such programs was detrimental to the inmate's health
        and long-term rehabilitative potential.
              Several years later, one of the same researchers and his colleagues
        conducted another study on solitary confinement, this one comparing pris-
        oner volunteers in isolation for seven days to controls who were not iso-
        lated.190 After carefully screening 82 volunteers and rejecting any with
        medical, psychiatric, behavioral, or intelligence problems, they randomly
        assigned 20 "fit" volunteers to the isolated conditions. Isolated subjects
        were once again found to have lowered EEG frequencies, which the re-
        searchers felt might be related to "frustration and stress" produced by the
        deprived circumstances of their solitary confinement. 191 In a smaller fol-
        low-up study192 using carefully screened subjects, eight "controls" were
        compared to eight prisoners. who were placed in solitary confinement for
        ten days-"this being the longest time inmates usually remain in soli-
        tary."193 Although the researchers found no physiological evidence that
        this brief stay in solitary was any more stressful than the control conditions,
        fully half of the original subjects in solitary confinement, who had volun-
        teered for the study and been screened for fitness, quit and were replaced
        with new subjects by the end of the second day of the experiment. Surpris-
        ingly, the researchers concluded that solitary was not stressful for inmates
        and offered the opinion that the "quitters" may have been "constitution-
        ally" different from those who remained. 194
              Among other things, these studies illustrate the degree to which exper-
   · · ·iriieiifal ·research on solifai"yco1ifirienieiit is.Jilaguea· by sevei'a1 sigiiiifoa1it
        limitations. One significant problem is that most such research is based on
        periods of isolation that are vastly shorter (generally no more than 4-10
        days) than the periods typically experienced by prisoners placed in actual
        punitive segregation. The use of volunteer subjects also may compromise
        the applicability of experimental research to real-life solitary confinement.
        As noted earlier, self-selection may increase the probability that persons
        with relatively higher tolerance for isolation will participate. Also, because
        of the way in which real or perceived control serves as an important media-
                                                                                                          I
        tor of psychological reactions to stress, 195 the ill effects of solitary may be

         190. Paul Gendreau et al., Changes in EEG Alpha Frequency and Ei1oked Response
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     Latency During Solitary Confine111e11t, 79 J. ABNORI\'fAL Psvcn. 54 (1972).
                                                                                                          I
          191. Id. at 57.
          192. C.E.J. Ecclcstone et al., Solitary Confi11e111enl of Prisoners: An Assess111e11t of its    r
     Effects on ltunates' Personal Constructs and Adrenocortica{ Activity, 6 CAN. J. BEHAV. ScI.
     178 (1974).
          193. Id. at 179.
          194. Id. at 189.
          195. A sense of control can reduce subjective ratings of stress and threat and result in
     dra1natic changes in the \vays in \Vhich sy1npton1s are labeled. Judith Rodin, Aging and
     Health: Effects of the Sense of Control, 233 ScrnNCE 1271, 1273-74 (1986).
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            either re-labeled or minimized by subjects who, by virtue of their having
            chosen to participate and being able to decide whether or not to continue
            in the study, experience a measure of control that prisoners placed invol-
            untarily into segregated confinement do not have. 196 Despite their limita-
            tions, these studies do illustrate the degree to which brief exposure to
            isolation can produce increased anxiety, lowered verbal production, de-
            creased EEG levels that were correlated with apathetic behavior, and dis-
            comfort that even volunteers were unwilling to tolerate for short periods of
            time.
                 Although experimental research on solitary confinement is difficult to
            conduct, it has been supplemented by reasonably good clinical data about
            isolation effects in prison. For example, one early study collected observa-
            tional data on the effects of solitary from 21 isolated prisoners.1 97 TI1e au-
            thors observed three response patterns typical of prisoners placed in
            isolation: verbal aggression, physical destruction of surroundings, and the
            development of an inner fantasy world, including paranoid psychosis. In
            addition, they observed an overall reaction to solitary confinement that
                      196. An unpublished study that is son1etin1es cited in the literature on solitary confine-
               n1ent suffered fro1n a host of additional problen1s. See \Veinberg, supra note 115. TI1is study
               co1npared thirty-1\vo prisoners involuntarily sentenced to segregated housing due to discipli-
               nary infractions. 1\venty subjects-the expcrhnental group-\vere sent to solitary confine-
               n1ent for five days, \Vhere they \Vere exposed to 1narkedly reduced visual and auditory
               sti1nulation, including no reading 1naterials or radios, substantially reduced lighting, and
               prohibitions against conununicating \Vith staff and other prisoners. The re1naining l\velve
               ''control" subjects spent at least five days in segregation \Vhere they \Vere physically re-
              stricted to a solitary cell for the entire period but given access to reading 1naterials, radios,
 __ ___ ____ _ and __ t he __ _oppor tuni ty ___t o_ __ talk __ to___ other__ in n1 ates. ___ Al Ls ubj ects ___ \Vere__ assessed ___ on__ a __ _variety___ of_ __ _
              perceptual and cognitive tests, both before and after their tenns in segregated housing. No
              differences \Vere found bel\veen the hvo groups, or \Vithin groups con1paring scores fro1n
              before and after tin1e in solitary confine1nent and segregation. Ho\vever, these null findings
              \Vere co1npro1nised by nurnerous 1nethodological lin1itations, including the extre1nely short
              duration of the solitary confinc1nent itself, the sn1all sample size, lack of n1atched controls,
              and the fact that both solitary confinen1ent and ucontrol" subjects experienced special con-
               fine111ent as punislunent for institutional transgressions. In addition, all subjects \Vere con-
              fined to segregated housing for one or l\vo days prior to the pre-test, a\vaiting the
              disposition on their charges. TI1is fact alone confounded any n1eaningful interpretation of
              the co1nparisons bet\veen and \Vithin the groups since all subjects \Vere "contatninated" by
              their stay in solitary inunediately before the study began. Moreover, except for the partial
              sensory deprivation to \Vhich they \Vere exposed, the conditions under \Vhich experin1ental
              subjects \Vere confined did not differ significantly fro111 those of the controls. Both groups
              experienced significant restrictions in the nature of their confinen1ent or, as the author hhn-
              self put it, "both groups of subjects \Vere living in disco111fort for at least five days." id. at
              45. TI1e final significant problen1 \vith the study concerned \Vhat \Vas not n1easurcd. Aside
              fro111 the Rorschach test-ad1ninistercd to n1easure ego control-all of the other 1neasures
              \Vere of intellectual and perceptual skills. At the thnc this study \Vas conducted the Ror-
              schach \Vas notoriously difficult to score in a standardized fashion, and the experi1nenter's
              inexperience \Vith the test restricted the scope of potentially interesting psychological effects
              he atte1npted to n1easure. No objective or qualitative data \Vere collected regarding depresM
              sion, anxiety, self-injury, or any of the somatic illnesses that \Vould be expected to be associ-
              ated \vith the stress of isolation.
                     197. Bruno M. Connier & Paul J. Willian1s, Excessive Deprivation of Liberty, 11 CAN.
              Psvcn. Ass'N. J. 470 ( 1966).
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         they described as uncontrolled rage, including an increase in homicidal and
         suicidal impulses.
               Another study analyzed the effects of solitary confinement in case
         studies of prisoners who were held indefinitely in a Maine prison, many of
         whom had been given no reason for their isolation. 198 111e authors found
         that almost every prisoner in the isolation unit had allempted suicide, 199
         and that the prisoners often acted out in seemingly irrational ways such as
         smashing their heads against the concrete walls and destroying their beds
         and light fixtures. 200
               Hans Toch's large scale psychological study of prisoners "in crisis" in
         New York state correctional facilities included important observations
         about the effects of isolation.2° 1 After hundreds of in-depth interviews with
         such prisoners, he concluded that "isolation panic" was a serious problem
         among prisoners in solitary confinement. 202 Symptoms reported included
         rage, panic, loss of control, breakdowns, psychological regression, and a
         build-up of physiological and psychic tension that led to incidents of self-
         mutilation.203 Toch noted that although isolation panic could occur under
         other conditions of confinement, it was "most sharply prevalent in segrega-
         tion."204 Moreover, it marked an important dichotomy for prisoners: the
         "distinction between imprisonment, which is tolerable, and isolation, which
         is not. n205
                      During the same time period, 111omas Hilliard published the results of
                 his evaluation of several prisoners who were being kept in the Adjustment
                 Center at San Quentin. 206 He wrote that the solitary confinement produced
                 overwhelming tension and anxiety in the inmates for several reasons: the
. . ........... ''Cagiiig"iiiid.chaiiiirig ofllfo pi'isoilei's;me··a bseiice of meanfrigfUlexei'Cise,
                 activity, or other outlet through which to release frustration; the indetermi-
                 nacy of the terms; the absence of any program leading to release; and the
                 sense of possibly never being freed from such confinement. 111e prisoners
                 experienced a "pervasive sense of frustration and hopelessness," "deep
                 feelings of despair," and concerns that the psychological pain of their con-
                 finement might drive them "to extreme actions and desperate solutions.'>2°7
                 Hilliard concluded that conditions of confinement in the Adjustment
               198. Benjan1in ttttt Lux, Maine State Prison, supra note 73.
             199. Id. at 84. One nearly died fro111 loss of blood after cutting hin1self \Vith his broken
        light bulb, another s\vallo\ved glass, and a nu1nber of prisoners atlen1pted hanging the1n-
        selves. Several \Vere successful. Id.
             200, One of the prisoners offered this explanation for his extren1c behavior: "In such
        an environ1nent, it is nonnal to act abnonnal." Id. at 84.
               201. HANS Tocn 1 MosAIC OF DESPAIR: ttttttttBREAKDO\\'NS JN PRISONS (1992).
            202. Id. at 48.
            203. Id. at 49.
            204. Id. at 54.
            205. Id.
            206. Hilliard, supra note 72. Conditions in the Adjustinent Center \Vere described in
        Spain v. Procunier, 408 F. Supp. 534 (N.D. Cal. 1976).
            207. Hilliard, supra note 72, at 77-80.
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          Center were "overwhelmingly negative and antagonistic to effective reha-
          bilitation," and that they produced "hostility, resentment and
          resistance. ,, 208
               One small-scale study reported on four prisoners in a Canadian facility
          who were sentenced to solitary confinement for disruptive behavior. 111e
          study illustrated not only the potential psychiatric consequences of isola-
          tion but also the way that the researchers' orientation could influence inter-
          pretations of seemingly objective data. 209 The authors of this study, who
          became professionally associated with the promotion of isolation as a tech-
          nique for producing positive behavioral change,210 reported a variety of

                   208. Id. at 81.
                   209. Suedfeld & Roy, supra note 93.
                   210. See, e.g.• Peter Suedfeld, The Benefits of Boredon1: Sensory Deprivation Reconsid-
             ered, 63 A}.ffiRICAN Sc1ENTIST 60 (1975). Indeed, Professor Suedfeld has touted the salutary,
             therapeutic benefits of "reduced cnvironn1ental stin1ulation" (RES) for a re1narkablc vari-
             ety of behavioral problems and psychological ills. See generally Peter Suedfeld, Tile Re-
             stricted E11viro11111e11tal Stin1ulatio11 Technique in the Modification of 1lddictive Behaviors:
             Through the Centuries to Frontiers for the Eighties, 2 BULL. Soc. PsYCHOL. IN Aoo1cr1VE
             BEIIAV. 231 (1983)(advocating the therapeutic use of RES for the treatment of a full range
             of addictive behaviors, including alcoholis1n); Darylynn Rank & Peter Sucdfcld, Positive
             Reactions of Alcoholic Men to Sensory Deprivation, 13 INT. J. Aoo1cr10Ns 807 (1978)(alco-
             holis1n); Peter Suedfeld & Frederick F. Ikard, Use of Sensory Deprivation in Facilitating the
             Reduction of Cigarette S111oki11g, 42 J. CoNsULTJNG AND CLIN. PsYCHOL. 888 (1974)(s1nok-
             ing cessation); Alistair \\'allbau1n et al., Progressive Muscle Relaxation and Restricted E11vi-
             ro11111e11tal Sti111ulatio11 Therapy for Chronic Tension lleadache: A Pilot Study, 38 INT. J.
             PsYcHOSOl\fATrcs 33 (1991)(alleviating tension headaches); Peter Suedfeld et al., Reduction
             of Post-ECT Me111ory Co111p/aints 1'hrough Brief, Partial Restricted E11viro11111e11tal Sti111ula-
             tio11(REST),13 PROGRESS IN NEURo-PsYCHOPHARM. & BIOL. PSYCH. 693 (1989)(reducing
 _ _________ coinplaints- about- n1c1nory-- loss .. by--patients __\vho-have .. undergone. electroshock ..treatinents ):-
             Peter Sucdfeld & J. Christopher Clarke, Specific Food Aversion Acquired During Restricted
             E11viro11111ental Stilnulation, 11 J. APPLIED Soc. PsYcttoL. 538 (1981){facilitating dieting);
             Peter Suedfeld et al., E11ha11ce111e11t of Scientific Creativity by Flotation REST (Restricted
             E11viro11111e11tal Sti111ulatio11 Technique), 7 J. ENv'TL. PsYCIIOL. 219 (1987){enhancing scien-
             tific creativity); Peter Suedfeld & Geraldine Sclnvartz, Restricted E11viro11111e11tal Stbnulation
             Therapy (REST) as a Treatn1e11t for Autistic Children, 4 J. DEVELOP. & BEHAV. PEDIATRICS
             196 (1983)(curing autism in children); Peter Suedfeld & Robert Hare, Sensory Deprivation
             in the Treat111e11t of Snake Phobia: Behavioral, Self-Report, and Physiological Effects, 8
             BEHAV. THERAPY 240 (1977)(treating snake phobias in adults). Chuni Roy, Suedfeld's co-
             author in their initial study on the effects of solitary confinen1ent \Vith prisoners, also advo-
             cated the use of Suedfeld's version of RES as an effective therapeutic rc1nedy for s111oking,
             hypertension, and general psychoson1atic disorders: "111e author hopes that tnedical practi-
             tioners, psychiatrists and others \Vill give son1e serious attention to this unique therapeutic
             tool." Chuni Roy, 1'he Clinical Application of Restricted E11viro11111e11tal Stiuutlation 111erapy
             (REST): Observations of a Psychiatrist, 159 BRIT. J. PsYcH. 592, 593 (1991). However, the
             kind of RES advocated in these articles, consisting of "a flotation tank, various relaxation
             tapes, and a REST cha1nber for 24 hours," bears virtually no relationship to, and, indeed,
             seen1s ahnost the antithesis of, the conditions that prevail in solitary confinen1ent or puni-
             tive segregation units in actual prisons. Id. at 592. In his later \Vriting, ho\vever, Sucdfeld has
             begun to blur the distinction bet\veen the potentially therapeutic use of certain forn1s of
             voluntary, carefully controlled fonns of isolation \vith the involuntary, punitive solitary con-
             fine1nent that is practiced in prison. Indeed, he has appeared to defend solitary confinen1ent
             in n1axi1nun1 security prisons as if it \\'ere therapeutic RES, and he has argued, \vithout
             benefit of supporting data, that "solitary confine111ent has been vie\vcd by 1nany prisoners as
             a pleasant and desirable tin1e-out fro1n the constant pressures and over-sthnulation of the
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                       disturbing reactions by each of the isolated prisoners. 111e first prisoner,
                       placed in solitary confinement for a month, became agitated, banging on
                       his door by the fourth day. With no relief, the prisoner's behavior subsided
                       and he became calm, quiet, and uninterested in his surronndings; further-
                       more, he began "muttering in an incoherent way." 211 After his thirty days
                       of isolation, staff reported him to be more cooperative and pleasant, yet a
                       few months later he underwent six treatments of electroconvulsive shock
                       therapy for severe depression. A second prisoner also became extremely
                       agitated and verbally abusive during his 30-day stay. He was given anti-
                       psychotic medication four times a day with little effect. This prisoner also
                       became "calm, but incoherent." 212 He hallucinated sporadically, was un-
                       steady on his feet, and slept heavily, even though no psychotic symptoms
                       had been noted prior to his experience in solitary. A third prisoner, sen-
                       tenced to a week of solitary, displayed inappropriate behavior by the
                       fourth day, including giggling, staring into space for long periods, loss of
                       appetite, and heavy sleeping. 213 Remarkably, the authors concluded after
                       these accounts that the prisoners had benefited from their experience in
                       solitary, based on nurses' reports of behavior change. Even those reports
                       were questioned, however, when one of the authors reported in a separate
                       paper that some security staff had disagreed with the extent of improve-
                       ment reported by the nurses. 214                         ·

                            In a later inquiry, the same researcher recruited prisoners from three
                      North American prisons for two related studies.215 111e fast study focused
                       on 12 prisoners who had previously been in solitary for between five days
                       to two and a half years. 111e qualitative data showed that three-quarters of
· · · ··· ·· ········ thesubjectlrsuffeted fnmrapatlryand ·deptession;tw<Ftlrirns·c:-omplained of
                       boredom, and half reported time distortions while in solitary. These com-
                      plaints apparently were not pre-existing but began with the prisoners' isola-
                       tion. In addition, fantasy and imagery increased, as did physical
                      deterioration for a quarter of the respondents. Nonetheless, the researchers
                      reported no evidence of adverse effects from isolation and noted that the
                      "major complaints of the prisoners did not relate to social isolation, nor to
                      a general lack of stimulation," but rather to such factors as physical beat-
                      ings and use of tear gas and humiliation by the guards. 216 Jn a second study,
                      the same researchers compared previously isolated inmates to those who

        regular environn1ent." Suedfeld, Beyond Se11ti1ne11tality, supra note 91, at 51 (internal cita-
        tions 01nittcd).
             211. Suedfeld & Roy, Social Isolation, supra note 93, at 92.
             212. Id. at 94.
             213. Id. at 95. TI1e researchers failed to describe the \Veek in isolation for the fourth
        prisoner, a schizophrenic, although they did clahn that his behavior in1proved front subse-
        quent visits to solitary.
             214. Peter Suedfeld, Solitary Co11finen1e11t in the Correctional Setang: Goals, Problen1s,
        and Suggestion, 20 CORRECTIVE AND Soc. PSYCH. 10, 17 (1974).
             215. Suedfeld et al., Reactions, supra note 95.
             216. ld. at 317.
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      had never been in isolation. Subjects were interviewed and took several
      assessment tests in which ratings of personality, affect, intelligence, and cre-
      ativity were obtained. The prisoners varied widely in terms of their lengths
      of stay (from several days to many months) and the number of previous
      times in solitary. Compared to a group of prisoners that had never been in
      isolation, those in solitary differed significantly on only a few factors, in-
      cluding measures of subjective stress. However, the assessment tests did
      show that longer time spent in solitary confinement was associated with a
      series of psychological reactions consistent with PTSD ,217 including suspi-
      cion, distrust, forceful and self-seeking behavior, inhibition, anxiety, sub-
      missiveness, depression, lack of self-insight, and higher levels of hostility. 218
           In what was the most elaborate psychiatric assessment of prisoners in
      solitary confinement to date, Stuart Grassian reported on 15 prisoners kept
      in isolation for varying amounts of time at a Massachusetts prison.2 19 He
      found that prisoners were initially reluctant to speak candidly about their
      experiences in solitary but, after considerable reassurance, they described a
      series of psychiatric symptoms that were "strikingly consistent." 220 Specifi-
      cally, Grassian observed that two-thirds of the isolated prisoners had be-
      come hypersensitive to external stimuli and about the same number
      experienced massive free floating anxiety. In addition, about half of the
      prisoners suffered from perceptual disturbances that for some included hal-
      lucinations and perceptual illusions. Half complained of cognitive dysfunc-
      tion such as confused states, difficulty concentrating, and memory lapses.
     About a third of the prisoners Grassian examined also described thought
      disturbances such as paranoia, aggressive fantasies (particularly aimed at
     -gliaYds}am:l-lmpulse-control·problems:Three··out--ofthe-fifteenhadcut
      themselves in suicide attempts while in isolation. In all but a very few in-
     stances the prisoners reported never having experienced any of these psy-
      chiatric reactions until being placed in solitary confinement, and all
     reported that their symptoms subsided shortly after being given a brief res-
     pite from isolation which took place, by law, every 15 days. Grassian con-
     cluded that "rigidly imposed solitary confinement may have substantial
     psychopathological effects and that these effects may form a clinically dis-
     tinguishable syndrome." 221 He also noted that: "[S]olitary confinement

          217. See, e.g., I-Ioro\vitz, Post-tratunatic Stress, supra note 155.
          218. Id.
          219. Grassian, Psychopatlzological Effects, supra note 72, at 1451. Grassian reported
     that the prisoners \Vere kept in 1.8 111. x 2.7 n1. \Vindo,vless cells that \Vere sparsely furnished
     \Vith a toilet and sink, a bunk, a s1nall fixed steel table, and a stool. 1l1e cells had double
     doors, the outer one solid steel except for a s111all Plexiglas \Vindo\V, 111e length of stay at
     time of assessn1ent ranged fro111 11 days to 10 111onths, \Vith t\vo months as the 1nedian.
          220. Id. at 1452.
          221. Id. at 1453. Contpare Barte's analysis of the "psychopathogenic" effects of solitary
     confinc1nent in French prisons and his conclusion that prisoners placed there for extended
     periods of ti1ne could beco1ne schizophrenic instead of receptive to social rehabilitation. lie
     argued that the practice \Vas unjustifiable, counterproductive, and "a denial of the bonds
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       cannot be viewed as a single entity. TI1e effects of solitary confinement situ-
       ations vary substantially with the rigidity of the sensory and social isolation
       imposed. "222
             In another clinical study, Richard Korn evaluated five female prison-
       ers housed in the High Security Unit at Lexington. TI1e women were seen
       on two occasions, 108 days apart. The Lexington unit was a "high tech"
       prison-within-a-prison located in the basement of an older federal facil-
       ity.223 On his first visit, Korn found that the prisoners suffered from a
       number of psychological and physical ailments. All reported feelings of
       chronic, suppressed rage and low-level to severe depression. Three of the
       five reported visual hallucinations, which Korn attributed to the monoto-
       nous visual environment, and the same number complained of an inability


       that unite humankind." Henri N. Barte, L'Isole111ent Carceral, 28 PERSPECnVEs PsvcttIA-
       TRIQUES 252 (1989). Other social scientific and clinical literature published in international
      journals has reached rnany of the san1e conclusions. See, e.g., Reta Volkart) Einzelhaft: Eine
      Literaturubersicht [Solitary Confinen1ent: A Literature Survey], 42 Psvc110LoGIE - Scm\'E-                                                      I
                                                                                                                                                      I
       IZERISCHE ZEITSCHRIFr FUR PSYCHOLOGIE UND IRHE AN\VENDUNGEN 1 (1983) (revie\Ving
      the en1pirical and theoretical literature on the negative effects of solitary confine1nent);
      Reta Volkart et al., Eine Kontrolfierte Untersuchung uber Psychopafhologische Effekte der
      Einzelltaft [A Controlled Investigation on Psychopathologica/ Effects of Solitary Confi11e-
      1ne11tj, 42 PSYCHOLOGIE - Sctt\VEIZERISCHE ZEITISCHRIFT FUR PsYCHOLOGIE UND IRHE
      AN\VENDUNGEN 25 (1983) (concluding that \Vhcn prisoners in "nonnal" conditions of con-
      finement \Vere con1parcd to those in solitary confinement, the latter \Vere found to display                                                    \
      significantly n1ore psychopathological sy1npton1s, including heightened feelings of anxiety,                                                    l
      emotional hypersensitivity, ideas of persecution, and disordered thinking); Reto Volkart,
      Ein z_e/haft___aaaa___Baaaalls.<!fa__k (() r_ /tt f ___ f'_syr;_hio_trfsclu:_ _ HospitaIisieru ng _[So/itar-J'--- Confine111e111--- as -a- --
   - -Risk/or PSychiatric Hospita/izatio11], 16 PsvcmATRIA CuNJCA 365 (1983) (finding that pris-
      oners \Vho had been kept in solitary confine1nent \Vere over-represented an1ongst prisoners
      hospitalized in a psychiatric clinic); Bogusla\v \Valigora, FuNKCJONO\VANIE CzLO\VIEKA W
      W ARUNKACH lZOLACJI WIEZIENNEJ (HO\\' MEN FUNCTION IN CoNDlTIONS OF PENITEN-
      TIARY IsoLATION] (Seria Psychologia I Pedagogika No. 34, 1974) (so-called "pejorative iso-
      lation" of the sort that occurs in prison strengthens "the asocial features in the criininal's
      personality thus beco1ning an essential cause of difficulties and failures in the process of his
      resocialization"). See also Ida Koch, Mental and Social Sequelae of Isolation: The Evidence
      of Deprii1atio11 Experhnents and of Pretrial Detention in Detunark, in THE EXPANSION OF
      EuROPEAN PRISON Svsrnl\1s 1 \VoRKTNG PAPERS IN EUROPEAN CRI!\llNOLOGY No. 7 119
      (Bill Rolston & Mike Ton1linson eds., 1986). Koch found evidence of "acute isolation syn-
      dro111e" among detainees that occurred after only a fe\v days in isolation and included
      "problems of concentration, restlessness, failure of 1ne1nory, sleeping problen1s and im-
      paired sense of time and ability to follow the rhythms of day and night." Id. at 124. If the
      isolated confinen1ent persisted "a fe\v \\'eeks" or 1nore, there 'vas the possibility that detain·
      ees 'votdd develop "chronic isolation syndro1ne," including intensified difficulties 'vith n1en1-
      ory and concentration, "inexplicable fatigue," a "distinct en1otional !ability" that can include
      "fits of rage," hallucinations, and the "extren1eiy conunon" belief a1nong isolated in1nates
      that "they have gone or are going niad." Id. at 125.
            222. Grassian, Psychopathological Effects, supra note 72, at 1454.
            223. Korn, note 65. At the tin1e of evaluation, the prisoners occupied cells that '"ere
      dark, sn1all, and uniforn1 in color, and all decorations 'vere forbidden. 111e prisoners \\'ere
      allo\ved to use con1n1on recreation and yard areas, although those places 'vere ntonitored by
      video cameras, as \Vere the \Vo111en's sho,ver stalls. To avoid the constant n1onitoring that
      took place in the con1n1on areas, the \\'on1en typically re1nained in their individual cells.
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        to concentrate and sustain attention. Prisoners reported physical manifesta-
        tions of extreme stress including weight loss, lack of appetite, dizziness,
        heart palpitations, and the aggravation of pre-existing medical problems.
        On his follow-up visit, Korn found that the physical and mental condition
        of all the women had deteriorated to a dangerous level that he believed
        might be life-threatening. One prisoner was hospitalized for severe dehy-
        dration caused by the inability to keep down food or liquids. Among the
        women, insomnia, anxiety, fears of loss of impulse-control, intrusive
        thoughts about prison traumas, obsessive ideation, and increased hallucina-
        tions were reported. 224
             Stanley Brodsky and Forrest Scogin studied inmates placed in protec-
        tive custody units (PC), where they experienced varying degrees of social
        isolation. Among PC inmates who were confined to a single cell for long
        periods, who had their activities restricted, and whose psychological stimu-
        lation was significantly decreased, the researchers found high levels of psy-
        chological stress. Specifically, fully 86% of the prisoners reported feeling
        moderate to severe anger, 79% expressed negative physical symptoms, and
        none reported any positive feelings. On the other hand, PC prisoners who
        lived in spacious two-man cells and were allowed program participation
        had no complaints and were actually psychologically better off than those
       in the general population. The researchers suggested that PC status itself
       was not responsible for negative psychological effects but rather the actual
       living conditions, such as social isolation and enforced idleness, that are
       often associated with that status. 225
             More recently, a group of German researchers reported on the long-
  -------·iernrps)•Clriatricconsequencesof·politicalimprisonment that·included-·solic
        tary confinement in East German prison camps. 226 TI1e criterion used to
       select the sample was "a psychiatric disorder assumed to be due to a period
       of political imprisonment of at least six weeks." 227 Despite the fact that
       seventy-one percent of the ex-prisoners had "no mental disturbances of any
       kind before imprisonment," 228 numerous psychiatric symptoms were re-
       ported after they were released, including "inner restlessness, irritability,
       brooding, feelings of weariness, insomnia, and trembling. " 229 In the opinion
       of the researchers, all of these patients suffered from a mental disturbance
       "characterized by symptoms of depression and anxiety accompanied by
       vegetative complaints and increased arousal." 230 'flwy concluded further

              224. Id.
              225. Stanley L. Brodsky & Forrest R. Scogin, bunates in Protective Custody: First Data
      011 E111otio11a/ Effects, I FoRENs1c REP. 267 (1988).
              226. Michael Bauer et al., LLLLLLTenn 1\1ental Sequelae of Political b11priso11111ent in
      l!.,'ast Gennany, 181 J. NERVOUS & MENTAL DISEASE 257 (1993). l11e authors reported that
      93% of the patients had spent an average of 74.2 days in solitary confine1nent. Id. at 258.
              227. Id.
              228. Id.
              229. Id.
              230. Id. at 260.
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           that the psychiatric disorders diagnosed in the study were "due mainly to
           long-term stress and particularly to imprisonment" and not to any adjust-
           ment problems that may have occurred afterwards." 231
                 Finally, Haney has reported on research conducted with prisoners in
           Pelican Bay, California's "state-of-the-art" supermax prison devoted en-
           tirely to the segregated confinement of prisoners who had committed seri-
           ous disciplinary infractions or were suspected of prison gang membership
           or affiliation.2 32 Tiiis study found extraordinarily high rates of symptoms of
           psychological trauma among prisoners confined in these units. More than
           four out of five of those evaluated suffered from feelings of anxiety and
           nervousness, headaches, troubled sleep, and lethargy or chronic tiredness,
           and over half complained of nightmares, heart palpitations, and fear of im-
           pending nervous breakdowns. In addition, equally high numbers reported
           specific psychopathological effects of social isolation. Tiiat is, more than
           four out of five solitary confinement prisoners suffered from ruminations,
           confused thought processes, an over-sensitivity to stimuli, irrational anger,
           and social withdrawal. In addition, well over half reported violent fantasies,
           emotional flatness, mood swings, chronic depression, and feelings of over-
           all deterioration, nearly half suffered from hallucinations and perceptual
           distortions, and a quarter experienced suicidal ideation.2 33

                         231. Id. at 261. 1\vo factors lhnit the direct relevance of this study to the present discus-
                   sion. First, and n1ost iinportant, these subjects \Vere selected on the basis of their psychiatric
                   sy1npton1atology. 111erefore, the data do not pern1it generalizations about the incident rates
                   of these disorders a1nong all prisoners subjected to the san1c conditions. 1l1ey do under-
                   score, ho\vevcr, the extre1ne and long-tcnn psychiatric consequences that such trau1natic
__________________ experiences-can- have-On-prisoners-and- provide-so1ne--insight-into--the-patterns-of- psychiatric----
                   disorders that appear to be caused by this kind of confine1nent. Second, in addition to soli-
                   tary confine1nent, the prisoners in the Gennan study \Vere subjected to son1e conditions that
                   are not ordinarily iinposed upon prisoners in correctional institutions, such as repeated in-
                   terrogations. In fact, \VC have 01nitted discussion of several other studies of long-tenn psy-
                   chiatric proble1ns suffered by prisoners of \Var \vho experienced a variety of brutal
                   conditions, including solitary confinen1ent, because of the likelihood that the other dhnen-
                   sions of their n1istreahnent played a significant role in the resulting traun1a. See, e.g., 1-lar-
                   vcy D. Strass1nan et al., A l'risoner oflVar Sy11dro1ne: Apathy as a Reaction to Severe Stress,
                   112 Ar-.t. J. PsYctt. 998 (1956); Patricia B. Sutker et al., Cognitive Deficits and Psychopathol-
                   ogy an1011g Fonner Prisoners of lVar and Co111bat Veterans of the Korean Conflict, 148 Al'.1. J.
                   PsYcH. 67 (l991). On the other hand, the frequency \Vith \Vhich solitary confine1nent is used
                   as a part of a range of brutalizing conditions speaks, at least indirectly, to its hannful effects.
                        232. Haney, l11fa111ous Ptutislunent, supra note 12; Haney, supra note 78. Unlike the
                   Gennan study, this research \Vas conducted \Vith a randon1 sa111ple of prisoners, ensuring
                   their representativeness and pennitting the results to be generalized to the entire popula-
                   tion in the supennax prison of prisoners.
                         233. See a/so, Whittaker, supra note 152, at 273 (noting that solitary confine1nent
                   "leads the person to fantasize and daydrea111. Logical and coherent thinking bccon1es in1pos-
                   siblc. 111e person beco1nes anxious, angry, and depressed."). TI1ese results are consistent
                   \Vith studies of other populations exposed to long·tenn solitary confinement. For exa1nple,
                   one study of concentration ca111p survivors identified three forn1s of psychic disturbance that
                   rcse1nbled the pattern of co1nplaints voiced by a nun1ber of the prisoners Haney inter-
                   vie\ved: resignation and despair (including depression and en1otional flatness), apathy and
                   inhibition (including lethargy and feelings of deterioration), and aggressive irritability (in-
                   cluding anger and einotional instability). Only slightly 1nore than one concentration can1p
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             G.   The Secondary Effects of Solitary Co11fi11eme11t in Prisons 234

          Other studies have linked isolated confinement in prison to various
    forms of stress-related, dysfunctional, and destructive behavior. For exam-
    ple, one researcher found that prisoners held in "protective" custody units
    in a Michigan prison had the highest levels of sick calls in the prison. He
    suggested that these sick calls might be related to the higher levels of stress
    that the prisoners experienced. 235 Another study looked at the background
    characteristics of prisoners transferred to a mental hospital setting and
    found that, among other things, a disproportionate number of them had
    lived in protective custody or other forms of restricted housing prior to
    transfer. 236 The author of this study acknowledged that il was impossible to
    determine whether the specialized conditions of confinement caused the
    mental illness or whether prison staff steered the mentally ill toward such
    special units. 237
         An analysis of the 902 self-mutilation incidents in the North Carolina
    Department of Corrections occurring between 1958 and 1966 revealed that
    nearly half occurred in segregation units. 238 Similarly, a Virginia researcher
    found that 51 % of the prison self-mutilation incidents she examined over
    the preceding year had taken place in isolation units. 239 A nationwide sur-
    vey found that "isolation" was one of the key correlates of jail suicides and
    that this correlate had remained stable between 1979 and 1986. 240 More
    recently, another study concluded that violence towards self and towards
    staff were both significantly more likely when the violator was alone and
    living in disciplinary or restricted movement housing. 241

    survivor in ten \Vas relatively free of sy1npton1s. In addition, 1nany of the survivors \Vere
    in1paire<l in their interpersonal behavior, reporting feelings of n1istrust, isolation, and para-
    noia. PAUL MATUSSEK, lllllllllllllIN CONCENTRATION CAll.1PS AND ITS CONSEQUENCES
     (1975).
         234. \Ve define a "secondary" effect as so1nething that appears to be a consequence of
    the prhnary psychological effects of solitary confine111ent, including subsequent reactive and
    dysfunctional behavior, both at an individual (e.g., suicide and violence) and collective (e.g.,
    riots) level. \Ve have 01nitted discussion of 'vhat 111ight be tenned "tertiary" effects, that is,
    the iinpact of solitary confine1nent on those persons 'vho are related to and interact 'vith the
    persons confined therein.
         235. Ernest Otto Moore, A Prison Environ1nent: Its Effect on Health Care Utilization
    (1980) (unpublished dissertation, University of Michigan (Ann Arbor)) (on file with the
    University of Michigan Library).
         236. K. Anthony Ed\vards, Son1e Characteristics of l11111ates Transferred fronz Prison to
    a State Mental Hospital, 6 BmtAV. Set. & LAW 131 (1988).
         237. Id. at 136.
         238. Ehner H. Johnson, Felon llllllllllllllllllll Correlate of Stress in Prison, in JAIL
    HousE BwEs 237, 269 (Bruce L. Danto ed., 1973).
         239. Jones, supra note 104, at 290.
         240. Lindsay M. Hayes, National Study of Jail Suicides: Seven Years Later, 60 PsYcIJ. Q,
    7, 23 (1989).
         241. Pa1nela Steinke, Using Situational Factors to Predict Types of I'rison l'iolence, 17 J.
    OFFENDER REHAB. 119 (1991).
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             Howard Bidna evaluated the effects of intensified security and control
       measures implemented throughout the California prison system in re-
       sponse to what prison officials characterized as an "intolerable violence
       problem" that plagued state correctional institutions in the early 1970s.242
       He found that while the overall rate of stabbings in the prison system de-
       creased, there was no significant effect on fatal stabbings or assaults by
       prisoners on staff. In addition, stabbings appeared to have "shifted" from
       the general population to security housing units, where the rate of stab-
       bings rose significantly in the wake of increased coercion. Bidna hypothe-
       sized that this increase in violence might be accounted for by "the impact
       of crowding on aggressive tendencies, the lack of both mental and physical
       exercise in security units, the attachment of the violent label, and possible
       changing characteristics of the inmate population" in the units them-
       selves.2'13 He concluded that "the imposition of tighter security measures,
       of the type inaugurated in California, is not likely to solve the problem of
       prison violence. " 244
             Frank Porporino analyzed extensive incidence report data collected
       over a five year period in the Canadian prison system. 245 He found that
      while only about 5% of the prison population was held in "punitive dissoci-
       ation" (defined as confinement with limitation of privileges and close se-
      curity supervision), 28.6% of self-direeted violence and 29.6% of property
       damage incidents occurred in these housing units.246 Overall, 14.3% of se-
       curity incidents occurred in such restricted housing. Porporino concluded
      that "[e]fforts to maintain order and control through more restrictive secur-
      ity can attain only limited success in curbing the incidence of prison vio-
     --leffce'' m!Cl tlfaT; iii exfrelifo cases, · · ''sffcn-w1easffres-mayi11cteasetl1e
      motivation to engage in violence or prod the ingenuity of inmates and re-
      sult in more extreme violence. "247 The fact that self-directed violence and
      property damage were more likely to occur in segregation units where limi-
       tations of privileges and security restrictions were greatest led him to spec-
      ulate that "as prison conditions become more taxing, those individuals with

           242. Bidna, Effects of Increased Security, supra note 84, at 33.
           243. Id. at 44.
           244. Id. at 45. Kevin \\'right studied the interaction bct\veen prisoner characteristics
      and prison environ1nents and also concluded that heightened controls n1ay adversely affect
      violence-prone in1nates:
           hunates \vho are perceived as potentiaHy violent or \Vho engage in violence are
          rcn1oved fro1n less secure settings and placed in 1nore structured settings \Vith less
          freedo111. It is possible that this practice co1npounds the proble1n. If these individu-
          als \Vere given greater freedo1n and opportunities to substantiate their self \\'Orth
          and n1anhood, then violence 1night be reduced.
      Kevin \Vright, 111e Violent and Victi111ized in the 1\1a/e Prison, 16 J. OFFENDER REHAH. 1, 24
      (1991).
        245. Frank Porporino, A1anaging Violent Individuals in Correctional Settings, l J. IN-
     TERPERs. \IJOLENCE 213 (1986).
         246. Id. at 216.
        247. Id. at 218.
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     the poorest coping skills may be particularly likely to resort to a pattern of
     impulsive and self-defeating violence. "248
          In addition to prompting individual aggressive responses, severe con-
     ditions of confinement have been related to collective prison violence. For
     example, one social scientist who analyzed the 1980 New Mexico riot (that
     began among prisoners who had been housed in punitive segregation) con-
     cluded that it was the result of a disintegration of social organization that
     had occurred during the preceding five years:
          During the 1970's, the State Penitentiary changed from a rela-
          tively benign and well-run institution, to one that was harsh, abu-
          sive, painfully boring, and without the 'regulatory mechanisms'
          that had been in place in the early 1970's. With few programs or
          work assignments available, inmates remained confined to their
          living units with little to do or look forward to. Inmates became
          increasingly hostile not only toward prison officials and guards,
          but also toward one another. 249
     111e harsh, abusive, and painfully boring conditions in the New Mexico
     prison resemble precisely the atmosphere that prisoners report prevails in
     many supermax prisons and segregation units. A similar pattern of increas-
     ing, widespread hostility toward staff and other inmates may result.
           Peter Kratcoski's study of incident reports from two U.S. prisons
     found that the highest percentages of assaults on guards occurred in the
     detention/high security housing units.250 Seventy-one percent of the total
     number of assaults on staff in the federal institution he studied took place
- -itLthe-detention--unit(which housed lessthan10% oftheprisoners),and
     35% of such assaults in the state facility occurred in the high security
     unit. 251 111ese disproportions were made even more significant by the fact
     that restrictions in the units reduced prisoner access to staff. Kratcoski con-
     cluded that, despite the increased security measures that disciplinary or iso-
     lation units provided, the corresponding restrictions and deprivations
     imposed on prisoners helped to account for the higher violence rates:
         [I]f prisoners with few privileges are denied them, a spontaneous
         angry response, caused by frustration, is likely to result. Such ac-
         tivities as access to medical care when daily rounds are conducted
         or reception or posting of mail may be viewed with great impor-
         tance by prisoners and denial of these services can result in angry

         248. Id. at 219.
         249. Bert Useem, Disorganization and the Ne1v 1\1exico Prison Riot of 1980, 50 A!'.1.
    Soc10L. REV. 677, 685 (1985). See also BERT UsEEM AND PETER Kn..·fBALL, STATES OF
    S1EoE: U.S. PRISON R10Ts 1971-1986 (1989) (offering case studies of prison riots in five
    states).
         250. Peter Kratcoski, The ln1p/ications of Research Explaining Prison Violence and Dis-
    rupaon, 52 FED. PROBATION 27, 28 (1988).
         251. Id. at 28.
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               retaliations. Life in prison is so sterile, and the privileges enjoyed
               so few, that any interference with the privileges can trigger an
               outburst. 252
               Numerous studies have underscored the importance of staff attitudes
          and behavior on prisoners. 111is research has direct implications for solitary
          confinement units, where staff members tend to become especially harsh
          and rigid in their treatment of inmates. 11rns, one study found that aliena-
          tion between staff and prisoners was an important component in prison
          disturbances. 253 Other researchers attributed reduced levels of violence at
          an English prison to the lack of tension and good communication between
          staff and inmates. 254 To be sure, guards and prisoners arc immersed in a
          tight dynamic in any maximum security setting, and their attitudes and be-
          haviors are mutually influenced and reinforced by one another. Supermax
          and solitary confinement likely intensify the process because prisoners
          have so few other stimuli on which to focus and guards for the most part
          have only negative sanctions to impose. But as one prison commentator
          observed, the guards' "concentration upon control is likely to stimulate
          resistance" among prisoners. 255 Similarly, a former warden noted that "if
          prison management provides an overly rigid and authoritarian style of
          management-that is, if it provides a target to be knocked down-prison-
          ers may resort to violence as a means of saving face, as a means of showing
          that they can resist the regime." 256
               Although no research of which we are aware has focused specifically
          on the state of mind of guards who work in solitary confinement or
  __ ____ supermax_uni ts, there_ is_reasmi_tobelieve lhalJheleveLof Jem: and imcerc
          tainty is higher among them than guards working in the general prison pop-
          ulation. Preconceptions that are based largely on the reputation of the
          prisoners in supermax and solitary confinement are no doubt exacerbated
          by the stressful conditions to which both guard and prisoner groups are
          exposed. Indeed, Lucien Lombardo has concluded that much prison vio-
          lence is the result of actions that both guards and prisoners take in re-
          sponse to stereotypical images they hold of each other. When both groups
          believe the other to be prone to violence, individuals in those groups act
          accordingly and often preemptively. 257 Since solitary confinement units are
          often permeated by an atmosphere of repression, domination, and control,

            252. Id. at 32.
            253. E.C. Zecn1an, A Afodel for Prison Disturbances, 17 BRIT. J. CRIJ\HNOL. 251, 252
        (1977).
              254. GUNN, J. ET AL., PSYCHIATRIC ASPECTS OF lJ\IPRISONMENT (1978).
             255. Michael Jenkins, Control Prob/en1s in Dispersals, h1 PROBLEJ\ts OF LoNGTERJ\1 IJ\1-
        PRISON,!ENT 261, 277 (Anthony E. Bottoms & Roy Light eds., 1987).
             256. David J. Cooke, Containing Violent Prisoners: r1n 1l11alysis of the Barlinne Special
        Unit, 29 Bmr. J. CRIMINOL. 129, 139 (1989).
              257. LUCIEN X. Lo:o.IBARDO, GUARDS IJ\IPRISONED: CORRECTIONAL OFFICERS AT
        \VOHK (1989).
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     a perverse dynamic may be created in which prisoners come to believe that
     they are as dangerous as their treatment seems to imply. Guards, also
     presuming great danger, overreact to transgressions in ways that escalate
     tension and violence. 258
          In sum, studies of the secondary effects of prison isolation and segre-
     gation indicate that such confinement is associated with increases in psychi-
     atric complaints, self-mutilation, suicide, and property damage. 111ese
     conditions also increase prisoner frustration to levels that may produce vio-
     lent outbursts and assaults against staff, conditions similar to those created
     in isolation units have been identified as precipitating causes in prison riots.
     Thus, solitary confinement and punitive segregation may be responsible for
     escalating dangerous tensions between prisoners and guards that culminate
     in increased levels of disciplinary infractions and violent assaults and, in
     extreme cases, indirectly contribute to collective violence.

                 H.    Co11c/11sions Co11cemi11g the Effects of Solitary and
                                   Supermax Co11fineme11t

              The possibility that higher levels of disciplinary infractions and mental
        health problems occur in segregated housing because of the "type" of pris-
        oner incarcerated there seems improbable in light of the nature, magni-
        tude, and consistency of the effects we have reviewed. A comprehensive
        assessment of the extensive clinical data collected on this issue, including
        the nature and extent of the psychic indices of stress employed, the unique
 ______ and consisten Lpsychopathological_reactions thaLhave been .. found,and_ the
        harmful secondary effects that have been documented in virtually every
        study on the question, point to the damaging psychological effects of puni-
        tive, isolated prison housing itself. Commentators who have insisted that
        research on solitary confinement employ experimental methods before de-
        finitive conclusions can be reached 259 have perhaps ignored the virtual im-
        possibility of acquiring such data.260 111e practical and ethical constraints


          258. See, e.g., Jackson, supra note 19, at 555555 (footnotes on1itted): "1l1e guards, by
     perceiving the prisoners as the n1ost dangerous and violent of n1en, can justify to then1selves
     the intensity of the surveillance and the rigours of detention. Prisoners, by responding to
     that perception of dangerousness \vith acts of defiance, have at least one avenue of asserting
     their individuality and their autonon1y, of n1aking n1anifest their refusal to subn1it."
          259. See, e.g., Banta & Gendreau, Reexan1i11i11g, supra note 93, at 349.
          260. 111c only true experintent on the psychological effects of prison-like environn1ents
     \Vas conducted 25 years ago using college student volunteers \Vho \Vere rando1nly assigned to
     the role of either prisoner or guard. Although technically not a study of the effects of puni-
     tive isolation, student prisoners \Vere subjected to reduced environn1ental sthnulation, n1ini-
     n1al out-of-cell ti1ne, and drastically reduced opportunities for n1eaningful social interaction,
     including extremely lhnited contact \Vith other prisoners as \Vell as friends and fa1nily.
     Scheduled to last for l\VO \Veeks, the study \Vas tcnninatcd after only six days because of the
     acute psychological distress that subjects experienced. Haney, Socialization, supra note 80.
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       that govern research in this area mean that researchers simply cannot cre-
       ate the psychological eqnivalent of genuine solitary or supennax confine-
       ment (including powerlessness and loss of control for the prisoner, the
       punitive and stigmatizing quality of the confinement, indeterminance of the
       time spent in solitary, constant threat of physical and psychological abuse,
       and so on) and randomly assign persons to such exposure.
             Despite these ethical limitations and their methodological conse-
       quences, distinctive patterns of negative effects have emerged clearly, con-
       sistently, and unequivocally from personal accounts, descriptive studies,
       and systematic research on solitary and punitive segregation. The studies
       included in this review span a period of over three decades and were con-
       ducted in locations across several continents by researchers ranging from
       psychiatrists to sociologists to architects. In addition to the corroborating
       data from research on situations that are at least in some important ways
       psychologically analogous to solitary confinement (such as studies of harm-
       ful effects of acute sensory deprivation,261 the psychological significance of
       social contact, 262 the pains of isolated, restricted living,263 and the psychiat-
       ric risks of seclusion for mental patients264 ), strikingly similar negative psy-
       chological effects have been uncovered in a wide variety of studies of
       solitary confinement itself. TI1e case studies reported anxiety, panic, rage,
       loss of control, appetite and sleep disturbances, self-mutilations, and other
       recurring themes and symptoms.2 65 Direct studies of the effects of prison
       isolation have documented a wide range of harmful psychological effects,
       including increases in negative attitudes and affect, insomnia, anxiety,
       panic, withdrawal, hypersensitivity, ruminations, cognitive dysfunction, hal-
.--   ---------------------------------------------------      paraiioia;fiopelessness;1a11:
       argy, depression, emotional breakdowns, self-mutilation, and suicidal
       impulses. 266 Among the correlational studies of the relationship between
       housing type and various incident reports, self-mutilation is prevalent in
       isolated housing, as is deterioration of mental and physical health, other-
       directed violence, such as stabbings, attacks on staff, and property destruc-
       tion, and collective violence. 267 In addition, many of the negative effects of
       solitary confinement are analogous to the acute reactions of trauma vic-
       tims, and the psychiatric sequelae lit the common diagnostic criteria for
       victims of deprivation and constraint torture techniques. 268



             261. See supra notes 104-117 and acco111panying text.
             262. See supra notes 118-131 and accontpanying text.
             263. See supra notes 132-136 and accontpanying text.
             264. See supra notes 137-147 and accon1panying text.
             265. See supra notes 161-183 and accon1panying text.
             266. See supra notes 184-231 and accon1panying text.
             267. See supra notes 132-260 and accon1panying text.
             268. See supra notes 148-160 and acco111panying text.
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             111ere is not a single study of solitary confinement wherein non-volun-
        tary confinement that lasted for longer than 10 days failed to result in nega-
        tive psychological effects. 111e deleterious effects varied in severity and
        included hypertension, uncontrollable anger, hallucinations, psychosis,
        chronic depression, and suicidal thoughts and behavior. Commentators
        who have sought to attribute these harmful consequences not to isolation
        per se but to mistreatment by guards and to the loss of educational, voca-
        tional, and recreational activities by prisoners269 seem to ignore the extent
        to which these practices regularly occur in solitary confinement. Greater
        exposure to staff ntlstreatment and the loss of meaningful programming
        cannot be characterized as unfortnnate but merely occasional incidents to
        solitary confinement; they are too often an integral part of the experience.
             Indeed, there is reason to believe that in some ways the published
        literature on the measurable effects of solitary confinement may underesti-
        mate its actual harm. Even in direct studies of the conseqncnces of solitary
        confinement, those most adversely affected are likely to be absent from the
        calculation of consequences. For instance, data from persons who were
        completely unable to adapt to solitary confinement and became psychotic
        or committed suicide generally would not be included. 270 11rns, a compre-
        hensive picture that includes the most negative effects of solitary confine-
        ment is difficult to obtain. Moreover, there is reason to believe that
        prisoners may understate the degree to which they are affected by solitary
        confinement. Many studies of torture victims underscore the emotional
        barriers that can prevent them from talking openly and honestly about
        their experiences. 271 Patients who have been exposed to profound trauma
  - ----lffafView-eveff-lliefiipiSts i\shostile-· figures··who a1·e··110 r sodifferen t -from
        the authorities responsible for their mistreatment. 111e desire to avoid talk-
        ing about or re-living the incidents and the possibility that some victims
        may be in a denial state of PTSD 272 make establishing any form of candid
        and revealing dialogue difficult. An interviewer or therapist who asks too


           269. E.g., Suedfcld et al., Reactions, supra note 93 at 333.
           270. See, e.g., Sucdfeld et al., Reactions, supra note 93, at 335.
           271. See, e.g., Allodi, supra note 154; Marianne Kastrup et al., Coping with the E:rpo-
      sure to Torture, 10 CoNTE/\1P. FA/\1. TttER. 280 (1988); Jorgen Ortinann et al., Rehabilitation
      of Torture l'ictin1s: An l11terdiscipli11ary Trea1tne11t 1\lodel, 7 A!'.t. J. Soc. PsYcH. 161, 165
      (1987); Pope & Garcia-Pcltonic1ni, supra note 154; Shnon & Blun1, supra note 154; Sornnier
      & Genefke, supra note 150; \Vhittaker, supra note 152. Suedfeld and his co-authors argue,
      to the contrary, that "[l]he exact extent to \Vhich such reactions occur [in solitary confine-
      1nent] is a niatter of so1ne controversy" and that, even \Vhen "self-injurious and other abnor-
      n1al behavior" does take place in isolation units, it cannot be taken at face value since it
      "111ay be a device to attract attention, to be given a change of routine, or to exert po\ver over
      the adn1inistration and staff of the institution." Suedfeld et al., Reactions, supra note 93, at
      335. \Ve find these suggestions highly speculative and, especially in the absence of any sup-
      porting data, iinplausible as a general explanation for behavior in solitary.
           272. See, e.g., l-loro\vitz, Post-trau111aac Stress, supra note 155; Ortinann et al. supra
      note 269; Pope & Garcia-Pcltonieini, supra note 154.
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       many questions or is in other ways threatening may easily make persons
       with such tranma histories feel interrogated and defensive.2 73
            Hans Toch, a psychologist who conducted extensive research with pris-
       oners in New York correctional facilities, has described the difficult yet cru-
       cial task of establishing trust with inmates. 'Ifust is particularly important
       when respondents are called upon to reveal or admit psychological stress or
       personal vulnerability, such as the ill effects of isolation. 274 Similarly, Stuart
       Grassian reported initial resistance in his assessment of prisoners in a Mas-
       sachusetts segregation unit. Prisoners at first denied that the isolation af-
       fected them, avoided talking about it, and appeared to want to repress or
       deny the effects of the experience. For example, one prisoner could not
       provide any details about having slashed his wrist or remember much about
       the several days surrounding the incident. It was only after Grassian estab-
       lished rapport, offered reassurance, and gained the trust of the prisoners
       that they were willing to be candid with him. 275 The complexities of data-
       gathering in an environment as powerful and fraught with suspicion and
       distrust as punitive solitary confinement mean that evidence of psychologi-
       cal deterioration will be especially difficult for unskilled or insensitive re-
       searchers to uncover there.
            111e existence of pre-existing psychiatric disorders among prisoners
       sent to supermax and solitary confinement is sometimes used to minimize
       the implications of the adverse reactions and psychological dysfunction that
       occur there. 11iat is, causal responsibility for subsequent psychological
       trauma is attributed to problems prisoners bring into punitive segregation
       rather thanto thepsychologically harmful conditions the prisoners encoun-
     . teronce they have arrived. Without in any way gainsaying the proposition
       that mentally or emotionally disturbed prisoners are too often placed in
       solitary confinement rather than prison psychiatric treatment programs,


           273. Whittaker, supra note 152, at 276.
           274. Toch, supra note 199. Toch noted that "in1nates \Vho break do\vn ... are expected
      to 1nake light of their problc1ns, to deny their n1anifest despair. If they fail to do so, they risk
      being seen, and seeing then1selves, as \Veak, impotent, or sick." Id. at 11. Further: "[i]n 1nale
      prisons, fear connotes \Veakness, and '''eakness unn1anliness. Indices of fear must be dis-
      guised or explained a\vay. 111e truth, if revealed at all, 1nust be cautiously or circu1nspcctly
      broached." Id. at 53. Toch observed:
           It is a fact, described in in1portant Danish and international prison literature, that
           accused and convicted persons do not sho\v their syn1pto1ns to the prison staff if
           they can at all avoid it. This is even n1ore true of 1nen than of \Von1en. Very rarely
           do they disclose their real condition; they hide nervousness and suppress con1-
           plaints . ... Ainong the ntost often stated [reasons] are that the prisoner does not
           \Vant to hu1niliate hhn/hcrsclf, does not \Vant to dc1nonstrate the result of the sup-
           pression, is afraid it \Viii be used against hin1/her, especially by the police, is afraid
           of an uncontrollable opening and \Vants to try to n1aintain the feeling of his/her
            O\Vll \VOfth.
      Id. at 126-7.
           275. Grassian, Psychopathological Effects, supra note 72, at 1451-2.
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       such dismissive logic is fundamentally flawed. First, no direct empirical evi-
       dence is offered to support the argument that the heightened levels of psy-
       chological trauma detected in punitive segregation reflect little more than
       the greater prevalence of chronic psychiatric disorders among the popula-
       tion of prisoners sent there. Indeed, this argument flies in the face of the
       conventional correctional justification that is offered for supermax pris-
       ons-that they are needed to contain the most dangerous (not the most
       psychologically vulnerable) prisoners in the system. In addition, the lack of
       psychiatric screening and monitoring, and the failure to provide for ade-
       quate psychological counseling and treatment that characterize many of
       these units suggest that correctional officials themselves do not believe that
       a sizable number of the prisoners who are being sent to segregation are
       already suffering from severe emotional problems.
             Second, the data that we have reviewed in the preceding pages seem to
       belie this explanation. As we have noted, at least some of the research on
       the psychological effects of solitary confinement is experimental or quasi-
       experimental in nature and, therefore, allows for relatively straightforward
       causal inferences. Even in the non-experimental studies, subjects them-
       selves consistently identify punitive segregation as the source of their
       psychic trauma. Given the psychologically powerful components of the ex-
       perience, this inference seems unsurprising and theoretically sound. Third,
       the extraordinary levels of psychological pain and suffering documented in
       many of these studies, measured among prisoners who place a special pre-
       mium on minimizing admissions of personal vulnerability,276 also appear to
       undercut the possibility that nothing more than pre-existing dysfunction is
  .... beiiigilfanifosfed:Thafis;ifseemsiinj:ifribitb!e lhaftlie exfreriidyhigh pei·-
       centages of persons suffering from psychological trauma in the Brodsky,
       Korn, Grassian, and Haney studies can be accounted for simply in terms of
       pre-existing yet undetected chronic emotional problems. 277 TI1is improba-
       bility would seem to increase as alleged gang membership becomes one of


          276. As Toch put it, "[p]ersonal brcakdo\vns in isolation do not square \Vith n1anly self-
     intages and reputations." Toctt, supra note 199, at 52.
          277. Again, \Vithout disn1issing the hnportance of correctional practices that ntay result
     in the overrcpresentation of psychiatrically disturbed prisoners in supennax or solitary con-
     finc1nent, \Ve do not believe that they can account for the levels of psychological trau1na and
     psychopathological syn1pton1s detected in the aforen1entioned studies. For exa111ple, one Ca-
     nadian study estin1ated that approxin1ately 30°/o of prisoners in special handling and long-
     tcnn segregation units suffered fro111 "severe 1nental disorders." Sheilagh Iiodgins & Gilles
     Cote, The Mental Health of Penitentiary l11111ates in isolation, 33 CAN. J. OF CRil\.flNOL. 175,
     182 (1991). Although this figure is higher than si1nilar esthnates for the prisoner population
     in general, \Vhere bel\veen 8 and 25o/o of inn1ates have been found to suffer fron1 so1ne fonn
     of severe psychiatric disorder, the rate does not approxin1ate the l\vo-thirds or 111ore of
     segregated prisoners \Vho report suffering psychological trauma and acute isolation effects
     in the various studies \Ve revie\ved. Moreover, it \Votlld be incorrect to assu111e that the levels
     of psychopathology nieasured in studies such as Hodgins and Cote's are independent of the
     psychological stresses of prolonged isolation to \Vhich their subjects \Vere exposed.
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        the primary bases upon which confinement in punitive segregation is
        premfaed.21 8
              Finally, it is important to acknowledge the fact that, however fre-
        quently they occur, pre-existing psychiatric disorders among segregated
        prisoners may render them more vulnerable to the psychological assaults of
        solitary confinement. This vulnerability raises additional serious questions
        about the propriety of punitive isolation. As one mental health expert
        noted: "In general, the psychologically rich get richer: healthy people tend
        to be resilient in their responses to stressor events, and people with person-
        ality or character disorders may be somewhat more vulnerable to PTSD
        following stressor events than are the mentally healthy. "279 Those with pre-
        existing psychological disorders may therefore suffer more psychic pain and
        be at greater risk for permanent damage in segregation than others. In fact,
        in any other context this basic point would represent an argument in favor
        of increased concern for the mental health of persons confined to these
        psychologically stressful environments. Indeed, it is difficult to imagine an-
        other population of persons for whom the existence of predisposing vulner-
        ability would be used to justify less, not more, caution and concern.
              1he debate over hoiv much harm supermax and solitary confinement
        inflict on hoiv many-virtually every researcher in this area acknowledges
        that they produce some ill effects in at least some of the prisoners on whom
        they are imposed-masks another important issue in evaluating their resur-
        gence in contemporary U.S. corrections. That is, there are no credible or
        convincing data of which we arc aware to suggest that such confinement
     .. pr 0dttcesanywidespr()adbeneficial effects. In essence, this was theconclu-
        sion of an official Canadian study group on "dissocialion" that filed a re-
        port with the Commissioner of Penitentiaries in the mid-1970s: "Although
        we recognize the limitations on social sciences in effective change in in-
        mates, we must still acknowledge the lack of substantive rehabilitative or
        therapeutic value in the concept of segregation." 280 Moreover, since most
        prisoners eventually will be released from prison, "segregation as it pres-
        ently exists is not practical. It further enhances the inmate's antisocial atti-
        tudes and, in general, constitutes a self-fulfilling prophecy." 281 Another
        study concluded that the use of solitary was not even effective as a deter-
        rent. Disciplinary incidence rates were not affected among the punished

          278. Researchers have found that although so1ne gang 1ne1nbers display syn1pto1ns of
      psychopathology, "their nu1nber is usually lo\ver than that found an1ong the general popula-
      tion, because the gangs themselves, in effect, screen their n1e1nbcrship. Sin1ply put, tnost
      gangs \Vant to elhninate or at least lin1it the nun1ber of individuals \Vho display 1nental disor-
      ders because they are unpredictable and create too many proble1ns for the organization."
      MARTIN SANCHEZ-JANKO,\'SKI, ISLANDS IN Tl-IE STREET: GANGS AND AMERICAN URBAN
      SOCIETY  312 (1991).
         279. lioro,vitz, Post-tratunatic Stress, supra note 155, at 21.
         280. JJJJJJJ V ANTOUR, SOLICITOR GENERAL OF CANADA, REPORT OF Tf-lE STUDY
      GROUP ON DISSOCIATION 24 (1975).
         281. Id.
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       nor among the general population by the length or number of visits to the
       "l1ole. 11282
             In a related vein, although researchers have identified various catego-
       ries of prisoners for whom punitive segregation is ill-advised, the literature
       fails to describe those whom it is likely to "help." For example, Herbert
       Leiderman's review of the isolation literature led him to recommend that
       "[i]solation as a punishment device should probably be reconsidered.',, 83
       Leidennan observed that there were essentially three types of persons who
       might be placed in prison isolation and that the psychiatric threats to each
       would vary as a function of their pre-existing condition. The worst risks, of
       course, were persons whose "inner life is under poor control" because iso-
       lation would only force them to rely on already inadequate psychological
       resources. 284 Indeed, "[d]riving them further into themselves can only lead
       to an increase of anxieties, fears, and perhaps to the point of psychosis. ,,, 85
       A second group consisted of those who "might seek out isolation as an
       expression of a pathological inner need" and for whom isolation would not
       only be ill-advised but ineffective as punishment. 286 Even for the final
       group, the psychologically healthy, Leiderman questioned the utility of iso-
       lation. Although such persons "should be able to tolerate varying periods
       of isolation without much deleterious effect," he thought they would truly
       learn "more adaptive behavior" only through use of "those techniques
       which utilize appropriate social interaction." 287
             Similarly, Hans Toch acknowledged that isolation generally could
       "dramatize the pains of imprisonment per se and also make those pains
       more acute," in part because it "removes even the coping resources ordina-
 -----·· · - · · 1:rryavaffabfoliipfisoi1S."28"Tocliai'gi1e<rt11armisilitensmcalionofpaiii
       was especially poignant for certain types of prisoners. For example, he
       found that even though isolation was the "most trying test of the extro-
       verted inmate's coping competence," it ironically tended to "be used dis-
       proportionately with inmates who are hyperactive and relatively poor
       copers." 289 Moreover, punitive isolation would "backfire most with individ-
       uals who have developed an acute sense of victimization or injustice" and
       that, for these prisoners, the use of solitary confinement as punishment

            282. Barak-Glantz, supra note 76.
            283. Liedern1an, supra note 109, at 73. Sintllarly, the editors of the journal that pub-
       lished Leidennan's article questioned the \Visdon1 of solitary confine1nent as a correctional
       policy: "[E]xperiinentcrs' clinical findings on the deleterious effects of sensory deprivation
       reinforce the conviction that punitive isolation and sin1ilar prison n1ethods can negate the
       purposes that correction is intended to serve." Editors, Point of Vie\V, 8 CORRECTIVE
       PsvcH. AND J. Soc. TfmRAP. 57, 58 (1962).
            284. Leidern1an, supra note 111, at 72.
            285. Id.
            286. Id.
            287. Id.
            288. ToCH, supra note 199, at 50.
            289. Id.
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      "serves to accentuate the state of mind that provoked it." 290 Toch also sug-
      gested that punitive segregation was inappropriate for many of those pris-
      oners who were most distressed by their imprisonment and who,
      unfortunately, were more likely to be put in precisely the place least able to
      help them. That is:
             [I]t remains a tragic fact that our ultimate tool for dealing with
             fear-obsessed persons defies and defeats their regeneration: We
             isolate such persons, make them feel trapped, and seal their fate.
             We place those who are their own worst enemies face to face with
             themselves, alone, in a void. 291
           In contrast to the absence of documentation that supermax or solitary
      confinement "works," in general or for any particular type of inmate, there
      is some direct evidence to suggest that other approaches to handling vio-
      lent prisoners are effective in both reducing levels of institutional aggres-
      sion and decreasing recidivism among such prisoners upon release.
      Specifically, David Cooke has reported on an experimental unit "designed
      to contain violent and disruptive prisoners" in Scotland, following the abo-
      lition of the death penalty in 1973.292 Prisoners eligible for placement in the
      unit were screened by psychological and psychiatric staff and deemed un-
      suitable if they suffered from "profound psychiatric illness," were gang
      members, or the staff suspected they would be "unable to cope with the
      stressful regime" at the prison. 293 The cohort of prisoners who were trans-
      ferred to the facility had all been involved in serious crimes of violence,
      were serving long prison sentences, and had been disruptive while incarcer-
      ated in other prisons. Past infractions included numerous assaults on
      prison staff. In spite of these past problems, transfer to the unit resulted in
      rapid positive change among the prisoners, including significant reductions
      in violence and disciplinary infractions.
           To explain this markedly improved behavior, Cooke pointed to the
      radically different conditions that had been created inside the special unit.
      He noted that most of the factors that might promote violence in prison,
      such as "the level of frustration in the environment, as exemplified by
      closed visits, letters going missing, lack of work, the general monotony of
      prison life, limited access to education, poor food, etc.," 294 were largely
      absent in this unit. Indeed, although these prisoners were isolated from the
      rest of the Scottish prison population, they were given relative autonomy
      within the unit itself. A supportive and expressive environment was created
      that allowed prisoners to "discharge their emotions verbally rather than in
      their habitual physical mode," and prisoners were given "access to regular

            290. Id.
            291. Id. at 330.
            292. Cooke, supra note 254, at 129.
            293. Id. at 130.
            294. Id. at 138.
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     and frequent visits from family and friends." 295 Finally, significant emphasis
     was placed on creating a positive relationship between prisoners and staff,
     something that a number of commentators have argued was "of central
     importance in the success of the regime." 296 Indeed, one commentator con-
     cluded that "relations between staff and prisoners are at the heart of the
     whole prison system, and that control and security flow from getting that
     relationship right." 297
           Finally, we note that the psychologically destructive treatment to
     which prisoners in long-term punitive segregation and supermax prisons
     are exposed would not be countenanced for any other group in our soci-
     ety.298 Indeed, revelations that abused children,299 the mentally disabled in

          295. Id. at 140-141. See also Winston CoJlins, The Effect of Social Isolation on Inmate
     Self Concept, 45 Diss. ABs. lNT'L. 643 (1984) (finding that the more isolated prisoners, those
     who had less contact with persons outside the prison, tended to experience greater reduc-
     tions in measured self-concept during the incarceration). For a discussion of the importance
     of maintaining family ties for both prison and post-release adjustment, see Creasie Hairston,
     Family Ties During ln1prisonment: Do They Influence Future Crinzinal Activity? 52 FED.
     PROBATION 48 (1988); Creasie Hairston, Fa1nily Ties During Imprisonment: Important to
     Whom and for What? 18 J. Soc. & Soc. WELFARE 87 (1991). Punitive isolation typically
     results in drastic reductions in visits from family and friends, in part because the visitation
     time permitted segregated prisoners is officially limited and in part because of the often
     inhospitable conditions under which visitation occurs. Because of reduced outside social
     contact, such confinement has a directly negative effect on prisoners and may serve to un-
     dermine their post-release adjustment. That is, supermax and solitary confinement helps to
     ensure that prisoners will have few if any social ties to resume in the free world. In addition,
     prolonged prison isolation can create a fear of future social contact that \Vill disable prison-
     ers, especially upon release:
          It is very common for isolated prisoners to experience fear of having to function
          with other people again. And this fear is seldom unfounded. Many detainees who
          have been in isolation say that the first time they have to spend with others is very
          painful. They are unable to concentrate on conversation, have difficulty paying
          attention, become restless, tired of any form of social life, or afraid of human open-
          ness and emotional intimacy ... , This social disability may continue for years after
          a person has been in isolation. The disability may express itself in a fear of becom-
          ing attached to another person. Persons who have been in isolation have reported
          that they can no longer cope with physical and emotional intimacy and contact,
          and they feel an urge to be alone \Vhich is unnatural for them. They feel severely
          handicapped.
     TocH, supra note 199, al 126 (footnotes omitted).
          296. Cooke, supra note 254, at 142 (citing Mike Fitzgerald, The Telephone Rings: Long-
     terni Iniprisonment, in PROBLEMS JN LONGTERM IMPRISONMENT (Anthony Bottoms & Roy
     Light, eds., 1987)). See also D.J. West, The Clinical Approach to Criminology, 10 PsYCHOL.
     MED. 619 (1980); Peter B. Whatinore, Barlinnie Special Unit: An Insider's View, in
     PROBLEMS OF LONGTERM hvIPRISONMENT (Anthony Bottoms & Roy Light, eds., 1987). See
     also Peter McKinlay, Good Staff-Pr;soner Relations Key to Success of Scotland's Supern1ax,
     7 NAT'L. PrusoN PRoJ. J. 22 (1992) (containing the co1nments of Peter McKinlay, former
     director of the Scottish Prison Service).
          297. Fitzgerald, supra note 290, at 148-9 (quoting from a report of the British Home
     Office, Managing the Long-Terni Prison System: The Report of the Control Review Co111mit-
     tee, HMSO (1984)).
          298. That is, current debates over exactly how negatively solitary confinement affects
     prisoners, the magnitude and permanence of the harm and size of the group that suffers it,
     would seem strangely out of place were we to substitute virtually any other group into the
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       institutional settings,3 00 or elderly citizens in nursing homes have been sub-
       jected to punitive isolation are understandably and justifiably met with
       widespread criticism and public indignation. Similarly, few people doubt
       the adverse psychological consequences that isolated hostage victims are
       presumed to incur. Accounts of innocent citizens held in social isolation
       under degraded conditions generate appropriately widespread public con-
       cern and unquestioned support for the provision of badly needed psychiat-
       ric serviccs.3 01 The fact that the harm inflicted by this kind of confinement
       on innocents is real, tangible, psychologically damaging, and potentially


       equation. \Vith this in 1nind, co111pare Banta & Gendreau, Reexa111ini11g, supra note 95 and
       Gendreau & Bonta, Solitary, supra note 93, lVith Julian V. Roberts & Michael Jackson,
       Boats Against the Current: A Note on the Effects of /111priso11111e11t, 15 L. & Hul\-1, BEHAV.
       557 (1991).
               299. For cxainplc, parents responsible for the long-tenn solitary confine1nent of their
       children \vould be crhninally prosecuted, and fe\v citizens \vould question the propriety of
       that prosecution. 111e charges \VOtild be serious: felony child abuse and/or endangennent.
       According to the Child Abuse Prevention and 1featn1ent Act of 1996, 42 U.S.C.A.
       § 5106(g)(4): "[Tjhc term 'child abuse and neglect' means the physical or mental injury,
       sexual abuse or exploitation, negligent treahnent, or n1altreatinent of a child by a person
       \Vho is responsible for the child's \velfare." Endangerntent is ordinarily conceived in tenns
       of acts of on1ission, as in intentionally failing to take actions \vhen the failure results in harm
       to a child's physical or 1nental developtnent and \\ ell-being. For example, California's felony
                                                                                 1


       child endangennent statute provides: "Any person \vho ... \villfully causes or pern1its such
       child to be placed in such situation that its person or health is endangered, is punishable by
       imprisonment." Cal. Penal Code§ 273a (Deering 1997).
               300. 111e long-tern1 punitive isolation of n1ental patients has never been advocated or
     --------------__--------------------___-----
                                                ___---------------------__ --------------------__ _use__ has__ been_ severe! Y-- criticized-and--- --
       rcs tri ct ed. See supra notes 137-147 and accon1panying text. In Massachusetts, for exan1ple, a
       forensic psychiatrist \Vas asked by the courts to report on the effects of solitary confinernent
       in hvo concurrent la\vsuits, one involving isolation in a n1ental hospital, another involving
       the punitive use of solitary in a state prison. 11te resulting contrast \Vas instructive. 111e
       n1ental hospital regulations dictated that the use of isolation be lin1ited to no 111ore than 8
       hours at a thne, \Vith staff interaction for 15 minutes every 2 hours, and for therapeutic
       reasons only, those reasons conveyed to the patient so he or she \Vas n1ade a\vare that ther-
       apy, not punishn1ent, guided the decision. On the other hand, prison regulations allo\ved
       in1natcs to be n1aintained in isolation for 15 days \Vithout respite, rene\vable after a 24 hour
       break. Grassian and Fried111an, supra note 72, at 62.
               301. For cxarnplc, see ------- ----------- HosTAGE: TERROR AND ---------(1992)
       (analyzing the psychological trau1na of hostage experiences, the subsequent recovery pro-
       cess, and reconunended treatrnent); Robert Hilhnan, 1'he Psychopathology of Being Held
       Hostage, 138 AM. J. PsYcH. 1193 (1981) (comparing the psychopathological effects of being
       taken hostage \Vith prisoner of \Var and concentration ca1np survival); Peggy Jessee et al.,
       Tlze Aftereffects of a Hostage Situation on Clzildren 's Behavior, 62 -----J. 0RTl-IOPSYCHOL.
       309 (1992) (discussing the negative consequences of hostage experiences on children);
       111on1as Strcntz, Crisis !11terve11tio11 and Survival Strategies for Victi111s of Hostage Situations,
       in CR1s1s lNTERVEt-.'TION AND ---------------CooNITIVE -----------127 (Albert Roberts
       ed., 1995) (discussing FBI involven1ent in assisting \Vi th provision of social \vork services and
       psychological support for hostage victin1s at crisis sites); Henk Van der Ploeg and \Vint
       Kleijn, Being Held Hostage in the Netherlands: A Study of Long-Term Aftereffects, 2 J.
       -----------STRESS 153 (1989) (finding that the aftereffects of hostage experience included
       PTSD and sy1npton1s of generalized anxiety disorder that \Varranted psychological
       treatment).
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      long-lasting or even permanent is beyond debate. Yet the fact that no com-
      parable recognition and concern is typically extended to prisoners in soli-
      tary confinement, whose experiences in captivity may be similar or worse,
      and are often of longer duration, reflects a distorted legal and societal view.
      By this view, to be sure, prisoners neither require nor deserve the same
      humane treatment as the rest of us. But this same view confounds the puta-
      tive blameworthiness of the targets of such mistreatment with the conse-
      quences of the mistreatment itself. Thus, devaluing the prisoners' claim to
      be free from such harm has led to the erroneous perception that the harm
      is not real. Moreover, whatever their alleged transgressions in prison, no
      person can be constitutionally sentenced to torture, to potentially perma-
      nent psychiatric damage, or to psychological deterioration that may impede
      future adjustment in and out of prison. However deserving of some form of
      punishment prisoners placed in solilary confinement may be, legal regula-
      tors must carefully establish the limits of such punishment and implement
      effective mechanisms and procedures by which those limits can be en-
      forced. 111ey have done neither.

                                                 III.
              CONSTITUTIONAL CHALLENGES TO SUPERMAX AND SOLITARY
               CONFINEMENT: THE CURRENT STATE OF LEGAL DOCTRINE

              Judicial analyses of the constitutionality of punitive isolation have too
        often truncated the crucial inquiry into the psychological risks that such
        units pose. Courts frequently have engaged in superficial assessments of
 ______ tlw_danrngethaLma)' be inflicted_bysolitary_confineinent_ and111anifosteda _
        corresponding disregard of the magnitude of the psychic pain that the seg-
        regated prisoners suffer. In addition, courts have long granted nearly com-
        plete deference to correctional decision makers. Although these
        unfortunate tendencies were in decline during the "civil rights revolution"
        several decades ago, the modern trend appears to be in the opposite direc-
        tion.302 Moreover, the nonnative acceptability of supennax confinement in
        maximum security prisons threatens to distort any implicit comparative
       standard used to gauge the constitutional significance of the psychological
       harm, making even clearly cruel punishment appear commonplace to the
       courts. 11rnt is, the increasingly widespread use of segregation is beginning
        to substitute as its legal and psychological justification; conditions that are
       no worse than even a deteriorating norm or inflict no more harm than
       other equally bad prisons are presumed to be tolerable and constitutional.
       In addition, the relative newness of long-term punitive isolation and the
       persistent biases against the largely subjective tools with which we must

         302. Titis trend appears related to other changes that have taken place in the public
     and political clhnate concerning crime and punislunent. For a discussion of sonic of these
     changes and their in1pact on prison policy in general, see Haney, Psychology and tile Lilnits
     to Prison Pai11, supra note 73, and Haney, Riding the PunisJ1111e11t ll'ave, supra note 73.
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       measure its harms further undermine contemporary legal analyses of this
       emerging penal fonn. 303
             In the earliest federal cases involving solitary confinement, legal ques-
       tions concerning effects were posed only indirectly. For example, In re
       Medley 304 presented the issue of whether a Colorado law imposing solitary
       confinement on prisoners awaiting execution for crimes committed prior to
       passage of the law was constitutionally ex post facto, inasmuch as it
       amounted to a harsher regime of punishment than had been prescribed at
       the time of the crime. In concluding that it was, the Supreme Court dis-
       cussed the nature of solitary confinement itself. 111e Court noted that "it is
       within the memory of many persons interested in prison discipline that
       some 30 or 40 years ago the whole subject attracted the general public at-
       tention, and its main feature of solitary confinement was found to be too
       severe. "305 Although the Justices stopped well short of prohibiting solitary
       confinement for condemned prisoners, they did note that "[i]n Great Brit-
       ain, as in other countries, public sentiment revolted against this severity
       and ... the additional punishment of solitary confinement was repealed." 306
             One year later, the Court rejected a direct Eighth Amendment chal-
       lenge to solitary confinement by deferring to a determination made by the
       legislature and courts of New York that such punishment was not cruel and
       unusual. 307 Condemned prisoners who were left in solitary in excess of the
       statutory period, often because their execution was stayed pending resolu-
       tion of a legal appeal, thereafter complained to federal courts to no avail.
             As the Medley opinion made clear, however, federal courts during this
       period were not oblivious to the special pains of solitary confinement. In
     . 1922;JffstiCe BriiiideiSriofediiidiSsenf tliaf"fhe most sevifre puriisli1ricrit
       inflicted" in American prisons "was solitary confinement without labor." 308
       Indeed, its unique severity made hard labor seem lenient by comparison,
       and Brandeis termed prison work a "means of restoring and giving self-
       respect."309 In 1940, the Supreme Court referred to solitary confinement
       as one of the techniques of "physical and mental torture" that had been
       used by governments to coerce confessions from their citizens:
            The rack, the thumbscrew, the wheel, solitary confinement, pro-
             tracted questioning and cross questioning, and other ingenious

           303. See infra notes 326 to 359 and the acco1npanying text. Also see the discussion in
      Haney, Psychology and the Li111its to Prison Pain, supra note 73.
           304. 134 U.S. 160 (1890).
           305. Id. at 168.
           306. Id. at 170.
           307. McElvaine v. Brush, 142 U.S. 155 (1891). 111e same year Medley was decided the
      Court had dctcnnined that death by electrocution 'vas not forbidden by the 8th AAAAAAAA
      n1ent. In re Ke111111/er, 136 U.S. 436 (1890). Tite McE/vaine Co\ut decided that its decision in
      Ke111111ler 'vas "decisive of this, although the character of the confinen1ent of the conden1ned
      pending his execution \Vas not alluded to" in the earlier case. 1\fcElvaine, 142 U.S. at 159.
           308. United States'" Moreland, 258 U.S. 433, 449 (1922) (Brandeis, J., dissenting).
           309. Id. at 450.
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            forms of entrapment of the helpless or unpopular had left their
            wake of mutilated bodies and shattered minds along the way to
            the cross, the guillotine, the slake and the hangman's noose. 310
          Despite occasional sensitivity to the unusual cruelty of solitary con-
      finement, the Court has been reluctant to consistently accord the suffering
      of prisoners-whether from isolation or other extremely harsh conditions
      of confinement-meaningful constitutional recognition.

               A.   The C11rre11t Co11to11rs of Eighth A111e11dme11t J11risprude11ce
               Reconstructing the history of the Constitutional prohibition against
         cruel and unusual punishment, Anthony F. Granucci concluded that the
         Framer's use of the phrase was a misinterpretation of English law. 311 111e
         result, protecting individuals against torturous but not excessive punish-
         ments, gave the Eighth Amendment too narrow a scope, and it was rarely
         invoked. 312 Not until the turn of the century did the Supreme Court ex-
         pand the reach of the cruel and unusual punishment clause to include se-
         verely disproportionate penalties. 313
               111e Court has employed a number of different concepts in detennin-
         ing whether pnnishment is cruel and unusual. 111ese include disproportion-
         ality to the offense,314 lack of relationship between penal objectives and the
         severity of the punishment,3 15 arbitrariness, 316 repudiation by modern soci-
         ety,317 and inherent cruelty. 318 Of course, these concepts govern Eighth
         Amendment challenges to the constitutionality of particular conditions of
         confinement. Eighth Amendment based claims in which particular prison
 · ·· -- condiffollsliave oeerifouiid iiiicoiisfffiitioiiar fod ude:.solifai'y coiiliiieirieiif.-
         beatings by prison guards, forced labor, denial of food, and deprivations of

            310. Chambers v. Florida, 309 U.S. 227, 237-8 (1940).
            311. Anthony F. Granucci, "!\'or Cruel and Unusual Punislunents Inflicted": The Origi-
      nal Meaning, 57 CAL. L. REv. 839 (1969).
            312. Id. at 865.
            313. Weems v. United States, 217 U.S. 349 (1910) (holding that 15 years hard labor for
      n1aking a false entry in goven11nent payroll records is so disproportionate a punislnnent as
       to violate the Eighth Amendment). See also O'Neil v. Vermont, 144 U.S. 323, 340 (1892)
       (Justice Fields arguing in dissent that a possible 54 year prison sentence for shipping alco-
      holic beverages violates the Eighth An1end1nent's prohibition of excessive punislunent).
            314. Weems, 217 U.S. at 549; Furman v. Georgia, 408 U.S. 238 (1972) (J. Brennan,
      concurring); Gregg v. Georgia, 428 U.S. 153, 173 (1976).
            315. Funnan, 408 U.S. at 281 (J. Brennan, concurring); see also Rudolph v. Alaba1na,
      375 U.S. 889 (1963) (J. Goldberg, dissenting).
            316. Funnan, 408 U.S. at 250 (J. Douglas, concurring) (noting that a punislunent that is
      "ad1ninistered arbitrarily or discrin1inatorily 11 is "unusually hnposed").
            317. Trop v. Dulles, 356 U.S. 86 (1958).
            318. Louisiana ex. rel. Francis v. Resweber, 329 U.S. 459, 471 (1947) (J. Frankfurter,
      concurring) (punishntent that is "repugnant to the conscience of ntankind" is cruel and unu-
      sual (quoting Palko v. Connecticut, 302 U.S. 319, 323 (1937))); Furman, 408 U.S. at 359 (J.
      Marshall, concurring) (stating that punisluncnt that "shocks the conscience and sense of
      justice of the people" is cruel and unusual).
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                  medical treatment. 319 However, none of these conditions are per se
                  unconstitutional.
                        In Wilson v. Seite1320 the Supreme Court articulated a two-prong test
                  to determine whether prison-related treatment and deprivations are cruel
                  and unusual. The objective component of the test requires the plaintiff to
                  show that the prison conditions have the "sufficiently serious" 321 result of
                  denying "the minimal civilized measure of life's necessities. "322 In addition,
                  the conditions of imprisonment must pose a "substantial risk of serious
                  hann. "323 111ere is no fixed standard for determining how much harm the
                  prisoner must suffer before this first prong is satisfied. Although the failure
                  to draw a bright-line test may derive in part from Chief Justice Warren's
                  often-quoted observation that the Eighth Amendment "must draw its
                  meaning from the evolving standards that mark the progress of a maturing
                  society," 324 attempts to define "minimal civilized measures" of prisoners'
                  mental health and well-being seem more likely to have devolved in recent
                  years (as we discuss below).
                       111e subjective component of the Wilson test asks whether prison offi-
                  cials were deliberately indifferent to the inmate's health and safety. 325 To
                  satisfy this prong, the plaintiff must first show that officials knew of the risk
                  of harm to the prisoner and then that they nonetheless disregarded it.
                  Only then would prison officials be found to have a "sufficiently culpable
                  state of mind" to satisfy Wilson's subjective requirement. 326 In the case of
                  solitary confinement, one commentator has argued that because the harms
                  of "extreme conditions of confinement" are well known to ofllcials before
                  prisons are even built, the subjective component of an Eighth Amendment
 ·············--· viofaHoii-seeiilliigiyslioiild be "1nei ,vffhoiifdifffciirty:''321 BiitTliereISmne
                  evidence that it has worked that way in practice.

               B.    Solitary Confinement and Cruel and Unusual Punishment
             As we have noted, inquiries into the constitutionality of supermax and
        solitary confinement currently suffer from several major flaws. First, the
        legal analysis often reflects a superficial understanding of the nature of the
             319. For a catalogue of cases in \Vhich these kinds of clain1s \Vere advanced, sec Willian1
       H. Danne, Jr., Annotation, Prison Conditions as An1ounti11g to Cruel and Unusual Punish-
       me/lf, 5l A.L.R.3o 111 (1996).
             320. 501 U.S. 294 (1991).
             321. Id. at 298.
             322. Rhodes v. Chapman, 452 U.S. 337, 347 (1981).
             323. Farmer, 51 l U.S. at 894 (1994).
             324. Trap v. Dulles, 356 U.S. 86, 100 (1958) (punishment of expatriation for a one day
       \Varthne desertion violates cruel and unusual punish111ent clause); see also Rhodes, 452 U.S.
       at 346 (dctcnnining \Vhether punish1nent is cruel and unusual depends not upon a static test
       but rather upon dynan1ic conununity standards).
             325. Estelle v. Gamble, 429 U.S. 97, 104 (1976).
             326. Farmer v. Brennan, 511 U.S. 825, 832 (1994).
             327. Sally Niann Ron1ano, If the SHU Fits: Cruel and Unusual l)u11is/1111e11t at Califor-
       11ia's Pelican Bay State Prison, 45 EMORY L.J. 1089, 1117 (1997).
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      psychological harm inflicted on many prisoners confined to isolation units.
      Second, while perhaps less categorical now than fifty years ago, judicial
      deference to administrative discretion has re-emerged as a constitutional
      norm. Finally, the increasingly widespread use of long-term punitive segre-
      gation is beginning to serve as a de facto justification for the practice, un-
      dercutting its meaningful legal regulation and critical analysis of its adverse
      psychological effects. This section briefly surveys each of these problem
      areas, then turns to the recent decision on the constitutionality of the Se-
      curity Housing Unit at Pelican Bay Prison, where many of the limitations in
      prevailing legal doctrine became evident.

      1.   Psychological Hann
                The federal courts have traditionally been loathe to examine the psy-
           chological effects of solitary confinement or to acknowledge the constitu-
           tional significance of its harmfulness to prisoners.3 28 Instead, the courts
           have tended to focus on the physical conditions of confinement and issues
           such as whether prisoners were provided the "basic element of hygiene." 329
           In Newman v. Alabama, 330 for example, the Fifth Circuit found that the
           state's provision of "reasonably adequate food, clothing, shelter, sanitation,
           medical care, and personal safety ... ends its obligations under Amendment
           Eight." 331 Indeed, the Neivman court was reluctant to consider psychologi-
           cal or psychiatric consequences of confinement, calling such inquiries an
           "uncharted bog. "332
                An even more dramatic example of the tendency of courts to shift the
 ......... focus_Jrom psydmlogirnLto physical co11ditions wasprovidc;,d_ i11_Q'lltie?nv.
           Moriarty. 333 The First Circuit rejected a challenge to conditions in the isola-
           tion unit at Walpole prison that had been based largely on prisoners' psy-
           chological reactions, including depression and self-mutilation, to their

           328. We have confined our discussion to federal case la\v. Most state courts have re-
      frained fro1n conducting detailed analyses of solitary confinc1nent or the effects of such
      incarceration. But see State v. Wall, 356 So.2d 75 (La. Ct. App. 1977) (finding that place-
      1nent of Louisiana prisoner in solitary confinen1ent for 5 days follo\ving disciplinary infrac-
      tion not cruel and unusual); People v. Hoffmeister, 217 N.W.2d 58 (Mich. Ct. App. 1974)
      (Michigan trial court's rcconuncndation that the first 5 years of prisoner's life sentence be
      served in solitary confinement not cruel and unusual); Birdo v. Rodriguez, 501 P.2d 195
      (N.M. 1972) (requiring prisoner 'vho alleged he '.Vas being kept in excessively cold and rat
      and insect·infested conditions, 'vithout being inforn1ed of the reason, to exhaust ad1ninistra·
      tive re1nedies). TI1e use of such confine1nent for juveniles, ho"'ever, has been enjoined by
      state courts. See, e.g., People v. Owen, 295 N.E.2d 455 (Ill. 1973) (precluding the use of
      lengthy periods of solitary confinement for juveniles 'vithout prior institutional hearings);
      State v. Werner, 242 S.E.2d 907 (W.Va. 1978) (finding use of punitive practices like solitary
      confine111ent 'vith juveniles prohibited by constitution).
           329. Novak v. Beto, 453 F.2d 661, 665 (5th Cir. 1971).
           330. 559 F.2d 283 (5th Cir. 1977).
           331. Id. at 291.
           332. Id.
           333. 489 F.2d 941 (!st Cir. 1974).
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               confinement. 334 Noting that the prisoners had not complained about inade-
               quate physical conditions like poor sanitation or heat, the court concluded
               that merely being "cut off markedly from all others" was not "so severe as
               to be per se impermissible. "335
                     Similarly, in Johnson v. Anderson, 336 a federal district court ruled that
               the transfer of prisoners into solitary confinement at the Delaware Correc-
               tional Center absent a hearing within a reasonable period of time violated
               their due process rights, but that conditions in the solitary unit, although
               "extremely unpleasant," 337 did not constitute cruel and unusual punish-
               ment. In reaching its conclusion, the court employed a three-part analysis
               that balanced the nature of: the hardship and deprivation inflicted, the du-
               ration of the time spent in solitary, and the seriousness of the infraction for
               which it was imposed. 338 111e judge also acknowledged that "(w]hile aware
               that more subtle forms of punishment, psychological in nature, may also
               offend the Eighth Amendment's guarantee of civilized treatment, the
               courts have generally been more tolerant of the non-physical deprivations
               associated with solitary confinement. "339 Thus, isolating prisoners from
               companionship, imposing severe restrictions on intellectual stimulation,
               and exposing prisoners to prolonged inactivity in solitary generally would
               not constitute Eighth Amendment violations if prisoners had received
               other things the judge believed necessary to maintain their physical well-
               being.3''° Even in a case where the prisoners showed that they were forced
               to live "a monotonous and bleak existence," because they failed to present
               any testimony "that the deprivations they have experienced have inflicted
               demonstrable psychological damage on them" or any authoritative evi-
---- ---- ---· dence·that·"suclrdeprivations--are·-calculated-lolnducelhental-detel'iomtion·
               or imbalance," 3'11 they did not prevail. 342
             334. Prisoners \Vere housed alone in 6 x 9 foot cells for 23 hours each day. Although
        they had been pennitted to interact and converse \vith one another in a corridor outside
        their cells, this practice \Vas ended follo\ving a prison disturbance. The total isolation that
        follo\vcd this tennination appeared to precipitate the psychological reactions and \Vas \Vhat
        gave rise to the litigation. Id. at 942-3.
              335. Id. at 944.
             336. 370 F. Supp. 1373 (D. Del. 1974).
             337. Id. at 1388.
             338. Id. at 1386-7 (citing to Malcolnt Wheeler, To1vard a 1'/1eol'y of Li111ited Punish-
        ment: An Examination of the Eighth Amendment, 24 STAN. L. REV. 838 (1972)).
             339. Id. at 1387 (footnote omitted).
             340. TI1e cells in the isolation unit \Vere described by the court as dry, clean, heated,
        and including exterior \Vindo\vs that "adtnit a substantial an1ount of daylight." Ho\vever, the
        prisoners in these units also \Vere prohibited access to reading n1aterials, con1n1issary, and
        out-of-cell exercise. In addition, they \Vere denied visitation and the only face-to-face con-
        tact they had \Vas \Vith guards, doctors, and a social \vorker \Vho niade \Veckly visits. Id. at
        1385-6.
             341. Id. at 1390. TI1e court also expressed doubts that a consensus of evidence or opin-
        ion "could be 1narshaled" in support of the "general proposition" that the deprivations of
        solitary confinc1nent produced psychological deterioration and da1nage. Jbid. Of course, the
        court did not have the benefit of the studies \Ve rcvic\\•ed above, n1any of \Vhich \vere con-
        ducted post-1974.
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               A pair of California cases provided a counterpoint to the otherwise
         anti-psychological bent of some of the early federal court decisions. In Jor-
         dan v. Fitzharris, 343 a federal district court examined conditions in the
         "strip cells" at Soledad prison. 1he judge found that confinement in such
         cells could result "in a slow burning fire of resentment on the part of the
         inmates until it finally explodes into open revolt, coupled with violent and
         bizarre conduct," that the conditions themselves were "degrading," and
         that they offended "elemental concepts of decency." 344 In Spain v.
         Procw1ie1345 another federal district court considered conditions of con-
         finement in San Quentin's "Adjustment Center," where prisoners were
         segregated for long periods of time, denied access to programming of any
         sort, visited behind screens while chained and manacled, and given only 5
         hours of indoor exercise per week. Judge Zirpoli found that such confine-
         ment occurred in an "atmosphere of fear and apprehension" and ruled that
         these "degrading conditions" were "counterproductive" because they in-
         stilled in prisoners "a deeper hatred for and alienation from the society
         that initially justly put them there." 346 In both cases, the courts' analysis of
         the psychological consequences of long-term solitary confinement contrib-
         uted to their conclusions that the conditions of confinement were cruel and
         unusual. 347
               Similarly, in LaReau v. MacDouga//, 348 the Second Circuit considered
         the psychological effects of five days of isolation in a dark strip cell at the

                    342. T11e court also found that if "undue corporal punishn1ent \Vere an established and
               recurring feature of the prison reghnc, there \Vould be cause for searching Eighth A111end-
  - --- --- -- n1ent--scrutiny;-'L but---not--\vhere--only--'-'isolated- guards- n1ay- have- overstepped- the-bounds--of---
               n1o<leration." Id.
                    343. 257 F. Supp. 674 (1966).
                    344. Id. at 680.
                    345. 408 F. Supp. 534 (N.D.Cal. 1976), affd ill part, rev'd ill part, 600 F.2d 189 (9th Cir.
               1979).
                    346. Id. at 541-4. Judge Zirpoli \Vas no stranger to questions about the nature of soli-
               tary confinen1ent. Aln1ost 30 years earlier he had represented the United States in defend-
               ing against Robert Stroud's claitn that conditions of confine1nent at Alcatraz constituted
               cruel and unusual punishment. Stroud v. Johnston, 139 F.2d 171 (9th Cir. 1943).
                    347. Another California case found that conditions that rese1nbled restrictive housing
               and solitary confinement for pretrial detainees in the n1ain Los Angeles County Jail \Vere
               unconstitutional. TI1e court in Dillard v. Pitchess, 399 F.Supp. 1225 (C.D. Cal. 1975) de-
               scribed those conditions this \Vay: "[A prisoner is] forced to spend substantially all of his
               time in one of the drab and dis1nal cells ... virtually \Vithout recreation, diversion or en-
               tertainn1ent; \Vherc the depressing 1nonotony is not broken by a change of setting even at
               n1eal tiine; and \Vhere he sleeps and eats in i111111ediate proxin1ity to the toilet, necessarily in
               the hope that the celhnate's digestive syste1n 'vill ren1ain reasonably regular and subdued."
               Id. at 1233. Pre-trial detainees at the jail \Vere kept "for \Veeks or n1onths at a ti1ne" under
               these conditions \Vhich experts at trial testified \Vere "physically and psychologically un-
               healthy." Id. at 1236. TI1e court concluded: "[U]nder any responsible modern day evalua-
               tion, to keep any person for long periods of tin1e in such n1anner constitutes cruel and
               unusual punishn1ent." Id.
                    348. 473 F.2d 974 (2d Cir. 1974). TI1e prison apparently distinguished between punitive
               segregation, a 1naxhnu1n punitive cell, and the strip cell to \vhich LaReau \Vas confined. 111e
               latter \Vas a 6 x 10 cell \\':ith a solid steel door, total silence, long periods of total darkness, no
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       Connecticut Correctional Institution. Holding that the punishment violated
       the Eighth Amendment, the court found that the strips cells went beyond
       "mere coerced stagnation" to actually "threatening an inmate's sanity and
       severing his contacts with reality by placing him in a dark cell almost con-
       tinuously day and night. "349 The court noted that "prison officials, no less
       than sentencing judges, are bound by the strictures of the Eighth Amend-
       ment" and that the conditions in the strip cells fell below the "irreducible
       minimum of decency" required by those strictures. 350 Tiie court found
       "most offensive" the fact that prisoners were required to "live, eat and per-
       haps sleep in close confines with his own human waste," and concluded
       that such treatment seriously threatened inmates' "physical and mental
       soundness. "351
             In Berch v. Stahf3 52 jail inmates challenged various forms of solitary
       confinement in the Mecklenburg County Jail. Judge McMillan ruled that
       although solitary confinement for punishment purposes was "an extremely
       severe form of punishment," it was not cruel and unusual "when adminis-
       tered within proper bounds." 353 However, it did offend the Eighth Amend-
       ment when imposed for "excessive durations." 354 For prisoners subjected
       not only to isolation but also sensory deprivation in "cells so bare and
       dimly lit" that it was difficult for them to "do anything except sit, think and
       feel," there was the distinct possibility that their "[m]ental and emotional
       stability are thus threatened, and mental health may be impaired. "355
             Although less explicitly psychological in their analysis, other courts
       clearly recognized the pains of solitary confinement. For example, in
       Landman v. Royster, 356 a federalcourt ruledthat prisoners in solitarycgn:                         .... ··I··
  ..   Ili1e1neiifa1'e ''cfeii:ie<l alfhuman intercoui:se and anyn1eans (){diversion"
       and "[!Joss of good time credit may in effect amount to an additional prison
       sentence." 357 Thus, due process required that they be given a hearing in
       front of an impartial tribunal that afforded the right to counsel or counsel
       substitute and the opportunity to cross-examine witnesses before being
       placed there. The court noted further that it mattered little whether the

       sink or toilet (except for a hole in the floor that \Vas flushed fron1 outside the cell), and no
       reading ntaterial. 'Ilte 1naxin1um period of tin1e to \Vhich a prisoner could be sentenced \Vas
       eight days, extended only upon approval of the Conunissioner of Corrections. Id. at 99999
       977.
            349. Id. at 978.
            350. Id.
            351. Id.
            352. 373 F. Supp. 412 (W.D.N.C. 1974).
            353. Id. at 420.
            354. Id.
            355. Id.
            356. 333 F. Supp. 621 (E.D.Va. 1971). Conditions at the solitary units at the Virginia
       State Penitentiary and the Virginia State Farn1 included the absence of any \York and 9999999
       tional programs, no direct library access, lhnited outdoor exercise, and virtually no chance
       of parole directly froin solitary.
            357. Id. at 652.
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      prison administration chose to characterize solitary confinement as punish-
      ment or as something done in the interests of security or control. Instead
      the effect of the decision to place someone in solitary, given the realities of
      the conditions there, was what triggered the due process hearing. 358
           To be sure, courts in a number of other cases demonstrated a persis-
      tent unwillingness to consider the numerous studies on the adverse psycho-
      logical effects of isolation. Some acknowledged the serious psychological
      risks posed by solitary confinement even as they declined to forbid prison
      officials from taking them. As the First Circuit noted:
            Although depression, hopelessness, frustration, and other psycho-
            logical states may well prove to be inevitable by products of life-
            long incarceration, the threat of substantial serious and possibly
            irreversible if not critical psychological illness together with pro-
            longed or indefinite segregated confinement should increase the
            burden on prison authorities to explore feasible alternative custo-
            dial arrangements. 359
           Yet, many courts have simply refrained from ever directly "increasing
      the burden" on prison officials to address the psychological pains of
      supermax or solitary confinement and failed to provide them with mean-
      ingful legal incentives to explore feasible alternatives. 111e tendency to
      minimize psychological inquiries into the effects of solitary confinement
      has significantly reduced the effectiveness of judicial oversight. 360
      As one commentator has noted, "the emotional consequences of isolation



           358. Other due process cases i1nplicitly recognized the punitive nature of solitary con-
      finement. See, e.g., Gray v. Creamer, 465 F. 2d 179 (3rd Cir. 1972) (transferring prisoners
      fron1 general prison population to segregated confine1nent \vithout a hearing or notice of
      charges violated due process).
           359. Jackson v. Meachum, 699 F.2d 578, 584 (1st Cir. 1983).
          360. Even courts that recognize the possibility and hnpropriety of psychological hann
      appear much n1ore con1fortable focusing on physical rather than psychological fonns of n1is-
      treatment. For example, in Young v. Quinlan, 960 F.2d 351 (3d Cir. 1992), the court noted
      that "[\v]hile the prison ad1ninistration n1ay punish, it inay not do so in a inanner that threat-
      ens the physical and incntal health of prisoners." Id. at 364. TI1e court found that placing a
      prisoner in a "dry cell" in \Vhich he \Vas refused the opportunity "to relieve hin1self \Vith
      dignity, let alone adequate sanitation" \Vas cruel and unusual. Id. at 365. But its analysis
      focused inuch n1ore on the physical conditions, the squalor and inadequate sanitation than
      on \vhether such conditions 111ight "jeopardize the n1ental health or stability of the inmates
      so confined.,, Id. at 364. 111e tendency to ignore psychological testiinony about the effects of
      solitary confinc1nent or inininlize its i1nplications has not been litnited to courts in the
      United States. A Canadian Justice disn1issed expert testi1nony on the adverse effects of soli-
      tary confincn1ent because the experts \Vere "quite naturaUy for then1, carrying on their dia-
      logue in the \Vitness box in the language of their discipline, na1nely Psychology." JACKSON,
      supra note 19, at 102. Without benefit of any independent e1npirical base of his O\Vll, ho\v-
      ever, the Justice sin1ply asserted that "[i}n the context of construing and/or applying the la\VS
      of this country ... such tenninology overstates or exaggerates the effects and consequences
      of the accused." Id.
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       play a minor role in determining whether a constitutional violation
       exists. ,, 361

       2.    Deference to Administrative Discretion

            In the early years of federal litigation concerning prison conditions
       generally and solitary confinement in particular, courts were extremely re-
       luctant to critically scrutinize the judgments of corrections officials and or-
       der relief for prisoners. A district court's 1961 decision in Blythe v. E//is 362
       captured the attitude of the courts toward the decisions of prison adminis-
       trators. A prisoner who had discussed a "personal problem" with the Di-
       rector of the Texas Department of Corrections was placed in solitary
       confinement where the conditions were described as "most unpleasant and
       detrimental to health." 363 Although the prisoner was "yet weak from sur-
       gery" when he was placed in solitary, and "sickness and more surgery re-
       sulted from the unhealthy conditions" there,364 the district court dismissed
       the claim by characterizing placement in such a unit as "internal discipline"
       and noting that "[f]ederal courts do not inquire into such matters as solitary
       confine1nent. ,, 365
                A New York case that was decided a decade later reached similar con-
           clusions about solitary confinement. In Sostre v. McGinnis, 366 the Second
           Circuit focused primarily on the adequacy of the prisoner's diet, his oppor-
           tunity for exercise and personal hygiene, and access to therapy, reading
           materials, and communication with other prisoners in concluding that the
   _______ c_o11ciiti()11sjn__ this sQliJ<1ry CQllfl!lelllenL@iLwexe "severaLnotches a hove_
           those truly barbarous and inhumane conditions" that courts had previously
           found unconstitutional. 367 The court explicitly acknowledged its deference
           to correctional administrators: "Even a lifetime of study in prison adminis-
           tration and several advanced degrees in the field would not qualify us as a
           federal court to command state officials to shun a policy that they have

            361. Maria A. Luise, Solitary Co11fi11en1e11t: Legal and Psychological Considerations, 15
       Nmv ENo. J. CRIM. & Civ. CoNFINEMENT 301, 317 (1989). But see Justice Blackmun's at-
       ten1pt to counter this tendency by ren1inding his colleagues of the in1portance of psychologi-
       cal harm in analyses of prison cruelty. In his partial concurrence in Hudson v. McMillian,
       503 U.S. 1 (1992), he wrote that it was "not hard to imagine innictions of psychological
       hann-\vithout corresponding physical harn1-that n1ight prove to be cruel and unusual
       punisl11nent," that "pain" surely included psychological harm, and that there \Vas no prece-
       dent of \Vhich he \vas a\vare indicating that "psychological pain is not cognizable for consti-
       tutional purposes." Id. at 16.
           362. 194 F. Supp. 139 (S.D. Tex. 1961).
           363. Id. at 139.
           364. Id.
           365. Id. at 140.
           366. 442 F.2d 178 (2d Cir. 1971), rev'd 011 other gro1111ds sub 110111. Davidson v. Scully,
       694 F.2d 50 (2d Cir. 1982).
           367. Sostre, 442 F.2d at 193-4.
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      decided is suitable because to us the choice may seem unsound or person-
      ally repugnant." 368
           As the decade of the 1970s progressed and an increasing number of
      prisoner rights cases worked their way through the federal system, how-
      ever, a different view began to surface. One Court of Appeals noted that
      "blind deference to correctional officials does no real service to them" and
      suggested that prisoners "need to be able to challenge what appears to be
      arbitrary assertions of power by correctional officials during the course of
      their confinement." 369
           Yet, one significant barrier to those challenges remained: the Supreme
      Court had still done little to take the Constitution inside prison walls. Tiiat
      barrier was partially crossed in Wolff v. McDonnel/.31° Here the Court ad-
      dressed a procedural due process claim concerning the adequacy of discipli-
      nary procedures used in a Nebraska prison, and gave prison litigators some
      hope that the era of blind deference to correctional administrators might
      be ending. While noting that prisoners could have their constitutional
      rights "diminished by the needs and exigencies of the institutional environ-
      ment,"371 they could not be stripped of their rights entirely. Indeed, Justice
      White wrote that "(t]here is no iron curtain drawn between the Constitu-
      tion and the prisons of this country. " 372
           The Wolff doctrine certainly did not suggest that the preferences and
      concerns of prison officials were to be ignored. Although prisoners were
      entitled to the protection of the Due Process Clause, there still "must be
      mutual accommodation between institutional needs and objectives and the
      provisions of the Constitution. "373 Tiie liberty interest at stake in the loss
  - - -of goocnimeCl'ei:litsen:titled priso!fei°sTotfi:eniiiliriiiil i'equffemenrsor-aue-
           368. Id. at 191.
           369. Palmigiano v. Baxter, 487 F.2d 1280, 1283-4 (!st Cir. 1973), rev'd 011 other gro1111ds,
      425 U.S. 308 (1976).
           370. 418 U.S. 539 (1974).
           371. Id. at 555.
           372. Id. at 555-6.
           373. Id. at 556. Justice White ackno\vledgcd that the unique nature of prison hearings
      \Vas relevant to the balancing required by a due process analysis:
           Prison disciplinary proceedings ... take place in a closed, tightly controlled environ-
           inent peopled by those "'ho have chosen to violate the crin1inal la\v and \Vho have
           been la\vfully incarcerated for doing so . .. .[M]any are recidivists 'vho have repeat-
           edly e1nployed illegal and often very violent nlcans to attain their ends. 111ey 111ay
           have little regard for the safety of others or their property, or for the rules
           designed to provide an orderly and reasonably safe prison life . ... Guards and
           inn1ates co-exist in direct and inthnate contact. Tension bet,veen then1 is unretnit-
           ting. Frustration, resentn1ent, and despair are conunonplacc . ... Retaliation is
           111uch 1norc than a theoretical possibility; and the basic and unavoidable task of
           providing reasonable personal safety for guards and inn1ates n1ay be at stake, to
           say nothing of the ilnpact of disciplinary confrontations and the resulting escala-
           tion of personal antagonis1n on the ilnportant ahns of the correctional process.
      Id. at 561-2.
      But White did not scen1 to recognize that the closed, tightly controlled environment of
      prison and the unremitting tension, frustration, resentinent, and despair that it generates
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       process, but because adversary proceedings typical of a criminal trial would
       "very likely raise the level of confrontation between staff and inmate, and
       make more difficult the utilization of the disciplinary process as a tool to
       advance the rehabilitative goals of the institution," 374 the opportunity to
       confront and cross-examine one's accusers was not made part of the consti-
       tutionally-required procedure. The Court did not single out solitary con-
       finement; it was willing to mandate the same process when any "major
       change in the conditions of confinement" was imposed. 375
             It was not until Hutto v. Fi1111ey 376 was decided in the late 1970s that
       the Supreme Court explicitly acknowledges that solitary confinement rep-
       resented a type of punishment and therefore was subject to Eighth Amend-
       ment standards. At issue was a district court's remedial order following a
       finding that conditions in the Arkansas prison system were cruel and mrn-
       sual.377 Tiie contested order limited a prisoner's stay in punitive isolation to
       30 days. 378 Tiie Supreme Court endorsed the district judge's analysis that
       punitive isolation, although not a per se constitutional violation, "may be,
       depending on the duration of the confinement and the conditions
       thereof." 379 Put simply, the Court found that what "might be tolerable for a
       few days" could be "intolerable for weeks or months. "380 Among other
       things, this decision seemed to signal a willingness to review the solitary
       confinement policies and practices of prison administrators and perhaps to
       consider whether conditions in punitive isolation were psychologically
       tolerable.
             Unfortunately, the Court quickly clarified its position, and set course
       in the opposite direction. Just a year after Hutto the Court reaffirmed its
 -·· · · - ·aaerelifiaEtallce-fowai'dcofreCffoiis orn:crais:''[PJi'isoii-aaii1r111sfrafors[al'e ·· · · · · · -
       to be] accorded wide-ranging deference in the adoption and execution of
       policies and practices that in their judgment are needed to preserve inter-
       nal order and discipline and to maintain institutional security." 381 T11is is a
       course from which the Justices have rarely strayed. Indeed, more recently,

       111ight distort the judgn1ent and undennine the fair-ntlndcdness of corrections officials, n1ak-
       ing tneaningful judicial oversight that n1uch n1ore essential. I-le \Vrote instead that: "\Ve
       should not be too ready to exercise oversight and put aside the judg1nent of prison ad111inis-
       trators." Id. at 566.
             374. Id. at 563.
             375. Id. at 572 & n.19.
             376. 437 U.S. 678 (1978).
             377. Justice Stevens recounted the district court's characterization of the "routine con-
       ditions" in the Arkansas systen1 as a "dark and evil \Vorld co1npletely alien to the free
       world." Id. at 681 (quoting Holt v. Sarver, 309 F. Supp. 362, 381 (E.D. Ark. 1970)).
            378. "Punitive isolation" at that ti1ne in Arkansas \Vas described as indetern1inate con-
       finc1ncnt in a \Vindo\vless 8 x 10 cell into \Vhich four or 1nore prisoners \Vere typically
       cro\v<led, \Vilh no furniture other than a source of \Yater and toilet controlled fro1n outside
       the cell, and a special, highly restrictive, and unappealing diet. Id. at 682-3.
             379. Id. at 685·6.
             380. Id. at 687.
             381. Bell v. Wolfish, 441 U.S. 520, 547 {1979).
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     the Court's greater emphasis on the state of mind of prison officials382 and
     its nse of what amounts to a criminal recklessness standard with respect to
     the subjective prong of its Eighth Amendment inquiries, 383 suggests that its
     deferential tendencies have become even more pronounced. A willingness
     to routinely uphold virtually all internal correctional decisions concerning
     conditions of confinement in long-term supennax and solitary-like confine-
     ment-as judgments about "practices needed to preserve internal order
     and discipline and to maintain institutional security"-may emerge as a
     result. 384
          Perhaps not surprisingly, many of the subsequent cases concerning sol-
     itary confinement or disciplinary segregation have focused on alleged viola-
     tions of procedural due process rather than potentially cruel and unusual
     conditions. 385 This stance may reflect a compromise; while courts are still
     uncomfortable second-guessing the policies of prison administrators in cre-
     ating and maintaining psychologically harmful conditions in solitary con-
     finement, they are at least more willing to carefully and critically review the
     procedures by which prisoners were placed in such conditions.
          Perhaps also to avoid challenging prison administrators too directly or
     fundamentally, much caselaw has focused on very specific aspects of soli-
     tary confinement rather than the totality of conditions. Litigation has
     targeted mail policies,3 86 food, 387 conditions under which isolated prisoners
     exercised, 388 and the justification for long-term disciplinary segregation,389
     leaving the overall atmosphere intact.

           382. Wilson'" Seiter, 501 U.S. 294 (1991).
    ---------------------------------------------------------------------------------------------------------------
     an inference could be dra\vn that substantial risk of serious harm exists, and he tnust also
     dra\v that inference." Id. at 837.
           384. See Peterkin v. Jeffes, 855 F.2d 1021, 1033 (3d Cir. 1988) ("TI1e Eighth Amend-
     1nent does not authorize a federal court to second guess their decisions nor is it our role to
     express our agree1nent or disagreement with their overall policies or theories of prison ad-
     n1inistration, as long as \Ve find no constitutional violation.").
           385. See, e.g., Graham v. Baughman, 772 F.2d 441 (8th Cir. 1985) (finding that prison
     officials' arbitrary denial of inn1ates' qualified right to present \Vitnesses or doctunentary
     evidence at disciplinary hearing violated procedural due process); Pitts v. Kee, 511 F. Supp.
     497 (D. Del. 1981) (fmding that keeping a prisoner in solitary confinement without affording
     hin1 an opportunity to rebut charges against hhn violated due process clause).
           386. See, e.g., Gregory v. Auger, 768 F.2d 287 (8th Cir. 1985) (holding that Iowa prison
     officials n1ay ilnplen1ent certain restrictive mail policies in disciplinary detention); Guajardo
     v. Estelle, 568 F. Supp. 1354 (S.D. Texas 1983) (holding that denial of certain publications to
     in1nates in punitive segregation did not violate First An1endrnent rights).
           387. See, e.g., Ford v. Board of Managers, 407 F.2d 937 (3d Cir. 1969) (finding no
     Eighth An1endn1ent violation in the fact that prisoners in solitary confinen1ent received only
     four slices of bread and a pint of \Valer three thnes daily and one fuH nleal every other day).
     But see Jenkins v. Werger, 564 F.Supp. 806 (D. Wyo. 1983) (finding that statute permitting
     in1nates \Vho \Vere "unruly or disorderly," or \Vho ''\villfully or \Vantonly" destroyed prison
     property to be confined to solitary confinen1ent \Vhere they \Vere fed only bread and \Valer
     for five days violated the Eighth A1nend1ncnt).
          388. See, e.g., Gordon v. Faber, 800 F. Supp. 797 (N.D. Iowa 1992) (holding that forcing
     prisoners to exercise outside in subfreezing \Veather \Vithout hats or gloves for n1orc than
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      3.    The Normalization of Solitary Confinement
             Another more subtle but equally important trend threatens to under-
       mine the utility and vitality of the Eighth Amendment in future litigation
       over cruel conditions of supennax and solitary confinement. In the modern
       era of Eighth Amendment jurisprudence, a prisoner's right to be free of
       cruel and unusual punishment is thought to be informed by "broad and
       idealistic concepts of dignity, civilized standards, humanity, and de-
       cency."390 An implicit assumption in the way most commentators have
       thought and written about these idealistic concepts was that they were
       "evolving," improving, moving, however slowly, towards more humane and
       civilized standards of treatment. Indeed, Chief Justice Warren's previously
       cited view explicitly recognized the degree to which the Eighth Amend-
       ment was thought to be tethered to increasingly civilized and humane sen-
       sitivities, indeed, that the Amendment "must draw its meaning from the
       evolving standards of decency that mark the progress of a maturing soci-
       ety."391 Presumably, then, as the process of its "maturing" unfolded, our
       society would progress towards greater levels of decency in the standards
       used to evaluate and limit state-sanctioned punishment.
             This perspective establishes the context in which the objective prong
       of Wilson's two step inquiry-that is, whether the conditions in question
       inflicted pain serious enough to implicate constitutional concerns-must be
       viewed. As the Supreme Court stated in Farmer v. Brennan, the conditions
       created by "a prison official's act or omission must result in the denial of
       the minimal civilized measure of life's necessities." 392 Indeed, it was pre-
     ______________________________________________ civilized measures" that most courts, legal
       commentators, and prisoii 1illiaioi:S-as-sult1-ed\vas1lliii.e           pi:oC:essofevofv:
       ing-however slowly-towards something more sensitive, humane, and
       decent.
             Over the last several decades, however, this process appears to have
       been reversed. We have witnessed what might better be characterized as
       the "devolution" of standards of decency on matters of crime and punish-
       ment.393 State sanctioned punishments that once were generally disfavored
       if not actually condemned by the larger society have now become politi-
       cally expedient and once again commonplace. 394 Applicable standards for
       Eighth Amendment assessments of supermax and solitary confinement are
      one hour inflicted pain in the absence of penological purpose and, therefore, vioJates the
      Eiglith Amendment).
           389. See, e.g., Morris v. Travisono, 549 F. Supp. 291 (D.R.!. 1982) (finding that confine-
      tnent in punitive segregation for over eight years could not be justified by prison or criminal
      record and instead appeared to be punislunent for the n1urder of a prison guard).
           390. Estelle v. Gamble, 429 U.S. 97, 102 (1976).
           391. 'Il:op v. Dulles, 356 U.S. 86, 101 (1958).
           392. Farmer, 511 U.S. at 834 (citing Rhodes v. Chapman, 452 U.S. 337, 349 (1981)).
           393. See supra note 300 and the articles cited therein.
           394. Francis Cullen, 1lssessh1g the Penal Hann 1\fove111e11t, 32 J. REs. IN CRii\IE & DE-
      LINQ. 338 (1995).
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       implicated at several levels. For one, dimensions of public repudiation are
       themselves influenced by existing penal practices. What people think about
       prison practices is influenced in part by what they learn about practices that
       are currently in effect and by the presumption that institutions engage in
       those practices for good reasons. 395 Yet, legal commentators have been
       shocked by what they have characterized as a "rage to punish" 396 that has
       emerged in American political and correctional circles in recent years. TI1is
       period has been termed the "mean season" 397 of American corrections, one
       in which prison policy has been reduced to finding "creative strategies to
       make offenders suffer," 398 and the best that many critics can say abont pre-
       vailing correctional practices is that they reflect the "malign neglect" 399 of
       those who impose them.
             This politically-inspired punishment wave has made it increasingly dif-
       ficult for the public to repudiate supennax and solitary confinement. Thus,
       when the Supreme Court indicates that the harm complained of in an
       Eighth Amendment case must be validated by more than a scientific and
       statistical inquiry establishing some likelihood that serious injury would re-
       sult, and would require a demonstration that the risk be so grave that soci-
       ety would not tolerate unwilling exposure to it,4 00 it is becoming
       increasingly difficult to imagine what such a demonstration might consist
       of. It is precisely in times like these-admittedly, unusual times-that the
       circularity of the Eighth Amendment-evaluating the propriety of policies
       and practices of publicly-elected or politically appointed officials by refer-
       ence to the sentiments of the public or the officials themselves-is most
       problematic. And, certainly to the extent that members of the public at
 - - ---riii'ge-are ICepTunilffofinEd aoounmq5sycliological consequences of longc
       term supennax and solitary confinement and have little or no firsthand
       knowledge of actual prison conditions, then they are even less likely to
       condemn or reject practices whose widespread use implies professional
       acceptability.
            Moreover, to courts that have become accustomed to mainline condi-
       tions of confinement that are increasingly severe and countenanced by the
       same correctional perspective that has created the "mean season" of con-
       temporary prison life, long-term supennax and solitary confinement no
       doubt look less unusual and, presumably, less cruel-not because they are
       objectively any more tolerable but because we have simply gotten used to

          395. Haney and Zhnbardo tcnned this the "presun1ption of institutional rationality.''
       Haney & Zi1nbardo, Socializatio11, supra note 80, at 204.
           396. Lois G. FoRER, A     RAGE TO PuN1s1-1: TttE UNINTENDED CONSEQUENCES OF
       MANDATORY SENTENCING (1994).
           397. Cullen, supra note 392, at 340.
           398. Id.
          399. MICHAEL TONRY, MALIGN          NEGLECT:   RACE,   CRIME,   AND   PUNISHr-.tENT    JN
       AMERICA (1995).
           400. Helling v. McKinney, 509 U.S. 25, 36 (1993).
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     them and to other conditions much like them. One variation of this im-
     plicit comparative logic could be seen in the Supreme Court's analysis of
     due process issues in Sandin v. Conner. 401 Because disciplinary segregation
     did not, in the Court's view, impose a hardship that was "atypical and sig-
     nificant"402 in relation to the "ordinary incidents of prison life" at the insti-
     tution in question,4°3 it held that no additional procedures were
     constitutionally mandated in order to place prisoners there. Indeed, since
     conditions in the prison were said to "involve significant amounts of
     'lockdown' time even for inmates in the general population," 404 the Justices
     concluded that 30 days in the hole did not represent a major disruption.
     TI1e harshness of conditions in the general prison population mitigated
     their view of the nature of the deprivation created by this solitary-like
     confinement.
          Thus, direct judicial scrutiny of supermax and solitary confinement is
     significantly weakened by the requirement that courts formally defer to the
     judgments of the same prison officials who have created the conditions
     under review. And, as these extreme penal practices become increasingly
     widespread, it becomes correspondingly more difficult for courts to con-
     demn them as outside correctional norms. Long-term and severe condi-
     tions of solitary confinement are "penologically justified" by their
     increasingly widespread use, and perhaps little else. Put differently, one is
     hard pressed to apply a standard of review that requires any practice, how-
     ever ill-conceived, to be "totally without penological justification,"405 so
     long as it exists in more than a few prison systems.



          TI1e inadequacies that plague current constitutional doctrines used to
     evaluate solitary confinement were apparent in the recently litigated case
     involving the Security Housing Unit at Pelican Bay Prison. Many commen-
     tators viewed the litigation as a test case on the constitutional viability of
                                                                                                 J
     the new "supennax" prison form. 406 TI1e trial court heard extensive testi-
     mony concerning the psychologically destructive potential of the extreme
     form of punitive segregation practiced at the prison, and it reached a series
     of extremely critical conclusions about the operation of the prison itself,
     including a number of sophisticated insights about the psychological dy-
     namics prevailing inside the isolation units. However, the court stopped
     short of taking all of the direct steps necessary to reduce the widespread
     psychic pain suffered at the prison or to lessen the risks of long-term harm

            401. 515 U.S. 472 (1995).
            402. Id. at 484.
            403. Id. at 486.
            404. Id.
                                                                                                 I
            405. Young v. Quinlan, 960 F.2d 351 (1992).
            406. Madrid v. Gomez, 889 F. Supp. 1146 (N.D. Cal. 1995).                            i.
                                                                                                 II
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         for the great majority of prisoners housed there. To be sure, the court or-
         dered the Pelican Bay SHU to modify a number of specific practices, such
         as the prevalent pattern of brutality, the "systematic deficiencies" in the
         provision of medical care," 407 and the severe shortcomings in the level of
         mental health staffing needed to provide adequate psychological screening,
         monitoring, or treatment services. But prevailing legal doctrine precluded
         the court from significantly altering the general conditions of SHU confine-
         ment at the prison. Indeed, the court was unable to extend its otherwise
         complex and nuanced understanding of the psychological forces at work in
         a punitive segregation unit to the critical task of directly modifying the to-
         tality of conditions that adversely affected the great majority of prisoners
         who experienced them on a long-term basis.
               111e Madrid court acknowledged the prison's "tremendous potential
         for abuse," stemming in part from the guards' "nearly total control over the
         inmates under their supervision," as well as the fact that the physical envi-
         ronment at the prison "reinforces a sense of isolation and detachment from
         the outside world, and helps create a palpable distance from ordinary com-
         punctions, inhibitions and community norms. "408 111e findings of fact
         pointed to the "stark sterility and unremitting monotony" of the prison, 409
         the fact that prisoners "can go weeks, months or potentially years with little
         or no opportunity for normal social contact with other people," 410 and the
         fact that overall conditions in the units "may be harsher than necessary to
         accommodate the needs of the institution." 411
               Nonetheless, the court did not require the prison to alter or modify
________ m1y__ooooooooooooooooooooooooooooooooo The opinion acknowledged that "[s]ocial
        science and clinical literatt!i:ei1aveconsistentlyi·epoi:ted tJ1af-\vhen-liiin1an
        beings are subjected to social isolation and reduced environmental stimula-
        tion, they may deteriorate mentally and in some cases develop psychiatric




             407. Id. at 1210.
              408, Id. at 1160. TI1c court found that the use of excessive force had taken a variety of
         forn1s at the prison. TI1is included breaking one prisoner's ann by bending it back through
         his tray slot, leaving prisoners "hog-tied" or in fetal restraints for hours at a ti1ne, placing
         "naked or partially dressed inn1ates in outdoor holding cages during inclement \Veather"
         \Vhere they \Vere "exposed to the elen1ents as \vcll as public vie\v," engaging in unnecessarily
         high nu1nbers of "celJ extractions" in \Vhich tean1s of guards en1ployed prescribed proce-
         dures that the court characterized as "undeniably violent ntaneuver[s] \vhich can involve
         several \vcapons, including 38 1nillin1eter gas guns, lasers, short tnetal batons, and n1ace,"
         and discharging fireanns that \Vere "used unnecessarily, and in sonic cases, recklessly" and
         son1ctin1es \vith lethal consequences. Id. at 1171, 1172, ooooooooo
             409. Id. at 1229.
             410. Id.
             411. Id. at 1263.
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      disturbances" 412 and found in the instant case that "many, if not most, in-
      mates in the SHU experience some degree of psychological trauma in reac-
      tion to their extreme social isolation and the severely restricted
      environmental stimulation in the SHU." 413
           Yet, the court simultaneously ruled that although the conditions in the
      segregation units were "relatively extreme," the fact that "they do not have
      a uniform effect on all inmates" 414 led to the conclusion that "for many
      inmates, it does not appear that the degree of mental injury suffered signifi-
      cantly exceeds the kind of generalized psychological pain that courts have
      found compatible with 8th Amendment standards." 415 The operative for-
      mulation was this one:
                 While a risk of a more serious (mental) injnry is not non-exis-
            tent, we are not persuaded, on the present record and given all the
            circumstances, that the risk of developing an injury to mental
            health of sufficiently serious magnitude due to current conditions
            in the SHU is high enough for the SHU population as a whole, to
            find that current conditions in the SHU are per se violative of the
            8th Amendment with respect to all potential inmates. 416
             TI1is conclusion was unexpected in light of the testimony given at trial
        but not in the context of prevailing legal precedent. TI1e prison had pro-
        duced no convincing evidence that the extreme harshness of this environ-
        ment was necessary to further any legitimate penological purpose, and the
        court noted that on it had found none. 417 No evidence had been produced
        to indicate that psychological destructiveness of these conditions was lim-
---------ited-only-to-those-prisoners-who-previously-hadsuffered-fronrmeurnnllc-- -
        ness. To the contrary, the thrust of the expert testimony was that tranma of
        the sort that was being inflicted at the prison, and which the court acknowl-
        edged existed for "most" of the prisoners who endured it for longer than
        brief periods (virtually all of the prisoners housed in punitive segregation),
        was likely to have acutely painful effects that posed a significant risk of
        long-term damage. 418 Moreover, many prisoners reported symptoms that

           412. Id. at 1230.
           413. Id. at 1235. Later in the opinion the court seen1ed to go a step further: "[T)he
      record dentonstrates that the conditions of extre1ne social isolation and reduced environ-
      n1cntal stintulation found in the Pelican Bay SHU \Vill likely inflict son1e degree of psycho-
      logical traunta upon 1nost in1nates confined there for 1nore than brief periods." Id. at 1265.
           414. Id.
           415. Id. In this context the court found that prisoners \vho \Vere already 1nental1y ill,
      those \vith borderline personality disorders, brain da1nage or 1nental retardation, hnpulse-
      ridden personalities and those \Vith a history of prior psychiatric proble1ns or chronic de-
      pression could not be constitutionally housed in these segregation units.
           416. Id. (emphasis in original).
           417. Id. at 1264 ("so1nc of these conditions appear, at best, tenuously related to legiti-
      n1ate concerns").
           418. T11e court's suggestion that Haney's study of psychological trau1na and isolation-
      rclated psychopathology revealed that "the 1nore severe syn1pton1s arc only experienced by
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       were not only indicative of a significant risk of future long-term damage
       but actually evidence that such damage had already occurred.
             111e Madrid opinion crystalizes the problematic state of lhe legal doc-
       trine that now governs these issues. A federal court that had been coura-
       geous enough to consolidate prisoner complaints and, in essence, initiate
       the litigation, that had engaged in an unusually sophisticated psychological
       analysis of an especially elaborate factual record, and that documented ad-
       verse effects that were widespread and extreme, nevertheless was forced by
       existing law to articulate a standard of psychological harm that will be very
       difficult for future plaintiffs to meet. Admitting that conditions inside these
       units "may press the outer bound of what most humans can psychologically
       tolerate," 419 the court found them legally tolerable because they did not
       create "a sufficiently high risk to all inmates of incurring a serious mental
       illness." 420 Unfortunately, this portion of the opinion could easily be misin-
       terpreted to mean that no prison can be considered psychologically cruel
       and unusual unless it is highly likely to drive its prisoners crazy. Although it
       seems very doubtful that the court intended to articulate such a standard.
       Yet if consistently misapplied, this extraordinary threshold of cognizable
       Eighth Amendment psychic pain, limited to those things that create a high
       risk that everyone exposed to them will become seriously mentally ill,
       could legitimize virtually any form of degrading, inhumane, and psycholog-
       ically abusive treatment in prison, no matter how extreme and otherwise
       harmful. 111is is because no known set of conditions, in prison or out, can
       create a high probability that everyone who experiences them will suffer
       serious mental illness as a result. 421 If this were to become the legal stan-
   -----oai:OoY-\vliiclitlie-psycliological-significance--ofthe-pains-of-supermaxand--
       solitary confinement were judged, it would be no standard at all.
      a 1ninority of the SHU population" \vas difficult to interpret in light of the record itself, in
      \Vhich very serious sy1npto1ns \Vere reported by significant 1najorities of prisoners. Id. at
      1235. Indeed, at one point the court referred to a finding that so1ne 19o/o of prisoners \Vho
      responded to a "control" question (i.e., so1nething that \Vas not identified as a syn1pto1n of
      psychological disturbance) as a "relatively high response," possibly indicative of son1e de-
      gree of overall exaggeration. On virtually every actual syn1pton1, ho\vever, even on indices
      of severe psychopathology, the prisoners' response level \Vas inuch higher-double or
      inore-than the "high" response level to this control question. Id.
           419. Id. at 1267; see also id. at 1280 ("Conditions in the SHU may well hover on the
      edge of \vhat is hu1nanly tolerable for those \vith norn1al resilience, particularly \\'hen en-
      dured for extended periods of ti1ne.").
           420. Id. at 1267 (emphasis added). TI1e court employed a different and more workable
      standard later in the opinion, \\'hen concluding that the prison had "cross[ed] the constitu-
      tional line" by forcing certain subgroups of prisoners to endure SHU conditions \Vhen it
      kne\V that "the likely consequence for such hunates is serious injury to their 1nental health."
      Id. at 1279.
           421. It is i1nportant to ackno\vledge that the Madrid court did exen1pt certain catego-
      ries of prisoners fron1 place111ent in the Pelican Bay Security Housing Unit based on their
      pre-existing psychological state. Prisoners \Vho \Vere already 111entally ill or \\'ho suffered
      fron1 chronic depression, fron1 brain damage, or front n1ental retardation \Vere not to be
      exposed to the extre1ne SHU conditions because, as the judge put it, "[s]uch in1natcs are not
      required to endure the horrific suffering of a serious 1nental illness or a niajor exacerbation
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            Clearly, any realistic hope of developing meaningful protections for
      prisoners inside these specially designed "prisons of the future" rests on
      our ability to fashion standards more psychologically sensitive than those
      now being applied. Evolving standards of decency must be premised on
      advances in psychological knowledge as well as changing technological and
      penological norms. Even in this most recent opinion concerning Pelican
      Bay-one that seemed to grapple very seriously and thoughtfully with the
      psychological consequences of this new prison form-the implications of
      the large and consistent literature documenting the deleterious effects of
      solitary confinement, although seemingly fully appreciated, were not and
      could not be effectively brought to bear. Thus, in the spirit of applying ex-
      isting knowledge to the development of badly needed standards, in the
      next section we propose a set of tentative guidelines by which conditions of
      confinement inside modern solitary and punitive segregation units can be
      more meaningfully regulated.

                                                    IV.
                   REGULATING THE USE OF SUPERMAX AND SOLITARY
                     CONFINEMENT: TOWARD HUMANE LIMITS ON THE
                                         PAINS OF ISOLATION

            Meaningful legal regulation must balance the legitimate interests of
      prison administrators to maintain institutional security and the physical
      safety of the line staff and prisoners against the interests of prisoners them-
      selves to be free from unnecessarily cruel and psychologically harmful pun-
      ishments. To do so, legal regulators must carefully and realistically examine
      the correctional goals that are achieved and the harms that are inflicted by
      the use of long-term solitary confinement and punitive segregation. The
      penological justification of solitary confinement cannot simply be assumed
      or accepted at the outset of this inquiry. Instead, it must be assessed by
      examining both the positive and negative impact on prisoner behavior and
      institutional functioning as well as the physical and psychological harm that
      results. Legal regulators cannot routinely react with largely unquestioning
      deference to claims by correctional administrators that solitary confine-
      ment is necessary to achieve legitimate penal goals without demanding per-
      suasive evidence to corroborate these claims. Similarly, there is no legal or

      of an existing mental illness before obtaining relief." Id. at 1265. Thus, about a year after its
      historic decision, the Madrid court ordered the state to remove prisoners meeting those
      diagnostic descriptions from the SHU, to implement plans for the screening and monitoring
      of the psychiatric condition of prisoners, and to create a special "Psychiatric Security Unit"
      to provide treatment for acutely disturbed SHU prisoners. Specifically not included in the
      removal order were prisoners suffering from the acute effects of isolation itself, sometimes
      called "reduced environmental stimulation syndrome," because the court had not found
      that "the risk of suffering a sufficiently serious degree of psychological trauma was high
      an1ong all inmates to justify a presumptive exclusionary category based" on this syndrome
      alone. Madrid v. Gomez, No. C90-3094 (N.D. Cal. Dec. 15, 1995) (remedial order re: exclu-
      sion from Security Housing Unit), at 15-16.
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     constitutional justification for narrowly focusing on physical rather than
     psychological standards of harm and mistreatment, even though judicial
     analyses of the effects of solitary confinement on prisoners ignored over-
     whelming evidence of psychological harm of the sort that we reviewed
     above. By underestimating the psychological pain and deterioration pro-
     duced by these conditions and simultaneously accepting, often uncritically,
     the validity of penological justifications, the courts have given prisoners the
     worst of both worlds: they suffer untold pains inflicted without proven
     purpose.
           For example, according to a recent study of the California prison sys-
     tem,422 segregation policies adopted in California to deal with that state's
     gang problem not only have done little to reduce violence or to create a
     feeling of safety and security among prisoners but actually may have wors-
     ened the problem that they were intended to solve. Researchers report in-
     creased fear among prisoners-prison life in California is now seen as more
     "capricious and dangerous" 423-and, paradoxically, gang activity has in-
     creased as gang members have been removed and housed in special "secur-
     ity housing units" throughout the system: "In other words, prison
     authorities' efforts to contain the spread of gangs led, unintentionally, to a
     vacuum within the prison population within which new prison groupings
     developed. "424 Prisoners must currently contend with the conflicting loyal-
     ties and alliances among some nine or ten different prison gangs in the
     California system rather than the four or five main gangs that previously
     operated. Moreover, the prison system's policy of inferring gang member-
     ship from what may reflect little more than prior neighborhood contact or
     acquaintance, combined with the increased level of uncertainty and fear
     among the prisoners themselves, mean that "gang membership has now
     become more automatic, especially for Chicanos." 425 Many interviewees
     expressed precisely the same feeling in Haney's426 study of the state's
     harshest punitive segregation prison, Pelican Bay, where many of the sus-
     pected gang members have been sent. Prisoners reported having reacted to
     the official policy of housing them at certain mainline prisons based on the
     geographical locales in which they previously lived and the perceived high
     likelihood that they would be erroneously identified as gang members and
     suffer the negative consequences anyway. When added to the uncertainties
     of life in badly overcrowded prisons, these things led many prisoners to
     conclude that the prison administration had in essence given them no other
     choice but to join gangs.


        422. Hunt et al., supra note 75.
        423. Id. at 407.
        424. Id. at 403.
        425. Id. at 404-5.
        426. Haney, Infamous Punishn1ent, supra note 12.
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            A careful analysis of both the negative psychological effects of
      supermax and long-term solitary confinement and the absence of convinc-
      ing evidence of its correctional benefits or rational justification leads us to
      conclude that these practices must be subjected to more searching legal
      monitoring and regulation. Toward that end, we propose a series of limiting
      standards that are rooted in the psychological literature and intended as
      the basis for a more effective, realistic, and psychologically meaningful
      oversight of solitary and supennax confinement. Like all frameworks for
      institutional oversight, this one will prove useful only if it is seen as
      programmatic (i.e., a starting point whose provision should be read as in-
      terconnected) and provisional (i.e., in continuous need of evaluation and
      revision). In general terms, we advocate mandatory screening and monitor-
      ing of prisoners placed in solitary confinement for psychiatric reactions,
      drastically limiting the maximum lengths of time prisoners can be kept in
      solitary confinement, and greatly improving the nature of the conditions to
      which prisoners are exposed while incarcerated under such a regime.
      Specifically:
           Segregated prisoners must retain all of the fundamental constitutional
      rights and privileges afforded mainline prisoners. 427
           Adequate due process should be afforded all prisoners before transfer
      to disciplinary segregation, solitary, or supermax units, irrespective of the
      particular purpose that correctional officials ascribe to the transfer itself. 428

           427. 111e argun1ent has been n1ade that, to the degree that coercive rnistreatn1ent can·
      not be elhninate<l from the solitary confinement regin1e, the reginte itself should be prohib·
    __ ited._Eo.r_exan1ple,-Don--Foster--has-concluded-that-since-legal-safcguards-in-South--Africa-
      "have usually proved ineffective in protecting detainees fro1n physical and psychological
      abuses," ntunerous refonns are required, including "[t]he abolition of solitary confine1nent
      and any other fonu of prescribed social isolation." FosTER, DETEl'\'TION & TORTURE, supra
      note 97, at 178. Other researchers recon11nend that juvenile institution ad1ninistrators
      "[e]lhninate separate isolation units. 111ey are a needless drain on the budget and personnel,
      undennine creative behavior progran1s, and increase the likelihood that isolation will be
      overused." Mitchell and Varley, supra note 140, at 254.
           428. Our preceding discussion of the nature of solitary confinen1ent established its sub-
      stantial psychological risks. 111ese risks do not vary as a function of the different purposes
      that correctional decision 1nakers n1ay have for placing a prisoner in such units. To protect
      prisoners' liberty interests in avoiding such potentially destructive experiences and to safe-
      guard against the erroneous and unreliable place1nent of prisoners in these painful and
      sometin1es da1naging environments, prisoners should be afforded the due process protec-
      tions first outlined by the United States Supre1ne Court in \Volff v. McDonnell, 418 U.S. 539
      (1974), including advance notice of the violation and evidence and the right to a hearing or
      disciplinary proceeding that includes the opportunity to present \Vitnesses and other evi-
      dence in a 1nanner consistent \Vith institutional security. 111is reconunendation appears
      son1e\vhat inconsistent \Vith Sandin v. Conner, 515 U.S. 472 (1995), in \Vhich the Supren1e
      Court recently decided that 30 days confine1ncnt in a Special Holding Unit (n1uch like the
      generic punitive isolation units to \vhich \Ve have been referring) did not hnplicate liberty
      interests of the sort that \Vould require lVolff-like due process. In reaching this result, ho\V·
      ever, the Court focused on \vhether the segregated confineinent represented "a dran1atic
      departure fro1n the basic conditions" of the prisoners sentence, \Vhether it \Vas an "atypical,
      significant deprivation," and \Vhether conditions in the special unit \Vere siinilar to others,
      "even for inn1ates in the general population." Id. at 484 (footnote 01nitted). Indeed, there is
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               No prisoner shonld be kept in administrative segregation for longer
          than 10 days absent or pending a dne process hearing to determine discipli-
          nary segregation status. 429
               Except under truly extraordinary circumstances, segregation from
          mainline prisoners should be limited to no more than 2 years, irrespective
          of the nature of the disciplinary offense. 430

           nothing about the conditions of confinen1ent in long-tenn punitive segregation that is
           "\vithin the range of confinen1cnt to be nonnally expected" by maxhnun1 security prisoners.
           Id. at 485. It is \Vorth noting, in this context, that four Justices filed hvo separate dissents
            arguing in essence that even a 30-day sentence in the prison segregation unit should trigger
            the full panoply of lVolff due process procedural protections. For exa1nple, Justices Breyer
           and Souter sa\V such confine1nent as "\vork[ing] a fairly n1ajor change" in the prisoner's
           conditions:
                  As a result of disciplinary segregation ... Conner, for 30 days, had to spend his
                  entire tin1e alone in his cell {\vith the exception of 50 1ninutes each day on average
                  for brief exercise and sho,ver periods, during \vhich he nonetheless re1nained iso-
                  lated fro1n other inn1ates and \Vas constrained by leg irons and "'aist chains).
           Id. at 488.
                  429. Ad1uinistrative segregation often a1nounts to a kind of correctional "no iuan's
           land" in \Vhich prisoners are kept segregated and often isolated for reasons of ad1ninistrative
           discretion and son1ethnes 1nere convenience or unspecified punitive purposes. On the other
           hand, it is not difficult to appreciate the legitin1ate uses to \Vhich im1nediate, short-tenn
           housing in such units can be put, such as housing vulnerable prisoners \Vho are a\vaiting
           transfers to safer institutions, those \Vho are suspected of serious disciplinary infractions
           \Vho nlust be segregated pending a hearing, and so on. Ho\vever, adininistrative segregation
           lends itself to abuse of discretion, precisely because of the often standardless nature of the
           decision-n1aking process by \Vhich it is imposed and the son1etiines indefinite length of the
           confine1nent itself. Indeed, it represents \Vhat one legal conunentator has called "the 1nost
__ ------------biliIB_ling_p_unis111us:_11t_Jh_eJaiYfu_l_p_rison_has_ to __o ffer,_ I tis_ used_ to__ brea k _the_ spirit -----------
           ers \Vho look too proud or strong, and to settle scores behveen guards and prisoners that do
           not lend the1uselves easily to the factual proof required in disciplinary hearings." Jonathan
           A. \Villens, Structure, Content and the Exigencies of lVar: An1erica11 Prison Lall' After
           Tlventy-Five Years 1962-1987, 37 AM. U. L. REv. 41, 129 (1987). Willens also observed:
           "(I}solation attacks the personality and long separation 111akes the prisoner a stranger in his
           co1nn1unity. If citizenship includes 1) a clahn lo be \Vith people, and 2) a clain1 to be kept
           'vhole, then necessary discretion rejects half of the prisoner's citizenship." Id. at 130.
                  430. This provision should be read in conjunction \Vith all subsequent ones, including
           those concerning access to progra1ns and activities for prisoners confined to segregation for
           90 days or longer. See infra note 438 and acco1npanying text. Co111pare -----------CORREC-
           TIONAL AssOCIAT!ON, MANUAL OF CORRECTIONAL STANDARDS 253 (1959):
                  Segregation for punislunent should be for the shortest period that 'viii accon1plish
                  the desired result of nlaking the in111ate an1enable to discipline, and in any event
                  not over thirty days. \Vith n1ost in1nates and for 1nost infractions a period of a fe,v
                  days proves sufficient. In other cases, a fe\\' days in punitive segregation follo\ved
                  by thirty to ninety days in ad1ninistrative segregation, or in so1ne other status that
                  involves continued control or loss of privileges is sufficient. Excessively long peri-
                  ods for punishtnent defeat their O\Vn purpose by en1bittering and de1noralizing the
                  in1nate.... For isolation and separate confinen1ent, increased security arrange-
                  n1ents iinposed at the institutional level, these rules provide sotne discretion. Isola-
                  tion is to be used only for n1ajor violations of disciplinary rules (or a persistent
                  pattern of 1ninor violations) and is lin1ited to ten days rather than the current fif-
                  teen. The change foJlo\vs trends in several states. Separate confine1nent 1nay be
                  hnposcd for disciplinary violations for periods of up to thirty days. It nlay also be
                  used for protective custody.
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               No prisoner should be confined to segregated housing for indetermi-
         nate or indefinite terms. 431
               Conditions of total social isolation and extreme sensory deprivation
         (e.g., darkness) should be prohibited entirely. 432

         Nothing that has been learned since about the psychological consequences of solitary con-
         fine111ent or punitive segregation indicates that these nearly 40-year old guidelines are obso-
         lete. llo\vever, they see1n \vildly out of synch \Vith conten1porary practices in \Vhich
         prisoners are confined to segregation for many years. \Ve propose a t\vo-year lin1it as a
         con1pron1ise bet,vccn earlier, saner standards and the extraordinary and dangerous practices
         to \Vhich An1crican corrections has beco1ne accustonted. See also Mitchell and Varley, supra
         note 140 at 254 (recon1111ending n1uch more stringent lin1its for juveniles). TI1ey also recon1·
              n1end that adn1inistrators "[p]lace a finn upper tin1e lhnit on isolation. A 24-hour upper
              lin1it is more than sufficient. One of the facilities the authors consulted found a 5-hour lin1it
              \Vorkable, and judges who enjoin facilities fro1n overusing isolation tend to in1pose lin1its in
              the range of 2 to 5 hours." Id. at 254 (reference omitted). Cf Lollis v. New York State
             Department of Social Services, 322 F. Supp. 473, 482 (S.D.N.Y. 1970): "Measured by the
             standards of the Eighth An1endn1ent cases ... [and] the views of experts in the field of
              adolescent psychology ... a t\vo-\veek confinen1ent of a fourteen-year old girl in a stripped
              room in night clothes \Vi.th no recreational facilities or even reading n1atter n1ust be held to
             violate the Constitution's ban on cruel and unusual punislunent." Id. Co111pare Ada1ns v.
              Carlson, 488 F.2d 619,628 (7th Cir. 1973) (segregation "should not exceed a few months, if
              that long"). 1l1e Ada111s court cited state statutes li1niting punitive segregation to approxi-
              n1ately one month:
                    Several states place a statutory n1axinn11n on the thne for \Vhich a prisoner inay be
                    segregated, including Missouri, Ann.Mo. Stats.§ 216.455(1) (1962) (ten days), New
                    Hampshire, N.H.Rev.Stals.Ann. § 622:14 (1955) (thirty days), and Tennessee,
                    Tenn. Code Ann.§ 41-707 (1955) (thirty days). Id. at 62811. 14. Nole, in addition,
                    the regulations of the Texas Depart1nent of Corrections referred to in Novak v.                  I
                    Belo, 453 F.2d 661, 667 (5th Cir. 1971) (fifteen days maximum), and those of the
 --- ---- ----------Departtnent-of--€orrections;---District-of--Golu1nbia-,-- cited--in--Fuhvood--v;- Glenuner--,-
                    206 F. Supp. 370, 378 n. 29 (D.D.C. 1962) (fifteen days maximum).                                \
                    431. Indeter111inate tern1s can result in the kind of abuses the Afadrid court described
              but did not prohibit:                                                                                  J
                    [A]n inn1ate \Vho \Vas validated [as a gang n1en1ber] in 1979, but has not engaged in
                    any gang activity or other\vise associated \Vith gang n1e111bers since then \Vill still be
                    retained in the SHU in 1994, fifteen years later, absent a successful debriefing [in
                                                                                                                     I   '
                    \Vhich he n1ust provide incriminating inforn1ation about other gang n1en1bers]. 1l1c
                    lack of continuing evidence of gang membership or activity is sin1ply considered
                    irrelevant since the justification for adntlnistrative segregation is the fact of gang
                    1ne1nbership itself, not any particular behavior or activity.
              Madrid, 889 F.Supp. at 1273.
             Yet, California state la\v provides: "Release fro1n segregation status shall occur at the earli-
             est possible tin1e in keeping \Vith the circun1stances and reasons for the in111ate's initial
              placement in administrative segregation. , .. " CAL. CooE REos. tit. 15 § 3339(a) (1994).
                                                                                                                     \
             This contrast underscores the need for specific thne lin1its rather than vague phrases such as          I\
             "earliest possible ti1ne" \Vhose antbiguity n1akes thein hnpossible to enforce.
                    432. Such conditions serve no penological purpose and expose prisoners to serious
              risks of psychopathological reactions. Consistent \Vi th this prohibition, Judge McMillan's
             graduated scale of thne limits reflects si1nilar concerns. See Berch v. Stahl, 373 F. Supp. 412,
             420-1 (W.D.N.C. 1974) ("T11e court rules that the following types of confinement, when
              utilized as punitive 1neasures in this jail, violate the Eighth Arnendrnent prohibition against
             cruel and unusual punislunent: (i) Confine111ent in the 'box' for periods longer than t\venty-
             four (24) hours; (ii) Confinen1ent in the solid-door solitary confinen1ent cells for periods
             longer than fifteen (15) days; (iii) Confine1nent in the barred-door solitary confinen1ent cells
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                Complete social isolation and restricted movement that precludes so-
          cial interaction should not exceed 30 days in duration for any prisoners.'133
                Prisoners should not be placed in disciplinary segregation when the
          infraction for which they are being punished was the result of pre-existing
          psychiatric disorders, mental illness, or developmental disability. 434
                Segregated prisoners should be screened in advance of supennax or
          solitary confinement and those whose psychological and medical conditions
          would render them significantly more susceptible to the potentially harmful
          consequences of the experience should be precluded from it. 435
                Prison mental health staff should be required to articulate explicit di-
          agnostic procedures for screening prisoners who are to be placed in soli-
          tary, and to specify the diagnostic criteria that would disqualify prisoners
          for such confinement. 436
            for periods longer than thirty (30) days; and (iv) Depriving an intnate of the clothing neces-
           sary for \Vannth and n1odcsty.").
                  433. Cf Benjan1in & Lux, Solital'y Co11fine111e11t, supra note 71, at 284 ("Unless \Ve feel
            that persons in 'adn1inistrative segregation' should becon1e hostile, n1entally ill and dehu-
            111anized the only possible solution is to give all prisoners, \Vhatevcr their label, n1axi1nu1n
            hunuu1 contact and a variety of perceptual stinu1li. This can only be done by abolishing
            solitary confine1nent as \Ve kno\v it, or by lin1iting a person's stay in solitary until he or she
            calms do\Vll, but in no event for n1ore than a fe\V hours."). Even John Ho\vard, the English
            prison reforn1er conunonly regarded as having contributed to the early developn1ent of soli-
            tary confinen1ent in English prisons, understood that long tenns of unbroken isolation could
            lead prisoners to "insensibility or despair," JACKSON, supra note 19, at 15. 111e Center for
            Crin1inal Justice proposed a 30 day lhnitation on punitive segregation and a 60 day limita-
            tion on adntinistrative segregation. SHELDON KRA1'.'TZ ET AL., MODEL RULES AND REGULA-
            TIONS ON PRISONERS' RIGHTS AND RESPONSIBILITIES 182 (1973).
-----------------434 .-Tit e-place1nen t- o f-n1cn tall yyyyyyyyyyyyyyyyyyyyyyyyyyyy--d isabl ed-prison ers--i n-scgrcga-
            t ion for behavioral problems that are the product of their psychiatric condition or cognitive
            in1painnents rather than a culpable disregard of institutional rules is a serious and poten-
            tially \Videspread problen1. Indeed, since studies indicate that bel\veen 8 and 25o/o of US
            prisoners suffer front some fonn of serious psychiatric disorder, there is n1uch potential for
            n1istakc and abuse. A nun1ber of conunentators have discussed the 1nanifest unfairness of
           placing psychiatrically i1npaired prisoners in punitive segregation, \Vhere they not only \Vill
            be punished for their n1ental illness but also usually receive significantly \Vorse, if any, psy-
            chiatric treatn1ent and care. Si1nultaneously, these inntates are exposed to conditions that
            are likely to exacerbate their disorder. Hans Toclt, The Disturbed Disruptive /11n1ate: lVhere
            Does the Bus Stop? 10 J. PsYcH. & L. 327 (1982); Marilyn D. McShane, The Bus Stop
           Revisited: Discipline and Psychiatric Patients in Prison, 17 J. PsYcH. & L. 413 {1989); \V.
           Rold, C'onsiderations of !dental Ilea/th Factors in /J1111ate Discipline, 11 J. PrusoN & JAIL
           HEALTH 41 {1992). Consistent \Vith these concerns, the Texas Departn1ent of Corrections
           regulations require a psychiatric tea1n to detennine \Vhcther a prisoner's "1nental status pre-
           cludes participation in the disciplinary process,n \Vhether the n1ental status "contributed to
            the alleged disciplinary offense," and \Vhether the n1ental status "contraindicates any partic-
            ular fonn of punishn1ent (e.g., confinen1ent in punitive segregation)." Rold, supra at 47.
                  435. For exa1nple, under ne\v policies iinple1nentcd in 1990, the procedures for entry
           into Canadian "Special Handling Units" include "a 90-day assessn1ent period" \Vhich in-
           cludes "psychological and psychiatric evaluations and assessinents and assess1nents of the
           prisoner's educational level." Rosen1ary L. O'Brien, Special Handling Units, F. oN CoRREC-
           TioNs REs., Sep. 1992, at 11.
                  436. As noted the Madrid court identified three such groups of prisoners: 1.) "the al-
           ready n1entally ill," 2.) "persons \vith borderline personality disorders, brain da111age or
           111ental retardation, [and] in1pulse-ridden personalities," and 3.) those \Vith "a history of
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              Those prisoners who are unfit for segregated housing should not be
         confined in it at all. Alternative facilities to house and care for such prison-
         ers should be created by prison administrations. 437
              Prisoners housed in segregation should be regularly and carefully
         monitored by correctional, medical, and mental health staff to detect ad-
         verse reactions to segregated confinement. Mental health staff should be
         present in solitary confinement units a minimum of one hour per month for
         every two prisoners housed there. All prisoners should be seen by mental
         health staff no less than once every month for evaluation as to fitness for
         segregated housing. 438
              Prisoners in segregated housing for longer than three months should
         be offered the same kinds of activities as those in mainline prison units,
         albeit on a modified or reduced basis consistent with security concerns, in-
         cluding access to therapy, work, educational, and recreational programs.4 39

             prior psychiatric problc1ns or chronic depression." Madrid, 889 F.Supp. at 1265. 1l1is repre-
            sents an i1nportant starting point fron1 \Vhich additional and 1nore precise definitions of
            specialized vulnerabilities to punitive isolation n1ight be developed. Prisoners \Vho do not                         j
             fall into Madrid's general categories nonetheless should be evaluated for such particularized
             vulnerabilities and excluded if any are detected. T11ere has been an understandably large                           I
             investment in assessing the "risk" that prisoners \Viii engage in subsequent problematic be-                       J
             havior \vhile in prison or once released. See D.A. Clark et al., A Neiv Methodology for
            Assessing the Level of Risk in incarcerated Offenders, 33 BRIT, J. CCCCCCCCCC436 (1993) and
             references cited therein. We should begin to n1ake sintilar attentpts to assess the risks that
             prisoners \Viii be psychologically dantaged by extrente conditions of confinentent, especially
            since, for son1e, such dantage \Vilt be related to subsequent" problentatic behavior that n1ay
             include disciplinary infractions and crintinality.
  --- -- -------- 4J7-.---11tarc.-arc.-a-nu1nber- of-effective- n1odels-for--the-provision-of-1uental-health-ser:vices-   -   --,I
             to prisoners \Vho suffer fro1n psychological disturbances and disorders. See Jantes R.P.                            '
             Ogloff et al., Mental Health Services in Jails and Prisons: Legal, Clinical, and Policy Issues,
             18 L. & PsvcttoL. REV. 109 (1994).
                   438. According to David Ward, the Minnesota correctional syste1n requires "that in-
            1nates in the Control Unit be periodically rotated into the Mental Health Unit for observa-
             tion and a change of physical environn1ent, as \Veil as for a period of relief fro1n nearby
            in1nates and staff. 11 \Vard, supra note 11 at 91. Indeed, one of the leading apologists for
            solitary confinen1ent, Peter Suedfeld, once stressed the in1portance of using it only in non-
            punitive, therapeutic \vays. According to hint this \vould include explaining the nature and
            duration of the experience in advance to the prisoner, and iinple1ncnting the confinen1ent
            under carefully controlled conditions \Vith close n1onitoring for any negative effects. He
            ackno\vledged that because solitary confine111ent traditionally has been used in ineffectual
            and unethical "'ays, any prisoner \Vho rejected the technique should not be forced to endure
            it. Suedfeld also has been quoted as having testified in a case concerning the effects of
            solitary confinentent in Canadian prisons that: "I \Vould expect that for n1any people after
            son1e prolonged period of tiine, especially if there is no hope of being released front that
            environn1ent, things \\'ould tend to bccon1e inadequate and an individual \Vould then take
            on another forn1 of reaction to the environ1nent. That n1ay take place in the fonn of apathy,
            fantasizing, general \Vithdra\val front the external environn1ent, son1e kind of inner life, and
            in sonte cases, I expect it \\ ould lead to psychosis." Jackson, supra note 19, at 79.
                                         1


                   439. 111e ne\v Canadian SHU policy includes "the integration of essential contponents
            in progra1111ning 1 including psychiatric intervention, e111ployn1ent opportunities," as \Vell as
            "the pro1notion of staff-inmate interaction and fe,ver physical controls so that the correc-
            tional environ1nent \Vill be conducive to inntates changing their behaviour." O'Brien, supra
            note 433. Indeed, if the goal of segregation is redefined to include the proactive pron1otion
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            Whenever possible, activities of this sort should not be precluded for those
            housed in short term solitary confinement terms of three months or less. 440
                 Visitation should be offered to segregated prisoners on a basis that
            resembles mainline visiting as closely as security considerations will
            allow. 441
                 No prisoner should be subjected to punitive segregation solely on the
            basis of alleged or documented gang membership in the absence of behav-
            ioral infractions. 442

                 of prisoners' return to n1ainline 1naxinn11n security housing, then it 1nay need to include
                 specialized or enriched progranuning.
                       440. Studies of long-tenn prisoners indicate that those \Vho are able to \Vork and n1ain-
                 tain involven1ent in other activities and are able to continue contact \vith the outside \Vorld
                 hnprovc in their overall adaptation to prison and decrease "dysphoric" c1notional states and
                 stress-related 1nedical problc1ns. See, e.g., Ed\\'ard Zarnble, Behavior and 1ldaptatio11 in
                  Long-Tenn Prison /11111ates: Descriptive and Longitudinal Results, 19 CRl/\f, JusT. & BEHAV.
                 409 (1992) (stating that punitive segregation should not be structured and h11ple1nented in
                 such a \Vay that it interferes \Vith a prisoner's long-tenn adaptation to prison).
                       441. Cooke noted that the liberal visitation policy allo\\•ed prisoners to "develop or re-
                 establish close affectional bonds \Vith fan1ilies or friends," so1nething that "'as especially
                 in1portant since:
                       Many of the prisoners have spent niost of their adult Jives in penal establislunents;
                       the availability of visitors often provides then1 \Vith the opportunity to learn-for
                       the first ti1ne-ho\\' to fonn close adult relationships outside prison.- 111ese rela-
                       tionships give then1 interests \Vhich are outside the prison culture and hopefully
                       outside the criininal culture. Finally, the visiting privilege is so hnportant to prison-
                       ers that the threat of its loss acts as a po,verful control, and can by used by the
                       conununity as a sanction against bad behaviour.
                 Cooke, supra note 254, at 140-41.
_________________Qthcrs__have_ackno.\vledged __ the__in1portance ___ of_visitation_i1L.helping_prisoners_shed -their_____ ---------------------
                 prison identities. E.g., 111on1as Sclunid & Richard Jones, Suspended Identity: Identity Trans-
                 fonnation in a Maxi111u111 Security Prison, 14 Sv:-.1noL1c INTERACTION 415, 427 (1991)
                 ("Reaffinnations of his preprison identity by outsiders-visits and furloughs during \Vhich
                 others interact \Vith hin1 as if he has not changed-provide po\verful support for his efforts
                 to revive his suspended identity."). Persons housed in segregated or isolated environ1nents
                 \Vho have been denied the opportunity for ineaningful social interaction in prison are espe-
                 cially in need of outside contact that either affinns their pre-prison identity or encourages
                 the1n to fashion a post-prison identity that \Viii facilitate their free \Vorld adjusttnent.
                       442. Gang nie1nbership constitutes a "status offense" of the sort that is highly disfa-
                 vored in other legal contexts. Moreover, the unreliability of adn1inistrative decisions to
                 classify son1eone as a gang n1en1ber or affiliate increases concern over the unfairness of such
                status-based placen1ents in supern1ax and solitary confinen1ent. See generally, Tachiki, supra
                 note 76. "[G]ang affiliation, in and of itself, should not be constitutionally sufficient to jus-
                 tify the transfer of a prisoner to the SI·IU. Instead, the procedures for segregating a prison
                gang 1ne1nber should require evidence of son1e other kind of infraction, especially those
                 types of infractions norn1ally con11nitted by prison gangs." Id. at 1120 (footnote 01nitted). As
                one person appointed to 1nonitor the hnplcn1cntation of court orders in an earlier case in-
                volving California's punitive segregation units observed: "[G]ang 1ne1nbership.. .is inher-
                ently virtually in1possiblc to ascertain or discover \Vith precision. 111e gang's only tangible
                existence is in the 111inds of the prisoners and prison officials." 111ird Special Report of the
                Monitor, Toussaint v. Rowland, 711 F.Supp. 536 (N.D. Cal. 1989), at 22. 111ese sources of
                unreliability are insunnountable. Because of the sub rosa nature of prison gang n1en1bership
                and activity, the identification of alleged gang connections traditionally has been based on
                the "'ord of so-called "confidential infonnants," persons \Vho provide inforn1ation to prison
                officials usually in order to obtain favorable trcatn1ent for then1selves. 111e potential for
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             Staff members who work in punitive segregation units should be given
        specialized training that addresses the unique psychological stresses that
        such environments have for prisoners and guards alike, including in-depth
        instruction in recognizing and responding to signs of psychological trauma
        and the psychopathological effects of such isolation.
             Staff members who work in punitive segregation units should be moni-
        tored for the use of excessive force, removed from such assignments when-
        ever their behavior begins to deteriorate in the face of the pressures of
        these working conditions, and periodically rotated out of these units to en-
        sure that they maintain a broader perspective on prisoner behavior and the
        range of potential relationships between staff and inmates. 443

                                                   CONCLUSION

            The recent trend toward increased use of supermax and solitary con-
        finement is dangerously ill-conceived. It ignores or contravenes a diverse
        and robust empirical literature that has consistently documented the psy-
        chologically destructive effects of prolonged extreme idleness and social
        deprivation. Solitary confinement and punitive isolation take the pains of
        imprisonment and intensify them, demonstrating little regard for the long-
        term psychological consequences to prisoners. Commentators who have

           abuse and the \videsprcad perceptions of unfairness that accon1pany this process underscore
           its unreliability and proble111atic effects. For instance, the n1isuse of a systen1 like this ap-
           peared to be at the root of the Ne\v Mexico Penitentiary prison riot at Santa Fe in 1980,
           perhaps the \Vorst in United States corrections history. Cf Useein, supra note 247. In addi-
   -- -----tion,-intervie\vs-conducted--\vith---prisoners-in--California--confinn--the- current-potential-- for---
           abuse. Intervie\vers reported that n1any of the in111ates they spoke to regarded these policies
           as Hparticularly unfair because it 111eant that a prisoner could be identified as a gang 1nem-
           ber and 'jacketed' purely on the basis of infonnation fro1n a confidential infonnant." Hunt
           et al., supra note 75, at 401. Prisoners \Vho are identified in this \vay and \Vho arc placed in
           punitive segregation as a result 1nust provide incrin1inating evidence on others, in \Vhat is
           euphen1istically referred to as "debriefing," before they have any hope of being released.
           TI1us, there arc po\verful incentives that encourage prisoners to volunteer inforn1ation about
           each other, \Vithout effective quality controls to prevent erroneous or unreliable infor1nation
           front being offered. Because prison officials have no \Vay of kno\ving \vhether prisoners are
           providing accurate infonnation, they cannot and do not screen out or ignore "inaccurate"
           infonnation or sanction prisoners \Vho offer it.
                443. TI1e unique conditions that are created in supennax and solitary confine1nent lend
           the1nselves to abusive 1nistreat1nent and the use of excessive force. TI1ese units are often
           built in isolated locations, free fron1 outside scrutiny or the n1oderating influence of a di-
           verse surrounding conununity. Staff 1ne1nbers have far greater control over prisoners in
           these units than an)"vhere else in the prison systcn1. Institutional procedures and routines
           ensure that staff 1ne111bers \Vill never interact \Vith prisoners on even re1notely nonnal bases
           or observe the1n behaving il1 other than highly constrained, unnatural \vays under deprived
           and desperate circumstances. TI1e tension that pervades supennax and solitary confine111ent
           creates the potential for self-fulfilling prophecies in \vhich the staff inadvertently elicits pro-
           vocative behavior fron1 prisoners (and vice versa), so that confrontations beco1ne n1ore
           likely. On the po\ver of prison roles and situations to dran1atically shape the behavior of
           prison actors, see Haney et al., supra note 80; lianey & Zi1nbardo, Socialization, supra note
           80. Co111pare supra note 406 and accon1panying text for the perceptive observations made
           by the Madrid court on precisely these issues.
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       suggested that there is little or no evidence of the damaging effects of soli-
       tary confinement 444 or that the topic "is addressed more as an emotional
       issue than an empirical one" 445 simply cannot have looked closely and sys-
       tematically at the empirical record. Although there may be times when the
       segregation of prisoners from the rest of the population is justified in terms
       of prison management and violence control, significant deprivations be-
       yond the fact of separation itself cannot be justified on a long-term basis.
       No convincing evidence has been produced to demonstrate that such poli-
       cies achieve any lasting positive benefits for the prison systems that employ
       them. The resulting long-term personal, penal, and social consequences ap-
       pear to outweigh whatever motives prison administrators may have for
       seeking new and inventive ways to punish disruptive prisoners.
            111e distinctive psychological components of the experience of solitary
       confinement combine and interact creating a whole that is potentially more
       destructive than the sum of its parts are also independently and separately
       harmful. Thus, supermax and solitary confinement impose significant and
       intense restrictions on movement and activity (i.e., prisoners in solitary and
       punitive isolation are denied the opportunity to move about and engage in
       meaningful programs in the course of their specialized confinement and,
       therefore, endure unheard of levels of enforced idleness). Many of the
       same prisoners suffer drastically limited spatial confinement so that even
       when prisoners are living alone they are "crowded" in an admittedly un-
       conventional sense and, when housed with another, they are paradoxically
       both "isolated" and "overcrowded." In addition, they are subjected to the
       painful and psychologically destructive deprivation of normal social contact
     --------------------------------------------------------------------------------
      with other prisoners, staff, and visitors in ways that allow them to have
      meaningful human contact, maintain social skills, and preserve pre-existing
      social identities and relationships). And, finally, they are immersed in an
      atmosphere of negative affect and hostility that comes both from the stigma
      of such confinement and its heightened potential for mistreatment and
      abuse. As we have shown, the combination of these separate components
      produces a harmful psychological mix in supennax and solitary confine-
      ment, one whose destructive potential has been empirically well-
      documented.
           In addition, supermax and solitary confinement pose politically and
      legally unexamined risks that extend beyond the prison walls. Prolonged
      punitive segregation compels many prisoners to develop habits of survival
      that may be difficult if not impossible to relinquish once they are released
      into either the mainline prison population or the free world. Some prison-
      ers will lose the ability to initiate behavior or impose internal organization
      on their daily routines, jeopardizing their chances for productive post-

          444. See, supra note 93 and references cited therein.
          445. Rogers, supra note 93, at 341.
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            prison adjustment. Others will suffer the loss of emotional control and ex-
            perience increased bouts of impulsive anger that may precipitate future dis-
            ciplinary infractions, parole violations, and subsequent offenses. Some
            prisoners will be disabled by the decreased memory and concentration that
            accompanies extended isolation. Chronic anxiety and the fear of impending
            breakdowns and other common reactions to solitary confinement will be
            debilitating for those prisoners in whom they persist. 111e fear of social in-
            teraction and personal intimacy, the loss of the basic ability to interact
            comfortably with others, and the breakdown of social and familial ties that
            occur in supermax and solitary confinement are equally problematic, dys-
            functional and threaten already disadvantaged ex-convicts with additional
            handicaps. In addition, chronically isolated prisoners who suffer the long-
            lasting effects of PTSD may be plagued by recurring symptoms months or
            years after their experience in solitary confinement. In more extreme cases,
            prisoners who become psychotic or suicidal while housed under these se-
            vere circumstances may cross into dangerous psychological territory from
            which it will be impossible to return.
                  At more mundane levels, isolated prisoners spend years in what
            amounts to a kind of socioeconomic and interpersonal suspended anima-
            tion, lacking any opportunities to obtain job training, improve educational
            levels, or to address through counseling, anger management, or violence
            reduction programs any of the personal problems that may have contrib-
            uted to their initial placement in these punishment units. Others, finding
            themselves surrounded by gang members, with few alternative outlets and
            no opportunities to connect to new or different groups of people, may initi-
  ---- -- --a te-or-i11te11sify-tlreir--hrvolve-n1ent-·i1r-prisorr--g1t11gs-; --- ----------------------------------------
                  Whether or not such confinement is permanently disabling for all pris-
            oners exposed lo it, there can be little doubt about not only its capacity to
           inflict widespread psychological pain but also its potential to significantly
            undermine already tenuous chances for subsequent adjustment. Indeed, it
            is difficult to imagine realistic scenarios whereby such long-term solitary
           confinement will not worsen a prisoner's odds of future successful adjust-
            ment, in prison or anywhere else. The fact that solitary and supennax con-
           finement is increasingly reserved for minority prisoners seems to reveal a
           pattern of punitive social control that selectively targets some groups and
           not others. 446 By design or not, it also ensures that a significant number of
           young, minority men will be functionally excluded from living socially pro-
           ductive lives. Vast numbers of minority prisoners, particularly, are thus
           consigned to life on the margins, in part because of the way they have been
            treated in prison.
                  During the mid-1970s, an official Canadian "study group on dissocia-
            tion" evaluated that country's solitary confinement policy. The so-called
           Vautour Report observed that while "the most severe hardship for most
             446. For exan1ple, see notes 76-79, supra, and acco1npanying text.
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       inmates is the deprivation of association," the "ultimate goal of the crimi-
       nal justice system is the reintegration of the offender into the community-
       adjustment to life outside of the prison-and the basic fact of life is associa-
       tion."447 In much earlier times, other observers saw and wrote about differ-
       ent aspects of extremely harsh and lengthy periods of punitive isolation.
       Charles Dickens was shocked at the long-term solitary confinement he saw
       in the United States, and described his reactions to it in his American
       Notes:
            I believe that very few men are capable of estimating the immense
            amount of torture and agony which this dreadful punishment,
            prolonged for years, inflicts upon the sufferers; and in guessing at
            it myself, and from what I have seen written upon their faces,
            from what to my certain knowledge they feel within, I am only the
            more convinced that there is a depth of terrible endurance in it
            which none of the sufferers themselves can fathom, and which no
            man has a right to inflict upon his fellow creatures. 448
             Aside from the politically expedient manipulation of public opinion
       that has occurred over the last several decades to intensify a rampant "rage
       to punish," 449 no new data have emerged, no penetrating insights have
       been developed, and no thoughtful perspectives have surfaced to challenge
       the wisdom of these earlier observations.
             Yet, we appear to have come full circle on the issue of solitary confine-
       ment, with the emerging supermax prison form putting a technological spin
       on an old and long-discredited idea. The "evolving standards of decency"
       that not only mark the progress of a maturing society but also provide the
       benchmark against which cruel and unusual punishments are to be mea-
       sured have taken an unexpected turn over the last several decades. 111e
       politicization of punishment during this period has hastened the translation
       of popular fear and distrust into extraordinarily punitive crime control poli-
       cies.450 This process has been facilitated by the mass media's willingness to
       pander to what has become a national obsession with crime-related issues
       and to present an often superficial and one-sided view of the problem.
       Along with the rise of a punishment industry that wields substantial polit-
       ical as well as economic power, these forces have appeared to "normalize"
       the most extreme forms of punishment and compromised the Eighth
       Amendment's ability "to acquire meaning as public opinion becomes en-
       lightened by humane justice. "451

           447. V ANTOUR, supra note 278, at 29.
           448. CHARLES DICKENS, AAAAAAAAAA NOTES FOR GENERAL CIRCULATION       AAAAAAA
       (1842).
           449. FoRER, supra note 394.
           450. See Haney, Riding the PunisJ1111e111 lVave, supra note 73.
           451. Weems v. United States, 217 U.S. 349, 378 (1910).
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           The entire scale of punishment has shifted; what was regarded as unac-
      ceptable just a few decades ago is now seen as part of the normative given
      in the delivery of penal pain. Supennax and the increased use of solitary
      confinement are important, terribly problematic by-products of these
      broader trends. Ironically, absent more meaningful, psychologically-in-
      formed legal restraints, intervention, and oversight, these "prisons of the
      future" promise to return us to some of the worst norms of the nineteenth
      century.
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             Mental Health Issues in Long-Term
             Solitary and "Supermax" Confinement


                    Craig Haney

                    This article discusses the recent increase in the use of solitary-like confinemem, espe-
                    cially the rise of so-called supermax prisons and the special mental health issues and
                    challenges they pose. After briefly discussing the natllre ofthese specialized and increas-
                    ingly widespread units and the forces that have given rise to them, the article reviews
                    some of the unique mental-health-related issues they present, including the large litera-
                    ture that exists on the negative psychological effects of isolation and the unusually high
                    percemage of mentally ill prisoners who are confined there. It ends with a brief discus-
                    sion of recent caselaw that addresses some of these memal health issues and suggests
                    that the cmtrts, though in some ways appropriately solicitous of the plight ofmentally ill
                    supermax prisoners, have overlooked some of the broader psychological problems these
                    units create.

                     Keywords: srtpermax; solitary confinemellt; effects of imprisonment

                    The field of corrections is arguably impervious to much truly signifi-
             cant change. Of all of the institutions in our society, prisons retain the greatest
             similarity to their early 19th century form. Indeed, until relatively recently,
             more than a few prisoners were housed in facilities that had been constructed
             a half century or more ago. Althollgh there have been advances in the meth-
             ods by which correctional regimes approach the task of changing or rehabili-
             tating prisoners, and a number ofimprovementsmade in overall conditions of
             confinement compared to the 19th century (often brought about by litigation
             compelling prison systems to modernize and improve), many of the basic
             facts of prison life have remained relatively constant. Notwithstanding
             increased sophistication in the technology of incarcerative social control, and
             the waxing and waning in popularity of one or another kind of prison treat-
             ment program, the argument that there has been nothing fundamentally new
             on the correctional landscape for many years would be difficult to refute.
                 However, in this article, I suggest that the last decade of the 20th cen-
             tury did see the rise of a new penal form-the so-called supermax prison.
             Increasing numbers of prisoners now are being housed in a new form of

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               solitary or isolated confinement that, although it resembles the kind of
               punitive segregation that has been in use since the inception of the prison,
               has a number of unique features. 1 At the start of the 1990s, Human Rights
               Watch (1991) identified the rise of supermax prisons as "perhaps the most
               troubling" human rights trend in U.S. corrections and estimated that some 36
               states either had completed or were in the process of creating some kind of
               "super maximum" prison facility. By the end of the decade, the same organi-
               zation estimated that there were approximately 20,000 prisoners confined to
               supermax-type units in the United States (Human Rights Watch, 2000) and
               expressed even more pointed concerns about their human rights implications.
               Because most experts agree that the use of such units has increased signifi-
               cantly since then, it is likely that the number of persons currently housed in
               supermax prisons is considerably higher.
                   There are few if any forms of imprisonment that appear to produce so
               much psychological trauma and in which so many symptoms of psycho-
               pathology are manifested. Thus, the mental health implications of these units
               are potentially very significant. Despite the slight (and sometimes not so
               slight) variations in the ways different state prison systems approach this
               most restrictive form of confinement, supermax prisons have enough in com-
               mon to permit some generalizations about what they are, why they have come
               about, what special mental health issues they raise, and how they might be
               regulated and reformed to minimize some of the special risks they pose. I will
               try to address each of these issues in turn in the pages that follow.


               SVPERMAX CONDITIONS OF CONFINEMENT

                  Supermax confinement represents a significant variation in the long-
               standing practice of placing prisoners in what is known as solitary confine-
               ment or punitive segregation. For practical as well as humanitarian reasons,
               prisoners have rarely been confined in literal or complete solitary confine-
               ment? But prisoners in solitary or isolation have always been physically seg-
               regated from the rest of the prison population and typically excluded from
               much of the normal programming, routines, opportunities, and collective
               activities available in the mainline institution. By the late 19th century, most
               jurisdictions in the United States had, for the most part, restricted solitary
               confinement to relatively brief periods of punishment that were imposed in
               response to specified infractions of prison rules. 3
                   In contrast to this traditional form of isolation, supermax differs in several
               important ways-primarily the totality of the isolation, the intended duration
               of the confinement, the reasons for which it is imposed, and the technological
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           sophistication with which it is achieved. In particular, supermax prisons
           house prisoners in virtual isolation and subject them to almost complete idle-
           ness for extremely long periods of time. Supermax prisoners rarely leave
           their cells. In most such units, an hour a day of out-of-cell time is the norm.
           They eat all of their meals alone in the cells, and typically no group or social
           activity of any kind is permitted. 4
               When prisoners in these units are escorted outside their cells or beyond
           their housing units, they typically are first placed in restraints-chained
           while still inside their cells (through a food port or tray slot on the cell
           door)-and sometimes tethered to a leash that is held by an escort officer.
           They are rarely if ever in the presence of another person (including physi-
           cians and psychotherapists) without being in multiple forms of physical
           restraints (e.g., ankle chains, belly or waist chains, handcuffs). Supermax
           prisoners often incur severe restrictions on the nature and amounts of per-
           sonal property they may possess and on their access to the prison library, legal
           materials, and canteen. Their brief periods of outdoor exercise or so-called
           yard time typically take place in caged-in or cement-walled areas that are so
           constraining they are often referred to as "dog runs." In some units, prisoners
           get no more than a glimpse of overhead sky or whatever terrain can be seen
           through the tight security screens that surround their exercise pens.
               Supermax prisoners are often monitored by camera and converse through
            intercoms rather than through direct contact with correctional officers. In
            newer facilities, computerized locking and tracking systems allow their
            movement to be regulated with a minimum of human interaction (or none at
           all). Some supermax units conduct visits through videoconferencing equip-
            ment rather than in person; there is no immediate face-to-face interaction (let
            alone physical contact), even with loved ones who may have traveled great
           distances to see them. In addition to "video visits," some facilities employ
            "tele-medicine" and "tele-psychiatry" procedures in which prisoners' medi-
            cal and psychological needs are addressed by staff members who "examine"
            them and "interact" with them over television screens from locations many
            miles away.
               Supermax prisons routinely keep prisoners in this near-total isolation and
            restraint for periods of time that, until recently, were unprecedented in mod-
            ern corrections. Unlike more traditional forms of solitary confinement in
            which prisoners typically are isolated for relatively brief periods of time as
            punishment for specific disciplinary infractions, supermax prisoners may be
            kept under these conditions for years on end. Indeed, many correctional sys-
            tems impose supermax confinement as part of a long-term strategy of correc-
            tional management and control rather than as an immediate sanction for dis-
            crete rule violations.
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                   In fact, many prisoners are placed in supermax not specifically for what
               they have done but rather on the basis of who someone in authority has judged
               them to be (e.g., "dangerous," "a threat," or a member of a "disruptive"
               group). In many states, the majority of supermax prisoners have been given
               so-called indeterminate terms, usually on the basis of having been officially
               labeled by prison officials as gang members. An indeterminate supermax
               term often means that these prisoners will serve their entire prison term in iso-
               lation (unless they debrief by providing incriminating information about
               other alleged gang members). 5 Prisoners in these units may complete their
               prison sentence while still confined in supermax and be released directly
               back into the community. If and when they are returned to prison on a parole
               violation or subsequent conviction, they are likely to be sent immediately
               back to supermax because of their previous status as a supermax prisoner.
                   To summarize: prisoners in these units live almost entirely within the con-
               fines of a 60- to 80-square-foot cell, can exist for many years separated from
               the natural world around them and removed from the natural rhythms of
               social life, are denied access to vocational or educational training programs
                or other meaningful activities in which to engage, get out of their cells no
                more than a few hours a week, are under virtually constant surveillance and
                monitoring, are rarely if ever in the presence of another person without being
                heavily chained and restrained, have no opportunities for normal conversa-
                tion or social interaction, and are denied the opportunity to ever touch another
                human being with affection or caring or to receive such affection or caring
                themselves. Because supermax units typically meld sophisticated modem
                technology with the age-old practice of solitary confinement, prisoners expe-
                rience levels of isolation and behavioral control that are more total and com-
                plete and literally dehumanized than has been possible in the past. The com-
                bination of these factors is what makes this extraordinary and extreme form
                of imprisonment unique in the modem history of corrections. Its emergence
                in a society that prides itself on abiding "evolving standards of decency"
                (Trop v. Dulles, 1958) to regulate its systems of punishment requires some
                explanation.


               THE ORIGINS OF THE MODERN SUPERMAX

                  Two important trends in modem American corrections help to account for
               the creation of this new penal form. The first is the unprecedented growth in
               the prison population that started in the mid-1970s and continued into the
               early years of the 21st century. The rate of incarceration in the United States
               (adjusting for any increases in overall population) remained stable over the
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              50-year period from 1925 to 1975. Remarkably, it then quintupled over the
              next 25-year period. Most state prison systems doubled in size and then dou-
              bled again during this period, with no commensurate increase in the
              resources devoted to corrections in general or to programming and mental
              health services in particular (Haney & Zimbardo, 1998).
                  This dramatic influx of prisoners-and the overcrowding crisis it pro-
              duced-occurred at approximately the same time that another important
              change was underway. In the mid-1970s, the United States formally aban-
              doned its commitment to the rehabilitative ideals that had guided its prison
              policy for decades. Often at the insistence of the politicians who funded their
              prison systems, correctional administrators embraced a new philosophy built
              on the notion that incarceration was intended to inflict punishment and little
              else. The mandate to provide educational, vocational, and therapeutic pro-
              gramming in the name of rehabilitation ended at an especially inopportune
              time (Haney, 1997). Prisons throughout the country were filled to capacity
              and beyond, and the prisoners who were crowded inside had few opportuni-
              ties to engage in productive activities or to receive help for preexisting psy-
              chological or other problems.
                   Under these conditions of unprecedented overcrowding and unheard of
              levels of idleness, prison administrators lacked positive incentives to manage
              the inevitable tensions and conflicts that festered behind the walls. In systems
              whose raison d'etre was punishment, it was not surprising that correctional
              officials turned to punitive mechanisms in the hope of buttressing increas-
              ingly tenuous institutional controls. Of course, disciplinary infractions often
              were met with increasing levels of punishment in the modern American
              prison, even before these trends were set in motion. But the magnitude of
              the problem faced by correctional administrators in the 1980s pushed
              their response to an unprecedented level. Supermax prisons emerged in this
              context-seized on as a technologically enhanced tightening screw on the
               pressure cooker-like atmosphere that had been created inside many prison
               systems in the United States. As the pressure from overcrowding and idleness
               increased, the screw was turned ever tighter.
                   Historically, correctional polices often harden in times of prison crisis.
               But once the problem causing the increased tension or turmoil has been iden-
               tified and resolved, the punitive response typically de-escalates, sometimes
               leading to even more hospitable conditions and treatment. Unfortunately, the
               prison overcrowding problem did not subside during the 1980s and 1990s,
               and the continued punitive atmosphere that marked this period meant that
               corrections officials were in no position look "soft" in the face of the crisis.
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                The politics of the era deprived prison administrators of alternative
            approaches and guaranteed a one-way ratcheting up of punishment in the
            face of these tensions. They became increasingly committed to more forcibly
            subduing prisoners whose behavior was problematic ("a threat to the safety
            and security of the institution"), taking fewer chances with others whom they
            suspected might be a problem, and set about intimidating everyone else who
            might be thinking about causing disruption. Supermax simultaneously pro-
            vided politicians with another stark symbol to confirm their commitment to
            tough-on-crime policies (Riveland, 1999) and gave prison officials a way of
            making essentially the same statement behind the walls.
                 I belabor this recent correctional history to debunk several myths that sur-
            round the rise of the supermax prison form. This new kind of prison did not
            originate as a necessary or inevitable response or backlash to some sort of
            "permissive" correctional atmosphere that allegedly prevailed in the 1960s,
            as some who defend the recent punitive trends in imprisonment have sug-
            gested (cf. O'Brien & Jones, 1999). It was not a badly needed corrective to
            liberal prison policies or to previous capitulations to the prisoners' rights
             movement. Quite the opposite. Supermaxes began in response to the over-
             crowded and punitive 1980s and came into fruition in the even more over-
             crowded and more punitive 1990s. They are in many ways the logical exten-
             sion of a system founded on the narrow premise that the only appropriate
             response to misbehavior is increased punishment.
                 In addition, there is no evidence that the rise of supermax prisons was
             driven by the threat of some new breed of criminal or prisoner. The natural
             human tendency to individualize, dispositionalize, and sometimes even to
             demonize problematic behavior, and to ignore the contextual forces that help
             create it, is intensified in prison systems as perhaps nowhere else. Thus, when
             correctional officials faced unprecedented pressures from dramatically
             increased levels of overcrowding and idleness, they naturally ignored the
             contextual origins of the problem (over which they had little or no control)
             and blamed the prisoners (over which they did).
                  But, even if supermax prisons now contain only "the worst of the
             worst"6-a phrase that is often used to justify the use of these newly designed
             units but whose accuracy is hotly disputed by their critics-there is no evi-
             dence that these allegedly "worst" prisoners are any worse than those who
             had been adequately managed by less drastic measures in the past. In assess-
             ing the benefits and burdens of supermax confinement, it is important to keep
              in mind that correctional officials have not been given a mandate to engage in
              such extraordinarily punitive and unprecedented measures because they now
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           confront not only an extraordinarily dangerous but new strain of prisoner that
           has never before existed. There is no such new breed and no such mandate.


           THE PSYCHOLOGICAL PAINS
           OF SUPERMAX CONFINEMENT

                In assessing the mental health concerns raised by supermax prisons, it is
            important to acknowledge an extensive empirical literature that clearly estab-
            lishes their potential to inflict psychological pain and emotional damage.
            Empirical research on solitary and supermax-like confinement has consis-
            tently and unequivocally documented the harmful consequences of living in
            these kinds of environments. Despite some methodological limitations that
            apply to some of the individual studies, the findings are robust. Evidence of
            these negative psychological effects comes from personal accounts, descrip-
            tive studies, and systematic research on solitary and supermax-type confine-
            ment, conducted over a period of four decades, by researchers from several
            different continents who had diverse backgrounds and a wide range of pro-
            fessional expertise. Even if one sets aside the corroborating data that come
            from studies of psychologically analogous settings-research on the harm-
            ful effects of acute sensory deprivation (e.g., Hocking, 1970; Leiderman,
             1962), the psychological distress and other problems that are created by the
             loss of social contact such as studies of the pains of isolated, restricted liv-
             ing in the free world (e.g., Chappell & Badger, 1989; Cooke & Goldstein,
             1989; Harrison, Clearwater, & McKay, 1989; Rathbone-McCuan &
             Hashimi, 1982), or the well-documented psychiatric risks of seclusion for
             mental patients (e.g., Fisher, 1994; Mason, 1993)-the harmful psychologi-
             cal consequences of solitary and supermax-type confinement are extremely
             well documented.
                Specifically, in case studies and personal accounts provided by mental
             health and correctional staff who worked in supermax units, a range of simi-
             lar adverse symptoms have been observed to occur in prisoners, including
             appetite and sleep disturbances, anxiety, panic, rage, loss of control, para-
             noia, hallucinations, and self-mutilations (e.g., Jackson, 1983; Porporino,
             1986; Rundle, 1973; Scott, 1969; Slater, 1986). Moreover, direct studies of
             prison isolation have documented an extremely broad range of harmful psy-
             chological reactions. These effects include increases in the following poten-
             tially damaging symptoms and problematic behaviors: negative attitudes and
             affect (e.g., Bauer, Priebe, Haring, & Adamczak, 1993; Hilliard, 1976; Koch,
              1986; Kom, 1988a, 1988b; Miller & Young, 1997; Suedfeld, Ramirez,
             Deaton, & Baker-Brown, 1982), insomnia (e.g., Bauer et al., 1993; Brodsky &
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             Scogin, 1988; Haney, 1993; Koch, 1986; Korn, 1988a, 1988b), anxiety (e.g.,
             Andersen et al., 2000; Brodsky & Scogin, 1988; Grassian, 1983; Haney,
             1993; Hilliard, 1976; Koch, 1986; Korn, 1988a, 1988b; Tach, 1975; Volkart,
             Dittrich, Rothenfluh, & Werner, 1983; Walters, Callagan, & Newman, 1963),
             panic (e.g., Tach, 1975), withdrawal (e.g., Cormier & Williams, 1966;
             Haney, 1993; Miller & Young, 1997; Scott & Gendreau, 1969; Tach, 1975;
             Waligora, 1974), hypersensitivity (e.g., Grassian, 1983; Haney, 1993;
             Volkart, Dittrich, et al., 1983), ruminations (e.g., Brodsky & Scogin, 1988;
             Haney, 1993; Korn, 1988a, 1988b; Miller & Young, 1997), cognitive dys-
             function (e.g., Brodsky & Scogin, 1988; Grassian, 1983; Haney, 1993; Koch,
             1986; Korn, 1988a, 1988b; Miller & Young, 1997; Suedfeld & Roy, 1975;
             Volkart, Dittrich, et al., 1983), hallucinations (e.g., Brodsky & Scogin, 1988;
             Grassian, 1983; Haney, 1993; Koch, 1986; Korn, 1988a, 1988b; Suedfeld &
             Roy, 1975), loss of control (e.g., Grassian, 1983; Haney, 1993; Suedfeld &
             Roy, 1975; Tach, 1975), irritability, aggression, and rage (e.g., Bauer et al.,
             1993; Brodsky & Scogin, 1988; Cormier & Williams, 1966; Grassian, 1983;
             Haney, 1993; Hilliard, 1976; Koch, 1986; Miller & Young, 1997; Suedfeld et
             al., 1982; Tach, 1975), paranoia (e.g., Cormier & Williams, 1969; Grassian,
             1983; Volkart, Dittrich, et al., 1983), hopelessness (e.g., Haney, 1993;
             Hilliard, 1976), lethargy (e.g., Brodsky & Scogin, 1988; Haney, 1993; Koch,
             1986; Scott & Gendreau, 1969; Suedfeld and Roy, 1975), depression (e.g.,
             Andersen et al., 2000; Brodsky & Scogin, 1988; Haney, 1993; Hilliard, 1976;
             Korn, 1988a, 1988b), a sense of impending emotional breakdown (e.g.,
             Brodsky & Scogin, 1988; Grassian, 1983; Haney, 1993; Koch, 1986; Korn,
              1988a, 1988b; Tach, 1975), self-mutilation (e.g., Benjamin & Lux, 1975;
             Grassian, 1983; Toch, 1975), and suicidal ideation and behavior (e.g.,
             Benjamin & Lux, 1975; Cormier & Williams, 1966; Grassian, 1983; Haney,
              1993).
                  In addition, among the correlational studies of the relationship between
             housing type and various incident reports, again, self-mutilation and suicide
             are more prevalent in isolated housing (e.g., Hayes, 1989; Johnson, 1973;
             A. Jones, 1986; Porporino, 1986), as are deteriorating mental and physical
              health (beyond self-injury), other-directed violence, such as stabbings,
              attacks on staff, and property destruction, and collective violence (e.g.,
              Bidna, 1975; Edwards, 1988; Kratcoski, 1988; Porporino, 1986; Sestoft,
              Andersen, Lilleback, & Gabrielsen, 1998; Steinke, 1991; Vol kart,
              Rothenfluh, Kobelt, Dittrich, & Ernst, 1983). The use of extreme forms of
              solitary confinement in so-called brainwashing and torture also underscores
              its painful, damaging potential (e.g., Deaton, Burge, Richlin, & Latrownik,
              1977; Foster, 1987; Hinkle & Wolff, 1956; Riekert, 1985; Shallice, 1974;
              Vrca, Bozikov, Brzovic, Fuchs, & Malinar, 1996; West, 1985). In fact, many
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          of the negative effects of solitary confinement are analogous to the acute
          reactions suffered by torture and trauma victims, including post-traumatic
          stress disorder or PTSD (e.g., Herman, 1992, 1995; Horowitz, 1990;
          Hougen, 1988; Siegel, 1984) and the kind of psychiatric sequelae that plague
          victims of what are called "deprivation and constraint" torture techniques
          (e.g., Somnier & Genefke, 1986).
               To summarize, there is not a single published study of solitary or
          supermax-like confinement in which nonvoluntary confinement lasting for
          longer than 10 days, where participants were unable to terminate their isola-
          tion at will, that failed to result in negative psychological effects. The damag-
          ing effects ranged in severity and included such clinically significant symp-
          toms as hypertension, uncontrollable anger, hallucinations, emotional
          breakdowns, chronic depression, and suicidal thoughts and behavior. Of
          course, it is important to emphasize that not all supermax prisons are created
          equal, and not all of them have the same capacity to produce the same number
          and degree of negative psychological effects. Research on the effects of
          social contexts and situations in general and institutional settings in particu-
          lar underscores the way in which specific conditions of confinement do mat-
           ter. Thus, there is every reason to expect that better-run and relatively more
           benign supermax prisons will produce comparatively fewer of the preceding
           negative psychological effects, and the worse run facilities will produce com-
           paratively more.


          THE PREVALENCE OF PAIN
          AND SUFFERING IN SUPERMAX

             In addition to the serious nature and wide range of adverse symptoms that
          have been repeatedly reported in a large number of empirical studies, it is
          important to estimate their prevalence rates-that is, the extent to which pris-
          oners who are confined in supermax-type conditions suffer its adverse
          effects. My own research at California's Pelican Bay "security housing unit"
          (or SHU)-a prototypical supermax prison at the time these data were col-
          lected-provides one such estimate. In this section, I describe this research in
          some detail and situate its findings by comparing them to prevalence rates
          among several other relevant groups.
             In the Pelican Bay study, each prisoner was individually assessed in face-
          to-face interviews. Because the sample of 100 SHU prisoners was randomly
          selected, the data are representative of and, within appropriate margins of
          error, generalizable to the entire group of prisoners at this supermax facility. 7
          The following two important areas were explored in each interview. In the
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            TABLE 1: Symptoms of Psychological and Emotional Trauma

            Symptom                           % Presence Among Pelican Bay SHU Prisoners

            Anxiety, nervousness                                     91
            Headaches                                                88
            Lethargy, chronic tiredness                              84
            Trouble sleeping                                         84
            Impending nervous breakdown                              70
            Perspiring hands                                         68
            Heart palpitations                                       68
            Loss of appetite                                         63
            Dizziness                                                56
            Nightmares                                               55
            Hands trembling                                          51
            Tingling sensationa                                      19
            Fainting                                                 17
            NOTE: SHU = security housing unit.
            a. Not necessarily a symptom of psychological trauma. It is included as a control ques-
            tion to provide a baseline against which to measure the significance of the trauma-
            related responses.

            first, one series of questions focused on whether the prisoner experienced any
            of 12 specific indices of psychological trauma or distress. A list of those
            symptoms regarded as reliable indicators of general psychological distress
             was employed. They were essentially the same indices of distress that Jones
             (1976) and others have used to assess mainline prison populations. In the sec-
             ond, a different series of questions was designed to determine whether the pris-
             oner suffered any of 13 specific psychopathological effects of isolation. Based
             on previous research conducted by Grassian (1983) and others (e.g.,
             Brodsky & Scogin, 1988; Korn, 1988a, 1988b), a list of isolation-related
             symptoms was developed and used to assess each prisoner in this regard.
                The results of this prevalence study are depicted in Tables 1 and 2. As
             Table 1 indicates, every symptom of psychological distress but one (fainting
             spells) was suffered by more than half of the representative sample of
           . supermax prisoners. Two thirds or more of the prisoners reported being both-
             ered by many of these symptoms in the SHU, and some were suffered by
             nearly everyone. For example, virtually all of the isolated prisoners were
             plagued by nervousness and anxiety, by chronic lethargy, and a very high per-
             centage (70%) felt themselves on the verge of an emotional breakdown. In
             addition, a very high number suffered from headaches and troubled sleep,
             and more than half were bothered by nightmares. Well over half of the
             supermax prisoners reported a constellation of symptoms-headaches, trem-
             bling, sweaty palms, and heart palpitations-that is commonly associated
             with hypertension.
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         TABLE 2: Psychopathological Effects of Prolonged Isolation

          Symptom                        % Presence Among Pelican Bay SHU Prisoners

          Ruminations                                         88
          Irrational anger                                    88
          Oversensitivity to stimuli                          86
          Confused thought process                            84
          Social withdrawal                                   83
          Chronic depression                                  77
          Emotional flatness                                  73
          Mood, emotional swings                              71
          Overall deterioration                               67
          Talking to self                                     63
          Violent fantasies                                   61
          Perceptual distortions                              44
          Hallucinations                                      41
          Suicidal thoughts                                   27
          NOTE: SHU = security housing unit.



              As Table 2 shows, the psychopathological symptoms of isolation were
          even more prevalent among these prisoners. Almost all of the supermax pris-
          oners reported suffering from ruminations or intrusive thoughts, an
          oversensitivity to external stimuli, irrational anger and irritability, confused
          thought processes, difficulties with attention and often with memory, and a
          tendency to withdraw socially to become introspective and avoid social con-
          tact An only slightly lower percentage of prisoners reported a constellation
          of symptoms that appeared to be related to developing mood or emotional
          disorders--concerns over emotional flatness or losing the ability to feel,
          swings in emotional responding, and feelings of depression or sadness that
          did not go away. Finally, sizable minorities of supermax prisoners reported
          symptoms that are typically only associated with more extreme forms of
          psychopathology-hallucinations, perceptual distortions, and thoughts of
          suicide.
              To put both sets of figures in perspective, it is possible to compare these
          prevalence rates with those derived from other populations in which similar
          assessments have been made. For example, Dupuy, Engel, Devine, Scanlon,
          and Querec ( 1970) assessed some similar indices of psychological distress
          with a representative national probability sample of more than 7,000 persons.
          More recent data focusing on similar indices of psychopathology were col-
          lected in Epidemiologic Catchment Area Study (ECAS), a multisite study in
           which the diagnostic interview schedule (DIS) was used to assess the preva-
           lence of psychiatric symptoms in the population at large (Robins & Regier,
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             1991 ). Finally, even more extensive comparisons are possible with another
             systematic study of the effects of living under isolated prison conditions-
             Brodsky and Scogin's (1988) research on prisoners confined in two maxi-
             mum security protective custody units.
                 Table 3 contains a summary of the comparisons between the prevalence
             rates found in the two studies of nonincarcerated normal populations,
             Brodsky and Scogin's protective custody prisoners, and the supermax sample
             from Pelican Bay SHU (of course, along only those dimensions measured in
             each of the respective studies). The contrasts with the nonincarcerated nor-
             mal samples are striking. As would be expected, in almost every instance, the
             prevalence rates for indices of psychological distress and psychopathology in
             the samples from the general population are quite low. The only exceptions
             were for anxiety and nervousness, which Dupuy et al. ( 1970) found in 45% of
             their normal sample, and depression, which Robins and Regier (1991) found
             in almost a quarter of the persons they assessed. Otherwise, the indices of dis-
             tress and symptoms of psychopathology occurred in less than 20% of the
             nonincarcerated samples. On the other hand, in both of the isolated prisoner
             populations, the prevalence rates were well above 50% on virtually all of the
             measured dimensions. For certain symptoms, rates for the prisoner samples
             were five to ten or more times as high.
                 In fact, in both comparative and absolute terms, the prevalence rates were
             extremely high for the supermax prisoner sample and exceeded even those
             reported for the protective custody prisoners. Conditions ofconfinement for
             protective custody prisoners are in many ways similar to those in supermax
              confinement. That is, they are typically segregated from the rest of the prison
              population, restricted or prohibited from participating in prison programs
              and activities, and often housed indefinitely under what amount to oppressive
              and isolated conditions. Unlike supermax prisoners per se, however, many
              have some control over their status as protective custody (PC) prisoners (e.g.,
              many have "volunteered" for this status) and, although they live under the
              stigma of being PC prisoners, they are technically housed in these units for
              protection rather than for punishment.
                 Accordingly, Brodsky and Scogin ( 1988) found high rates of psychologi-
              cal trauma among their sample of protective custody prisoners, so much so
              that they worried about the "strong potential for harmful effects" that such
              confinement represented (p. 279).8 They also observed, in terms that apply
              equally well to supermax prisoners, that "when inmates are subjected to
              extensive cell confinement and deprivation of activities and stimulation, a
              majority can be expected to report moderate to serious psychological symp-
              toms" (p. 279). Yet, note that on 16 of 18 possible comparisons, the symptom
              prevalence rate for Pelican Bay SHU prisoners are greater than those reported
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"' TABLE 3: Comparison of Prevalence Rates Between In Normal, Protective Custody, and Supermax Populations
                                                         %Normal                                   % Protective Housing
                                                      .Dupuy, Engel,               %Normal             Brodsky and            % Supermax
                                                     Devine, Scanlon,            Robins and          Scoggin's (1988)       Haney's (1993)
                                                    and Querec's (1970}       Regier's (1991)         Sampleof31            Random Sample
                                                    National Probability    Multlsite Assessment       Prisoners In        of 100 Prisoners in
         Description                               Sample of 7,000 Adults     of 20,000 Adults      Protective Housing    Security Housing Unit
         Symptoms of psychological trauma
           Anxiety, nervousness                              45                                             84                      91
           Headaches                                         13.7                                           61                      88
           Lethargy, chronic tiredness                       16.8                                           65                      84
           Trouble sleeping                                  16.8                                           61                      84
           Impending breakdown                                7.7                                           48                      70
           Perspiring hands                                  17                                             45                      68
           Heart palpitations                                 3.7                                           39                      68
           Dizziness                                          7.1                                           45                      56
           Nightmares                                         7.6                                           42                      55
           Hands trembling                                    7                                             39                      51
           Fainting                                                                                          0                      17
         Psychopathological effects of Isolation
           Ruminations                                                                                      74                      88
           Irrational anger                                                          2.9                    71                      88
           Confused thought process                                                 10.8                    65                      84
           Chronic depression                                                       23.5                    77                      77
           Overall deterioration                                                                            52                      67
           Talking to self                                                                                  68                      63
           Hallucinations                                                            1.7                    42                      41
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           in the protective custody study. Note .also that many of the percentage differ-
           ences are comparatively large. In fact, the Pelican Bay prevalence rates are,
           on average, 14.5% greater than those reported for the prisoners in Brodsky
           and Scogin's study.
               The prevalence data collected in the Pelican Bay study partially address
           another important supermax-related issue. Several mental health experts
           have written about a distinct set of reactions or a syndrome-like condition that
           occurs in prisoners who have been subjected to long-term isolation. Canadian
           psychiatrist George Scott (1969) described what he termed "isolation sick-
           ness" as coming from "prolonged solitary confinement" (p. 3). In more
           recent research, it has been labled "RES" (reduced environmental stimula-
           tion) or "SHU" (security housing unit) syndrome. Perhaps the most detailed
           clinical description of the disorder came from psychiatrist Stuart Grassian
           (1983), who observed that it included massive free-floating anxiety, hyper-
           sensitivity to external stimulation, perceptual distortions or hallucinations,.
           derealization experiences, difficulties with concentration or memory, acute
           confusional states, aggressive fantasies, paranoia, and motor excitement (that
            may include violent or self-destructive outbursts).
               Because the Pelican Bay prevalence study was not designed to directly
            diagnose SHU syndrome, prisoners were not questioned about literally each
            one of its indices. However, the study found that a very high percentage of
            Pelican Bay prisoners suffered many symptoms similar to the ones Grassian
            had identified. Specifically, a high percentage of prisoners in the present
            study reported suffering from heightened anxiety (91% ), hyper-responsivity
            to external stimuli (86% ), difficulty with concentration and memory (84% ),
            confused thought processes (84% ), wide mood and emotional swings (71% ),
            aggressive fantasies (61% ), perceptual distortions (44% ), and hallucinations
            (41%). Moreover, fully 34% of the sample experienced all eight of these
            symptoms, and more than half (56%) experienced at least five of them.


           THE SOCIAL PATHOLOGIES OF SUPERMAX

              The Pelican Bay prevalence study and the other direct studies of the psy-
           chological effects of supermax confinement I cited earlier focused on dis-
           crete and measurable consequences of this form of imprisonment. The tools
           used to provide these measurements are extremely useful and scientifically
           appropriate methods for documenting specific reactions and symptoms.
           However, they have some inherent limitations that may mask some of the
           subtle yet important transformations that are brought about by supermax
           confinement.
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                For one, indices of measurable harm generally rely on things that persons
            must be aware of in order to report. Obviously, prisoners must be consciously
            pained or in distress over a symptom in order to complain about it; the greater
            their conscious awareness, the higher the frequency and extent of negative
            effects. However, in the course of adjusting and adapting to the painful and
            distressing conditions of confinement, many prisoners will strive to essen-
            tially "get used to it," adapting and accommodating to make their day-to-day
            misery seem more manageable. In addition, some supermax prisoners will
            undergo forms of psychological deterioration of which they are unaware and,
            therefore, incapable of reporting. As long as the deterioration is not obvious
            or disabling, it is likely to escape the attention of mental health staff who, in
            most units, rarely perform careful psychiatric assessments on a routine basis
            for prisoners who appear to be otherwise minimally functioning.
                Indeed, it is not uncommon to encounter a number of supermax prisoners
            who, although they voice few specific complaints and are not identified by
            staff as having any noticeable psychological problems or needs, nonetheless
            have accommodated so profoundly to the supermax environment that they
            may be unable to live anywhere else. In some instances, these changes are dif-
            ficult to measure because prisoners are unaware that they are occurring or
            because they have blunted their perception that such transformations are
             underway. In other instances, the changes are too broad, complicated, and
            subtle to be precisely measured. Yet they appear to have lasting mental health
            implications.
                Thus, a number of significant transformations occur in many long-term
             supermax prisoners that, although they are more difficult to measure, may be
             equally if not more problematic for their future health and well-being and the
             health and well-being of those around them. These come about because in
             order to survive the rigors of supermax, many prisoners gradually change
             their patterns of thinking, acting, and feeling. Some of these transformations
             have the potential to rigidify, to become deeply set ways of being, that are, in
             varying degrees for different people, more or less permanent changes in who
             these prisoners are and, once they are released from supermax, what they can
             become. Because they do not represent clinical syndromes per se, and
             because they constitute patterns of social behavior that are largely "func-
             tional" under conditions of isolation-for the most part becoming increas-
             ingly dysfunctional only if they persist on return to more normal social set-
             tings-! have termed them "social pathologies."
                 Several of the social pathologies that can and do develop in prisoners who
             struggle to adapt to the rigors of supermax confinement are discussed below.
                 First, the unprecedented totality of control in supermax units forces pris-
             oners to become entirely dependent on the institution to organize their exis-
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             tence. Although this is a potential consequence of institutionalization or
             "prisonization" in general (e.g., Haney, in press), it occurs to an exaggerated
             degree in many supermax prisons. Thus, many prisoners gradually lose the
             ability to initiate or to control their own behavior, or to organize their own
             lives. The two separate components of this reaction-problems with the self-
             control and self-initiation of behavior-both stem from the extreme over-
             control of supermax. That is, all prisoners in these units are forced to adapt to
             an institutional regime that limits virtually all aspects of their behavior.
             Indeed, one of the defining characteristics of supermax confinement is the
             extent to which it accomplishes precisely that. But because almost every
             aspect of the prisoners' day-to-day existence is so carefully and completely
             circumscribed in these units, some of them lose the ability to set limits for
             themselves or to control their own behavior through internal mechanisms.
             They may become uncomfortable with even small amounts of freedom
             because they have lost the sense of how to behave in the absence of constantly
             enforced restrictions, tight external structure, and the ubiquitous physical
             restraints.
                 Second, prisoners may also suffer a seemingly opposite reaction that is
             caused by the same set of circumstances. That is, they may begin to lose the
              ability to initiate behavior of any kind-to organize their own lives around
              activity and purpose-because they have been stripped of any opportunity to
              do so for such prolonged periods of time. Chronic apathy, lethargy, depres-
              sion, and despair often result. Thus, as their personal initiative erodes, prison-
              ers find themselves unable to begin even mundane tasks or to follow through
              once they have begun them. Others find it difficult to focus their attention, to
              concentrate, or to organize activity. In extreme cases, prisoners may literally
              stop behaving. In either event, it is hard to imagine a set of adaptations more
              dysfunctional and problematic for persons who will one day be expected to
              exercise increased self-control and self-initiative in mainline prison settings
              or in the free world, if and when they are released there.
                  Third, the absence of regular, normal interpersonal contact and any sem-
              blance of a meaningful social context creates a feeling of unreality that per-
              vades one's existence in these places. Because so much of our individual
              identity is socially constructed and maintained, the virtually complete loss of
              genuine forms of social contact and the absence of any routine and recurring
              opportunities to ground one's thoughts and feelings in a recognizable human
              context leads to an undermining of the sense of self and a disconnection of
              experience from meaning. Supermax prisoners are literally at risk of losing
              their grasp on who they are, of how and whether they are connected to a larger
              social world. Some prisoners act out literally as a way of getting a reaction
              from their environment, proving to themselves that they are still alive and
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             capable of eliciting a genuine response-however hostile-from other human
             beings.
                 Fourth, the experience of total social isolation can lead, paradoxically, to
             social withdrawal for some supermax prisoners. That is, they recede even
             more deeply into themselves than the sheer physical isolation of supermax
             has imposed on them. Some move from, at first, being starved for social con-
             tact to, eventually, being disoriented and even frightened by it. As they
             become increasingly unfamiliar and uncomfortable with social interaction,
             they are further alienated from others and made anxious in their presence. In
             extreme cases, another pattern emerges: This environment is so painful, so
             bizarre and impossible to make sense of, that they create their own reality-
             they live in a world of fantasy instead.
                 Fifth, and finally, the deprivations, restrictions, the totality of control, and
             the prolonged absence of any real opportunity for happiness or joy fills many
             prisoners with intolerable levels of frustration that, for some, turns to anger
             and then even to uncontrollable and sudden outbursts of rage. Others channel
             their supermax-created anger in more premeditated ways. Many supermax
             prisoners ruminate in the course of the countless empty hours of uninter-
             rupted time during which they are allowed to do little else. Some occupy this
             idle time by committing themselves to fighting against the system and the
             people that surround, provoke, deny, thwart, and oppress them. There are
              supermax prisoners who become consumed by the fantasy of revenge, and
             others lash out against those who have treated them in ways they regard as
             inhumane. Sadly, there are some supermax prisoners who are driven by these
              deprived and oppressive conditions to pursue courses of action that further
             ensure their continued deprivation and oppression.
                 Although I have described these social pathologies as separate and distinct
              adaptations, they are not mutually exclusive. Thus, prisoners may move
              through one or another adaptation to their extraordinarily stressful life in
              supermax, or engage in several at once in an attempt to reduce the pains of
              their confinement and to achieve a tolerable equilibrium in this otherwise
              psychologically hostile environment. In fact, in extreme cases and over a long
              period of time, a combination of seemingly adaptive responses may coalesce
              into a more or less permanent lifestyle, one lived so exclusively and with such
              commitment that the prisoner's very being seems to be transformed. For
              example, some supermax prisoners whose opportunities for self-definition
              and self-expression have been effectively suppressed for extended periods of
              time-who have been denied conventional outlets through which to use their
              intellect or to express their heightened sense of injustice-come increasingly
              to define themselves in opposition to the prison administration. They begin to
              gradually fashion an identity that is anchored primarily by the goal of thwart-
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        ing and resisting the control mechanisms that are increasingly directed at
        them. The material out of which their social reality is constructed increas-
        ingly consists of the only events to which they are exposed and the only expe-
        riences they are allowed to have-the minutiae of the supermax itself and all
        of the nuance with which it can be infused.
            Just as the social pathologies of supermax are the creations of a socially
        pathological environment, taking prisoners out of these places often goes a
        long way in reducing or eliminating the negative effects. But there is good
        reason to believe that some prisoners-we do not yet know how many or, in
        advance, precisely who-cannot and will not overcome these social patholo-
        gies; their extreme adaptations to supermax confinement become too
        ingrained to relinquish. Those who are not blessed with special personal
        resiliency and significant social and professional support needed to recover
        from such atypical and traumatic experiences may never return to the free
        world and resume normal, healthy, productive social lives. These are extraor-
        dinary-! believe often needless and indefensible-risks to take with the
         human psyche and spirit. Such extreme, ultimately dysfunctional, but often
         psychologically necessary adaptations to supermax confinement underscore
         the importance of continuing to critically analyze, modify, and reform the
        extremely harsh conditions that produce them. Understanding how and why
         they occur also brings some real urgency to the development of effective pro-
         grams by which prisoners can be assisted in unlearning problematic habits of
         thinking, feeling, and acting on which their psychological survival in super-
         max often depends.
             But they also highlight another issue. In what is one of the core irrationali-
         ties in the logic on which supermax regimes are premised, these units make
         the ability to withstand the psychological assault of extreme isolation a pre-
         requisite for allowing prisoners to return to the intensely social world of
         mainline prison or free society. In this way, prisoners who cannot "handle"
         the profound isolation of supermax confinement are almost always doomed
         to be retained in it. And those who have adapted all too well to the depriva-
         tion, restriction, and pervasive control are prime candidates for release to a
         social world to which they may be incapable of ever fullx readjusting.


         ADDITIONAL MENTAL
         HEALTHISSUESINSUPERMAX

            In addition to the negative psychological effects of solitary and supermax-
         like confinement reviewed above, there are several other important mental
         health issues raised by the nature of these conditions and the policies by
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             which prisoners are placed in them. One such issue involves the number of
             mentally ill prisoners who are housed in supermax. Prisoners often describe
             their experience in supermax environments as a form of psychological tor-
             ture; most of them are in varying degrees of psychic pain, and many of them
             struggle to cope with the daily stress of their confinement. Although in my
             experience, virtually everyone in these units suffers, prisoners with preexist-
             ing mental illnesses are at greater risk of having this suffering deepen into
             something more permanent and disabling. Those at greatest risk include, cer-
             tainly, persons who are emotionally unstable, who suffer from clinical
             depression or other mood disorders, who are developmentally disabled, and
             those whose contact with reality is already tenuous. There is good reason to
             believe that many of these prisoners in particular will be unable to withstand
             the psychic assault of dehumanized isolation, the lack of caring human con-
             tact, the profound idleness and inactivity, and the otherwise extraordinarily
             stressful nature of supermax confinement without significant deterioration
             and decompensation.
                  How many such persons are there? Research conducted over the past sev-
             eral decades suggests that somewhere between 10% to 20% of mainline pris-
             oners in general in the United States suffer from some form of major mental
             illness (e.g., Jamelka, Trupin, & Chiles, 1989; Veneziano & Veneziano,
              1996). The percentages in supermax appear to be much higher. Although too
             few studies have been done to settle on precise estimates of mentally ill
              supermax prisoners, and the numbers undoubtedly vary some from prison
              system to prison system, the percentages may be as much as twice as high as
              in the general prisoner population.
                  For example, a Canadian study estimated that approximately 29% of pris-
              oners in special handling and long-term segregation units suffered from
              "severe mental disorders" (Hodgins & Cote, 1991 ). A more recent study con-
              ducted by a group of Washington state researchers (Lovell, Cloyes, Allen, &
              Rhodes, 2000) found exactly the same thing: 29% of intensive management
              prisoners in the state's correctional system manifested at least one predefined
              indication of serious mental disorder (such as multiple admissions to an acute
              care mental care facility, or having been in one of the prison system's residen-
              tial mental health units).
                  Why this overrepresentation? Unproblematic adjustment to prison
              requires conformity to rigidly enforced rules and highly regimented proce-
              dures. Many mentally ill prisoners lack the capacity to comply with these
              demands and they may end up in trouble as a result. If they are not treated for
              their problems, the pattern is likely to be repeated and eventually can lead to
              confinement in a supermax unit. As Toch and Adams (2002) have succinctly
              put it, "an unknown proportion of people who are problems (prove trouble-
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               some to settings in which they function) also have problems (demonstrate
               psychological and social deficits when they are subjected to closer scrutiny)"
               (p. 13). Prison systems that fail to realize this basic fact will end up blam-
               ing-and punishing-prisoners for manifesting psychological conditions
               for which they should have been treated. Especially for prison systems that
               lack sufficient resources to adequately address the needs of their mentally ill
               mainline prisoners, disciplinary isolation and supermax confinement seems
               to offer a neat solution to an otherwise difficult dilemma. In such systems,
               supermax becomes the default placement for disruptive, troublesome, or
               inconvenient mentally ill prisoners. Thus the presence of a disproportion-
               ately high number of mentally ill prisoners in supermax often reflects a fail-
               ure of system-wide proportions.
                    A number of supermax prisons fail to adequately screen out prisoners with
               preexisting mental illness, and fail to remove those whose mental health
               problems worsen under the stress of the extreme isolation, deprivation, and
               forceful control they confront inside. In addition, many of the units fail to
               appreciate the potential for these kinds of conditions of confinement to pro-
               duce psychopathology in previously healthy prisoners. These problems are
               exacerbated by the fact that even if mental health staff members manage to
               identify those prisoners with serious psychological and psychiatric needs,
                many supermaxes are 'uniquely ill-suited to address them. Not only are they
                likely to be staffed with too few treatment personnel and plagued by high
                turnover, but the extraordinary and unyielding security procedures that char-
                acterize these kinds of prisons often preclude meaningful and appropriate
                therapeutic contact.
                    Thus, supermax prisoners who are in acute distress typically have the
                option of receiving what is euphemistically called ..cell front therapy" in
                which they can discuss intimate, personal problems with mental health staff
                who cannot easily see or hear them through the cell doors (unless they speak
                so loudly that other prisoners in the housing unit also can listen in). Or they
                can choose to undergo strip searches, be placed in multiple restraints (which
                are typically left on throughout the therapy session), and taken either to a
                counselor's office (where correctional officer escorts are often stationed
                close enough to overhear what is being said) or special rooms fitted with
                security cages in which the prisoner is placed to be counseled by a therapist
                who speaks to them through wire screening of the cage. Or, in some places
                they can submit to "tele-psychiatry" sessions in which disembodied images
                attempt to assess and address their problems from distant locations. Not sur-
                prisingly, under these circumstances many prisoners fail to ask for help or
                reject it when it is offered.
                    A separate but related problem pertains to the group of prisoners who,
                 although they do not suffer from preexisting mental illness, nonetheless are
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               psychologically damaged by the extreme situational stress to which they are
               subjected in supermax. There is much reason to believe that supermax con-
               finement may produce psychopathology in certain persons who otherwise
               would not have suffered it. For example, a study of Danish prisoners found
               that for prisoners who remained in solitary confinement for longer than 4
               weeks "the probability of being admitted to the prison hospital for a psychiat-
               ric reason was about 20 times as high as for a person [in a mainline prison]"
               (Sestoft et al., 1998, p. 103), leading the researchers to conclude that "indi-
               viduals detained [in solitary confinement] are forced into an environment that
               increases their risk of hospitalization ...for psychiatric reasons" (p. 105).
                   Finally, as I earlier alluded, many of the psychological and psychiatric
               reactions created or exacerbated by supermax confinement may persist long
               after a prisoner has been released into the mainline population or freed from
               incarceration altogether. In addition, even among prisoners who suffer no
               readily identifiable set of psychological symptoms, the social pathologies of
               supermax confinement may significantly interfere with long-term adjust-
                ment. To date, most supermax prisons appear oblivious to these persistent
                problems and many offer no meaningful counseling or transitional programs
               at all to prisoners who are attempting to make the daunting adjustment from
                near total isolation to an intensely social existence.
                    These interrelated problems-that prisoners suffering from preexisting
                mental illnesses are overrepresented in supermax, that the pains of supermax
                confinement are too severe for many prisoners to withstand, and that many of
                the psycho- and social pathologies of supermax confinement have disabling
                long-term consequences-have several important correctional policy impli-
                cations. In particular, procedures must be implemented for screening prison-
                ers in advance of their transfer to supermax (so that mentally ill and otherwise
                vulnerable persons are never placed there in the first place). In addition,
                because the mental health needs of any supermax prisoner can become acute
                and substantial at any time, prison systems need to be fully prepared to ade-
                quately address them (setting aside the obvious question of whether anyone
                can and should, in a humane system, be housed in such environments in the
                first place).
                    This also means that supermax prisons must implement careful psychiat-
                ric monitoring of all prisoners during their confinement and have readily
                 accessible procedures in place for the removal of any prisoner at the first sign
                of deterioration. Given the fact that supermax prisoners behave so little-
                 they are not permitted to actually do much of anything-the opportunities for
                 disturbed behavior to be observed by staff are extremely limited. If monitor-
                 ing is done passively, as it often is, only the most flagrant cases are likely to
                 come to anyone's attention. Mental health staff who walk through supermax
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            housing units, pausing briefly at each cell to ask prisoners how they are doing
            or to pose some other equally superficial, pro forma inquiry are not engaging
            in careful psychiatric screening. In light of the psychological risks posed by
            this environment and the widely shared reluctance of these prisoners to admit
            vulnerability, the regular and in-depth evaluation of supermax prisoners
            should be regarded as the only acceptable and truly effective form of
            monitoring.
                Finally, supermax units should be required to provide extensive mental
            health resources that are specifically targeted to ease the psychological pains
            of this kind of confinement and the extremely difficult transitions that typi-
            cally follow it. Supermax prisoners must enter so-called de-escalation or
            step-down programs well in advance of their release, and the programs them-
            selves must grapple seriously and forthrightly with the negative psychologi-
            cal changes that supermax confinement often brings about. This will require
            prison systems that are in denial about the issues reviewed in the preceding
            pages to overcome it, and to acknowledge and confront the psychological
            consequences of housing prisoners under conditions that pose such signifi-
            cant mental health risks. Attempts to provide these kinds of transitional ser-
             vices through programs that are delivered without genuine interpersonal
             interaction and social contact-some systems actually use videotapes that
             supermax prisoners watch alone in their cells, supposedly to reacquaint them
             with the social world they are about to reenter-will prove to be painfully
             inadequate. Moreover, like all meaningful mental health and counseling ser-
             vices, these transitional programs must be made available to prisoners under
             genuinely therapeutic conditions that foster some degree of privacy, trust,
             and supportive social interaction.


            THE LEGAL REGULATION OF SUPERMAX

               Because supermax prisons are of relatively recent origin, their constitu-
            tionality-the question of whether the conditions of confinement in this new
            prison form represent cruel and unusual punishment-has been tested in only
            a few important cases. In this section, I review the three most important
            legal challenges to supermax confinement and examine the implications
            of the way in which the courts have responded in each. Judges in all three
            cases recognized the need for some form of segregated housing in correc-
            tional settings, emphatically acknowledged-with varying degrees of clarity
            and scope-the potential psychological harms of supermax-type confine-
            ment, and explicitly prohibited certain categories of prisoners from being
            housed under such conditions.
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                 The first such case, Madrid v. Gomez ( 1995), addressed conditions of con-
             finement in California's Pelican Bay Security Housing Unit, the site at which
             my earlier reported research was conducted. The judge was candid and criti-
             cal in his assessment of the conditions of confinement in the California
             supermax. He pointed to the "stark sterility and unremitting monotony" of
             the interior of the prison itself, was concerned about the fact that prisoners
             "can go weeks, months or potentially years with little or no opportunity for
             normal social contact with other people," and commented that the sight of
             prisoners in the barren exercise pens to which they were restricted creating an
             image "hauntingly similar to that of caged felines pacing in a zoo" (p. 1229).
                 He found further that "many, if not most, inmates in the SHU experience
             some degree of psychological trauma in reaction to their extreme social isola-
             tion and the severely restricted environmental stimulation in the SHU"
             (p. 1235). Indeed, the court's opinion acknowledged that "social science and
             clinical literature have consistently reported that when human beings are sub-
             jected to social isolation and reduced environmental stimulation, they may
             deteriorate mentally and in some cases develop psychiatric disturbances"
             (p. 1230). He concluded that Pelican Bay inflicted treatment on prisoners
              that, in his words, "may well hover on the edge of what is humanly tolerable
             for those with normal resilience, particularly when endured for extended
              periods of time" (p. 1280).
                 However, although the judge in Madrid also found that overall conditions
              in the supermax units were "harsher than necessary to accommodate the
              needs of the institution" (p. 1263), he concluded that he lacked any constitu-
              tional basis to close the prison or even to require significant modifications in
              many of its general conditions. Instead, he barred certain categories of pris-
              oners from being sent there because of the tendency of the facility to literally
              make them mentally ill or significantly exacerbate preexisting mental illness.
              In particular, he limited the class of prisoners to be protected from these
              harms to the mentally ill and those prisoners who were at an unreasonably
              high risk of suffering a serious mental illness as a result of the conditions
              (including prisoners diagnosed as chronically depressed, brain damaged, and
              developmentally disabled). 8 Finally, the judge emphasized that the record
              before him pertained to prisoners who had been in supermax for no more than
              a few years and that longer term exposure might require a different result. 9
                 In the second significant case to examine conditions of confinement in
              supermax-like settings, Ruiz v. Johnson (1999), a federal district court
              reached even more sweeping legal conclusions than the judge had in Madrid.
               For nearly 30 years, the Ruiz court had overseen the sweeping reform of the
              Texas prison system. Starting with a landmark opinion in 1980 in which the
              entire Texas prison system was declared unconstitutional (Ruiz v. Estelle,
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               1980), an extensive number of court-ordered changes had been implemented.
               Hoping to end this judicial oversight, the state petitioned to terminate the
               court's jurisdiction, arguing that a sufficient number of reforms had been
               made in the Thxas prison system and that no unconstitutional conditions of
               confinement remained. The federal court agreed on some counts but dis-
               agreed emphatically on others.
                   Conditions of confinement in Texas's "administrative segregation" or
               "high sssssssssunits were a major part of this round of the Ruiz litigation.
               Despite acknowledging significant improvements in many other areas of the
               state's prison system, the court ruled that its disciplinary lockup units still
               operated below constitutionally minimum standards. In particular, the judge
               ruled that the "extreme deprivations and repressive conditions of confine-
               ment" of the administrative segregation units constituted cruel and unusual
               punishment "both as to the plaintiff class generally and to the subclass of
               mentally ill inmates housed in such confinement" (p. 861 ). Indeed, the judge
               concluded that "more than mere deprivation," the prisoners in these units
               "suffer actual psychological harm from the almost total deprivation of human
               contact, mental [stimulation], personal property and human dignity" (p. 913).
                    The judge also understood that the psychological harm inflicted by long-
               term supermax confinement could result in mental illness, even among those
               prisoners not previously afflicted. Thus, the court concluded that "Texas's
               administrative segregation units are virtual incubators of psychoses-seed-
               ing illness in otherwise healthy inmates and exacerbating illness in those
               already suffering from mental infirmities" (p. 907). The judge was clear and
               decisive in his ruling, writing that "it is found that administrative segregation
               is being utilized unconstitutionally to house mentally ill inmates-inmates
               whose illness can only be exacerbated by the depravity of their confinement"
               (p. 915).
                    He further speculated about why prison officials, who were clearly aware
               of these conditions and cognizant of the "inmates' ensuing pain and suffer-
                ing" might maintain such a system. Whatever the cause-including the pos-
                sibility that the officials labored under what he termed "a misconception of
                the reality of psychological pain"-the judge condemned the fact that the
                prison system had "knowingly turned its back on this most needy segment of
                its population" (p. 914). 10
                    The final and most recent case, Jones 'El v. Berge (2001), presented a
                somewhat narrower issue but resulted in a similarly strong ruling. In this
                case, a federal district court in Wisconsin granted prisoners' motion for
                injunctive relief on the grounds that seriously mentally ill prisoners were at
                risk of irreparable emotional damage if the state continued to confine them;in
                its supermax facility. The court concluded that the
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                 extremely isolating conditions in supermaximum confinement cause SHU
                 Syndrome in relatively healthy prisoners who have histories of serious mental
                 illness, as well as prisoners who have never suffered a breakdown in the past
                 but are prone to break down when the stress and trauma become exceptionally
                 severe. (pp. 1101-1102)

              The court found further that

                    credible evidence indicates that Supermax is not appropriate for seriously
                    mentally ill inmates because of the isolation resulting from the physical layout,
                    the inadequate level of staffing and the customs and policies. Supermax was
                    designed to house especially disruptive and recalcitrant prisoners but not men-
                    tally ill ones. (p. 1118)

              The judge ordered several prisoners to be removed from the supermax facil-
              ity. In addition, she required mental health professionals to evaluate several
              categories of prisoners among those who remained, and if any of them were
              determined to be seriously mentally ill, she ordered that they be transferred
              out of supermax.
                  In each of these three cases in which federal district courts were presented
              with evidence of the psychological effects of supermax confinement, they
              acknowledged the significant psychological risks it posed, expressed
              strongly worded concerns about the constitutionality of exposing prisoners to
              these conditions for long periods of time, and expressly prohibited the use of
              supermax for certain categories of prisoners (in particular, those with preex-
              isting histories of mental illness, and those likely to become mentally ill in the
              course of their solitary confinement).


               CONCLUSION
                                                               '
                 Supermax prisons inflict varying amounts of psychological pain and emo-
              tional trauma on prisoners confined in them. The range of
              psychopathological reactions to this form of confinement is broad, many of
              the reactions are serious, and the existing evidence on the prevalence of
              trauma and symptomatology indicates that they are widespread. The mental
              health risks posed by this new form of imprisonment are clear and direct,
              exacerbated by the tendency of correctional systems to place a disproportion-
              ate number of previously mentally ill prisoners in supermax confinement, to
              ignore emerging signs of mental illness among the supermax prison popula-
              tion, and to fail to provide fully adequate therapeutic assistance to those pris-
              oners who are in psychic pain and emotional distress.
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                  It is important to reflect on whether the psychologically destructive condi-
             tions to which prisoners in supermax prisons are exposed would be counte-
             nanced for any other group in our society. Indeed, revelations that mental
             patients or elderly nursing home residents have been subjected to punitive
             isolation are understandably followed by widespread public outcry. Simi-
             larly, when typically more psychologically resilient populations have been
             taken as prisoners of war or as hostages subsequently held in isolation, recog-
             nition of the adverse psychological consequences is immediate and generates
             broad concern. Support for providing psychiatric counseling to the victims of
             these kinds of traumatic experiences is unquestioned.
                  The fact that no such recognition and concern is typically extended to pris-
             oners in supermax confinement whose experiences in captivity may be com-
             parable or worse, and of longer duration, raises disturbing questions: Do we
             allow what we believe to be their blameworthiness for this kind of mistreat-
             ment-that they earned it, they deserve it, they asked for it-to blur our
              understanding of the consequences of the mistreatment itself? That is, has
             devaluing the prisoners' claim to be free from such harm led to the erroneous
              perception that the harm is not real? If so, the empirical evidence suggests
              that we have made a grievous mistake.
                  I believe that the overwhelming evidence of the negative psychological
              effects of many forms of long-term supermax confinement provides a strong
              argument for placing enhanced correctional and legal limits on the use of this
              new prison form and carefully scrutinizing all aspects of its operation and
              effect (e.g., Haney & Lynch, 1997, pp. 558-566). As I noted earlier, there are
              better and worse supermax prisons, and we should take steps to ensure that all
              such facilities implement the best and most humane of the available prac-
              tices. In general, far more careful screening, monitoring, and removal poli-
              cies should be implemented to ensure that psychologically vulnerable-not
              just mentally ill-prisoners do not end up in supermax in the first place, and
              that those who deteriorate once there are immediately identified and trans-
              ferred to less psychologically stressful environments. In addition, prison dis-
              ciplinary committees should ensure that no prisoner is sent to supermax for
              infractions that were the result of preexisting psychiatric disorders or mental
              illness. 11
                   Moreover, harsh supermax conditions of confinement themselves must be
               modified to lessen their harmful effects. That is, it is important to recognize
               that placing people in conditions of confinement that we know in advance are
               likely to psychologically harm and endanger them cannot be morally justi-
               fied merely through assurances that, if and when they do deteriorate, the
               prison system will make a good faith effort to identify the damage and work
               reasonably diligently to repair it. Thus, meaningful activities and program-
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            ming-including access to therapy, work, education, and recreation-should
            be afforded all supermax prisoners to prevent deterioration, and out-of-cell
            time should be maximized within the limits of correctional resources. To pre-
            vent the total atrophy of social skills and the deterioration of social identities,
            supermax prisoners should be afforded some form of meaningful collective
            activity and opportunities for normal social interaction (that includes contact
            visiting).
                Finally, strict time limits should be placed on the length of time that pris-
            oners are housed in supermax. No prisoner should be subjected continuously
            to even these modified conditions of supermax-like confinement for longer
            than a period of2 years, no prisoner should ever be subjected to indeterminate
            supermax terms for any reason, and no prisoner should be sent to supermax
            solely on the basis of alleged gang membership in the complete absence of
            other overt behavioral infractions. Indeed, the units themselves should be
            organized around the goal of rapid return and reintegration and judged on the
            basis of their ability to release rather than retain prisoners. Once prisoners are
            about to be released from supermax confinement, they should be afforded
             transitional or step-down programming to accustom them to the kind of envi-
             ronment to which they will be sent (mainline prison housing or the free
             world). Moreover, given the likely long-term effects of such confinement,
             these transitional programs and services should be continued after the pris-
             oner has been transferred from supermax.
                 Correctional administrators, politicians, legal decision makers, and mem-
             bers of the public eventually may decide that the harm that supermax prisons
             inflict is worth the benefit that they arguably beget and that the pains of such
             confinement are the regrettable but unavoidable price of an otherwise justi-
             fied policy. However, there are very serious psychological, correctional,
             legal, and even moral issues at the core of this calculation that are worthy of
             serious, continued debate. This debate has hardly begun and, in most
             instances, it has hardly been informed by the empirical record that I have
             cited in the preceding pages.
                 Many scholars who have studied supermax prisons-myself included-
             doubt the validity of the claims that are made on their behalf, 12 and believe
             that in any event many of the publicly asserted goals of this new form of
             imprisonment can be achieved through less psychologically onerous and
             invasive alternatives. Yet, whatever one concludes about the value of
              supermax prisons in achieving these goals, it represents only one term in a
              more complex equation. The important determination of what, if any, legiti-
              mate role this kind of imprisonment should have in an effective and humane
              prison system can only be made with its psychological effects clearly in
              mind. The best available evidence indicates very clearly that many
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             supermax-like conditions of confinement inflict extraordinary levels of psy-
             chological pain and create substantial mental health risks. We should not con-
             tinue to ignore, overlook, or minimize these data in this continuing and
             important debate.


             NOTES

                   1. I have chosen to use the more encompassing term supermax prison even though it is
             rarely used as the official designation for such places. Different prison systems use different ter-
             minology to refer to these kinds of units. For example, the program at Marion Penitentiary gener-
             ally regarded as having given rise to the supermax design was referred to as the "control unit."
             Arizona's supermax units are called ""special management units" or''SMUs"; in California, they
             are known as "security housing units," or "SHUs"; in Texas, they are "high security units";
             Washington State employs the term "intensive management unit" or ''IMU ,"whereas New Mex-
             ico prefers "special controls unit" or "SCU." Although penologist Chao;e Riveland ( 1999) was
             correct to conclude that "there is no universal definition of what supermax facilities are and who
             should he in them" (p. 4), most of these units, whatever they are called, have enough distinctive
             features in common to be analyzed together.
                   2. Few "isolation" units, including supermax prisons, have been able to successfully pre-
             vent literally all forms of interpersonal communication. Of necessity, prisoners in solitary con-
             finement must have some form of regular and routine contact with staff. In addition, the physical
             layouts of most such units-adjoining cells connected by plumbing, heating vents, and ventila-
             tion ducts-typically allow for some minimal form communication between prisoners (however
             strained and denatured the "interaction" may be and however inventive prisoners must be to
             bring it about).
                   3. Long-term solitary confinement was once a standard feature of imprisonment. But by the
             last decade of the 19th century, it essentially had been abandoned (see Haney & Lynch, 1997, pp.
             481-496). In 1890, U.S. Supreme Court Justice Miller (Re Medley, 1890), summarized the pre-
              ceding hundred years of experience with this kind of punishment by noting,"1bere were serious
              objections to it ... and solitary confinement was found to be too severe." To illustrate, he also pro-
              vided this account of its psychological effects:

                 A considerable number of the prisoners feU, after even a short confinement, into a semi-
                 fatuous condition, from which it was next to impossible to arouse them, and others
                 became violently insane; others still, committed suicide; although those who stood the
                 ordeal better were not generally reformed, and in most cases did not recover sufficient
                 mental activity to be of any subsequent service to the community. (p. 168)
                    4. In some jurisdictions, overcrowding in these units hhhhforced prison officials to double-
              cell supermax prisoners. In a sense, this kind of confinement leaves prisoners simultaneously
              and paradoxically isolated and overcrowded.
                    5. Most states conduct periodic reviews of such indeterminate sentences. But the reviews
              are typically pro forma and continued supermax placement is virtually always authorized. Since
              the initial decision about a prisoner's status as a gang member is based entirely on the judgement
              of staff members, and since these judgements rarely if ever change, continued and indefinite
              supermax placement is essentially assured. See Tachiki ( 1995) for a more detailed discussion of
              this issue.
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                   6. What, ellactly, qualifies a prisoner to be considered one of the so-called "worst of the
             worst" has never really been clarified in correctional policy or constitutional decision making.
             Nonetheless, correctional administrators (e.g., Hershberger, 1998) and even some federal judges
             talk about the category as though it was unproblematic to define and apply. For example, "Com-
             mon sense, moreover, tells us that the prisoners in the disciplinary unit of a ma11imum security
             prison are apt to be the worst of the worst and that guards must therefore use more repressive
             methods in dealing with them" (Cooper v. Casey, 1996, p. 918). See, also, Jones 'El 111 Berge
             (2001): "Supermall Correctional Institution is a 500 bed superma11imum security facility in
             Boscobel, Wisconsin, designed to incarcerate the worst of the worst offenders" (p. 1099). How-
             ever, as another federal judge correctly observed, "this concept has proven difficult to
             operationalize" (Austin v. Wilkinson, 2002, p. 723). Critics have questioned the use ofthis termi-
             nology and worry that its vagueness leads repeatedly to overclassification and the blanket justifi-
             cation for harsh treatmenL When it is applied to prisoners solely on the basis of alleged gang
             affiliation or in response to disciplinary infractions that, in at least some instances, appear to stem
             more from mental illness than willful propensities on the part of the prisoner, it seems particu-
             larly questionable and subject to abuse. See, for e11ample, DeMaio (2001) and Tachiki (1995).
                   7. Random sampling of prisoners permits the sample statistics to be generalized to the char-
             acteristics of the entire SHU population, within a margin of error associated with the particular
             estimate. This margin of error is a function of both the size of the sample (in this case, 102) and
              the specific sample percentage being generali7.ed. For example, at the 95% confidence level (the
              level ordinarily used in academic and scientific writing), the margin of error for this sample is
              somewhere between ±6% to I 0%, depending on the specific sample percentage. The more even
              the percentage split (i.e., 50%), the closer to the higher limit (in this case ±10%) the margin of
              error will be.
                    8. In a key passage in the opinion, the judge (Madrid v. Gomez, 1995) limited his ruling in
              this way:

                   While a risk of a more serious [mental] injury is not non-existent, we are not persuaded,
                   on the present record and given all the circumstances, that the risk of developing an injury
                   to mental health of sufficiently serious magnitude due to current conditions in the SHU is
                   high enough for the SHU population as a whole, to find that current conditions in the
                   SHU are per se violative of the Eighth Amendment with respect to all potential inmates.
                   (p. 1265)                .
                    9. He wrote, "We emphasize, of course, that this determination is based on the current
             rec_oJ:P. and data before us. We can not begin to speculate on the impact that Pelican Bay SHU
             conditions may have on inmates confined in the SHU for periods of 10 or 20 years or more; the
             inmates studied in connection with this action had generally been confined to the SHU for three
             years or less" (Madrid v. Gomez, 1995, p. 1267).
                   I 0. A short time later in the opinion, the judge was equally pointed in his analysis:

                   As the pain and suffering caused by a cat-o' -nine-tails lashing an inmate's back are cruel
                   and unusual punishment by today's standards of humanity and decency, the pain and suf-
                   fering caused by extreme levels of psychological deprivation are equally, if not more,
                   cruel and unusual. The wounds and resulting scars, while Jess tangible, are no less pain-
                   ful and permanent when they are inflicted on the human psyche. (p. 914)
                 II. It is important not to be naive about vague recommendations like "screening, monitoring,
             and removal." The utility of these reforms turns entirely on the way in which they are actually
             implemented. For example, if mental health personnel must always defer to the judgements of
             custodial staff, are under pressure to admit or retain prisoners in supermall whom they believe
             should not be there, are inadequately trained to recognize vulnerabilities to isolation-related
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            stressors, or predisposed to attribute psychiatric complaints to preexisting character disorders
            (and thereby dismiss them}, then the reforms will help to ameliorate the harms of supermax very
            little or not at all.
                  12. For example, "Not one of the state supermax prisons, however, is necessary, and all are a
            grave error in the sad tale of man's brutality to man" (Kurki & Morris, 2001, p. 421); "Where
            prison regimes are so depriving as those offered in most supermax facilities, the onus is upon
            those imposing the regimes to demonstrate that this is justified. ... To the best of my knowledge,
            no convincing demonstration has yet been provided" (King, 2000, p. 182); "Supermaxes have to
            justify or modify the draconian strictures that typically prevail at entry into the setting. The argu-
            ment that such strictures are required as an incentive for promotion to a less sensorily-deprived
            environment is specious because less onerous gradations of conditions would serve the same
            ends" (Toch, in press).



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                                                                                                                                                      fects of solitary confinement. The empirical findings are supported by a
                                                                                               Copyright   c 2018 by Annual Reviews.                 theoretical framework that underscores the importance of social contact to
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                                                                                                                                                      psychological as well as physical well-being. In essence, human beings have
                                                                                                                                                      a basic need to establish and maintain connections to others and the depri-
                                                                                                        ANNUAL
                                                                                                        REVIEWS   Further                             vation of opportunities to do so has a range of deleterious consequences.
                                                                                                        Click here to view this article's
                                                                                                        online features:                              These scientific conclusions, as well as concerns about the high cost and lack
                                                                                                        • Download ﬁgures as PPT slides               of any demonstrated penological purpose that solitary confinement reliably
                                                                                                        • Navigate linked references
                                                                                                        • Download citations                          serves, have led to an emerging consensus among correctional as well as pro-
                                                                                                        • Explore related articles
                                                                                                        • Search keywords                             fessional, mental health, legal, and human rights organizations to drastically
                                                                                                                                                      limit the practice.


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                                                                                                               INTRODUCTION
                                                                                                               The effects of being housed in solitary confinement are now well understood and documented
                                                                                                               in the scientific literature. There are numerous empirical studies that report robust findings—
                                                                                                               that is, consistent and corroborative data collected by researchers and clinicians from diverse
                                                                                                               backgrounds and perspectives, amassed over a period of many decades. With remarkably few
                                                                                                               exceptions, virtually every one of these studies has found that isolated prisoners experience negative
                                                                                                               psychological effects and are at a significant risk of serious harm.
                                                                                                                   In addition, these empirical findings are theoretically sound. That is, there are straightfor-
                                                                                                               ward scientific explanations for the fact that solitary confinement—the absence of meaningful
                                                                                                               social contact and interaction with others—produces pain and suffering and can have harmful
                                                                                                               psychological consequences. Social exclusion and isolation from others is known to cause adverse
                                                                                                               psychological effects in contexts other than prison; it therefore makes perfect theoretical sense that
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                                                                                                               this experience produces similar negative outcomes in correctional settings, where the isolation is
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                                                                                                               rigidly enforced, the opprobrium and hostility directed at isolated prisoners are extreme, and the
                                                                                                               other associated deprivations are so severe. Although the significant risk of serious psychological
                                                                                                               harm exists for all prisoners, it is intensified for those who suffer from a pre-existing mental illness
                                                                                                               or other vulnerabilities.
                                                                                                                   As I discuss in this review, this theoretically grounded body of scientific knowledge has served
                                                                                                               as an important basis for an emerging consensus among scientific researchers as well as corrections
                                                                                                               professionals and mental health, legal, and human rights organizations on the need to significantly
                                                                                                               restrict the nature, frequency, and duration of solitary confinement and to exclude certain groups
                                                                                                               of prisoners from being subjected to it at all.


                                                                                                               THE DEFINITION, USE, AND OPERATIONAL CONSEQUENCES
                                                                                                               OF SOLITARY CONFINEMENT
                                                                                                               For perhaps obvious reasons, total and absolute solitary confinement—literally complete isolation
                                                                                                               from any form of human contact—does not exist in prison and never has. Instead, the term is
                                                                                                               generally used in correctional practice, law, and scholarship to refer to conditions of extreme (but
                                                                                                               not total) isolation from others. I have defined it elsewhere, in a way that is entirely consistent
                                                                                                               with its use in the broader correctional literature, as

                                                                                                                  [S]egregation from the mainstream prisoner population in attached housing units or free-standing
                                                                                                                  facilities where prisoners are involuntarily confined in their cells for upwards of 23 hours a day or
                                                                                                                  more, given only extremely limited or no opportunities for direct and normal social contact with other
                                                                                                                  persons (i.e., contact that is not mediated by bars, restraints, security glass or screens, and the like), and
                                                                                                                  afforded extremely limited if any access to meaningful programming of any kind (Haney 2009, p. 12,
                                                                                                                  footnote 1).


                                                                                                               The definition of what constitutes solitary confinement turns less on the exact amount of in-cell
                                                                                                               time to which a prisoner is subjected and more on the deprivation of normal, direct, and meaningful
                                                                                                               social contact and access to positive environmental stimulation. Thus, an isolated prisoner who was
                                                                                                               afforded considerable out-of-cell time during which he or she was denied normal and meaningful
                                                                                                               forms of direct social contact and positive stimulation or programming would still be in solitary
                                                                                                               confinement. “Normal” and “direct” contact means at least, as noted above, contact that is not
                                                                                                               mediated or interposed by such things as “bars, restraints, security glass or screens.” But the
                                                                                                               contact must also be “meaningful,” which, in this context, refers to contact with others in a setting

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                                                                                               that provides access to actual programming and/or purposeful activities of common interest or
                                                                                               consequence that allow for genuine social interaction and engagement with others.
                                                                                                   From a correctional perspective, prisoners are placed in solitary confinement for a number of
                                                                                               different reasons. In some instances, prisoners are placed in solitary confinement as punishment,
                                                                                               typically a fixed amount of time in isolation meted out in response to a disciplinary infraction.
                                                                                               Solitary confinement is also administratively imposed, often justified in vague terms (such as “the
                                                                                               safety and security of the institution”), and for durations that last for indefinite amounts of time,
                                                                                               targeting certain individuals or groups for whom prison officials deem it necessary. Many prison
                                                                                               systems also use a form of solitary confinement to house protective custody prisoners who, for a
                                                                                               variety of reasons, cannot be kept safe elsewhere in the prison system. Although protective cus-
                                                                                               tody prisoners certainly suffer the negative consequences of solitary confinement that result from
                                                                                               the social and sensory deprivations that the experience entails, they are in a somewhat different
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                                                                                               position, psychologically, from those housed involuntarily in solitary confinement. Because of the
                                                                                               ostensible physical protections it affords, solitary confinement may be preferred over what protec-
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                                                                                               tive custody prisoners regard as more dangerous general population prison housing. Moreover,
                                                                                               protective custody prisoners are likely to have some degree of perceived or actual control over
                                                                                               their continued retention in solitary confinement, at least in those systems where their placement
                                                                                               is considered truly voluntary. Protective custody prisoners in solitary confinement also may be
                                                                                               more reluctant to acknowledge or complain about their negative psychological reactions to the ex-
                                                                                               perience (because they are highly dependent on the prison system to keep them safe). In any event,
                                                                                               they should not be regarded as experiencing solitary confinement exactly as other prisoners do.
                                                                                                   Riveland (1999, p. 3) has observed that solitary or segregated confinement typically occurs
                                                                                               either in a “freestanding facility, or a distinct unit within a freestanding facility, that provides for
                                                                                               the management and secure control of inmates” under conditions characterized by “separation,
                                                                                               restricted movement, and limited access to staff and other inmates.” As the United States Depart-
                                                                                               ment of Justice (2013, p. 5) has noted, “[a]n isolation unit means a unit where all or most of those
                                                                                               housed in the unit are subjected to isolation.”
                                                                                                   Although no precise calculation of how many prisoners are being held in solitary confinement
                                                                                               in the United States is currently possible (in part because prison and jail systems do not officially
                                                                                               identify and report these data on a reliable and consistent basis), recent estimates indicate that
                                                                                               the number is not insignificant. For example, one national survey of prison administrators who
                                                                                               reported figures for their jurisdictions concluded that “it is fair to estimate that some 80,000–
                                                                                               100,000 people were in restricted housing in prisons in the fall of 2014” (Assoc. State Correct.
                                                                                               Adm. et al. 2015, p. 10). This estimate does not include the sizable number of jail inmates who
                                                                                               are housed in solitary confinement at any given time (e.g., Haney et al. 2015).
                                                                                                   A Bureau of Justice Statistics (BJS) survey of a nationally representative sample of 91,177
                                                                                               adult inmates in the United States indicated that, on an average day in 2011–2012, “up to 4.4%
                                                                                               of state and federal inmates and 2.7% of jail inmates were held in administrative segregation
                                                                                               or solitary confinement” (Beck 2015, p. 1). Although these figures likely represent a modest
                                                                                               underestimate (because the sample did not include those who, for various reasons, including their
                                                                                               segregation status, could not complete the survey), they nonetheless translate into nearly 70,000
                                                                                               state and federal prisoners and approximately 20,000 jail inmates (estimated from population
                                                                                               figures reported by Glaze & Parks 2012).
                                                                                                   Even though fewer than 5% of prisoners on average are housed in solitary confinement at any
                                                                                               given time, the fact that prisoners cycle in and out of these units means that a much higher number
                                                                                               experience these conditions in the course of their prison or jail sentence. The same 2011–2012
                                                                                               BJS survey found that nearly one in five prisoners reported being housed in solitary confinement
                                                                                               in the preceding year (Beck 2015). African Americans and “other-race” (a category that includes

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                                                                                                               American Indian, Asian, Native Hawaiians, and Pacific Islanders) inmates were significantly more
                                                                                                               likely to spend time in solitary confinement, as were mentally ill prisoners (Beck 2015). In fact,
                                                                                                               “[o]n every measure of past mental health problems, inmates who reported a problem were also
                                                                                                               more likely than other inmates to report that they had spent time in restrictive housing” (Beck
                                                                                                               2015, p. 6).
                                                                                                                   In the nineteenth century, when long-term solitary confinement was actually the modal form
                                                                                                               of imprisonment in the United States and many other countries, its widespread use was premised
                                                                                                               on the mistaken belief that prisoners would benefit from the solitude and opportunity for self-
                                                                                                               reflection and penance that it supposedly afforded as well as from the complete separation from
                                                                                                               contaminating outside influences, including each other (Rothman 1971). When these beliefs were
                                                                                                               definitively disproven, in part by showing that solitary confinement was, in the words of Supreme
                                                                                                               Court Justice Miller, “found to be too severe” (In re Medley 1890, p. 168) and an “infamous
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                                                                                                               punishment” that “always implies disgrace” (In re Medley 1890, p. 169), it was abandoned by the end
                                                                                                               of the century. When corrections officials resumed the practice in the latter part of the twentieth
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                                                                                                               century in the United States, they were not pursuing some new and noble penological purpose that
                                                                                                               solitary confinement seemed likely to achieve. No new research had emerged to indicate that its
                                                                                                               rejection in the nineteenth century had been based on faulty premises. Instead, its increased use was
                                                                                                               little more than a correctional expedient, as prison officials attempted to respond to a problematic
                                                                                                               confluence of larger forces and events, including unprecedented levels of prison overcrowding, the
                                                                                                               abandonment of a commitment to the rehabilitative ideal and the corresponding loss of positive
                                                                                                               incentives with which to help manage inmate behavior, and the rise of a penal harm movement that
                                                                                                               legitimized a range of cruel practices designed to make prisoners suffer (Cullen 1995, Haney 2006).
                                                                                                                   In addition to the harmful effects of solitary confinement that I discuss in the following section,
                                                                                                               the emerging consensus that this practice should be significantly limited or eliminated appears to
                                                                                                               be based on its comparative costs as well as the growing awareness that it may be iatrogenic—
                                                                                                               that is, it does not achieve its intended objectives and may even worsen the problems it was
                                                                                                               designed to solve. Specifically, solitary confinement units incur significantly more costs—in their
                                                                                                               construction, operation, and in other terms—than other types of prison housing (e.g., ACLU Colo.
                                                                                                               2011, Pawlaczyk & Hundsdorfer 2010, Shalev 2009). In addition, research has indicated that the
                                                                                                               introduction of long-term solitary confinement or “supermax” units into a prison system has
                                                                                                               unpredictable and sometimes counterproductive effects on the overall number of assaults on staff
                                                                                                               and/or inmates (Briggs et al. 2003, Sundt et al. 2008). There is also no evidence that the widespread
                                                                                                               use of solitary confinement has any appreciable effect on the size, number, or operation of prison
                                                                                                               gangs (e.g., Colvin 1992, Hunt et al. 1993, Shalev 2009). In addition, neither short-term nor
                                                                                                               long-term stays in solitary confinement achieve specific deterrent effects by reducing subsequent
                                                                                                               disciplinary infractions (e.g., Morris 2016, Reiter 2012) or, apparently, post-prison recidivism
                                                                                                               (Butler et al. 2017) among prisoners who have experienced it. In fact, ironically, some research
                                                                                                               suggests that time spent in solitary confinement may increase post-prison rates of re-offending
                                                                                                               (e.g., Lovell et al. 2007, Mears & Bales 2009). Moreover, whether or not they technically reoffend,
                                                                                                               many are likely to suffer isolation-related adjustment problems once released back into mainline
                                                                                                               prisons or free society (e.g., Kupers 2008).


                                                                                                               SCIENTIFIC RESEARCH ON THE PAINFUL AND HARMFUL EFFECTS
                                                                                                               OF SOLITARY CONFINEMENT
                                                                                                               It is useful to think about real-world conditions of solitary confinement along a continuum of
                                                                                                               harshness or severity, one comprising different dimensions that are imposed on and experienced by
                                                                                                               prisoners in differing amounts in any given unit. These dimensions include primarily the severity

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                                                                                               or degree of social isolation and reduced positive environmental stimulation, which together
                                                                                               form the core of the experience, as well as the amount of additional material deprivations, the
                                                                                               number of restrictions on movement and other aspects of daily life, and the degree and extent of
                                                                                               degrading or hostile treatment to which prisoners are routinely subjected. The different aspects
                                                                                               of the experience are amplified by the length of confinement and the amount of control prisoners
                                                                                               perceive themselves to have over whether and how they can end it (including whether they are
                                                                                               indefinitely, involuntarily, or voluntarily isolated). These components of solitary confinement—
                                                                                               which different facilities impose in varying degrees—primarily account for the negative effects
                                                                                               and amount of psychological harm suffered. Rather than representing as some sort of Weberian
                                                                                               ideal type, solitary confinement is only ever embodied in actual places, ones that exist in any given
                                                                                               instance as an amalgam of different conditions that vary along the aforementioned dimensions of
                                                                                               harshness and resulting risk of harm. For precisely this reason, the nature and magnitude of its
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                                                                                               negative effects are not expected to be independent of the particular form it takes, confirming a
                                                                                               basic truism in social science: context—here, specific conditions of confinement—matter.
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                                                                                                   That said, we know that the essence of the experience of solitary confinement—extreme
                                                                                               social isolation and the deprivation of positive environmental stimulation—places prisoners at
                                                                                               significant risk of serious psychological harm. Prisoners may vary in terms of their vulnerability
                                                                                               and resilience in response to this risk, but the risk itself is substantial, and it is typically impossible
                                                                                               to determine at the outset of a prisoner’s exposure whether and how he or she will survive and at
                                                                                               what psychological cost.
                                                                                                   Although I concentrate in this review primarily on the socially isolating aspects of the experi-
                                                                                               ence, the sensory deprivation components of solitary confinement can contribute significantly to
                                                                                               its harmful effects. Some solitary confinement units do, in fact, approximate early psychological
                                                                                               experiments on near-total sensory deprivation—darkened cells, little or no sound, and so on. But
                                                                                               they are relatively rare nowadays. More commonly in contemporary prisons, solitary confine-
                                                                                               ment subjects prisoners to what has been termed “reduced environmental stimulation”—a term
                                                                                               that acknowledges the fact that there is not total (or even nearly total) deprivation of sensory input
                                                                                               of any kind but that the meaningful and stimulating aspects of the environment are lacking. Thus,
                                                                                               prisoners in solitary confinement are exposed to reduced and monotonous sensory input—an ex-
                                                                                               tremely limited and repetitive perceptual and experiential sameness in the physical environment
                                                                                               around them. In other instances, however, they are subjected to a great deal of stimulation, but it
                                                                                               is aversive or noxious in nature—loud noise, bright lights, foul smells—and they are exposed to
                                                                                               these things under circumstances that they typically cannot control. In these cases, the reduction in
                                                                                               their environmental stimulation refers to the lack of positive stimuli, despite being bombarded with
                                                                                               aversive stimuli that are beyond their control. All of these different but nonetheless problematic
                                                                                               sensory aspects of the experience can be harmful to normal, healthy psychological functioning.
                                                                                                   In any event, in the admitted absence of a single “perfect” study of the phenomenon (which,
                                                                                               for obvious reasons, is practically and ethically proscribed), there is a substantial body of published
                                                                                               literature that clearly documents the distinctive patterns of psychological harm that can and do
                                                                                               occur when persons are placed in solitary confinement. These outcomes have been consistently
                                                                                               identified in accounts written by persons confined in isolation, in descriptive studies authored by
                                                                                               mental health professionals and others who worked in many such places, and in a large body of
                                                                                               systematic, scientific research conducted on the nature and effects of social isolation more widely—
                                                                                               that is, conducted not only in solitary confinement specifically but also in other psychologically
                                                                                               similar settings. The studies have been carried out over a period that now spans many decades
                                                                                               (and if historical documentation is considered, much longer) and in locations across several conti-
                                                                                               nents by researchers with different kinds of professional expertise, ranging from psychiatrists and


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                                                                                                               sociologists to historians and architects (e.g., Arrigo & Bullock 2008, Cloyes et al. 2006, Grassian
                                                                                                               2006, Haney 2003, Haney & Lynch 1997, Smith 2006).
                                                                                                                   Even prisoners in solitary confinement who are double-celled (i.e., housed with another pris-
                                                                                                               oner) may nonetheless suffer many of the negative psychological effects that are described in the
                                                                                                               following pages. In fact, in some ways, prisoners who are double-celled in prison solitary confine-
                                                                                                               ment units have the worst of both worlds: they are overcrowded by virtue of being confined nearly
                                                                                                               around-the-clock with another person inside a typically very small cell, but they are also—and this
                                                                                                               is the crux of their isolation—simultaneously kept apart from the rest of the mainstream prisoner
                                                                                                               population as well as being deprived of even minimal freedom of movement, prohibited from
                                                                                                               access to meaningful prison programs, and denied opportunities for normal, meaningful social
                                                                                                               interaction. This is especially problematic if prisoners are involuntarily double-celled, have little
                                                                                                               or no choice over the identity of the person with whom they are housed, and have no practical
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                                                                                                               or feasible means of changing cellmates if they are (or become) incompatible. Because of the
                                                                                                               inevitable tensions that are created by forcing persons to live around-the-clock in such cramped,
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                                                                                                               deprived conditions, double-celling in solitary confinement units tends to increase the likelihood
                                                                                                               of violent conflict.
                                                                                                                   As I noted above, researchers and practitioners know that meaningful social interactions and
                                                                                                               social connectedness can have a positive effect on people’s physical and mental health and, con-
                                                                                                               versely, that social isolation, in general, can undermine health and psychological well-being (e.g.,
                                                                                                               Cacioppo & Cacioppo 2012, DeWall et al. 2011, Fiorillo & Sabatini 2011, Hafner et al. 2011,
                                                                                                               Karremans et al. 2011, Thornicroft 1991). The long-standing literature on the significant risk that
                                                                                                               solitary confinement poses for the mental health of prisoners needs to be understood in this theo-
                                                                                                               retical context. In addition to the absence of meaningful human contact and social interaction and
                                                                                                               the enforced idleness and inactivity, the oppressive security and surveillance procedures and the
                                                                                                               accompanying hardware and other paraphernalia that are brought or built into these units com-
                                                                                                               bine to create extremely harsh, dehumanizing, and deprived conditions of confinement. These
                                                                                                               conditions predictably impair the psychological functioning of many of the prisoners who are
                                                                                                               subjected to them (e.g., Arrigo & Bullock 2008, Cloyes et al. 2006, Grassian 2006, Haney 2003,
                                                                                                               Haney & Lynch 1997, Smith 2006). For some prisoners, the negative effects can be permanent and
                                                                                                               life-threatening, including an increased likelihood of self-harm and suicide (e.g., Kaba et al. 2014).
                                                                                                                   A number of the early studies of solitary confinement began with what is now considered
                                                                                                               a somewhat outmoded theoretical framework, focusing primarily on sensory rather than social
                                                                                                               deprivation (e.g., Gendreau et al. 1972, Scott & Gendreau 1969, Walters et al. 1963). Even so,
                                                                                                               the authors of one of the early studies of solitary confinement summarized their findings by
                                                                                                               concluding that “[e]xcessive deprivation of liberty, here defined as near complete confinement to
                                                                                                               the cell, results in deep emotional disturbances” (Cormier & Williams 1966, p. 484).
                                                                                                                   A decade later, Toch’s (1975) large-scale psychological study of prisoners in crisis in New York
                                                                                                               State correctional facilities included important observations about the effects of isolation. After he
                                                                                                               and his colleagues had conducted numerous in-depth interviews with prisoners, Toch concluded
                                                                                                               that “isolation panic” was a serious problem in solitary confinement. The symptoms that Toch
                                                                                                               (1975) reported included rage, panic, loss of control and breakdowns, psychological regression,
                                                                                                               and a buildup of physiological and psychic tension that led to incidents of self-mutilation. He
                                                                                                               noted that although isolation panic could occur under other conditions of confinement it was
                                                                                                               “most sharply prevalent in segregation” (Toch 1975, p. 54). Moreover, it marked an important
                                                                                                               dichotomy for prisoners: the “distinction between imprisonment, which is tolerable, and isolation,
                                                                                                               which is not” (Toch 1975, p. 54).
                                                                                                                   More recent studies also identified a wide range of adverse psychological reactions that fre-
                                                                                                               quently occur in solitary confinement. The specific symptoms include stress-related reactions

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                                                                                               (such as decreased appetite, trembling hands, sweating palms, heart palpitations, and a sense of
                                                                                               impending emotional breakdown); sleep disturbances (including nightmares and sleeplessness);
                                                                                               heightened levels of anxiety and panic; irritability, aggression, and rage; paranoia, ruminations,
                                                                                               and violent fantasies; cognitive dysfunction, hypersensitivity to stimuli, and hallucinations; loss of
                                                                                               emotional control, mood swings, lethargy, flattened affect, and depression; increased suicidality
                                                                                               and instances of self-harm; and, finally, paradoxical tendencies to further social withdrawal. As I
                                                                                               discuss in more detail in the following section, the latter reaction—social withdrawal—is related
                                                                                               to a broader set of social pathologies that prisoners may experience as they attempt to adapt to the
                                                                                               long-term absence of meaningful social contact (for reviews of and citations to the literature in
                                                                                               which these specific adverse reactions are documented, see Arrigo & Bullock 2008, Cloyes et al.
                                                                                               2006, Grassian 2006, Haney 2003, Haney & Lynch 1997, Smith 2006).
                                                                                                   Solitary confinement is employed more broadly and imposed for longer periods of time in
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                                                                                               the United States than elsewhere in the world (e.g., Shalev 2009). However, other countries have
                                                                                               used solitary confinement, and some still do (e.g., Ross 2013). Thus, there is a large international
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                                                                                               literature on its adverse psychological effects. Barte’s (1989, p. 52) study of the practice in French
                                                                                               prisons concluded it had such “psychopathogenic” effects that prisoners placed there for extended
                                                                                               periods of time could become schizophrenic instead of receptive to social rehabilitation, rendering
                                                                                               the practice unjustifiable, counterproductive, and “a denial of the bonds that unite humankind.”
                                                                                               Koch’s (1986, pp. 124–25) study of “acute isolation syndrome” among detainees in Denmark deter-
                                                                                               mined that it occurred after only a few days in isolation and included “problems of concentration,
                                                                                               restlessness, failure of memory, sleeping problems and impaired sense of time and ability to follow
                                                                                               the rhythm of day and night” and could, if the isolated confinement persisted for “a few weeks” or
                                                                                               more, lead to “chronic isolation syndrome,” which includes intensified difficulties with memory
                                                                                               and concentration, “inexplicable fatigue,” a “distinct emotional lability” that included “fits of rage,”
                                                                                               hallucinations, and the “extremely common” belief among isolated prisoners that “they have gone
                                                                                               or are going mad.” Volkart et al.’s (1983a) study of penal isolation in Switzerland concluded that
                                                                                               when prisoners in normal conditions of confinement were compared to those in solitary confine-
                                                                                               ment, the latter were found to display considerably more psychopathological symptoms, which
                                                                                               included heightened feelings of anxiety, emotional hypersensitivity, ideas of persecution, and
                                                                                               thought disorders (see also Bauer et al. 1993, Volkart 1983, Volkart et al. 1983b, Waligora 1974.)
                                                                                                   The prevalence of psychological symptoms (that is, the percentage of prisoners in these units
                                                                                               who suffer from these and related signs of psychological distress) appears to be extremely high.
                                                                                               For example, in an early study conducted at the Security Housing Unit (SHU) at Pelican Bay State
                                                                                               Prison in California, a very severe solitary confinement facility (e.g., Haney 1993, Madrid v. Gomez
                                                                                               1995, Reiter 2016), structured interviews were conducted to systematically assess a randomly
                                                                                               selected, representative sample of 100 prisoners to determine the prevalence of symptoms of
                                                                                               psychological stress, trauma, and isolation-related psychopathology (Haney 2003). The interviews
                                                                                               included a number of demographic questions, brief social and institutional histories, and systematic
                                                                                               assessments consisting of 25 specific items, based on the Omnibus Stress Index ( Jones 1976)
                                                                                               and on others similar to those used in Brodsky & Scogin (1988). Virtually every symptom of
                                                                                               psychological stress and trauma but one (fainting) was suffered by more than half of the prisoners
                                                                                               who were assessed (with many of the symptoms being acknowledged by two-thirds or more of the
                                                                                               prisoners and some by nearly everyone). Well over half of the prisoners in the sample reported a
                                                                                               constellation of symptoms—headaches, trembling, sweaty palms, and heart palpitations—that are
                                                                                               known to be distress related.
                                                                                                   In addition, high numbers of prisoners reported suffering from isolation-related symptoms of
                                                                                               pathology. Thus, nearly all of the Pelican Bay SHU prisoners acknowledged ruminations or intru-
                                                                                               sive thoughts, an oversensitivity to external stimuli, irrational anger and irritability, difficulties with

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                                                                                                                                                               12.00
                                                                                                                                                                                                                     SHU
                                                                                                                                                               10.00                                                 GP




                                                                                                                                    Mean number of symptoms
                                                                                                                                     of psychological trauma
                                                                                                                                                                                                  8.44
                                                                                                                                                                8.00
                                                                                                                                                                         6.88

                                                                                                                                                                6.00

                                                                                                                                                                                                              4.24
                                                                                                                                                                4.00                3.58


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                                                                                                                                                                       Stress related          Isolation related
                                                                                                               Figure 1
                                                                                                               Number of stress- and isolation-related trauma symptoms reported by solitary confinement versus general
                                                                                                               population prisoners. Error bars show standard deviation of each group’s scores. Abbreviations: SHU,
                                                                                                               security housing unit; GP, general population.

                                                                                                               attention and often with memory, and a tendency to socially withdraw. Almost as many prisoners
                                                                                                               reported a constellation of symptoms indicative of mood or emotional disorders—concerns over
                                                                                                               emotional flatness or losing the ability to feel, swings in emotional response, and feelings of depres-
                                                                                                               sion or sadness that did not go away. Finally, sizable minorities of the prisoners reported symptoms
                                                                                                               that are typically only associated with more extreme forms of psychopathology—hallucinations,
                                                                                                               perceptual distortions, and thoughts of suicide.
                                                                                                                  A subsequent study conducted at the same facility found that these kinds of symptoms were
                                                                                                               prevalent among a sample of extremely long-term isolated prisoners and experienced at much
                                                                                                               higher levels and greater intensities than long-term general population prisoners. The same struc-
                                                                                                               tured interview and systematic assessment format as in the earlier study were used to compare the
                                                                                                               prevalence of symptoms of psychological stress, trauma, and isolation-related psychopathology in
                                                                                                               a randomly selected sample of extremely long-term SHU prisoners (who had spent ten years or
                                                                                                               more in continuous solitary confinement) with a randomly selected sample of general population
                                                                                                               (GP) prisoners who had spent ten years or more in continuous imprisonment (Haney 2017).1 The
                                                                                                               structured interview format and assessment instrument were identical to the ones employed in the
                                                                                                               earlier study. All of the prisoners in both groups were otherwise mentally healthy; that is, no one
                                                                                                               from either group was currently on the prison system’s mental health caseload.2
                                                                                                                  As Figure 1 indicates, Haney (2017) found that the extremely long-term isolated SHU prison-
                                                                                                               ers reported nearly twice the mean number of symptoms of both stress-related trauma (M = 6.88
                                                                                                               versus 3.58, t = 5.36, df = 62, p < 0.001, Cohen’s D = 1.36) and isolation-related pathology
                                                                                                               (M = 8.44 versus 4.24, t = 6.63, df = 64, p < 0.001, Cohen’s D = 1.66) overall, as compared to


                                                                                                               1
                                                                                                                 Access to both groups was permitted pursuant to a court order in Ashker v. Brown (2014). I am grateful to attorneys from the
                                                                                                               Center for Constitutional Rights, the California Attorney General’s Office, and staff members from the California Department
                                                                                                               of Corrections and Rehabilitation for their assistance and cooperation in facilitating data collection.
                                                                                                               2
                                                                                                                 As a result of a federal court decision, Madrid v. Gomez (1995), no prisoner on the California Department of Corrections
                                                                                                               and Rehabilitation’s mental health caseload is permitted to be housed in the Pelican Bay Security Housing Unit. To ensure
                                                                                                               comparability of the samples in this respect, long-term GP prisoners who were currently on the mental health caseload were
                                                                                                               not included in the study.


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                                                                                                                                                30.00
                                                                                                                                                                                                              SHU
                                                                                                                                                                                                              GP
                                                                                                                                                25.00


                                                                                                                   Mean intensity of symptoms
                                                                                                                                                                                              21.66

                                                                                                                    of psychological trauma
                                                                                                                                                20.00
                                                                                                                                                                  17.70

                                                                                                                                                15.00


                                                                                                                                                10.00                                                   9.00
                                                                                                                                                                             7.79

                                                                                                                                                 5.00
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                                                                                                                                                 0.00
                                                                                                                                                                Stress related            Isolation related
                                                                                               Figure 2
                                                                                               Intensity of stress- and isolation-related trauma symptoms reported by solitary confinement versus general
                                                                                               population prisoners. Respondents who reported experiencing the specific symptom during the last three
                                                                                               months were asked “how often” and responded with the following measures of intensity: 1, rarely; 2, some;
                                                                                               3, often; or 4, constantly. Error bars show standard deviation of each group’s scores. Abbreviations: SHU,
                                                                                               security housing unit; GP, general population.


                                                                                               the GP prisoners who had been in prison for similar amounts of time (i.e., ten years or more). In
                                                                                               addition, as Figure 2 indicates, the SHU prisoners who were subjected to extremely long-term
                                                                                               solitary confinement reported suffering much greater stress- and trauma-related symptom in-
                                                                                               tensity (M = 17.7 versus 7.79, t = 5.7, df = 62, p < 0.001, Cohen’s D = 1.53), and much greater
                                                                                               intensity of isolation-related pathology (M = 21.66 versus 9.00, t = 7.46, df = 64, p < 0.001, Co-
                                                                                               hen’s D = 1.91) than the long-term GP prisoners. A sequential multiple linear regression was
                                                                                               used to determine whether current solitary confinement status explained the difference in the
                                                                                               intensity of these isolation-related pathological symptoms. In fact, being in solitary confinement
                                                                                               was by far the largest contributor to the intensity of the various negative symptoms that the pris-
                                                                                               oners suffered, even after controlling for age, marital status, and estimated total time in prison.
                                                                                               Finally, Haney (2017) found that the prisoners in long-term solitary confinement were not only
                                                                                               significantly more lonely than the long-term GP prisoners (t = 4.64, df = 64 , p < 0.001, Cohen’s
                                                                                               D = 1.15), as measured by the UCLA Loneliness Scale (e.g., Russell et al. 1980), but also reported
                                                                                               extremely high levels of loneliness rarely found anywhere in the literature.
                                                                                                   Although the Haney (2017) study did not include prisoners who were currently identified as
                                                                                               suffering from mental illness, the concentration of mentally ill prisoners who are confined in
                                                                                               solitary confinement units is often disproportionately high (e.g., Hodgins & Cote 1991, Lovell
                                                                                               et al. 2000). This is especially problematic because, for perhaps obvious reasons, mentally ill
                                                                                               prisoners are generally more sensitive and reactive to psychological stressors and emotional pain.
                                                                                               The harshness and severe levels of deprivation that they experience in solitary confinement are
                                                                                               in many ways the antithesis of the kind of benign and socially supportive atmosphere that mental
                                                                                               health workers seek to create in genuinely therapeutic environments. Not surprisingly, then,




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                                                                                                               mentally ill prisoners are more likely to deteriorate and decompensate when they are subjected to
                                                                                                               the harshness, stress, and deprivations of solitary confinement.3
                                                                                                                   In addition to the specific signs and symptoms of psychological and isolation-related distress
                                                                                                               cited above, placement in solitary confinement can lead to other negative, even fatal, outcomes.
                                                                                                               For example, Patterson & Hughes (2008, p. 678) attributed higher suicide rates in solitary confine-
                                                                                                               ment units to the heightened levels of environmental stress that are generated by the “isolation,
                                                                                                               punitive sanctions, [and] severely restricted living conditions” that exist there. They noted that
                                                                                                               “the conditions of deprivation in locked units and higher-security housing were a common stres-
                                                                                                               sor shared by many of the prisoners who committed suicide” (Patterson & Hughes 2008, p. 678).
                                                                                                               Lanes (2011) found that prisoners with extensive histories of self-injury were especially likely to
                                                                                                               be placed in solitary confinement, despite research showing that self-injurious behaviors persist
                                                                                                               at a disproportionately high level in these units (Lanes 2009). In fact, a team of researchers in
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                                                                                                               New York found that “[i]nmates punished by solitary confinement were approximately 6.9 times
                                                                                                               as likely to commit acts of self-harm after we controlled for the length of jail stay, SMI [whether
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                                                                                                               the inmate was seriously mentally ill], age, and race/ethnicity” (Kaba et al. 2014, p. 445).
                                                                                                                   It is also important to note that, although social deprivation and the lack of positive stimulation
                                                                                                               and programming are the sources of the greatest psychological pain that prisoners experience in
                                                                                                               solitary confinement and what places them at the greatest risk of harm, these units typically deprive
                                                                                                               prisoners of many other things as well. Solitary confinement commonly includes high levels of
                                                                                                               repressive control, enforced idleness, and physical and material deprivations that also produce
                                                                                                               psychological distress and can exacerbate the negative consequences of social deprivation and
                                                                                                               lack of positive stimulation. Indeed, most of the things that we know are beneficial to prisoners,
                                                                                                               such as opportunities for meaningful physical exercise or recreation, programming, and visitation
                                                                                                               (e.g., Wooldredge 1999), are either functionally denied or greatly restricted for prisoners who
                                                                                                               are housed in solitary confinement. These deprivations combine with the other stressors to which
                                                                                                               isolated prisoners are subjected and exacerbate their negative psychological effects.
                                                                                                                   For example, we know that people in general require a certain level of mental and physical
                                                                                                               activity to remain mentally and physically healthy (e.g., Bize et al. 2007, Penedo & Dahn 2005).
                                                                                                               Simply put, human beings need movement and exercise to maintain normal functioning. The
                                                                                                               severe restrictions that are imposed in isolation units—typically no more than an hour or so a
                                                                                                               day out of their cells—can negatively impact prisoners’ well-being. Denying prisoners access to
                                                                                                               normal and necessary human activity places them at risk of psychological harm.
                                                                                                                   Similarly, apart from the profound social, mental, and physical deprivations that solitary con-
                                                                                                               finement can produce, prisoners housed in these units experience prolonged periods of monotony
                                                                                                               and idleness. Many of them experience a special form of sensory deprivation or reduced environ-
                                                                                                               mental stimulation—there is an unvarying sameness to the physical stimuli that surround them.
                                                                                                               Prisoners in solitary confinement exist within the same limited spaces and are subjected to the same
                                                                                                               repetitive routines, day in and day out. There is little or no external variation to the experiences
                                                                                                               they are permitted to have or can create for themselves. They not only see and experience the
                                                                                                               same extremely limited physical environment but also have minimal, routinized, and superficial
                                                                                                               contacts with the same very small group of people again and again, sometimes for years on end.




                                                                                                               3
                                                                                                                 It is important to note that a prisoner’s official designation as mentally ill or not depends on a number of factors, including
                                                                                                               the criteria used, the nature and circumstances under which s/he is evaluated, and the quality of the staff and procedures by
                                                                                                               which the judgment is made. Even in prison systems with otherwise adequate mental health care, there are typically a number
                                                                                                               of emotionally vulnerable prisoners who have not been formally designated as mentally ill but nonetheless are likely to be
                                                                                                               especially adversely affected by solitary confinement.


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                                                                                               This loss of perceptual and cognitive or mental stimulation may result in the atrophy of important
                                                                                               skills and capacities (e.g., Grassian 1983, Haney 2003, Miller & Young 1997).
                                                                                                   Indeed, the pain, suffering, and psychic damage that can occur in solitary confinement are
                                                                                               underscored by the fact that it is commonly used in so-called brainwashing and certain forms
                                                                                               of torture. In fact, many of the negative effects of solitary confinement are analogous to the
                                                                                               acute reactions suffered by torture and trauma victims, including post-traumatic stress disorder
                                                                                               (PTSD) and the kind of psychiatric sequelae that plague victims of what are called deprivation
                                                                                               and constraint torture techniques (e.g., Lippman 1994, Shallice 1974, Somnier & Genefke 1986,
                                                                                               Whittaker 1988). For example, Foster (1987, p. 136) listed solitary confinement among the most
                                                                                               common “psychological procedures” used to torture South African detainees and concluded that
                                                                                               “[g]iven the full context of dependency, helplessness and social isolation common to conditions of
                                                                                               South African security law detention, there can be little doubt that solitary confinement under these
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                                                                                               circumstances should in itself be regarded as a form of torture” (see also Haney & Bakhshay 2017).
                                                                                                   Although the empirical consensus on the harmfulness of solitary confinement is broad and
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                                                                                               deep, there is one notable, albeit highly controversial exception to this generalization. The so-
                                                                                               called Colorado Study of one year in administrative segregation (O’Keefe et al. 2010, 2013)
                                                                                               purported to find that solitary confinement not only did not put prisoners at a significant risk of
                                                                                               harm but actually enhanced the psychological well-being of many of them (including many who
                                                                                               were mentally ill). As soon as the study was released, critics from a variety of disciplines identified
                                                                                               a range of very serious methodological problems that appeared to completely discredit its findings
                                                                                               (e.g., Grassian & Kupers 2011, Rhodes & Lovell 2011, Shalev & Lloyd 2011, Smith 2011). Without
                                                                                               cataloging the entire list of all of the serious flaws from which the study suffered, two of them
                                                                                               were fatal to any meaningful interpretation of the results. The first such flaw occurred at the
                                                                                               outset of the study, when all groups (including the intended control participants) were exposed
                                                                                               to a severe form of the key treatment variable—solitary confinement—for nontrivial durations
                                                                                               that averaged 30 days (O’Keefe 2017, p. 2). Once the study period was underway, the second fatal
                                                                                               flaw occurred. Specifically, both the control and treatment groups were contaminated by being
                                                                                               sporadically comingled with one another (that is, more than half of the prisoners in both general
                                                                                               population and administrative segregation were placed in the opposite group, or in some other
                                                                                               kind of confinement, during the study period). This confounded any possible interpretation of the
                                                                                               comparisons between the groups. These and numerous other serious methodological problems
                                                                                               led Lovell & Toch (2011, p. 4) to succinctly note in their critique of the study that “[d]espite the
                                                                                               volume of the data, no systematic interpretation of the findings is possible.”4
                                                                                                   The Colorado Study’s purported findings notwithstanding, two of the leading research consul-
                                                                                               tants on the project subsequently acknowledged that “[i]solation can be harmful to any prisoner”
                                                                                               and noted that the adverse effects of isolation can include “anxiety, depression, anger, cognitive
                                                                                               disturbances, perceptual distortions, obsessive thoughts, paranoia, and psychosis” (Metzner &
                                                                                               Fellner 2010, p. 104). In fact, their deep concerns over the harmfulness of solitary confinement
                                                                                               led them to recommend that professional organizations “should actively support practitioners who
                                                                                               work for changed segregation policies and they should use their institutional authority to press
                                                                                               for a nationwide rethinking of the use of isolation” in the name of a “commitment to ethics and
                                                                                               human rights” (Metzner & Fellner 2010, p. 107).



                                                                                               4
                                                                                                 A recent meta-analysis claiming to comprehensively and quantitatively summarize the scientific literature on the psychological
                                                                                               effects of solitary confinement (Morgan et al. 2016) was unfortunately compromised by the fact that half or more of the key
                                                                                               effect sizes on which the authors relied to address this specific issue were derived directly from the fatally flawed O’Keefe et al.
                                                                                               (2010) study, making the results of the meta-analysis similarly uninterpretable.


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                                                                                                               SOLITARY CONFINEMENT, SOCIAL CONTACT,
                                                                                                               AND SOCIAL PATHOLOGY
                                                                                                               Although the specific symptoms of psychological stress and trauma and the psychopathological
                                                                                                               effects of isolation are numerous and well-documented and provide important indices of the risks
                                                                                                               to which isolated prisoners are subjected, there are additional adverse effects that extend beyond
                                                                                                               these specific symptoms and reactions. Depriving people of normal social contact and meaningful
                                                                                                               social interaction over long periods of time can damage or distort their social identities, destabilize
                                                                                                               their sense of self, and, for some, destroy their ability to function normally in free society.
                                                                                                                   The theoretical explanation for the pain, suffering, and risk of harm of solitary confinement is
                                                                                                               relatively straightforward. Indeed, psychological science has long recognized the critical role of so-
                                                                                                               cial contact in establishing and maintaining emotional health and well-being. As one researcher put
                                                                                                               it: “Since its inception, the field of psychology emphasized the importance of social connections”
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                                                                                                               (DeWall 2013, p. 301). For example, the importance of “affiliation”—the opportunity to have
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                                                                                                               meaningful contact with others—in reducing anxiety in the face of uncertain or fear-arousing
                                                                                                               stimuli is long established in social psychological literature (e.g., Schachter 1959, Sarnoff &
                                                                                                               Zimbardo 1961). In addition, one of the ways that people determine the appropriateness of their
                                                                                                               feelings—indeed, how we establish the very nature and tenor of our emotions—is through contact
                                                                                                               with others (e.g., Fischer et al. 2003, Saarni 1999, Schachter & Singer 1962, Tiedens & Leach
                                                                                                               2004, Truax 1984). Prolonged social deprivation is painful and destabilizing in part because it
                                                                                                               deprives persons of the opportunity to ground their thoughts and emotions in a meaningful social
                                                                                                               context—to know what they feel and whether those feelings are appropriate.
                                                                                                                   Since the early research was conducted on the importance of affiliation, numerous scientific
                                                                                                               studies have further established the critical psychological significance of social contact, connect-
                                                                                                               edness, and belonging. Researchers have concluded, among other things, that the human brain
                                                                                                               is literally “wired to connect” to others (Lieberman 2013). Thwarting the need to establish and
                                                                                                               maintain connections to others not only undermines psychological well-being but increases phys-
                                                                                                               ical morbidity and mortality. Recognizing the importance of the human need for social contact,
                                                                                                               connection, and belongingness, social psychologists and others have written extensively about the
                                                                                                               harmful effects of its deprivation—what happens when people are subjected to social exclusion
                                                                                                               and isolation.
                                                                                                                   Years ago, Kelman (1976) argued that denying persons contact with others was a form of
                                                                                                               dehumanization. More recently, others have documented the ways in which social exclusion is not
                                                                                                               only “painful in itself,” but also “undermines people’s sense of belonging, control, self-esteem,
                                                                                                               and meaningfulness, reduces pro-social behavior, and impairs self-regulation” (Bastian & Haslam
                                                                                                               2010, p. 107; internal references omitted). Indeed, the subjective experience of social exclusion
                                                                                                               can result in what have been called cognitive deconstructive states in which there are emotional
                                                                                                               numbing, reduced empathy, cognitive inflexibility, lethargy, and an absence of meaningful thought
                                                                                                               (Twenge et al. 2003). DeWall (2013, p. 302) summarized the serious threat that social exclusion
                                                                                                               represents to psychological health and well-being by noting that it produces “increased salivary
                                                                                                               cortisol levels. . .and blood flow to brain regions associated with physical pain” and “sweeping
                                                                                                               changes” in attention, memory, thinking, and self-regulation as well as changes in aggression and
                                                                                                               prosocial behavior. As he put it: “This dizzying array of responses to social exclusion supports the
                                                                                                               premise that it strikes at the core of well-being” (DeWall 2013, p. 302).
                                                                                                                   In addition, the social deprivation and social exclusion imposed by solitary confinement can
                                                                                                               engender broader forms of social pathology, brought about by forcing prisoners to adapt to an
                                                                                                               environment devoid of normal, meaningful social contact (Haney 2003). That is, to exist and
                                                                                                               function in the socially pathological environment of solitary confinement, where their day-to-day


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                                                                                               life is devoid of meaningful interaction and closeness with others, prisoners have little choice
                                                                                               but to adapt in socially pathological ways. Over time, they gradually change their patterns of
                                                                                               thinking, acting, and feeling to cope with the profoundly asocial world in which they are forced
                                                                                               to live, as they attempt to adapt to the absence of social support and the routine feedback that
                                                                                               comes from normal, meaningful social contact.
                                                                                                   Although these adaptations are functional—even necessary—under the isolated conditions in
                                                                                               which prisoners live, eventual adjustment to the absence of others does not mean that social
                                                                                               deprivation ceases to be painful. Prisoners liken the absence of meaningful contact and the loss of
                                                                                               closeness with others to a dull ache or pain that never goes away. Many of them remain acutely
                                                                                               aware of the relationships that have ended and the feelings of closeness to others that they fear
                                                                                               can never be rekindled.
                                                                                                   Indeed, some prisoners cope with the painful, asocial nature of their isolated existence by para-
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                                                                                               doxically creating even more distance between themselves and others. The absence of meaningful
                                                                                               social contact becomes so painful that they convince themselves that they do not need it—that
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                                                                                               people are a nuisance, and the less contact with them they have, the better. As a result, these
                                                                                               prisoners socially withdraw further from the world around them, receding even more deeply into
                                                                                               themselves than the sheer physical isolation of solitary confinement and its attendant procedures
                                                                                               require. Others move from initially being starved for social contact to eventually being disori-
                                                                                               ented and even frightened by it. As they become increasingly unfamiliar and uncomfortable with
                                                                                               social interaction, they are further alienated from others and made anxious in their presence (e.g.,
                                                                                               Cormier & Williams 1966, Haney 2003, Miller & Young 1997).
                                                                                                   Finally, these functional (even necessary) social pathologies tend to be internalized and can
                                                                                               persist long after the prisoner’s time in isolation has ended. Thus, the adaptations move from
                                                                                               being consciously employed survival strategies or reactions precipitated by immediate conditions
                                                                                               of confinement to more deeply ingrained ways of being. Prisoners may develop extreme habits,
                                                                                               tendencies, perspectives, and beliefs that are difficult or impossible for them to relinquish once they
                                                                                               are released. Although their adaptations may have been functional under conditions of isolation
                                                                                               (or appear to be so), they are highly dysfunctional in the social world most prisoners are expected
                                                                                               to re-enter. In extreme cases, these ways of being may be internalized so deeply that they become
                                                                                               disabling, interfering with the capacity to live a remotely normal or fulfilling social life. Thus,
                                                                                               the experience of long-term isolation can make prisoners’ subsequent adjustment—either to the
                                                                                               general prison population or to free society—painful and challenging, especially if they are not
                                                                                               afforded meaningful assistance in making this transition.
                                                                                                   In addition, many solitary confinement units prohibit contact visiting. This means that pris-
                                                                                               oners are deprived for months, years, or longer of the opportunity to give and receive caring
                                                                                               human touch. Yet, psychologists have long known that “Touch is central to human social life. It
                                                                                               is the most developed sensory modality at birth, and it contributes to cognitive, brain, and socio-
                                                                                               emotional development and childhood” (Hertenstein et al. 2006, p. 528; see also Hertenstein &
                                                                                               Weiss 2011). Indeed, the need for caring human touch is so fundamental that early deprivation is
                                                                                               a risk factor for neurodevelopmental disorders, depression, suicidality, and other self-destructive
                                                                                               behavior (e.g., Cascio 2010, Field 2005). Later deprivation is associated with violent behavior in
                                                                                               adolescents (e.g., Field 2002). Recent theory and research now indicate that “touch is a primary
                                                                                               platform for the development of secure attachments and cooperative relationships,” is “intimately
                                                                                               involved in patterns of caregiving,” serves as a “powerful means by which individuals reduce the
                                                                                               suffering of others,” and also “promotes cooperation and reciprocal altruism” (Goetz et al. 2010,
                                                                                               p. 360).
                                                                                                   The uniquely prosocial emotion of compassion “is universally signaled through touch,” mean-
                                                                                               ing that persons who live in a world without touch are denied the experience of receiving or

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                                                                                                               expressing compassion in this way (Stellar & Keltner 2014, p. 337). Researchers have found that
                                                                                                               caring human touch conveys a sense of security and place, of shared companionship, and of being
                                                                                                               nurtured as well as feelings of worth and competence, access to reliable alliance and assistance,
                                                                                                               and guidance and support in stressful situations (e.g., Weiss 1995). A number of experts have
                                                                                                               argued that caring human touch is so integral to our well-being that it is highly therapeutic; it
                                                                                                               has been recommended to treat a host of maladies, including depression, suicidality, and learning
                                                                                                               disabilities (e.g., Dobson et al. 2002, Field 2005).
                                                                                                                   Of course, not every isolated prisoner suffers all of the previously described adverse psycho-
                                                                                                               logical reactions to their socially and sensory-deprived conditions of confinement. However, the
                                                                                                               overall nature and magnitude of the negative psychological reactions that I have documented
                                                                                                               in my own research and that have been reported by numerous others in the scientific literature
                                                                                                               underscore the stressfulness and painfulness of this kind of confinement, the lengths to which
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                                                                                                               prisoners must go in their attempt to adapt and adjust to it, and the risk of serious and sometimes
                                                                                                               permanent harm that it creates. As I noted, the potentially devastating effects of these conditions
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                                                                                                               are reflected in the characteristically high numbers of suicide deaths and incidents of self-harm
                                                                                                               and self-mutilation that occur in many of these units.
                                                                                                                   Moreover, especially in light of the large number of prisoners who are exposed to solitary
                                                                                                               confinement in the course of their prison or jail terms—in any given year, an estimated one in five
                                                                                                               overall (Beck 2015), as I noted earlier—it is important to note that at least some of the negative
                                                                                                               psychological effects of solitary confinement are likely to persist long after their time in isolation
                                                                                                               has ended. Of course, prison and jail systems typically release prisoners from solitary confinement
                                                                                                               directly back into general population correctional settings, where the aftereffects of isolation may
                                                                                                               impede their successful reintegration into prison society. More problematic still, many prison
                                                                                                               systems release prisoners directly from solitary confinement back into free society, often with
                                                                                                               little or no advance preparation. Reliable estimates of the extent of this practice are difficult to
                                                                                                               come by, but the 2013 ASCA (Association of State Correctional Administrators)-Liman survey of
                                                                                                               correctional jurisdictions indicated that nearly 4,500 prisoners had been “released directly from
                                                                                                               administrative segregation to the streets” that year and that the overwhelming number of prison
                                                                                                               systems who engaged in the practice nonetheless “did not have a specific policy” for how such
                                                                                                               releases were to be handled (Assoc. State Correct. Adm. et al. 2015, p. 29).


                                                                                                               THE SCIENTIFIC CONSENSUS ON THE SIGNIFICANT
                                                                                                               RISK OF SERIOUS PSYCHOLOGICAL HARM IMPOSED
                                                                                                               BY SOLITARY CONFINEMENT
                                                                                                               The accumulated scientific evidence and theoretical framework that I summarized above have
                                                                                                               established that the experience of solitary confinement can produce a range of very serious adverse
                                                                                                               psychological effects. We clearly know what happens to people in prison and elsewhere in society
                                                                                                               when they are deprived of normal social contact for extended periods of time. The research
                                                                                                               consistently documents and details the risk of psychological harm that social isolation creates,
                                                                                                               including mental pain and suffering and the increased incidence of self-harm and suicide. The
                                                                                                               relevant psychological literature underscores the importance of meaningful social contact and
                                                                                                               interaction, in essence establishing these things as identifiable human needs. Over the long-term,
                                                                                                               they may be as essential to a person’s psychological or mental health as adequate food, clothing,
                                                                                                               and shelter are to his or her physical well-being.
                                                                                                                   A number of prominent scholarly, scientific, and medical organizations and expert panels have
                                                                                                               issued statements reflecting this consensus about the harmfulness of solitary confinement. For
                                                                                                               example, in 2006, a landmark report was published that was based in large part on a series of

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                                                                                               fact-finding hearings conducted across the United States by the bipartisan Commission on Safety
                                                                                               and Abuse in America’s Prisons (Gibbons & Katzenbach 2006). In the course of the hearings,
                                                                                               diverse groups of nationally recognized experts, stakeholders, and policy makers testified about a
                                                                                               wide range of prison-related issues. Among other things, the Commission concluded that solitary
                                                                                               and supermax-type units were “expensive and soul destroying” (Gibbons & Katzenbach 2006,
                                                                                               p. 59). The next year, in 2007, an international group of prominent mental health and correctional
                                                                                               experts meeting on psychological trauma in Istanbul, Turkey, issued a joint statement on “the use
                                                                                               and effects of solitary confinement” (Int. Psychol. Trauma Symp. 2007). In what has come to be
                                                                                               known as the Istanbul Statement, they acknowledged that the “central harmful feature” of solitary
                                                                                               confinement is its reduction of meaningful social contact to a level “insufficient to sustain health
                                                                                               and well being.” Similarly, the American Public Health Association (2013) issued a statement in
                                                                                               which it detailed the public health harms posed by solitary confinement, including that “[p]risoners
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                                                                                               in long-term solitary confinement are subject to significant mental suffering and deterioration” and
                                                                                               “may develop anxiety, panic attacks, paranoia, cognitive impairment, social withdrawal, somatic
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                                                                                               symptoms, hypersensitivity to external stimuli, and perceptual disturbances.”
                                                                                                   In 2014, a National Academy of Sciences committee noted that “there are sound theoretical
                                                                                               bases for explaining the adverse effects of prison isolation,” that being housed on a long-term basis
                                                                                               in solitary confinement “can inflict emotional damage” (Natl. Res. Counc. 2014, p. 186) and that
                                                                                               “direct studies of prison isolation document a broad range of harmful psychological effects” (Natl.
                                                                                               Res. Counc. 2014, p. 187). Even more recently—in April 2016—the National Commission on
                                                                                               Correctional Health Care (NCCHC), a professional organization of prison health-care providers,
                                                                                               issued a Position Statement on solitary confinement. Relying on many of the scientific sources I
                                                                                               cited earlier, the NCCHC declared the “inherent restriction in meaningful social interaction and
                                                                                               environmental stimulation and the lack of control adversely impact the health and welfare of all who
                                                                                               are held in solitary confinement” and that “[e]ven those without a prior history of mental illness
                                                                                               may experience a deterioration in mental health,” such that “the very nature of prolonged social
                                                                                               isolation is antithetical to the goals of rehabilitation and social integration” (Natl. Comm. Correct.
                                                                                               Health Care. 2016, p. 258). And the American Psychological Association (2016) acknowledged
                                                                                               that solitary confinement was associated with heightened risk of self-mutilation and suicidality, a
                                                                                               range of adverse psychological symptoms such as anxiety, depression, sleep disturbance, paranoia,
                                                                                               and aggression, and the exacerbation of pre-existing mental illness and trauma-related symptoms.
                                                                                                   The scientific consensus reflects the view that the adverse effects of solitary confinement can
                                                                                               inflict real harm. The resulting damage is sometimes so severe that it is irreversible. Indeed, for
                                                                                               some prisoners, the attempt to cope with isolated confinement sets in motion a series of long-
                                                                                               lasting cognitive, emotional, and behavioral changes that can persist beyond the time that the
                                                                                               prisoners are housed in isolation, leading to long-term disability and dysfunction. As the National
                                                                                               Academy of Sciences committee put it, solitary confinement “can create or exacerbate serious
                                                                                               psychological change in some inmates” that is so negative and severe that it “make[s] it difficult for
                                                                                               them to return to the general population of a prison or to the community outside prison” (Natl.
                                                                                               Res. Counc. 2014, p. 201).


                                                                                               THE MOVEMENT TO RESTRICT WHETHER, FOR HOW LONG,
                                                                                               AND ON WHOM SOLITARY CONFINEMENT CAN BE IMPOSED
                                                                                               The increasingly broad and deep scientific consensus on the painfulness and harmfulness of
                                                                                               solitary confinement, combined with the increased expense and overall ineffectiveness of such
                                                                                               units, has led a number of prominent professional legal, mental health, human rights, and
                                                                                               even correctional organizations to issue policy statements and recommendations that mandate

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                                                                                                               significant restrictions on whether solitary confinement should or can be used, the maximum
                                                                                                               duration that it can be imposed, and the prohibition against imposing it on certain vulnerable
                                                                                                               groups of prisoners. In this section of the review, I summarize just some of the mandates and
                                                                                                               directives that have been issued in recent years.
                                                                                                                   The first issue on which professional consensus has been reached is to limit the use of solitary
                                                                                                               confinement to an absolute minimum—only those rare instances in which it is deemed absolutely
                                                                                                               necessary (if, indeed, it is permitted to be used at all). In fact, in recognition of the adverse mental
                                                                                                               health effects of segregated, solitary, or isolated confinement, the American Bar Association’s
                                                                                                               Standards for Criminal Justice on the Treatment of Prisoners (2011) mandate that “[s]egregated
                                                                                                               housing should be for the briefest term and under the least restrictive conditions practicable.”
                                                                                                               Moreover, the ABA requires that the mental health of all prisoners in segregated housing “should
                                                                                                               be monitored” through a process that should include daily correctional staff logs “documenting
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                                                                                                               prisoners’ behavior,” the presence of a “qualified mental health professional” inside each segregated
                                                                                                               housing unit “[s]everal times a week,” weekly observations and conversations between isolated
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                                                                                                               prisoners and qualified mental health professionals, and “[a]t least every [90 days], a qualified
                                                                                                               mental health professional should perform a comprehensive mental health assessment of each
                                                                                                               prisoner in segregated housing” (unless such assessment is specifically deemed unnecessary in light
                                                                                                               of prior individualized observations). In addition, at intervals “not to exceed [30 days], correctional
                                                                                                               authorities should meet and document an evaluation of each prisoner’s progress” in an evaluation
                                                                                                               that explicitly “should also consider the nature of the prisoner’s mental health,” and at intervals “not
                                                                                                               to exceed [90 days], a full classification review” should be conducted that addresses the prisoner’s
                                                                                                               “individualized plan” in segregation with “a presumption in favor of removing the prisoner from
                                                                                                               segregated housing” (Am. Bar Assoc. 2011, Standard 23–2.9).
                                                                                                                   The NCCHC recommended that “[s]olitary confinement as an administrative method of main-
                                                                                                               taining security should be used only as an exceptional measure when other, less restrictive options
                                                                                                               are not available, and then for the shortest time possible” (Natl. Comm. Correct. Health Care.
                                                                                                               2016, p. 260). The American Public Health Association (2013) urged correctional authorities to
                                                                                                               “eliminate solitary confinement for security purposes unless no other less restrictive option is avail-
                                                                                                               able to manage a current, serious, and ongoing threat to the safety of others,” and recommended
                                                                                                               that “[p]unitive segregation should be eliminated.” The group of international trauma and mental
                                                                                                               health experts who issued the Istanbul Statement on “the use and effects of solitary confinement”
                                                                                                               concluded that it should be carefully restricted or abolished altogether: “As a general principle
                                                                                                               solitary confinement should only be used in very exceptional cases, for as short a time as possible
                                                                                                               and only as a last resort” (Int. Psychol. Trauma Symp. 2007). A National Academy of Sciences
                                                                                                               committee concluded similarly that the practice of solitary confinement “is best minimized, and
                                                                                                               accompanied by specific criteria for placement and regular meaningful reviews for those that are
                                                                                                               thus confined” (Natl. Res. Counc. 2014, p. 201). Another group—the bipartisan Commission on
                                                                                                               Safety and Abuse in America’s Prisons—went even further, recommending that prison systems
                                                                                                               “end conditions of isolation” (Gibbons & Katzenbach 2006, p. 57).
                                                                                                                   In addition, various faith-based organizations have issued similar policy statements and recom-
                                                                                                               mendations urging significant reductions in or an outright abolition of solitary confinement. For
                                                                                                               example, the New York State Council of Churches (2012) passed a resolution in 2012 opposing
                                                                                                               the use of prison isolation and urging all members of the faith to participate in work to “signifi-
                                                                                                               cantly limit the use of solitary confinement” [see also Presbyt. Church (USA) 2012]. Similarly, that
                                                                                                               same year, the Rabbinical Assembly (2012) called on prison authorities to end prolonged solitary
                                                                                                               confinement.
                                                                                                                   Thus, a broad range of mental health, legal, and human rights standards and recommendations
                                                                                                               concerning solitary confinement acknowledge that the risk of psychological harm from isolation is

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                                                                                               significant, and that the harm that can result is substantial and perhaps irreversible. As a result, they
                                                                                               mandate that solitary confinement should be imposed, if at all, only as infrequently as possible—
                                                                                               i.e., under extraordinary circumstances to accomplish a legitimate penological goal for which
                                                                                               there is literally no less-intrusive or less-dangerous alternative available to the person on whom it
                                                                                               is imposed.
                                                                                                   The second issue on which a widespread professional consensus has emerged in recent years
                                                                                               is that, if it is to be used at all, solitary confinement must be limited to very short periods,
                                                                                               durations that are measured in hours, days, or weeks, rather than months or years. That is, be-
                                                                                               cause the risks of harm from isolated confinement are time- or dose-dependent—i.e., all other
                                                                                               things being equal, the risks of psychological and physical damage are expected to increase as a
                                                                                               function of the increased length of exposure—the use of solitary confinement should be limited
                                                                                               to the briefest amount of time possible. This consensus includes a number of human rights and
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                                                                                               legal organizations. For example, the Special Rapporteur on Torture and Other Cruel, Inhuman
                                                                                               or Degrading Treatment or Punishment (2011) for the United Nations wrote that in his opinion
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                                                                                               solitary confinement lasting more than 15 days can constitute “torture.” The American Bar Asso-
                                                                                               ciation’s (2011) Standards for Criminal Justice hold that “[s]egregated housing should be for the
                                                                                               briefest term and under the least restrictive conditions practicable” [Standard 23–2.6(a)] and that
                                                                                               at intervals “not to exceed [90 days], a full classification review” should be conducted that addresses
                                                                                               the prisoner’s “individualized plan” in segregation with “a presumption in favor of removing the
                                                                                               prisoner from segregated housing” (Standard 23–2.9). The New York State Bar Association (2013)
                                                                                               called on state officials to significantly limit the use of solitary confinement and recommended
                                                                                               that solitary confinement for longer than 15 days be proscribed. Similarly, NCCHC’s Position
                                                                                               Statement specified that solitary confinement of longer than 15 days constitutes “cruel, inhumane,
                                                                                               or degrading treatment of inmates” and that correctional health professionals should not employ
                                                                                               it (Natl. Comm. Correct. Health Care 2016, p. 260).
                                                                                                   The final issue on which there is widespread agreement is that solitary confinement should
                                                                                               never be used for certain vulnerable groups of prisoners. That is, numerous expert, legal, and
                                                                                               human rights organizations have recommended that because of the increased grave risk of serious
                                                                                               harm to which solitary confinement exposes vulnerable prisoners, they should be exempted from
                                                                                               being placed in solitary confinement. For example, the NCCHC Position Statement mandated not
                                                                                               only that solitary confinement never exceed 15 days continuous duration but also that juveniles,
                                                                                               mentally ill individuals, and pregnant women should be “excluded from solitary confinement of any
                                                                                               duration,” and that health care staff should advocate to correctional officials that they bar juveniles
                                                                                               and mentally ill prisoners entirely from such confinement (Natl. Comm. Correct. Health Care
                                                                                               2016, p. 260).
                                                                                                   The Special Rapporteur on Torture and Other Cruel, Inhuman or Degrading Treatment or
                                                                                               Punishment (2011) for the United Nations concluded that solitary confinement for longer than
                                                                                               15 days constitutes torture and that juveniles and people with mental illness should never be
                                                                                               held in solitary confinement. The American Academy of Child and Adolescent Psychiatry issued
                                                                                               a statement opposing “the use of solitary confinement in correctional facilities for juveniles,”
                                                                                               stating that “any youth that is confined for more than 24 hours must be evaluated by a mental
                                                                                               health professional,” and aligning AACAP with the United Nations Rules for the Protection of
                                                                                               Juveniles Deprived of their Liberty, which includes among “disciplinary measures constituting
                                                                                               cruel, inhuman or degrading treatment” the use of “closed or solitary confinement or any other
                                                                                               punishment that may compromise the physical or mental health of the juvenile concerned” (Am.
                                                                                               Acad. Child Adolesc. Psychiatry 2012). Similarly, and most recently, the American Psychological
                                                                                               Association (2016) took an official position on solitary confinement by supporting “efforts to
                                                                                               eliminate the practice” for juveniles. Calls for the prohibition of the use of isolated confinement

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                                                                                                               for vulnerable populations such as juveniles underscore the widespread recognition that it is a
                                                                                                               psychologically painful and potentially very harmful environment.
                                                                                                                    The same message is conveyed by the numerous calls to significantly limit the duration of
                                                                                                               solitary confinement or to eliminate its use altogether with prisoners who are mentally ill. Thus,
                                                                                                               the American Psychiatric Association (2012) recommended that “prolonged segregation” (which
                                                                                                               it defined as segregation lasting longer than four weeks) of adult prisoners with serious mental
                                                                                                               illness, “with rare exceptions, should be avoided due to the potential for harm to such inmates.”
                                                                                                               Similarly, Mental Health America’s (2011) position on seclusion and restraints included their
                                                                                                               “urg[ing] abolition of the use of seclusion. . .to control symptoms of mental illnesses.” The National
                                                                                                               Alliance on Mental Illness (2016) issued a statement “oppos[ing] the use of solitary confinement
                                                                                                               and equivalent forms of extended administrative segregation for persons with mental illnesses.”
                                                                                                               The American Public Health Association (2013) observed that mentally ill prisoners are at risk of
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                                                                                                               being “placed in segregation as punishment for behavior that is a product of their illness,” and may
                                                                                                               “deteriorate and experience an exacerbation of symptoms” once housed there. With this in mind,
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                                                                                                               they recommended categorically that “[p]risoners with serious mental illness should be excluded
                                                                                                               from placement in solitary confinement” and also that all prisoners “should be closely monitored
                                                                                                               and removed from solitary confinement if continued placement becomes clinically contraindi-
                                                                                                               cated.” The position statement of the Society of Correctional Physicians (2013) acknowledged
                                                                                                               “that prolonged segregation of inmates with serious mental illness, with rare exceptions, violates
                                                                                                               basic tenets of mental health treatment” and recommended against holding these prisoners in
                                                                                                               segregated housing for more than four weeks (see also Stern 2014.) The Rabbinical Assembly
                                                                                                               (2012) called on prison authorities to end the use of solitary confinement for juveniles and for
                                                                                                               people with mental illness. Finally, the National Science Foundation concluded that “[l]ong-term
                                                                                                               segregation is not an appropriate setting for seriously mentally ill inmates” and that “[i]n all cases,
                                                                                                               it is important to ensure that those prisoners who are confined in segregation are monitored closely
                                                                                                               and effectively for any sign of psychological deterioration” (Natl. Res. Counc. 2014, p. 201).
                                                                                                                    In many ways, the Standard Minimum Rules for the Treatment of Prisoners (known as the Mandela
                                                                                                               Rules) that were approved by the Commission on Crime Prevention and Criminal Justice (2015)
                                                                                                               of the United Nations codified many of the mandates and standards recommended by other
                                                                                                               diverse professional groups. The Mandela Rules contain several provisions that are explicitly
                                                                                                               designed to significantly regulate and limit the use of solitary confinement (which, according to
                                                                                                               Rule 44, is defined as “confinement of prisoners for 22 hours or more a day without meaningful
                                                                                                               human contact”). Specifically, Rule 43.1 prohibits the use of “indefinite” and “prolonged” solitary
                                                                                                               confinement as well as the placement of prisoners in a “dark or constantly lit cell.” More generally,
                                                                                                               Rule 45.1 provides that solitary confinement “shall be used only in exceptional cases as a last resort,
                                                                                                               for as short a time as possible. . .” and Rule 45.2 prohibits its use entirely “in the case of prisoners
                                                                                                               with mental or physical disabilities when their conditions would be exacerbated by such measures.”
                                                                                                               The Commission on Crime Prevention and Criminal Justice’s (2015) Standard Minimum Rules for
                                                                                                               the Treatment of Prisoners passed by the United Nations defined “prolonged solitary confinement”
                                                                                                               as lasting “for a time period in excess of 15 consecutive days” and mandated that such prolonged
                                                                                                               confinement “shall be prohibited” (Rules 43.1 and 44).
                                                                                                                    In addition to the scientific evidence on the harmful psychological consequences of denying
                                                                                                               people opportunities for meaningful social contact and the consensus that has emerged among
                                                                                                               professional groups that solitary confinement is so dangerous that it must be significantly re-
                                                                                                               stricted, correctional systems around the country are themselves rethinking the justification for
                                                                                                               its continued use. In addition to its greater comparative expense, there is little or no evidence that
                                                                                                               solitary confinement effectively accomplishes any of the goals for which it is allegedly employed.
                                                                                                               As I noted earlier, its record on reducing various forms of inmate misbehavior or in stemming the

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                                                                                               proliferation or influence of prison gangs is, at best, mixed and problematic; it may have the op-
                                                                                               posite of its intended effects. Even the goal of safeguarding certain groups of vulnerable prisoners
                                                                                               by placing them in protective custody could be handled in a less restrictive and more humane way
                                                                                               so that they are not subjected to severe social and sensory deprivations (and in essence forced to
                                                                                               trade their psychological well-being for their physical safety).
                                                                                                   The Association of State Correctional Administrators have acknowledged that the “prolonged
                                                                                               isolation of individuals is a grave problem in the United States” (quoted in Assoc. State Correct.
                                                                                               Adm. et al. 2016, p. 5). In fact, over the past several years, prison systems as diverse as California,
                                                                                               Colorado, Idaho, Maine, and North Dakota have recognized the problem in their own prison sys-
                                                                                               tems and taken steps to drastically reduce the number of prisoners housed in solitary confinement
                                                                                               (e.g., Buntin 2010, Egelko 2016, Heiden 2013, Raemisch 2012, Tapley 2011). In addition, several
                                                                                               states have closed their primary solitary confinement units altogether. For example, in January
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                                                                                               2013, the Illinois Department of Corrections closed its supermax prison located at the Tamms
                                                                                               Correctional Center (Ill. Dep. Correct. 2013). And in the state where the infamous Colorado
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                                                                                               Study was conducted, not long after the study was released, the Department of Corrections began
                                                                                               significantly reducing their administrative segregation population and closed an entire prison that
                                                                                               had been recently built as a dedicated solitary confinement facility (Mitchell 2012, Raemisch &
                                                                                               Wasko 2015). In fact, most recently, the director of that state’s prison system announced that he
                                                                                               had ended long-term solitary confinement, so that even prisoners “who commit serious violations
                                                                                               like assault will now spend at most 15 days in solitary” (Raemisch 2017, p. A25).
                                                                                                   For several years now the Vera Institute of Justice, with funding from United States Depart-
                                                                                               ment of Justice, has operated a Safe Alternatives to Segregation (SAFE) Initiative, whose explicit
                                                                                               goal is to assist state and county correctional systems to reduce their use of segregation and solitary
                                                                                               confinement by developing effective alternatives. The 11-member Vera SAFE Initiative Advisory
                                                                                               Board includes several state corrections secretaries and deputy secretaries, including those in
                                                                                               Colorado, New Mexico, Pennsylvania, and Washington, who are publicly committed to devel-
                                                                                               oping ways of achieving significant reductions in the use of prison isolation. Finally, the United
                                                                                               States Department of Justice (2016) completed a review of solitary confinement practices in the
                                                                                               Federal Bureau of Prisons that recommended significant reductions in its use, including a ban on
                                                                                               confining juveniles, pregnant women, and, except in exceptional circumstances, seriously men-
                                                                                               tally ill prisoners, placing prisoners in the “least restrictive setting necessary,” eliminating the use
                                                                                               of disciplinary segregation for low-level offenses, and urging reductions in the amount of time
                                                                                               prisoners spend in solitary confinement for other more serious offenses, so that prisoners could
                                                                                               be returned “to less restrictive conditions as promptly as possible.” In an editorial written by
                                                                                               President Barack Obama (2016), he noted that “solitary confinement has the potential to lead to
                                                                                               devastating, lasting psychological consequences,” including depression and “a reduced ability to
                                                                                               interact with others,” and urged that the Department of Justice’s “common-sense principles” for
                                                                                               limiting the use of solitary confinement be broadly implemented in the criminal justice system.
                                                                                                   In summary, the conclusion that long-term solitary confinement subjects prisoners to a sig-
                                                                                               nificant risk of serious psychological harm continues to have widespread and growing empirical
                                                                                               support, is theoretically sound, and now reflects the overwhelming consensus view of numerous
                                                                                               scientific organizations. In addition, there is a movement calling for reform among professional,
                                                                                               legal, human rights, and mental health groups that have carefully considered the issue. Corrections
                                                                                               officials in various parts of the country are beginning to heed those calls. As ASCA/Liman authors
                                                                                               put it, solitary confinement now “has come to be understood by many as a problem in need of a
                                                                                               solution” (Assoc. State Correct. Adm. et al. 2016, p. 15).




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                                                                                                               CONCLUSION
                                                                                                               Solitary confinement has a long and controversial history in the United States and elsewhere
                                                                                                               in the world (e.g., Arrigo & Bullock 2008, Grassian 2006, Haney & Lynch 1997, Shalev 2009,
                                                                                                               Smith 2006). During the era of mass incarceration in the United States, increasing numbers of
                                                                                                               prisoners were subjected to these extremely severe conditions of confinement—as many as an es-
                                                                                                               timated 100,000 at any given time—some of them for periods that lasted years and even decades.
                                                                                                               Yet the scientific knowledge on the negative effects of isolated confinement is long-standing,
                                                                                                               robust, and empirically well-documented. The harmful effects include a range of psychologi-
                                                                                                               cal and physical maladies, including a host of specific problematic symptoms of stress, trauma,
                                                                                                               and the psychopathological effects of isolation, a range of ultimately problematic and dysfunc-
                                                                                                               tional adaptations to this form of enforced asocial existence, and heightened levels of morbidity
                                                                                                               and mortality (including increased self-harm and suicidality). Furthermore, these empirical find-
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                                                                                                               ings are theoretically well-grounded. In recent years, new insights about the fundamental human
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                                                                                                               need for meaningful social contact and for caring human touch provided important theoretical
                                                                                                               dimensions to an already existing and widespread appreciation of the adverse medical and psycho-
                                                                                                               logical consequences of isolation and social exclusion. They have added considerable conceptual
                                                                                                               weight to the long-standing scientific consensus about the pains, risks, and harms of solitary
                                                                                                               confinement.
                                                                                                                   The scientific consensus about the harmfulness of solitary confinement has served as the basis
                                                                                                               for an emerging movement among professional, mental health, legal, and human rights organi-
                                                                                                               zations, calling for the drastic reduction if not elimination of the practice. Recognition of the
                                                                                                               significant risk of serious harm that solitary confinement imposes has led to newly implemented
                                                                                                               standards and policies mandating that solitary confinement be used only as an absolute last resort
                                                                                                               (if at all) and for the shortest amount of time that is absolutely necessary to achieve legitimate
                                                                                                               penological goals. The time periods should be limited to hours, days, or weeks but never months
                                                                                                               or years. Moreover, the new standards and policies prohibit the use of solitary confinement with
                                                                                                               otherwise vulnerable groups such as juveniles and the seriously mentally ill. In addition to the
                                                                                                               positions taken by these various organizations, an increasing number of correctional officials have
                                                                                                               finally begun to acknowledge that solitary confinement incurs significant human and economic
                                                                                                               costs in the absence of commensurate benefits in the form of reliably achieved penological purposes
                                                                                                               or goals and, accordingly, have taken steps to drastically reduce its use.
                                                                                                                   The American criminal justice system appears to be coming full circle—again—on the con-
                                                                                                               troversial practice of solitary confinement. Armed with much more scientific evidence than
                                                                                                               nineteenth-century prison reformers and a stronger theoretical framework with which to un-
                                                                                                               derstand the harmful effects of solitary confinement, an intellectual and human rights consensus
                                                                                                               has emerged to significantly restrict if not eliminate this punitive, destructive practice.


                                                                                                               DISCLOSURE STATEMENT
                                                                                                               The author is not aware of any affiliations, memberships, funding, or financial holdings that might
                                                                                                               be perceived as affecting the objectivity of this review.


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Craig Haney

The Psychological Effects
of Solitary Conﬁnement:
A Systematic Critique


ABSTRACT
   Research ﬁndings on the psychological effects of solitary conﬁnement have
   been strikingly consistent since the early nineteenth century. Studies have
   identiﬁed a wide range of frequently occurring adverse psychological reac-
   tions that commonly affect prisoners in isolation units. The prevalence of
   psychological distress is extremely high. Nonetheless, use of solitary con-
   ﬁnement in the United States vastly increased in recent decades. Advocates
   defend its use, often citing two recent studies to support claims that isolation
   has no signiﬁcant adverse psychological effects, including even on mentally
   ill people. Those studies, however, are fundamentally ﬂawed, their results are
   not credible, and they should be disregarded. Critically and comprehensively
   analyzing the numerous ﬂaws that compromise this recent scholarship
   underscores the distinction between methodological form and substance, the
   danger of privileging quantitative data irrespective of their quality, and the
   importance of considering the fraught nature of the prison context in which
   research results are actually generated. Solitary conﬁnement has well-
   documented adverse effects. Its use should be eliminated entirely for some
   groups of prisoners and greatly reduced for others.


Doing prison research, Alison Liebling has long reminded us, is deeply
emotional and intellectually challenging, with different methodological
approaches “competing for epistemological prominence—often from
different sides of the prison wall” (1999, p. 148). It takes place in “an in-

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tense, risk-laden, emotionally fraught environment” (p. 163) and within
a closed environment in which prison administrators tightly control ac-
cess to data and most prisoners manifest an entirely legitimate and un-
derstandable skepticism toward data gatherers.
   This helps explain why, in Liebling’s words, “the pains of imprison-
ment are tragically underestimated by conventional methodological ap-
proaches to prison life” (p. 165). The more these conventional approaches
encourage us to conceive of prisons as more or less traditional research
settings and prisoners as mere specimens to be “objectively assessed,” the
less likely we are to gain useful insights into prison life or accurately rep-
resent the experience of those living inside.
   These cautions are doubly applicable to research on solitary conﬁne-
ment.1 It involves involuntary isolation of prisoners nearly around the
clock in sparse cells located in remote or inaccessible units. Solitary con-
ﬁnement denies prisoners any meaningful social contact and access to
positive environmental stimulation.
   These prisons within prisons are nearly impenetrable to outside re-
searchers (or anyone else). Prison ofﬁcials tightly control access to sol-
itary conﬁnement units and to the prisoners inside them. They typically
rebuff attempts by researchers to observe conditions and practices, let
alone to carefully assess their potentially harmful effects. Prisoners in sol-
itary conﬁnement tend to be even more self-protective than other pris-
oners are (as part of their accommodation to harsh and frequently abu-
sive conditions) and reluctant to have their “measure” taken by persons
whom they have no reason to trust. They generally subscribe strongly to
prisoner norms against displaying or acknowledging vulnerabilities that
could be interpreted as weakness. The inapt pejorative designation of
them as collectively “the worst of the worst” does not inspire conﬁdence
in or candor toward outsiders, and certainly not toward anyone remotely
associated with the prison administration.
   These realities pose a host of methodological challenges for anyone
interested in understanding the nature and effects of prison isolation. This
is in part why studies of the effects of solitary conﬁnement on prisoners

   1
     I use “solitary conﬁnement” to refer to forms of prison isolation in which prisoners are
housed involuntarily in their cells for upward of 23 hours per day and denied the oppor-
tunity to engage in normal and meaningful social interaction and congregate activities, in-
cluding correctional programming. The term subsumes a range of prison nomenclature
including “administrative segregation,” “security housing units,” “high security,” and
“close management,” among others.
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have rarely, if ever, approximated experimental research designs (including
quasi- or natural experimental designs).
   Solitary conﬁnement units not only are largely impenetrable to outsid-
ers but also, of course, are subject to legal and ethical restrictions that pre-
clude random assignment of prisoners into them. The rigid prison rules
and operating procedures that govern these places can easily frustrate the
use of the kind of meticulous controls over conditions and participants
that are needed to carry out anything remotely resembling an experiment.
The distinctiveness of solitary conﬁnement units and the nonnegotiable
staff mandates under which they operate make it difﬁcult, if not impossi-
ble, to implement rigorous conventional research designs (e.g., represen-
tative samples, control groups, repeated measures). Efforts to conduct
randomized or truly controlled studies inevitably face signiﬁcant risks
that the data collected will be so confounded by inevitable methodolog-
ical compromises as to be uninterpretable and, therefore, meaningless.
   Nonetheless, scholars and researchers know a great deal about the neg-
ative effects of solitary conﬁnement. We have ﬁrsthand or autobiograph-
ical accounts by former prisoners (e.g., Burney 1961) and staff members
(e.g., Rundle 1973; Slater 1986); ethnographic, interview, and observa-
tional research (e.g., Benjamin and Lux 1975; Toch 1975; Hilliard 1976;
Jackson 1983; Rhodes 2004; Reiter 2016); and cross-sectional studies that
assess prisoners’ psychological reactions at particular times (e.g., Grass-
ian 1983; Brodsky and Scogin 1988; Haney 2003).
   Much of the important research is qualitative, but there is a substantial
amount of it and the ﬁndings are robust. They can also be “triangulated,”
that is, studied through a range of methods and in settings sometimes
similar but not necessarily identical to solitary conﬁnement (e.g., Turner,
Cardinal, and Burton 2017). Numerous literature reviews have noted
that scientists from diverse disciplinary backgrounds, working inde-
pendently and across several continents, and over many decades, have
reached almost identical conclusions about the negative effects of isola-
tion in general and solitary conﬁnement in particular (e.g., Haney and
Lynch 1997; Haney 2003; Grassian 2006; Smith 2006; Arrigo and Bull-
ock 2008). Those robust ﬁndings are also theoretically coherent. That
is, they are consistent with and explained by a rapidly growing literature
on the importance of meaningful social contact for maintenance of men-
tal and physical health.
   Largely because of the robustness and theoretical underpinnings of
the data, numerous scientiﬁc and professional organizations have reached
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a broad consensus about the damaging effects of solitary conﬁnement.
Several years ago, for example, a National Academies of Science commit-
tee reviewed the existing research and concluded that solitary conﬁne-
ment can precipitate such “serious psychological change” in prisoners
that the practice “is best minimized” (National Research Council 2014,
p. 201). The American Psychological Association (2016, p. 1), the world’s
largest professional association of psychologists, asserted that “solitary
conﬁnement is associated with severe harm to physical and mental health
among both youth and adults, including: increased risk of self-mutilation,
and suicidal ideation; greater anxiety, depression, sleep disturbance, para-
noia, and aggression; exacerbation of the onset of pre-existing mental ill-
ness and trauma symptoms; [and] increased risk of cardiovascular prob-
lems.”
   Similarly, the National Commission on Correctional Health Care
(2016), a highly respected organization of correctional medical and men-
tal health professionals, promulgated a series of “principles” with respect
to solitary conﬁnement. They are intended to guide the ethical conduct
of its members, including that placement in solitary conﬁnement for lon-
ger than 15 days represents “cruel, inhumane, and degrading treatment”
that is “harmful to an individual’s health” (p. 260) and that “health care
staff must advocate” to remove persons from solitary conﬁnement when-
ever “their medical or mental health deteriorates” (p. 261).
   Summarizing this growing consensus, a joint 2016 statement of the As-
sociation of State Correctional Administrators (the largest professional
association of American prison administrators) and Yale Law School’s
Liman Public Interest Program observed that demands for change in
use of solitary conﬁnement are being made around the world. More spe-
ciﬁcally,

  Commitments to reform and efforts to limit or abolish the use of
  isolating conﬁnement come from stakeholders and actors in and out
  of government. Documentation of the harms of isolation, coupled
  with its costs and the dearth of evidence suggesting that it enhances
  security, has prompted prison directors, legislatures, executive branch
  ofﬁcials, and advocacy groups to try to limit reliance on restricted
  housing. Instead of being cast as the solution to a problem, restricted
  housing has come to be understood by many as a problem in need of a
  solution. (Association of State Correctional Administrators and the
  Arthur Liman Public Interest Program 2016, p. 15)
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Even more recently, the director of the Colorado Department of Cor-
rections, Rick Raemisch, announced that Colorado has ended use of
long-term solitary conﬁnement, so that even prisoners “who commit se-
rious violations like assault will now spend at most 15 days in solitary”
(2017, p. A25). This development in Colorado is especially notable, for
reasons that become clear in the pages that follow.
    Against this backdrop, in 2009 and 2010 word began to circulate among
prison researchers and policy makers that a new, supposedly unassailable
scientiﬁc study—the “Colorado study”—had produced results that con-
travened many decades of empirical ﬁndings on the harmful effects of
prison isolation. Lovell and Toch (2011, p. 3) characterized a number of
its ﬁndings as “ﬂabbergasting,” and indeed they were. Among the most
startling were that a year-long stay in solitary conﬁnement resulted in
no “signiﬁcant decline in psychological well-being over time”; that on
most measures, including cognitive performance, “there was improved
functioning over time”; and most remarkably that many more mentally
ill prisoners beneﬁted from isolation than were damaged by it (O’Keefe
et al. 2010, pp. 54, 78). The Colorado researchers thus reported data in-
dicating that solitary conﬁnement made prisoners feel and think better,
especially if they were mentally ill.
    In fact, however, the Colorado study was riddled with serious method-
ological problems that limited its value and made the meaning of the re-
sults impossible to decipher. Notwithstanding its authors’ frank, albeit
at times opaque and oblique, acknowledgments of some of its fundamen-
tal weaknesses, defenders of solitary conﬁnement have seized on it. It has
become a last bastion of resistance against a widespread and growing con-
sensus that use of solitary conﬁnement should be eliminated or drastically
limited.
    The Colorado study’s inﬂuence has been ampliﬁed by an equally ﬂawed
meta-analysis that relied very heavily on it and signiﬁcantly mischar-
acterized the prior literature on the effects of isolated conﬁnement (Mor-
gan et al. 2016). Of course, the inﬂuence of a fundamentally ﬂawed study
can grow if it and the data it produced are included in literature reviews
that overlook glaring weaknesses. This risk is greater in meta-analytic than
in narrative literature reviews that focus on decontextualized “effect sizes”
irrespective of methodological shortcomings of individual studies. Un-
like narrative reviews, meta-analyses include only quantitative outcomes
or effects. This elevates the importance of numerical outcomes and often
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scants nuanced assessments of data quality. This is particularly a problem
for prison research, an enterprise that is fraught with emotional and meth-
odological challenges, in which aspects of the institutional context or set-
ting can fundamentally alter the nature of the research and the meaning
of its results. That is precisely what happened in the Morgan et al. (2016)
meta-analysis.
   In the following pages, I ﬁrst discuss the scientiﬁc basis for the broad
consensus that solitary conﬁnement has substantial negative psycholog-
ical effects on prisoners. I then discuss the Colorado study and the Mor-
gan et al. (2016) meta-analysis based largely on it. Both are textbook ex-
amples of how things can go terribly wrong when researchers fail to take
account of the unique nature of the prison environment, the special
emotional and methodological challenges of prison research in general,
and the contingent and unpredictable conditions and practices that af-
fect solitary conﬁnement units in particular.


            I. Solitary Conﬁnement Research and Practice
Documentation of the damaging nature and psychological effects of sol-
itary conﬁnement has a very long history, dating at least to the early
nineteenth century, when solitary conﬁnement was the modal form of
imprisonment. The notion that prisoners could be reformed—made
“penitent”—by time spent in isolation dominated American correctional
thinking and practice and eventually spread throughout Europe. Yet the
practice was recognized as a dangerous failure not long after its incep-
tion. Haney and Lynch (1997), Toch (2003), Grassian (2006), and Smith
(2006) reviewed much of the early historical literature. Reports on sol-
itary conﬁnement at Pentonville Prison in England described “twenty
times more cases of mental disease than in any other prison in the coun-
try” (Hibbert 1963, p. 160). Accounts of solitary conﬁnement in the
Netherlands documented “again and again, reports of insanity, suicide,
and the complete alienation of prisoners from social life” ( Franke 1992,
p. 128). Newspaper reports from Philadelphia observed that prisoners in
solitary conﬁnement at the Walnut Street Jail “beg, with the greatest
earnestness, that they may be hanged out of their misery” (Masur 1989,
p. 83). Charles Dickens concluded that a prisoner kept in that “melancholy
house” was like “a man buried alive . . . dead to everything but torturing
anxieties and horrible despair” (Dickens 1842, p. 116). A similar regime
in Auburn, New York, was described as “a hopeless failure that led to a
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marked prevalence of sickness and insanity on the part of convicts in solitary
conﬁnement” (Barnes 1921, p. 53). Stuart Grassian (2006, pp. 342–43)
reported that “between 1854 and 1909, thirty-seven articles appeared in
German scientiﬁc journals on the subject of psychotic disturbances among
prisoners.” The “most consistent factor” accounting for prison psychoses,
“reported in over half the total literature, was solitary conﬁnement.”
   Systematic early studies of solitary conﬁnement in the United States
used what is now seen as a somewhat outmoded theoretical framework,
focusing narrowly on sensory rather than social deprivation (e.g., Scott
and Gendreau 1969; Gendreau et al. 1972). Even so, the authors of one
early study concluded that “excessive deprivation of liberty, here deﬁned
as near complete conﬁnement to the cell, results in deep emotional
disturbances” (Cormier and Williams 1966, p. 484). In a review of the
sensory deprivation literature, Haney and Lynch (1997) noted that “the
dissimilarities between conditions created in these studies and those in
solitary conﬁnement or punitive segregation in correctional institutions
are obvious.” They also observed that, nonetheless, the early research
did “emphasize the importance of sensory stimulation in human experi-
ence and the dramatic effects that can be produced when such stimulation
is signiﬁcantly curtailed” (p. 502).
   More recent research focuses on the psychological damage that results
from social deprivation. Hans Toch’s large-scale psychological study of
prisoners in crisis in New York State correctional facilities included im-
portant observations about the effects of isolation. After conducting nu-
merous in-depth interviews, Toch (1975, p. 54) concluded that “isolation
panic” was a serious problem in solitary conﬁnement. The symptoms
Toch described included rage, panic, loss of control and breakdowns,
psychological regression, and build-ups of physiological and psychic ten-
sion that led to incidents of self-mutilation. He noted that isolation panic
could occur under other conditions of conﬁnement but that it was “most
sharply prevalent in segregation.” Moreover, it marked an important di-
chotomy for prisoners: the “distinction between imprisonment, which is
tolerable, and isolation, which is not.”
   Empirical studies have identiﬁed a wide range of frequently occurring
adverse psychological reactions to solitary conﬁnement.2 These include


  2
    For reviews of the literature documenting these adverse reactions, see Haney and
Lynch (1997), Haney (2003), Cloyes et al. (2006), Grassian (2006), Smith (2006), and
Arrigo and Bullock (2008).
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stress-related reactions (such as decreased appetite, trembling hands,
sweating palms, heart palpitations, and a sense of impending emotional
breakdown); sleep disturbances (including nightmares and sleeplessness);
heightened levels of anxiety and panic; irritability, aggression, and rage;
paranoia, ruminations, and violent fantasies; cognitive dysfunction, hyper-
sensitivity to stimuli, and hallucinations; loss of emotional control, mood
swings, lethargy, ﬂattened affect, and depression; increased suicidality and
instances of self-harm; and, ﬁnally, paradoxical tendencies to further social
withdrawal.
   The prevalence of psychological distress, at least as suffered in certain
solitary conﬁnement settings, appears to be extremely high. A study con-
ducted at the Security Housing Unit (SHU) at Pelican Bay State Prison
in California (Haney 1993; Reiter 2016), an especially severe solitary
conﬁnement facility, is illustrative. Structured interviews were used to
assess a randomly selected, representative sample of 100 prisoners to
determine the prevalence of symptoms of psychological stress, trauma,
and isolation-related psychopathology (Haney 2003). The interviews in-
cluded demographic questions, brief social and institutional histories, and
systematic assessments of 25 items, based in part on the Omnibus Stress
Index ( Jones 1976) and on other instruments similar to those used in
Brodsky and Scogin (1988). Every symptom of psychological stress and
trauma but one (fainting) was experienced by more than half of the as-
sessed prisoners; many were reported by two-thirds or more and some by
nearly everyone. Well over half of the prisoners reported distress-related
symptoms—headaches, trembling, sweaty palms, and heart palpitations.
   High numbers of the Pelican Bay SHU prisoners also reported suffer-
ing from isolation-related symptoms of pathology. Nearly all reported
ruminations or intrusive thoughts, oversensitivity to external stimuli, ir-
rational anger and irritability, difﬁculties with attention and often with
memory, and a tendency to withdraw socially. Almost as many reported
symptoms indicative of mood or emotional disorders: concerns over emo-
tional ﬂatness or losing the ability to feel, swings in emotional response,
and feelings of depression or sadness that did not go away. Finally, sizable
minorities reported symptoms that are typically associated only with more
extreme forms of psychopathology—hallucinations, perceptual distor-
tions, and thoughts of suicide.
   Social withdrawal, a common reaction to solitary, is related to a broader
set of social pathologies that prisoners often experience as they attempt to
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adapt to an environment devoid of normal, meaningful social contact. In
order to exist and function in solitary conﬁnement, where day-to-day life
lacks meaningful interaction and closeness with others, prisoners have lit-
tle choice but to adapt in ways that are asocial and, ultimately, psycholog-
ically harmful.
   A large international literature has reached similar conclusions on the
adverse psychological effects of solitary conﬁnement. Solitary conﬁne-
ment not only is a common form of mistreatment to which prisoners of
war have been subjected and been adversely affected (e.g., Hinkle and
Wolff 1956) but also is associated with “higher levels of later life disabil-
ity” among returnees (Hunt et al. 2008, p. 616). It is frequently used as a
component of torture (e.g., Foster, Davis, and Sandler 1987; Nowak 2006;
Reyes 2007). Solitary conﬁnement has been studied in more traditional
international criminal justice contexts as well. For example, Barte (1989,
p. 52) concluded that solitary conﬁnement in French prisons had such
“psychopathogenic” effects that prisoners placed there for extended peri-
ods could become schizophrenic, making the practice unjustiﬁable, coun-
terproductive, and “a denial of the bonds that unite humankind.”
   Koch (1986, pp. 124–25) studied “acute isolation syndrome” among
detainees in Denmark that occurred after only a few days in isolation
and included “problems of concentration, restlessness, failure of mem-
ory, sleeping problems and impaired sense of time and ability to follow
the rhythm of day and night.” If isolation persisted for a few weeks or
more, it could lead to “chronic isolation syndrome,” including intensi-
ﬁed difﬁculties with memory and concentration, “inexplicable fatigue,”
a “distinct emotional liability” that included ﬁts of rage, hallucinations,
and the “extremely common” belief among prisoners that “they have gone
or are going mad.”
   Volkart, Dittrich, et al. (1983) studied penal isolation in Switzerland.
They concluded that, compared with prisoners in normal conﬁnement,
those in solitary displayed considerably more psychopathological symp-
toms, including heightened feelings of anxiety, emotional hypersensitiv-
ity, ideas of persecution, and thought disorders (see also Waligora 1974;
Volkart, Rothenﬂuh, et al. 1983; Bauer et al. 1993).
   The major reviews of the literature reach the same conclusions as the
seminal studies. Haney and Lynch (1997, pp. 530, 537) noted that “dis-
tinctive patterns of negative effects have emerged clearly, consistently,
and unequivocally from personal accounts, descriptive studies, and sys-
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tematic research on solitary and punitive segregation.” The “psycholog-
ically destructive treatment” to which prisoners are exposed in solitary
conﬁnement is so severe that it likely “would not be countenanced for
any other group in our society.”
   Grassian’s extensive survey of solitary conﬁnement research concluded
that “the restriction of environmental stimulation and social isolation as-
sociated with conﬁnement in solitary are strikingly toxic to mental func-
tioning, including, in some prisoners, a stuporous condition associated
with perceptual and cognitive impairment and affective disturbances”
(2006, p. 354).
   That same year, Smith’s comprehensive review concluded that “the
vast majority” of studies on the effects of solitary conﬁnement “docu-
ment signiﬁcant negative health effects” (2006, p. 456). He observed that
“research on effects of solitary conﬁnement has produced a massive
body of data documenting serious adverse health effects” (p. 475) includ-
ing “anger, hatred, bitterness, boredom, stress, loss of the sense of real-
ity, suicidal thoughts, trouble sleeping, impaired concentration, confu-
sion, depression, and hallucinations” (p. 488).
   Similarly, Arrigo and Bullock (2008) concluded that “nearly all inves-
tigators acknowledge that long-term segregation, mistreatment by cor-
rectional staff, and preexisting psychological vulnerability are all apt to
result in negative mental health consequences for convicts” and that
“the extreme isolation and harsh conditions of conﬁnement in [solitary
conﬁnement] typically exacerbate the symptoms of mental illness” (p. 632).
   There is an important, theoretically coherent framework that helps ex-
plain the consistency of these conclusions. A burgeoning literature in so-
cial psychology and related disciplines shows that solitary conﬁnement is
a potentially harmful form of sensory deprivation but also, and more de-
structively, exposes prisoners to pathological levels of social deprivation.
Numerous studies have established the critical psychological signiﬁcance
of social contact, connectedness, and belonging (e.g., Fiorillo and Saba-
tini 2011; Hafner et al. 2011; Cacioppo and Cacioppo 2012). Meaningful
social interactions and social connectedness can have a positive effect on
people’s physical and mental health in settings outside of prison and, con-
versely, social isolation in general can undermine health and psychologi-
cal well-being. Thus, it makes sound psychological sense that exposure to
especially severe forms of material, sensory, and social deprivation harms
prisoners’ mental health.
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   Indeed, researchers have concluded that human brains are “wired to
connect” to others (Lieberman 2013). Thwarting the need to establish
and maintain connections to others undermines psychological well-being
and increases physical morbidity and mortality. Because “social connec-
tion is crucial to human development, health, and survival,” experts have
called for it to be recognized as a national public health priority ( Holt-
Lunstad, Robles, and Sbarra 2017, p. 527). The involuntary, coercive,
hostile, and demeaning aspects of solitary conﬁnement are likely to exac-
erbate the negative effects of social isolation that have repeatedly been
documented in more benign contexts.
   Given these long-standing and theoretically informed ﬁndings, a study
purporting to show that psychological effects of solitary conﬁnement
range from harmless to beneﬁcial would normally not be taken seriously.
Sometimes, however, the appearance of seemingly objective scientiﬁc
ﬁndings provides legitimacy to doubtful conclusions, especially when
they support contested policy or political agendas. That is precisely what
happened in the case of the Colorado study. Its authors described it as
a scientiﬁc advance over all previous studies, and some commentators
prematurely lauded its methodological rigor. It appeared on the surface
to be an ambitious and well-designed longitudinal study, with appropri-
ate comparison groups and a host of dependent variables that were to be
examined. Data were collected through the repeated administration of
instruments said to be validated, and an unusually large number of pris-
oners were to be assessed over a 1-year period.
   The reality was very different. The project could not be, and was not,
carried out as planned, partly because of powerful demands and correc-
tional contingencies inherent in prison settings in general and solitary con-
ﬁnement in particular. The problems proved insurmountable: comparison
groups were not comparable, and the integrity of the “treatments” each
group received was quickly corrupted. I discuss these and numerous other
problems in the next section. The fundamental methodological ﬂaws that
plagued the study prevented collection of any meaningful data and en-
sured that no meaningful conclusions could be drawn.
   The Colorado study nonetheless has continued to play an outsized
role in contentious policy debates in which proponents of solitary con-
ﬁnement draw on it to support positions that are becoming indefensible.
Defenders have characterized the study as “an outstanding example of
applied correctional research” that was “planned with great care,” em-
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ployed a “rigorous” design, and produced results that “were about as con-
clusive as possible” showing that solitary conﬁnement has few or no ad-
verse effects (Gendreau and Labrecque 2016, p. 9).
    A year after the study’s release, the National Institute of Corrections
devoted an entire issue of Corrections and Mental Health to discussion of
it. One writer (other than the Colorado researchers themselves) who en-
dorsed its results and defended its methodology was Paul Gendreau, a
well-known Canadian researcher and long-time prison system employee.
Despite not having published primary research data on isolation since
the early 1970s, he had defended its use over many decades, for example,
in a 1984 article entitled “Solitary Conﬁnement Is Not Cruel and Un-
usual: People Sometimes Are!” (Gendreau and Bonta 1984). In Correc-
tions and Mental Health, Gendreau hailed the Colorado study as a “truly
signiﬁcant contribution to our knowledge base about the effects of prison
life for one of the most severe forms of incarceration” and asserted that
“in terms of its methodological rigor” no other study “comes close” (Gen-
dreau and Theriault 2011, p. 1). Moreover, despite the deep skepticism
voiced by all of the other contributors to the special issue except Gen-
dreau and the study’s authors, the journal’s editor described the Colorado
study as “an important report” because it showed that “administrative
segregation is not terribly harmful” ( Immarigeon 2011, p. 1).
    Similarly, when a brief summary of the study appeared in a scholarly
journal (O’Keefe et al. 2013), it was accompanied by commentary written
by several prominent clinicians who claimed to have witnessed as much as
or more psychological improvement among isolated prisoners than de-
compensation. They praised the study as “groundbreaking” and described
its methodology as “solid” (Berger, Chaplin, and Trestman 2013, pp. 61–
63). The authors averred that “the extremes of solitary conﬁnement have
been misunderstood” and that “people are resilient and are able to thrive
under even difﬁcult environmental conditions.”
    The respected Irish prison researcher Ian O’Donnell, though more
circumspect, offered similar observations. Although O’Donnell acknowl-
edged some limitations, he praised the study’s methodology and invoked
its results to support some of his own views. “However unpalatable they
might appear to some parties,” he asserted, the study’s ﬁndings “must be
taken seriously” (2014, p. 120). O’Donnell characterized the study as “valu-
able” because, he said, it “highlights the individual’s capacity to adapt”
(p. 122). He defended the Colorado researchers against criticism, noting
that it is ethically impossible to study solitary conﬁnement with “sufﬁ-
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cient scientiﬁc rigour to satisfy everyone” (p. 122). The study’s results
suggest, he wrote, “that segregation was not highly detrimental to those
forced to endure it” (p. 120) and that the harmfulness of this form of penal
conﬁnement “may have been over-emphasized” (p. 123).3
   The Colorado study also ﬁgures prominently in correctional policy
reviews by recalcitrant prison ofﬁcials who do not want to modify seg-
regation practices and in litigation over the harmful effects of solitary
conﬁnement, where those defending it are eager to ﬁnd support.4 For
example, the US Government Accountability Ofﬁce conducted a review
of segregated housing practices in the federal Bureau of Prisons (BOP):
“BOP HQ ofﬁcials cited the 2010 DOJ-funded study of the psycholog-
ical impact of solitary conﬁnement in the Colorado state prison system.
This study showed that segregated housing of up to 1 year may not have
greater negative psychological impacts than non-segregated housing on
inmates. While the DOJ-funded study did not assess inmates in BOP fa-
cilities, BOP management told us this study shows that segregation has



   3
     O’Donnell indicated that the study documented the “beneﬁts” of solitary, ones he sug-
gested derived from “the many hours spent in quiet contemplation” in solitary conﬁne-
ment units. He also suggested that the results buttressed his own belief that “severe forms
of trauma are sometimes accompanied by an improvement in functioning” (p. 123).
   4
     For example, consider the “Expert Report by Robert Morgan, PhD, Ashker, et al. v.
Governor, et al., Case No.:C09-05796 CW ( N.D. Cal.)” submitted under oath to a federal
district court. Morgan opined that being housed in extremely harsh solitary conﬁnement
(the SHU in California’s Pelican Bay State Prison) for “ten or more continuous years does not
place inmates at substantial risk of serious mental harm” (p. 1; emphasis added), a position
that he supported in part by citing the Colorado study. He described the study as “the most
sophisticated study to date on the topic” of the effects of solitary conﬁnement, claimed it
showed “an absence of adverse effects for segregated inmates” (p. 1), and cited the results
of his own meta-analysis (which was incorporated into Morgan et al. [2016], which I dis-
cuss later in this essay) to buttress his defense of long-term solitary conﬁnement. Similarly,
see the “Expert Report Provided in the Matter of BCCLA and JHS v. AGC, Court
No.:S150415” by Jeremy Mills, PhD, ﬁled in support of the continued use of solitary con-
ﬁnement in Canadian prisons. The Colorado study is described by Mills as “quite likely the
most sophisticated longitudinal study to date examining the effects of segregation on men-
tally ill and non–mentally ill offenders” (p. 13). He also characterized meta-analyses like the
Morgan et al. meta-analysis, of which he was a coauthor, as “a hallmark of the scientiﬁc
process” (p. 12). Mills embraced the Colorado study’s conclusions as supportive of his own,
which were gleaned from his “clinical experience” working in segregation units on behalf
of the Canadian Correctional Service. These included his view that both mentally ill and
non–mentally ill prisoners usually need only “a few days” of “a period of adjustment” to
get used to solitary conﬁnement. He suggested that prisoners placed in solitary conﬁnement
“more frequently” forgo the adjustment period entirely because “they are familiar with the
environment” (p. 14). Neither Morgan nor Mills acknowledged the Colorado study’s numer-
ous fundamental methodological ﬂaws or indicated that the Morgan et al. meta-analysis on
which they relied was based primarily on it.
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little or no adverse long-term impact on inmates” (Government Ac-
countability Ofﬁce 2013, p. 39).
   The Colorado study’s continuing cachet in prison policy making and
important legal circles means that its scientiﬁc bona ﬁdes bear especially
careful analysis. Examining and deconstructing its methodology is a te-
dious but worthwhile exercise because it illustrates the difﬁculty of hon-
oring norms of scientiﬁc rigor in a setting in which conventional research
designs are nearly impossible to implement and necessary trade-offs are
especially costly to the quality of the data collected. I turn to that exercise
in Section II and to a deconstruction of the Morgan et al. (2016) meta-
analysis in Section III.


            II. Interrogating the Colorado Study
Results of the Colorado study appeared in two versions: a lengthy ﬁnal
report to the National Institute of Justice (O’Keefe et al. 2010) and a
short article in the Journal of the American Academy of Psychiatry and
Law (O’Keefe et al. 2013). I mostly discuss the more detailed National
Institute of Justice report.5 I also draw on two depositions, under oath,
of Maureen O’Keefe, the lead researcher, in connection with prisoner lit-
igation concerning Colorado’s “supermax” facility (where much of the
study was conducted). In response to detailed questions, O’Keefe dis-
cussed numerous issues not raised in the report or fully addressed in pub-
lished exchanges following its release.6
   Why the study was undertaken is unclear. Neither of the primary
researchers had prior experience with solitary conﬁnement. Maureen
O’Keefe had a master’s degree in clinical psychology but no prior in-
volvement in research on the effects of isolation. Kelli Klebe was a psy-
chometrician who also had no direct experience with solitary conﬁne-
ment (O’Keefe 2010, pp. 13–14). Yet they designed the study (pp. 77–79).
   The study’s impetus may have come from Larry Reid, warden of the
Colorado supermax prison that housed prisoners assigned to administra-

   5
     A number of brief but highly critical commentaries by prison researchers also ques-
tioned aspects of the methodology: Grassian and Kupers (2011), Rhodes and Lovell
(2011), Shalev and Lloyd (2011), and Smith (2011). See also the response to at least some
of these criticisms by Metzner and O’Keefe (2011).
   6
     The two depositions are Deposition of Maureen O’Keefe, Dunlap v. Zavaras, Civil Ac-
tion no. 09-CV-01196-CMA-MEH, October 5, 2010; and Deposition of Maureen
O’Keefe at 96, 101 Sardakowski v. Clements, Civil Action no. 12-CV-01326-RBJ-KLM,
October 25, 2013.
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tive segregation. O’Keefe indicated that Reid “kept pushing for the
study to be done” and served as a member of the study’s advisory board
(2010, p. 51). A few years before the Colorado study was planned, ad-
ministrators at a Wisconsin supermax had lost a lawsuit over their use
of solitary conﬁnement ( Jones ’El v. Berge, 164 F.Supp. 2d 1097 [W.D.
Wis. 2001]), and Reid apparently wanted to avoid a similar decision. As
O’Keefe (2013, p. 44) observed, “I believe [Reid’s] concern was that
Wisconsin had lost the case and it had severely restricted their ability to
use administrative segregation.”
   The Colorado researchers said that they expected to ﬁnd that admin-
istrative segregation had negative psychological effects: “We hypothe-
sized that inmates in segregation would experience greater psychological
deterioration over time than comparison inmates, who were comprised
of similar offenders conﬁned in non-segregation prisons” (O’Keefe et al.
2010, p. viii). If so, Warden Reid did not appear to share that view. The
Colorado Department of Corrections then housed “three times as many
people in solitary conﬁnement as the average state prison system” (Cor-
rectional News 2012, p. 1). Moreover, O’Keefe (2013, p. 46) acknowledged
that Reid “was very pro administrative segregation and all of us on the
project felt that way.”
   Psychologist John Stoner, the mental health coordinator at the Col-
orado supermax prison, also strongly supported administrative segrega-
tion and served as a member of the study’s advisory board. He had testiﬁed
in the Wisconsin case that administrative segregation was not “as detri-
mental to mental health as others have found it to be” ( Jones ’El v. Berge,
p. 1104). Among other things, Stoner said that he was not troubled by
Wisconsin’s use of “boxcar” cells with solid metal doors that closed off vi-
sual contact and mufﬂed sound because he thought they were “necessary
for the protection of staff and other inmates” (p. 1104). He also observed
in written testimony that prisoners in isolation who appeared to be seri-
ously mentally ill were likely not as sick as other experts indicated; he
speculated that they might be malingering. Although Stoner told the court
in Jones ’El v. Berge that the isolated housing conditions at the prison were
entirely appropriate, the judge disagreed. She held that the Wisconsin fa-
cility was unconstitutionally harsh for mentally ill prisoners and ordered
them removed.
   In any event, the Colorado researchers started out with a seemingly
good idea and what appeared to be a reasonable research design. They
would identify groups of prisoners housed in administrative segregation
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(AS) and in the general population (GP), subdivided into those suffer-
ing from serious mental illness (MI ) and not ( NMI). Their psycholog-
ical status would be tracked for 1 year to determine whether and how the
different groups were affected by different conditions of conﬁnement.7
The characteristics of the AS and GP prisoners were not matched at the
outset but were expected to be more or less comparable because all had
committed rules violations for which they might have received an AS
placement.
   Assignments to AS were thus not random. The researchers reported
that “placement into AS or GP conditions occurred as a function of rou-
tine prison operations, pending the outcome of their AS hearing, with-
out involvement of the researchers. . . . Inmates who returned to GP fol-
lowing an AS hearing were assumed to be as similar as possible to AS
inmates and, therefore, comprised the comparison groups” (O’Keefe
et al. 2010, p. 17). The prisoners whom prison authorities chose to send
to administrative segregation became the treatment group and those re-
turned to the general population became the comparison group (again,
with each group subdivided into those identiﬁed by the prison system as
mentally ill and those not).
   Unfortunately, the plan fell apart almost immediately. The prison
context and “routine prison operations” fundamentally undermined the
research design.

A. Contamination of Treatment and Comparison Groups
   The study’s implementation was compromised in two fundamental
ways. It is important at this juncture to acknowledge the distinction be-
tween mere methodological “limitations”—respects in which a study is
not perfect—and problems that are so fundamental that they make the
resulting data uninterpretable. The two ﬂaws from which the Colorado
study suffered were fatal—separately and in combination.
   1. All Participants Were Exposed to the Treatment. All participants in
the study, including those in the comparison group, were initially placed

   7
     Data for one group of participants—prisoners “with the most acute psychiatric symp-
toms” housed at a psychiatric treatment facility where they lived and interacted with one an-
other “on their living unit” (O’Keefe et al. 2010, pp. 14 –15)— did not bear directly on the
issue of whether and how much prisoners were affected by AS. The researchers included
them separately “to study inmates with serious mental illness and behavioral problems
who were managed in a psychiatric prison setting” (p. 17). The prisoners in this group were
not living in conditions remotely comparable to prisoners housed in conventional GP or AS
units.
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in “punitive segregation,” a severe form of solitary conﬁnement, for un-
speciﬁed but not insigniﬁcant periods, before being assigned to admin-
istrative segregation or the general population. “At the time leading up
to and during their AS hearing,” the researchers acknowledged, “inmates
have typically been in segregation” (O’Keefe et al. 2010, p. 8).8 The rea-
son was that Colorado prison ofﬁcials were required to hold hearings to
determine whether prisoners were guilty of infractions and if so whether
AS punishment was warranted. Prisoners in Colorado as elsewhere are
placed in special housing while they await the outcomes of their disciplin-
ary hearings, often for days or weeks before the process is complete.
Thus, the researchers also noted that “offenders reclassiﬁed to AS remain
in a punitive segregation bed until an AS bed becomes available” (O’Keefe
et al. 2013, p. 50; emphasis added).
   Although this is routine correctional practice, its methodological im-
plications were disastrous. It meant that all members of the comparison
group were exposed to a severe dose of the isolation “treatment” before
the study began. O’Keefe et al. (2010, p. 9) indicated that the punitive
segregation conditions where prisoners were kept while disciplinary pro-
ceedings unfolded were so harsh that they were “only intended to be used
for a short period of time.” This severity distinguished it from AS, which
was intended to be used for much longer periods. Here is how they de-
scribed punitive segregation:

   Punitive segregation offenders remain in their cell for 23 to 24 hours a
   day, only coming out for recreation and showers, both of which are
   located in the living unit. Therefore, most do not leave the unit during
   their segregation time. Services including meals, library, laundry,
   and even medical and mental health appointments occur at the cell
   door. If a situation warrants an offender to be out of cell, the offender
   is placed in full restraints and escorted to a room within the unit

   8
     Why “typically” is unclear. The report indicates that all prisoners (including the GP
comparison groups) were placed in some form of isolation before, during, and shortly after
their AS hearings. It is hard to imagine a procedure in which a prisoner would be taken
directly out of GP, immediately given an AS hearing, and immediately returned to GP,
without having spent time in some form of isolated housing. In fact, the authors reported
that AS participants “on average completed their initial test 7 days (SD p 7.3) after their
AS hearing,” that GP participants on average “were tested 16 days (SD p 18.9) after their
hearing,” and that “on average, 43 percent of inmates . . . [had] been conﬁned in segrega-
tion (40 percent in AS groups and 3 percent in GP groups) for an average of 18.2 days
(SD p 18.1)” (p. 30). These ﬁgures are mathematically impossible. Moreover, they are
at odds with O’Keefe’s deposition testimony and with a statement in a more recent pub-
lished “reﬂection” on the study (O’Keefe 2017).
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  where he or she can meet privately. Many offenders do not like being
  taken out of their cells because of the use of full restraints. Addi-
  tionally, they may not like leaving their cell because ofﬁcers may take
  the opportunity to search the cell for contraband.
     Due to the disciplinary nature of punitive segregation, offenders are
  stripped of most privileges during their stay. Punitive segregation
  inmates are neither allowed to work nor permitted to participate in
  programs or education. Furthermore, their televisions are removed,
  and they cannot order canteen beyond essential hygiene items.
  (O’Keefe et al. 2010, p. 8)

   Punitive segregation prisoners were denied visits, which were consid-
ered too labor intensive for prison staff to administer.
   In contrast to AS, prisoners in punitive segregation also were denied
the opportunity to engage in programming or education and were “un-
able to begin working their way toward leaving segregation” (O’Keefe
et al. 2010, p. 9). Thus, even study participants who wound up in AS likely
experienced punitive segregation as a much worse form of treatment.
   This initial exposure of all participants to an especially harsh form of
solitary conﬁnement in punitive segregation made it impossible to draw
meaningful inferences about any separate, subsequent effects of GP ver-
sus AS. There can be no comparison group in a study in which all of its
participants are subjected to a harsh form of the treatment whose effects
are being measured.
   It is impossible to know whether or how control group prisoners were
damaged by the time spent in punitive segregation and whether those
effects continued throughout the study. Nor could anyone know whether
the AS prisoners were actually relieved to enter the “treatment” because it
was less harsh than punitive segregation. These imponderables could ac-
count for participants’ psychological reactions, including the reported lack
of differences between the AS and GP groups and the reported “improve-
ment” or lack of deterioration of many members of the AS group. This
was thus no longer a study of administrative segregation compared with
no administrative segregation, but of varying and unspeciﬁed amounts
of segregation experienced by everyone.
   A different kind of analysis might have salvaged something by using
the exact periods of overall exposure to administrative segregation–like
conditions (including time in punitive segregation) as a continuous var-
iable to estimate whether duration had an effect. However, the amount
of time in segregation each prisoner experienced is not reported, so this
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kind of analysis was apparently not conducted. O’Keefe et al. (2010)
treated their data as if they had done a classic treatment versus no treat-
ment study, even though they had not.
   The likelihood that initial exposure to punitive segregation condi-
tions had signiﬁcant negative psychological effects on most participants
is more than just speculation. The National Institute of Justice report ac-
knowledged that three of the four groups “showed symptoms that were
associated with the SHU syndrome” from the outset (O’Keefe et al.
2010, p. viii), which seems a clear indication that the initial period of
segregation adversely affected participants before their AS terms began.
High levels of psychological distress measured during or after the pris-
oners’ initial exposure to punitive segregation continued throughout the
study. O’Keefe emphasized in a deposition that prisoners in all groups
reported “pretty high elevations” of psychological distress (2010, p. 171)
and that “clearly, very clearly, the offenders responded with very high
elevations. They reported high levels of psychological distress” (p. 201).
   Symptoms of distress were so elevated that the researchers wondered, and
tried to test, whether the prisoners were malingering: “We had this huge
rate of offenders who looked like they could be malingering” (O’Keefe
2013, p. 89). O’Keefe recognized, however, that high scores on a malin-
gering scale “could indicate a lot of psychological problems.” In the end,
the researchers “didn’t really believe that [the prisoners] were malinger-
ing” and discarded the results of the malingering scale without analyzing
them (p. 89).
   Thus, although the researchers acknowledged that most of the partic-
ipants began the study very much affected by emotional and behavioral
trauma, they seem not to have considered that much of that trauma re-
sulted from time spent in the punitive segregation units. Nor did they
consider that, when participants “naturally got better as time went on”
(O’Keefe 2013, p. 91), it was likely because the conditions of punitive
segregation that all of them had experienced were now alleviated, even
for those who ended up in AS.
   The amount of time that the study participants spent in punitive seg-
regation was problematic, especially because even very brief periods of
isolation can have damaging psychological effects. The United Nations
Special Rapporteur on Torture, Juan Mendez, has noted that “it is clear
short-term solitary conﬁnement can amount to torture or cruel, inhu-
man, or degrading treatment” and recommended that solitary conﬁne-
ment “in excess of 15 days should be subject to an absolute prohibition”
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(2011, p. 23). The United Nations adopted that recommendation in the
“Mandela Rules,” which deﬁned “prolonged solitary conﬁnement” as
lasting “for a time period in excess of 15 consecutive days,” and mandated
prohibition of such prolonged conﬁnement (Commission on Crime Pre-
vention and Criminal Justice 2015, rules 43.1, 44). The National Commis-
sion on Correctional Health Care (2016) also characterized “prolonged
solitary conﬁnement” lasting for more than 15 days as “cruel, inhumane,
and degrading treatment” because it is “harmful to an individual’s health”
(p. 260). Yet all of the prisoners in GP and AS experienced a nontrivial
duration or dose of isolation that lasted well beyond this potentially dam-
aging threshold. A key table in the National Institute of Justice report in-
dicated that, at the time of their ﬁrst test interval, participants had spent
considerable average times in “Other seg”: GP MI prisoners 12.4 days,
GP NMI 39.8 days, AS MI 88.9 days, and AS NMI 90.3 days (O’Keefe
et al. 2010, table 5).
   In her deposition testimony, O’Keefe could not remember exactly how
long study participants remained in punitive segregation before their
charged disciplinary infractions were resolved. At one point, she said,
“When an offender acted out, they were put in punitive seg and gener-
ally given notice of a hearing pretty quickly, and then the hearing hap-
pened, again pretty quickly after that” (2013, p. 93). Later she “guessed”
the time was around “the two week mark” (p. 94). That was not remotely
accurate, according to table 5 in the report, except for the GP MI group.
O’Keefe later offered another estimate, this time that prisoners were kept
in various punitive segregation units “an average of 30 days” before their
initial testing session (2017, p. 2). This, too, is much less time than the
National Institute of Justice report showed. In any event, it appears that
all study participants were subjected at the outset to harsh conditions of
punitive segregation for at least twice as long as the Mandela Rules would
prohibit, even before the study ofﬁcially began.
   2. Uncontrolled Cross Contamination. The second fundamental ﬂaw
was as important as the ﬁrst. It, too, occurred because placement and re-
tention in AS were correctional rather than methodological decisions.
The researchers admitted that they “lack[ed] control over the indepen-
dent variable, which in this case is the conditions of conﬁnement”
(O’Keefe et al. 2010, p. 35). There was, in their words, “contamination
across groups,” because some AS participants “were not conﬁned in seg-
regation for their entire period of participation in the study” and because
some GP participants “may have at some time during their study partic-
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ipation been placed in punitive segregation or even AS” (p. 35). The
researchers also acknowledged that prisoners in the various subgroups
“may have [been in] multiple locations within a study period” (p. 35).9
In fact, not only did participants move between AS and GP, but a num-
ber of them were housed in other conditions during the study, includ-
ing the hospital and “community placement” (p. 36).
   Transferring prisoners back and forth between locations and custody
statuses is routine correctional practice, but it had disastrous methodo-
logical consequences. It meant that some AS prisoners in the study were
released into GP for good behavior, some GP prisoners were placed in
AS (or punitive segregation) for rule violations, and some members of
both groups were transferred to other settings. Having both control and
experimental group members move back and forth between treatment
and control conditions (and other unspeciﬁed places) destroyed the in-
tegrity of the two groups and made it impossible to compare their expe-
riences meaningfully.
   The contamination occurred differently between groups. By the end
of the study, only small and very different numbers of “uncontaminated”
participants were left in each group.10 Methodologically speaking, a true,
a natural, or even a quasi experiment cannot be completed if researchers
lose control of the integrity of their treatment and comparison groups.
The researchers, however, simply aggregated the contaminated prisoners’
data into the groups in which they were originally placed.
   O’Keefe et al. (2010, p. 35) acknowledged that “one of the challenges
of applied research is the researchers’ lack of control over the indepen-
dent variables,” but that admission does not ameliorate the problem. They


  9
    They wrote that “participants remained in their assigned group regardless of their
placements throughout the prison system” (O’Keefe et al. 2010, p. 35), but mean by this
that individual prisoners were considered to be in those groups for purposes of data anal-
yses even though they did not actually remain housed there.
   10
      There were only 26 “pure” cases in the AS MI group (of the original 64), 39 in AS
NMI (of 63), 13 in GP MI (of 33), and only 11 in GP MI (of 43) (O’Keefe et al. 2010,
p. 35). All the others moved back and forth between treatment, control, and miscellaneous
other conditions on an unspeciﬁed number of occasions. Thus two-thirds (52 of 76) of the
GP control participants spent time in segregation or other non-GP settings during the
study period, and their self-reports were used to contrast their prison experiences and re-
actions with those of the AS prisoners, half of whom (62 of 127) spent unspeciﬁed amounts
of time in GP or elsewhere. The “pure” cases were pure only in the sense that they were
not contaminated by moving back and forth between treatment, control, and other condi-
tions during the study. They were still “contaminated” by being exposed to punitive seg-
regation before the study ofﬁcially began.
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nonetheless asserted that “a signiﬁcant advantage of this study is the use
of comparison groups to determine if [persons in AS] change over time dif-
ferentially compared to similar groups who are not placed in AS” (p. 59).
However, they did not compare similar groups and thus can reach no con-
clusions about differences in the groups’ experiences.
   In fact, it is impossible to conclude anything meaningful from the Col-
orado results. Lovell and Toch (2011, p. 4) in their initial commentary
on it correctly concluded that “despite the volume of the data, no sys-
tematic interpretation of the ﬁndings is possible.”


B. Additional Serious Flaws
   The researchers’ inability to maintain control of key aspects of their
research created numerous additional methodological problems. These
problems further negated the possibility that any credible or meaningful
ﬁndings would emerge from the study.
   The additional problems pertained to how the participants were se-
lected and how the various groups were composed, what the research-
ers recorded (or failed to record) about the experiences of members of
the different groups, and questionable data collection procedures. Most
stemmed from unyielding correctional realities and some from unwise
methodological choices.
   1. Sampling and Group Composition. The initial sample was drawn
from among prisoners deemed eligible for the study by virtue of having
received a disciplinary write-up and scheduled hearing to determine
whether they would be placed in AS or returned to GP. The initial group
of eligible prisoners was much larger than the number selected to partic-
ipate. The decision about whom to approach was made single-handedly
and, as she would characterize it, “haphazardly” by O’Keefe: “I would de-
termine who we used, who we included in our study” (2010, p. 116).
   The major consideration for inclusion was proximity to the ﬁeld re-
searcher: “We had one researcher, so we had to be able to manage her
workload” (O’Keefe 2010, p. 116). She described the process as “hap-
hazard selection. . . . We didn’t do it in a random fashion, but we didn’t
necessarily do it in a very targeted fashion either” (p. 116). Participants
were drawn from only 10 of Colorado’s 26 men’s GP prisons (O’Keefe
et al. 2013, p. 51). A disproportionate number came from Limon Cor-
rectional Facility “[because] it’s fairly close” (O’Keefe 2013, p. 66). This
was not mentioned in either the National Institute of Justice report or
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the briefer published version of the study. If there was anything signiﬁ-
cantly different about that prison, for example, if its punitive segregation
unit (where participants were housed before the study began) was espe-
cially harsh or its GP units (to which many participants were returned)
were particularly dangerous, troubled, or inhumane, then a dispropor-
tionate number of prisoners would have been affected by being held
there.11 There is no way to tell.
   There was also unexplained and unnecessary imprecision in the com-
position of the groups. In addition to being composed of persons sub-
jected to punitive segregation immediately before they entered GP, the
GP group began as an amalgam of prisoners who subsequently lived un-
der different conditions of conﬁnement. Thus, “thirteen participants in
the GP groups were selected from the diversion program (for being at
risk of AS placement)” (O’Keefe 2010, p. 30). The report elsewhere im-
plied that all of the prisoners were at risk of AS placement because all had
AS hearings; apparently that was not true, and some were “diverted” out
of the process entirely.
   A potentially more serious problem concerned the composition of the
AS group. O’Keefe et al. (2010, p. 8) asserted that “Colorado does not
house protective custody; therefore, no AS placements occur at the re-
quest of inmates.” This is a correctional non sequitur. Colorado may
not ofﬁcially house protective custody inmates, but they exist in every
American prison system. Protective custody inmates often end up housed
in AS, whether or not they formally request it. In the Colorado study, an
unusually large group of AS participants were identiﬁed as having sex
offender needs: 30 percent of the AS NMI prisoners and 44 percent in
the full AS group (p. 45). In other prison systems, many, possibly all, such
prisoners would be protective custody cases. To be sure, protective cus-
tody prisoners are subject to the painful and potentially harmful effects of
social and sensory deprivation. However, they are in a very different sit-
uation psychologically than prisoners placed in AS for punishment. Pro-
tective custody prisoners typically prefer to be housed in AS-type condi-
tions instead of what they regard as more dangerous GP environments.
As a result, they are likely to be reluctant to voice complaints about living


  11
     O’Keefe understood the implications of the sampling methods. Concerning work by
others on the effects of administrative segregation, she wrote, “Of particular concern is
that sampling procedures are often not discussed, and thus it is impossible to know if
the ﬁndings were based on a representative sample” (2008, p. 127).
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conditions or adverse emotional reactions, lest they be moved. That a
third of the AS NMI prisoners and nearly half of the AS group overall in
the Colorado study were probably protective custody cases undermined
any straightforward interpretation of the data.
    Gang members presented a similar problem. Thirty percent of AS MI
prisoners and 43 percent of those in the AS NMI group were identiﬁed
as gang members (O’Keefe et al. 2010, table 9). Being a gang member
would ordinarily reduce a prisoner’s willingness to report psychological
distress because that would be a sign of vulnerability that might be inter-
preted as weakness.
    Thus, nearly three-quarters of both the mentally ill and non–mentally
ill AS prisoners were likely protective custody cases or gang members.
Yet the researchers ignored the implications of this entirely.
    2. Uncontrolled Differences in GP Conditions. The control condition—
GP—referred to placement in one of 10 different prisons. However,
none of the speciﬁc conditions of conﬁnement at any of those prisons is
described.12 Variations in GP environments matter because, obviously,
unless all GP prisoners experienced the same environment, they were
not really in the same condition. If some of the GP environments were
so troubled, dangerous, and harsh that they approximated or were worse
than conditions in AS, it would be impossible to make meaningful com-
parisons.
    A disproportionate number of study participants were housed in the
Limon Correctional Facility (O’Keefe 2013, p. 66). This appears to have
been an especially troubled prison when the study was conducted. In
2010, a journalist wrote about “Limon’s long history of inmate violence,
including two fatal stabbings in ﬁve years and the beating death of a cor-
rectional ofﬁcer” (Mitchell 2010).13 The prison’s 5-year violent history
encompassed the entire period of the Colorado study from July 2007
through March 2010 (O’Keefe et al. 2010, p. vii). This meant that many
study participants came from (and GP comparison group prisoners re-
mained in) an especially harsh and dangerous GP environment, per-
haps one as psychologically stressful as an AS unit. In fact, Limon’s vi-

  12
     The published article indicated only that “GP inmates have access to signiﬁcant out-
of-cell time (e.g., 110 hours/day), jobs, and programming” (O’Keefe et al. 2013, p. 51). No
additional information about the GP environments was provided.
  13
     There were also allegations that in 2008 sex offenders at the prison were targeted by
gang members who extorted them to pay “rent” and repeatedly threatened and assaulted
them (Davis v. Zavaras, 2010 WL 625043 [ D. Colorado 2010]).
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olent history may have been serious enough to have precipitated recurring
violence-related lockdowns (e.g., Associated Press 2007), including in
the GP units where some of the control inmates were housed. None of
this was commented on or taken into account.
   3. Uncontrolled Differences in AS Conditions. Colorado study AS par-
ticipants were ostensibly in the same study condition but were none-
theless exposed to very different conditions of conﬁnement. These dif-
ferences were not recorded or quantiﬁed and thus could not be taken
into account. First, as I noted, all study participants experienced varying
amounts of a harsh form of prison isolation, punitive segregation, before
the study began. For a signiﬁcant number (apparently, the majority) of the
AS prisoners, that continued for a quarter or more of the length of the
study. Thus, “When the study began, there was a 3-month average wait
for inmates to be transferred to [AS],” which was “due to a shortage of
beds. While on the waitlist, AS inmates were held in a punitive segrega-
tion bed at their originating facility” (O’Keefe et al. 2010, p. 19).
   The median stay in punitive segregation for AS participants was re-
ported as 99 days (which means that half were longer), although a very
small group of prisoners were moved “quickly” into AS. Despite these
very different periods in prestudy punitive isolation, all AS participants
were lumped together for purposes of analysis.14
   There was additional imprecision about how much and what kind of
isolation any one AS participant experienced. Some “were not conﬁned
in segregation for their entire period of participation in the study” but were
released into GP or other less onerous settings (O’Keefe et al. 2010, p. 19).
   However, even beyond this, it is impossible to know exactly what con-
ditions of conﬁnement were experienced by participants who remained
in AS throughout the study. The reason is that Colorado’s AS program
operated a “level” system in which a prisoner’s “quality of life” (QOL) var-
ied as a function of behavioral compliance and programming. Changes
in QOL were meant to be incentives for compliance with unit rules and
eventual reassignment to GP. The average length of AS stay was said to
be 2 years, with the expectation that prisoners would spend at least 1 year
in AS. However, the minimum stays speciﬁed for the QOL program

   14
      The “distance between when they were ad-seged and when they went to CSP became
longer and longer because of the wait list in DOC” (O’Keefe 2010, p. 108). An unspeciﬁed
but not insigniﬁcant number of administrative segregation prisoners “were held in the pu-
nitive segregation bed but classiﬁed as ad-seg. And that’s the—for the study average to be
about 90 days, but people could be there pretty short, pretty long” (p. 109).
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envisioned much shorter stays: 7 days at level I, 90 at level II, and 90 at
level III—187 days altogether—after which prisoners were eligible for
consideration for reassignment back to GP (O’Keefe et al. 2010, p. 11).
   Providing achievable incentives for good behavior and early release
from AS are sensible correctional practices. However, they, too, further
compromised any meaningful interpretation of the study results.
   This methodological problem was signiﬁcant because the differences
in QOL at different levels of AS were substantial. The researchers ac-
knowledged that “it was expected that [prisoners in AS] might experi-
ence varying amounts of isolation based on the amount of time spent
at different [QOL] levels” (O’Keefe et al. 2010, p. 40). But these varying
amounts of isolation were not documented or taken into account.
   O’Keefe acknowledged that the researchers initially wanted informa-
tion from prison staff on participants’ out-of-cell time, “to track every
time they left their cell,” but could not obtain it because the data “just
were not coded consistently or every time” by correctional ofﬁcers (2013,
p. 55). That meant that the researchers were unable to track the basic
facts of whether, when, and for how long any one prisoner was at one
or another AS level or incorporate these data into their analysis (p. 60).
O’Keefe et al. (2010, pp. 40 –41) reported that staff records yielded “con-
ﬂicting information,” and “it was often difﬁcult to decipher and/or in-
terpret the records.” Thus, “it was not possible to code or use [them] in
the study.”
   4. Failure to Control or Record Treatment Dose. There was more to
these uncontrolled and unrecorded variations than just minor differences
in the amount or duration of isolation. The variations in isolation in the
AS condition—including for the relatively few prisoners who stayed in
AS continuously—were very signiﬁcant. The QOL level III AS prisoners
were given additional privileges and allowed to have jobs as orderlies or in
the barbershop. This permitted signiﬁcant out-of-cell time, during
which the prisoners were presumably unrestrained and in contact with
others.15 These opportunities are rare in prison AS units anywhere and


   15
      As O’Keefe et al. (2010, p. 12) noted, “Arguably one of the most important beneﬁts
of QOL level three is an offender’s ability to have more contact with friends and family.
While offenders’ visits remain noncontact, they are increased to four 3-hour visits per
month and four 20-minute phone sessions. . . . One additional beneﬁt is that offenders
may now be eligible to work as a porter or barber. . . . Beneﬁts to being offered a job po-
sition include the ability to earn money, increased time out of cell, and two additional
phone sessions per month.”
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constitute a signiﬁcant modiﬁcation in the nature of the isolation experi-
enced by an unspeciﬁed number of AS prisoners. They introduced even
more heterogeneity into the “same” condition in the study than already
existed.
   The researchers also noted that an AS prisoner who acted out could
be even more signiﬁcantly locked down by being placed “on special
controls in the intake unit where he can be carefully monitored” and “ad-
ditional sanctions may be imposed through the disciplinary process”
(O’Keefe et al. 2010, p. 13).
   None of these and other variations in actual day-to-day conditions of
conﬁnement were taken into account. The researchers also did not re-
cord and were unable to estimate other basic, important variations in
the experiences and treatment of the study participants. These included
the number of social or family visits prisoners had, visits from attorneys
(O’Keefe 2010, p. 164), and the nature or amount of mental health ser-
vices the prisoners (including those who were mentally ill) received. As
O’Keefe summarized, “We did not look at any facet of segregation or
correctional conditions that might affect the outcome of the study. We
merely looked at, based on their conditions of conﬁnement—that is,
whether they had originally been coded ‘AS’ or ‘GP’—and then noted ‘if
they reported worse change over time’ ” (p. 207). But whether a prisoner
had originally been coded AS or GP did not indicate what “conditions of
conﬁnement” he had experienced in the course of the study.

C. Miscellaneous Data Collection Problems and Issues
   In addition, there were very serious problems with how the Colorado
researchers initially structured and eventually implemented the data col-
lection process as well as with the dependent measures they used. Some of
these problems were the product of the challenging nature of the prison
environment. Others were not.
   1. A Single, Inexperienced Field Researcher. Almost all the data collec-
tion was done by one inexperienced research assistant who had only a
bachelor’s degree, no graduate training, and no prior experience working
with prisoners or in a prison setting. She was single-handedly responsible
for conducting ﬁve to six separate testing sessions in which she adminis-
tered between 10 and 12 separate tests with each of 247 participants in
10 different prisons.
   The data collection was unusually challenging. O’Keefe noted, “Say
when she was at CSP [the AS facility], she might have a whole bunch
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of [participants] and she would go back and forth checking to make sure
that they were all right, and administering the questionnaires when she
needed to” (2010, p. 118). Yet no one oversaw her day-to-day work
(p. 130). O’Keefe had no recollection of ever observing her administer-
ing the tests and indicated Klebe did not (2013, p. 85).
   2. Solicitation and Consent. When prisoners’ participation and con-
sent were solicited, they were told, somewhat misleadingly, that “we’re
looking at how inmates across the entire DOC are adjusting to prison
life” (O’Keefe 2010, p. 199). O’Keefe characterized this as “being cau-
tious without being dishonest” (p. 200). The consent form told prisoners
that the “risks of this study to you are very small in contrast with the
beneﬁts that are high. This study will help us to ﬁgure out what types of
men adjust better to prison and how to help those who are struggling
with prison life” (O’Keefe 2013, pp. 81–82). This, too, was misleading.
The study was not about the types of men who adjust better to prison
and how to help them. Moreover, no consideration was apparently given
to the possibility that prisoners might want to appear to be “adjusting”
rather than “struggling.” This would apply with special force to AS pris-
oners, hoping to advance their QOL level and with that gain additional
privileges and earlier release from the unit.
   3. Prison Employee? The ﬁeld researcher had to complete “the full
CDOC [Colorado Department of Corrections] training academy” and
at all times was required “to wear a visible CDOC badge that permitted
her unescorted access to the facilities” (O’Keefe et al. 2010, p. 28). Al-
though O’Keefe was “not sure” how the ﬁeld researcher introduced her-
self to prisoners, she conceded that “it could be” that prisoners thought
the ﬁeld researcher was a DOC employee (2010, p. 125).
   Prisoners in general, and especially in AS units, are typically reluctant
to conﬁde in prison staff (including even mental health staff ) because
of potential adverse consequences. Those consequences can include in-
creased surveillance, placement in degrading “suicide watch” cells, or
transfer to or retention in some other form of AS. For these reasons,
prisoners frequently avoid admitting that they feel suicidal, depressed,
frightened, angry, panicky, out of control, or violent.
   That prisoners could reasonably infer that the ﬁeld researcher/prison
employee was checking on their “adjustment” is likely to have dampened
their willingness to disclose sensitive feelings. This possibility is no-
where discussed. Despite the fact that while the study was under way,
O’Keefe acknowledged awareness of the fraught nature of prisoner-staff
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relations, especially in AS units: “Administrative segregation facilities
are characterized by the complete control exerted over inmates by cor-
rectional staff. The typical ‘we-they’ dynamic between inmates and staff
is exacerbated in segregated settings where inmates have almost no con-
trol over their environment. Prisoner abuses have been discovered and
punished in administrative segregation settings, but in other situations
Human Rights Watch found that ‘management has tacitly condoned the
abuse by failing to investigate and hold accountable those who engage in
it’ ” (2008, p. 126; internal citations omitted).
    4. Undermining Trust. Little was done to overcome what O’Keefe
described as the “we-they” dynamic that she believed was likely to be ex-
acerbated in prison AS units. Two related problems with the Colorado
study likely exacerbated the effects of this dynamic. The ﬁrst was an er-
ror of omission: no interviews were conducted to establish rapport with
prisoners. O’Keefe indicated that “it was not part of the study to probe
and ask them [the prisoners] about themselves” (2013, p. 75). Without
rapport-building interactions, prisoners in the study were unlikely to have
had much conﬁdence that the ﬁeld researcher was interested in their
well-being or that personal revelations would be handled with sensitivity.
    The second problem is more troubling. The ﬁeld researcher was ap-
parently required (or decided on her own) to challenge prisoners if she
thought their answers were “questionable” or “untruthful, or if she
found the pattern of their responses abnormal” (O’Keefe et al. 2010,
p. 36). There was no explicit or systematic protocol by which this judg-
ment was reached (none is described). In any event, the ﬁeld researcher
reviewed the prisoners’ responses on the spot, in their presence, every
time they completed a questionnaire. If she was skeptical, the prisoner
was asked to redo the test. Prisoners could decide to redo the test or
not, but “if the participant said he was being honest and the researcher
still did not believe him, she marked the test as questionable” (p. 36).
    These practices potentially created very signiﬁcant data quality prob-
lems. They not only jeopardized the development of rapport or trust but
also increased the chances that prisoners would give situationally desir-
able answers. In addition, the problems likely extended to more prison-
ers than only those who were challenged directly, but to other prisoners
who learned through word of mouth that they would be asked to redo
their questionnaires if the researcher was skeptical of their answers.
    5. “Untruthful” and Other Questionable Data. Twelve percent of par-
ticipants “had a questionable response pattern on any measure at any
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time period” (O’Keefe et al. 2010, p. 36). It is unclear whether that ﬁgure
included all participants who were asked about their answers or only
those whose answers were marked “questionable.” If challenged pris-
oners admitted being untruthful and redid the questionnaire, the sec-
ond versions of their answers were incorporated into the study data.
However, even if the ﬁeld researcher was skeptical and prisoners chose
not to redo their questionnaires, “we still included that in the study. . . .
In order to increase our statistical power . . . we left those cases in”
(O’Keefe 2010, p. 166).
   In addition, 23 participants withdrew their consent and dropped out
before the study was completed. However, their data were retained and
used in the overall analyses (O’Keefe et al. 2010, p. 19). The dropouts
constituted nearly 10 percent of the 247 participants. This meant that, in
total, more than 20 percent of the participants whose data were included
in the study results were adjudged to have given untruthful responses or
withdrew from the study.
   6. An AS “Heisenberg Effect”? The repeated testing procedure changed
the conditions of conﬁnement, especially for AS prisoners otherwise sub-
ject to extreme social deprivation. The six interactions of approximately
an hour each between the ﬁeld researcher and the prisoners, no matter
how strained or superﬁcial they might have been, increased the other-
wise minimal social contact that AS prisoners had with people outside
the segregated housing unit.16 In many prison systems, there are many
AS prisoners who get no visits at all. The mere act of repeatedly attempt-
ing to measure the effects of severe conditions of isolated conﬁnement
can change them, if only slightly, for the better.
   7. Miscellaneous Issues. There were other irregular, questionable, and
unexplained research decisions and data anomalies. Exactly why prisoners
were assigned to AS or GP was not indicated, even though this was how
the treatment and control groups were created. Assignment to AS was ap-
parently nearly automatic: no more than “approximately 10 percent of
hearings do not result in AS placement” (O’Keefe et al. 2010, p. 17). This
raised questions, never addressed, about what accounted for the unusual
outcome in the case of the group that was returned to GP.


  16
     It apparently exceeded the contact AS MI prisoners had with mental health staff:
“Offenders with mental illness who are stable are offered a one-on-one session at least
once every 90 days,” which takes place “in a noncontact booth in the visiting room”
(O’Keefe et al. 2010, p. 11).
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   Nor were reasons discussed for why the NMI prisoners who returned
to GP had more disciplinary infractions (average 16 each) than those
sent to AS (13.2 average). Nor were reasons discussed for why AS MI
prisoners had 70 percent more disciplinary infractions on average than
the AS NMI inmates (22 infractions compared with 13.2; O’Keefe et al.
2010, table 9). Nor was there discussion of the effects of exclusion of
prisoners from the study who did not read English at an eighth-grade
level on the representativeness of the ﬁnal group of participants, especially
with respect to ethnicity and the prevalence of cognitive impairments.

D. Troubling Dependent Measures
   There were also serious problems in the handling of dependent var-
iables in the study. Dependent measures were said to have been selected
on the basis of several important criteria. However, the ﬁrst two criteria
the researchers identiﬁed—“(1) use of assessments with demonstrated
reliability and validity, (2) use of multiple sources for providing infor-
mation (e.g., self-report, clinician ratings, ﬁles)” (O’Keefe et al. 2010,
p. 19)—did not apply to the dependent measures that were actually used
in the analyses.
   1. Unvalidated Scales and Instruments. Some of the study’s scientiﬁc
bona ﬁdes were based on its claimed use of validated and objective as-
sessment instruments. The researchers asserted that “the use of a reli-
able and valid standardized measure in the present study enabled objec-
tive assessment of psychological functioning” (O’Keefe et al. 2013, p. 57).
   Indeed, O’Keefe acknowledged that “inaccurate judgments” could be
made if instruments were not properly validated (2010, p. 22). However,
she later conceded that only “a very low number” of the numerous scales
and measures used, perhaps no more than one or two, had been normed
or validated with a prisoner population (pp. 144 –45).17


   17
      There was no evidence that even the Brief Symptom Index ( BSI), on which the
researchers relied exclusively in the published version of the study, O’Keefe et al. (2013),
had ever been validated with a prisoner as opposed to a “forensic” population. One study
that the authors cited to support its psychometric properties ( Kellett et al. 2003) con-
cerned the BSI’s reliability with persons suffering from intellectual disabilities and did
not include a representative sample of prisoners (the “forensic” portion of the sample con-
sisted of 45 “intellectually disabled” convicted persons who were “detained in a maximum
security hospital” [p. 129]). The second, Boulet and Boss (1991), was a study of “psychiatric
inpatients and outpatients who presented for evaluation at the forensic service of a psychi-
atric hospital” ( p. 434). The third, Zinger, Wichmann, and Andrews (2001), focused on
prisoners but did not report reliability or validity data for the BSI.
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   2. “Constructs” That Could Not Be Interpreted or Compared. The near-
exclusive reliance on prisoners’ self-report assessments was problematic
because the researchers chose to separate the various scales into their
component parts and then recombine items into eight separate “con-
structs.” Instead of reporting scores on the instruments or scales them-
selves, only the constructs built from them were presented as standard-
ized composite rather than numerical scores (O’Keefe et al. 2010, p. 22).
This meant that the signiﬁcance of reported overall trends and compari-
sons between groups was, as Lovell and Toch (2011, p. 4) put it, “difﬁ-
cult to assess because of the degree to which the data have been cooked.”
   There are a number of unanswered questions concerning construc-
tion of composite scales including their basic validity (whether the in-
struments measured what they purported to measure), whether the var-
ious subscales were reliable for this population, and whether the
distributions of scores lent themselves to the statistical manipulations
and recombinations that occurred. Transformations to the data, the num-
ber of instruments, items, and constructs, and the amount of scale and
subscale reconstruction that occurred make the results difﬁcult to put in
the context of any larger literature using the same self-reported assess-
ments.
   3. Ignoring Behavioral Data. Researchers who use many rating scales
(especially ones not validated for the particular population) generally use
other methods of data collection as a validity check. The most basic is a
face-to-face interview to establish rapport and acquire background in-
formation. When possible, behavioral data (by records reviews or behav-
ioral rating scales completed by others) are included. These different
sources of information should be reconcilable, and the interviews provide
the glue that binds them. Prison researchers typically take things prisoners
say to them very seriously, in part because they contextualize other things
being measured or studied. However, no interviews were conducted in
the Colorado study, and little or no special effort appears to have been
expended to establish rapport. Instead, the researchers engaged in context-
free coding and analysis of answers on prepackaged forms associated
with tests not typically used with this population. As Lovell and Toch
(2011, p. 3) observed, “Readers ﬁnd themselves swimming in a ﬂood
of psychometric data; every so often a clue drifts by, lacking, however,
a tether to the context—to what was going on around the prisoners and
staff while they carried out this study—we are left to guess what it might
mean.”
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   Other kinds of data collection were contemplated including asking
corrections ofﬁcers and clinicians to complete rating scales: “The Brief
Psychiatric Rating Scale was completed by clinical staff and the Prison
Behavior Rating Scale was completed by correctional ofﬁcers and case
managers” (O’Keefe et al. 2010, p. 26). However, key details about this
process were omitted (i.e., exactly who was supposed to complete scales,
when, and with what kind of training). In the end, it did not matter. The
rating scales were infrequently completed and the responses were too un-
reliable to be useful. The data were discarded. The researchers ultimately
relied only on data from prepackaged, ﬁeld researcher–administered rat-
ing scales.
   There was one potential exception. Prison mental health staff kept of-
ﬁcial accounts of genuine psychiatric emergencies or “crisis events.” Any
situation that required “immediate psychological intervention is consid-
ered a crisis event; crisis events are documented by clinicians” (O’Keefe
et al. 2010, p. 42). Because these are typically extreme, clinically signiﬁcant
events, they tend to be reliably recorded. If the prisoners’ self-reporting
was valid, the results should be more or less consistent with behavioral
measures of psychological distress or crisis. In the Colorado study, they
were not. Among the 33 GP MI prisoners for whom data were reported,
there were only three “crisis events” (on average, one for every 11 in-
mates). Among the 64 AS MI prisoners, there were 37 “crisis events”
(one for every two; O’Keefe et al. 2010, ﬁgs. 29, 30). This suggests that
at least some mentally ill prisoners were doing much worse in AS than
their counterparts were doing in GP.
   The researchers dismissed the implications of this incongruity: “Be-
cause the number of participants who experienced a crisis event was so
small, it was not possible to include this variable as an outcome measure
in the change over time analyses” (O’Keefe et al. 2010, p. 42). Thus the
signiﬁcant disparity between self-reports and the behavioral measures
was ignored, even though it directly contradicted the study’s main ﬁnd-
ing that AS did not adversely affect the mental health of mentally ill
participants. Instead, as they put it, because the mental health crisis data
“raise more questions than they provide answers,” they were deemed
“outside the scope of the current research” (p. 42).
   In sum, for all of the above stated reasons, the Colorado study is so
methologically ﬂawed that literally no meaningful conclusions can be drawn
from it. Drastic compromises necessitated by the complex realities of the
prison setting and a series of questionable methodological decisions made
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by the researchers rendered its results uninterpretable. The Colorado
study was not the “most sophisticated” study done to date on the psycho-
logical effects of solitary conﬁnement. Its results do not “need to be taken
seriously,” but cannot be taken for anything at all. Commentators who
have praised the study either did not read it very carefully, were unaware
of available sources of information on how it was actually conducted, or
did not seriously consider the implications of its fundamental ﬂaws.
   Ordinarily, a study of this sort would die a quiet death, notwithstanding
an occasional prison system’s attempt to resuscitate it to defend question-
able segregation practices or a scholar overlooking its ﬂaws because its
ﬁndings comport with his or her own views. However, it has recently been
given a second life, ﬁguring prominently in a recently published meta-
analysis (Morgan et al. 2016). Its results threaten to live on in another
form and to misrepresent the ﬁndings of the large, long-established, and
frequently reconﬁrmed literature on the harmful effects of solitary con-
ﬁnement.


             III. The Limits and Dangers of Meta-Analysis
Meta-analysis—“a quantitative method of synthesizing empirical research
results in the form of effect sizes” (Card 2012, p. 7)—is an important meth-
odological advance that allows researchers to estimate the overall mag-
nitude of relationships between variables. However, it cannot substitute
for careful narrative reviews of scientiﬁc literature. Meta-analysis comes
with substantial limitations, especially for prison research. The prison set-
ting rarely lends itself to collection of meaningful quantitative data capa-
ble of generating the kinds of effect sizes on which meta-analyses depend.
Most classic book-length treatments of prison life have been primarily
ethnographic—not quantitative at all. They contain few if any numerical
data, including in the seminal American works by Cressey (1940), Sykes
(1958), Toch (1975, 1977), Jacobs (1977), and Irwin (1980) and major
comparable British works including Cohen and Taylor (1972) and Crewe
(2009).
   Similarly, few quantitative effect sizes appear in studies of solitary
conﬁnement. This is true of the studies that tell us much of what we know
about these institutions, how they operate, and the lengths to which
prisoners must go in order to survive inside them, including those from
Rhodes (2004), Shalev (2009), Reiter (2016), and Kupers (2017). It is also
true of most of the numerous studies of the negative psychological con-
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sequences of prison isolation that are discussed in the most-often-cited
literature reviews. The nature of the settings and the routine prison op-
erations that govern them make many kinds of conventional research
designs impossible to implement.
   Because the best prison research is qualitative, or does not lend itself
to generating effect sizes, meta-analyses conducted on many important
prison topics will be compromised by serious sample bias, resulting in
“the drawing of inferences that do not generalize to the population of in-
terest (typically all research conducted on the topic)” (Strube, Gardner,
and Hartmann 1985, p. 66).
   The concern is not only that meta-analyses on important prison topics
almost invariably ignore or underrepresent the larger literature, but also
that they privilege certain kinds of studies far beyond their actual scien-
tiﬁc merit, and do so in a way that many readers are unlikely to appreciate.
One critique rightly observed that readers “might not be motivated to
look beyond the meta-analyses themselves due to conﬁdence in the ob-
jective, straightforward nature of the tasks of conducting a meta-analysis,
reporting ﬁndings, and making recommendations” (Coyne, Thombs,
and Hagedorn 2010, p. 108). Reducing entire studies to single or multiple
effect sizes almost invariably creates a false equivalency between them.
Readers can easily be mesmerized by arrays of numbers that appear sim-
ply and accurately to represent highly complex and substantially different
underlying realities.
   The two meta-analyses contained in the Morgan et al. (2016) article
suffer from all of these problems and more. They need to be scrutinized
carefully because of the stakes involved and the possibility that they will
mislead correctional decision makers and policy makers by their “sur-
prising results,” ones that, as the authors say, “do not ﬁt with people’s
intuitive analysis of what happens when you isolate offenders” in solitary
conﬁnement. The resulting conclusions are indeed “in marked contrast
to the ‘ﬁery opinions’ . . . commonly presented in the scientiﬁc and ad-
vocacy literature” in which solitary conﬁnement “has been likened to tor-
ture, with debilitating consequences” (p. 455). They warrant conscien-
tious examination.


A. Truncating the Scope of Literature Reviewed
  The ﬁrst problem with Morgan et al. (2016) is the tiny number and
unrepresentative nature of studies included in its two separate meta-
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analyses. Literature reviews, whether narrative or meta-analytic, are use-
ful only if they faithfully represent the literature being examined. As
Card (2012, p. 10) put it, “If the literature reviewed is not representative
of the extant research, then the conclusions drawn will be a biased rep-
resentation of reality.” Morgan et al. (2016) excluded a vast number of
published studies, including most of the key works.
   The ﬁrst meta-analysis, “Research Synthesis I,” reported that over
90 percent of the published material that they found on the topic was
eliminated: “Of the 150 studies located, only 14 (or 9.3 percent) were
suitable for analysis according to our inclusion criteria” (Morgan et al.
2016, p. 442). The second meta-analysis, “Research Synthesis II,” began
with an astonishing 40,589 articles, which were reduced by “trained re-
search assistants” using unspeciﬁed methods to 61. A “trained research
assistant” then used unspeciﬁed methods to reduce that number to 19
(0.05 percent of the initial literature; pp. 442–43).
   A meta-analysis that includes so little of the available relevant litera-
ture is not a synthesis of much of anything. In addition to the drastic re-
duction in the sheer number of articles included, the selection criteria
used by Morgan et al. (2016) excluded key studies but included ques-
tionable other ones. Among the articles excluded is Grassian (1983), re-
garded as one of the seminal studies on the adverse effects of solitary
conﬁnement. Morgan et al. also ignored most of the work discussed
in widely cited literature reviews by Haney and Lynch (1997), Haney
(2003), Grassian (2006), Smith (2006), and Arrigo and Bullock (2008).
   Despite the small numbers of studies included, tables reporting effect
sizes seem to suggest that a vast number of studies were taken into ac-
count. A closer look reveals something different. Many of the studies
have little or nothing to do with the key question of whether and when
solitary conﬁnement is psychologically harmful. Morgan et al. (2016) in-
cluded studies that addressed medical outcomes, and behavioral outcomes
such as recidivism and institutional misconduct, that have not been widely
studied and are not central to understanding solitary conﬁnement’s psy-
chological effects. Thus, despite the drastic reduction in overall number
of studies, many of the studies actually included were simply beside the
main point.
   When the largely irrelevant studies are set aside, only six studies on
the psychological effects of solitary conﬁnement remain in the ﬁrst meta-
analysis and 10 in the second. Two in the ﬁrst were excluded from the sec-
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ond and six others were added.18 No explanation is given for why differ-
ent sets of articles appeared in the two meta-analyses. In any event, the
truncated set of 12 studies was not remotely representative of the larger
scientiﬁc literature on the psychological effects of solitary conﬁnement.

B. Overreliance on the Colorado Study
   Even “the most thorough sampling and complete data recovery can-
not make up for basic limitations in the data base” (Strube, Gardner, and
Hartmann 1985, p. 68). Indeed, “An experiment that is deﬁcient in ei-
ther statistical conclusion validity, internal validity, or construct validity
is meaningless and, therefore, worthless. Consequently, it should not be
used” (Chow 1987, p. 266). Notwithstanding these basic methodologi-
cal truisms, tables 2 and 4 in Morgan et al. (2016) reveal that both meta-
analyses relied primarily on the fatally ﬂawed Colorado study. It pro-
vided the bulk of the effect sizes on which their overall conclusions were
based.
   Thus, in the ﬁrst meta-analysis, I counted 24 of 50 relevant effect sizes
on “psychological outcomes” that came from the Colorado study. In the
second meta-analysis, 140 of 210 effect sizes came from the Colorado
study.19 Because of its sample size, the weights given to the multiple ef-
fect sizes from the Colorado study dwarf those of most of the other stud-
ies included.
   As tables 2 and 4 in Morgan et al. (2016) make clear, they repackaged
the Colorado results in a way that allowed them to dominate the analy-
ses.20 Thus, when they claimed that their results “are even more compel-
ling when one considers that primary studies with the strongest designs
produced much smaller effects,” they were referring primarily to the un-

  18
      The ﬁrst (Morgan et al. 2016, table 2) included six studies that explicitly addressed
psychological effects of solitary conﬁnement: Ecclestone, Gendreau, and Knox (1974),
Suedfeld et al. (1982), Miller and Young (1997), Zinger, Wichmann, and Andrews (2001),
Andersen et al. (2003), and O’Keefe et al. (2010). The second (Morgan et al. 2016, table 4)
added six studies: Walters, Callagan, and Newman (1963), Miller (1994), Coid et al. (2003),
Cloyes et al. (2006), and Kaba et al. (2014); but it omitted Suedfeld et al. (1982) and Andersen
et al. (2003).
  19
     “Anti-social indicators” such as “re-admission” and “behavior” like re-arrest and
“physical health” outcomes were omitted from this calculation of psychological effects.
  20
     Zinger, Wichmann, and Andrews (2001) accounted for another four effect sizes in ta-
ble 2 and 30 in table 4. It too is fundamentally ﬂawed, as I explain in the next section. By my
count, it and the Colorado study account for 28 of 50 relevant effect sizes in the ﬁrst meta-
analysis and 170 of 210 in the second.
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interpretable O’Keefe et al. (2010) study. However, few if any of the fun-
damental defects of the Colorado study were even mentioned and none
was seriously engaged. Instead, the authors simply described the Colo-
rado study as “the most sophisticated study” ever done on the topic (Mor-
gan et al. 2016, p. 441) and relied on it for the bulk of their conclusions.21

C. Including Other Methodologically Flawed Studies
   There are serious problems with a number of the other studies included
in the Morgan et al. (2016) analyses. For example, Zinger, Wichmann,
and Andrews (2001) accounted for the next-largest number of effect sizes
in their meta-analyses. However, there are several problems with how
the results of this study were treated and serious issues with how the study
itself was conducted, raising questions about whether it should have been
included at all. Its sample size is erroneously listed in table 2 as 136. Al-
though 136 was the initial number of participants, only 60 remained at
the end of 60 days. The N shown in table 4 is, correctly, the 60 who re-
mained, but that also is misleading. That number includes a majority of
prisoners in the “administrative segregation” group (13 of 23) who were
there voluntarily. Only 10 involuntary prisoners remained in administra-
tive segregation at the end of 60 days. Thus this study was weighted far
too heavily in the ﬁrst meta-analysis and given a misleading weight in the
second.
   The results of Zinger, Wichmann, and Andrews (2001) are in any case
impossible to interpret. They are based on data from a sample that com-
bined “voluntarily” and “involuntarily” segregated prisoners. Voluntar-
ily isolated prisoners (such as protective custody prisoners who “choose”
to be in isolation) control their own fates; at least in theory, they can
leave. In addition, in most cases they know that by staying they are at
least safe from threats to their well-being elsewhere in the prison system,
ones they presumably fear and necessarily want to avoid more than the
pain and harm they may endure in solitary conﬁnement. They are thus


   21
      Morgan et al. (2016) appear to have overweighted the disproportionate number of ef-
fect sizes they took from the Colorado study, treating the N ’s in each group as though
their integrity was maintained throughout. However, as I noted, the bulk of the Colorado
study participants moved back and forth between groups. Thus the “uncontaminated”
cases are far fewer than Morgan et al. cited and used. Because O’Keefe et al. (2010) did
not disaggregate their data, Morgan et al. must have relied on the confounded results,
treating all participants as if they remained in their original groups for the duration of
the study and weighted effect sizes as if this had been the case.
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motivated to adapt to their isolation—or to appear to have adapted to
it—in ways that involuntarily isolated prisoners are not. They should not
be treated as if their experiences represent the effects of solitary conﬁne-
ment on involuntarily segregated prisoners.
   A second and more important problem is the signiﬁcant amount of at-
trition that occurred. Especially in longitudinal research, participants leave
studies for various reasons. This inevitably complicates comparisons over
time or between groups because people who remain are likely to be differ-
ent from those who leave, thereby changing the compositions of the
groups in ways that are difﬁcult to specify.22 This is especially a problem
in prison research because prison administrators decide where prisoners
are housed, under what conditions, and for how long; they do so on the
basis of considerations that have nothing to do with the goals of re-
searchers. In Zinger, Wichmann, and Andrews (2001), the reduction in
the number of administrative segregation prisoners after 60 days, from
83 to 23, only 10 of whom were involuntary, means that attrition reduced
the number of involuntarily segregated prisoners by 80 percent. The
reasons for the attrition were not given.
   Attrition is seldom random. That it results largely, if not entirely, from
decisions made by prison administrators means that Zinger, Wichmann,
and Andrews (2001) wound up with a group that was signiﬁcantly differ-
ent, in indeterminate ways, from the group with which they began.23 They
do not report whether and in what ways the prisoners who remained dif-
fered from those with whom the study began.24

  22
     Zinger, Wichmann, and Andrews acknowledge this: “Attrition is a major drawback to
psychological research in general. The problem with attrition is especially relevant to the
evaluation of the psychological effects of segregation” (2001, p. 56). However, they ig-
nored the extent of this problem in presenting and interpreting their results.
   23
      If, for example, disproportionate numbers of transferred prisoners were considered
too “vulnerable” to remain in administrative segregation, were reacting especially nega-
tively, or were adjusting poorly and were especially effective at convincing the prison ad-
ministration to return them to the general prison population, those left behind would be,
by deﬁnition, those least affected by the experience. Alternatively, if those who remained at
the end of 60 days were the most recalcitrant and least compliant, perhaps explaining why
the prison administrators were less likely to release them, they may have been especially
“difﬁcult” prisoners who were less likely to admit vulnerability or weakness in the assess-
ments they underwent. Or if the voluntary administrative segregation prisoners remaining
after 60 days were the least willing or able to return to the general prison population, they
may have been unlikely to admit that they were suffering lest this jeopardize their continued
safekeeping. Any of these possible scenarios could greatly compromise interpretation of the
results, and none of them appear to have been considered.
   24
      The assertion that “none of the attrition was attributable to prisoners being incapable
of participating in the study because of episodes of delusion or hallucination or suicide at-
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   An additional methodological problem was acknowledged in passing
but not fully discussed, either in the published article or in Zinger’s
(1998) dissertation, on which it was based. “Practice effects” are a common
problem in longitudinal studies because they require repeated administra-
tion over time of the same tests or measures. Participants may recall the
questions and intentionally or inadvertently try to reproduce the same
or similar answers, or lose interest and reply with stock, rote answers, or,
if the tests include performance measures, improve (because of practice)
each time they take the test. If any of these things occurs, the existence of
real changes (especially negative ones) will be masked or minimized.
   Zinger (1998) himself recognized that “artifacts of repeated testing”
likely played a role in producing apparent improvements in functioning
and the lack of signs of deterioration and that practice effects may have
accounted for prisoners “report[ing] less problems over time” (p. 93).
He also observed that it is well known that “participants lose interest
in answering repeatedly to identical questions and tend to report less
problems over time” (p. 92).25 Thus, practice effects may have accounted
in large part for the ﬁndings of “no change” or “improvement” on the
measures used and repeatedly administered.
   There are also signiﬁcant problems with several other studies that
were included in the already small group that Morgan et al. (2016) con-
sidered. For example, Cloyes et al. (2006) did not compare administra-
tive segregation with nonadministrative segregation at all. Instead, all
of the prisoners involved in their study were in solitary conﬁnement.
The effect size Morgan et al. reported was the only statistical test of dif-
ferences between groups that appeared anywhere in Cloyes et al. (2006,
p. 772). However, it is a t-test of differences in Brief Psychiatric Rating
Scale scores between two groups of solitary conﬁnement prisoners—
those identiﬁed as seriously mentally ill or not, both of which were housed
in isolation. Data from this study did not belong in the meta-analysis.



tempts” (Zinger, Wichmann, and Andrews 2001, p. 71) sets far too high a threshold and
does not adequately address the matter. “Episodes of delusion or hallucination or suicide
attempts” are hardly the only measures of whether someone is being so adversely affected
that he would seek to be transferred elsewhere or, in the opinion of a correctional admin-
istrator or mental health staff member, need to be moved.
  25
     Zinger, Wichmann, and Andrews (2001) did acknowledge that reports of “better
mental health and psychological functioning over time” are “common in studies which rely
on studies with repeated measures designs” (p. 74) but then ignored the implications of this
for interpretation of results that showed exactly this.
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   Walters, Callagan, and Newman (1963) arguably does not belong ei-
ther. It is over 50 years old and, more importantly, the participants were
all volunteers. They were not typical of prisoners involuntarily placed
in solitary conﬁnement. In addition, the study lasted only 4 days, not
long enough to reach a conclusion that the psychological effects of sol-
itary conﬁnement are minimal. The one effect size Morgan et al. (2016)
reported, for “anxiety,” is .57 with a weight of .726 (table 4, p. 452). Yet
the only mention of numerical data for anxiety in Walters, Callagan, and
Newman’s study was this: “More isolated than non-isolated prisoners re-
ported an increase in anxiety from the pre-test to post-test period ( p p
.038, Fisher’s Exact Probability Test).” It is impossible to calculate an
effect size from this statistic.
   Another included study, Andersen et al. (2003, table 2), reported only
chi-squares and p-values. It is not clear how Morgan et al. (2016) man-
aged to calculate effect sizes from those data.
   The decision to include Ecclestone, Gendreau, and Knox (1974) is also
questionable. The study is more than 40 years old and, more importantly,
included only prisoners who volunteered to spend 10 days in isolation.
For previously noted reasons, the experience of volunteers is not compa-
rable to that of involuntary administrative segregation prisoners. In addi-
tion, the study used an almost indecipherable measure of psychological
functioning—the Repertory Grid Technique—which does not appear
to have been used in published prison research before or since.26 More-
over, half of the initial participants “quit the experiment after two days of
solitary conﬁnement” (p. 179), which meant that the assignment of
participants was no longer “random,” the results suffered from signiﬁ-
cant attrition bias, and the remaining volunteer participants knew that
they could leave whenever they wanted. Notwithstanding these prob-
lems, Ecclestone, Gendreau, and Knox concluded that isolated conﬁne-
ment was “not more stressful than normal institutional life” (p. 178). Mor-
gan et al. (2016) included this study in both meta-analyses and singled it
out as having one of the stronger research designs (along with Zinger,
Wichmann, and Andrews [2001] and O’Keefe et al. [2010]).27

   26
      Description of the nature and scoring of the Repertory Grid Technique was so com-
plicated that it consumed nearly two full pages of text (Ecclestone, Gendreau, and Knox
1974, pp. 180–81).
   27
      The studies deemed to have stronger research designs were identiﬁed by name only in
Morgan et al.’s (2016) Research Synthesis I, although an estimate of the strength of the
designs was also apparently used in Research Synthesis II. Morgan et al. concluded that
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   In sum, Morgan et al.’s (2016) meta-analyses were based on one fun-
damentally ﬂawed and uninterpretable study (O’Keefe et al. 2010), an-
other with an attrition rate of 80 percent over a 60-day period (Zinger,
Wichmann, and Andrews 2001), two that were four decades old and in-
cluded only volunteers ( Walters, Callagan, and Newman 1963; Eccle-
stone, Gendreau, and Knox 1974), and one (Cloyes et al. 2006) that could
not provide an effect size on the impact of AS.
   Few readers are intimately familiar with the solitary conﬁnement lit-
erature or willing to invest the effort to read and evaluate each of the
studies cited in Morgan et al. (2016). Similarly, few are willing to carefully
to examine the hundreds of effect sizes included in the two meta-analyses
or are able to make judgments about the propriety of the particular statis-
tical techniques used in the calculations.28 The presentation of a vast array
of numerical data in Morgan et al. gives the impression of an objective
representation of equally meaningful effect sizes, but it is not the reality.
Their conclusion that solitary conﬁnement has modest or no signiﬁcant
negative psychological effects is not at all what a signiﬁcant preponder-
ance of the relevant empirical research shows and is at odds with ﬁndings


these studies with “stronger designs” were the ones that showed “less impairment” due
to isolated conﬁnement (p. 456). My critical discussion of the individual studies in ques-
tion shows why.
   28
      Morgan et al. (2016) appear to have used statistical methods that require very stringent
assumptions and will give misleading results if these assumptions are violated (e.g., Aguinis,
Gottfredson, and Wright 2011). Furthermore, the meta-analytic method they used re-
quires a large number of studies to assess these assumptions, and there were not enough
studies to assess them. Speciﬁcally, they used a random-effects meta-analysis model. This
model assumes that the included studies are a random sample from some deﬁnable universe
of studies. For example, are the prisons represented in Morgan et al.’s meta-analysis a ran-
dom sample of all US prisons? If not, they cannot claim that their results generalize to this
universe. Random-effects meta-analyses also assume that weights and sample sizes are un-
correlated with the effect sizes. If they are correlated, the results will be biased. The corre-
lation between the sample sizes and effect sizes reported in their table 1 indicate that the
correlation is about 2.5, which could severely bias the results. In a random-effects meta-
analysis, both the mean and the variance of the effect sizes in the universe are key pa-
rameters that need to be estimated and both require conﬁdence intervals. Morgan et al.
reported only the sample estimate of the variance and not the conﬁdence interval. However,
the conﬁdence interval for the variance requires a strong assumption of normally distrib-
uted effect sizes, and the conﬁdence interval is very sensitive to minor violations of this as-
sumption. A large number of studies are needed to assess the normality assumption—much
larger than the number used. Morgan et al. also appear to have used a new and unproven
method for combining multiple effect sizes from a single study. This method requires at
least a moderate number of studies (10–20, the more the better), more than the separate
meta-analyses that were used. Finally, Morgan et al. also used extremely crude and inaccu-
rate methods to approximate effect sizes in studies that did not provide enough information
to correctly compute an effect size.
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that are consistent across many decades, theoretically coherent, and but-
tressed by a very large and growing literature on the harmful effects of so-
cial isolation in contexts other than prison.
   Misleading repackaging of bad data can ripple through the ﬁeld and
produce an echo chamber in which motivated commentators repeat each
others’ ﬂawed conclusions. Thus O’Keefe (2017, p. 5) recently asserted
that “a recent meta-analysis found small to moderate adverse psycholog-
ical effects resulting from [solitary conﬁnement] that were no greater in
magnitude than the overall effects of incarceration. These ﬁndings are
consistent with our Colorado results.” She was referring to the Morgan
et al. (2016) meta-analysis, whose conclusions were not only “consis-
tent” with the Colorado results but based largely on them.


             IV. Conclusion
These two studies offer several cautionary tales about the fraught nature
of prison research, especially on the methodologically challenging and
politically charged topic of solitary conﬁnement. The ﬁrst of these tales
is about the potential inﬂuence of bad, uninterpretable data on public
discourse and correctional policy. Once the results of research that bear
the trappings of science enter into public and policy discourse, it is dif-
ﬁcult to correct the record, especially when motivated advocates are will-
ing to overlook fatal ﬂaws in the research. Unfortunately, when this tran-
spires, researchers can lose control of the narrative by which their
research is described and the manner in which it is applied. For example,
O’Keefe has repeatedly and steadfastly defended her Colorado research
but has opposed the uses to which others have put it. She was emphatic
that she did “not believe in any way and we do not promote the study as
something to argue for the case of segregation. . . . My interpretation is
that people believe that this study sanctions administrative segregation
for mentally ill and non–mentally ill alike. . . . I do not believe that the
conclusions lend to that and that is not the intended use of our study”
(2013, p. 96).29 Yet, that is exactly the use to which a number of inter-
ested parties have put it.

  29
     Two prominent advisory board members, Jeffrey Metzner and Jamie Fellner (2010),
published a “post–Colorado study” article that seemed to contravene the study’s ﬁndings.
They conceded that “isolation can be harmful to any prisoner” and noted that the potentially
adverse effects of isolation include “anxiety, depression, anger, cognitive disturbances, per-
ceptual distortions, obsessive thoughts, paranoia, and psychosis” (p. 104)—not at all what
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   The Colorado study is also a stark reminder that attempts to imple-
ment conventional experimental or even quasi-experimental research de-
signs in prison environments face a number of often insurmountable ob-
stacles. The ordinary demands of prison operations nearly always doom
even the most carefully planned such studies, and certainly anything re-
sembling a traditional experiment. Savvy prison researchers understand
that the desire to treat a prison environment as if it were a research lab-
oratory should be resisted. Real people live (and die) in prison, a setting
in which the core dynamics between prisoners and staff are governed by
forces beyond the researchers’ control.
   In separate but related ways, both the Colorado study and the Morgan
et al. (2016) meta-analyses underscore the pitfalls of allowing the veneer
of scientiﬁc rigor to substitute for its reality. They also show the limita-
tions of focusing on quantitative outcomes with little or no concern for
precisely how and under what conditions data were acquired. The de-
contextualized and de-individualized approach to data collection that
characterized the Colorado study allowed researchers to treat all partic-
ipants within each of the study groups as if they were the same, when
clearly they—and especially their prison experiences—were not. Ignor-
ing the prison context and individual prisoner trajectories helped render
the ﬁndings incoherent and uninterpretable.
   Similarly, Morgan et al. (2016) illustrate the shortcomings of attempting
to apply an otherwise useful approach for summarizing quantitative data to
environments as complex and variable as prisons (or especially solitary con-
ﬁnement units). Whatever the beneﬁts of reducing empirical results to ef-
fect sizes may be, omitting an entire ﬁeld’s best-known and most in-depth
works from consideration because most do not lend themselves to meta-
analytic reductions means that nuance and context are inevitably ignored.
The compromise in “scientiﬁc truth” is far too great.
   Some critics of meta-analysis argue that “a literature review should
not be a formalized or standardized one” (Chow 1987, p. 267; emphasis


the Colorado study claimed. Metzner and Fellner’s deep concerns led them to recommend
that professional organizations “should actively support practitioners who work for changed
segregation policies and they should use their institutional authority to press for a nationwide
rethinking of the use of isolation” in the name of their “commitment to ethics and human
rights” (p. 107). Zinger has become an eloquent critic of the use of solitary conﬁnement
in Canada (e.g., Makin 2013) even though defenders of the practice continue to cite his dis-
sertation research to justify its use.
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added). As Chow observed, “It is not the case that narrative reviews lack
rigor. To the contrary, rigor is maintained by reviewers of the traditional
[narrative] approach when they evaluate the validity of individual stud-
ies” (p. 268). Meta-analyses, even when done well, risk compromising
the richness of the prison data they seek to summarize.
   In any event, the magnitude of what can be and often is lost in the
course of the compromises made in the kind of research critically dis-
cussed in this essay often goes unrecognized. Amid thousands of data en-
tries and hundreds of effect sizes reported in these two studies, there
are few references to the core subjectivity, institutional trajectory, or life
outcome of a single individual prisoner conﬁned in an isolation unit.
Nor is there acknowledgment that the studies focused on human beings
rather than on interchangeable data points.
   Martha Nussbaum (1995) noted in a different context that regarding
people as “fungible” and denying them their subjectivity are powerful
ways to ensure their objectiﬁcation. Objectivity in prison research is a
worthy goal, except when it results in objectiﬁcation of prisoners and
others in the prison environment. Feeley and Simon (1992) observed
that the era of mass imprisonment occasioned and was facilitated by the
emergence of a “new penology” whose key elements—“statistical predic-
tion, concern with groups, strategies of management”—shifted the focus
of the prison enterprise “toward mechanisms of appraising and arrang-
ing groups rather than intervening in the lives of individuals” (p. 459).
This actuarial approach still deﬁnes the modern prison. It should not be
made worse and reinforced by scholarship that exacerbates rather than
alleviates or exposes these depersonalizing tendencies.
   Studying only at a distance, as the research criticized in this essay did,
requires precisely that kind of objectifying sacriﬁce. If John Irwin was
right, that the close study of people in general and prisoners in particular
uncovers their humanity, and I think he was, then the opposite is also
true. Studying prisoners at a distance, without trying fully to understand
and adequately to convey the conditions in which they live or to gain an
“appreciation of their meaning worlds, motivations, and aspirations”
(1987, p. 47), leaves us with little insight into basic truths about them.
That includes whether and how much they are adversely affected by
near-total deprivation of meaningful sensory and social contact.
   The insurmountable methodological ﬂaws of the Colorado study and
the fundamental inadequacy of the Morgan et al. (2016) meta-analysis
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should preclude policy makers from using either in debates over the proper
use of solitary conﬁnement and the nature of its psychological effects.




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       THE SCIENCE OF SOLITARY: EXPANDING THE
          HARMFULNESS NARRATIVE

                                                                       Craig Haney

       ABSTRACT—The harmful effects of solitary confinement have been
       established in a variety of direct observations and empirical studies that date
       back to the nineteenth century, conducted in many different countries by
       researchers with diverse disciplinary backgrounds. This Essay argues that
       these effects should be situated and understood in the context of a much
       larger scientific literature that documents the adverse and sometimes life-
       threatening psychological and physical consequences of social isolation,
       social exclusion, loneliness, and the deprivation of caring human touch as
       they occur in free society. These dangerous conditions are the hallmarks of
       solitary confinement. Yet they are imposed on prisoners in far more toxic
       forms that exacerbate their harmful effects, are incurred in addition to the
       adverse consequences of incarceration per se, and operate in ways that
       increase their long-term negative impact. This broader empirical and
       theoretically grounded scientific perspective expands the harmfulness
       narrative about solitary confinement and argues in favor of much greater
       restrictions on its use.

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       Pennsylvania; M.A., Ph.D., Stanford University; J.D., Stanford Law School.
       I am grateful to the editors of the Northwestern University Law Review for
       their careful attention to detail and assistance in publishing this Essay and
       for the invitation to participate in this Symposium, as well as to the
       participants in the Symposium, from whom I learned a great deal.




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                                                        INTRODUCTION
             Knowledge about the psychological and physical harms inflicted by
       solitary confinement has evolved considerably over the last several decades. 1
       Ironically, growing awareness of its serious adverse effects coincided with
       the increasingly widespread use of the practice during the era of mass
       incarceration that began in the 1970s.2 This recent several-decade period of
       prison growth also represents the “modern era” of solitary confinement in
       corrections, in contrast to its widespread—and, for a time, nearly universal—
       use in the nineteenth century. Over a century ago, the terrible effects that
       solitary confinement had on prisoners led to condemnation of the practice

           1
              “Solitary confinement” is a term of art in corrections, one whose longstanding negative
       connotations have spawned a number of seemingly less pejorative alternative descriptors across different
       jurisdictions (including “administrative segregation,” “close management,” “security housing,” and what
       appears to be the current favorite, “restrictive housing”). In this Essay, I will use the original term to
       encompass all of these variations. From a psychological perspective, “solitary confinement” is defined
       less by the purpose for which it is imposed, or the exact amount of time during which prisoners are
       confined to their cells, than by the degree to which they are deprived of normal, direct, meaningful social
       contact and denied access to positive environmental stimulation and activity. Thus, even a regime
       incorporating a considerable amount of out-of-cell time during which a prisoner is simultaneously
       prohibited from engaging in normal, direct, meaningful social contact and positive stimulation or
       programming would still constitute a painful and potentially damaging form of solitary confinement.
       Especially in a prison context, the terms “normal” and “direct” mean that the contact itself is not mediated
       or obstructed by bars, restraints, security glass or screens, or the like. “Meaningful” refers to voluntary
       contact that permits purposeful activities of common interest or consequence that takes place in the course
       of genuine social interaction and engagement with others.
           2
              For several different perspectives on this pivotal era in the United States’ criminal justice history
       and its consequences for prisoners and the larger society from which they were drawn, see MICHELLE
       ALEXANDER, THE NEW JIM CROW: MASS I NCARCERATION IN THE AGE OF COLORBLINDNESS (rev. ed.
       2012); MARIEKE LIEM, AFTER LIFE IMPRISONMENT: REENTRY IN THE ERA OF MASS I NCARCERATION
       (2016); NAT’ L RESEARCH COUNCIL OF THE NAT’ L ACADS., THE GROWTH OF INCARCERATION IN THE
       UNITED STATES: EXPLORING CAUSES AND CONSEQUENCES (Jeremy Travis, Bruce Western & F. Stevens
       Redburn eds., 2014).



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       and a long period of relative disuse. Thus, even by the mid-nineteenth
       century, many state prison systems had concluded that the once widely used
       harsh form of complete isolation was “impracticable, inhuman, and
       intolerably expensive.”3
             Of course, solitary confinement—“the hole”—was never completely
       eliminated. Most prisons and jails retained special cells in which prisoners
       could be kept for relatively brief periods of time to separate them from others
       for safety reasons, or as a form of punishment for disciplinary infractions.
       For example, in Gresham Sykes’s classic account of a typical maximum-
       security prison in the United States in the mid-1950s, he reported that solitary
       confinement was used sparingly “for those prisoners who are being punished
       for infractions of the prison rules.” 4 Moreover, even before the era of mass
       incarceration produced widespread overcrowding and countenanced harsh
       treatment of prisoners more broadly, some especially troubled and cruel
       prisons did utilize solitary confinement as a form of severe punishment. For
       example, in the mid-1950s, Mississippi’s Parchman prison farm built a
       special “Maximum Security Unit” (or MSU), described as a “low-slung
       brick-and-concrete bunker in the middle of a former cotton field, surrounded
       by four guard towers, two razor-wire fences, and a series of electric gates”
       that housed the state’s new gas chamber and a solitary confinement unit. 5
       The latter was used “for the isolation and punishment of disruptive convicts”
       that one prisoner recalled as a place “where they just beat the living crap out
       of you. . . . Nobody left there without bumps and busted bones.” 6
             However, the widespread use of longer-term solitary confinement
       returned with a vengeance in the 1970s. Changes brought about in the recent
       modern era of the use of solitary confinement saw significant increases in
       the numbers of persons who were subjected to it and the lengths of time they
       were kept there. Not only have prisoners been placed in solitary confinement
       for months and years rather than days or weeks, but increasing numbers of
       prisoners have been subjected to this form of harsh treatment. 7 Its renewed

          3
              Adoption of the Separate System in the States of Central Europe,—and Its Prospects Else-Where,
       12 PA. J. PRISON D ISCIPLINE & PHILANTHROPY 79 (1857).
           4
              GRESHAM M. SYKES, THE SOCIETY OF C APTIVES: A STUDY OF A MAXIMUM SECURITY PRISON 7
       (First Princeton Classic ed. 2007) (1958). As an indication of exactly how sparingly even short-term
       solitary confinement was employed, the offense of “possession of home-made knife, metal, and emery
       paper” resulted in “5 days in segregation with restricted diet.” Id. at 43.
           5
              DAVID M. OSHINSKY, “WORSE THAN SLAVERY”: PARCHMAN FARM AND THE ORDEAL OF J IM
       CROW J USTICE 228 (1996).
           6
              Id. at 229.
           7
              See, e.g., infra note 8; see also John J. Gibbons & Nicholas de B. Katzenbach, Confronting
       Confinement: A Report of the Commission on Safety and Abuse in America’s Prisons, 22 WASH. U. J.L.



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       popularity continued until recently, despite accumulating evidence that
       solitary confinement fails to achieve the penological purposes for which it is
       ostensibly used, is far more expensive to implement and operate than other
       correctional regimes, and produces negative psychological and physical
       consequences that raise serious questions about its constitutionality and its
       status as a form of torture.8
             My own involvement in prison research and litigation examining the
       psychological effects of isolation parallels the recent resurgence of this
       condemnable punishment in the late 1970s and early 1980s. The early
       challenges to solitary confinement in which I was involved focused on what
       were sometimes termed “lock-up” units in different parts of the country.
       These cases resulted in narrowly drawn court opinions concerned largely
       with the degraded environmental conditions inside these facilities and
       whether prisoners were deprived of the “basic necessities of life,” interpreted
       to mean “adequate food, clothing, shelter, sanitation, medical care, and
       personal safety.”9 The era of mass incarceration was already underway when
       these challenges were brought, which meant that overcrowded prison
       systems throughout the country were struggling to maintain order in the face
       of an unprecedented influx of prisoners. In an attempt to meet this and other
       demands, prison administrators often adopted an exigent strategy: to
       segregate prisoners whom they viewed as disruptive or problematic. The


       & POL’ Y 385, 46162 (2006) (reporting that between 1995 and 2000 the overall number of prisoners in
       segregation or solitary confinement increased 40%, and the number in “disciplinary segregation”
       increased 68%); Ryan T. Sakoda & Jessica T. Simes, Solitary Confinement and the U.S Prison Boom,
       CRIM .             JUST.           POL’Y             REV.            (Dec.              29,          2019),
       https://journals.sagepub.com/doi/full/10.1177/0887403419895315             [https://perma.cc/QY8H-2B4E]
       (reporting the increasing use and especially the increasing lengths of stay in solitary confinement units in
       the Kansas prison system that roughly coincided with the era of mass incarceration in the United States).
           8
              See the studies and statements reviewed and summarized in Consensus Statement of the Santa Cruz
       Summit on Solitary Confinement and Health, 115 NW. U. L. REV. 335 (2020) [hereinafter Santa Cruz
       Summit]; Craig Haney & Shirin Bakhshay, Contexts of Ill-Treatment: The Relationship of Captivity and
       Prison Confinement to Cruel, Inhuman, or Degrading Treatment and Torture, in TORTURE AND ITS
       DEFINITION IN I NTERNATIONAL LAW: AN I NTERDISCIPLINARY APPROACH 139 (Metin Başoğlu ed.,
       2017); Craig Haney, Restricting the Use of Solitary Confinement, 1 ANN. REV. CRIMINOLOGY 285 (2018)
       [hereinafter Haney, Restricting Solitary Confinement]; see also Federica Coppola, The Brain in Solitude:
       An (Other) Eighth Amendment Challenge to Solitary Confinement, 6 J.L. & BIOSCIENCES 1 (2019); Jules
       Lobel, Prolonged Solitary Confinement and the Constitution, 11 U. PA. J. CONST. L. 115 (2008).
       Relatedly, philosopher Kimberley Brownlee has argued that social deprivation, which she defined as “a
       persisting lack of minimally adequate opportunities for decent or supportive human contact including
       interpersonal interaction, associative inclusion, and interdependent care,” represents a deprivation of a
       basic human right. Kimberley Brownlee, A Human Right Against Social Deprivation, 63 PHIL. Q. 199,
       199 (2013).
           9
              Hoptowit v. Ray, 682 F.2d 1237, 1258 (9th Cir. 1982) (opining on conditions of confinement in the
       isolation, segregation, and protective custody units in Washington State Penitentiary).



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       decisions to do so were often reached on vague, unspecified, and
       questionable bases. Some appeared to stem from racially tinged fears about
       prisoners of color becoming politically militant and better organized,
       including those accused of “practic[ing] Black Pantherism.”10 As Heather
       Thompson’s book about the tragic 1971 Attica prisoner rebellion notes, by
       the start of the 1970s several New York prisons operated dreaded solitary
       confinement units that were used to house prisoners whom correctional
       officials perceived to be political activists, many of whom were prisoners of
       color.11 Her compelling account is also replete with examples of the role that
       law enforcement and prison officers’ racial fears of and animosities toward



           10
               This was one of the specific justifications for the continued retention of members of the “Angola
       3” in a form of solitary confinement inside Louisiana’s Angola Prison Farm for approximately four
       decades. See ALBERT WOODFOX WITH LESLIE GEORGE, SOLITARY 192 (2019). The extremely long-term,
       indefinite solitary confinement of prisoners—lasting a decade or more—was often reserved for prisoners
       perceived to be members of prison gangs, a designation that frequently had racial or ethnic implications.
       See, e.g., Keramet A. Reiter, Parole, Snitch, or Die: California’s Supermax Prisons and Prisoners, 1997-
       2007, 14 PUNISHMENT & SOC’ Y 530 (2012); Keramet Reiter, Joseph Ventura, David Lovell, Dallas
       Augustine, Melissa Barragan, Thomas Blair, Kelsie Chesnut, Pasha Dashtgard, Gabriela Gonzalez,
       Natalie Pifer & Justin Strong, Psychological Distress in Solitary Confinement: Symptoms, Severity, and
       Prevalence in the United States, 2017-2018, 110 AM. J. PUB. HEALTH SUPPLEMENT S56, S58 (2020); see
       also Scott N. Tachiki, Indeterminate Sentences in Supermax Prisons Based upon Alleged Gang
       Affiliations: A Reexamination of Procedural Protection and a Proposal for Greater Procedural
       Requirements, 83 CALIF. L. REV. 1115, 111749 (1995). Comprehensive surveys and individual
       statewide investigations have documented the overrepresentation of prisoners of color in solitary
       confinement units. For example, a self-report survey of a very large sample of U.S. correctional
       jurisdictions conducted from 2017 to 2018 by the Association of State Correctional Administrators
       (ASCA) and the Yale Law School’s Liman Center for Public Interest Law found that among the thirty-
       three jurisdictions that provided racial breakdowns, there were modest racial disproportions in solitary
       confinement overall—including an especially large overrepresentation of African-American women in
       solitary confinement compared to their white counterparts—and wide variations between jurisdictions.
       THE ASS’N OF STATE CORR . ADM’RS & THE LIMAN CTR. FOR PUB. INTEREST LAW AT YALE LAW
       SCHOOL, REFORMING RESTRICTIVE H OUSING: THE 2018 ASCA-LIMAN N ATIONWIDE SURVEY OF T IME-
       IN-CELL (2018), https://law.yale.edu/centers-workshops/arthur-liman-center-public-interest-law/liman-
       center-publications [https://perma.cc/68A2-KZXH]; see also Margo Schlanger, Prison Segregation:
       Symposium Introduction and Preliminary Data on Racial Disparities, 18 MICH. J. RACE & L. 241 (2013)
       (reporting racial disproportions in the use of solitary confinement in several different state prison
       systems); Sakoda & Simes, supra note 7 (reporting racial disproportions in the use of solitary confinement
       in the Kansas prison system, especially in the durations of time spent in solitary confinement by young
       African-American men); Michael Schwirtz, Michael Winerip & Robert Gebeloff, The Scourge of Racial
       Bias       in     New      York     State’s       Prisons,     N.Y.      TIMES      (Dec.      3,    2016)
       https://www.nytimes.com/2016/12/03/nyregion/new-york-state-prisons-inmates-racial-bias.html?_r=0
       [https://perma.cc/529Y-MJDX] (reporting that African-American prisoners were 65% more likely to be
       sent to solitary confinement than whites). See generally Andrea C. Armstrong, Race, Prison Discipline,
       and the Law, 5 U.C. IRVINE L. REV. 759 (2015).
           11
               HEATHER ANN THOMPSON, BLOOD IN THE WATER: THE ATTICA PRISON UPRISING OF 1971 AND
       ITS LEGACY (2016).



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       African-American prisoners played in fueling their overreactions before,
       during, and after their violent, deadly retaking of the prison.
            It is important to note that the era of mass incarceration and increased
       use of solitary confinement followed on the heels of the civil rights and Black
       Power movements of the 1960s and 1970s. Both are now understood as
       having “empowered marginalized groups to engage in protest that demanded
       a radical redistribution of political, social and economic power.”12 In the
       larger society, and certainly in U.S. prisons, the attempted power
       redistribution was met with forceful resistance that was designed to suppress
       and eliminate it. The fact that “the American penal system [was] a locus of
       black power activism”13 was arguably one factor that contributed to the rise
       of long-term solitary confinement. In my experience, a disproportionate
       number of the prisoners who were placed in solitary confinement, and
       especially those who were subjected to extremely long-term solitary
       confinement—stays measured in years or even decades—were prisoners of
       color.14 The often unverified perception that their radical political views—as
       much or more than their specific actions—posed a “threat to the safety and
       security of the institution” served as the premise for their lengthy, often
       indefinite isolation.
            In any event, prisoners began to be crammed inside makeshift lockup
       units for expediency more than anything else, 15 and the nineteenth century’s
       lessons about the harmfulness of solitary confinement were either forgotten



           12
               Zoe Colley, War Without Terms: George Jackson, Black Power and the American Radical Prison
       Rights Movement, 19411971, 101 HISTORY 265, 266–67 (2016). See also historian Joe Street’s
       speculation that the postprison demise of former Black Panther Party leader Huey Newton was caused
       not only by unrelenting police harassment but also the “soul break[ing]” effects of his experiences in
       solitary confinement. Joe Street, The Shadow of the Soul Breaker: Solitary Confinement, Cocaine, and
       the Decline of Huey P. Newton, 84 PAC . HIST. REV. 333, 33637, 345 (2015).
           13
               Colley, supra note 12, at 267; see also D AN BERGER, CAPTIVE NATION: BLACK PRISON
       ORGANIZING IN THE CIVIL RIGHTS ERA (2014); DONALD F. TIBBS , FROM BLACK POWER TO PRISON
       POWER: THE MAKING OF JONES V. N ORTH CAROLINA PRISONERS’ LABOR UNION (2012); Angela A.
       Allen-Bell, Perception Profiling & Prolonged Solitary Confinement Viewed Through the Lens of the
       Angola 3 Case: When Prison Officials Become Judges, Judges Become Visually Challenged, and Justice
       Becomes Legally Blind, 39 HASTINGS CONST. L.Q. 763, 766 (2012) (discussing the legal implications of
       the Angola 3 case and the prolonged solitary confinement to which they were subjected).
           14
               See supra note 10; see also Johnson v. Wetzel, 209 F. Supp. 3d 766 (M.D. Pa. 2016) (ordering the
       release from solitary into general population of an African-American prisoner who, despite suffering
       ongoing psychological harm, was held in solitary confinement for thirty-six years in the absence of
       credible evidence that he posed a threat to institutional security).
           15
               See, e.g., Toussaint v. Rushen, 553 F. Supp. 1365, 1374–75 (N.D. Cal. 1983) (opining on the fact
       that prisoners were being “arbitrarily placed and retained in segregated housing” as a way “to simply
       warehouse” them, including “for reasons other than their conduct”).



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       or ignored in the face of what were perceived as more pressing concerns. 16
       The devolution of the federal penitentiary in Marion, Illinois is an instructive
       example. Marion was opened in 1963 and was intended to replace the high-
       security federal prison at Alcatraz, which closed the same year.17 Although
       it was designated as the highest security level prison in the federal system,
       as Stephen Richards noted, “In effect, Marion was a small version of a
       ‘mainline’ penitentiary.”18 A “control unit” with a limited number of cells
       was constructed within Marion penitentiary in 1973, and was operated as a
       dedicated solitary confinement unit in which prisoners were intended to be
       housed in nearly complete isolation for extremely long periods of time.
       However, largely in response to the lethal violence that occurred within the
       control unit in October 1983, the entire prison was “locked down” and began
       to be operated as a long-term lockup prison. Thus, after 1983, Marion was
       “the first federal prison operated entirely as a high-security isolation
       supermax.”19
             That same year, psychiatrist Stuart Grassian published an in-depth
       clinical assessment of a group of prisoners in a solitary confinement unit in
       a prison in Walpole, Massachusetts. His findings helped to raise awareness
       about the potentially severe psychiatric consequences of this kind of extreme
       prison isolation. 20 Increased concern about the issue came at an especially
       opportune time, as more prison systems in the United States were beginning
       a return to the long-abandoned practice of solitary confinement. In fact, a
       number of prison systems reacted to the unprecedented influx of prisoners in
       the 1970s and 1980s (that included a significant number of mentally ill
       prisoners whose needs penal institutions were thoroughly ill-equipped to
       address) by creating what was essentially a new prison form. Sometimes
       called “supermax” prisons, these facilities were explicitly designed to
       impose extreme levels of isolation (often made possible by the introduction

           16
               In an often-quoted passage from a late nineteenth-century case, In re Medley, 134 U.S. 160, 168
       (1890), Justice Samuel Miller summarized the consensus view that the once widespread practice of
       solitary confinement was “too severe.” He noted that “[a] considerable number of the prisoners fell, after
       even a short confinement, into a semi-fatuous condition, from which it was next to impossible to arouse
       them, and others became violently insane; others still, committed suicide; while those who stood the
       ordeal better were not generally reformed, and in most cases did not recover sufficient mental activity to
       be of any subsequent service to the community.” Id.
           17
               Stephen C. Richards, USP Marion–The First Federal Supermax, 88 PRISON J. 6, 9 (2008).
           18
               Id.
           19
               Id. at 10, 18; see also THE MARION EXPERIMENT: LONG-TERM SOLITARY CONFINEMENT & THE
       SUPERMAX MOVEMENT (Stephen C. Richards ed., 2015). A “high tech” federal supermax, ADX, was
       opened in 1994, and Marion was eventually converted into a medium-security prison in 2007.
           20
               Stuart Grassian, Psychopathological Effects of Solitary Confinement, 140 AM. J. PSYCHIATRY
       1450, 145054 (1983).



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       of a new generation of correctional technology) and to do so on a long-term
       basis.21 As Chase Riveland observed in the late 1990s, in addition to an
       expedient attempt to manage such an unexpectedly large numbers of
       prisoners, the proliferation of supermax prisons was also in part motivated
       by the fact that they were seen as “politically and publicly attractive”
       facilities that, at the time, had “become political symbols of how ‘tough’ a
       jurisdiction ha[d] become.”22
             My first experience inside a truly modern supermax prison occurred in
       1990, when I toured the recently opened Security Housing Unit (SHU) at the
       Pelican Bay State Prison in California. At the time, Pelican Bay’s reputation
       as one of the nation’s first and most draconian supermax prisons was just
       being established. By then, I had been inside many makeshift solitary
       confinement units where prison systems were beginning to isolate
       increasingly large numbers of prisoners for what would eventually amount
       to unprecedented amounts of time. I had learned that many prisoners in these
       units struggled to adapt to and survive the degraded conditions, enforced
       idleness, and extreme social deprivation to which they were subjected.
       However, researchers like myself were just beginning to understand and
       document the depth and breadth of the suffering.
             In contrast to the crowded, noisy, and dirty lockup units I visited in
       places like San Quentin and Folsom State Prisons, the Penitentiary of New
       Mexico, and the Washington State Penitentiary, the free-standing SHU at
       Pelican Bay was stark and frightening for an entirely different reason: it gave
       no indication that it was a place that housed actual human beings. Although
       I had been inside many prisons before my first visit to Pelican Bay, I had
       never seen one like this, resembling a massive storage facility where
       inanimate objects are housed. The sights and sounds of human activity or
       evidence that real people lived there—the sorts of things that every prison
       manifested—were nowhere to be found. Even inside the housing units, or

            21
               CHASE RIVELAND, NAT’L I NST. CORR., U.S. DEP’T JUSTICE, SUPERMAX PRISONS: O VERVIEW AND
       GENERAL CONSIDERATIONS 2 (1999). Riveland correctly noted in 1999 that “[t]here is no universal
       definition of what supermax facilities are and who should be placed in them.” Id. at 4. Although there is
       still no precise definition for what constitutes a “supermax” prison, they are generally identified by: (1)
       the extent to which the facility itself is devoted to isolating prisoners (i.e., typically a freestanding facility
       rather than a unit within a prison that otherwise does not utilize isolation); (2) the heightened degree of
       isolation they impose (primarily because most were explicitly designed to isolate prisoners and tend to
       be somewhat newer facilities that employ correctional technology in order to more effectively do so); and
       (3) the reasons or justifications for placing prisoners in solitary confinement, with a disproportionate
       number of prisoners confined there because of who the prison system perceives them to be, including
       representing generalized threats to the safety and security of the institution, rather than specific acts for
       which they are being punished. See id. at 4–6.
            22
               Id. at 5.



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       “pods,” there was an eerie, unsettling quiet, and a reliance more on
       technological than human forms of control. These conditions led 60 Minutes
       correspondent Mike Wallace to exclaim, when he first entered one of the
       Pelican Bay housing units, that it “looks a little bit like a spaceship or a space
       station.”23
             In 1992, after the prison had been operating for only a few years, I began
       a series of court-ordered visits there to interview a large sample of prisoners,
       selected randomly from the prison roster, to try to determine whether and
       how they were being affected by the experience. The level of suffering and
       trauma they reported shocked me and led me to spend the next several
       decades studying the effects of prison isolation in scores of prisons and
       correctional systems around the country. When I returned to Pelican Bay
       some twenty years later, it was a bittersweet reunion with several of the men
       from my original sample—ones who, tragically, had never left the SHU in
       the intervening two decades.24
             The basic harmfulness of solitary confinement is now a largely settled
       scientific fact. A number of articles published in recent years have
       comprehensively catalogued a wide range of studies demonstrating the
       adverse psychological effects and other consequences that befall persons
       who are subjected to this cruel form of imprisonment.25 A few outlier studies



          23
               60 Minutes: Wallace at Pelican Bay (CBS television broadcast Sept. 12, 1993),
       https://www.cbs.com/shows/60_minutes/video/c77u_9DB_JMZCukdtURkP9SUu0TFLlK8/from-the-
       archives-60-minutes-first-pelican-bay-report/ [https://perma.cc/RPS7-YBFB].
           24
               As I will describe later in this Essay, I returned to the SHU at Pelican Bay in 2011 to conduct
       interviews with a representative sample of prisoners who had been confined there on an extremely long-
       term basis (i.e., ten years or more). See infra notes 130–136 and accompanying text. I was also able to
       separately interview a number of men who had been in the SHU essentially since it had opened in 1989,
       including several from my original 1992 sample. See Craig Haney, Solitary Confinement, Loneliness, and
       Psychological Harm [hereinafter Haney, Solitary Confinement, Loneliness, and Psychological Harm], in
       SOLITARY CONFINEMENT: EFFECTS, PRACTICES, AND PATHWAYS TOWARD REFORM 129, 134–35 (Jules
       Lobel & Peter Scharff Smith eds., 2020).
           25
               These many studies have been carefully reviewed in a number of publications. See, e.g., Kristin
       G. Cloyes, David Lovell, David G. Allen & Lorna A. Rhodes, Assessment of Psychosocial Impairment
       in a Supermaximum Security Unit Sample, 33 CRIM. JUST. & BEHAV. 760 (2006); Stuart Grassian,
       Psychiatric Effects of Solitary Confinement, 22 WASH. U. J.L. & POL’Y 325 (2006); Craig Haney & Mona
       Lynch, Regulating Prisons of the Future: A Psychological Analysis of Supermax and Solitary
       Confinement, 23 N.Y.U. REV. L. & SOC . CHANGE 477 (1997); Haney, Restricting Solitary Confinement,
       supra note 8; Peter Scharff Smith, The Effects of Solitary Confinement on Prison Inmates: A Brief History
       and Review of the Literature, 34 CRIME & JUST. 441 (2006); see also, Mimosa Luigi, Laura Dellazizzo,
       Charles-Édouard Giguère, Marie-Hélène Goulet & Alexandre Dumais, Shedding Light on “the Hole”: A
       Systematic Review and Meta-Analysis on Adverse Psychological Effects and Mortality Following Solitary
       Confinement in Correctional Settings, FRONTIERS IN PSYCHIATRY, Aug. 2020.



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       that purport to find little or no harm have been largely debunked, 26 and many
       professional mental health, medical, legal, human rights, and correctional
       organizations have promulgated strong position statements that urge or
       require significantly limiting the use of solitary confinement and even
       prohibiting it entirely for especially vulnerable groups of prisoners. 27
       Placement in solitary confinement can have dramatic, even lethal, effects;
       for example, research continues to show that the highest rates of self-harm
       and suicide in prison occur in conditions of isolation. 28 However, even those
       prisoners who survive the experience of solitary confinement often suffer
       long-lasting physical and psychological damage. 29
             In this Essay, I address several separate but interrelated issues that are
       often only alluded to in discussions about the nature and effects of solitary
       confinement. Although sometimes overlooked, they importantly expand the
       narrative about the harmfulness of this increasingly unjustifiable practice.
       These issues are critical to make explicit and to directly address, in part to
       respond to the occasional but persistent claims minimizing the magnitude of
       the harm inflicted by solitary confinement. A very small number of defenders
       of solitary confinement continue to advance three specific minimizing
       arguments, namely that: (1) there is simply not enough evidence to establish
       the harmfulness of solitary confinement; (2) although the negative effects
       may be real, their impact is de minimis; and (3) whatever effects do occur
       will dissipate quickly over time, so that persons adversely affected soon
       regain their prior level of psychological well-being.
             However, I argue that these assertions can and should be turned on their
       heads. Indeed, their opposite is actually true. First, we now know that solitary


          26
               See, e.g., Craig Haney, The Psychological Effects of Solitary Confinement: A Systematic Critique,
       47 CRIME & J UST. 365 (2018) [hereinafter Haney, Psychological Effects of Solitary Confinement].
           27
               See, e.g., WMA Statement on Solitary Confinement, WORLD MED. ASS’N (Nov. 28, 2019),
       https://www.wma.net/policies-post/wma-statement-on-solitary-confinement/ [https://perma.cc/S8TW-
       8X2Y] (prohibiting the use of solitary confinement with children, pregnant women, women less than six
       months postpartum, breastfeeding mothers and those with infants, prisoners with “mental health
       problems,” and those with “physical disabilities or other medical conditions where their conditions would
       be exacerbated by such measures”).
           28
               See, e.g., Louis Favril, Rongqin Yu, Keith Hawton & Seena Fazel, Risk Factors for Self-Harm in
       Prison: A Systematic Review and Meta-Analysis, 7 LANCET PSYCHIATRY 682 (2020); Fatos Kaba, Andrea
       Lewis, Sarah Glowa-Kollisch, James Hadler, David Lee, Howard Alper, Daniel Selling, Ross
       MacDonald, Angela Solimo, Amanda Parsons & Homer Venters, Solitary Confinement and Risk of Self-
       Harm Among Jail Inmates, 104 AM. J. PUB. HEALTH 442 (2014); Paolo Roma, Maurizio Pompili, David
       Lester, Paolo Girardi & Stefano Ferracuti, Incremental Conditions of Isolation as a Predictor of Suicide
       in Prisoners, 233 FORENSIC SCI. INT’L e1, e1 (2013). Prisoners appear to be at greatest risk of suicide
       early in their stay in solitary confinement, but they remain at risk throughout. See Bruce B. Way, Donald
       A. Sawyer, Sharen Barboza & Robin Nash, Inmate Suicide and Time Spent in Special Disciplinary
       Housing in New York State Prison, 58 PSYCHIATRIC SERVS. 558, 559 (2007).
           29
               See infra notes 142–153 and accompanying text.


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       confinement research represents a subset of a much larger scientific literature
       where the adverse consequences of analogous experiences have been
       extensively documented and are beyond question. Second, the effects of
       solitary confinement are hardly de minimis, especially because they occur in
       addition to the baseline and very substantial harms of imprisonment per se.
       And finally, the harmful effects can persist long after a person leaves solitary
       confinement. In fact, sometimes the most disabling consequences manifest
       themselves most clearly and strongly upon release.

        I.    THE EFFECTS OF SOLITARY CONFINEMENT ARE SITUATED WITHIN A
                BROAD AND WELL-ESTABLISHED SCIENTIFIC LITERATURE
             It is commonplace and entirely appropriate in scientific circles to repeat
       the mantra that “more research is needed.” In so many words, most empirical
       articles end with a form of this admonition. It is always a defensible and
       sometimes necessary refrain. There is really no research topic on which
       additional data would not be at least marginally useful and some for which,
       given the relatively undeveloped state of our knowledge, it would be
       essential. However, that claim that we simply do not have enough data to
       conclude that solitary confinement is harmful to prisoners is sometimes
       employed for a different reason—to justify its continued use. Yet the
       assertion is incorrect and inapt. As I noted earlier, we now have more than
       sufficient data to conclude that solitary confinement is a harmful practice.
       The findings that support this conclusion are robust and derive from an array
       of studies conducted from the nineteenth century onwards by researchers
       with different kinds of scientific training, employing a variety of methods,
       and operating in several different continents. Thus, statements to the effect
       that “existing literature documenting the effects of segregation . . . is
       inconclusive” are made by authors who are either unaware of the full extent
       of the research on solitary confinement and what it shows or who, for some
       reason, fail to consider the larger body of scientific knowledge of which it is
       a part.30
             However, beyond ensuring that the entire database that bears directly
       on the issue is taken into account, it is also important to understand that
       although solitary confinement is often discussed as if it were sui generis—a
       distinct, unique phenomenon that only occurs and therefore can only be
       studied and assessed in prison settings—it has clear analogues in the free
       world. These civilian analogues are critical for prison scholars and
       researchers as well as litigators, correctional policymakers, and legal

           30
              Carl B. Clements, Richard Althouse, Robert K. Ax, Phillip R. Magaletta, Thomas J. Fagan & J.
       Stephen Wormith, Systemic Issues and Correctional Outcomes: Expanding the Scope of Correctional
       Psychology, 34 CRIM . JUST. & BEHAV. 919, 925 (2007).


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       decision-makers to consistently acknowledge, advert to, and rely on. They
       serve as the broad and deep scientific underpinnings of research that
       demonstrates the harmful effects of solitary confinement per se. Thus,
       knowledge about solitary confinement does not exist in an empirical or
       theoretical vacuum. Instead, what we know about the negative psychological
       effects of prison isolation is situated in a much larger scientific literature
       about the harmfulness of social isolation, loneliness, and social exclusion in
       society more generally. There is now a wealth of scientific knowledge about
       the adverse consequences of these negative experiences as they occur in
       contexts and settings outside prison.
            This broader literature about the deleterious impact of isolation is the
       scientific framework through which the effects of solitary confinement
       should be understood and interpreted, in part because prison research is
       notoriously difficult to conduct and even more difficult to conduct properly.
       Prisons are the quintessential closed institutions in our society to which
       meaningful access is especially challenging, if not often impossible, to
       arrange. 31 Moreover, even those intrepid researchers who do obtain access to
       prisons typically lack control over where and how prisoners are housed and
       for how long, as these decisions are governed by correctional staff rather
       than scientific contingencies.32 Solitary confinement units are especially
       closed off to outsiders and dominated by nonnegotiable correctional
       mandates and practices. Absent these constraints in the world outside prison,
       researchers from a wide variety of disciplines have been able to conduct a
       vast number of scientific studies on the effects of social isolation and social
       exclusion and the related experience of loneliness. This extensive literature
       forms the much larger empirical database and theoretical framework in
       which the results of research on solitary confinement in prison are situated.
            Current scientific knowledge on the effects of social isolation and social
       exclusion is based on a wealth of methodologically sophisticated studies,
       many of which have been conducted over the last three decades. The data


           31
              It is a truism among researchers that “[p]risons are far more shrouded from publicity” than other
       aspects of the criminal justice system. Aaron Doyle & Richard V. Ericson, Breaking into Prison: News
       Sources and Correctional Institutions, 38 CANADIAN J. CRIMINOLOGY 155, 180 (1996). The lack of direct
       access affects the nature, amount, and quality of the scholarship as well as news coverage that is devoted
       to these facilities. See, e.g., Beth Schwartzapfel, Inside Stories, COLUM. JOURNALISM REV. (Mar./Apr.
       2013), https://archives.cjr.org/cover_story/inside_stories.php [https://perma.cc/6VD7-C4UD].
           32
              The inability of researchers to exercise proper control over their prisoner participants doomed
       several well-intentioned longitudinal studies of solitary confinement, ones in which normal correctional
       decision-making resulted in unacceptable and confounding levels of attrition and the contamination of
       research conditions that doomed any meaningful interpretation of the results. See, e.g., Haney,
       Psychological Effects of Solitary Confinement, supra note 26.



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       produced have corroborated, underscored, and deepened what many of us
       who have been studying prison solitary confinement have learned as well—
       namely, that meaningful social contact is a fundamental human need whose
       deprivation has a range of potentially very serious psychological and even
       physical effects. Because the research on the harmfulness of social isolation
       in general is so extensive, I am able to review no more than a representative
       sample of its most important findings in this Essay. However, even this brief
       summary establishes that there is now an extremely impressive body of
       scientific knowledge that enables us to more fully understand and appreciate
       the nature and significance of the adverse effects of solitary confinement in
       prison.33
             The need to belong, to be socially connected, and to have social contact
       with others has been recognized for decades in psychology and other
       behavioral sciences. 34 Psychologists have long known that social contact is
       fundamental to establishing and maintaining emotional health and
       well-being. In fact, years ago, social psychologist Herbert Kelman argued
       that denying persons contact with others was a form of “dehumanization”—
       it denied people something that was fundamental to their humanity.35 As one
       researcher put it more recently: “Since its inception, the field of psychology
       emphasized the importance of social connections.” 36 Social psychologists
       have also demonstrated, in classic research conducted decades ago, that
       “affiliation”—the opportunity to have meaningful contact with others—
       helps reduce anxiety in the face of uncertainty or fear-arousing stimuli. 37
       Indeed, one of the ways that people not only determine the appropriateness
       of their feelings but also how we establish the very nature and tenor of our
       emotions is through the social contact we have with others.38 Thus, prolonged


            33
               See Coppola, supra note 8, at 18687 (discussing some of the legal implications of this broader
       literature for the regulation and elimination of solitary confinement).
            34
               See Roy F. Baumeister & Mark R. Leary, The Need to Belong: Desire for Interpersonal
       Attachments as a Fundamental Human Motivation, 117 PSYCHOL. B ULL. 497, 497 (1995).
            35
               Herbert C. Kelman, Violence Without Moral Restraint: Reflections on the Dehumanization of
       Victims and Victimizers, 29 J. SOC. ISSUES 25 (1973).
            36
               C. Nathan DeWall, Looking Back and Forward: Lessons Learned and Moving Ahead, in THE
       OXFORD HANDBOOK OF SOCIAL EXCLUSION 301, 301 (C. Nathan DeWall ed., 2013).
            37
               See STANLEY SCHACHTER, THE PSYCHOLOGY OF AFFILIATION: EXPERIMENTAL STUDIES OF THE
       SOURCES OF GREGARIOUSNESS (1959); Irving Sarnoff & Philip G. Zimbardo, Anxiety, Fear, and Social
       Affiliation, 62 J. ABNORMAL & SOC . PSYCHOL. 356, 356 (1961); Philip Zimbardo & Robert Formica,
       Emotional Comparison and Self-Esteem as Determinants of Affiliation, 31 J. PERSONALITY 141 (1963).
            38
               See CAROLYN SAARNI, THE DEVELOPMENT OF EMOTIONAL COMPETENCE (1999); Agneta H.
       Fischer, Antony S.R. Manstead & Ruud Zaalberg, Social Influences on the Emotion Process, 14 EUR.
       REV. SOC. PSYCHOL. 171 (2003); Stanley Schachter & Jerome E. Singer, Cognitive, Social, and
       Physiological Determinants of Emotional State, 69 PSYCHOL. REV. 379, 38384 (1962); Steven R. Truax,



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       social deprivation is painful and destabilizing in part because it deprives
       persons of the opportunity to ground their thoughts and emotions in a
       meaningful social context—to know what they feel and whether those
       feelings are appropriate.
             In addition, Naomi Eisenberger and Matthew Lieberman and others
       have concluded that there is a neurological basis for “social pain”—the
       feelings of hurt and distress that come from negative social experiences such
       as social deprivation, exclusion, rejection, or loss. They and their colleagues
       have found that the neurological underpinnings of social and physical pain
       are related; both kinds of feelings share some of the same neural circuitry
       and computational mechanisms (i.e., they are processed in some of the same
       ways). 39 Moreover, as they observed, unlike the experience of physical pain,
       which is largely transitory, social pain is more susceptible to being relived.
       Indeed, although persons who experience physical pain can recall the
       qualities and degree of intensity of the painful experience, they are largely
       unable to reexperience the sensation. Social pain, on the other hand, engages
       the affective pain system and can be actually relived months, or even years,
       later.40
             Not surprisingly then, numerous scientific studies have established the
       psychological significance of social contact, connectedness, and
       belongingness. Among other things, researchers have concluded that, as
       Lieberman put it, the human brain is literally “wired to connect” to other



       Determinants of Emotion Attributions: A Unifying View, 8 MOTIVATION & EMOTION 33 (1984). See
       generally THE SOCIAL LIFE OF EMOTIONS (Larissa Z. Tiedens & Colin Wayne Leach eds., 2004).
           39
               See Naomi I. Eisenberger, The Pain of Social Disconnection: Examining the Shared Neural
       Underpinnings of Physical and Social Pain, 13 NATURE REVS.: NEUROSCIENCE 421, 421 (2012).
       Eisenberger’s and related research found that, although physical and social pain are “not the same
       experience,” they do “share some underlying neural substrates,” and there is “a common experiential
       element” to them both that “motivates individuals to terminate or escape the negative stimulus” they
       represent. Naomi I. Eisenberger, Social Pain and the Brain: Controversies, Questions, and Where to Go
       from Here, 66 ANN. REV. PSYCHOL. 601, 621 (2015); see also Naomi I. Eisenberger, Matthew D.
       Lieberman & Kipling D. Williams, Does Rejection Hurt? An fMRI Study of Social Exclusion,
       302 SCIENCE 290 (2003); Naomi I. Eisenberger & Matthew D. Lieberman, Why Rejection Hurts: A
       Common Neural Alarm System for Physical and Social Pain, 8 TRENDS COGNITIVE SCI. 294, 294 (2004);
       Meghan L. Meyer, Kipling D. Williams & Naomi I. Eisenberger, Why Social Pain Can Live On: Different
       Neural Mechanisms Are Associated with Reliving Social and Physical Pain, PLOS ONE (June 10, 2015)
       [hereinafter       Meyer       et      al.,     Why      Social       Pain       Can        Live     On],
       https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0128294        [https://perma.cc/GDU5-
       P26T].
           40
               Meghan L. Meyer and her colleagues noted that “reliving a socially painful event could lead to
       other affective experiences besides pain, such as feelings of sadness, loss, or even anger.” Meyer et al.,
       Why Social Pain Can Live On, supra note 39.



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       persons.41 Thwarting this need to connect not only undermines psychological
       well-being but also increases physical morbidity and mortality. 42 Social
       contact is crucial to normal human development, and when it is impaired,
       disrupted, or denied, a host of interrelated maladies occur in children as well
       as adults.43 Thus, the deprivation of something as fundamentally important
       as social contact produces a range of predictably negative effects.
            Some of the most dramatic demonstrations of the harmful effects of
       social deprivation have been found in animal research, where researchers are
       able to employ more intrusive scientific procedures and controls than with
       humans. These studies have found that social isolation actually alters the
       brain’s neurochemistry, structure, and function. Thus, social isolation
       operates as a chronic stressor that can change the brain chemistry of animals
       in ways that negatively affect the cellular mechanisms of aging, 44 precipitate
       depression-like behavior in mammals,45 and suppress the animal immune
       response to illness.46 Social isolation also leads to anxiety-like behavior in
       animals, impairs their working memory, and disrupts their brain activity. 47 It
       also modifies their neuroendocrinal responses in ways that exacerbate the
       effects of stress,48 which suggests that isolation is not only stressful in its own

           41
              MATTHEW D. LIEBERMAN, SOCIAL: WHY OUR BRAINS ARE WIRED TO CONNECT (2013).
       Lieberman wrote that: “Our brains evolved to experience threats to our social connections in much the
       same way they experience physical pain . . . . The neural link between social and physical pain also
       ensures that staying socially connected will be a lifelong need, like food and warmth.” Id. at 4–5.
           42
              See infra notes 65–81 and the studies cited therein.
           43
              See, e.g., Linda A. Chernus, “Separation/Abandonment/Isolation Trauma:” What We Can Learn
       from Our Nonhuman Primate Relatives, 8 J. EMOTIONAL ABUSE 469, 470 (2008) (discussing the harmful
       developmental consequences of early social deprivation in the form of maternal loss for humans and
       nonhuman primates).
           44
              See Jennie R. Stevenson, Elyse K. McMahon, Winnie Boner & Mark F. Haussmann, Oxytocin
       Administration        Prevents      Cellular       Aging       Caused        by     Social       Isolation,
       103 PSYCHONEUROENDROCRINOLOGY 52, 5253 (2019).
           45
              See Yu Gong, Lijuan Tong, Rongrong Yang, Wenfeng Hu, Xingguo Xu, Wenjing Wang, Peng
       Wang, Xu Lu, Minhui Gao, Yue Wu, Xing Xu, Yaru Zhang, Zhuo Chen & Chao Huang, Dynamic
       Changes in Hippocampal Microglia Contribute to Depressive-Like Behavior Induced by Early Social
       Isolation, 135 NEUROPHARMACOLOGY 223 (2018).
           46
              See John P. Capitanio, Stephanie Cacioppo & Steven W. Cole, Loneliness in Monkeys:
       Neuroimmune Mechanisms, 28 CURRENT OPINION BEHAV. SCI. 51, 51 (2019); Wenjuan Wu, Takeshi
       Yamaura, Koji Murakami, Jun Murata, Kinzo Matsumoto, Hiroshi Watanabe & Ikuo Saiki, Social
       Isolation Stress Enhanced Liver Metastasis of Murine Colon 26-L5 Carcinoma Cells by Suppressing
       Immune Response in Mice, 66 LIFE SCI. 1827, 182728 (2000).
           47
              See Candela Zorzo, Magdalena Méndez-López, Marta Méndez & Jorge L. Arias, Adult Social
       Isolation Leads to Anxiety and Spatial Memory Impairment: Brain Activity Pattern of COx and c-Fos,
       365 BEHAV. BRAIN RES. 170, 17071 (2019).
           48
              See Juliano Viana Borges, Betânia Souza de Freitas, Vinicius Antoniazzi, Cristophod de Souza
       dos Santos, Kelem Vedovelli, Vivian Naziaseno Pires, Leticia Paludo, Maria Noêmia Martins de Lima &
       Elke Bromberg, Social Isolation and Social Support at Adulthood Affect Epigenetic Mechanisms, Brain-



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       right, but also compromises an organism’s ability to tolerate and manage
       stress more generally. 49
             In fact, the damaging effects of social isolation on laboratory animals
       are so well documented that they have led governmental and scientific
       funding organizations, such as the National Research Council, to prohibit
       researchers from placing animals in completely isolated conditions for
       prolonged periods.50 Such treatment is considered unethical and constitutes
       a basis for denying or revoking funding to scientists who violate this
       prohibition. As a result, university research facilities that conduct animal
       research have “institutional animal care and use committees” that
       promulgate guidelines for conducting animal research, virtually all of which
       include limitations on the degree to which laboratory animals can be
       subjected to any form of social isolation. 51



       Derived Neurotrophic Factor Levels and Behavior of Chronically Stressed Rats, 366 BEHAV. BRAIN RES.
       36, 3637 (2019); Marishka K. Brown, Ewa Strus & Nirinjini Naidoo, Reduced Sleep During Social
       Isolation Leads to Cellular Stress and Induction of the Unfolded Protein Response, 40 SLEEP 1, 1 (2017).
            49
                Some researchers have discerned what they believe is a relationship between isolation and an
       animal world analogue of PTSD, noting, for example, that socially isolated mice manifest “an
       exacerbation of aggressive behavior and . . . an increase in anxiety- and depressive-like behaviors, as well
       as . . . exaggerated contextual fear responses and impaired fear extinction.” Andrea Locci & Graziano
       Pinna, Social Isolation as a Promising Animal Model of PTSD Comorbid Suicide: Neurosteroids and
       Cannabinoids as Possible Treatment Options, 92 PROGRESS NEURO-PSYCHOPHARMACOLOGY &
       BIOLOGICAL PSYCHIATRY 243, 244 (2019) (citation omitted).
            50
                The National Research Council cautions researchers that, because “[a]ppropriate social
       interactions among members of the same species” are “essential to normal development and well-being,”
       the “[s]ingle housing of social species should be the exception and justified based on experimental
       requirements or veterinary-related concerns about animal well-being,” “limited to the minimum period
       necessary,” and “enrich[ed]” either by other forms of species-compatible (and even human) contact. INST.
       FOR L AB. ANIMAL RESEARCH, N AT’ L RESEARCH C OUNCIL OF THE N AT’ L ACADS ., GUIDE FOR THE C ARE
       AND USE OF LABORATORY ANIMALS 64 (8th ed. 2011); see also Alka Chandna, Commentary: A Belmont
       Report for Animals: An Idea Whose Time Has Come, 29 CAMBRIDGE Q. HEALTHCARE ETHICS 46, 47–48
       (2020) (referencing studies documenting the suffering and self-destructive behavior engaged in by
       laboratory animals confined in “ethologically inappropriate environments” such as social isolation,
       including the pathological reactions that occur “when primates are deprived of companionship, sufficient
       space, and sufficient environmental complexity”).
            51
                For example, Emory University’s animal care guidelines mandate “environmental enrichment” for
       nonhuman primates used in research. The enrichment is aimed at “identifying and providing the
       environmental stimuli necessary for psychological and physiological wellbeing.” I NSTITUTIONAL
       ANIMAL CARE AND USE COMM., EMORY UNIV., ENVIRONMENTAL ENRICHMENT FOR NONHUMAN
       PRIMATES                                               1                                            (2019),
       http://www.iacuc.emory.edu/documents/policies/360_Environmental_Enrichment_for_Nonhuman_Pri
       mates.pdf [https://perma.cc/5UTL-8YJ5] (citation omitted). The Emory guidelines mandate that “all
       nonhuman primates must be housed with one or more members of the same species.” Id. at 2. Any
       exception to this policy requires advanced approval and is “reviewed by the Attending Veterinarian every
       30 days.” Id.



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             Of course, the results of animal studies are not directly transferable to
       human populations. However, hundreds of studies done with human
       participants have reached many of the same conclusions. As I noted above,
       the scientific literature that documents these adverse effects is far too
       voluminous to comprehensively review. In the summary that follows, to
       narrow the focus to a manageable, yet representative sample of studies, I will
       concentrate primarily on those published in just the last several years.
             Scientists have continued to add to existing knowledge about the ways
       in which social isolation and loneliness in society at large are significant risk
       factors for a wide range of mental health problems. 52 Specifically, social
       isolation increases the prevalence of depression and anxiety among




          52
               Although very closely related, the experiences of “loneliness” and “social isolation” are not
       identical. Loneliness is the negative subjective feeling of being isolated or disconnected from others,
       whereas social isolation is the objective condition of that disconnection. For obvious reasons, animal
       studies focus only on the effects of social isolation; studies with human participants may examine one or
       another or both experiences. See, e.g., Nancy E.G. Newall & Verena H. Menec, Loneliness and Social
       Isolation of Older Adults: Why It Is Important to Examine These Social Aspects Together, 36 J. SOC . &
       PERS. RELATIONSHIPS 925, 92627 (2019); Kimberley J. Smith & Christina Victor, Typologies of
       Loneliness, Living Alone, and Social Isolation, and Their Associations with Physical and Mental Health,
       39 AGEING & SOC ’Y 1709, 1710 (2019); Jingyi Wang, Brynmor Lloyd-Evans, Domenico Giacco,
       Rebecca Forsyth, Cynthia Nebo, Farhana Mann & Sonia Johnson, Social Isolation in Mental Health: A
       Conceptual and Methodological Review, 52 SOC. PSYCHIATRY & PSYCHIATRIC EPIDEMIOLOGY 1451
       (2017). Not surprisingly, there are high levels of loneliness among prisoners housed in the extreme social
       isolation of solitary confinement. See Haney, Solitary Confinement, Loneliness, and Psychological Harm,
       supra note 24, at 136. In my review of the broader scientific literature, I will refer to the experience—
       loneliness or social isolation—as it is identified in the research itself.



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       adolescents and adults 53 and is also related to psychosis,54 paranoia,55 and
       suicidal behavior.56 Among those persons who already have been diagnosed
       or identified as suffering from psychiatric disorders in free society, isolation
       has been implicated in the persistence of delusional or psychotic beliefs, 57 a
       lack of insight into one’s psychiatric symptoms, 58 and a higher rate of

            53
               See, e.g., Joshua Hyong-Jin Cho, Richard Olmstead, Hanbyul Choi, Carmen Carrillo, Teresa E.
       Seeman & Michael R. Irwin, Associations of Objective Versus Subjective Social Isolation with Sleep
       Disturbance, Depression, and Fatigue in Community-Dwelling Older Adults, 23 AGING & MENTAL
       HEALTH 1130 (2019); Nathaniel A. Dell, Michelle Pelham & Allison M. Murphy, Loneliness and
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       25 BRAIN, BEHAV., & IMMUNITY 1701 (2011); Lisa M. Jaremka, Rebecca R. Andridge, Christopher P.
       Fagundes, Catherine M. Alfano, Stephen P. Povoski, Adele M. Lipari, Doreen M. Agnese, Mark W.
       Arnold, William B. Farrar, Lisa D. Yee, William E. Carson, III, Tanios Bekaii-Saab, Edward W. Martin,
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       https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0182145            [https://perma.cc/63Q4-
       YZME].
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               See, e.g., Anson K. C. Chau, Chen Zhu & Suzanne Ho-Wai So, Loneliness and the Psychosis
       Continuum: A Meta-Analysis on Positive Psychotic Experiences and a Meta-Analysis on Negative
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       Alienation in Individuals with Residual-Type Schizophrenia, 16 ISSUES IN MENTAL HEALTH NURSING
       185 (1995).
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               See, e.g., Sarah Butter, Jamie Murphy, Mark Shevlin & James Houston, Social Isolation and
       Psychosis-Like Experiences: A UK General Population Analysis, 9 PSYCHOSIS 291 (2017).
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               See, e.g., COMM. ON PATHOPHYSIOLOGY & PREVENTION OF ADOLESCENT & ADULT SUICIDE,
       INST. OF MED. OF THE NAT’L ACADS ., REDUCING SUICIDE: A N ATIONAL I MPERATIVE (S.K. Goldsmith,
       T. C. Pellmar, A. M. Kleinman & W. E. Burney eds., 2002); Raffaella Calati, Chiara Ferrari, Marie
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               See, e.g., P. A. Garety, E. Kuipers, D. Fowler, D. Freeman & P. E. Bebbington, A Cognitive Model
       of the Positive Symptoms of Psychosis, 31 PSYCHOL. MED. 189, 190–91 (2001) (writing about the way
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               See, e.g., R. White, P. Bebbington, J. Pearson, S. Johnson & D. Ellis, The Social Context of Insight
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       hospitalization and rehospitalization. 59 Persons experiencing mental health
       crises also report severe loneliness which may, in turn, exacerbate their
       mental illness, 60 creating a downward spiral toward decompensation.
             Social isolation can also lead to reduced cognitive functioning in
       humans.61 Some studies have shown that the significant direct relationship
       between loneliness and decreased cognitive functioning is partially mediated
       by the presence of depressive symptoms. 62 However, a study by Elvira Lara
       and her colleagues found that loneliness and social isolation lead to
       decreased intellectual functioning on a variety of cognitive tests over time,
       even after controlling for depression among older participants. To prevent
       such a decline, the study recommended “the enhancement of social
       participation and the maintenance of emotionally supportive relationships.” 63
       Other studies demonstrate that even when loneliness does not directly
       produce cognitive decline, it has an effect on neural processes that, in turn,
       “relate[s] to worse cognitive performance on processing speed and attention,
       executive function, working memory, and verbal memory immediate
       recall.”64
             As in studies with laboratory animals, there are a number of well
       documented harmful physical and medical outcomes associated with social
       isolation and loneliness in humans, including adverse effects on neurological

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               See, e.g., Tennyson Mgutshini, Risk Factors for Psychiatric Re-Hospitalization: An Exploration,
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       of Treated Mental Disorder: Developing Statistical Models to Predict Psychiatric Service Utilisation,
       158 BRIT. J. PSYCHIATRY 475 (1991).
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               See, e.g., Jingyi Wang, Brynmor Lloyd-Evans, Louise Martson, Ruimin Ma, Farhana Mann,
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               See, e.g., Paolo de Sousa, William Sellwood, Alaw Eldridge & Richard P. Bentall, The Role of
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       and endocrinological processes. As one group of researchers summarized,
       “These findings indicate that loneliness may compromise the structural and
       functional integrity of multiple brain regions.”65 For example, Nathan Spreng
       and his colleagues have shown that loneliness is inversely related to a sense
       of “life meaning” (i.e., a subjective sense of purpose), and that both are in
       turn related to measures of neural connectivity. 66 In addition, social isolation
       adversely impacts the functioning of the human immune system, 67
       undermines health outcomes in general, 68 and is associated with higher rates
       of mortality. That is, the experience of social isolation literally lowers the
       age at which people die. 69 In fact, researchers have concluded that the health



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               Laetitia Mwilambwe-Tshilobo, Tian Ge, Minqi Chong, Michael A. Ferguson, Bratislav Misic,
       Anthony L. Burrow, Richard M. Leahy & R. Nathan Spreng, Loneliness and Meaning in Life Are
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               Mwilambwe-Tshilobo et al., supra note 65.
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               See, e.g., Naomi I. Eisenberger, Mona Moieni, Tristen K. Inagaki, Keely A. Muscatell & Michael
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       risk of social isolation on mortality rates is comparable to that caused by
       cigarette smoking. 70
             In part because of its dramatic life-shortening effects, as one recent
       review of the literature put it, “The problem of loneliness and social isolation
       is of growing global concern.”71 Indeed, the well-documented negative
       psychological and physical effects of social isolation and loneliness have led
       to international recognition that they represent a worldwide public health
       crisis.72 Acknowledging this fact, an international commission assembled by
       former French President Nicholas Sarkozy and led by Nobel Prize winners
       Joseph Stiglitz and Amartya Sen and economist Jean-Paul Fitoussi identified
       social connectedness as one of the key indicators of a nation’s social
       progress, quality of life, and well-being.73 More recently, the social isolation
       of older adults was the focus of two Canadian National Seniors Council
       reports, which discussed the nature of the psychological and medical risks of
       social isolation and what can be done to address them. 74 In 2017, the former
       Surgeon General of the United States, Vivek Murthy, warned business
       leaders about what he described as a “loneliness epidemic” and its harmful
       health consequences. 75 In a more recent book, Murthy elaborated on the

       PLOS ONE (Mar. 8, 2017), https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0173370
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               JOSEPH E. STIGLITZ, AMARTYA SEN & JEAN-PAUL FITOUSSI, REPORT BY THE COMMISSION ON
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       https://www.cpc.unc.edu/projects/rlms-hse/publications/1921 [https://perma.cc/KD95-F2GA].
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       2013-2014          (2014),      https://www.canada.ca/en/national-seniors-council/programs/publications-
       reports/2014/scoping-social-isolation.html [https://perma.cc/2NY8-8FYH]; THE NAT’L SENIORS
       COUNCIL, GOV’ T OF CAN., WHO’ S AT RISK AND WHAT CAN BE DONE ABOUT IT? A REVIEW OF THE
       LITERATURE ON THE SOCIAL ISOLATION OF D IFFERENT GROUPS OF SENIORS (2017),
       https://www.canada.ca/en/national-seniors-council/programs/publications-reports/2017/review-social-
       isolation-seniors.html [https://perma.cc/E4DZ-SSJB].
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               See Vivek Murthy, Work and the Loneliness Epidemic: Reducing Isolation at Work Is Good for
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       epidemic [https://perma.cc/QWQ6-HZCK]; Dan Schawbel, Vivek Murthy: How to Solve the Work



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       negative effects of social isolation, made recommendations about how to
       best combat them, and promoted what he called “the healing power of human
       connection.”76 In 2018, the British Prime Minister, Theresa May, appointed
       a “Minister for Loneliness” for her nation,77 as news magazines conceded
       that it represented a “serious public health problem.” 78 Finally, in 2020, in a
       study designed to contribute to “a larger global effort to combat the adverse
       health impacts of social isolation,”79 a National Academy of Sciences
       Committee concluded that the negative consequences of social isolation
       “may be comparable to or greater than other well-established risk factors
       such as smoking, obesity, and physical inactivity,” 80 and another group of
       prominent researchers termed the experience of loneliness a “modern
       behavioral epidemic” and cautioned that it represented a “lethal behavioral
       toxin” that accounted for more annual deaths than cancer or strokes. 81
             Paralleling the research that has been conducted on the adverse
       psychological and medical effects of social isolation and loneliness, there is
       a closely related and well-developed body of literature on what has been
       termed “social exclusion”—what happens when people are involuntarily and
       purposely separated from others, as they are in prison solitary confinement
       units. These studies, too, show that this kind of social separation produces a
       host of serious negative consequences. For example, Mark Leary and his
       colleagues have shown that increasing degrees of social exclusion can
       successively lower self-esteem, which in turn relates to greater levels of
       depression, anxiety, and a host of other psychological problems. In fact, they
       have suggested that self-esteem itself may be largely a reflection of a



       Loneliness          Epidemic,        FORBES        (Oct.        7,       2017,      9:54        AM),
       https://www.forbes.com/sites/danschawbel/2017/10/07/vivek-murthy-how-to-solve-the-work-
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       LONELY WORLD (2020).
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               See Ceylan Yeginsu, U.K. Appoints a Minister for Loneliness, N.Y. T IMES (Jan. 17, 2018),
       https://www.nytimes.com/2018/01/17/world/europe/uk-britain-loneliness.html [https://perma.cc/QX94-
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       https://www.economist.com/international/2018/09/01/loneliness-is-a-serious-public-health-problem
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       person’s level or state of social connectedness. 82 Researchers have also
       documented the fact that excluding persons from contact with others is not
       only “painful in itself,” but also “undermines people’s sense of belonging,
       control, self-esteem, and meaningfulness, . . . reduces pro-social behavior,
       and impairs self-regulation.”83 Indeed, the subjective experience of social
       exclusion can result in what have been called “cognitive deconstructive
       states,” which include emotional numbing, reduced empathy, cognitive
       inflexibility, lethargy, and an absence of meaningful thought. 84
             Social exclusion also has been shown to heighten people’s feelings of
       physical vulnerability and increase the expectation that they will experience
       physical harm in the future. 85 It may also precipitate aggressive behavior—
       “action-oriented coping”—in response. 86 Two authors summarized these
       overall effects this way:
         Social exclusion is detrimental and can lead to depression, alienation, and
         sometimes even to violent behaviour. Laboratory studies show that even a brief
         episode of exclusion lowers mood, causes social pain, which is analogous to
         physical pain, and elicits various behavioural responses, such as aggressive
         behaviour or affiliation‐seeking behavior.87
            In fact, the editor of the Oxford Handbook of Social Exclusion
       concluded the volume by summarizing the “serious threat” that social
       exclusion represents to psychological health and well-being, including
       “increase[d] salivary cortisol levels . . . and blood flow to brain regions

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               See, e.g., Mark R. Leary, Alison L. Haupt, Kristine S. Straussen & Jason T. Chokel, Calibrating
       the Sociometer: The Relationship Between Interpersonal Appraisals and State Self-Esteem, 74 J.
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       and Personality Expression, 79 J. PERSONALITY 1281, 128182 (2011).



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       associated with physical pain,” “sweeping changes” in attention, memory,
       thinking, and self-regulation, as well as changes in aggression and prosocial
       behavior. As he put it, “This dizzying array of responses to social exclusion
       supports the premise that it strikes at the core of well-being.”88
            An additional, painful component of solitary confinement is the fact that
       prisoners in such units are denied opportunities to give and receive caring
       human touch. Many of them go for weeks, months, or even years without
       touching another person with affection. This kind of deprivation also has
       been studied extensively in contexts outside prison. Psychologists have long
       known that “[t]ouch is central to human social life. It is the most developed
       sensory modality at birth, and it contributes to cognitive, brain, and
       socioemotional development throughout infancy and childhood.” 89 Recent
       research now indicates that “touch is a primary platform for the development
       of secure attachments and cooperative relationships.”90 We know that,
       among other things, it is “intimately involved in patterns of caregiving.” 91
       Indeed, caring physical touch functions as a “powerful means by which
       individuals reduce the suffering of others.”92 It also “promotes cooperation
       and reciprocal altruism.”93
            The need for caring human touch is so fundamental that early
       deprivation is an established risk factor for neurodevelopmental disorders,
       depression, suicidality, and other self-destructive behavior.94 Later
       deprivation is associated with violent behavior in adolescents. 95 The uniquely
       prosocial emotion of “[c]ompassion is universally signaled through touch,”
       so that persons who live in a world without touch are denied the experience

           88
              DeWall, supra note 36, at 302; Johan C. Karremans, Dirk J. Heslenfeld, Lotte F. van Dillen &
       Paul A. M. Van Lange, Secure Attachment Partners Attenuate Neural Responses to Social Exclusion: An
       fMRI Investigation, 81 INT’ L J. PSYCHOPHYSIOLOGY 44, 44, 49 (2011).
           89
              Matthew J. Hertenstein, Dacher Keltner, Betsy App, Brittany A. Bulleit & Ariane R. Jaskolka,
       Touch Communicates Distinct Emotions, 6 EMOTION 528, 528 (2006). See generally THE HANDBOOK OF
       TOUCH: NEUROSCIENCE, BEHAVIORAL, AND HEALTH PERSPECTIVES 373–499 (Matthew J. Hertenstein &
       Sandra J. Weiss eds., 2011) (discussing, in Section V, the relevance of touch for development and health).
           90
              Jennifer L. Goetz, Dacher Keltner & Emiliana Simon-Thomas, Compassion: An Evolutionary
       Analysis and Empirical Review, 136 PSYCHOL. BULL. 351, 360 (2010).
           91
              Id.
           92
              Id.
           93
              Id.
           94
              See, e.g., Carissa J. Cascio, Somatosensory Processes in Neurodevelopmental Disorders, 2 J.
       NEURODEVELOPMENTAL D ISORDERS 62, 62–63 (2010) (neurodevelopmental disorders); Tiffany Field,
       Touch Deprivation and Aggression Against Self Among Adolescents, in DEVELOPMENTAL
       PSYCHOBIOLOGY OF AGGRESSION 117, 117 (David M. Stoff & Elizabeth J. Susman eds., 2005)
       (depression, suicidality, and other self-destructive behavior).
           95
              See Tiffany Field, Violence and Touch Deprivation in Adolescents, 37 ADOLESCENCE 735, 735,
       744–45 (2002).



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       of receiving or expressing compassion in this way. 96 Conversely, a number
       of experts argue that caring human touch is so integral to our well-being that
       it is actually therapeutic. Thus, it has been recommended to treat a host of
       psychological maladies including depression, suicidality, and learning
       disabilities.97 Researchers have found that caring human touch mediates a
       sense of security and place, a sense of shared companionship, a sense of
       being nurtured, feelings of worth and competence, access to reliable alliance
       and assistance, and guidance and support in stressful situations. 98 The
       deprivation of caring human touch in solitary confinement deprives prisoners
       of these things.
             In sum, there is a carefully developed and empirically well-documented
       scientific framework that catalogues the broad range of very serious adverse
       effects brought about by social isolation, loneliness, social exclusion, and the
       deprivation of caring touch. These effects have been found in numerous
       studies that confirm the destructive and even life-threatening consequences
       for animals as well as humans. It is important not only to situate the
       harmfulness of solitary confinement in this larger scientific framework but
       also to recognize that, for reasons discussed below, the adverse effects of
       isolation in a correctional setting are likely to be far greater.

                II. SOLITARY CONFINEMENT AS “TOXIC” SOCIAL ISOLATION
            The literature reviewed in the preceding Part summarized findings from
       studies conducted in a wide range of free-world settings. It is important to
       acknowledge that, the animal research notwithstanding, the adverse effects
       of social isolation, loneliness, social exclusion, and the deprivation of caring
       human touch that I reviewed above were assessed in environments that are
       much more benign than those that prevail in jail and prison solitary
       confinement units. By virtually any measure, solitary confinement in
       correctional settings is likely to be significantly more stressful, hurtful,
       harmful, and dangerous than in the larger society, where the range of
       deleterious effects I reviewed in the previous Part have been elaborately
       documented.



           96
              See, e.g., Jennifer E. Stellar & Dacher Keltner, Compassion, in HANDBOOK OF POSITIVE
       EMOTIONS 329, 337 (Michele M. Tugade, Michelle N. Shiota & Leslie D. Kirby eds., 2014).
           97
              See, e.g., Susan Dobson, Shripati Upadhyaya, Ian Conyers & Raghu Raghavan, Touch in the Care
       of People with Profound and Complex Needs, 6 J. LEARNING DISABILITIES 351, 360 (2002); Field, supra
       note 94, at 134.
           98
              See, e.g., Robert S. Weiss, The Attachment Bond in Childhood and Adulthood, in ATTACHMENT
       ACROSS THE LIFE CYCLE 72–75 (Colin Murray Parkes, Joan Stevenson-Hinde & Peter Marris eds., 1995).



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             Of course, there are arguably “better” and “worse” solitary confinement
       units, and prisoners are likely to suffer more and deteriorate more rapidly in
       those that are the harshest and most deprived. Thus, psychologist Carl
       Clements and his colleagues were surely correct to observe that relevant
       “[c]ontext factors includ[ing] privacy, access to daylight, length of cell
       confinement per day, noise and overcrowding levels, and staff functioning” 99
       have some bearing on the isolated prisoner’s well-being. Yet, even their
       discussion seemed to ignore what researchers now understand to be the most
       destructive aspect of solitary confinement—the deprivation of meaningful
       human social contact. As the larger literature I reviewed on social isolation
       and loneliness underscores, although the immediate discomforting aspects of
       the experience can be ameliorated, it is isolation itself that is dangerous.
             Obviously, lonely, isolated persons in the free world are likely to have
       far more privacy, access to nature, freedom of movement, and so on than
       prisoners housed in solitary confinement. Yet they are still at great
       psychological and physical risk by virtue of their social isolation. The
       onerous aspects of prison and jail isolation only intensify the painfulness of
       this powerful stressor and worsen its impact. For one, prison and jail solitary
       confinement is a form of coercively enforced and nearly complete isolation.
       As I have noted before, “There is no other place on earth where persons are
       so completely and involuntarily isolated from one another.” 100 Except in
       special cases, prisoners rarely go willingly into solitary confinement. Indeed,
       in many instances they must be forcibly removed from their cells (“cell
       extracted”) and taken to solitary confinement by special tactical units of
       correctional officers who are suited up in body armor, armed with special
       weapons (e.g., batons, pepper spray, tasers), and who operate in tandem to
       physically control, subdue, and dominate prisoners.101 The elaborate
       procedures correctional officers are routinely instructed to employ means
       that the encounters themselves are inherently confrontational and prone to



          99
               Clements et al., supra note 30, at 926.
          100
                Haney, Solitary Confinement, Loneliness, and Psychological Harm, supra note 24, at 132.
           101
                In California, Department of Corrections procedures explicitly instructed standard five-man cell
       extraction teams to proceed in this fashion: the first member of the team enters the cell carrying a large
       shield, used to push the prisoner back into a corner of the cell; the second member follows closely,
       wielding a special cell extraction baton, to strike the inmate on the upper part of his body to induce him
       to raise his arms in self-protection; thus unsteadied, the inmate is pulled off balance by another member
       of the team whose job is to place leg irons around his ankles; once downed, a fourth member of the team
       places him in handcuffs; the fifth member stands ready to fire a taser gun or rifle that shoots wooden or
       rubber bullets at prisoners who continue to resist. Craig Haney, “Infamous Punishment”: The
       Psychological Consequences of Isolation, 8 NAT’L PRISON PROJECT J. 3, 21 n.6 (1993).



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       escalation. It is not uncommon for them to turn increasingly physically
       violent and, in that sense, they are traumatic for everyone involved. 102
            To take just one firsthand account, here is the description of Mika’il
       DeVeaux, a sociology lecturer who spent twenty-five years incarcerated in
       the New York State prison system. He observed frequent cell extractions
       (termed “being dragged out”) occurring inside solitary confinement units in
       the 1980s, ones that were traumatizing to witness as well as to experience
       directly:
         [B]eing “dragged out” meant that a person was dragged out of a cell feet first,
         with their head trailing behind on the floor, and often being beaten while being
         moved. I can still remember the screams, the wailing, the cursing, and the anger.
         These events were alarming because all who witnessed them unfold could feel
         the humiliation and shame. We in the cells were utterly powerless and could
         face a similar fate. There was nothing I could do, nothing anyone could do,
         except hope to get out of there alive. The possibility of being beaten was all too
         real. Whom could I tell? Who would listen? Who would care?103
             Moreover, solitary confinement is virtually always accompanied by a
       host of additional deprivations that extend beyond the sheer lack of
       meaningful social contact. Those additional deprivations commonly include
       the lack of positive or pleasurable environmental stimulation in settings that
       prisoners are unable to significantly modify. That is, the physical
       environment in most solitary confinement units is characterized by its
       closed-in nature (in the cells, of course, but also in the cellblocks themselves)
       and unchanging drabness. As I have described them previously: “Inside their
       cells, units, and ‘yards,’” prisoners in solitary confinement units “are
       surrounded by nothing but concrete, steel, cinderblock, and metal fencing—
       often gray or faded pastel, drab and sometimes peeling paint, dingy, worn
       floors. There is no time when they escape from these barren ‘industrial’
       environments.”104 Indeed, many of these units are explicitly, often
       inventively, designed to limit or eliminate the prisoners’ contact with
       nature—restricting or foreclosing exposure to natural light, grass, and even
       glimpses of the horizon or sky. There are even some units where prisoners
       cannot easily tell whether it is day or night.

           102
               See Erica Goode, When Cell Door Opens, Tough Tactics and Risk, N.Y. TIMES, July 29, 2014, at
       A1, A12; Erica Goode, New Trial Sought in Death of Man Pulled from Cell, N.Y. TIMES, Aug. 23, 2014,
       at A16.
           103
               Mika’il DeVeaux, The Trauma of the Incarceration Experience, 48 HARV. C.R.-C.L. L. REV. 257,
       273 (2013).
           104
               Craig Haney, A Culture of Harm: Taming the Dynamics of Cruelty in Supermax Prisons,
       35 CRIM. J UST. & BEHAV. 956, 968 (2008).



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             The only variations in sensory stimulation are typically auditory, but
       these too often come in the form of aversive, loud noises that, in addition to
       the banging of heavy metal doors, include pounding on walls and shouting
       or screaming at all hours of the day and night from other prisoners who may
       be mentally ill and/or suffering from the effects of isolation. 105
             In addition, solitary confinement virtually always entails severe
       restrictions on the amount and kind of personal property prisoners can
       possess. In many such units, they have limited access to electronic appliances
       (such as radios and televisions) or may be prohibited from having any, and
       are more severely restricted than other prisoners in terms of the commissary
       products they may purchase from the prison store and even in the already
       limited amount of reading material they can keep in their cells. Prisoners in
       solitary confinement also typically have limited or no access to meaningful
       activity or programming, either inside or outside their cells. Other than the
       few prisoners who are selected as “tier tenders”—to clean units and perhaps
       deliver mail to other prisoners—they are prohibited from working, receiving
       vocational training, taking in-person educational classes of any kind, or
       participating in hobby craft. Most solitary confinement units impose strict
       limits on access to telephones so that, in addition to limited numbers of
       noncontact visits, they are significantly cut off from the outside world.
             Stuart Grassian has noted that the medical profession has long known
       that, even in hospital settings where patients go to receive caring treatment,
       greatly restricted access to social and environmental stimulation can have a
       “profoundly deleterious effect,”106 including adversely impacting “patients
       in intensive care units, spinal patients immobilized by the need for prolonged

           105
                I have personally toured and inspected a number of solitary confinement units in which the noise
       was so loud that it was difficult to converse with persons standing nearby. On the other hand, some solitary
       confinement units do, in fact, approximate the near total sensory deprivation paradigm in operation in
       early experiments conducted on the subject—darkened cells, little or no sound, and so on. But they are
       relatively rare nowadays. More commonly in contemporary prisons, solitary confinement units subject
       prisoners to what has been termed “reduced environmental stimulation”—a term that acknowledges the
       fact that there is not total (or even nearly total) deprivation of sensory input of any kind, but that the
       meaningful, positive, stimulating aspects of the environment are lacking. Thus, prisoners in solitary
       confinement are exposed to a reduced and monotonous kind of sensory input—an extremely limited and
       repetitive perceptual and experiential sameness in the physical environment around them. In some other
       instances, they are subjected to a great deal of stimulation, but it is aversive or noxious in nature—loud
       noise, bright lights, foul smells—and they have little or no control over the exposure. In these cases, the
       reduction in their “environmental stimulation” refers to the lack of positive stimuli, despite being
       bombarded with aversive stimuli that are beyond their control. All of these different but nonetheless
       problematic sensory aspects of the experience can be harmful to normal, healthy psychological
       functioning.
           106
                Stuart Grassian, Neuropsychiatric Effects of Solitary Confinement, in THE TRAUMA OF
       PSYCHOLOGICAL TORTURE 113, 114 (Almerindo E. Ojeda ed., 2008).



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       traction, and patients with impairment of their sensory apparatus (such as
       eye-patched or hearing impaired patients).”107 Of course, prisoners are not
       placed in solitary confinement to receive treatment or be administered to in
       caring ways. Unlike social isolation in most free-world contexts, solitary
       confinement in jails and prisons is also “pejoratively imposed,” in the sense
       that significant stigma and gratuitous humiliation are commonly associated
       with it. From the perspective of the staff at least, and in some instances the
       prisoners as well, a prisoner in solitary confinement is in an even more
       degraded status than a mainline prisoner. Prisoners who are placed in solitary
       confinement are sometimes referred to as the “worst of the worst,” but they
       are virtually always treated as the “lowest of the low.”108 I have suggested
       elsewhere that prisoners in solitary confinement are enveloped in a “culture
       of harm” that includes not only the isolating architecture and procedures that
       characterize the environment, but also the “atmosphere of thinly veiled
       hostility and disdain [that] prevails.” 109 Interactions with staff are “fraught
       with resentment and recrimination” 110 and an “ecology of cruelty” subjects


           107
               Id. (citing Florence S. Downs, Bed Rest and Sensory Disturbances, 74 AM. J. N URSING 434
       (1974); Rosemary Ellis, Unusual Sensory and Thought Disturbances After Cardiac Surgery, 72 AM. J.
       NURSING 2021 (1972); C. Wesley Jackson, Jr., Clinical Sensory Deprivation: A Review of Hospitalized
       Eye-Surgery Patients, in SENSORY DEPRIVATION: FIFTEEN YEARS OF RESEARCH (John P. Zubek ed.,
       1969); Donald S. Kornfeld, Sheldon Zimberg & James R. Malm, Psychiatric Complications of Open-
       Heart Surgery, 273 NEW ENG. J. MED. 287 (1965); Herbert R. Lazarus & Jerome H. Hagens, Prevention
       of Psychosis Following Open-Heart Surgery, 124 AM. J. PSYCHIATRY 1190 (1968); Eugene Ziskind,
       Isolation Stress in Medical and Mental Illness, 168 J. AM. MED. ASS’ N 1427 (1958); Eugene Ziskind,
       Harold Jones, William Filante & Jack Goldberg, Observations on Mental Symptoms in Eye Patched
       Patients: Hypnagogic Symptoms in Sensory Deprivation, 116 AM. J. PSYCHIATRY 89 (1960)). Grassian
       also reported on early studies of the ways in which extreme social isolation and the deprivation of positive
       environmental stimulation could take a severe toll on persons in other contexts where they were
       voluntarily pursuing otherwise positive goals and activities, such as “extremely isolating military settings
       and explorations in land and space.” Id. (citing A. M. Hastin Bennett, Sensory Deprivation in Aviation,
       in SENSORY DEPRIVATION 161 (Philip Solomon, Philip E. Kubzansky, P. Herbert Leiderman, Jack H.
       Mendelson, Richard Trumbull & Donald Wexler eds., 1961); Jeanette J. Cochrane & S.J.J. Freeman,
       Working in Arctic and Sub-Arctic Conditions: Mental Health Issues, 34 CANADIAN J. PSYCHIATRY 884
       (1989); Sanford J. Freedman & Milton Greenblatt, Studies in Human Isolation II: Hallucinations and
       Other Cognitive Findings, 11 U.S. ARMED FORCES MED. J. 1479 (1960); E.K. Eric Gunderson, Emotional
       Symptoms in Extremely Isolated Groups, 9 ARCHIVES GEN. PSYCHIATRY 362 (1963); E.K. Eric
       Gunderson & Paul D. Nelson, Adaptation of Small Groups to Extreme Environments, 34 AEROSPACE
       MED. 1111 (1963)).
           108
               Among the many “pains of imprisonment” to which prisoners in general are subjected, and that
       have the capacity to adversely affect them upon release, is the extent to which they are dehumanized,
       degraded, and disrespected. See, e.g., James M. Binnall, Respecting Beasts: The Dehumanizing Quality
       of the Modern Prison and an Unusual Model for Penal Reform, 17 J.L. & POL’Y 161, 185–86 (2008).
       These aspects of prison life are greatly intensified in solitary confinement units.
           109
               Haney, supra note 104, at 960.
           110
               Id.



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       prisoners in solitary confinement to the implements of forceful subjugation,
       including “handcuffs, belly chains, leg irons, spit shields, strip cells, four-
       point restraints, canisters of pepper spray, batons, and rifles,” often wielded
       by flak-jacketed, helmeted officers.111
             Unlike socially isolated persons in free society, prisoners in solitary
       confinement are profoundly “alone” but, paradoxically, are afforded limited
       or no access to privacy. Among other things, they are subjected to
       unannounced, prolonged, and invasive visual inspections in a way that other
       prisoners are not. Since literally everything prisoners in solitary confinement
       “do” occurs within the small space of their cell (or, during brief periods of
       time when they have access to it, the “yard,” where they are also carefully
       monitored), their surveillance far exceeds that of even mainline prisoners.
       The latter have at least some freedom of movement to enter limited prison
       spaces where they are not so closely observed. In extreme cases, prisoners in
       solitary confinement may have cameras trained on them literally all the time
       (and frequently do if they are placed in suicide or aptly named “watch” cells,
       where around-the-clock video monitoring is commonplace). In addition, the
       limited contact that prisoners in solitary confinement have with medical and
       mental health staff often takes place “cell front,” so even otherwise highly
       sensitive conversations about physical or psychological vulnerabilities and
       personal concerns are susceptible to being “overheard” by custody staff and
       other prisoners. This helps explain why many prisoners in solitary
       confinement forego these contacts altogether. In any event, the constant
       surveillance and lack of privacy are additional toxic aspects of solitary
       confinement.112
             The multiple dimensions of institutional control and surveillance and
       harsh contingencies that prevail inside jail and prison solitary confinement
       units not only produce natural human reactions and adaptations to the
       experience of social isolation and loneliness but also can set other
       dysfunctional and problematic dynamics in motion. These dynamics, in turn,
       may lead to even more painful and extended stays in solitary confinement.
       For example, several studies have found that the experience of loneliness
       leads naturally to hypervigilance about perceived social threats which, in


          111
               Id. at 970.
          112
               Access to privacy is “important because it is posited to provide experiences that support normal
       psychological functioning, stable interpersonal relationships, and personal development.” Stephen T.
       Margulis, Privacy as a Social Issue and Behavioral Concept, 59 J. SOC. ISSUES 243, 246 (2003); see also
       Darren Ellis, Ian Tucker & David Harper, The Affective Atmospheres of Surveillance, 23 THEORY &
       PSYCH. 716 (2017); Darhl M. Pedersen, Psychological Functions of Privacy, 17 J. ENVTL. PSYCH. 147
       (1997).



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       turn, can produce overreactions to potentially threatening external stimuli. 113
       This helps to explain why prisoners in solitary confinement are susceptible
       to a form of “institutional paranoia” in which they come to distrust literally
       everyone with whom they interact. This distrust may include not only prison
       personnel, but also extend to other prisoners whom they begin to suspect of
       harboring ill will or conspiring against them. Although entirely
       understandable under the circumstances in which it occurs—prisoners in
       solitary confinement have often said to me, only partly in jest, that “it isn’t
       paranoia if people really are out to get you”—the adaptation of distrusting
       everyone and distancing oneself from them makes the social pain of solitary
       confinement more difficult for them to alleviate. Relatedly, researchers have
       found that loneliness reduces the amount of pleasure persons derive from
       rewarding social stimuli.114 This means that even the extraordinarily rare
       forms of positive social stimulation that might occur in solitary confinement
       may have only limited beneficial or ameliorating effects because the effects
       of extreme isolation have numbed the prisoners’ capacity to enjoy or benefit
       from it.
             Thus, there are many reasons why the adverse psychological and
       physical effects of social isolation and exclusion and the deprivation of
       caring touch that occur in the course of solitary confinement in correctional
       settings are likely to be far worse than in society at large, where those effects
       have proven to be severe and even life-threatening.

        III. THE EFFECTS OF SOLITARY CONFINEMENT ARE COMPOUNDED BY THE
                          EFFECTS OF IMPRISONMENT PER SE
            Although there is a well-settled scientific consensus over the
       harmfulness of solitary confinement, there are occasional outlier claims
       made that appear to unduly minimize the seriousness of the damage it does
       to prisoners. Typically voiced by persons who seem unaware of the much
       larger compelling body of scientific knowledge about the adverse effects of
       social isolation in society at large,115 this seeming defense of the continued

          113
               See, e.g., Munirah Bangee, Rebecca A. Harris, Nikola Bridges, Ken J. Rotenberg & Pamela
       Qualter, Loneliness and Attention to Social Threat in Young Adults: Findings from an Eye Tracker Study,
       63 PERSONALITY & I NDIVIDUAL D IFFERENCES 16, 22 (2014); Stephanie Cacioppo, Munirah Bangee,
       Stephen Balogh, Carlos Cardenas-Iniguez, Pamela Qualter & John T. Cacioppo, Loneliness and Implicit
       Attention to Social Threat: A High-Performance Electrical Neuroimaging Study, 7 COGNITIVE
       NEUROSCIENCE 138, 155–56 (2016).
           114
               See, e.g., John T. Cacioppo & Louise C. Hawkley, Perceived Social Isolation and Cognition,
       13 TRENDS IN COGNITIVE SCI. 447, 449 (2009).
           115
               Commentators such as Paul Gendreau and Ryan Labrecque who incorrectly describe solitary
       confinement as primarily “an environment with severe restrictions placed on auditory, visual and



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       use of solitary confinement takes several forms. In addition to the claim that
       I addressed in Part I (to the effect that “there is just not enough data to
       know”), some commentators have asserted that, although solitary
       confinement is potentially harmful, it inflicts only de minimis damage that,
       in any event, is likely to dissipate over time (i.e., upon release back to a
       mainline prison population or into free society). For example, meta-analysts
       Robert Morgan and his colleagues made a point of rejecting what they
       characterized as “fiery opinions” lodged by a number of knowledgeable
       experts against the practice of solitary confinement, accusing the scholars
       who voiced them of “lack[ing] a social perspective.” The “social
       perspective” Morgan and his colleagues appeared to have in mind was their
       own claim that the effects of solitary confinement are no greater than the
       “adverse effects resulting from general incarceration.” 116 They repeated the
       same assertion a page later in their article: “[T]he magnitude of the adverse
       effects of [solitary confinement] placement tend to be small to moderate, and
       no greater than the magnitude of effects for incarceration, generally
       speaking.”117
             Two other coauthors of the Morgan meta-analysis go even further,
       stating “there are no estimates of the precise magnitude of the effects of
       prison life, although we expect it is likely close to zero.”118 This same kind
       of minimization appears in sworn testimony given by some of the same
       authors, testifying as expert witnesses in defense of the use of solitary
       confinement in various jurisdictions, including in a case where prisoners
       were held continuously for at least ten years or more (some for more than



       kinesthetic stimulation” but make little or no mention of the social deprivation that is its essence have
       badly missed the point. Paul Gendreau & Ryan M. Labrecque, The Effects of Administrative Segregation:
       A Lesson in Knowledge Cumulation, in THE OXFORD HANDBOOK OF PRISONS AND IMPRISONMENT 340,
       340 (John Wooldredge & Paula Smith eds., 2018). Solitary confinement is harmful primarily because it
       deprives prisoners of meaningful social contact; the deprivation of positive environmental stimulation
       exacerbates those effects, but it is not the primary source of the harm. Thus, despite noble calls to “search
       for convergent validity from diverse empirical and theoretical literatures,” they have completely ignored
       the most relevant literature of all—that which documents the extremely deleterious effects of social
       deprivation. Id. at 342.
           116
                Robert D. Morgan, Paul Gendreau, Paula Smith, Andrew L. Gray, Ryan M. Labrecque, Nina
       MacLean, Stephanie A. Van Horn, Angelea D. Bolanos & Ashley B. Batastini, Quantitative Syntheses of
       the Effects of Administrative Segregation on Inmates’ Well-Being, 22 PSYCHOL., PUB. POL’ Y, & L. 439,
       455 (2016).
           117
                Id. at 456 (emphasis added).
           118
                Gendreau & Labrecque, supra note 115, at 343. They argued further that, if there are any effects
       of prison life (“close to zero”), it is “criminogenic outcomes” rather than psychological disability that is
       “the most adverse outcome of incarceration.” Id. at 344. In fact, current research indicates that the adverse
       effects are a great deal more than “zero” and extend well beyond criminogenic outcomes.



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       twenty years).119 The point of these and similar statements appears to be to
       implicitly minimize the suffering and harm “from segregation” by
       suggesting that the amount is “no more than” or “comparable to” the
       suffering and harm that prison life in general inflicts, which the defenders of
       solitary confinement allege are “mild to moderate.” By characterizing the
       negative effects of prison in general as de minimis (indeed, “close to zero”),
       and the harmfulness of solitary confinement as “no more than that,” they
       seem to imply that there is relatively little reason for concern.120
             In fact, however, if we were to assume that the suffering and harm
       inflicted by solitary confinement are actually “comparable to” or “no more
       than” the suffering and harm brought about by incarceration generally, then
       there would still be grave cause for concern. That is because what are
       commonly described as the “pains of imprisonment” are now well
       understood to have a powerful psychological and even physical impact. The
       negative effects are well documented and often truly severe. 121 As I will

            119
                Robert Morgan, the first author of the aforementioned meta-analysis, has made this exact point
       in several cases in which he has offered such testimony. For example: “Thus, it is my opinion that the
       mental health concerns experienced by inmates in the SHU are not time dependent (i.e., 2 years, 5 years,
       10 years, 20 years) such that inmates serving 10 or more years in the PBSP SHU are no better or worse
       off, from a clinical mental health perspective, than if they served less than 10 years of SHU confinement.”
       Expert Report by Dr. Robert Morgan at 12, Ashker v. Brown, No. C 09-05796 CW (N.D. Cal. Mar. 13,
       2015).
            120
                Defenders of solitary confinement also sometimes point to the fact that a sizable minority of
       prisoners in some prison systems seem to “prefer” solitary confinement to mainline prison housing
       because the prisoners sometimes request placement in so-called “protective custody,” “safekeeping,” or
       “sensitive needs” housing units that may operate as de facto solitary confinement units. The problem with
       this assertion is that it overlooks the terrible Hobson’s choice with which such prisoners are confronted,
       namely, whether or not to attempt to preserve their physical well-being at the expense of their mental
       health. Because physical threats in prison are often dire, tangible, and imminent, it is not surprising that
       some prisoners assume (or gamble) that they may be able to psychologically withstand the rigors of
       solitary confinement while protecting themselves from violent victimization. Some miscalculate and
       suffer significant psychological pain or worse. See, e.g., Stanley L. Brodsky & Forrest R. Scogin, Inmates
       in Protective Custody: First Data on Emotional Effects, 1 FORENSIC REP. 267, 26970 (1988). Kimberley
       Brownlee has argued in this context that the notion of “voluntary self-isolation” should be regarded with
       great skepticism because, as she noted, “‘voluntariness’ depends on the range and value of the choices
       available.” Brownlee, supra note 8, at 206. Moreover, “[i]f a person’s principal forms of social interaction
       are hostile, degrading, or cruel, then she may voluntarily withdrawal from that social environment but,
       given the context, her decision will not differ much from a non-voluntary withdrawal.” Id. The prisoners’
       “preferences” in these cases are more a reflection of the terrible mainline prison conditions and forms of
       treatment from which they are fleeing than the benign nature of the solitary confinement units they have
       been compelled to enter.
            121
                Much of this evidence is summarized in several book-length treatments of the topic. See, e.g.,
       CRAIG H ANEY, REFORMING PUNISHMENT: PSYCHOLOGICAL LIMITS TO THE PAINS OF IMPRISONMENT
       (2006) [hereinafter HANEY, REFORMING PUNISHMENT]; COMM. ON CAUSES & CONSEQUENCES OF H IGH
       RATES OF INCARCERATION, NAT’L RES. COUNCIL OF THE NAT’ L ACADS ., THE GROWTH OF
       INCARCERATION IN THE UNITED STATES: EXPLORING CAUSES AND CONSEQUENCES (Jeremy Travis,



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       discuss in more detail below, although some of the effects of general
       incarceration do not fully manifest themselves until after prisoners are
       released from prison, the adverse consequences of imprisonment are
       substantial and can be life altering. They are hardly “small to moderate” or
       “close to zero.”
            For example, Alison Liebling and her colleagues reported that the
       measured levels of distress in eleven of the twelve prisons they studied were
       “extraordinarily high” and above the threshold that ordinarily triggers an
       inquiry into whether a patient is suffering from a treatable emotional or
       psychological illness.122 Reviews of the literature on the prevalence of post-
       traumatic stress disorder (PTSD) and interrelated trauma-based symptoms
       that include depression, emotional numbing, anxiety, isolation, and
       hypervigilance among prisoners suggest that this disorder may occur as
       much as ten times more often than in the general population. 123 The severity
       of environmental stress to which prisoners are exposed significantly affects
       the levels of anxiety and depression that they experience during
       confinement.124 In addition, Jason Schnittker and his colleagues have shown


       Bruce Western & Steve Redburn eds., 2014); THE EFFECTS OF IMPRISONMENT (Alison Liebling & Shadd
       Maruna eds., 2005). In addition, there are numerous empirical studies and published reviews of the
       available literature. See, e.g., Craig Haney, Prison Effects in the Era of Mass Incarceration, 20 PRISON J.
       1 (2012) [hereinafter Haney, Prison Effects]; Diana Johns, Confronting the Disabling Effects of
       Imprisonment: Toward Prehabilitation, 45 SOC. JUST. 27 (2018).
           122
               Alison Liebling, Linda Durie, Annick Stiles & Sarah Tait, Revisiting Prison Suicide: The Role of
       Fairness and Distress, in THE EFFECTS OF IMPRISONMENT, supra note 121, at 216.
           123
               Although the orders of magnitude vary as a function of the different prevalence estimates for both
       the general and incarcerated populations, no researchers doubt that “inmate rates of PTSD are
       substantially higher than rates in the general population.” Laura E. Gibson, John C. Holt, Karen M.
       Fondacaro, Tricia S. Tang, Thomas A. Powell & Erin L. Turbitt, An Examination of Antecedent Traumas
       and Psychiatric Comorbidity Among Male Inmates with PTSD, 12 J. TRAUMATIC STRESS 473, 474
       (1999); see also Ashley Goff, Emmeline Rose, Suzanna Rose & David Purves, Does PTSD Occur in
       Sentenced Prison Populations? A Systematic Literature Review, 17 CRIM. BEHAV. & MENTAL HEALTH
       152 (2007); Carolyn J. Heckman, Karen L. Cropsey & Tawana Olds-Davis, Posttraumatic Stress
       Disorder Treatment in Correctional Settings: A Brief Review of the Empirical Literature and Suggestions
       for Future Research, 44 PSYCHOTHERAPY: THEORY, RES., PRAC., TRAINING 46 (2007); Nancy Wolff,
       Jessica Huening, Jing Shi & B. Christopher Frueh, Trauma Exposure and Posttraumatic Stress Disorder
       Among Incarcerated Men, 91 J. URB. HEALTH 707 (2014). A recent international meta-analysis of the
       prevalence of PTSD among prisoners estimated it to be five times greater among imprisoned men and
       eight times greater among imprisoned women than in the general population. Gergo Baranyi, Megan
       Cassidy, Seena Fazel, Stefan Priebe & Adrian P. Mundt, Prevalence of Posttraumatic Stress Disorder in
       Prisoners, 40 EPIDEMIOLOGIC REV. 134, 142 (2018).
           124
               See, e.g., Colin Cooper & Sinéad Berwick, Factors Affecting Psychological Well-Being of Three
       Groups of Suicide-Prone Prisoners, 20 CURRENT PSYCHOL. 169 (2001). It is important to be reminded
       exactly what such stress consists of. For example, noting that “[n]o one leaves unscarred,” Mika’il
       DeVeaux has provided a powerful firsthand account of the traumatic nature of the prison life he
       experienced, one whose aftereffects he still struggled to overcome long after his release: “I found the



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       that many of these psychiatric symptoms (especially anxiety- and
       depression-related disorders) persist long after release and represent
       significant obstacles to successful reentry. 125
             Moreover, the experience of imprisonment is so stressful that it
       adversely affects prisoners’ physical health. Having been in prison can
       increase rates of morbidity, especially the likelihood of contracting
       infectious and stress-related illnesses. 126 It also affects mortality rates. 127 In
       fact, Evelyn Patterson’s study of persons released from prison in New York
       State concluded that each year spent in prison reduced a person’s life span
       by two years.128 As I noted, many of the adverse effects on physical and
       mental health are long-lasting, persisting well beyond a person’s time in
       prison.129
             Thus, the assertion that incarceration in general produces only “small
       to moderate” negative effects is flatly incorrect. In this context, however, it

       prison experience traumatic because of the assaults and murders I witnessed while incarcerated, because
       of the constant threat of violence, because of the number of suicides that took place, and because I felt
       utterly helpless about the degree to which I could protect myself.” DeVeaux, supra note 103, at 257, 264–
       65.
            125
                Jason Schnittker, The Psychological Dimensions and the Social Consequences of Incarceration,
       651 ANNALS AM. ACAD. POL. & SOC . SCI. 122, 135–36 (2014); Kristin Turney, Christopher Wildeman
       & Jason Schnittker, As Fathers and Felons: Explaining the Effects of Current and Recent Incarceration
       on Major Depression, 53 J. HEALTH & SOC. BEHAV. 465, 466 (2012); see also Shelley Johnson Listwan,
       Mark Colvin, Dena Hanley & Daniel Flannery, Victimization, Social Support, and Psychological Well-
       Being: A Study of Recently Released Prisoners, 37 CRIM . JUST. & BEHAV. 1140 (2010).
            126
                See, e.g., Michael Massoglia & Brianna Remster, Linkages Between Incarceration and Health,
       134 PUB. HEALTH REPS. 8S, 10S (2019) (Supplement I); Michael Massoglia, Incarceration as Exposure:
       The Prison, Infectious Disease, and Other Stress-Related Illnesses, 49 J. HEALTH & SOC. BEHAV. 56, 57
       (2008).
            127
                See, e.g., Ingrid A. Binswanger, Marc F. Stern, Richard A. Deyo, Patrick J. Heagerty, Allen
       Cheadle, Joann G. Elmore & Thomas D. Koepsell, Release from Prison—A High Risk of Death for
       Former Inmates, 356 NEW ENG. J. MED. 157, 159–61 (2007).
            128
                Evelyn J. Patterson, The Dose-Response of Time Served in Prison on Mortality: New York State,
       1989–2003, 103 AM. J. PUB. HEALTH 523, 523 (2013) [hereinafter Patterson, The Dose-Response of Time
       Served in Prison on Mortality].
            129
                See, e.g., Paul C. Archibald, Criminal Justice Contact, Stressors, and Depressive Symptoms
       Among Black Adults in the United States, 43 AM . J. CRIM . JUST. 486, 488 (2018); Shervin Assari, Reuben
       Jonathan Miller, Robert Joseph Taylor, Dawne Mouzon, Verna Keith & Linda M. Chatters,
       Discrimination Fully Mediates the Effects of Incarceration History on Depressive Symptoms and
       Psychological Distress Among African American Men, 5 J. RACIAL & ETHNIC HEALTH D ISPARITIES 243,
       246 (2018); Robynn Cox, Mass Incarceration, Racial Disparities in Health, and Successful Aging, 42 J.
       AM. SOC’ Y ON AGING 48, 51 (2018); Adrian Grounds & Ruth Jamieson, No Sense of an Ending:
       Researching the Experience of Imprisonment and Release Among Republican Ex-Prisoners,
       7 THEORETICAL CRIMINOLOGY 347, 351, 354–56 (2003); Yujin Kim, The Effect of Incarceration on
       Midlife Health: A Life-Course Approach, 34 POPULATION RES. POL’Y REV. 827, 829 (2015); Turney et
       al., supra note 125, at 466; Tomoko Udo, Chronic Medical Conditions in U.S. Adults with Incarceration
       History, 38 HEALTH PSYCHOL. 217, 217–18 (2019).



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       is important to keep in mind that whether or not the adverse effects of solitary
       confinement are nearly equal to or perhaps much greater than the effects of
       incarceration generally, they are experienced in addition to the baseline
       effects of imprisonment. In this way, the harmfulness of solitary confinement
       represents an increment of suffering and harm that is always incurred above
       and beyond the deleterious effects of imprisonment per se, which are already
       experienced by prisoners who are, by definition, already incarcerated at the
       time they are placed in solitary confinement.
            This fact was underscored by a study I conducted several years ago at
       Pelican Bay State Prison, comparing the number and intensity of symptoms
       of psychological stress, trauma, and isolation-related psychopathology
       between a sample of long-term isolated prisoners and a sample of long-term
       general population prisoners.130 I used a structured interview and systematic
       assessment format to identify the symptoms they were experiencing and
       selected the sample participants randomly to ensure their representativeness
       (except that I explicitly excluded persons suffering from diagnosed mental
       health problems at the time the study was conducted).131 Because of the
       harshness of the mainline maximum security prison from which the general
       population prisoners were drawn—which a number of them described as “the
       worst” they had ever been in—the comparison between the groups
       represented an especially stringent test of the effects of long-term solitary
       confinement.132 An additional factor that added to the stringency of this

          130
                The isolated prisoners had spent ten years or more in continuous solitary confinement at the
       Pelican Bay Security Housing Unit, and they were compared to the general population prisoners (then
       housed at the Pelican Bay maximum-security mainline prison) who had spent ten years or more in
       continuous imprisonment. All of the prisoners in both groups were otherwise mentally healthy; that is, no
       one from either group was currently on the prison system’s mental health caseload. The details of this
       study are described in Haney, Restricting Solitary Confinement, supra note 8, at 291–92, and Haney,
       Solitary Confinement, Loneliness, and Psychological Harm, supra note 24, at 134–38.
           131
                Largely as a result of a federal court decision, no prisoner on the California Department of
       Corrections and Rehabilitation’s mental health caseload was permitted to be housed in the solitary
       confinement facility at Pelican Bay. Madrid v. Gomez, 889 F. Supp. 1146 (N.D. Cal. 1995). To ensure
       comparability of the samples in this respect, no long-term general population prisoner currently on the
       mental health caseload was included in the study.
           132
                The conditions of confinement in the maximum-security prison from which the general
       population prisoners were selected were severe. They were virtually all double-celled inside standard
       general population cells, were “cell fed” (i.e., they ate all of their meals in their cells rather than in a
       common dining hall), had very limited “out-of-cell time,” could obtain access to only a restricted number
       of “jobs” (e.g., working in the kitchen, barber shop, or serving as a tier tender), and could enroll in only
       a single educational class. In addition, because the general population facility was located in the same
       geographically remote location as the solitary confinement facility, general population prisoners, like
       their solitary confinement counterparts, also tended to have relatively few visitors. However, unlike the
       solitary confinement prisoners, those in general population were allowed to congregate through
       “dayroom” time, outdoor group exercise, and to have contact visits. See Haney, Restricting Solitary



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       comparison was the fact that many general population prisoners had
       themselves spent long periods (for some, years) confined in one or another
       solitary confinement unit before their current nonsolitary housing
       assignment. For some of them, this included previously having spent time in
       the Pelican Bay solitary confinement unit under study. 133
             Given the severity of the overall conditions to which both groups of
       prisoners were subjected, it was not surprising to learn they all acknowledged
       some degree of suffering and distress. Yet there was absolutely no
       comparison in the levels reported by the general population versus isolated
       prisoners. On nearly every single specific dimension measured, the prisoners
       currently in solitary confinement were in significantly more pain, were more
       traumatized and stressed, and manifested far more isolation-related
       pathological reactions. Thus, they not only reported experiencing
       significantly more stress and trauma-related symptoms134 and significantly
       more isolation-related indices of pathology,135 but the orders of magnitude
       were quite large. The isolated prisoners reported nearly twice as many
       symptoms overall as compared to those in the general population.
             In addition to determining the presence or absence of a symptom, I also
       asked prisoners to estimate the frequency with which they had been bothered
       by these symptoms over approximately the last three-month period (as a way
       of gauging intensity or the degree to which they suffered from the particular
       symptom or underlying problem).136 With the exception of headaches, which
       were reported at reasonably high levels of intensity for both groups, the only
       symptoms on which there were no significant differences between the
       solitary confinement and general population prisoners pertained almost
       exclusively to symptoms that were reported very infrequently by both groups
       (e.g., fainting, suicidality). In fact, the mean intensities of the reported


       Confinement, supra note 8, at 291–92; Haney, Solitary Confinement, Loneliness, and Psychological
       Harm, supra note 24, at 134–38.
           133
               Many of the general population prisoners who had been in solitary confinement in the past
       acknowledged the lasting aftereffects of isolation. Some attributed at least some of the problems and
       symptoms that they were currently experiencing to the time that they had spent in solitary confinement
       and acknowledged struggling to overcome these effects (including impaired social relations and persistent
       feelings of loneliness) once released from isolation. See Haney, Restricting Solitary Confinement, supra
       note 8, at 291–92; Haney, Solitary Confinement, Loneliness, and Psychological Harm, supra note 24, at
       134–38.
           134
               These symptoms included experiencing anxiety, lethargy, troubled sleep, heart palpitations, and
       a sense of impending breakdown. See Haney, Restricting Solitary Confinement, supra note 8, at 291–93.
           135
               These symptoms included depression, uncontrolled ruminations, impaired thought processes, and
       social withdrawal. Id.
           136
               Prisoners who reported suffering from a symptom were asked whether they experienced it rarely,
       sometimes, often, or constantly. Id.



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       symptoms were not only significantly different between the groups, but also
       nearly or more than double for the prisoners in solitary confinement as
       compared to those prisoners housed in general population.
             It is also important to note that the painful, traumatic, and harmful
       experience of imprisonment is endured by many persons who have suffered
       a disproportionate number of adverse experiences before incarceration. They
       are thus especially vulnerable to the “retraumatization” of prison.137 As
       Cherie Armour summarized: “[P]re-existing traumatic experiences are
       common in both male and female prisoners which are further exacerbated by
       traumas experienced within prison.”138 The same can be said of prisoners
       confined in solitary confinement, who are traumatized yet again by the added
       stress and deprivation imposed by social isolation. 139

           IV. THE LEGACY OF SOLITARY CONFINEMENT: THE PERSISTENCE OF
                               ISOLATION EFFECTS
            Another way to minimize the harmfulness of solitary confinement is to
       assume that, however unpleasant the experience may be, its effects will
       dissipate over time once a prisoner is moved to a different and better setting,
       either into a mainline prison or through release back to free society. Thus,
       apologists for the practice argue “the effects of [solitary] confinement are


           137
                For a discussion of the role of preprison risk factors and traumas in the etiology of criminal
       behavior that can lead to imprisonment, see Craig Haney, CRIMINALITY IN CONTEXT: THE
       PSYCHOLOGICAL FOUNDATIONS OF CRIMINAL JUSTICE REFORM (2020).
           138
                Cherie Armour, Mental Health in Prison: A Trauma Perspective on Importation and Deprivation,
       5 INT’ L J. CRIMINOLOGY & SOC. THEORY 886, 891 (2012); see also Andy Hochstetler, Daniel S. Murphy
       & Ronald L. Simons, Damaged Goods: Exploring Predictors of Distress in Prison Inmates, 50 CRIME &
       DELINQ. 436 (2004) (finding that there were significant interrelationships between preprison and prison
       trauma that had lasting postprison effects); Alison Liebling, Vulnerability and Prison Suicide, 35 BRIT.
       J. CRIMINOLOGY 173 (1995); Benjamin Meade & Benjamin Steiner, The Effects of Exposure to Violence
       on Inmate Maladjustment, 40 CRIM. J UST. & BEHAV. 1228, 1230 (2013) (finding that exposure to various
       forms of violence before incarceration adversely affects adjustment to prison); Merry Morash, Seokjin
       Jeong, Miriam Northcutt Bohmert & Daniel R. Bush, Men’s Vulnerability to Prisoner-on-Prisoner
       Violence: A State Correctional System Case Study, 92 PRISON J. 290, 299–304 (2012) (finding that the
       strongest predictor of whether a male prisoner was sexually victimized in prison was having had a history
       of childhood sexual abuse).
           139
                Not surprisingly, the stressfulness of prison life in general and solitary confinement in particular
       impacts persons with preexisting vulnerabilities even more acutely and can lead to heightened levels of
       suicidality. See, e.g., Ronald L. Bonner, Stressful Segregation Housing and Psychosocial Vulnerability
       in Prison Suicide Ideators, 36 SUICIDE & LIFE -THREATENING BEHAV. 250, 252 (2006); Eric Lanes, The
       Association of Administrative Segregation and Other Risk Factors with the Self-Injury-Free Time of Male
       Prisoners, 48 J. OFFENDER REHABILITATION 529, 533 (2009); Raymond F. Patterson & Kerry Hughes,
       Review of Completed Suicides in the California Department of Corrections and Rehabilitation, 1999 to
       2004, 59 PSYCHIATRIC SERVS. 676, 677–78 (2008).



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       negative but do not produce ‘lasting emotional damage.’” 140 Unfortunately,
       this misapprehends the nature of prison effects generally and the effects of
       solitary confinement more specifically. Some of the worst effects of
       incarceration derive from the forced accommodations prisoners must make
       to the atypical and dehumanizing nature of prison life. Sometimes termed
       “prisonization,” the necessary adaptations to the pains of imprisonment
       require prisoners to undergo a series of psychological changes that are often
       difficult to relinquish upon release, when these habits and ways of being are
       no longer needed or even functional. They represent the psychic aftereffects
       of incarceration that may significantly interfere with successful reintegration
       into the world outside prison. 141 This is especially true when formerly
       incarcerated persons enter free society without proper preparation or ongoing
       transitional services designed to help them traverse the psychological, social,
       and economic barriers they are likely to confront.
             In fact, as implied by my discussion of the impact of imprisonment per
       se in Part III, there is now extensive research documenting the long-lasting
       consequences of incarceration, ones that can undermine a formerly
       incarcerated person’s quality of life. They contribute to the difficulties many
       face in attempting to avoid a return to prison, as well as in ensuring their
       physical and mental health and enabling them to become contributing
       members of society. Some of the lasting effects of time spent in prison
       impact formerly incarcerated persons directly on a personal and
       psychological level.142 Other adverse effects impair the nature and stability
       of the relationships that formerly incarcerated persons are able to initiate and
       maintain. 143 Still others relate directly to the negative health consequences


           140
               Gendreau & Labrecque, supra note 115, at 350 (taking issue with the contrary observation of
       psychiatrist Terry Kupers).
           141
               See, e.g., STEPHEN J. BAHR, RETURNING HOME: REINTEGRATION AFTER PRISON OR JAIL (2015);
       Craig Haney, The Psychological Impact of Incarceration: Implications for Postprison Adjustment
       [hereinafter Haney, The Psychological Impact of Incarceration], in PRISONERS ONCE REMOVED: THE
       IMPACT OF INCARCERATION AND REENTRY ON CHILDREN, FAMILIES, AND COMMUNITIES 33 (Jeremy
       Travis & Michelle Waul eds., 2003); Christy A. Visher & Jeremy Travis, Transitions from Prison to
       Community: Understanding Individual Pathways, 29 ANN. REV. SOC. 89 (2003).
           142
               See, e.g., HANEY, REFORMING PUNISHMENT, supra note 121; Haney, Prison Effects, supra note
       121; Haney, The Psychological Impact of Incarceration, supra note 141; Michael Massoglia & William
       Alex Pridemore, Incarceration and Health, 41 ANN. REV. SOC . 291, 293 (2015); Schnittker, supra note
       125; Turney et al., supra note 125, at 466.
           143
               See, e.g., Holly Foster & John Hagan, Supportive Ties in the Lives of Incarcerated Women:
       Gender, Race/Ethnicity, and Children’s Human Rights, 17 J. GENDER RACE & JUST. 257, 258 (2014);
       Michael Massoglia & Cody Warner, The Consequences of Incarceration: Challenges for Scientifically
       Informed and Policy-Relevant Research, 10 CRIMINOLOGY & PUB. POL’ Y 851, 853 (2011); Kristin
       Turney, Hopelessly Devoted? Relationship Quality During and After Incarceration, 77 J. MARRIAGE &



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       that compromise their physical well-being.144 They combine with the social
       stigma and diminished employment opportunities and other “collateral
       consequences”145 of having been imprisoned to create substantial barriers to
       reintegration and long-term well-being. For example, Sebastian Daza and his
       colleagues provided a stark summary of the results of their long-term,
       nationwide study of this issue, stating that they “estimate that incarceration’s
       adult mortality excess translates into a loss of between four and five years of
       life expectancy at age 40” and that at least some of the “gap in mortality
       between the United States and peer countries” seems to be attributable to this
       nation’s “differential imprisonment experiences.” 146
             Bruce Western and his colleagues have chronicled the numerous
       structural challenges that formerly incarcerated persons face upon their
       release from prison. Under the best of circumstances, this stressful transition
       involves the “anxiety of adjusting to social interaction in a free society under
       conditions of severe material deprivation.” 147 Except in the most carefully
       implemented reentry programs, however, many who are released from prison
       are left to navigate these challenges on their own with minimal governmental
       or outside assistance. Alessandro De Giorgi’s compelling narrative of the
       plight of many formerly incarcerated persons describes them as not only
       forced to grapple with the stigma of incarceration, but also “scrambling to
       disentangle themselves from the treacherous grips of chronic poverty,
       sudden homelessness, untreated physical and mental suffering, and the lack
       of meaningful social services.”148 There is reason to believe that time spent



       FAM . 480, 480–81 (2015); Christopher Wildeman, Parental Imprisonment, the Prison Boom, and the
       Concentration of Childhood Disadvantage, 46 DEMOGRAPHY 265, 266 (2009).
           144
               See, e.g., Valerio Baćak & Christopher Wildeman, An Empirical Assessment of the “Healthy
       Prisoner Hypothesis,” 138 SOC. SCI. & MED. 187 (2015); Binswanger et al., supra note 127, at 159–61;
       Massoglia, supra note 126, at 57; Evelyn J. Patterson, Incarcerating Death: Mortality in U.S. State
       Correctional Facilities, 1985–1998, 47 DEMOGRAPHY 587, 601 (2010); Patterson, The Dose-Response
       of Time Served in Prison on Mortality, supra note 128, at 523; David L. Rosen, Victor J. Schoenbach &
       David A. Wohl, All-Cause and Cause-Specific Mortality Among Men Released from State Prison, 1980–
       2005, 98 AM. J. PUB. HEALTH 2278, 2278 (2008); Jason Schnittker & Andrea John, Enduring Stigma:
       The Long-Term Effects of Incarceration on Health, 48 J. HEALTH & SOC. BEHAV. 115, 115–16 (2007).
           145
               See, e.g., INVISIBLE PUNISHMENT: THE COLLATERAL CONSEQUENCES OF MASS INCARCERATION
       (Marc Mauer & Meda Chesney-Lind eds., 2002); Gabriel J. Chin, The New Civil Death: Rethinking
       Punishment in the Era of Mass Incarceration, 160 U. PA. L. REV. 1789 (2012).
           146
               Sebastian Daza, Alberto Palloni & Jerrett Jones, The Consequences of Incarceration for Mortality
       in the United States, 57 DEMOGRAPHY 577, 591–92 (2020).
           147
               Bruce Western, Anthony A. Braga, Jaclyn Davis & Catherine Sirois, Stress and Hardship After
       Prison, 120 AM. J. SOC . 1512, 1514 (2015).
           148
               Alessandro De Giorgi, Back to Nothing: Prisoner Reentry and Neoliberal Neglect, 44 SOC . JUST.
       83, 88 (2017).



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       in solitary confinement increases the difficulty of successfully overcoming
       these barriers.
             Although data are mixed on whether time spent in solitary confinement
       specifically increases postprison criminal behavior (beyond the criminogenic
       effects of incarceration per se), it surely does not decrease it. 149 Here, too, a
       more meaningful measure of the extent of long-lasting damage incurred by
       solitary confinement is the quality of life that prisoners who endured it are
       able to manage once released.150 There is evidence that they encounter more
       serious obstacles to successful reintegration back into free society, and that
       there are few if any specific programs available that acknowledge their
       solitary-confinement-related traumas and assist them in overcoming the
       psychological aftereffects.151 Solitary confinement survivors suffer
       postprison adjustment problems at higher rates than the already high rates


           149
                See, e.g., H. Daniel Butler, Benjamin Steiner, Matthew D. Makarios & Lawrence F. Travis III,
       Assessing the Effects of Exposure to Supermax Confinement on Offender Postrelease Behaviors,
       97 PRISON J. 275, 277–80 (2017); David Lovell, L. Clark Johnson & Kevin C. Cain, Recidivism of
       Supermax Prisoners in Washington State, 53 CRIME & DELINQ. 633, 643–49 (2007); Daniel P. Mears &
       William D. Bales, Supermax Incarceration and Recidivism, 47 CRIMINOLOGY 1131, 1151 (2009);
       Laurence L. Motiuk & Kelley Blanchette, Characteristics of Administratively Segregated Offenders in
       Federal Corrections, 41 CANADIAN J. CRIMINOLOGY 131, 139–40 (2001); Youngki Woo, Laurie
       Drapela, Michael Campagna, Mary K. Stohr, Zachary K. Hamilton, Xiaohan Mei & Elizabeth Thompson
       Tollefsbol, Disciplinary Segregation’s Effects on Inmate Behavior: Institutional and Community
       Outcomes, CRIM. J UST. POL’Y REV. 1, 11–14 (2019). The most recent study on this issue concluded that,
       in comparison to a matched sample of formerly incarcerated persons who had not been housed in solitary
       confinement during their prison term, solitary confinement survivors suffered “higher post-release
       recidivism, proportionately more new commitments for all crime types, and shorter time to rearrest.”
       Kristen M. Zgoba, Jesenia M. Pizarro & Laura M. Salerno, Assessing the Impact of Restrictive Housing
       on Inmate Post-Release Criminal Behavior, 45 AM. J. CRIM. JUST. 102, 118 (2020) (emphasis in original).
           150
                Most research on the effects of solitary confinement on subsequent in-prison behavior (i.e., in the
       mainline housing units to which prisoners are returned to serve the remainder of their prison sentences)
       has focused narrowly on disciplinary infractions. See e.g., Justine A. Medrano, Turgut Ozkan & Robert
       Morris, Solitary Confinement Exposure and Capital Inmate Misconduct, 42 AM. J. CRIM. JUST. 863, 864
       (2017); Robert G. Morris, Exploring the Effect of Exposure to Short-Term Solitary Confinement Among
       Violent Prison Inmates, 32 J. QUANTITATIVE CRIMINOLOGY 1, 2 (2016). More broadly, however, a group
       of Stanford researchers found that behavioral patterns and psychological reactions developed in the course
       of adapting to solitary confinement were persistent and problematic when formerly long-term isolated
       prisoners attempted to transition back to mainline prison housing. See H UMAN RIGHTS IN TRAUMA
       MENTAL HEALTH LAB, STANFORD UNIV., MENTAL HEALTH CONSEQUENCES FOLLOWING RELEASE
       FROM        LONG-TERM          SOLITARY         CONFINEMENT       IN     CALIFORNIA       10        (2017),
       https://ccrjustice.org/sites/default/files/attach/2018/04/CCR_StanfordLab-SHUReport.pdf
       [https://perma.cc/5WGK-UBBN]. Psychiatrist Terry Kupers, who has written extensively about the
       mental health risks of solitary confinement, has termed the lingering effects of the experience “SHU
       postrelease syndrome.” See TERRY ALLEN KUPERS, SOLITARY: THE INSIDE STORY OF SUPERMAX
       ISOLATION AND HOW WE CAN ABOLISH I T 15167 (2017).
           151
                See, e.g., Daniel Pforte, Evaluating and Intervening in the Trauma of Solitary Confinement: A
       Social Work Perspective, 48 CLINICAL SOC . WORK J. 77, 85 (2020).



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       experienced by formerly incarcerated persons in general, including being
       more likely to manifest symptoms of PTSD.152 In addition, as Lauren
       Brinkley-Rubinstein and her colleagues reported, formerly incarcerated
       persons who had spent time in solitary confinement were significantly more
       likely than other former prisoners to die during their first year of community
       reentry, especially from suicide, homicide, and opioid abuse. 153
             Western and his colleagues have emphasized the critical role played by
       “social integration”—not just finding a stable residence and obtaining
       gainful employment, but also “establishing community belonging”—in
       facilitating postprison adjustment.154 They also acknowledged the critical
       importance of family ties “in normalizing the lives of those coming out of
       prison.”155 Yet these are precisely the things that time spent in solitary
       confinement can directly impede. The barriers that are routinely placed on
       access to telephones and visitation for prisoners in solitary confinement
       (special procedures and limited times), and the typically impersonal,
       noncontact nature of the visits (that must often take place “through glass and
       over phones”) interfere with ongoing communication and contact; they serve
       as significant obstacles to the preservation of meaningful social
       relationships, beyond those typically encountered by prisoners in general.
             In addition, prisoners in solitary confinement are often forced to adopt
       a range of necessary but ultimately problematic survival strategies. Although
       they are normal reactions adopted in response to the abnormal social
       deprivation of solitary confinement, they represent “social pathologies”—
       learning to live in the absence of others—that can impede subsequent social
       adjustment. As I have previously described them, these adaptations
       transcend the immediate and specific indices of pain and suffering that are
       reflected in studies of the effects of solitary confinement and involve
       significant changes in prisoners’ relationships with others and even with


           152
                See e.g., Brian O. Hagan, Emily A. Wang, Jenerius A. Aminawung, Carmen E. Albizu-Garcia,
       Nickolas Zaller, Sylviah Nyamu, Shira Shavit, Joseph Deluca & Aaron D. Fox, History of Solitary
       Confinement Is Associated with Post-Traumatic Stress Disorder Symptoms Among Individuals Recently
       Released from Prison, 95 J. URB . HEALTH 141, 146 (2018).
           153
                Lauren Brinkley-Rubinstein, Josie Sivaraman, David L. Rosen, David H. Cloud, Gary Junker,
       Scott Proescholdbell, Meghan E. Shanahan & Shabbar I. Ranapurwala, Association of Restrictive
       Housing During Incarceration with Mortality After Release, JAMA N ETWORK OPEN, Oct. 2019,
       https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2752350       [https://perma.cc/6NDF-
       NQY2]; see also Christopher Wildeman & Lars Andersen, Solitary Confinement Placement and Post-
       Release Mortality Among Formerly Incarcerated Individuals: A Population-Based Study, 5 LANCET PUB .
       HEALTH e107 (2020).
           154
                Western et al., supra note 147, at 1515.
           155
                Id.



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       themselves.156 Prisoners in solitary confinement are forced into even greater
       levels of dependency on institutional structures than those in mainline
       prisons because there is so much less they are allowed to “do” for
       themselves. The forced asociality they endure can undermine their sense of
       self, placing them “literally at risk of losing their grasp on who they are,” as
       well as eventually “becom[ing] increasingly unfamiliar and uncomfortable
       with social interaction.”157 If and when this happens, it will become
       increasingly difficult for them to undertake the task of social integration that
       Western and others have identified as crucial to the successful reintegration.
       Moreover, if the experience of solitary confinement places them at greater
       risk of remaining at the margins of social life after prison, they are ironically
       and painfully more likely to incur what we now know are the harmful effects
       of social isolation and loneliness that befall others in free society.
             There is one additional issue that increases the potentially long-lasting
       negative effects of time spent in solitary confinement—the disproportionate
       number of mentally ill prisoners who are still being placed there by some
       prison systems. 158 The explanations for this unfortunate fact are multifaceted
       and difficult to completely disentangle. For one, persons with mental illness
       are at greater risk of committing disciplinary infractions and, in prisons that
       do not properly take their mental health conditions into account, they may
       be placed in solitary confinement as a result. In addition, some prisoners
       without preexisting mental health problems may develop them there, while
       others with underlying but undetected psychological disorders or
       vulnerabilities may have their conditions greatly exacerbated under the
       extraordinary stress of isolated confinement. Whatever the origins of their
       mental health symptoms and problems, these prisoners are all uniquely
       vulnerable to the harmful effects of solitary confinement. Their heightened
       vulnerability is precisely why many legal, human rights, mental health, and
       even correctional organizations have issued recommendations or mandates
       to exclude the mentally ill from such units.159 The unfortunate fact that some


           156
                Craig Haney, Mental Health Issues in Solitary and “Supermax” Confinement, 49 CRIME &
       DELINQ. 124, 139 (2003).
           157
                Id. at 139–40.
           158
                Laura Dellazizzo, Mimosa Luigi, Charles-Édouard Giguère, Marie-Hélène Goulet & Alexandre
       Dumais, Is Mental Illness Associated with Placement in Solitary Confinement in Correctional Settings?
       A Systematic Review and Meta-Analysis, 29 I NT’ L J. MENTAL HEALTH NURSING 576, 579 (2020); Reiter,
       et al., supra note 10; Arthur T. Ryan & Jordan DeVylder, Previously Incarcerated Individuals with
       Psychotic Symptoms Are More Likely to Report a History of Solitary Confinement, 290 PSYCHIATRY RES.
       113064 (2020).
           159
                For example, the United Nations’ so-called “Mandela Rules” on the treatment of prisoners
       prohibits the placement of mentally ill persons in solitary confinement. See UNITED N ATIONS ON DRUGS



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       backward prison systems still place disproportionate numbers of mentally ill
       prisoners in solitary confinement means that there will be a number of
       formerly incarcerated persons who not only eventually reenter society with
       psychological or emotional problems that may require them to arrange and
       maintain access to treatment, but also that many of them will be solitary
       confinement survivors who must cope with its aftereffects as well. 160
             In any event, for mentally ill prisoners and all others released from
       solitary confinement, one of the most damaging aspects of the experience
       may well be its capacity to instill a sense of perpetual loneliness. If human
       beings are “wired to connect,” then solitary confinement acts to disconnect
       those wires. Many people struggle to reconnect them long after returning to
       a social world and to the routine presence of others in their life. Some cannot
       successfully do so. Indeed, many prisoners in long-term solitary confinement
       fear that their ability to form or maintain relationships with other people will
       atrophy so significantly that it never regenerates. This is in many ways its
       cruelest and most debilitating long-term consequence, another component of
       the “social death” so many victims of long-term solitary confinement
       experience. It means that the experience of solitary confinement is not only
       a concentrated—indeed, “toxic”—form of social isolation that is harmful in
       its own right, but one that also has lasting effects, increasing the risk that its
       victims will be consigned to isolated and lonely lives even after they have
       been released from prison.

                                                  CONCLUSION
            Solitary confinement represents a particularly toxic, dangerous subset
       of a much broader, scientifically well-documented, extremely harmful
       condition—the deprivation of meaningful social contact. Researchers, public
       health policymakers, and politicians now understand the adverse effects of
       social isolation, and many are devising strategies to respond to the very
       serious threat to personal and even societal well-being that this kind of
       deprivation represents. The research on this topic is compelling and has
       burgeoned over the last several decades. The evidence continues to mount


       & CRIME, THE UNITED NATIONS STANDARD MINIMUM RULES FOR THE TREATMENT OF PRISONERS (THE
       NELSON MANDELA RULES) 14 (2015), https://www.unodc.org/documents/justice-and-prison-
       reform/Nelson_Mandela_Rules-E-ebook.pdf [https://perma.cc/62U6-Q4SJ]. Others do as well. See
       Solitary Confinement (Isolation), N AT’ L COMM’N ON CORR. HEALTH CARE (Apr. 10, 2016),
       http://www.ncchc.org/solitary-confinement [https://perma.cc/3QSS-R4L7]. See also the statement from
       the 2018 international Santa Cruz Summit, Santa Cruz Summit, supra note 8.
           160
               Perhaps not surprisingly, formerly incarcerated persons who also suffer from mental illness have
       more difficulty in generally successfully adjusting to postprison life. See, e.g., Kristin G. Cloyes, Bob
       Wong, Seth Latimer & Jose Abarca, Time to Prison Return for Offenders with Serious Mental Illness
       Released from Prison: A Survival Analysis, 37 CRIM. J UST. & BEHAV. 175 (2010).


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       that social isolation, social exclusion, loneliness, and the deprivation of
       caring human touch can and do inflict serious psychological and physical
       damage.
             As this Essay makes clear, nowhere in society are these kinds of social
       harms inflicted as completely, cruelly, and intentionally than in solitary
       confinement units. Direct studies of the terrible consequences of prison
       isolation are but one component of the theoretically coherent and extensive
       empirical database on which legal and correctional decisionmakers can and
       should draw in devising policies to address the harmfulness of this dangerous
       practice. In contrast to the now well-known adverse consequences of social
       isolation in society at large, the deprivations inflicted in solitary confinement
       units are truly extreme and forcefully impose many additional kinds of
       deprivation, ones that worsen the painful and damaging effects of the
       experience. Moreover, the toxic deprivations of solitary confinement are
       imposed in addition to the already significant and harmful pains of
       imprisonment per se. The negative consequences of time spent in solitary
       confinement are hardly de minimis or short-lived, but rather have the
       capacity to incur serious and even life-threatening damage that persists long
       after the experience of prison isolation, or imprisonment itself, has ended.
             There are now unquestionably sound scientific reasons to radically
       rethink the circumstances under which solitary confinement can be
       humanely employed if, indeed, it can or ever should be.




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